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                                        No. 24-1313
                                        No. 23-1967
                                        No. 23-1978

                    IN THE UNITED STATES COURT OF APPEALS
                             FOR THE FIRST CIRCUIT
                          UNITED STATES OF AMERICA,

                                   Plaintiff-Appellant,
                                    MARY SEGUIN
                                             v.
           RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official
             capacity; MICHAEL D. COLEMAN, DEBORAH A. BARCLAY in their
            individual and official capacities; Rhode Island OFFICE OF Child Support
        Services in its official capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK
        DIBIASE, WENDY FOBERT, KARLA CABALLEROS, TIMOTHY FLYNN,
       LISA PINSONNEAULT, CARL BEAUREGARD, PRISCILLA GLUCKSMAN,
         JOHN LANGLOIS, PAUL GOULD, in their individual and official capacities;
        RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL A.
          SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF
                 RHODE ISLAND STATE COURT SYSTEM; RHODE ISLAND
          ADMINISTRATIVE OFFICE OF STATE COURTS in its official capacity;
      RHODE ISLAND ADMINISTRATIVE OFFICE OF THE SUPERIOR COURT in
           its official capacity; RHODE ISLAND JUDICIAL COUNCIL in its official
       capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
      ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE
        JUDICIAL TECHNOLOGY CENTER in its official capacity; JULIE HAMIL,
        MARISA BROWN, JOHN JOSEPH BAXTER, JR., JUSTIN CORREA in their
              individual and official capacities; RHODE ISLAND OFFICE OF THE
        ATTORNEY GENERAL in its official capacity; RHODE ISLAND OFFICE OF
          THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
       capacity; ADAM D. ROACH, PETER NERONHA in their official and individual
                capacities; TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK
                                  Defendants-Appellees.
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                          Appeal from the United States District Court
                                  for the District of Rhode Island
                                     ___________________
            APPELLANT’S RENEWED MOTION TO IMPOSE SANCTIONS
             AGAINST APPELLEES AND COUNSELS FOR APPELLEES
             FOR OBSTRUCTION OF JUSTICE FRAUD ON THE COURT,
        CONSPIRACY TO SUBORN PERJURY, MISPRISION OF FELONIES,
                        CONSPIRACY TO MAKE FALSE CLAIMS
                                     ___________________


            ORGANIZED FRAUD, THEFT OF PUBLIC MONEY AND
        GOVERNMENT PROGRAMS INVOLVING BILLIONS OF DOLLARS
       Unlawful Interstate Collection of Unlawful 12% Compound Interest Within
        the Title IV-D Legal Framework Involving Organized Felonious Acts by
                Appellees and Misprision of Felony by Appellee Counsels


            Appellant, MARY SEGUIN, hereby respectfully moves, pursuant to 28

      U.S.C. § 2106 and Fed. R. App. P 27, for sanctions against the State Appellees and

      counsels for State Appellees, Special Attorney M.D. Pizana, for Obstruction of

      Justice, the conspiracy to defraud the Court, defraud the United States, make false

      claims, obstruct justice, obstruct official proceedings, falsification of records,

      conspiracy to suborn perjury and make false statements, including misprision of

      felony before this Court.

         Appellant invokes 18 U.S.C. § § 503.


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      Appellant invokes 18 U.S.C. § 4.

         Appellant invokes 18 U.S.C. § 2.

         Appellant invokes 18 U.S.C. § 3.

         Appellant invokes United States v. Olson, 856 F.3d 1216 (9th Cir. 2017).

         Appellant invokes United States v. Sullivan, Case No. 3:20-cr-00337-WHO

      (N.D. Cal.).

         Appellant invokes Nix v. Whiteside, 475 U.S. 157 (1986).

         Appellant invokes United States v. Silverman, 745 F.2d 1386, 1395 (11th Cir.

      1984).

         Appellant invokes 18 U.S.C. § 2(b), and United States v. Walser, 3 F.3d 380,

      388 (11th Cir. 1993).

         Appellant invokes Rules 1-102, 4-101 and 7-109 of the Code of Professional

      Responsibility.

         Appellant invokes Canons 1,4, and 7, and Ethical Consideration 7-26.

         Appellant invokes R.I. Gen. Law § 11-32-1.

         Appellant invokes R.I. Gen. Law § 11-32-3.


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         Appellant invokes R.I. Gen. Law § 11-1-1.

         Appellant invokes State v. Flynn, 100 R.I. 520 (R.I. 1966).

         Appellant invokes State v. Horton, Dougherty, 47 R.I. 341 (R.I. 1926).

         In support of the motion for sanctions, Appellant states as follows:

         Before the Court are pending motions to impose Sanctions against the counsels

      for the State Appellees, including Special Attorney Marissa Danielle Pizana,

      moving, among others, for counsels withdrawal, invoking the above, in the related

      cases 23-1967 and 23-1978. See Document: 00118129531, filed on April 7, 2024,

      attached hereto as Exhibit I.

            Additionally, before the Court are pending motions to impose Sanctions

      against the counsels for the State Appellees, including Marissa Danielle Pizana in

      the related case 23-1851. See, e.g., Document: 00118130601, filed on April 9,

      2024 attached hereto as Exhibit II. Appellant filed a motion for judicial notice of

      Document 00118130601 in this matter, and concurrently in 23-1967 and 23-1978,

      on April 10, 2024.

            The aforesaid pending motions for sanctions against Special Attorney

      Marissa Danielle Pizana remain unresolved.




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            Without waiting for the Court’s resolution of the pending egregious issues

      before the Court, Special Attorney Pizana jumps the gun to file entry of appearance

      a day after notice of docketing in this matter, with the apparent approval of her

      supervisor, the Rhode Island Attorney General, that shows another incident of

      violation of 18 U.S.C. § 503. Appellant hereby fully incorporates the aforesaid

      motions for sanctions as fully alleged and moved herein.

            Appellant respectfully raises the issue that the Special Attorney’s entry of

      appearance is indictable and impeachable under 18 U.S.C. § 503 and 18 U.S.C. §

      4.

            Appellant moreover respectfully requests the judges of the United States,

      explicitly conferred by Congress the explicit duty under 18 U.S.C. § 4, to refer the

      criminal acts made known in Document 00118126723 to the United States

      Attorney General Merrick Garland, an official expressly conferred authority under

      18 U.S.C. § 4, pursuant to Fed. R. Civ. P 11(c)(4) “to deter repetition of the

      conduct or comparable conduct by others similarly situated.”

            Appellant respectfully requests furthermore that the Court order the State

      Appellees and counsels for the State Appellees pay the Appellant 10x $250,000

      and no less than 10x $50,000 for each infraction named herein (fully incorporated




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      from Document 00118129531 and 00119130601), for having to prosecute this

      motion for their felonious, indictable and impeachable conduct.

                CONCLUSION

                The Court should grant this motion for sanctions. The Court should

                order the withdrawal of Appellee-counsels Special Attorney Marissa

                Danielle Pizana and Attorney Peter Nehronha. The Court should order

                the Appellant-requested 10x $250,000 and no less than 10x $50,000 for

                each infraction named herein payable by the Appellees and Appellees

                counsels to the Appellant, for having to prosecute this motion for their

                felonious conduct. The Court should take judicial notice of Document

                00118126723 filed under Fed. R. Evid. 201 and 18 U.S.C. § 4. The

                Court should strike the Appellee’s motion to strike from the record for

                fraud on the court and for violation of Fed. R. Civ. P 11(b). The Court

                should on its own initiative under Fed. R. Civ. P 11(c)(3) order the

                Appellees and Appellees’ counsels to show cause why conduct by the

                Appellees and their counsels specifically described above has not

                violated Rule 11(b). The judges of the United States have been explicitly

                conferred an explicit duty by Congress under 18 U.S.C. § 4 and 18

                U.S.C. § 503 should refer the criminal acts made known in Document

                00118126723 to the United States Attorney General Merrick Garland, an

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                 official who also is conferred authority under 18 U.S.C. § 4 and 18

                 U.S.C. § 503, pursuant to Fed. R. Civ. P 11(c)(4) “to deter repetition of

                 the conduct or comparable conduct by others similarly situated,” in the

                 interest of the public. The Appellant respectfully requests any and all

                 relief that is just under the circumstances.

                Pursuant to Fed. R. Evidence 201(e), Appellant requests by right a hearing.

                                        Respectfully submitted,
                                        Mary Seguin
                                        Pro Se
                                        /s/____________________
                                        Email: maryseguin22022@gmail.com
                                        Phone: (281)744-2016
                                        P.O. Box 22022
                                        Houston, TX 77019

                                        Dated: April 11, 2024

                                 CERTIFICATE OF SERVICE

            This is to certify that the foregoing instrument has been served via the
      Court’s ECF filing system on April 11, 2024, on all registered counsel of record,
      and has been transmitted to the Clerk of the Court.

                                                        Mary Seguin
                                                        Pro Se
                                                        /s/____________________
                                                        Email: maryseguin22022@gmail.com
                                                        Phone: (281)744-2016
                                                        P.O. Box 22022
                                                        Houston, TX 77019

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                                 EXHIBIT I.
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                                        No. 23-1967
                                        No. 23-1978

                    IN THE UNITED STATES COURT OF APPEALS
                             FOR THE FIRST CIRCUIT
                          UNITED STATES OF AMERICA,

                                   Plaintiff-Appellant,
                                    MARY SEGUIN
                                             v.
           RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official
             capacity; MICHAEL D. COLEMAN, DEBORAH A. BARCLAY in their
            individual and official capacities; Rhode Island OFFICE OF Child Support
        Services in its official capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK
        DIBIASE, WENDY FOBERT, KARLA CABALLEROS, TIMOTHY FLYNN,
       LISA PINSONNEAULT, CARL BEAUREGARD, PRISCILLA GLUCKSMAN,
         JOHN LANGLOIS, PAUL GOULD, in their individual and official capacities;
        RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL A.
          SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF
                 RHODE ISLAND STATE COURT SYSTEM; RHODE ISLAND
          ADMINISTRATIVE OFFICE OF STATE COURTS in its official capacity;
      RHODE ISLAND ADMINISTRATIVE OFFICE OF THE SUPERIOR COURT in
           its official capacity; RHODE ISLAND JUDICIAL COUNCIL in its official
       capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
      ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE
        JUDICIAL TECHNOLOGY CENTER in its official capacity; JULIE HAMIL,
        MARISA BROWN, JOHN JOSEPH BAXTER, JR., JUSTIN CORREA in their
              individual and official capacities; RHODE ISLAND OFFICE OF THE
        ATTORNEY GENERAL in its official capacity; RHODE ISLAND OFFICE OF
          THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
       capacity; ADAM D. ROACH, PETER NERONHA in their official and individual
                capacities; TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK
                                  Defendants-Appellees.


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                          Appeal from the United States District Court
                                 for the District of Rhode Island
                                     ___________________
      APPELLANT’S MOTION FOR SANCTIONS AGAINST APPELLEES AND
                     COUNSELS FOR APPELLEES
                               FOR FRAUD ON THE COURT,
          CONSPIRACY TO SUBORN PERJURY, MISPRISION OF FELONY
                        CONSPIRACY TO MAKE FALSE CLAIMS
                                     ___________________


            ORGANIZED FRAUD, THEFT OF PUBLIC MONEY AND
        GOVERNMENT PROGRAMS INVOLVING BILLIONS OF DOLLARS
       Unlawful Interstate Collection of Unlawful 12% Compound Interest Within
        the Title IV-D Legal Framework Involving Organized Felonious Acts by
                Appellees and Misprision of Felony by Appellee Counsels


            Appellant, MARY SEGUIN, hereby respectfully moves, pursuant to 28

      U.S.C. § 2106 and Fed. R. App. P 27, for sanctions against the Appellees and

      counsels for Appellees, for the conspiracy to defraud the Court, defraud the United

      States, make false claims, obstruct justice, obstruct official proceedings,

      falsification of records, conspiracy to suborn perjury and make false statements,

      including misprision of felony before this Court.

         Appellant invokes 18 U.S.C. § 4.

         Appellant invokes 18 U.S.C. § 2.


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         Appellant invokes 18 U.S.C. § 3.

         Appellant invokes United States v. Olson, 856 F.3d 1216 (9th Cir. 2017).

         Appellant invokes United States v. Sullivan, Case No. 3:20-cr-00337-WHO

      (N.D. Cal.).

         Appellant invokes Nix v. Whiteside, 475 U.S. 157 (1986).

         Appellant invokes United States v. Silverman, 745 F.2d 1386, 1395 (11th Cir.

      1984).

         Appellant invokes 18 U.S.C. § 2(b), and United States v. Walser, 3 F.3d 380,

      388 (11th Cir. 1993).

         Appellant invokes Rules 1-102, 4-101 and 7-109 of the Code of Professional

      Responsibility.

         Appellant invokes Canons 1,4, and 7, and Ethical Consideration 7-26.

         In support of the motion for sanctions, Appellant states as follows:

               Plainly, this action concerns the unlawful collection by the Appellees of

      unlawful 12% compound interest under the Title IV-D Legal Framework through

      felonious acts that involve, as it turns out by official state policy, the felonious

      removal in interstate support cases of the unlawful 12% compound interest from

      the Title IV mandated automated data processing system in 2018 when the

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      Appellees sent the support collection to TEXAS under 42 U.S.C. § 666(14) in

      order to conceal the unlawful 12% compound interest (leaving it on the system

      would expose Rhode Island’s ineligibility to participate in Title IV), and after

      inducing the Appellant to pay off the principle support in one lump sump

      $104,185.98 by representing to the Appellant that Appellee GERO MEYERSIEK

      waived interest as consideration of the lump sum payment, Appellees put back

      onto the system the unlawful 12% compound interest. Appellees-counsels are

      accessories to the crimes after the fact, and conceal the felonious crimes through

      subornation of perjury and knowing false representations to (the requisite) truth-

      seeking United States judges who themselves are under Oath to the United States

      Article III courts under the Constitution (United States judges are explicitly

      conferred explicit duty by Congress in the statutory text under 18 U.S.C. §4).

      Appellant preserves and reserves the issue of district court judge William

      Smith’s role in the scheme as the former chief counsel advising the executive,

      judicial and legislative political subdivisions of the State Plan from 1996 to

      2002 concerning the State’s conscious policy to deliberately circumvent the

      mandatory implementation of the 1996 amendments of 42 U.S.C. § 654,

      through the State’s knowing adoption of the felonious state policy to

      feloniously remove the unlawful 12% compound from the system in interstate

      cases, feloniously adjust accounting of the support amount, and feloniously


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      certify the false accounting to cooperative states such as TEXAS and to the

      United States to avoid detection of the scheme.

         Appellees-counsels even repeatedly plastered in the federal district court

      records the state family court’s February 10, 2023 court order that facially

      show Appellees’ felonious scheme through the order’s text, “…interest put

      back on the system without prejudice to the Defendant.” See ECF 11, Exhibit

      in Support by Rhode Island Department of Human Services, Rhode Island

      Office of Child Support Services in support of [10] Motion for an Extensionof

      Time to File Answer dated August 7, 2023. Appellees counsels feloniously

      misrepresent repeatedly to the Court that the felonious “putting back on the

      system” the unlawful 12% compound interest means the family court found

      Appellant owes the interest, in order to conceal the Appellees’ felonious

      scheme of removing the unlawful 12% compound interest from the system in

      2018 when Rhode Island sent it to TEXAS under 42 U.S.C. § 666(14) through

      false certification and false claims, as it turns out by official state policy, in

      order to conceal the unlawful 12% compound interest that would expose

      Rhode Island’s ineligibility to participate in Title IV at least since 1996.

         I.     Appellees-counsels conceal the True Felonious Nature of Appellees’
                Unlawful Interstate Enforcement of Unlawful Interest Arears on
                Overdue Support Under the Legal Framework of Title IV of The
                Social Security Act, repeated over a dozen times in the State Appellee
                Brief in the related case Appeal No. 23-1851 – Counsels’
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                representation that Rhode Island has a state interest to enforce
                unlawful 12% compound interest Turns Out to Be False, Perjurious
                and Felonious Because Counsels Concealed Rhode Island’s 12%
                Compound Interest Is Unlawful and the State’s Enforcement
                Involves Organized Accounting Fraud, False Certifications and False
                Claims by Political Subdivisions of Rhode Island Regulated By 42
                U.S.C. § 654

                A. Lies to The Tribunal by The Rhode Island Attorney General
                   Representing the State Appellees, All Political Subdivisions
                   governed by 42 U.S.C. § 654(1)



         Firstly, if charged with the misprision of a felony, the Appellees and counsels

      for Appellees could face the following penalties if convicted:

         (1) Fines of up to $250,000 and

         (2) Up to three years in federal prison.

         Counsel for the State Appellees is the attorney general of Rhode Island, the

      political subdivision under the State Plan regulated by 42 U.S.C. § 654(1), charged

      with enforcing the provisions of 42 U.S.C. § 654 in Rhode Island under the terms

      of Rhode Island’s participation in the Title IV Program. The language of 42

      U.S.C. § 654(1) is explicit. “A State plan for child and spousal support must-

         (1) provide that it shall be in effect in all political subdivisions of the State.”

      Therefore, Congress is explicit in requiring the State Plan must provide that it shall

      be in effect in the political subdivision of the Office of the Attorney General.

      Therefore, under the State Plan, the explicit requirement is that, as the attorney
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      general, counsels for the State Appellees are charged with enforcing state

      compliance with 42 U.S.C. § 654, including 42 U.S.C. § 654(21)(A).

         But the Rhode Island attorney general has shown throughout this appellate

      official proceeding and the related appellate proceeding in Appeal No. 23-1851

      that not only is s/he not interested in enforcing the State’s compliance with 42

      U.S.C. § 654(21)(A), s/he time and again lies to this United States Tribunal that

      Rhode Island lawfully enforces interstate interest on support, and time and again

      affirmatively CONCEALS the felonious official state policy adopted by the

      Appellees to feloniously remove the unlawful 12% compound interest in interstate

      cases and feloniously send false accounting and false certifications to TEXAS and

      the United States concealing Rhode Island’s felonious removal of the unlawful

      12% compound interest from the Title IV automated data processing and

      information retrieval system, in a bald, audacious and felonious attempt to

      influence this Tribunal to apply the judge-made Younger abstention that gets a

      judge-made re-invention every decade since the 1970s. Judge-made “rules” must

      give way to jurisdiction in this case – this case is not merely harassment; this case

      involves organized felonious scheme by the Appellees using the Title IV legal

      framework. See Hamer v. Neighborhood Housing Services of Chicago, 583 U.S.

      ___(2017).



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         Because neither discovery nor a trial took place in this matter in the district

      court, the district court judge William Smith, the former outside chief counsel for

      the State Plan’s political subdivisions from 1996 to 2002, and his former firm

      Edwards & Angell that remains the chief external counsel for the State Plan’s

      political subdivisions when the 1996 Amendments to 42 U.S.C. § 654 should have

      been implemented by the Appellees, deliberately handicapped the Appellant’s right

      to discovery and seek the truth in the district court. The district court sua sponte

      dismissed Appellant’s action at law on October 19, 2023, prior to the Appellees

      ever filing an answer to the Amended Complaint (ECF 25) – the amended

      complaint itself was a 18 U.S.C. § 4 report to the judge of the United States of

      felonious interstate collection of 12% compound interest.

         At this juncture, the Court must take judicial notice under Fed. R. Evid. 201 that

      the district court judge William Smith ordered on July 7, 2023, that this case is

      related to Seguin v. R.I. Office of Child Support Services et al., 1:23-cv-34-WES-

      PAS, “Since District Judge William E. Smith has determined that this case is in

      fact related to CA 23-cv-34 this case is permanently assigned to District Judge

      William E. Smith for all further proceedings.” This is relevant because judge

      Smith and his former firm Edwards & Angell used to and continue to be the chief

      outside counsel of the state political subdivisions responsible for implementing the

      1996 amendments to 42 U.S.C. § 654 and advising the State Appellees here and

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      the State Appellees in the CA 23-cv-34 on the statewide adoption of the State

      Policy.

         As such, the Rhode Island Attorney General audaciously filed in the federal

      district court on August 7, 2023 the state family court order in CA 23-cv-126, ECF

      11, as an exhibit in support of the State Appellees motion for extension of time to

      answer complaint there – the state family court order’s text explicitly ordered, “put

      interest back on the system without prejudice to the Defendant.” The complicit

      judge Smith thereafter granted a 60 day extension.

         Without the availability of the State Policy in 2023, all these explicit language

      of “put interest back on the system” and “remove interest off the system” did not

      make meaningful sense. But the language was well understood by the Appellees,

      the counsels for appellees and district court judge William E. Smith.

            Pointedly, the State Policy entitled, “Specifications for OCSS Change

      Order” that “outlines the process by which interstate cases are selected, automatic

      adjustments are created, and support orders are modified all for the purpose of

      removing interest from interstate cases” was available in 2024, which Appellant

      diligently made known to this Court on March 24, 2024, Document 00118126723

      and requested Judicial Notice under Fed. R. Evid. 201 in Appellant’s subsequently

      filed March 29, 2024 Motion to take judicial notice of Document 001182126723.


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       Appellant’s Notice requesting judicial notice and making known the commission

       of crimes by Appellees was filed pursuant to 18 U.S.C. § 4. See Document No.:

       00118126723 filed on March 24, 2024. The policy is hereafter “State Policy.” In

       Document 00118126723 Appellant invoked 18 U.S.C. § 4, that in part is aimed

       and directed at the Appellees and Appellees counsels. Appellees affirmatively

       participated in the felonious removal of the unlawful 12% compound interest

       from the automated data processing system in 2018 when Rhode Island sent

       the support to TEXAS. Appellees affirmatively participated in feloniously

       “keeping the unlawful interest off the system” as the key instrument/vehicle of

       deceit in 2021 when Appellant contacted the Appellees to pay off support.

       Appellees affirmatively recorded in Appellant’s Title IV-D case record the

       felonious “keep the interest off the system.” Appellees affirmatively recorded

       the felonious “agreed to keep the interest off the system.” Appellees

       affirmatively recorded the felonious “changed his mind and put the interest

       back on the system” after Appellant performed on the agreement and paid the

       ”$104k.” Therefore, even outside of the felonious representations to the

       Appellant in 2021, Appellees affirmatively recorded their felonious scheme in

       public Title IV records that they sought to conceal. Therefore, it is shown and

       proven beyond a doubt that the Appellees counsels are accessories after the




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       fact, and affirmatively and feloniously concealed the principals’ felonious

       scheme. All Appellee-counsels violated 18 U.S.C. § 4.

             The official state policy available in 2024 made sense of the felonious

       scheme.

             In aid of the Court, Appellant attaches the State Policy hereto for illustration

       purposes under Exhibit I. The State Policy states as follows:

             “This specification will outline the process by which interstate cases are

       selected, automatically adjusted, are created, and support orders are modified all

       for the purpose of removing interest from interstate cases.” This policy goes on

       to state under its heading, “It is desirable for the Rhode Island Office of Child

       Support Services (OCSS) to prohibit the charging of interest in interstate cases.

       This is manually done by placing an N in the interest field on page 2 of the

       support order. Entry of the N not only prohibits the charging of future interest

       but automatically creates adjustment to zero out any existing interest.” This

       policy further states “Two reports will be created. The first will detail the

       interstate cases for which a support order modification was done first for which

       one or more interest adjustments were created. The second report will detail

       interstate cases for which the interest field is Y, B, B or P.” This 2024 available

       undisputed policy document evidence is submitted pursuant to Fed. Rules of


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       Evidence 201, to this Court, and Appellant now and again respectfully requests

       judicial notice under Fed. Rules of Evidence 201. This policy was newly available

       in 2024, and with diligent compliance with Congressionally prescribed criminal

       jurisdiction conferred on “judges” “of the United State”s pursuant 18 U.S.C. § 4,

       the Texas Appellant made the state policy known to the judges in the United States

       Court of Appeals for the First Circuit, pursuant to Federal Rules of Evidence 201.

       This policy made sense of the ensuing documentary evidence that were also

       submitted and made known under 18 U.S.C. § 4 and Fed. R. Evid. 201.

             Explicitly applied to this instant case, the Appellees, in accordance with the

       policy, feloniously removed tens of thousands of dollars of “interest” from the

       automated data processing and information retrieval system governed by 42 U.S.C.

       §651-669 and feloniously sent to the State of Texas in 2018 a total amount with the

       interest thus removed, feloniously certifying it under, inter alia, 42 U.S.C.

       §666(14), showing prima facie felonious false certification, felonious accounting

       fraud, felonious false records. In so doing, Appellees feloniously sent a

       corresponding felonious false certification to the United States. See, EXHIBIT II.

             The resulting effect of the above felonious removals from the automated

       data processing and information retrieval system, fraudulent accounting, false

       accounts, false certifications to Texas and to the United States, and corresponding

       false claims to the United States under Title IV, feloniously produced fraudulent
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       online accounts created by the Appellees, that showed a felonious false record of

       $0 payment in December 2021 for Appellant’s very large lump sum payoff

       payment of $104,185.98 wired from Texas. See screenshot of Appellee-created

       and maintained online Title IV-D account in Exhibit III.

             The resulting effect of the above felonious removals produced the online

       account that showed $0.00 under interest as of December 6, 2021, due to the

       Appellees’ felonious removal of the interest in 2018 when Appellees sent the

       support to Texas for enforcement. See Exhibit IV. Appellees told the Appellant

       that the $0.00 showing on the online account represents the waiver of interest by

       the custodian parent, Appellee GERO MEYERSIEK.

             Appellant recorded in Texas the phone conversation Appellant had with

       Appellee John Langlois that took place on October 5, 2022, in which Appellee

       John Langlois also stated that Appellee GERO MEYERSIEK waived interest and

       changed his mind subsequent to Appellant performing on the agreed pay-off

       amount of $104,185.98, so Appellees put the 2018 removed interest back on the

       system. Putting the 2018 feloniously removed interest back on the system is a

       felony and the subsequent fraudulent liens levied on Appellant’s TEXAS

       properties are felonious that further violate TEXAS PENAL CODES. Appellant

       submitted this recording pursuant to Rhode Island Rules of Evidence 901 to the

       state family court in K2001-0521M, and to federal court judges pursuant Federal
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       Rules of Evidence 901, 201, and pursuant to 18 U.S.C. §4, 18 U.S.C. §666, and

       other applicable federal statutes.

             Therefore, pursuant to Fed. Rules of Evid. 201 of judicial notices of related

       concurrent court actions, Appellant requests judicial notice of the attached

       recording submitted to the concurrent courts for concurrent pending actions at law.

                    https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-

       hBMaEg9/view?usp=sharing

             Additionally, Appellant submitted Congressionally published statutory text,

       notes and amendments for 42 U.S.C. § 654, requesting judicial notice of the

       explicit preemptive statutory notes under Congress’s 1996 Amendment, that

       explicitly provided State participation in the Title IV Program on the condition of

       acceptance of the preemption of 42 U.S.C. § 654 over State laws and constitutions

       that must be amended to comply with the 1996 Amendments.

             Therefore, as of March 24, 2024, before the Court under the explicit

       invocation of 18 U.S.C. § 4, is the evidentiary proof that the Appellee felonious

       enforcement of unlawful interest that Appellees feloniously removed from the

       automated system in 2018 and thereafter feloniously certified to TEXAS and to the

       United States under 42 U.S.C. § 666(14) that there was no interest in Appellant’s

       interstate support case that goes to show that the state’s enforcement is not just


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       harassing but constitutes felonious organized fraud, squarely confronted the

       Appellee-counsel. Appellee-counsels affirmative actions concealing the felonious

       scheme thereafter proves beyond a doubt that sanctions are warranted.

             Subsequent to Appellant’s foremost compliance under 18 U.S.C. § 4 to

       diligently make known criminal activities to judges of the United States, Appellant

       proceeded in the morning hours of March 29, 2024 to draft and prepare court

       filings for motions for judicial notice under Fed. R. of Evid. 201.

             However, around 10 AM on March 29, 2024, Appellee-counsel first filed

       Appellees’ Appellee-Brief in the related case No. 23-1851, without offering any

       evidentiary proof, refuting the undisputable factual evidence squarely before the

       Court, contradictorily painting and claiming under Oath as officers of the court

       their unlawful enforcement as lawful, but unsupported by any evidence to support

       Appellees’ unsubstantiated claim.

                Appellees-counsel’s solution to “remove” the evidentiary proof before the

       Court filed by the Appellant since March 24, 2924 that proves the Appellee-Brief

       filed in Appeal No. 23-1851 is filled with lies is to file a motion to strike

       Document 00118126723 that Appellant filed here on March 24, 2024 that

       consisted of evidentiary proof of the Appellees and Appellees-counsels’

       affirmative and felonious concealment. State Appellees’ filing of the motion to


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       strike here, as well as in the related case No. 23-1851, is squarely affirmative acts

       to conceal Appellees’ felonious scheme.

             Therefore, in the scenario in which Appellees prevail, there necessarily

       would entail countless “removals” from official records in official proceedings of

       incriminating evidence damning to the Appellees, e.g.,:

             (1) Removal without basis in law from this official Appellate record

                 evidence of Appellees’ felonious removal of tens of thousands of interest

                 from the automated data processing and information retrieval system

             (2) Perpetuating the Appellees’ felonious routine practice by policy under

                 color of state law in aid of Appellees’ felonious removal from the

                 automated data processing system the unlawful 42 U.S.C. § 654(21)(A)

                 prohibited 12% compound interest in interstate cases when Appellees

                 feloniously send to other states like TEXAS under felonious false

                 certifications that there is no interest in order to feloniously cover up

                 Rhode Island’s unlawful 12% compound interest felonious scheme, and

                 when Appellees feloniously send to the United States under the Title IV

                 Federal Program falsely and feloniously certifying compliance with 42

                 U.S.C. § 654 in order to feloniously obtain federal funding for which

                 Rhode Island is ineligible.



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             Appellant avers in good faith that both scenarios above necessarily involve

       equally complicit acts by judges in this Court pursuant to 18 U.S.C. § 4, also

       reviewable under fraud on the court and other applicable federal criminal statutes.

       This is because the Rules of Evid. 201 submitted material that invokes 18 U.S.C. §

       4, shows systemic and organized felonious violation by official policy of 42 U.S.C.

       § 654(21)(A) by various Title IV-covered State political subdivisions under Rhode

       Island’s State Plan, and the Appellees’ felonious coordinated, concerted and

       organized efforts to feloniously cover it up. The felonious cover up of Appellees’

       violation of 42 U.S.C. § 654(21)(A) entailed sophisticated felonious removal of the

       unlawful 12% compound interest from the automated data processing and

       information retrieval system on a routine basis to “zero out any existing interest”

       for the explicit felonious purpose of “for the purpose of removing interest from

       interstate cases.” The policy further states, “Two reports will be created. The first

       will detail the interstate cases for which a support order modification was done first

       for which one or more interest adjustments were created. The second report will

       detail interstate cases for which the interest field is Y, B, B or P.” Explicitly

       applied to this instant case, the Appellees, in accordance with the policy,

       feloniously removed tens of thousands of dollars of “interest” from the automated

       data processing and information retrieval system governed by 42 U.S.C. §651-669

       and feloniously sent to the State of Texas in 2018 a total amount with the interest


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       thus removed, feloniously certifying it under, inter alia, 42 U.S.C. §666(14),

       showing prima facie felonious false certification, accounting fraud, false records.

       In so doing, Appellees feloniously sent a corresponding false certification to the

       United States.

                    The attached factual materials show on their face, beyond any doubt,

       that the judge-created “court order” laws created by the judges in the State’s family

       court show felonious judge-created laws under color of state law the felonious

       establishment and felonious enforcement of the State’s “interest” that is

       “prohibited in interstate cases” that involve the felonious routine removal from the

       system the interest when feloniously certifying to another state like TEXAS and

       feloniously certifying State compliance to the Title IV Program for federal

       funding, to the United States.

          The above show unequivocally sanctionable defraud of the Court by the

       Appellees and Appellee-counsel(s), all of whom are additionally regulated under

       42 U.S.C. § 654(1), including subornation of perjury and conspiracy to suborn

       perjury.

          The above show unequivocally sanctionable defraud of the United States,

       defraud of Texas, defraud of the Appellant, making false claims, making false

       certifications, accounting fraud, falsification of records, obstruction of official


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       proceedings, obstruction of justice, violation of 18 U.S.C. § 2(b), §3, §4 among

       numerous others by both the Appellees and Appellee-counsels.

          II.   Misprision of Felony by the Appellees and Appellees-Counsels

          A. Requisite knowledge of “removing interest from the system,” “keeping
             interest off the system,” “agree to keeping interest off the system,”
             “changed his mind and put interest back on the system” are felonies –
             and handshake partnership – United States v. Olson, 856 F.3d 1216 (9th
             Cir. 2017)



          Firstly, the Court must take notice under Fed. R. Evid. 201 the textual language

       of 18 U.S.C. § 4.

          The misprision of felony statute states:

          “Whoever, having knowledge of the actual commission of a felony cognizable

       by a court of the United States, conceals and does not as soon as possible make

       known the same to some judge or other person in civil or military authority under

       the United States, shall be fined under this title or imprisoned not more than three

       years, or both.” 18 U.S.C. § 4 (emphasis added). The emphasis was added by the

       9th Circuit Court of Appeals in United States v. Olson, 856 F.3d 1216 (9th Cir.

       2017).

          To establish misprision of felony, the government must prove beyond a

       reasonable doubt: “(1) that the principal . . . committed and completed the felony


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       alleged; (2) that the defendant had full knowledge of that fact; (3) that he failed to

       notify the authorities; and (4) that he took affirmative steps to conceal the crime of

       the principal.” Lancey v. United States, 356 F.2d 407, 409 (9th Cir. 1966)

       (alterations omitted) (quoting Neal v. United States, 102 F.2d 643, 646 (8th Cir.

       1939)).

          Appellees have thus far resisted and fought discovery production in the on-

       going state family court under advisement of the Rhode Island Attorney General

       for any and all information regarding the Appellees’ waiver of interest, or

       partnerships or agreements or arrangements amongst the State Appellees and

       Appellee GERO MEYERSIEK.

          Nevertheless, the plain existence of a partnership and agreement is in plain

       sight, upon the availability of State Policy attached hereto in Exhibit I that makes

       sense of multiple referrals of “remove interest off the system,” “keep interest off

       the system,” “agree to keep interest off the system,” and “put interest back on the

       system.”

          The TRAC records attached in Exhibit II records in plain and explicit terms the

       multiple discussions and activity that are described in terms of “remove interest

       from the system,” “keep interest off the system,” “agree to keep interest off the

       system,” and “put interest back on the system.”


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          Critically, the Rhode Island Attorney General before this Court attached copies

       of the state family court order issued at a hearing dated February 10, 2023 that

       explicitly ordered, “…interest put back on the system without prejudice to the

       Defendant.”

          The full meaning of the interest “removed” or “keep off” or “agree to keep off”

       or “put back” on the system cannot be fully comprehended until the 2024 available

       State Policy attached hereto in Exhibit I made sense of those terms submitted in

       numerous instances to this United States Court by the Appellee counsel, the Rhode

       Island Attorney General.

          It is plain that the Rhode Island Attorney General has the State Policy in HIS

       possession, and he affirmatively concealed it from this tribunal.

          The record in this appeals court plainly show that the Rhode Island Attorney

       General, confronted with Appellant’s March 24, 2024 submission of the State

       Policy attached hereto in Exhibit I under 18 U.S.C. § 4 and Fed. R. Evid. 201,

       affirmatively filed motions to strike it from the record on or around 9 AM March

       29, 2024. The irony is, just as the Appellees feloniously remove unlawful 12%

       compound interest from the automated data processing and information retrieval

       system, the Rhode Island Attorney General similarly seeks to feloniously remove




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       the State Policy exposing and making sense of the systemic interstate fraud from

       the court record keeping system in this tribunal.

          Pursuant to United States v. Olson, 856 F.3d 1216 (9th Cir. 2017), a panel of

       judges in the Ninth Circuit found that, “Congress intended the misprision

       statute to apply solely to conduct the average person would understand as

       criminal and serious.” “[M]isprision comprehends an offence which is of so

       serious a character that an ordinary law-abiding citizen would realise he

       ought to report it to the police.”

          The certification and grant forms that the 42 U.S.C. § 654(1) political

       subdivisions fill out to obtain federal grants and funding under 42 U.S.C. § 651-

       669 bear the warning that any individual who submitted false statements could be

       imprisoned up to five years. Appellees had seen similar warnings “many times,”

       and the Court should infer Appellees’ sophistication from experience as the state’s

       designated enforcement entity. This is the reason for the adoption of the State

       Policy to “zero out interest” in interstate cases plainly for concealment purposes.

       The state’s Attorney General tasked with enforcing making into effect 42 U.S.C. §

       654 in all political subdivisions under the State Plan has an even higher degree of

       duty and sophistication having possession of the State Policy.




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          To illustrate this point, Appellant attaches herewith the 9th Circuit’s opinion

       United States v. Olson, 856 F.3d 1216 (9th Cir. 2017), as Exhibit V.

          B. Appellee GERO MEYERSIEK’S SOPHISTICATION AND
             KNOWLEDGE OF FELONY



       The language used by Appellee GERO MEYERSIEK shows and proves beyond a

       doubt that not only is MEYERSIEK a partner of the State Appellees, he is in the

       know of the sophistication of the State Policy’s purpose underlying Appellees’

       felonious interest removals from the system, keeping interest off the system,

       agreeing to keeping the interest off the system, and changing his mind and putting

       interest back on the system.

             Pointedly, MEYERSIEK’s lawyer, Barbara Grady, and MEYERSIEK

       himself, explicitly describe their actions similarly in terms of felonious interest

       removals from the system, keeping interest off the system, agreeing to keeping the

       interest off the system, and changing his mind and putting interest back on the

       system, over and over again from 2018 to 2024. MEYERSIEK, if incognizant or

       unsophisticated, would not describe what ordinarily would be explained by a

       layman as “waive interest” or “agree to waive interest” or “changed his mind and

       demand interest” as felonious interest removals from the system, keeping interest




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       off the system, agreeing to keeping the interest off the system, and changing his

       mind and putting interest back on the system.

             Appellee-GERO MEYERSIEK’s lawyers, Barbara Grady (in family court)

       and Joanna Achille, similarly have knowledge of and are in possession of the State

       Policy attached hereto in Exhibit I. Barbara Grady’s husband Paul Dugan, a law

       firm partner of Dugan & Grady Law, was a former Deputy Chief Counsel of

       Appellee Office of Child Support Services and knew and was in possession f the

       State Policy, and among his job mandate, as are the individual State Appellees of

       this action, is to enforce and conceal the felonious State Policy and practice from

       detection. Appellee Gero Meyersiek, by and through his lawyer Barbara Grady,

       had partnered with the State Appellees to feloniously establish unlawful 12%

       compound interest in the interstate case involving TEXAS in the contemplated

       ensuing enforcement, necessarily involving contemplated felonious false

       accounting, false certification and fraudulent liens, and is an accessory to aiding

       and abetting in making false claims to the United States.

       Appellee-GERO MEYERSIEK’s counsel, Joanna Achille, did not file an

       Appellee-Brief in the related matter in Appeal No. 23-1851 nor did she file any

       disclosure of the State Policy and her client GERO MEYERSIEK’s scheme with

       the State Appellees to remove the interest off the system and to keep the interest

       off the system until Appellees induced the TEXAS Appellant to pay the lump sum
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       payoff amount of $104,185.98, then schemed with the Appellees to put the interest

       back on the system. However, she plainly knew the substantive elements of the

       felonious false claim for interstate unlawful 12% compound interest that

       necessitated the felonious interest removals from the system, keeping interest off

       the system, agreeing to keeping the interest off the system, and changing his mind

       and putting interest back on the system. Counsel for Appellee-GERO

       MEYERSIEK, confronted with the State Policy evidence attached hereto in

       Exhibit I as of March 24, 2024 in this matter, similarly failed to make known to

       federal authorities the commission of felonious crimes, and has affirmatively

       concealed the crimes in violation of 18 U.S.C. § 4 evidenced in this proceeding

       alone.

          III.   Nix v. Whiteside, 475 U.S. 157 (1986) Requires Withdrawal of
                 Appellee-Counsels pursuant to Model Rule of Professional Conduct
                 1.2 (stating that a lawyer shall not counsel a client to engage, or assist
                 a client, in conduct that the lawyer knows is criminal or
                 fraudulent); Model Rule 3.3 cmt. [12] (recognizing that lawyers have
                 a special obligation to protect a tribunal against criminal or
                 fraudulent conduct that undermines the integrity of the adjudicative
                 process, such as unlawfully destroying or concealing documents or
                 other evidence or failing to disclose information to the tribunal when
                 required by law to do so); Model Rule 1.16 (requiring that a lawyer
                 withdraw from the representation of a client if the representation
                 will result in violation of the rules of professional conduct or other
                 law).




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          The Court must further review the conduct of the counsels for Appellees

          pursuant to the duty of the Court and the judges’ duty under 18 U.S.C. § 4,

          pursuant to Nix v. Whiteside, 475 U.S. 157 (1986).

             The United States Supreme Court in Nix v. Whiteside, 475 U.S. 157

          (1986) makes plain that the attorneys here are required to withdraw pursuant to

          Model Rule of Professional Conduct 1.2 (stating that a lawyer shall not counsel

          a client to engage, or assist a client, in conduct that the lawyer knows is

          criminal or fraudulent); Model Rule 3.3 cmt. [12] (recognizing that lawyers

          have a special obligation to protect a tribunal against criminal or fraudulent

          conduct that undermines the integrity of the adjudicative process, such as

          unlawfully destroying or concealing documents or other evidence or failing to

          disclose information to the tribunal when required by law to do so); Model Rule

          1.16 (requiring that a lawyer withdraw from the representation of a client if the

          representation will result in violation of the rules of professional conduct or

          other law).

             A. Impeachable Conduct by the Rhode Island Attorney General

          Here, the record on appeal makes clear that the Rhode Island Attorney General,

       itself a political subdivision subject to regulation under 42 U.S.C. § 654, has had

       knowledge of the State Policy attached hereto in Exhibit I (hereafter “State


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       Policy”) since counsels’ entry of appearance in this matter in January 2023, for

       over 15 months. The state attorney general as the premier law enforcement

       political subdivision under the regulation of 42 U.S.C. § 654 affirmatively knew

       and have known about the State Policy since its latest revision in 2011. As such,

       since 2011, the Attorney General of Rhode Island has affirmatively counseled

       Rhode Island political subdivisions to engage, or assist the subdivisions in

       implementing and put into practice the State Policy that the lawyer knows is

       feloniously criminal and feloniously fraudulent.

             In this matter alone, the State Appellee counsel has egregiously violated

          Model Rule 3.3 cmt. [12] (recognizing that lawyers have a special obligation to

          protect a tribunal against criminal or fraudulent conduct that undermines the

          integrity of the adjudicative process, such as unlawfully destroying or

          concealing documents or other evidence or failing to disclose information to the

          tribunal when required by law to do so). The Rhode Island attorney general has

          violated his special obligation, that is further regulated by 42 U.S.C. § 654, to

          protect this tribunal against felonious criminal and fraudulent conduct that

          undermines the adjudicative process, such as feloniously concealing the State

          Policy and other evidence related to the Policy, feloniously moving the Court to

          strike the State Policy from the record under the ludicrously lame excuse of

          “another bite at the apple” and then failing to disclose the State Policy and

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         related materials to the tribunal when required to do so. Undisputedly, for the

         purpose of the furtherance of the appellate truth-seeking duty of this Court,

         Congress proscribed Fed. R. of Evidence 201 and Fed. R. Civ P. 60(b)(3), (4),

         (5), and (6) as mainstays ENABLING “another bite at the apple” in the

         furtherance of justice and public interest. Rather than complying with federal

         law, including applicable federal and state criminal laws, counsels for the State

         Appellees engage in felonious acts in violation of inter alia 18 U.S.C. § § 2, 3,

         and 4.

         Model Rule 1.16 (requiring that a lawyer withdraw from the representation of a

         client if the representation will result in violation of the rules of professional

         conduct or other law) requires the Attorney General of Rhode Island to

         withdraw from the case, and any contradictory state case law or state judge-

         created laws interpreting Model Rule 1.16 and the state Attorney General’s

         prerogative is preempted by Nix v. Whiteside, 475 U.S. 157 (1986) in this

         matter. Public interest dictates it. The Rhode Island public should not be

         made to foot the bill for the abject interstate felonious commission of crimes

         before this Court by the counsels for the State Appellees.

           The public/citizens of other states victimized by Rhode Island’s felonious

         scheme aided and abetted by the 42 U.S.C. § 654 regulated Rhode Island

         Attorney general should not be made to foot the bill for protecting themselves
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         from Appellees and Appellees-counsels scheme, just because of a Rhode Island

         state judge-created law on the prerogative of a state attorney general to decide

         who to represent. In reality, the state attorney general’s conduct is

         impeachable. This is not about whether the attorney general of Rhode Island

         has a prerogative to decide who to represent, this is about whether his

         prerogative choice is felonious and impeachable conduct.

            B. Mandatory Withdrawal of Counsel for Appellee-GERO
               MEYERSIEK
            For the foregoing reasons, counsel for Gero Meyersiek is similarly required

         to withdraw pursuant to Model Rule of Professional Conduct 1.2 (stating that a

         lawyer shall not counsel a client to engage, or assist a client, in conduct that the

         lawyer knows is criminal or fraudulent); Model Rule 3.3 cmt. [12] (recognizing

         that lawyers have a special obligation to protect a tribunal against criminal or

         fraudulent conduct that undermines the integrity of the adjudicative process,

         such as unlawfully destroying or concealing documents or other evidence or

         failing to disclose information to the tribunal when required by law to do so);

         Model Rule 1.16 (requiring that a lawyer withdraw from the representation of a

         client if the representation will result in violation of the rules of professional

         conduct or other law).




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          IV.   Fed. R. Civ. 11(c)(3)

             Here, the State Policy was not available until 2024, during the time that the

       functus officio district court judge William E. Smith modified the record on appeal

       post-appeal several times, in a felonious attempt to interfere with the cause of the

       appeal. Because the state policy was not available until 2024, Appellant properly

       requested judicial notice of the State policy pursuant to Fed. R. of Evidence 201 on

       March 24, 2024, and multiple times thereafter. Appellant further invoked Fed. R.

       Evid. 201(e) for a hearing by right in every filing made in this Court since the

       Appellant’s filing of her Motion for Judicial Notice pursuant to Fed. R. Evid. 201

       on March 24, 2024 and March 29, 2024

             Because the State Policy has long been available to the Appellee-counsel

       and Fed. R. Civ. P 11 requires the Appellee-counsel to investigate the facts relating

       to the State Policy available to the Appellee-counsel at counsel’s disposal, the

       Appellee-counsel’s filing of the Appellee-brief and the lies contained therein has

       shown to be utterly lacking in candor and blatantly lying to the Court, constituting

       prima facie fraud on the court. As such the Appellee-Brief should be stricken from

       the record, pursuant to Fed. R. Civ. P 11.

             The Court, on its own initiative under Fed. R. Civ. P 11(c)(3) should order

       the Appellees and Appellees’ counsels to show cause why conduct by the


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       Appellees and their counsels specifically described above has not violated Rule

       11(b).

                In aid of the Court, the Appellant attaches hereto in Exhibit VI Document

       00118126723, that was reported to the judges of this United States Court of

       Appeals under 18 U.S.C. § 4 and Fed. R. Evid. 201.

                Appellant moreover respectfully requests the judges of the United States,

       explicitly conferred by Congress the explicit duty under 18 U.S.C. § 4, to refer the

       criminal acts made known in Document 00118126723 to the United States

       Attorney General Merrick Garland, an official who also foots the bill under 18

       U.S.C. § 4, pursuant to Fed. R. Civ. P 11(c)(4) “to deter repetition of the conduct

       or comparable conduct by others similarly situated.”

                Appellant respectfully requests furthermore that the Court order the

       Appellees pay the Appellant $250,000 and no less than $50,000 for each infraction

       named herein, for having to prosecute this motion for their felonious conduct.

          V.       CONCLUSION

                   The Court should grant this motion for sanctions. The Court should

                   order the withdrawal of Appellee-counsels named herein. The Court

                   should order the Appellant-requested $250,000 and no less than $50,000

                   for each infraction named herein payable by the Appellees and Appellees


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                 counsels to the Appellant, for having to prosecute this motion for their

                 felonious conduct. The Court should take judicial notice of Document

                 00118126723 filed under Fed. R. Evid. 201 and 18 U.S.C. § 4. The

                 Court should strike the Appellee’s motion to strike from the record for

                 fraud on the court and for violation of Fed. R. Civ. P 11(b). The Court

                 should on its own initiative under Fed. R. Civ. P 11(c)(3) order the

                 Appellees and Appellees’ counsels to show cause why conduct by the

                 Appellees and their counsels specifically described above has not

                 violated Rule 11(b). The judges of the United States have been explicitly

                 conferred an explicit duty by Congress under 18 U.S.C. § 4 and should

                 refer the criminal acts made known in Document 00118126723 to the

                 United States Attorney General Merrick Garland, an official who also

                 foots the bill under 18 U.S.C. § 4, pursuant to Fed. R. Civ. P 11(c)(4) “to

                 deter repetition of the conduct or comparable conduct by others similarly

                 situated,” in the interest of the public. The Appellant respectfully requests

                 any and all relief that is just under the circumstances.

                Pursuant to Fed. R. Evidence 201(e), Appellant requests by right a hearing.

                                        Respectfully submitted,
                                        Mary Seguin
                                        Pro Se
                                        /s/____________________

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                                       Email: maryseguin22022@gmail.com
                                       Phone: (281)744-2016
                                       P.O. Box 22022
                                       Houston, TX 77019

                                       Dated: April 7, 2024

                                CERTIFICATE OF SERVICE

             This is to certify that the foregoing instrument has been served via the
       Court’s ECF filing system on April 7, 2024, on all registered counsel of record,
       and has been transmitted to the Clerk of the Court.

                                                     Mary Seguin
                                                     Pro Se
                                                     /s/____________________
                                                     Email: maryseguin22022@gmail.com
                                                     Phone: (281)744-2016
                                                     P.O. Box 22022
                                                     Houston, TX 77019




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                            FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT


          UNITED STATES OF AMERICA,               No. 15-30022
                    Plaintiff-Appellee,
                                                  D.C. No.
                       v.                   3:13-cr-00093-TMB-1

          KAREN B. OLSON,
                 Defendant-Appellant.              OPINION


                Appeal from the United States District Court
                         for the District of Alaska
                Timothy M. Burgess, Chief Judge, Presiding

                   Argued and Submitted August 4, 2016
                           Anchorage, Alaska

                             Filed May 15, 2017

                Before: Raymond C. Fisher, Richard A. Paez
                  and Andrew D. Hurwitz, Circuit Judges.

                        Opinion by Judge Fisher;
                      Concurrence by Judge Hurwitz
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                                     SUMMARY*


                                    Criminal Law

              The panel affirmed the defendant’s conviction under
         18 U.S.C. § 4 (misprision of felony) for concealing and
         failing to notify authorities of her business partner’s
         submission of false statements to the United States
         Department of Agriculture Rural Development Program in
         connection with a federal grant application.

             The panel held that, to secure a conviction under § 4, the
         government must prove not only that the defendant knew the
         principal engaged in conduct that satisfies the essential
         elements of the underlying felony, but also that the defendant
         knew the conduct was a felony; that to establish the latter, the
         government must prove the defendant knew the offense was
         punishable by death or a term of imprisonment exceeding one
         year; and that sufficient evidence supports the jury’s finding
         that the defendant here knew the principal’s crime was
         punishable by more than a year in custody.

             Concurring in part and concurring in the result, Judge
         Hurwitz would leave to another day, in a case in which it
         matters to the outcome, whether the government must prove
         in a § 4 prosecution that the defendant knew the underlying
         offense was a felony.




             *
               This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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                                  COUNSEL

         Glenda Kerry (argued), Law Office of Glenda J. Kerry,
         Girdwood, Alaska, for Defendant-Appellant.

         Retta-Rae Randall (argued), Assistant United States Attorney,
         United States Attorney’s Office, Anchorage, Alaska, for
         Plaintiff-Appellee.


                                  OPINION

         FISHER, Circuit Judge:

             Karen Olson appeals her conviction for misprision of
         felony under 18 U.S.C. § 4. She was convicted of concealing
         and failing to notify authorities of her business partner’s
         submission of false statements to the United States
         Department of Agriculture Rural Development Program
         (USDA) in connection with a federal grant application. She
         challenges her conviction, arguing the government failed to
         prove she knew the conduct she concealed constituted a
         felony. We address her argument in two parts. First, we
         agree with Olson that, to secure a conviction under 18 U.S.C.
         § 4, the government must prove not only that the defendant
         knew the principal engaged in conduct that satisfies the
         essential elements of the underlying felony, but also that the
         defendant knew the conduct was a felony. See Flores-
         Figueroa v. United States, 556 U.S. 646, 652 (2009)
         (“[C]ourts ordinarily read a phrase in a criminal statute that
         introduces the elements of a crime with the word ‘knowingly’
         as applying that word to each element.”). Second, applying
         that standard, we hold sufficient evidence supports the jury’s
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         finding that Olson had the requisite knowledge here. We
         therefore affirm.1

                              BACKGROUND

             The USDA awarded a grant to Robert Wells to open a
         milk processing facility. The terms of the grant provided that
         certain equipment was to be purchased wholly or in part with
         grant funds, and that the USDA would hold a first lien
         position on any equipment purchased with grant money.
         Although the grant was in Wells’ name, he had an informal
         “handshake” partnership with Olson, a former Alaska
         executive director of the USDA Farm Service Agency who
         wrote Wells’ grant application. Wells described her as the
         “brains” behind the grant, and their informal partnership
         entitled her to 50 percent of the profits from the milk
         processing facility.

              Around the same time, Kyle Beus received a separate
         USDA grant to establish an ice cream and cheese
         manufacturing facility. The paperwork for both Wells’ and
         Beus’ grant applications warned that anyone who made false,
         fictitious or fraudulent statements could be fined or
         imprisoned for up to five years.

              Wells, Beus and Olson agreed to locate their two projects
         at the same facility. Unbeknownst to Wells and Olson, Beus
         instructed his contractor, Nether Industries, to inflate the
         value of certain dairy processing equipment – including a
         clean-in-place (CIP) system and a glycol chilling system – on
         papers submitted to the USDA for reimbursement. Beus also

            1
              We reject Olson’s remaining challenges in an unpublished
         memorandum disposition filed concurrently with this opinion.
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         submitted invoices to Nether, allegedly for project expenses,
         so he could personally receive a portion of the grant money
         the USDA disbursed.

             A year into the enterprise, Beus told Wells and Olson he
         had leased certain “technologically obsolete” pieces of
         equipment rather than purchase new equipment as agreed in
         the original grant application, including a “really cheap old
         glycol unit” and an “incomplete clean-in-place system.” As
         to some of this equipment, Olson informed the USDA there
         had been a change of plans that called for “leasing instead of
         outright purchasing some of the original smaller equipment.”
         She did not do so, however, with respect to the CIP system
         and glycol cooling system. The attached “Proposed Money
         Grant Expenditure” included a CIP system listed at $35,000
         and a glycol cooling system listed at $50,000 when, in fact,
         those systems had been leased rather than purchased.

             After the USDA disbursed the grant funds, Olson filed a
         final report with the department. It included a “Final List of
         Expenditures by Category and Completion” that once again
         falsely listed the purchase of a $35,000 CIP system and a
         $50,000 glycol cooling system.

             Olson later became aware that Beus had been
         misappropriating grant funds by submitting false invoices to
         Nether Industries and receiving payments – which Olson
         described as “kickbacks” – in return. Olson also discovered
         Beus had improperly used grant funds to make a $71,000
         personal investment in a milk jug manufacturer. An entry in
         her day planner around this time reveals that she knew Beus’
         actions were improper. She wrote: “Began full-time work on
         financials/straightening out Kyle’s mess. Learning of
         questionable deals – Nether – Kyle spent $190,000 of our
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         grant on others, so Nether way over budget. Also, Kyle
         misused our [] advance $ as his own stock purchases – !”
         Olson told the project’s office assistant she “could send
         [Beus’] ass to jail.” She wrote members of her board that
         “[t]he revelations of the past week have crystallized for me
         that [Beus’ agreement to co-locate the projects] was simply
         a way to divert our grant money into a grandiose plan that has
         not worked,” and that Beus “has put the entire dairy industry
         at risk for an ever-widening investigation closing off all loan
         sources and public goodwill.”

             Olson was convicted after a jury trial of misprision of
         felony under 18 U.S.C. § 4. Her conviction was based on her
         knowledge that Beus, the principal, submitted false
         statements to the USDA in furtherance of his scheme to
         misappropriate grant funds in violation of 18 U.S.C. § 1014
         – a felony under federal law. Olson appeals.

                         STANDARD OF REVIEW

             “We review a question of statutory construction de novo.”
         United States v. Weitzenhoff, 35 F.3d 1275, 1283 (9th Cir.
         1993). “Our review of the constitutional sufficiency of
         evidence to support a criminal conviction is governed by
         Jackson v. Virginia, which requires a court of appeals to
         determine whether, ‘after viewing the evidence in the light
         most favorable to the prosecution, any rational trier of fact
         could have found the essential elements of the crime beyond
         a reasonable doubt.’” United States v. Nevils, 598 F.3d 1158,
         1163–64 (9th Cir. 2010) (en banc) (quoting Jackson v.
         Virginia, 443 U.S. 307, 319 (1979)) (citation omitted).
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                                 DISCUSSION

                                        I

             The misprision of felony statute states:

                 Whoever, having knowledge of the actual
                 commission of a felony cognizable by a court
                 of the United States, conceals and does not as
                 soon as possible make known the same to
                 some judge or other person in civil or military
                 authority under the United States, shall be
                 fined under this title or imprisoned not more
                 than three years, or both.

         18 U.S.C. § 4 (emphasis added).

             To establish misprision of felony, the government must
         prove beyond a reasonable doubt: “(1) that the principal . . .
         committed and completed the felony alleged; (2) that the
         defendant had full knowledge of that fact; (3) that he failed to
         notify the authorities; and (4) that he took affirmative steps to
         conceal the crime of the principal.” Lancey v. United States,
         356 F.2d 407, 409 (9th Cir. 1966) (alterations omitted)
         (quoting Neal v. United States, 102 F.2d 643, 646 (8th Cir.
         1939)). Only the second element is at issue here.

             To show a defendant has “knowledge of the actual
         commission of a felony cognizable by a court of the United
         States,” 18 U.S.C. § 4, the parties agree the government must
         prove at least that the defendant knew the principal engaged
         in conduct that satisfies the essential elements of the
         underlying felony. In other words, the defendant must “know
         the facts that make [certain] conduct fit the definition of the
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         offense.” Elonis v. United States, 135 S. Ct. 2001, 2009
         (2015) (quoting Staples v. United States, 511 U.S. 600, 608
         n.3 (1994)). The parties disagree as to whether – and to what
         extent – the government must also prove the defendant knew
         such conduct was a felony. We conclude Olson has the
         stronger argument.

             First, Olson’s construction is consistent with the general
         presumption that a mens rea requirement applies to each
         element of an offense. “Absent indication of contrary
         purpose in the language or legislative history of the statute,”
         Liparota v. United States, 471 U.S. 419, 425 (1985), we
         “ordinarily read a phrase in a criminal statute that introduces
         the elements of a crime with the word ‘knowingly’ as
         applying that word to each element,” Flores-Figueroa,
         556 U.S. at 652. See United States v. Williams, 553 U.S. 285,
         294 (2008) (applying a knowledge requirement to each
         subdivision in a statute in the absence of “grammar or
         structure enabl[ing] the challenged provision or some of its
         parts to be read apart from the ‘knowingly’ requirement”);
         United States v. X-Citement Video, Inc., 513 U.S. 64, 77–78
         (1994) (“[A]s a matter of grammar it is difficult to conclude
         that the word ‘knowingly’ modifies one of the elements in
         [the statute], but not the other.”). This “presumption in favor
         of a scienter requirement,” X-Citement Video, 513 U.S. at 72,
         “reflects the basic principal that ‘wrongdoing must be
         conscious to be criminal,’” Elonis, 135 S. Ct. at 2009
         (quoting Morissette v. United States, 342 U.S. 246, 252
         (1952)). As a general matter, “a defendant must be
         ‘blameworthy in mind’ before he can be found guilty.” Id.
         (quoting Morissette, 342 U.S. at 252).

             In Liparota, for example, the statute at issue imposed
         criminal liability on “whoever knowingly uses, transfers,
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         acquires, alters, or possesses coupons or authorization cards
         in any manner not authorized by this chapter or the
         regulations issued pursuant to this chapter.” Liparota,
         471 U.S. at 420 n.1 (alteration omitted) (quoting 7 U.S.C.
         § 2024(b)(1) (1985)). The evidence showed the defendant
         purchased food stamps from an undercover agent for less than
         face value. See id. at 421. The government argued the statute
         required proof only that the defendant knew of his acquisition
         of the cards, not that the acquisition was unauthorized by law.
         See id. at 423. The Supreme Court disagreed. Because it was
         not clear from the text of the statute which phrase or phrases
         Congress intended the knowledge requirement to modify, and
         because the legislative history contained nothing to clarify
         congressional purpose, the knowledge requirement applied to
         each phrase in the statute. The government was required to
         show the defendant knew purchasing food stamps for less
         than face value was unauthorized by law. See id. at 425.
         Since Liparota, the Court has applied this presumption to a
         range of statutes. See, e.g., Flores-Figueroa, 556 U.S. at 657
         (applying a knowledge requirement to each phrase in the
         aggravated identity theft statute); Williams, 553 U.S. at 294
         (applying a knowledge requirement to all elements in a child
         pornography statute); X-Citement Video, 513 U.S. at 78
         (applying a knowledge requirement to all elements in a
         statute criminalizing the exploitation of minors).

             The same presumption applies here. First, as in Liparota,
         the text of the misprision statute alone does not make clear
         whether the knowledge requirement applies to each element.
         Compare 18 U.S.C. § 4 (“Whoever, having knowledge of the
         actual commission of a felony cognizable by a court of the
         United States . . . .”), with 7 U.S.C. § 2024(b)(1) (1985)
         (“[W]hoever knowingly uses, transfers, acquires, alters, or
         possesses coupons or authorization cards in any manner not
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         authorized by this chapter . . . .”). Putting aside the Flores-
         Figueroa presumption, the mental state in § 4 could plausibly
         be read to modify only “actual commission” or both “actual
         commission” and “of a felony cognizable by a court of the
         United States.” Under Flores-Figueroa, however, we
         presume Congress intended the knowledge requirement to
         apply to both phrases, see 556 U.S. at 652, and nothing in the
         text or legislative history negates the presumption that
         Congress so intended. The government has not pointed to
         anything suggesting Congress intended to penalize someone
         who did not know she was witnessing the commission of a
         felony. Accordingly, given the language of § 4 and the
         Flores-Figueroa presumption, the statute is best interpreted
         as requiring proof that, in addition to showing the defendant
         knew the principal engaged in conduct satisfying the essential
         elements of the underlying felony, the government must also
         show the defendant knew such conduct was a felony.

             Second, even putting the presumption aside, the history of
         misprision also supports Olson’s construction. In England,
         before the advent of professional police forces, individual
         citizens bore the responsibility for combating crime. See Carl
         Wilson Mullis, III, Misprision of Felony: A Reappraisal,
         23 Emory L.J. 1095, 1114 (1974). They had “a duty to raise
         the hue and cry and report felonies to the authorities.”
         Branzburg v. Hayes, 408 U.S. 665, 696 (1972) (internal
         quotation marks omitted). See Hue and Cry, Black’s Law
         Dictionary (10th ed. 2014) (“The public uproar that, at
         common law, a citizen was expected to initiate after
         discovering a crime.”). A citizen who breached this duty
         could be charged with misprision. See Mullis, supra, at 1095.
         In this country, the First Congress enacted the American
         misprision statute as part of the Crimes Act of 1790, the
         current version of which is “functionally identical” to its
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         predecessor. United States v. Phillips, 827 F.3d 1171, 1175
         (9th Cir. 2016).

             This context suggests Congress intended the misprision
         statute to apply solely to conduct the average person would
         understand as criminal and serious. As an English court has
         explained, requiring knowledge of the serious criminal nature
         of the underlying offense “disposes of many of the supposed
         absurdities, such as boys stealing apples, which many laymen
         would rank as a misdemeanour and no one would think he
         was bound to report to the police. . . . [M]isprision
         comprehends an offence which is of so serious a character
         that an ordinary law-abiding citizen would realise he ought to
         report it to the police.” Sykes v. Dir. of Pub. Prosecutions,
         [1962] A.C. 528 at 563.2

             The government argues in passing that United States v.
         Graves, 143 F.3d 1185 (9th Cir. 1998), as amended (June 4,
         1988), supports its position. Graves, however, did not
         address the question we are considering here. Graves
         concerned the “accessory after the fact” statute, which states:
         “Whoever, knowing that an offense against the United States
         has been committed, receives, relieves, comforts or assists the
         offender in order to hinder or prevent his apprehension, trial
         or punishment, is an accessory after the fact.” Id. at 1187
         (emphasis added) (quoting 18 U.S.C. § 3). The defendant
         was charged as an accessory (“charged offense”) to the crime

             2
               Misprision has become a little used and much maligned criminal
         charge. England eliminated the offense a few years after the Sykes
         decision. See Mullis, supra, at 1100–01. American commentators have
         urged Congress to do the same, arguing the crime has outlived its
         usefulness in light of modern methods of law enforcement. See, e.g.,
         E. Lee Morgan, Misprision of Felony, 6 S.C. L. Q. 87, 95 (1953–54);
         Mullis, supra, at 1111 n.92 (listing commentators).
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         of felon in possession of a firearm (“underlying offense”).
         See id. at 1186. The underlying offense, felon in possession
         of a firearm, contains two elements: first, possession of a
         weapon and second, a previous felony conviction. See id. at
         1187. There was no evidence the defendant knew the
         principal was a felon, but the government argued it need not
         make such a showing. See id. We disagreed, holding a
         “defendant who is accused of being an accessory after the fact
         must be shown to have had actual knowledge of each element
         of the underlying offense.” Id. at 1189. The government was
         therefore required to prove the defendant knew that “the
         offender possessed a firearm” and that the offender “had
         previously been convicted of a felony.” Id.

             Applied here, Graves stands only for the undisputed
         proposition that Olson must have had knowledge of the
         elements of the underlying offense – submission of false
         statements to the USDA. Graves does not address or support
         the government’s argument regarding the specified
         knowledge requirement of the charged offense here –
         misprision of a felony.3

             In sum, in light of Supreme Court precedent and relevant
         history, we hold the misprision statute requires knowledge
         not only that the principal engaged in conduct that satisfies




              3
                Both parties invoke United States v. White Eagle, 721 F.3d 1108
         (9th Cir. 2013), in support of their respective positions. This case has no
         bearing on our analysis here because it did not address the knowledge
         requirement of the misprision statute. See id. at 1119–20 (addressing only
         the “failure to notify the authorities” and the “affirmative step to conceal”
         elements).
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         the essential elements of the underlying felony, but also that
         the underlying offense is a felony.4

                                             II

            The question then becomes: What does it mean to know
         conduct constitutes a felony?

             When a term used in a statute is defined by that statute or
         by “any other relevant statutory provision,” Taniguchi v. Kan
         Pac. Saipan, Ltd., 132 S. Ct. 1997, 2002 (2012), we generally
         presume that definition applies to the statute’s use of the
         term. See Stenberg v. Carhart, 530 U.S. 914, 942 (2000)
         (“When a statute includes an explicit definition, we must
         follow that definition, even if it varies from that term’s
         ordinary meaning.”); see also Meese v. Keene, 481 U.S. 465,

             4
                Olson asks us to go further by holding the government must show
         the defendant knew the relevant conduct was a felony under federal law,
         based on the statute’s language stating “of a felony cognizable by a court
         of the United States.” 18 U.S.C. § 4 (emphasis added). We decline to do
         so. “The concept of criminal intent does not extend so far as to require
         that the actor understand not only the nature of his act but also its
         consequence for the choice of a judicial forum.” United States v. Feola,
         420 U.S. 671, 685 (1975). The requirement that the felony be cognizable
         by a court of the United States was included in the statute to state the
         foundation for federal jurisdiction. See United States v. Howey, 427 F.2d
         1017, 1018 (9th Cir. 1970). “A defendant’s knowledge of the
         jurisdictional fact is irrelevant,” id., as has been held in numerous cases
         interpreting analogous statutory provisions. See, e.g., United States v.
         Felix-Gutierrez, 940 F.2d 1200, 1206–07 (9th Cir. 1991) (holding a
         defendant charged with being an accessory after the fact need not know
         the principal crime was one against the United States despite the presence
         of such language in the statute); Feola, 420 U.S. at 687 (holding a
         defendant charged with conspiracy need not know his conduct violated
         federal law despite the statute’s prohibition on conspiring to commit an
         offense against the United States).
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         484 (1987) (“It is axiomatic that the statutory definition of the
         term excludes unstated meanings of that term.”); United
         States v. Lettiere, 640 F.3d 1271, 1274 (9th Cir. 2011)
         (“[There is a] well-settled principle that, for purposes of
         statutory interpretation, the language of the statute is the first
         and, if the language is clear, the only relevant inquiry.”).

             This presumption is not absolute, however. If interpreting
         a term consistently with its statutory definition would, for
         instance, lead to “obvious incongruities” or would “destroy
         one of the major [congressional] purposes,” the statutory
         definition may yield to context. See Lawson v. Suwannee
         Fruit & S.S. Co., 336 U.S. 198, 201 (1949); see also Util. Air
         Regulatory Grp. v. EPA, 134 S. Ct. 2427, 2441 (2014)
         (confirming that the presumption of consistent usage may
         yield to context).

             Here, the term “felony” is defined as part of the federal
         criminal code as a crime punishable by death or a term of
         imprisonment exceeding one year. See 18 U.S.C. § 3559(a);
         see also Burgess v. United States, 553 U.S. 124, 130 (2008)
         (“[T]he term ‘felony’ is commonly defined to mean a crime
         punishable by imprisonment for more than one year.” (citing
         18 U.S.C. § 3559(a))). Although the misprision offense and
         the felony definition are in separate sections of the United
         States Code, they were included in the same statute at least
         twice. In 1909, Congress passed an act to “codify, revise, and
         amend the penal laws of the United States.” See Criminal
         Code of 1909, ch. 321, 35 Stat. 1088, 1088 (preamble) (the
         “1909 Crime Act”). Along with a slightly modified version
         of the original misprision statute, see id. § 146, 35 Stat. at
         1114, the 1909 Crime Act included, apparently for the first
         time, a statutory definition for the term “felony,” see id.
         § 335, 35 Stat. at 1152 (“All offenses which may be punished
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         by death, or imprisonment for a term exceeding one year,
         shall be deemed felonies.”). The 1948 Crimes and Criminal
         Procedure Act (the “1948 Crime Act”), enacted to “revise,
         codify, and enact into positive law, Title 18 of the United
         States Code, entitled ‘Crimes and Criminal Procedure,’”
         Crimes and Criminal Procedure Act, Pub. L. No. 80-772, 62
         Stat. 683, 683 (1948) (preamble), similarly included versions
         of both provisions. See id. §§ 1, 4, 62 Stat. at 684. Indeed,
         the 1948 Crime Act actually included the felony definition
         and the misprision offense on the very same page. See id.

             This is a case, therefore, in which Congress has adopted
         a statute using a term – “felony” – and in the same statute
         adopted a definition that presumptively applies. Moreover,
         it does not appear the presumption is rebutted by context.
         Applying the statutory definition, for instance, neither leads
         to incongruities nor destroys Congress’ purposes. See
         Lawson, 336 U.S. at 201. The drafting history of the 1909
         and 1948 Crime Acts supports this conclusion. Before 1909,
         the term “felony” lacked a uniform definition. A Senate
         Report on the 1909 Crime Act explained that the term
         “felony” had an “indefinite classification,” resulting in its
         being “indiscriminately applied.” S. Rep. No. 60-10, at 12
         (1908). The report therefore underscored the need for a
         uniform definition, which would “characterize the whole
         system rather than pertain to any particular part of it.” Id.
         Far from “destroy[ing] one of the major [congressional]
         purposes,” see Lawson, 336 U.S. at 201, incorporating
         § 3559’s definition into the misprision statute furthers
         Congress’ intent to bring a measure of uniformity to the
         criminal code.

             We therefore hold the government must prove the
         defendant knew the underlying offense was punishable by
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         death or more than one year in prison. The defendant need
         not know the precise term of imprisonment authorized by
         law, but at least she must know the potential punishment
         exceeds one year in prison.5

                                             III

             In Olson’s case, there was sufficient evidence to support
         a jury’s finding that she knew submitting false statements to
         the USDA was punishable by a sentence of incarceration
         exceeding one year. See Nevils, 598 F.3d at 1163–64.6 The
         USDA grant form Olson completed on behalf of Wells
         explicitly warned that any individual who submitted false


              5
               Knowledge is ordinarily a subjective standard, and the parties do not
         argue the rule is otherwise here. See, e.g., United States v. Twine,
         853 F.2d 676, 680 (9th Cir. 1988) (“We drew our conclusion in the face
         of Congress’ use of the terms ‘knowingly and willfully,’ words which the
         Model Penal Code defines in a subjective manner.”); United States v.
         Jewell, 532 F.2d 697, 707 (9th Cir. 1976) (en banc) (Kennedy, J.,
         dissenting) (“[K]nowledge [is] a matter of subjective belief, an important
         safeguard against diluting the guilty state of mind required for
         conviction.”).
              6
               As to this issue, Olson raises only a sufficiency of the evidence
         claim. Olson does not contest the adequacy of the misprision jury
         instruction apart from its failure to include a unanimity instruction – an
         issue we address in a concurrently filed memorandum disposition. Nor
         did she proffer a jury instruction at trial clarifying this point of law. We
         therefore assume the jury was properly instructed on misprision and
         address solely Olson’s argument that there was insufficient evidence of
         her knowledge. In future cases, of course, a defendant in Olson’s position
         could request an instruction requiring the government to prove that she
         knew the underlying offense was punishable by more than one year in
         prison. The instructions given here did not specifically address this issue,
         but Olson did not challenge the instruction on appeal, so we need not
         address whether the failure to give such an instruction was erroneous.
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         statements to the USDA could be imprisoned up to five years.
         Olson had seen similar warnings “many times,” and the jury
         could have inferred Olson’s sophistication from her
         experience as executive director of the USDA Farm Service
         Agency. This evidence was sufficient for a reasonable jury
         to find Olson knew Beus’ crime was punishable by more than
         a year in custody.

                               CONCLUSION

             We hold 18 U.S.C. § 4 requires the government to prove
         the defendant knew the principal engaged in conduct that
         satisfies the essential elements of the underlying felony and
         that the defendant knew such conduct was a felony. To
         establish the latter, the government must prove the defendant
         knew the offense was punishable by death or a term of
         imprisonment exceeding one year. Sufficient evidence
         supports that finding here. For the reasons stated in this
         opinion and in a concurrently filed memorandum disposition,
         we affirm Olson’s conviction.

            AFFIRMED.



         HURWITZ, Circuit Judge, concurring in part and concurring
         in the result:

             This case does not turn on whether the government must
         prove in a misprision prosecution under 18 U.S.C. § 4 that the
         defendant knew the underlying offense was a felony. As the
         majority correctly concludes, the evidence at trial sufficed for
         a misprision conviction even if the government bears that
         burden of proof.
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              The majority’s interpretation of the statute may be
         correct. But, I would leave such analysis for another day, in
         a case in which it matters to the outcome. See Whitehouse v.
         Ill. Cent. R. Co., 349 U.S. 366, 372–73 (1955) (“These are
         perplexing questions. Their difficulty admonishes us to
         observe the wise limitations on our function and to confine
         ourselves to deciding only what is necessary to the
         disposition of the immediate case.”); PDK Labs. Inc. v. DEA,
         362 F.3d 786, 799 (D.C. Cir. 2004) (Roberts, J., concurring
         in part and concurring in the judgment) (noting “the cardinal
         principle of judicial restraint” that “if it is not necessary to
         decide more, it is necessary not to decide more”).
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                                EXHIBIT VI.
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                                        No. 23-1967


                                     IN THE
                         UNITED STATES COURT OF APPEALS
                              FOR THE FIRST CIRCUIT
                           UNITED STATES OF AMERICA,

                                   Plaintiff-Appellant,
                                    MARY SEGUIN
                                             v.
           RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official
             capacity; MICHAEL D. COLEMAN, DEBORAH A. BARCLAY in their
            individual and official capacities; Rhode Island OFFICE OF Child Support
        Services in its official capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK
        DIBIASE, WENDY FOBERT, KARLA CABALLEROS, TIMOTHY FLYNN,
       LISA PINSONNEAULT, CARL BEAUREGARD, PRISCILLA GLUCKSMAN,
         JOHN LANGLOIS, PAUL GOULD, in their individual and official capacities;
        RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL A.
          SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF
                 RHODE ISLAND STATE COURT SYSTEM; RHODE ISLAND
          ADMINISTRATIVE OFFICE OF STATE COURTS in its official capacity;
      RHODE ISLAND ADMINISTRATIVE OFFICE OF THE SUPERIOR COURT in
           its official capacity; RHODE ISLAND JUDICIAL COUNCIL in its official
       capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
      ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE
        JUDICIAL TECHNOLOGY CENTER in its official capacity; JULIE HAMIL,
        MARISA BROWN, JOHN JOSEPH BAXTER, JR., JUSTIN CORREA in their
              individual and official capacities; RHODE ISLAND OFFICE OF THE
        ATTORNEY GENERAL in its official capacity; RHODE ISLAND OFFICE OF
          THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
       capacity; ADAM D. ROACH, PETER NERONHA in their official and individual
                capacities; TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK
                                  Appellants-Appellees.


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                        Appeal from the United States District Court
                               for the District of Rhode Island
                                   ___________________
      APPELLANT’S NOTICE TO THE JUDGES OF THE UNITED STATES OF
         THE COMMISSION OF ACTIVITIES BY PERSONS OR WHOEVER
      INVOLVING RECORD TAMPERING; KNOWING PRESENTATION, OR
        CAUSING TO BE PRESENTED, A FALSE OR FRAUDULENT CLAIM
       FOR PAYMENT OR APPROVAL; KNOWINGLY MAKING, USING OR
      CAUSING TO BE MADE OR USED, A FALSE RECORD OR STATEMENT
      MATERIAL TO A FALSE OR FRAUDULENT CLAIM; CONSPIRING TO
       COMMIT A VIOLATION OF THE AFORESAID TO PROCURE TITLE
         IV-D FUNDING, THAT INVOLVE VIOLATIONS OF 42 U.S.C. § 654
                               WHICH ARE
        PENALTY-INCURRING AND FINES INCURRING UNDER 42 U.S.C. §
         654, COMMITTED BY APPELLEE AGENTS OF TITLE IV SOCIAL
        SECURITY ACT STATE PLAN POLITICAL SUBDIVISIONS OF THE
               STATE OF RHODE ISLAND AND APPELLEE PERSONS
                                        Pursuant to
                                         18 U.S.C. § 4
                                      18 U.S.C. § 666
                      18 U.S.C. § 287 - making false, fictitious claims,
                  18 U.S.C. § 371 - conspiracy to defraud the United States,
          18 U.S.C. § 1001 - false documents or false statements to a federal agency,
                                18 U.S.C. § 1341 - mail fraud,
                                 18 U.S.C. § 1343 - wire fraud,
                        31 U.S.C. § 3279 - federal civil false claims act
                                              Et al.



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                                     ___________________


            Pursuant to 18 U.S.C. § 4, Appellant, proceeding from Texas and as a

      citizen of Texas, in aid of the Court, respectfully in good faith makes known to the

      Judges of the United States in the United States Court of Appeals for the First

      Circuit of United States of America, the commission of penalties-incurring and

      fines-incurring, both civil and criminal, (negligent and intentional) violations by

      Appellee persons or whoever acting as agents of the 42 U.S.C. § 654(1) political

      subdivisions of the State Plan of the State of Rhode Island and Appellee

      persons, pursuant to 18 U.S.C. § 666, 18 U.S.C. § 287 - making false, fictitious

      claims, 18 U.S.C. § 371 - conspiracy to defraud the United States, 18 U.S.C. §

      1001 - false documents or false statements to a federal agency, 18 U.S.C. §

      1341 - mail fraud, 18 U.S.C. § 1343 - wire fraud, 31 U.S.C. § 3279 - federal

      civil false claims act et al. (a non-exhaustive list of Appellee-violated federal

      codes is invoked in the Conclusion Section of this Notice), and respectfully

      requests review by a panel of judges in this United States Court of Appeals for the

      First Circuit under Fed. R. App. P 27(b) and Fed. R. App. P 8(a)(2)(D) invoked

      in the pending Fed. R. App. P 27(b) motion and Fed. R. App. P 8(a)(2)(D)

      motion pending in this matter.

            Appellant respectfully requests a hearing on the matters raised herein.


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            I.     APPELLANT’S LIMITED SCOPE PROSECUTION OF THE
                   APPELLEES IN LIMITED JURISDICTION 42 U.S.C. § 654(1)
                   STATE FAMILY COURT TITLE IV CASE PROCEEDING
            The Texas Appellant, a victim of the Appellees’ organized commission of

      Title IV-D and Title IV-A violative interstate 12% compound interest on overdue

      support fraud, fraudulent liens consisting of 42 U.S.C. § 654(21)(A) violative 12%

      COMPOUND INTEREST on overdue support on Texas properties, fraud, theft,

      and accounting fraud, respectfully requests judicial notice, in aid of the Court, of

      the Texas Appellant’s concurrent limited scope prosecution of the Appellees in the

      Rhode Island State Plan’s 42 U.S.C. § 654(1) political subdivision, Rhode Island

      Judiciary limited jurisdiction family court, where certain symbiotic state judicial

      actors, such as state judge John McCann III, state judge Haiganush Bedrosian and

      state magistrate Susan Nahabedian, routinely establish and enforce under color of

      Rhode Island state law 12% compound interest on overdue support, upon

      information, since 1988, with the possibility of since 1974. Appellant respectfully

      attached hereto this Notice Appellant’s February 4, 2024 and March 21, 2024

      electronic filings moving to compel enforcement of that court’s properly issued

      subpoena for Appellant’s Title IV-D case records including records showing the

      Appellee-Rhode Island Office of Child Support Service’s accounting alterations

      involving any and all records as they relate to the removal of 12% compound

      interest from the automated data processing system and putting the 12% compound


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      interest back on the system whether it be for certification of a compliant approved

      State Plan to the United States for claims under Title IV-D and Title IV-A

      programs funding under 42 U.S.C. §§ 654(7), 654(10), 654(14), 654(15), 654(16),

      654a, 654b; or certified to financial institutions or property-holding entities for the

      purpose of placing or perfecting liens on Appellant’s Texas properties, or certified

      to Texas for enforcement against the Appellant (e.g., to Texas for cooperation

      under 42 U.S.C. §666 (14) certifying the accuracy and legal sufficiency of Rhode

      Island’s automated data processing system accounted amount) that must obviously

      exactly corroborate with the amounts directly represented to and demanded from

      the Appellant during the course of the Appellees’ support collection activities –

      Appellant prosecuted judicial compulsion of Rhode Island Appellees’ compliance

      with the subpoena and compliance with 42 U.S.C. §654b’s requirement to furnish

      the information upon the noncustodial parent’s information request by filing the

      motion to compel using the State’s electronic court filing system, Odyssey,

      attached hereto under Exhibit A.

            Appellant in good faith relies on the straightforward and clearly worded

      ruling of the United States Court of Appeals for the 4th Circuit in Hodges v.

      Shalala, 121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002),

      cert. denied, 540 U.S. 811 (2003), that makes clear Congress’s intent to prescribe

      both civil and criminal penalties and fines for violations. Consistent with its

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      Spending Power, Congress has the authority to attach conditions on the receipt of

      federal funds. See South Dakota v. Dole, 483 U.S. 203, 206 (1987). The Title IV-D

      statute expressly provides that compliance with the 3-6% simple interest on

      overdue support, operating the automated system for accuracy and SDU

      requirements are conditions of approval of a state plan. See 42 U.S.C. §§ 654(7),

      (10), (14), (15), (16), (21)(A), (24), (27)A, § 654a, § 654b. The clear and

      unequivocal statement of the required conditions in the statute enabled Rhode

      Island to "exercise [her] choice knowingly, cognizant of the consequences of [her]

      participation." See Dole, 483 U.S. at 207 (citations omitted). The Supreme Court

      has recognized that Congress intended the linkages between child support

      programs and the TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484 (1990)

      (concluding Congress intended the two programs to "operate together closely.”

      The penalty provisions of the statute and the wording of the statute are plain.

      Where the Secretary determines that a state plan would be disapproved, and where

      the State has made and continues to make a good faith effort to comply and has

      submitted a corrective compliance plan, "the Secretary shall not disapprove the

      State plan . . . and the Secretary shall reduce the amount otherwise payable to the

      State [by the designated alternative penalty]." 42 U.S.C. § 655(a)(4)(A)(i)(II)

      (emphasis added). "[B]y the text of the statute, the legislature has prescribed that

      the Secretary shall enforce this penalty." Hodges v. Shalala, 121 F.2d at 879.


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      Absent any discretion available to the Secretary to impose a lesser penalty than the

      alternative penalty as outlined in the statute, Rhode Island is liable for the

      statutorily prescribed penalties. 1 Congress also enacted several criminal codes

      punishing persons, whoever who act as agents, such as the Appellees, who commit

      federal crimes, including cover up of unlawful activities under federal criminal

      codes, e.g., see 8 U.S.C. § 666, 18 U.S.C. § 287 - making false, fictitious claims,

      18 U.S.C. § 371 - conspiracy to defraud the United States, 18 U.S.C. § 1001 -

      false documents or false statements to a federal agency, 18 U.S.C. § 1341 -

      mail fraud, 18 U.S.C. § 1343 - wire fraud, 31 U.S.C. § 3279 - federal civil false

      claims act et al. (a non-exhaustive list of Appellee-violated federal codes is

      invoked in the Conclusion Section of this Notice). Penalties and fines against the

      State for noncompliance (including due process violations provided in 42 U.S.C.




      1
       In 2000, South Carolina unsuccessfully challenged the Department of Health and
      Human Services’ (HHS) authority to impose a penalty for its non-compliance, see
      Hodges v. Shalala, supra, and subsequently submitted a corrective-action plan and
      accepted imposition of a penalty retroactive to 1998. The State paid more than $55
      million in penalties through 2007. South Carolina Dep’t of Social Servs., Response to
      Budget Proviso 13.27 at 4 (Aug. 31, 2007),
      http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
              Emphatically, note that South Carolina’s violations and penalties do not involve
      deliberate alterations of and tampering with government records involved in accounting
      fraud, knowingly inputting 42 USC 654(21)(A) violative 12% compound interest into the
      automated system, then manually removing or adjusting them for purposes of
      certification purposes to Texas and to the United States in order to conceal the unlawful
      12% compound interest from the noncustodial parent and from Texas and Federal
      authorities in the false amounts certified to Texas and to the United States for incentive
      claims, cooperation claims and Title IV-D and Title IV-A funding claims.
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      §654(20) and corresponding §666) is explicit under federal codes Title IV-D, Title

      IV-A, and 18 U.S.C. § 666, and upheld.

                Appellant attaches the 4th Circuit’s ruling (Hodges v. Shalala, 121 F. Supp.

      2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002), cert. denied, 540 U.S.

      811 (2003) herewith under Exhibit B.

            Appellant moreover in good faith relies on the straightforward and clearly

      worded Brief filed by the United States Department of Justice and Secretary of the

      United States Department of Health and Human Services in the seminal United

      States Supreme Court case Turner v. Rogers, 564 U.S. 431 (2011) that showed

      South Carolina (found by the 4th Circuit Court of Appeals) liable for $75 million in

      penalties for that state’s 42 U.S.C. § 654 violations that did not even involve, inter

      alia, fraud and tampering with the record or unlawful 12% compound interest put

      into, then taken off, then put back on, the automated data processing system as here

      in Rhode Island by the political subdivision Appellees. The Texas Appellant, the

      victim of fraud and organized fraud by Rhode Island’s political subdivisions under

      42 U.S.C. § 654(1), in good faith made known the above activities to “some

      judges” of “the United States” such as the judges sitting in the Court of Appeals for

      the First Circuit and other relevant federal authorities under 18 U.S.C. § 4.




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            Appellant attaches the aforesaid Brief filed in the U.S. Supreme Court by the

      United States in Turner v. Rogers, 564 U.S. 431 (2011) herewith under Exhibit C.

            I.     SUA SPONTE RECUSAL OF RHODE ISLAND’S TITLE IV
                   POLITICAL SUBDIVISION STATE MAGISTRATE SUSAN
                   NAHABEDIAN WHO OPENLY DECLARED ON THE
                   RECORD RHODE ISLAND LAW SAYS 12% COMPOUND
                   INTEREST ON FEBRUARY 2, 2024 – THE 12% COMPOUND
                   INTEREST RATE WAS DELIBERATELY OMITTED AND
                   CONCEALED BY APPELLEES (BOTH JUDICIAL AND SDU)
                   SINCE 2010 IN APPELLANT’S TITLE IV CASE ALONE



            Appellant, similar to Michael Turner in Turner v. Rogers, 564 U.S. 431

      (2011), is a victim of unconstitutional unlawful seizures, here of Appellant’s Texas

      properties for fraudulent and unlawful 12% compound interest on overdue support

      liens (and their refusal to release fraudulent liens in violation of Texas Penal

      Codes) under Rhode Island fraud on the court under color of Rhode Island state

      law within the Title IV legal framework. The United State’s Brief elaborating the

      incentive structure of the Title IV legal framework against the implemented due

      process violative enforcement structure in South Carolina in Turner makes clear

      that South Carolina’s unlawful and unconstitutional deprivation of Turner’s liberty

      is calculated to show improved “enforcement” rates (unconstitutionally and

      unlawfully induced) in order to make claims for, inter alia, enforcement incentive

      payments under 42 U.S.C. § 658a.


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             Here, Rhode Island’s Title IV political subdivisions operate a sophisticated

       accounting fraud 42 U.S.C. § 654 non-compliant data processing system that is

       clearly not “automated” that involves, inter alia, routine removals of the 12%

       compound interest from the automated data processing system whenever Rhode

       Island risks detection when making certifications to other states such as Texas

       (under 42 U.S.C§666(14)) and emphatically when submitting certifications to the

       United States when making claims for Title IV-D and Title IV-A funding under,

       inter alia, 42 U.S.C. §§654(7), (10), (14), (15), (16), 42 U.S.C. §654a, 42 U.S.C. §

       654b, 42 U.S.C. § 658a, 42 U.S.C. § 658b. among others. Aiding these agents of

       the state subdivisions are certain symbiotic judicial persons that operate a

       minimized paper trail system that involves omitting stating 12% compound interest

       rate on overdue support orders for the purpose of covering up the State Plan’s

       violation of 42 U.S.C. § 654(21)(A) that explicitly permits UNFORMLY either

       0% or if interest is set, a 3-6% simple interest on overdue support. Symbiotic to

       the collective aim to conceal the State Plan’s noncompliance, the Appellee-Rhode

       Island Office of Child Support’s adopted official policy that explicitly states in

       writing NOT to pursue interest in interstate cases ONLY. For three long years,

       since November 2021, Appellant has been diligently and exhaustingly, and with

       outrageously exorbitant undue burden, seeking through three Rhode Island state

       Title IV-D proceedings and two federal actions at law in the district of Rhode


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       Island presided by a judge (Smith) who built his entire law practice representing

       Rhode Island 42 U.S.C. § 654(1) political subdivisions and their employees, for

       information regarding that rate of interest input into the 42 U.S.C. §§ 654 (7),

       (10), (14), (15), (16) (24), (27), §654a, § 654b mandated automated system, with

       every legal maneuvering thrown at Appellant at every turn to thwart and obstruct

       furnishing the accounting information that is mandated to be produced by statute

       under 42 U.S.C. §654b to the noncustodial parent Appellant anyway, without

       judicial compulsion. The language of Title IV-D makes clear that the permitted 42

       U.S.C. 654(21) 3-6% interest represents an “incentive” fee to the States, and

       stipulates that in welfare (Title IV-A) cases the established support order is

       assigned to the State, making clear that the interest on overdue support represents a

       form of revenue for the State in the form of debt owed to the State by the

       noncustodial parent.

             Through court ordered discovery in the state family court, yet through

       continuing refusals by Appellees to produce requested information relating to the

       accounting and removals from the automated data process system, Appellant

       nevertheless diligently obtained evidence of the Appellee-Rhode Island Office of

       Child Support Service’s policy of not pursuing interest in interstate support cases

       only, in violation of 42 U.S.C. § 654(21)(A) explicit requirement to set UNIFORM

       rates, attached hereto as Exhibit D.

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             Among others, because Appellees Barbara Grady, Gero Meyersiek and

       Priscilla Glucksman and certain employees of political subdivision state family

       court believe that the Appellant “married a rich oil man” in Texas, they schemed to

       defraud the Appellant in this interstate Title IV-D case since 2010, to wit the

       guardian ad litem’s demand to pay the outrageous $55,000.00 per visitation, even

       though the State has been receiving through filing claims for grants at a minimum

       $10,000,000.00 in grants under 42 U.S.C. §669b to facilitate visitation etc. In

       retaliation for Appellant’s federal lawsuits in 2012 against the Appellees for their

       racketeering Appellee Priscilla Glucksman on “oral” motion secured from Judge

       McCann an unspecified “interest” on overdue support in Appellant’s interstate

       case, against written policy (see policy Exhibit D) with the intent to remove from

       the automated data process system the 12% compound interest when certifying to

       Texas under 42 U.S.C. § 666(14) to conceal from Texas and federal authorities the

       disallowed therefore fraudulent 12% compound interest. Similarly, Appellees

       routinely remove the 12% compound interest amount from the automated system

       in instate cases whenever it certifies to the United States for federal claims under

       Title IV-D and Title IV-A to conceal the State Plan’s noncompliance with 42

       U.S.C. §654(21)(A), and then put the interest back on the system again after

       obtaining federal funding or after a federal audit, similarly to how Appellee Rhode

       Island Office of Child Support Services put interest back on the system in


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       December 2021 after inducing the Appellant by agreement in Texas to pay off the

       principle in one lump sum in consideration of Appellee Gero Meyersiek waiving

       interest (interest that was in reality unenforceable, null and void under 42 U.S.C.

       §654(21)(A)).

             Since November 2021, for thirty (30) months, several times each month,

       Appellant in good faith diligently and unwaveringly requested for her own case

       accounting and all information relating to the alleged interest and support due, and

       was denied each time, each denial constituted a failure and incurred penalties

       explicitly provided by Congress under, inter alia, 42 U.S.C. §§654(24), (27), §

       654a, § 654b, § 658a, § 658b, and because the denials were motivated by cover up

       of criminal fraud, accounting fraud and false certifications to Texas and the United

       States to claim funds from federal funding programs involving the taking off and

       putting back onto the automated data processing system noncompliant and

       fraudulent 12% compound interest, the explicit penalties under 42 U.S.C. § 654,

       658 and as they relate to Rhode Island’s ineligibility for Title IV-A funding are

       penalty and fine incurring also under 18 U.S.C. §666, 18 U.S.C. § 287 - making

       false, fictitious claims, 18 U.S.C. § 371 - conspiracy to defraud the United

       States, 18 U.S.C. § 1001 - false documents or false statements to a federal

       agency, 18 U.S.C. § 1341 - mail fraud, 18 U.S.C. § 1343 - wire fraud, 31 U.S.C.

       § 3279 - federal civil false claims act et al., among others. Congress is adamantly

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       explicit on the conditioning of federal funding claimed under Title IV-D and Title

       IV-A and explicit on the punitive penalties and fines specifically liable by the

       States, agents of the States, including employees and persons in conspiracy with

       whomever, explicit and reinforced under 18 U.S.C. § 666, 18 U.S.C. § 287 -

       making false, fictitious claims, 18 U.S.C. § 371 - conspiracy to defraud the

       United States, 18 U.S.C. § 1001 - false documents or false statements to a

       federal agency, 18 U.S.C. § 1341 - mail fraud, 18 U.S.C. § 1343 - wire fraud, 31

       U.S.C. § 3279 - federal civil false claims act et al.

             Appellant finally obtained evidence of the illegal 12% compound interest on

       overdue support Appellee-Rhode Island Office of Child Support Services routinely

       input into the automated data processing system through propounding

       interrogatories. Appellant attaches hereto the Appellees’ Answers to

       Interrogatories as Exhibit E - see Interrogatory Answer 11(c) on page 5

       “Plaintiff’s Answers to Appellants’ Interrogatories” that states, “ANSWER 11(c)

       Rhode Island General Laws 15-5-16.5; 12% per annum on any support debt due

       and owning for child support and/or spousal support.”

             Rhode Island evades detection and falsely certifies to the Secretary under

       Title IV through accounting fraud. Appellant’s case file for December 2021 to

       April 2022 shows over a dozen instances of unsubstantiated by any accepted

       accounting standards inflationary manual upward “adjustments” to the automated
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       data process system that balloons the interest arrears due by tens of thousands of

       dollars within weeks each time, which is clearly unclearly unlawful when Title IV

       mandates by 42 U.S.C. 654(24), 42 U.S.C. 654(27) and 42 USC 654a and 42 USC

       654b that the automated data process system must be used for calculating support

       to ensure accuracy and to prevent accounting fraud or theft. E.g., see 42 U.S.C.

       sec. 654(7),(10), (14), (15), (16), (20) clearly requiring accounting and reporting

       controls involving the automated accounting data processing system and

       compliance with 42 U.S.C. sec. 654a and 654b. It is crystal clear that, just like

       how the Appellees routinely manually altered the amounts due Appellant’s account

       that is mandated to be calculated by the automated data processing system in

       Appellant’s case file, in order to cover up detection by Federal authorities of the

       unlawful and fraudulent 12% compound interest, Rhode Island flagrantly and

       routinely and criminally removes the unlawful 12% compound interest amounts

       from the 42 U.S.C. 654a required automated data processing system when

       reporting to the Secretary under 42 U.S.C. secs. 654(10), (14), (15), (16) for

       example, then put the interest back on the system after reportings to the Secretary

       and subsequent to the Title IV three-year audit cycle. This way, Rhode Island

       fraudulently falsifies accounting in order to make it appear that the State Plan is in

       compliance with 42 U.S.C. sec. 654(21)(A). As the payouts involve hundreds of

       millions of dollars, and due to the possibility of kick back arrangement to look the


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       other way by federal delegated authorities, Appellant in good faith “made known”

       the possibility to Congressional Oversight officials.

             For the purpose of this matter at hand, the Appellant respectfully requests

       the Judges of this United States Court of Appeals to take proper steps to ensure that

       official federal judicial proceeding review on the merits of the accuracy of the

       accounting reporting of Appellant’s account that is central to this matter is

       conducted in accordance with all applicable Federal Law where theft of the United

       States has occurred and is occurring and is clearly implicated, and where theft of

       the Appellant has occurred and is occurring and concretely established by

       evidence.

             A. MAGISTRATE SUSAN NAHABEDIAN FALSIFYING AND
                TAMPERING WITH TITLE IV RECORDS BY MUTING THE
                APPELLANT THROUGHOUT WEBEX TITLE IV-D
                PROCEEDING SO AS TO OBSTRUCT APPELLANT FROM
                BEING HEARD, SPECIFICALLY OBSTRUCTING APPELLANT
                FROM SUBMITTING INTO EVIDENCE TRAC RECORDS AND
                AUDIO RECORDING SHOWING THE REMOVAL OF
                FRAUDUELNT 12% COMPOUND INTEREST AND PUTTING
                INTEREST BACK ON THE SYSTEM ACCOUNTING FRAUD
                AND OBSTRUCT APPELLANT FROM CROSS-EXAMINING
                PERJUROUS TESTIMONY BY WITNESS APPELLEE GERO
                MEYERSIEK AND ATTEMPTS TO SET 12% COMPOUND
                INTEREST IN VIOLATION OF 42 U.S.C. sec. 654(21)(A) –
                Multiple Failures that are Penalty Incurring Fraud on the Court

                   On February 2, 2024, in the Title IV-D State Plan hearing conducted by

                   political subdivision limited jurisdiction family court, Appellee Rhode


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                Island Office of Child Support Services Chief Legal Counsel Paul Gould

                attempted to set 12% compound interest arrears of over $81k in

                Appellant’s interstate case but not in certain other interstate cases,

                constituting multiple violations of 42 U.S.C. sec. 654(21)(A). Appellee

                Paul Gould also stated that in the Title IV-D proceeding, what Congress

                says does not matter, what the U.S. Supreme Court says does not matter,

                what the Constitution says does not matter, only what the limited

                jurisdiction family court’s orders matter. Appellee Paul Gould is wrong.

                Appellee Rhode Island Office of Child Support Services is wrong.

                Attempting and conspiring to seek 12% compound interest violates 42

                U.S.C. sec. 654(21)(A), and counts as one failure in the fiscal year, and

                incurs the penalty for one failure for Appellee Paul Gould’s actions under

                42 U.S.C. sec. 655, 658a, 658b.



                Attempting and conspiring to not seek uniform interest, targeting Texas

                Appellant in an interstate case for illegal 12% compound interest while

                not pursing interest in other interstate cases also violates 42 U.S.C. sec.

                654(21)(A) and counts as two failures in the fiscal year, and incurs the

                penalty for two failures.




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                Attempting and conspiring to openly flout Title IV-D regulations in a

                Title IV-D proceeding by the Chief Legal Counsel of the Title IV-D SDU

                counts as at least three failures and incur penalties for at least five

                failures.



                Attempting and conspiring to openly flout Congress and the United

                States Supreme Court in a Title IV-D proceeding count as at least three

                failures and incur penalties for at least eight failures, as well as

                disbarment and other fines and penalties.



                Attempting and conspiring to openly flout the Constitution in a Title IV-

                D proceeding by the Chief Legal Counsel of the State Plan’s SDU should

                count as treason to the Constitution.



                Attempting by any 42 U.S.C. sec. 654(1) political subdivision to establish

                12% compound interest, be it judicial political subdivisions or

                administrative political subdivisions, Consistent with its Spending Power,

                Congress has the authority to attach conditions on the receipt of federal

                funds. See South Dakota v. Dole, 483 U.S. 203, 206 (1987). The Title IV-

                D statute expressly provides that compliance with the 3-6% simple


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                interest on overdue support, operating the automated system for accuracy

                and SDU requirements are conditions of approval of a state plan. See 42

                U.S.C. §§ 654(7), (10), (14), (15), (16), (21)(A), (24), (27)A, § 654a, §

                654b. The clear and unequivocal statement of the required conditions in

                the statute enabled Rhode Island to "exercise [her] choice knowingly,

                cognizant of the consequences of [her] participation." See Dole, 483 U.S.

                at 207 (citations omitted). The Supreme Court has recognized that

                Congress intended the linkages between child support programs and the

                TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484 (1990)

                (concluding Congress intended the two programs to "operate together

                closely.” The penalty provisions of the statute and the wording of the

                statute are plain. Where the Secretary determines that a state plan would

                be disapproved, and where the State has made and continues to make a

                good faith effort to comply and has submitted a corrective compliance

                plan, "the Secretary shall not disapprove the State plan . . . and the

                Secretary shall reduce the amount otherwise payable to the State [by the

                designated alternative penalty]." 42 U.S.C. § 655(a)(4)(A)(i)(II)

                (emphasis added). "[B]y the text of the statute, the legislature has

                prescribed that the Secretary shall enforce this penalty." Hodges v.

                Shalala, 121 F.2d at 879. Absent any discretion available to the


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                Secretary to impose a lesser penalty than the alternative penalty as

                outlined in the statute, Rhode Island is liable for the statutorily prescribed

                penalties.



                Magistrate Nahabedian proceeded to mute the Appellant from the point

                of Paul Gould calling Appellee Gero Meyersiek as his only witness ALL

                THE WAY TO THE reading of the ruling into the record constituted

                deprivation of due process, obstruction of an official Title IV-D

                proceeding and record tampering; it made the record falsely look as if

                Appellant did not mount any arguments, defense or objections nor sought

                to be heard. Magistrate Nahabedian’s falsification using Webex muting

                of the 42 U.S.C. sec. 666-protected Appellant in a remote hearing for the

                entire phase of the “trial towards the merits” of the Title IV-D hearing,

                thus falsifying the record, falsifying the record for appeal is criminal in

                nature, obstructs the official proceeding, obstructs justice, and are

                impeachable offenses, especially when it is clearly established her

                impeachable actions are motivated by the scheme to set 12% compound

                interest arrears that she knew are unlawful, unenforceable, fraudulent,

                and are preempted by 42 U.S.C. sec. 654(21)(A) – the political

                subdivision lacks jurisdiction to set 12% compound interest having


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                willingly entered into contract with the United States to participate in

                Title IV-D. The clear and unequivocal statement of the required

                conditions in the Title IV-D statute enabled Rhode Island to "exercise

                [her] choice knowingly, cognizant of the consequences of [her]

                participation." See Dole, 483 U.S. at 207 (citations omitted).

                As far as 42 USC 655 penalties are concerned, at least twenty failures

                occurred under 42 USC 654 alone, along with other federal and Texas

                criminal codes.

                Appellee Gero Meyersiek committed perjury and falsification of Title

                IV-D records. Appellee Paul Gould and counsel Achille for Appellee

                Gero Meyersiek are persons whomever committing subornation of

                perjury and aiding in certifying false claims to the United States and

                falsifying Title IV-D records.


            B. APPELLANT FILED MOTIONS TO DISQUALIFY, MOTION
               FOR VIDEO RECORDING OF WEBEX HEARING AND
               MOTION TO DISMISS INTEREST ARREARS; APPELLANT
               EMAILED CLERKS OF TITLE IV-D PROCEEDING AUDIO
               RECORDING AS EVIDENCE SUBMISSIONS

                Appellant diligently prosecuted the Rhode Island State Plan’s legitimacy,

                prosecuted the impeachable magistrate and Title IV-D proceeding which

                was conducted under criminal racketeering motivated fraud on the court.



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                Appellant filed a motion to disqualify Magistrate Nahabedian. See

                Attached Exhibit F.



                Appellant filed a motion for Video Audio Recording of Webex Hearing.

                See Attached Exhibit G.



                Appellant filed a motion to Dismiss Interest Arrears. See Attached

                Exhibit H.




            C. APPELLANT FILED IN THIS COURT FED. R. App. P. 8(a)(2)(D)
               MOTION ON MARCH 11, 2024
                On March 11, 2024, Appellant filed in this Court Appellant’s Fed. R.

                App. P. 8(a)(2) Motion; See, (Case:23-1967 Document:00118118391

                Date Filed 03/11/2024 Entry ID: 6628012) Appellant attaches it hereto

                as Exhibit I.




                On March 11, 2024 Appellant further caused to issue a family court

                subpoena for Appellant’s Title IV-D case file information onto 42 U.S.C.

                sec. 654(1) political subdivisions of the State Plan and properly served on

                to their agents and persons, e.g., Appellees Rhode Island Office of Child

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                Support Services, Paul Gould, John Langlois, Kevin Tighe, Frank

                DiBiase and others.



            D. MAGISTRATE SUSAN NAHABEDIAN SUA SPONTE RECUSAL
               NEVER SIGNING NOR ENTERING THE 12% COMPOUND
               INTEREST ORDER, WHICH IS VOID AND IMPEACHABLE

                   Sometime between March 11, 2024 and March 21, 2024, Magistrate

                Susan Nahabedian sua sponte recused herself, never signing nor entering

                any orders for the illegal and fraudulent 12% compound interest.

                Nobody notified the Appellant. Appellant only discovered the fact when

                Appellant sought to obtain information from the state family court

                supervisor clerk, Rhonda, as to procedures submitting audio recording

                evidence during trial for Appellant’s filed Motion to Dismiss.



                   Bewilderingly, the state family court clerk for a Title IV-D proceeding

                stated that their office of the clerk does not have a procedure for

                submitting audio recording evidence for Webex hearings in Title IV-D

                proceedings, which are administratively ordered by the Chief Judge of

                Rhode Island Family Court for remote hearings only, further claiming in

                the state’s $6 million digital court, digital formats of audio files, such as

                saved on a flash drive, or google drive, or attached to email are


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                disallowed. Further, there is judiciary-operated cloud drive for parties to

                upload digital audio recording evidence either.



                   In this digital day and age, old fashioned audio cassettes are

                technologically obsolete and no longer available for sale; nor are cassette

                recorders.



                   Appellant avers this is yet another failure, or deliberate ruse,

                calculated to obstruct Appellant’s submission of damning evidence

                incriminating to the Appellees. This constitutes more penalty-incurring

                failures under Title IV-D and Title IV-A alone.


            E. RHODE ISLAND’S STATE PLAN’S PENALTY-INCURRING
               VIOLATIONS OF TITLE IV-D AND ORGANIZED CRIMINAL
               COMMISSION OF INTERSTATE FRAUD
                 Congress prescribed both civil and criminal penalties for violations.

                Consistent with its Spending Power, Congress has the authority to attach

                conditions on the receipt of federal funds. See South Dakota v. Dole, 483

                U.S. 203, 206 (1987). The Title IV-D statute expressly provides that

                compliance with the 3-6% simple interest on overdue support, operating

                the automated system for accuracy and SDU requirements is a condition

                of approval of a state plan. See 42 U.S.C. §§ 654(10), (14), (15), (16),


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                (21)(A), (24), (27)A, § 654a, § 654b. The clear and unequivocal

                statement of the required conditions in the statute enabled Rhode Island

                to "exercise [her] choice knowingly, cognizant of the consequences of

                [her] participation." See Dole, 483 U.S. at 207 (citations omitted). The

                Supreme Court has recognized that Congress intended the linkages

                between child support programs and the TANF program. See Sullivan v.

                Stroop, 496 U.S. 478, 484 (1990) (concluding Congress intended the two

                programs to "operate together closely.” The penalty provisions of the

                statute and the wording of the statute are plain. Where the Secretary

                determines that a state plan would be disapproved, and where the State

                has made and continues to make a good faith effort to comply and has

                submitted a corrective compliance plan, "the Secretary shall not

                disapprove the State plan . . . and the Secretary shall reduce the amount

                otherwise payable to the State [by the designated alternative penalty]." 42

                U.S.C. § 655(a)(4)(A)(i)(II) (emphasis added). "[B]y the text of the

                statute, the legislature has prescribed that the Secretary shall enforce this

                penalty." Hodges v. Shalala, 121 F.2d at 879. Absent any discretion

                available to the Secretary to impose a lesser penalty than the alternative

                penalty as outlined in the statute, Rhode Island is liable for the statutorily




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                 prescribed penalties.2 Congress also enacted several criminal codes

                 punishing actors, such as the Appellees who commit federal crimes,

                 including cover up of unlawful activities.

             See Title IV-D 42 U.S.C. § 651-669. See United States Congress’s

       publication of cited applicable federal law:

       https://uscode.house.gov/view.xhtml?hl=false&edition=prelim&req=granuleid%3

       AUSC-prelim-title42-

       section654&f=treesort&num=0&saved=%7CY29kZSBvZiBmZWRlcmFsIHJlZ3V

       sYXRpb25z%7CdHJlZXNvcnQ%3D%7C%7C1862%7Cfalse%7Cnull

             Appellant subpoenaed “(1) All records, files, notes, public records,

       documents, films, materials generated in the course of administration and

       enforcement of relating to Appellant Mary Seguin, from 2010 to the present in this

       Title IV-D Case under the Social Security Act; (2) All records relating to Appellant



       2
        In 2000, South Carolina unsuccessfully challenged the Department of Health and
       Human Services’ (HHS) authority to impose a penalty for its non-compliance, see
       Hodges v. Shalala, supra, and subsequently submitted a corrective-action plan and
       accepted imposition of a penalty retroactive to 1998. The State paid more than $55
       million in penalties through 2007. South Carolina Dep’t of Social Servs., Response to
       Budget Proviso 13.27 at 4 (Aug. 31, 2007),
       http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
               Emphatically, note that South Carolina’s violations and penalties do not involve
       deliberate alterations of and tampering with government records involved in accounting
       fraud, knowingly inputting 42 USC 654(21)(A) violative 12% compound interest into the
       automated system, then manually removing or adjusting them for purposes of
       certification purposes to Texas and to the United States in order to conceal the 12%
       compound interest from the noncustodial parent and to Texas and Federal authorities.
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       Mary Seguin from 2010 to the present, including notes and messages taken and

       generated on October 5, 2022.”

             See attached subpoena, Exhibit J.

             The Appellee Rhode Island Office of Child Support Services’ actions in the

       Title IV-D case’s proceedings in question since 2010 with the entries of orders

       prepared and submitted in her official and individual capacities, Appellee Priscilla

       Glucksman, make clear the Office of Child Support Services is one of the State

       Plan’s key “organizational unit which meets such staffing and organizational

       requirements as the Secretary may by regulation prescribe, within the State to

       administer the plan” under 42 U.S.C. § 654(3).

             Rhode Island Office of Child Support Services’ refusal to comply with the

       Subpoena is a prima facie 42 U.S.C. § 654b violation that incurs penalties in this

       fiscal year under 42 U.S.C. § 655(a)(5) as well as 42 U.S.C. § 655(a)(4), which

       penalty-incurring violations resulting in making false federal claims under federal

       funding programs the Appellant had reported, is reporting and will continue to

       report to relevant law enforcement authorities at the federal and state levels.

       (Judicial notice is respectfully requested that the Appellant in January 2023

       reported Appellee Office of Child Support’s violations to the Rhode Island Office

       of Attorney General, who instead of enforcing the requirements of the State Plan as


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       the Appellee Attorney General is similarly a political subdivision under 42 USC

       654(1), opted to reinforce, aid, shield and protect Appellee Rhode Island political

       subdivisions’ unlawful activities – this is reported to United States authorities). As

       a condition of receipt of any federal funding under Title IV-D of the Social

       Security Act, 42 U.S.C. §§ 651-669, States must have an approved state plan for

       child and spousal support that meets all the requirements of 42 U.S.C. § 654.

       Among the prerequisites for approval of a Title IV-D Plan are the requirements

       that the State may only uniformly charge 3-6% simple interest on overdue support,

       see 42 U.S.C. § 654(21)(A), and a State must establish and operate an automated

       data processing and information retrieval system without taking computer

       calculated amounts off and then put other numbers back on the system or

       hardcoding/inputting new numbers computed offline onto the system, see 42

       U.S.C. § 654(24), and the State must have a state child support disbursement unit

       (SDU) that complies with all the requirements of 42 U.S.C. § 654, 42 U.S.C. §

       654a, 42 U.S.C. § 654b, see 42 U.S.C. § 654(27)(A). Rhode Island deliberately

       fails to meet all the requirements, including continuously inputting 12% compound

       interest on overdue support and the Rhode Island Office of Child Support Services

       covers up their noncompliance with accounting fraud inputting into the system and

       taking off from the automated data processing system amounts that are inflated,

       unlawful, and submitting false books of accounts that removed the unlawful


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       inflated amounts falsely certified to the Federal authorities to make it look like

       Rhode Island is in compliance so as to procure false claims for federal funding for

       which Rhode Island is ineligible.

             The deliberate fraud makes clear the State operates an unlawful plan, in fact

       a criminally unlawful plan, and does not have an approved state plan under Title

       IV-D of the Social Security Act, 42 U.S.C. §§ 651-669, and should lose and

       disgorge unlawfully procured federal funding under both Title IV-D (child support

       enforcement) and Title IV-A (TANF). See 42 U.S.C. § 655(a)(1)(A); 42 U.S.C. §

       602(a)(2). See, Hodges v. Shalala, 121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311

       F.3d 316 (4th Cir. 2002), cert. denied, 540 U.S. 811 (2003).

             Appellant respectfully reminded the Appellees that any attempt interfering

       with, chilling, thwarting and dismissive of the Appellant’s prosecuting, reporting,

       pursuant to 18 U.S.C. § 4 and other federal statutes, to law enforcement authorities

       the commission of crimes by political subdivisions of the State involved in the

       Title IV-D proceeding is unenforceable. Any and all failures to comply with 18

       U.S.C. § 4 constitutes misprision of a felony.




             F. ALL PROCEEDINGS CONCERNING RHODE ISLAND’S 42 USC
       654(21)(A) DISALLOWED 12% COMPOUND INTEREST ARE
       GOVERNED by 42 U.S.C. § 654 et al. UNDER TITLE IV-D THAT


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       REGULATE ALL POLITICAL SUBDIVISIONS OF THE STATE OF
       RHODE ISLAND



             The Appellant respectfully reminded the state family court that the Political

       Subdivision of the State of Rhode Island under 42 U.S.C. § 654(1), namely by and

       through the Office of Child Support Services’ Lead Legal Counsel Paul Gould,

       Esq., made several claims before the limited jurisdiction family court under Oath

       throughout the Title IV-D case hearings and proceedings in question that the laws

       of Congress, the Constitution and Title IV-D do not matter, only that court’s orders

       matter and they do not need to conform to Congressional prescribed federal

       statutes. Appellant submitted as an Exhibit B to the state family court the

       Transcript of February 2, 2024 Hearing in that matter. Rhode Island is wrong and

       Paul Gould is wrong, and both know it. That flagrant lawlessness is at the heart of

       the violations of federal law under color of state law in this interstate Title IV-D

       case. Rhode Island participates in Title IV-D, and in so participating through its

       State Plan, must comply with Title IV-D. See, Hodges v. Shalala, 121 F. Supp. 2d

       854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002), cert. denied, 540 U.S. 811

       (2003). See New York v. United States, 505 U.S. at 161, Congress, under the

       Commerce Clause, may offer the States a choice of regulation under federal

       control or preemption under federal regulation. See Hodel v. Virginia Surface

       Mining & Reclamation Assn., Inc., 452 U.S. 264, 288 (1981). The Title IV-D
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       statute expressly provides that compliance with 42 U.S.C. sec. 654, and

       compliance with the automated data processing system and SDU requirements are

       conditions of approval of a state plan. See 42 U.S.C. § 654(16), (24)(27)A. The

       clear and unequivocal statement of the required conditions in the statute enabled

       Rhode Island to "exercise [her] choice knowingly, cognizant of the consequences

       of [her] participation." See Dole, 483 U.S. at 207 (citations omitted); See South

       Dakota v. Dole, 483 U.S. 203, 206 (1987). The textual language of 42 U.S.C. §

       654(1) states,

             “A State plan for child and spousal support must—
             (1)    provide that it shall be in effect in all political subdivisions of the
                    State”



             The facts and established law thus make it crystal clear all political

       subdivisions of Rhode Island, including the Rhode Island Department of Human

       Services, the Office of Child Support Services AND the Rhode Island Judiciary

       political subdivisions of the State of Rhode Island MUST comply with 42 U.S.C. §

       654. However, because the Rhode Island Office of Child Support Services, the

       State Plan’s SDU unit, flagrantly and expressly states in a Title IV-D case that

       Title IV-D statute and Congressionally prescribed federal statutes do not apply in

       Title IV-D cases nor in Rhode Island, the State of Rhode Island’s political

       subdivisions have flagrantly flouted 42 USC sec. 654 and then adjusted and

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       tampered with the automated data processing system accounting to defraud the

       United States of federal funding, and to defraud the Appellant of her Texas

       properties.

             Therefore the Appellant respectfully reminds all participants involved in this

       official federal proceeding concerning the federal question of federal law involving

       state non-compliance, fraud against the Appellant using the Title IV legal

       framework that further involves false claims for Title IV funding and gives notice

       to the applicable State political subdivisions (e.g., Rhode Island Judiciary) and

       agencies, including the SDU under the State Plan under 42 U.S.C. § 654(1), e.g.,

       the Rhode Island Office of Child Support Services, that this yet again

       noncompliance by the State of Rhode Island with the Subpoenaed information

       egregiously constitutes yet another of the many numerous failures of Rhode Island

       agencies and its State Plan during this fiscal year to comply with the requirements

       of section 654b, as well as 654, 654a and 666 of Title IV which shall be considered

       yet another of the many numerous failures of the State to comply with

       subparagraphs (A) and (B)(i) of section 654(27) of this title during the fiscal year,

       that is clearly stipulated in 42 U.S.C. § 655(a)(5)(A)(ii) by a penalty amount of up

       to 30 percent of the penalty base, in the case of the fifth or any subsequent such

       fiscal year in which such a failure by the State occurs (regardless of whether a

       penalty is imposed under this paragraph with respect to the failure). (ii) The term

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       “penalty base” means, with respect to a failure of a State to comply with a

       subparagraph of section 654(24) of this title during a fiscal year, the amount

       otherwise payable to the State under paragraph (1)(A) of this subsection for the

       preceding fiscal year.

             Additionally, the deliberate noncompliance motivated by cover up makes

       clear the State knowingly and intentionally operates an illegal plan, the State

       knows Rhode Island does not have an approved state plan under Title IV-D of the

       Social Security Act, 42 U.S.C. §§ 651-669, and therefore should lose federal

       funding under both Title IV-D (child support enforcement) and Title IV-A

       (TANF). See 42 U.S.C. § 655(a)(1)(A); 42 U.S.C. § 602(a)(2).

             G. FRAUD

             In this Title IV case at issue, serial noncompliance, motivated by fraud, and

       their resulting incurred penalties, both civil and criminal, accrued since the

       initiation of the Title IV case fourteen years ago in 2010, upon Appellee Gero

       Meyersiek’s application for services under Title IV through his own private

       attorney, Appellee Barbara Grady, whose former law firm partner and diseased

       husband Paul Dugan, was himself a former Senior Counsel of the Appellee Rhode

       Island Office of Child Support Services, one of the key Title IV-D agencies under

       Rhode Island’s State Plan charged under 42 U.S.C. § 654(3) with State compliance


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       with 42 U.S.C. § 654, 654a, 654b, 655, 658a, among others – Appellee Barbara

       Grady through Paul Dugan has intimate knowledge of and is a knowing participant

       in the State’s accounting fraud reporting to the United States for federal funding

       reimbursement and federal funding Incentive Payment payouts (658a) worth

       hundreds of millions of dollars under the Title IV Program to the Secretary and

       Department of Health and Human Services, among others. Upon information and

       belief, the Appellee Gero Meyersiek and Barbara Grady and the Rhode Island

       Office of Child Support Services have a series of unlawfully obtained “12%

       compound interest” money receipt sharing arrangements involving the fraudulent

       procurement through the Title IV framework of exorbitant and unenforceable 12%

       compound interest interstate targeting Appellant’s Texas properties on overdue

       support enabled through accounting fraud, among others – this arrangement

       involving interstate defraud of the Texas Appellant and simultaneous theft of the

       United States of ineligible Title IV funding entails, inter alia, the Rhode Island

       Office of Child Support Services discussing in great detail at length with Barbara

       Grady the agency’s fraudulent removal from the 42 U.S.C. § 654(24), 42 U.S.C. §

       654(27) and 42 U.S.C. § 654a mandated automated data processing system of 12%

       compound interest when sending to Texas in 2018 thus creating fraudulent books

       of accounts under 42 U.S.C. § 666(14)(A)(ii)(I) and (II) fraudulently certifying to

       Texas via wire and via mail inaccurate support due accounts – discussions of this


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       scheme further violated the Appellant’s privacy rights, that are documented in the

       TRAC record of the Appellant’s Title IV case file for December 2021 recording

       the agency’s discussions with Barbara Grady at length regarding taking interest off

       when sending to Texas, and keeping it off the system when communicating to

       Appellant that Gero Meyersiek waived interest, and then putting interest back on

       the system after they defrauded the Appellant inducing the Appellant to payoff

       support that comprised of the principle in one lump sum of $104,185.98 in

       consideration of Gero Meyersiek waiving interest – the agency discussing its

       illegal and criminal enforcement information with Barbara Grady is in itself a

       violation of 42 U.S.C. 654 (26)(A) that mandates the State Plan to have in effect

       safeguards, applicable to all confidential information handled by the State agency,

       that are designed to protect the privacy rights of the parties, such as this Texas

       Appellant, including—

             (A)safeguards against unauthorized use or disclosure of information relating

       to proceedings or actions to establish paternity, or to establish, modify, or enforce

       support.

             See Exhibit K. Rhode Island Office of Child Support TRAC document for

       December 2021 attached hereto as Exhibit K.




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             Under Title IV-D of the Social Security Act, 42 U.S.C. §§ 651-669, the

       Texas Appellant has the protected right to be furnished under Subpoena with all

       TRAC records in Appellant’s Title IV-D case file from 2010 to the present to

       establish the accuracy of the alleged Rhode Island computations mandated to be

       performed by the automated data processing system, but has instead been hard-

       programmed numbers created offline that are covered up, which are then manually

       input into the automated data processing system several times, thus fabricating

       several different Rhode Island-certified false books of accounts of amounts due

       transmitted by mail and by wire to Texas and the Texas Appellant and to the

       United States for the purposes of procuring federal funding under Title IV-D and

       Title IV-A that violate Federal and Texas State civil and criminal codes. The

       Rhode Island Office of Child Support Services refuses to produce any TRAC

       records for 2010, 2011, 2012, 2013, 2014, 2015, 2016, 2017, 2018, 2019, 2021

       January to November, 2023 and 2024.

             This violation of, among others, 42 U.S.C. 654(26)(A) constitutes a

       violation of 42 U.S.C. 654(27) that counts as a penalty in the many violations in

       fiscal year 2021 alone which exceeds 30% of the penalty base in 2021 – and that’s

       just civil penalties under Title IV – numerous other federal criminal and civil

       violations incurring additional penalties are applicable, including Texas criminal

       and civil code violations.

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             H. 42 U.S.C. § 654b(4)

             Under Rhode Island’s State Plan, the Rhode Island Office of Child Support

       Services is mandated to “furnish to any parent, upon request, timely information on

       the current status of support payments under an order requiring payments to be

       made by or to the parent.”

             Therefore, information relating to the Orders in question and relevant

       information relating to those orders must be furnished. Information relating to the

       putting of 12% compound interest on the automated data processing system from

       2010 to the present must be furnished. Information relating to the removal of any

       alleged computed online or offline related to 12% compound interest from the

       automated data processing system in 2018 and at any and all times from 2010 to

       the present must be furnished. Information relating to the waiver by the Appellee

       Gero Meyersiek by and through his private attorney Appellee Barbara Grady of the

       12% compound interest that was represented to Appellant as the “$0.00” showing

       under interest calculated by the automated data processing system in Appellant’s

       case file on December 6, 2021 must be furnished. Information relating to the

       Rhode Island Office of Child Support Services calculated total due showing

       $92,214,56 calculated by the automated data processing system in Appellant’s case

       file on December 6, 2021 that calculates arrears from 2010 must be furnished. See

       attached hereto December 6, 2021 screen shot of the Appellant’s online OCSS
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       account showing the calculated amounts of which is mandated by Title IV-D to be

       populated by the automated data processing system as EXHIBIT L. Information

       relating to the interest amount before it was taken off the automated data

       processing system in 2018 must be furnished, as well as any time interest was

       taken off the system from 2010 to the present. Information relating to the interest

       put back on the automated data processing system in 2021 after Appellant accepted

       the $104,185.98 payoff number given by Office of Child Support Services by wire

       via email must be furnished. Information relating to how $104,185.98 was

       computed by the automatic data processing system on December 7, 2021 must be

       furnished, when the automated data processing system calculated $92k just the day

       before on December 6, 2021 must be furnished. Information relating to how

       $75,658.00 was calculated by the automated data processing system on March 3,

       2022 that was then issued to Texas to lien Texas properties by Mail and by wire

       must be furnished. And this is not exhaustive.




           I. 2012 JUDGE McCANN (and 2024 MAGISTRATE NAHABEDIAN)
       VIOLATIONS of 42 U.S.C. § 654(21)(A) – EIGHT FAILURES AND
       PENALTIES (FOUR IN 2012 and FOUR IN 2024 by and through
       POLITICAL SUBDIVISION RI FAMILY COURT) – (THIS DOES NOT
       INCLUDE CRIMINAL AND CIVIL PENALTIES UNDER APPLICABLE
       CRIMINAL AND CIVIL CODES UNDER FEDERAL LAWS AND TEXAS
       LAWS)



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             This state family court took judicial notice on February 10, 2023 of the

       issuance of two Orders issued by Judge McCann in 2012. Magistrate Monaco

       clarified at the hearing on March 6, 2023 he did NOT take judicial notice of the

       contents of the orders, only the issuance of the orders and that there was no appeal

       of those orders. See attached transcript of March 6, 2023 hearing. Exhibit M.

             Those 2012 orders were issued by Judge McCann of the Rhode Island

       Family Court, a political subdivision of the State, in which the State Plan must be

       in effect under 42 U.S.C. § 654(1). Therefore, it is crystal clear that the Rhode

       Island Family Court and its justices under the State Plan MUST comply with all

       provisions of Title IV-D, including U.S.C. § 654(21)(A) that makes it crystal clear

       interest on overdue support must be between 3-6% simple interest. However,

       Judge McCann knowingly ordered 12% compound interest in interstate Title IV-D

       on overdue support to be illegally put into the State Plan’s automated data

       processing system mandated under U.S.C. § 654a and U.S.C. § 654b in knowing

       violation of 42 U.S.C. § 654(21)(A). Certainly, the Rhode Island Office of Child

       Support Services today claims 12% compound interest was what Judge McCann

       ordered, undisputedly making Judge McCann an accomplice and complicit. The

       knowing violation of the political subdivision Rhode Island Family Court by and

       through Justice McCann of 42 U.S.C. § 654(21)(A) through fraud on the court and

       under color of state law violates 42 U.S.C. § 654(24), 42 U.S.C. § 654a and 42

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       U.S.C. § 654b and incurs FOUR failures and penalties in Appellant’s case alone

       for the fiscal year 2012 under 42 U.S.C. § 655(a)(4) and 42 U.S.C. § 655(a)(5),

       through just the State family court political subdivision alone.

             In 2024, the Rhode Island political subdivision of the family court by and

       through Magistrate Nahabedian flagrantly declared at the February 2, 2024 webex

       hearing that the State knowingly orders to be put into the automated data

       processing system 12% compound interest in Rhode Island under color of state law

       and through fraud on the court in knowing violation of the Rhode Island certified

       approved State Plan that mandates 3-6% simple interest under 42 U.S.C. §

       654(21)(A), with her actions representing four failures and penalties in fiscal year

       2024. Failure of compliance with all provisions of Title IV-D results in the State’s

       loss of federal funding for Title IV-D and Title IV-A under Federal Law.

             J. 2012 RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES
       (and 2012 Priscilla Glucksman) VIOLATIONS of 42 U.S.C. § 654(21)(A) and
       42 U.S.C. 654 (26)(A) and 42 U.S.C. § § 652-669 – OVER TWENTY
       FAILURES AND INCURRED PENALTIES in 2012 by and through
       POLITICAL SUBDIVISION RI OFFICE OF CHILD SUPPORT SERVICES
       THROUGH FRAUD AND UNDER COLOR OF STATE LAW


             In order to cover up the flagrantly unlawful 12% compound interest that

       represents unlawful and fraudulently obtained and extorted under color of law

       Rhode Island State revenue through the Social Security Act in welfare cases,

       Rhode Island Office of Child Support Services adopted the Official Policy not to
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       pursue interest in interstate cases (in order to cover it up from federal authorities

       and other state authorities see 42 USC sec. 666(14) – cooperation with other states

       – Attached hereto Rhode Island Office of Child Support Services Official Written

       Policy that was produced by RI OCSS during February 10, 2023 court ordered

       discovery. This policy document evidences the official policy of criminal and civil

       fraud by the State of Rhode Island’s political subdivisions applicable under 42

       U.S.C. § 654(1).

             This policy evidences the routine extortions of noncustodial parents through

       the enforcement of 12% compound interest in-state under color of state law that

       incur penalties under Title IV-D and Title IV-A, and all applicable criminal codes.

             This policy evidences the political subdivisions of Rhode Island’s

       concealment and cover up from out-of-state and federal authorities of the State’s

       illegal extortion of 12% compound interest under color of state law by adopting an

       official policy not to pursue interest in out of state interstate cases that incurs

       penalties under Title IV-D and Title IV-A, and all applicable criminal codes.

             This policy evidences accounting fraud adjustments concealing 12%

       compound interest applied to certain selected out-of-state cases such as the

       Appellant’s, as well as accounting fraud adjustments that conceal the 12%

       compound interest in in-state cases when submitting for Title IV-D and Title IV-A


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       reimbursement to the United States. It also evidences that interest is not set

       uniformly, further violating 42 USC 654(21)(A) requirement that interest must be

       uniform.

                The pattern of Appellee agency discussions and considerations of its illegal

       and criminal enforcement information with Appellee Barbara Grady is in itself an

       organized scheme involving schemes to commit accounting fraud and false

       certification of Title IV-D accounts, in violation of, inter alia, 42 U.S.C. 654

       (26)(A) that mandates the State Plan to have in effect safeguards, applicable to all

       confidential information handled by the State agency, that are designed to protect

       the privacy rights of the Texas Appellant.

             In 2012, Priscilla Glucksman, individually and on behalf of the Rhode Island

       Office of Child Support Services, under 42 U.S.C. 654(1), on oral motion moved

       for 12% compound interest, that by Rhode Island’s official policy should not be

       pursued in Appellant’s interstate Title IV-D case, with the intent and scheme to

       commit accounting fraud and fraudulent certification of amounts due by removing

       the 12% compound interest from the automated data processing system in the

       anticipated event Rhode Island sends it to Texas authorities and Federal authorities

       for enforcement under 42 U.S.C. 666 (14) and for certifying for false claims for

       federal funding under Title IV-D and Title IV-A neither for which is Rhode

       Island’s noncompliant State Plan eligible. Appellee Priscilla Glucksman schemed
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       with Appellee Barbara Grady and Appellee Gero Meyersiek to orally move for

       interest in order to minimize a paper trail of paper filings so that a written record of

       the ordered 12% compound interest is buried within a one line of the order,

       deliberately omitting the interest rate in order to cover up that it is the

       unenforceable 12% compound rate, and with no documentation of a written paper

       motion that would otherwise contain or omit the State’s legal justification moving

       for 12% compound interest. In 2012, Paul Dugan was alive and participated in the

       arrangement. The symbiotic pliant Judge McCann readily complied under color of

       state law, knowing fully well Rhode Island’s illegal 12% compound interest is not

       enforceable in any state and definitely not enforceable in Texas under Title IV-D,

       and knowing that Rhode Island Office of Child Support Services intended to

       remove the interest amount if and when Rhode Island sends to Texas for collection

       while falsely certifying the total amount due and then put the interest back on the

       system and then file a subsequent motion to set interest arrears back in Rhode

       Island through the symbiotic pliant family court political subdivision of the State

       of Rhode Island before a symbiotic pliant judge like Judge McCann, committing

       interstate fraud in violation of, inter alia, 42 U.S.C. sections 652-669, RICO, wire

       fraud, mail fraud, tampering with government records, accounting fraud and false

       claims. This list of criminal codes violated by the Appellees is not exhaustive.




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       Appellant shall present a list of the violated federal criminal codes later in this

       Notice.

             K. 2013, 2014, 2015, 2016, 2017, 2018, 2019, 2020, 2021, 2022, 2023, 2024
       RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES (and 2012
       Priscilla Glucksman) VIOLATIONS of 42 U.S.C. § 654(21)(A) and 42 U.S.C.
       654 (26)(A) and 42 U.S.C. § § 652-669 and Title IV-A – OVER TWENTY
       ANNUAL FAILURES AND INCURRED PENALTIES in 2013-2024 by and
       through POLITICAL SUBDIVISION RI OFFICE OF CHILD SUPPORT
       SERVICES THROUGH FRAUD AND UNDER COLOR OF STATE LAW



             Title IV-A TANF benefits are conditioned upon the State’s compliance with

       all requirements of 42 U.S.C. § 654, and from 2012 to 2024 and on-going, based

       on violations in this case alone, Rhode Island has been and continues to be

       ineligible and the State is receiving funds through false representations and

       alteration of government records to procure false claims for federal funding. From

       2012 to 2024, Appellant has the information to aver that the State of Rhode

       Island’s political subdivisions under 42 U.S.C. § 654(1) sent by mail and by wire

       false accounts of amount due and of liens that contained Title IV-D violative

       illegal and unenforceable 12% compound interest fraudulently misrepresented as

       “child support due” to multiple institutions, including banks, credit bureaus to

       Texas in violation of Texas Penal Codes that carry additional fines and jail time.

       Then Rhode Island Office of Child Support Services and the financial comptroller

       of the Rhode Island Judiciary and the State Treasurer’s Office fraudulently

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       concealed through removal and other false accounting itemizations the 12%

       compound interest when certifying to United States Department of Health and

       Human Services for federal incentive payments claims and federal funding claims

       under Title IV-D and Title IV-A.

             The total Title IV penalties incurred, disgorgement due back to the United

       States for ineligible Title IV-D and Title IV-A funding, and criminal fines incurred

       by Rhode Island in Appellant’s case alone from 2012 to 2024 run upwards of

       hundreds of millions of dollars. From 2012 to 2024, Rhode Island’s Title IV-D

       political subdivisions conspired to violate, in addition to 42 U.S.C. 654(21)(A),

       among others, several requirements under 42 U.S.C. 654 whose plain textual

       requirements requires the State Plan MUST:

             (7)provide for entering into cooperative arrangements with appropriate

       courts and law enforcement officials and Indian tribes or tribal organizations (as

       defined in subsections (e) and (l) of section 5304 of title 25) (A) to assist the

       agency administering the plan, including the entering into of financial

       arrangements with such courts and officials in order to assure optimum results

       under such program, and (B) with respect to any other matters of common concern

       to such courts or officials and the agency administering the plan;




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             (10) provide that the State will maintain a full record of collections and

       disbursements made under the plan and have an adequate reporting system;

             (14)

             (A)

             comply with such bonding requirements, for employees who receive,

       disburse, handle, or have access to, cash, as the Secretary shall by regulations

       prescribe;

             (B)

             maintain methods of administration which are designed to assure

       that persons responsible for handling cash receipts shall not participate in

       accounting or operating functions which would permit them to conceal in the

       accounting records the misuse of cash receipts (except that the Secretary shall by

       regulations provide for exceptions to this requirement in the case of sparsely

       populated areas where the hiring of unreasonable additional staff would otherwise

       be necessary);

             (15)provide for—

             (A)




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               a process for annual reviews of and reports to the Secretary on the State

       program operated under the State plan approved under this part, including such

       information as may be necessary to measure State compliance with Federal

       requirements for expedited procedures, using such standards and procedures as are

       required by the Secretary, under which the State agency will determine the extent

       to which the program is operated in compliance with this part; and

               (B)

               a process of extracting from the automated data processing system required

       by paragraph (16) and transmitting to the Secretary data and calculations

       concerning the levels of accomplishment (and rates of improvement) with respect

       to applicable performance indicators (including paternity establishment

       percentages) to the extent necessary for purposes of sections 652(g) and 658a of

       this title;

               (16)

               provide for the establishment and operation by the State agency, in

       accordance with an (initial and annually updated) advance automated data

       processing planning document approved under section 652(d) of this title, of a

       statewide automated data processing and information retrieval system meeting the

       requirements of section 654a of this title designed effectively and efficiently to


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       assist management in the administration of the State plan, so as to control, account

       for, and monitor all the factors in the support enforcement collection and paternity

       determination process under such plan

             (20)

             provide, to the extent required by section 666 of this title, particularly the

       Due Process protections, that the State (A) shall have in effect all of the laws to

       improve child support enforcement effectiveness which are referred to in that

       section, and (B) shall implement the procedures which are prescribed in or

       pursuant to such laws.

             (23)

             provide that the State will regularly and frequently publicize, through public

       service announcements, the availability of child support enforcement services

       under the plan and otherwise, including information as to any application fees for

       such services and a telephone number or postal address at which further

       information may be obtained and will publicize the availability and encourage the

       use of procedures for voluntary establishment of paternity and child support by

       means the State deems appropriate




             L. COVER UP AND FRAUD
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             In 2012, the child in question was 12 years old. From 2012 to 2018,

       Appellant does not have any records (due to several prior Title IV-D information

       denials by the Rhode Island Office of Child Support Services for purposes of

       cover-up, that further incurred penalties and fines for each and every information

       denial under 42 USC 654(24) and 42 USC 654(27) and 42 USC 655) of Rhode

       Island’s political subdivisions under 42 USC 654(1) sending to Texas or to federal

       authorities the support amount for enforcement under 42 USC 654(7) or 42 USC

       666(14). Obviously, sending the support amount in the automated data processing

       system without the removal of the interest from the system exposes the illegal 12%

       compound interest disallowed under 42 USC 654(21)(A), which would incur Title

       IV-D and Title IV-A penalties, disgorgement of ineligible federal funds and incur

       criminal fines. It is for this very reason that the Rhode Island political subdivisions

       adopted the written official policy not to pursue interest in interstate cases, that

       moreover runs afoul of 42 USC 654(21)(A) plain language that the State Plan must

       apply UNIFORM interest on overdue support, not State-targeted 0% in some

       interstate cases and then 12% compound interest in all other cases, such as in this

       case. Moreover, if the State claims they actually did send notices of support due to

       the Appellant in Texas, each transmission would constitute patterns of federal

       crimes, including Mail and Wire Fraud, since the 12% compound interest in this




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       Title IV-D case is illegal and fraudulent and unenforceable. This scheme is in

       violation of 42 USC §§ 654(7), (10), (14), (15), (16), (20), (21), (23), (24), (27).

              Upon information, the State of Rhode Island’s political subdivisions under

       42 USC 654(1) also transmitted by wire and by mail to the United States

       Department of State a hold on the renewal of Appellant’s passport, again omitting

       and concealing the principle amount as well as the fact that the State attempts to

       enforce interstate an illegal 12% compound interest on overdue support within the

       Title IV-D legal framework. This scheme is in violation of 42 USC §§ 654(7),

       (10), (14), (15), (16), (20), (21), (23), (24), (27).

              Upon information, the State of Rhode Island’s political subdivisions made

       the illegal decision between top management employees of the Rhode Island SDU

       unit, dressed up as “administrative decision,” to illegally and criminally remove the

       illegal 12% compound interest from the automated accounting data processing

       system that clearly is required to prevent activities “to conceal in the accounting

       records” Rhode Island’s illegal 12% compound interest prescribed under 42 U.S.C.

       § 654(14). See TRAC records attached hereto in Exhibit K.

              Upon information, Rhode Island routinely removes the illegal 12%

       compound interest from the automated data processing system when certifying to

       and reporting to and making false claims for federal funding to the Secretary of the


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       United States Department of Health and Human Services in violation of 42 USC

       §§ 654(10), (14), (15), (16), (20), (21), (23), (24), (27), and applicable federal

       criminal codes. See TRAC records attached hereto in Exhibit K of the routine

       practice of illegal accounting adjustments of the automated data processing system

       in the hundreds of thousands of dollars in December 2021 alone. In this case

       alone, the aforesaid accounting fraud and record tampering violations motivated by

       theft of and false claims for funding of the Title IV-D and Title IV-A programs and

       defraud of the Texas Appellant targeting Texas properties occurred in 2012, 2013,

       2014, 2015, 2016, 2017, 2018, 2019, 2021, 2022, 2023, and 2024.




             M. FACTUAL ALLEGATIONS



             The child in question was emancipated in April 2018 and is now an adult 24

       years old. Therefore accrued “interest on overdue support” stopped in April 2018.

             Due to the hold placed on Appellant’s passport renewal, Appellant

       discovered on and around November 2021 there is alleged support due. Appellant

       retained a lawyer in Texas to contact the Rhode Island Office of Child Support

       Services to obtain information on the amount due. The Rhode Island Office of

       Child Support Services refused to provide information to Appellant’s Texas

       attorney, in violation of 42 USC §§ 654b, 654(10), (14), (15), (16), (20), (21), (23),
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       (24), (27), and concealed the fact that the agency illegally removed the illegal 12%

       compound interest amount from the automated data processing system from 2018

       to December 2021. To this day, the Rhode Island Office of Child Support Services

       covers up and refuses to furnish information to the Appellant the amount of interest

       that was removed from the system. Continuing refusal to furnish requested

       information motivated by cover up is in violation of, inter alia, 42 USC §§ 654b,

       654(10), (14), (15), (16), (20), (21), (23), (24), (27). The Office of Child Support

       Services and Barbara Grady and Gero Meyersiek schemed to deprive Appellant of

       counsel that would facilitate defrauding the Appellant and to conceal from Texas

       counsel the accounting fraud relating to the illegal 12% compound interest that is

       unenforceable in Texas as well as legally unenforceable in Rhode Island (however

       routinely enforced through fraud under color of state law) under Title IV-D, and

       refused to deal with Appellant’s Texas attorney, fraudulently claiming it is the

       State’s policy to deal with the noncustodial parent directly. This is obviously a

       blatant lie because the TRAC record shows Kevin Tighe initiating phone calls

       directly to Barbara Grady, Gero Meyersiek’s private attorney (and not contacting

       Gero Meyersiek directly) to discuss enforcement actions in detail involving the

       Rhode Island Office of Child Support Service’s fraudulent accounting that entailed

       the agency’s removal in 2018 (when it planned to send to Texas) of the interest

       from the automated system in December 2021. This is in violation of, inter alia, 42


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       USC §§ 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27). The Appellant

       avers and declares, under oath, the following facts:

             1. On December 6, 2021, the State/Plaintiff showed the Appellant her

                OCSS online account that showed $0.00 under interest. Further the

                online account that is populated by the automated data processing system

                shows $93,214.56 Total Due, and $0.00 under Interest on December 6,

                2021, published online in the State’s OCSS online account for Appellant,

                as of November 30, 2021. See attached Screen Shot attached hereto this

                motion. (The Office of Child Support Services told the Appellant that

                the $0.00 under interest shows that Gero Meyersiek waived interest. The

                Office of Child Support Services deliberately misrepresented by omission

                that the interest amount was taken off the system illegally in 2018 and

                that the interest amount was calculated pursuant to an illegal 12%

                compound interest that is unenforceable under Title IV-D. Therefore in

                reality there was no consideration given to the Appellant, as falsely

                represented, calculated to induce the Appellant into paying a large lump

                sum amount. The Office of Child Support Services brokered a settlement

                deal between the Appellant and Gero Meyersiek where Meyersiek

                waived interest in consideration of the Appellant paying a lump sum

                payoff amount of $104,185.98 from Texas, which the State, under its

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                authority, agreed to the deal with the Appellant on December 7, 2021,

                having calculated the $104,185.98 figure by and through its accountant(s)

                manually offline and not by the mandated automated data processing

                system, and actively brokered the terms of the deal itself, namely, Deputy

                Legal Counsel Kevin Tigue who reports to Mr. Paul Gould, the attorney

                of record who filed the State’s/Plaintiff’s Motion to Set Arrears.        The

                Appellant requests this Court to take notice of the fact that the State also

                failed to provide this Court as well as to the Appellant an accounting now

                and upon Appellant’s request at the time in 2021 of how this figure

                $104,185.98 was calculated nor how the alleged $81k is calculated. This

                is in violation of, inter alia, 42 USC §§ 654b, 654(10), (14), (15), (16),

                (20), (21), (23), (24), (27).

            2. The State’s/Plaintiff’s’ authority to forgive arrears debts is an official

                policy and authority reported to the Office of the U.S. Commissioner

                Tangular Gray of the Office of Child Support Enforcement of the U.S.

                Department of Health and Human Services.

            3. The Appellant in Texas good faith accepted and paid the $104,185.98 on

                December 7, 2021.




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            4. From December 6, 2021 to the present, the State/Plaintiff has represented

                to the Appellant at least seven (7) sets of books of very large arrears and

                interest calculations, which the State/Plaintiff has either failed or refused

                to provide the Appellant with requested documentation of debt validation

                and verification records supporting the State’s calculation (in violation

                of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21),

                (23), (24), (27)):

                   a. $93,214.56 Total Due, and $0.00 under Interest on December 6,

                       2021, published online in the State’s OCSS online account for

                       Appellant, as of November 30, 2021. (Screenshot of this taken on

                       December 6, 2021 is attached to this Notice).

                   b. $104,185.98 Total Payoff Amount on December 7, 2021.

                   c. $75,638.00 on a Notice of Intent to Lien dated March 3, 2022. RI

                       OCSS rescinded this figure based on alleged unspecified errors on

                       October 14, 2022.

                   d. $73,000.00 per RI OCSS Deputy Chief Counsel John Langlois’s

                       (staff counsel who also reports to Mr. Paul Gould, who was also

                       the attorney of record for the State at the Appeals Hearing)

                       representation at the agency RI EOHHS (Rhode Island Executive


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                      Office of Human and Health Services) administrative appeal Pre-

                      hearing held on October 5, 2022.

                   e. $55,000.00 on RI OCSS correspondence with Meyersiek on

                      October 13, 2022.

                   f. $75,623.71 Total Due for “Interest,” online on the afordsaid OCSS

                      online account, as of November 30, 2022. A screenshot taken on

                      December 3, 2022 thereof is attached to this Notice.

                   g. $81,652.46 on the Motion as of December 22, 2o22.

            5. Maintaining at least seven books of account in Appellant’s case file,

                while obstructing the Appellant’s 42 USC 654b and all Title IV-D

                protected due process right to documents of accounting validation and

                verification depriving the Appellant’s right to meaningfully refute the

                State’s claim is unlawful, covers up the illegal 12% compound interest

                that is also ballooned through several fraudulent manual accounting

                calculations NOT USING the Title IV-D mandated automated data

                processing system. There are pending breach of contract, fraud and Civil

                RICO et al actions in Federal Courts regarding the conduct of the

                Appellees.




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            6. The Appellant respectfully requests the Court to take notice of the fact

                that the alleged interest published online by the State/Plaintiff as of

                November 30, 2022 that states the very specific number of $75,623.71

                ballooned to $81,652.46 as of December 22, 2022, by a whopping

                $6,028.75 in a matter of 22 days as stated in the State’s/Plaintiff’s

                Motion, is usurious, and clearly shows the falsity of the State’s/Plaintiff’s

                Motion, paragraph numbered 8 that says, “That, because interest only

                accrues on principal balances and not on interest balances, the interest

                balance owed on arrears has not changed since the principal balance was

                paid in full on December 9, 2021.” This is in violation of, inter alia, 42

                USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27).

            7. The Appellant respectfully requests the Court to take notice of the fact

                that after the Appellant accepted the deal in Texas and paid the payoff

                amount of $104,185.98 from Texas on December 7, 2021, the State sent

                to the Appellant in Texas by Mail a Notice of Intent to Lien dated March

                3, 2022 for $75,638.00 without any information justifying the fraudulent

                interest lien on Appellant’s Texas properties – the $75,638.00 amount on

                the fraudulent lien on Appellant’s Texas properties was deliberately

                calculated manually without any substantiated records then hard input

                into the automated data processing system in violation of Title IV-D.

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                This is in violation of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14),

                (15), (16), (20), (21), (23), (24), (27). The Appellant appealed this

                fraudulent lien to the Appeals Office of Rhode Island Executive Office of

                Health and Human Services (“RI EOHHS”), a political subdivision of the

                State of Rhode Island applicable under 42 USC 654(1), on April 1, 2022.

                Throughout the procedurally defective appeals process where the

                Appellant was denied by the State/Plaintiff to access her case file, the

                State/Plaintiff refused or ignored the Appellant’s over ten(10) record

                requests for the legal and accounting basis of the $75,638.00 lien. Each

                record information denial is in violation of, inter alia, 42 USC §§ 654a,

                654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27). The Appellant

                also submitted to the Appeals Office records of the written email

                advisement by the State that “accounting says” to pay $104,185.98 and

                records of the Appellant’s bank wire transfer payment. The Appeals

                Office continued the hearing for the maximum 3 times due to the

                State/Plaintiff’s refusal to comply with discovery that would render the

                proceeding procedurally defective. Paul Gould and John Langlois were

                listed as representing the State. Their collective violations incur penalties

                and fines under, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15),

                (16), (20), (21), (23), (24), (27), 655, 658a, disgorgement of all ineligible


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                 funding under Title IV-A that were received through false claims. To

                 resolve the discovery issues, the Executive Hearing Officer (“EHO”),

                 Debra DeStefano, scheduled a telephonic Prehearing Conference on

                 October 5, 2022, and only when told by the EHO the burden of proof lies

                 on the State/Plaintiff to show arrears are due (as applies here), did John

                 Langlois (who attended the Prehearing Conference) state the following,

                 which the Appellant in Texas recorded as a party of the call:

             “EHO: The agency will have to submit proof of the allegation for arrears to

       support their position.

             Langlois: The reason why I asked earlier whether Mary spoke to Karla after

       she made the payment was because there was a change of circumstances right after

       that. I don’t know if anyone in my agency had ever explained that to Mary.

             Seguin: Wait a minute, wait a minute,

             EHO: Wait Mary, I know what you asked for, let me get to what John just

       said, so John, you said there was a change in circumstances subsequent to her

       making a payment but before the notice of lien went out?

             Langlois: Yeah.

             EHO: OK, so…



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             Langlois: Can I just back up and explain what happened, 99% of this is a

       misunderstanding…

             EHO: OK?

             Seguin: Including what was on the screenshot, was that a

       misunderstanding??

             Langlois: Can I speak without being shouted over?

             Seguin: I am flabbergasted, really.

             Langlois: What happened in this case is when Mary’s representative, her

       attorney, called us in late November 2021, and said she wants her passport released

       and what does she have to do to release her passport, they put her in touch with

       Karla who gave her the $104,185.98 number. Where that number came from, was

       one of our attorneys contacted the custodial parent, Gero Meyersiek, so we

       contacted his attorney, it wasn’t me, it was someone in my office, and said if she’s

       willing to make a $104K to pay off the principle, would you agree to waive the

       $73K in interest? He said yes. So Karla notified Mary that if she paid the $104K,

       it would be paid in full because he was willing to waive the interest and accept just

       the principal. What happened was the day after Karla spoke to Mary to wire in the

       $104K the attorney for Mr. Meyersiek contacted us again and said he changed his

       mind, please put the interest back on the system, so we did. So the number that

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       was given to her on the day it was given to her was correct, the $104K, because he

       was waiving the interest, but then changed his mind, so we put the interest back on

       the system, because he was waiving the interest, and that interest was put back on

       the system and that’s why the system is now saying she owes $73K. That’s why in

       March when the system saw that she had some sort of personal injury insurance in

       the system, our system was showing she owed $73K so we issued the lien. But

       that was what happened, he changed his mind the next day and that’s what messed

       up the numbers. So that’s how all this happened, it was a pure misunderstanding, I

       don’t know whether anyone has ever explained that to Mary how that happened.

               EHO: OK, Mary, did anyone ever explain that to you before?

               Seguin: No. No one ever explained any of that. This is why I am asking for

       my case file, I think this is more basis to ask for my entire case file from 2020. It’s

       news to me for example and its new information to me that your office’s lawyer

       would not talk to me directly but would be picking up the phone and calling the

       attorney for the custodial parent. And then not saying you were doing this deal. I

       never offered $104K. You had determined this number, and that’s why I am

       looking for documentation as to whether this is something you guys do in every

       case.




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             EHO: OK, John, are you intending to submit then, the documentation

       showing the full balance, which would include the principle and the interest before

       she paid the $104k, and then what happened after, you’re prepared to submit

       documentation to show everything that you said just happened.

             Langlois: Yes. I can show the account balance before he agreed to waive the

       interest. And I can show you the account balance after she made the payment. And

       then when we put the interest back on the system.

             EHO: And you’re going to testify as to why it all occurred, I mean basically

       what you just told us.

             Langlois: Yes.

             Seguin: But the screenshot on December 6th showed $93K.”

             A true copy of the recording evidence has been submitted by the Appellant

       to this court, a Rhode Island political subdivision under Title IV-D proceeding in

       June 2023 and in February 2024.

             However, instead of going forward with the testimony and providing the

       alleged debt validation and verification accounting records promised by John

       Langlois to the EHO at the upcoming RI EOHHS scheduled Appeal Hearing at the

       time on December 1, 2022, the State opted to rescind the Notice of Lien that states

       there are unspecified errors on October 14, 2022, and emailed the RI EOHHS
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       Appeals Office that the State will litigate the issue in Family Court. This showed

       the intent of the State to deprive the agency Appeals Office of jurisdiction by

       withdrawing the enforcement instrument that vests the Appeals Office’s

       jurisdiction by regulation, in the clear hope of a more favorable outcome to the

       State, in the hopes of symbiotic and pliant judge shopping, in the hopes of getting a

       judge like McCann who ordered the illegal and unenforceable 12% compound in a

       Title IV-D case to rubber stamp the fraudulent 12% compound interest arrears due,

       and thereby needlessly increasing litigation. Mr. Paul Gould is the co-counsel of

       record for the State in the RI EOHHS agency appeal. These activities are in

       violation of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21),

       (23), (24), (27), 655, 658a.

             8. The State’s actions obstructing Appellant’s discovery rights for debt

                 validation and verification as well as documentation of the Plaintiffs’

                 waiver of interest are violative of Family Ct. R. Dom. Rel. P. 11 and are

                 in violation of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15),

                 (16), (20), (21), (23), (24), (27), 666, 655, 658a. It is in criminal

                 violation of 18 USC § 666 and a scheme to commit fraud on the court

                 and interstate fraud through unenforceable Title IV-D orders that appear

                 to be routinely issued by pliant Title IV-D judges like Judge John

                 McCann III and Magistrate Susan Nahabedian.

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            9. Due to the State’s conduct of obstructing the Appellant’s right to access

                debt validation and verification records of publicly noticed liens of

                alleged arrears issued by the State throughout the agency appeal, the

                Appellant filed an Access to Public Records (“APRA”) request to the

                then Secretary Ana Novais of the RI EOHHS that manages the

                State/Plaintiff agency OCSS. These are all political subdivisions of the

                State of Rhode Island under 42 USC 654(1).

            10. The RI EOHHS Office in its management capacity required the State

                OCSS to respond to the APRA request, but even then the State denied the

                Appellant’s APRA request for accounting records, again refused to

                release the requested debt validation accounting records, but released the

                Case History Tracking records in the Appellant’s case file, which showed

                entries made by Kevin Tigue and RI OCSS staff between December 6,

                2021 to April 2022 of activity that corroborated John Langlois’s

                representations of taking interest off the system, interest waiver at the

                agency Prehearing Conference on October 5, 2022 that is outlined above

                in paragraph 10, then putting interest back on the system after Appellant

                accepted the offer in Texas, and performed on the contract in Texas

                paying off all due support from Texas, through Appellant’s Texas bank

                account, namely Texas properties. Appellees’ record denials are

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                violations of inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16),

                (20), (21), (23), (24), (27), 666, 655, 658a.

            11. Both the RI OCSS counsel who denied the Appellant’s APRA request

                and the Executive Legal Counsel of the Secretary of RI EOHHS, Lisa

                Martinelli (to whom Ms. Deb Barclay reports and to whom Mr. Paul

                Gould reports, per organization charts supplied by the Secretary of State

                of the State of Rhode Island) informed the Appellant via official written

                letter correspondence to appeal RI OCSS’s APRA request denial to the

                Attorney General pursuant to R.I.G.L. sec. 38-2-8. Their collective

                denials are in violation of inter alia, 42 USC §§ 654a, 654b, 654(10),

                (14), (15), (16), (20), (21), (23), (24), (27), 666, 655, 658a. Following

                their collective official written advisement, the Appellant appealed the RI

                OCSS APRA denial under R.I.G.L. sec. 38-2-8 to the Office of the

                Attorney General and the Superior Court as provided by R.I.G.L. sec. 38-

                2-8. The Office of the Attorney General and the Superior Court of Rhode

                Island are political subdivisions of the State of Rhode Island under 42

                USC 654(1). Instead of releasing the Appellant’s Title IV-D alleged debt

                validation and verification records information, the State continues to

                resist releasing alleged arrears/debt verification accounting records in

                Superior Court, including failing to comply with the Appellant’s Court-

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                issued subpoena for said records and resisting subpoena compliance with

                extended litigation in Superior Court in violation of inter alia, 42 USC §§

                654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27), 666,

                655, 658a.

                   a. The Appellant served the State by email Appellant’s Request for

                      Production of Documents for the same accounting records and

                      interest waiver records pursuant to Family Ct. R. Dom. Rel. P. 34,

                      to which the State/Plaintiff has so far produced one set of book of

                      accounts out of the seven different books of accounts. However,

                      the numbers do not corroborate with any of the seven official legal

                      representations of alleged arrears due, e.g., $93,214.56 Total Due,

                      and $0.00 under Interest on December 6, 2021, published online in

                      the State’s OCSS online account for Appellant, as of November

                      30, 2021; $104,185.98 Total Payoff Amount on December 7, 2021;

                      $75,638.00 on a Notice of Intent to Lien dated March 3, 2022 that

                      RI OCSS rescinded based on alleged unspecified errors on October

                      14, 2022; $73,000.00 per RI OCSS Deputy Chief Counsel John

                      Langlois’s (staff counsel who also reports to Mr. Paul Gould, who

                      was also the attorney of record for the State at the Appeals

                      Hearing) representation at the agency RI EOHHS (Rhode Island

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                      Executive Office of Human and Health Services) administrative

                      appeal Pre-hearing held on October 5, 2022; $55,000.00 on RI

                      OCSS correspondence with Meyersiek on October 13, 2022;

                      $75,623.71 Total Due for “Interest,” online on the aforesaid OCSS

                      online account, as of November 30, 2022. A screenshot taken on

                      December 3, 2022 thereof is attached to this Motion; $81,652.46

                      on the Motion as of December 22, 2022; this is in violation of,

                      inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20),

                      (21), (23), (24), (27), 666, 655, 658a that is consistent with the

                      State/Plaintiff’s pattern of obstructing the Appellant of due process

                      right access to her case file records of RI OCSS’s debt verification

                      itemized accounting calculations of very large sums of alleged

                      arrearages of at least 7 books of accounts from December 6, 2021

                      to the present in Title IV-D proceedings.

       N. JUDICIARY VIOLATION OF GOVERNMENT EDICTS DOCTRINE,
       CALCULATED FAILURE TO INTEGRATE TITLE IV-D AGENCY
       ELECTRONIC FILING SYSTEM WITH ODYSSEY MAKING THEIR
       FILINGS INVISIBLE TO ALL E-COURT USERS OTHER THAN THE
       JUDGE AND THEMSELVES AND VIOLATION OF ACCESS TO COURT
       INFORMATION OF PUBLIC TITLE IV-D PROCEEDINGS IN RHODE
       ISLAND’S STATEWIDE ELECTRONIC COURTS

            a. DENIAL OF PUBLIC AND PRO SE-LITIGANT ACCESS TO
       COURT INFORMATION INCLUDING JUDGE-CREATED LAWS BY 42
       USC 654(1) POLITICAL SUBDIVISION RHODE ISLAND JUDICIARY
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             The Rhode Island Judiciary is a political subdivision of the State of Rhode

       Island under 42 USC 654(1). While publicizing during the implementation of the

       $6 million installation of Odyssey (the statewide electronic filing system) in 2014

       that the electronic courts will enable ALL court users to pull up court record

       information with ease from their phones, the Rhode Island Judiciary quietly

       implemented Rule 5 of the Rhode Island Rules and Practice denying the Public,

       pro-se litigants and all parties to a case in Rhode Island remote access to court

       record information including judge-created orders and laws, including their own.

       Through this deceit, the Rhode Island Judiciary lied to the Public, while denying

       access and thereby covering up the routine ordering of unenforceable body of

       judge-created laws ordering 12% compound interest in public cases and public

       hearings under 42 USC 654 in public Title IV-D cases, such as Appellant’s, by

       symbiotic pliant judges like Judge McCann and Magistrate Nahabedian. The

       denial of access to pro-se litigants of their own cases’ court records containing

       support orders violates, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16),

       (20), (21), (23), (24), (27), 666, 655, 658a. The denial of public access to public

       court records documenting the routine systemic violations of 42 USC 654(21)(A)

       in electronic courts violates the First Amendment and the public’s right to know

       the law, even if these fraud on the court unenforceable judge-created laws are

       unenforceable in both Rhode Island and elsewhere Title IV Part D reaches. The


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       denial of public access to judge-created laws that is also motivated by cover-up

       fundamentally violates the established Government Edicts Doctrine that the United

       States Supreme Court specifically held applies to electronic formats of government

       doctrines, such as judge-created laws in digital courts. See Georgia v. Public

       Resource.Org, Inc., No. 18-1150, 590 U.S. ___ (2020). The Appellant has been

       denied access by the political subdivision Rhode Island Judiciary to her court

       records and information regarding the orders in question that must be furnished

       pursuant to 42 USC 654b thus in violation of 42 USC 654. The Appellant has been

       denied access by the political subdivision Rhode Island Judiciary to unenforceable

       and impeachable judge-created fraud on the court void laws that routinely establish

       unenforceable 12% compound interest by certain symbiotic pliant judges, like

       Judge McCann and Magistrate Nahabedian, who work hand-in-hand with the

       Rhode Island Office of Child Support Services in Title IV-D cases, in violation of

       Appellant’s Due Process and Equal Protection rights to know the law to be

       meaningfully heard and right to meaningful access to justice – they are in violation

       of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23),

       (24), (27), 666, 655, 658a.

             The family court held at the hearing in this matter scheduled on March 6,

       2023 that the Rhode Island Office of Child Support Services is ordered to show

       that the alleged arrears is accurate. See attached March 6, 2023 hearing transcript.

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       Explicitly stated throughout 42 USC 654, “accuracy” requires no accounting

       alterations generated offline then unsubstantiated hard inputs into the automated

       system, no fraud, no inducements, no interstate extortion under color of state law,

       and for certain no 12% compound interest on overdue support.

           b. CALCULATED FAILURE BY THE JUDICIARY TO INTEGRATE
       THE TITLE IV-D AGENCIES’ ELECTRONIC FILING SYSTEM INTO
       ODYSSEY RESULTING IN AGENCY FILINGS BEING INVISIBLE TO
       ALL COURT USERS EXCEPT THE JUDGE AND THE AGENCIES
       THEMSELVES – COVER UP



             Because under the State’s Plan the Title IV-D agencies routinely file in the

       Rhode Island court system for the illegal enforcement of illegal 12% compound

       interest disallowed under 42 USC 654(21)(A), the political subdivision Rhode

       Island Judiciary deliberately failed to integrate the Title IV-D Agencies’ electronic

       filing system with the State’s electronic filing system Odyssey in order to make

       Title IV-D Agency electronic filings invisible to all court users except the judge

       and the agencies themselves, calculated to cover up the 12% compound interest

       from audit by the federal authorities and from the Public. This came to light at the

       WebEx hearing in this Title IV-D matter before family court Judge Merola on June

       8, 2023 scheduled at 2PM, where Judge Merola, showing he was unaware of the

       failure of systems integration, questioned Appellee Paul Gould of Rhode Island

       Office of Child Support Services, why the Appellant is unable to see the agency’s

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       electronic filings that the judge can see in the system. Without hesitation, Appellee

       Paul Gould explained that this is due to the electronic court implementation

       process that was supposed to integrate the agency’s legacy system to Odyssey,

       demonstrating conclusively that Gould, the Lead Counsel of the Rhode Island

       Office of Child Support Services responsible and overseeing agency court filings

       in all Title IV-D cases under the State Plan, undisputedly was in the know and part

       of the conspiracy involving the deliberate failure of filing system integration and

       its continuing perpetration in Title IV proceedings that made Title IV agencies’

       filings invisible as part of the cover up.

           c. FALSIFYING ACCOUNTING TO SHOW $0.00 PAYMENT IN
       DECEMBER 2021 in APPELLANT’S TITLE IV-D ACCOUNT POWERED
       BY THE AUTOMATED DATA PROCESSING SYSTEM IN ORDER TO
       DEFRAUD APPELLANT IN THE FUTURE
             Appellant attaches hereto EXHIBIT N, that shows the Appellant’s online

       Title IV-D OCSS account which is powered by the Automated Data Processing

       System, as of November 2022 at the time of the RI EOHHS Appeal, which showed

       $0.00 Payment for December 2021. Therefore, the Rhode Island Office of Child

       Support Services through accounting fraud never recorded, as late as November

       2022, in the Automated Data Processing System Appellant’s large lump sum

       payoff of $104,185.98 bank wired from Texas on December 7, 2021, showing

       prima facie accounting fraud. This shows a scheme to defraud the Texas Appellant

       in the future. This shows that the Rhode Island Office of Child Support Services
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       received Appellant’s wired funds and treated it as a cash receipt, without ever

       recording in the automated data processing system such a large lump sum payment.

       Appellees Kevin Tighe, Barbara Grady, Gero Meyersiek, John Langlois, Paul

       Gould, and Priscilla Glucksman, among others, distributed the $104,185.98 among

       themselves in their organized conspiracy to defraud. Appellant’s lump sum

       payment was distributed allegedly via a check, not through the usual cash card on

       December 9, 2021, (see attached hereto TRAC record for December 2021) record

       information of which check that was allegedly issued by the Office of Child

       Support Services the agency refuses to furnish the Appellant, and which are under

       subpoena now. Further, the Office of Child Support Service’s maintaining a

       separate offline accounting system in this case constitutes fraud and accounting

       fraud, targeting the Appellant in Texas, targeting Texas properties and targeting the

       United States of America. This is why they never utilized the 42 USC 654(7),

       (14), (20) and 42 USC 666(14) cooperative system with Texas, so as to enable

       them to divide the defrauded cash spoils offline among the members participating

       in the scheme. This accounting fraud and scheme to defraud violate mail fraud,

       wire fraud, honest services fraud, RICO, record tampering, theft of the United

       States, false claims and felonious fraud, among others.

             In reality, under 42 USC 651-669, employees who engage in, aid and abet

       and facilitate the above must be terminated and must not be permitted to continue

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       criminal activities of record tampering, accounting fraud, fraud, theft under color

       of state law and cover up.



             f. CRIMINAL VIOLATIONS REPORTED TO SOME JUDGE OF
                THE UNITED STATES AND OTHER LISTED AUTHORITIES
                UNDER 18 U.S.C. sec. 4

             The Appellant, in good faith and reliant on the plain language of 18 USC §

       4, misprision of felony, as well as the Brief filed in the United States Supreme

       Court by the United States of America in the Supreme Court case, Turner v.

       Rogers, 564 U.S. 431 (2011) that showed South Carolina (found by the 4th Circuit

       Court of Appeals) liable for $75 million in penalties for that state’s 42 USC 654

       violations that did not even involve, inter alia, fraud and tampering with the record

       or unlawful 12% compound interest put into then taken off then put back on the

       automated data processing system as here in Rhode Island, made known the above

       activities to “some judges” of “the United States” and other relevant federal

       authorities – counting among the United States judges Appellant made known

       publicly in the Amended Complaint filed in the United States District Court for the

       District of Rhode Island, Judge William E. Smith. The issue of what Judge Smith

       has done with the information “made known to him” is pending before the United

       States Court of Appeals for the First Circuit before a requested panel of judges

       under the federal law of civil procedure. Therefore, under 18 USC 4, the above

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       reported activities have been “made known” to several high ranking judges of the

       United States.

                        A. VIOLATIONS OF FEDERAL CRIMINAL CODES

             Pending before the official Federal Court of Appeals proceeding, Appellant

       made known to the panel of judges of the United States allegations contained in the

       Amended Complaint filed in Federal Court of the commission of acts by the Rhode

       Island political subdivisions and employees thereof, Barbara Grady and Gero

       Meyersiek named herein in this motion, the afore-described acts violating 31

       U.S.C. § 3279, 18 U.S.C. §2, 18 U.S.C. §3, 18 U.S.C. §13, 18 U.S.C. §21, 18

       U.S.C. §35, 18 U.S.C. §285, 18 U.S.C. §286, 18 U.S.C. §287, 18 U.S.C. § 2071(a),

       18 U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C. § 241, 18

       U.S.C. § 242, 18 U.S.C. § 1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18

       U.S.C. §1343, 18 U.S.C. § 201, 18 U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285,

       18 U.S.C. §1506, 18 U.S.C. § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C.

       §1002, 18 U.S.C. §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C. §1346, 18

       U.S.C. §1349, 18 U.S.C. §1510, 18 U.S.C. §1513, RICO: 18 U.S.C. §1961, 18

       U.S.C. §1962, 18 U.S.C. §1963, 18 U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C.

       §1968 – such violative acts by the Appellees in this matter, and/or Judge Smith on

       this list are not exhaustive. It is undisputable, among others, that Title IV-D

       penalties were incurred by, Criminal penalties were incurred by, and Title IV-D
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       and Title IV-A disgorgement is due from the applicable State of Rhode Island’s

       political subdivisions.

                                           O. NO IMMUNITY

             On February 6, 2024 in case No. 23-3228 in UNITED STATES OF

       AMERICA v. DONALD J. TRUMP, DC Circuit, the DC Circuit United States

       Court of Appeals reminds the Public and all applicable tribunals that Judges are

       similarly liable to the criminal laws for their official acts. A notable example is Ex

       parte Commonwealth of Virginia, in which the Supreme Court affirmed the

       criminal indictment of a judge based on an official act. 100 U.S. 339 (1879). A

       county judge was indicted in federal court for violating a federal statute that

       prohibited discriminating on the basis of race in jury selection. Id. at 340, 344. The

       Supreme Court began by observing the principle that officers are bound to follow

       the law: “We do not perceive how holding an office under a State, and claiming to

       act for the State, can relieve the holder from obligation to obey the Constitution of

       the United States, or take away the power of Congress to punish his

       disobedience.” Id. at 348. The Court then addressed the judge’s argument that the

       Court lacked the authority to punish a state judge for “his official acts.” Id. Its

       response was twofold. First, the Court described juror selection as “merely a

       ministerial act, as much so as the act of a sheriff holding an execution, in


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       determining upon what piece of property he will make a levy, or the act of a

       roadmaster in selecting laborers to work upon the roads.” Id. The Court then

       explained that even if juror selection is considered a “judicial act,” the judge had a

       legal duty to obey the criminal laws:

             “But if the selection of jurors could be considered
             in any case a judicial act, can the act charged
             against the petitioner be considered such when
             he acted outside of his authority and in direct
             violation of the spirit of the State statute? That
             statute gave him no authority, when selecting
             jurors, from whom a panel might be drawn for
             a circuit court, to exclude all colored men
             merely because they were colored. Such an
             exclusion was not left within the limits of his
             discretion. It is idle, therefore, to say that the
             act of Congress is unconstitutional because it
             inflicts penalties upon State judges for their
             judicial action. It does no such thing.


             Id. at 348–49 (emphasis added). The Court’s reference to “the State statute”

       is to the Virginia law charging the county judge with the duty to select jurors in the

       circuit and county courts. Ex parte Virginia, 100 U.S. at 340.




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             More recent case law on the judicial immunity doctrine affirms that judges

       are not immune from criminal liability for their official acts. O’Shea v. Littleton

       confirmed the holding of Ex parte Virginia in dismissing a civil rights action for

       equitable relief brought against a county magistrate and associate judge of a county

       circuit. 414 U.S. 488, 490–91, 503 (1974). The Supreme Court concluded that the

       requested injunction was not the only available remedy because both judges

       remained answerable to the federal criminal laws:

             [W]e have never held that the performance of
             the duties of judicial, legislative, or executive
             officers, requires or contemplates the
             immunization of otherwise criminal deprivation
             of constitutional rights. On the contrary, the
             judicially fashioned doctrine of official
             immunity does not reach ‘so far as to immunize
             criminal conduct proscribed by an Act of
             Congress . . . .’


             Id. at 503 (citation to Ex parte Virginia, 100 U.S. 339, omitted; quoting

       Gravel, 408 U.S. at 627). Similarly, in Dennis v. Sparks, the Court affirmed

       judicial immunity from civil money damages in the context of bribery allegations

       but explained that judges “are subject to criminal prosecutions as are other

       citizens.” 449 U.S. at 31. Crucially, the judge in Dennis retained civil immunity


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       because “the challenged conduct” — allegedly issuing an injunction corruptly after

       accepting bribes as part of a conspiracy — was “an official judicial act within his

       statutory jurisdiction, broadly construed.” Id. at 29. The scope of civil judicial

       immunity thus aligns with civil Presidential immunity under Fitzgerald, but a

       judge has no criminal immunity for the same “official act.” See also Imbler v.

       Pachtman, 424 U.S. 409, 429 (1976) (“Even judges, cloaked with absolute civil

       immunity for centuries, could be punished criminally for willful deprivations of

       constitutional rights . . . .”); United States v. Gillock, 445 U.S. 360, 372 (1980)

       (“[T]he cases in this Court which have recognized an immunity from civil suit for

       state officials have presumed the existence of federal criminal liability as a

       restraining factor on the conduct of state officials.”).

             When considering the criminal prosecutions of judges, other circuits have

       repeatedly rejected judicial criminal immunity for official acts, largely in the

       context of bribery prosecutions. See United States v. Claiborne, 727 F.2d 842, 845

       (9th Cir.) (per curiam), cert. denied, 469 U.S. 829 (1984); United States v.

       Hastings, 681 F.2d 706, 709–11 (11th Cir. 1982), cert. denied, 459 U.S. 1203

       (1983); United States v. Isaacs, 493 F.2d 1124, 1143–44 (7th Cir.) (per curiam),

       cert. denied, 417 U.S. 976 (1974), overruled on other grounds by United States v.

       Gimbel, 830 F.2d 621 (7th Cir. 1987).



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             The political subdivisions of Rhode Island under 42 USC 654(1) similarly

       are not immune, and employees of the political subdivisions of Rhode Island under

       42 USC § 654(1) similarly are not immune. Barbara Grady and Gero Meyersiek

       are undisputedly liable.




             II.    LACK OF JURISDICTION – APPELLEE 42 U.S.C. sec. 654(1)
                    STATE PLAN POLITICAL SUBDIVISION RHODE ISLAND
                    JUDICIARY’S LIMITED JURISDICTION FAMILY COURT
                    (CREATED UNDER RIGL 8-6-3) LACKS JURISDICTION

                    A. RI’S 42 USC 654(1) POLITICAL SUBDIVISION
                       JUDICIARY LACKS JURISDICTION TO ESTABLISH OR
                       ENFORCE 42 USC sec. 654(21)(A) VIOLATIVE 12%
                       COMPOUND INTEREST ON OVERDUE SUPPORT –
                       DOING SO INCURS PENALTY UNDER 42 USC 654(24)
                       AND REINFORCES ITS STATE PLAN’S INELIGIBILITY
                       FOR FEDERAL FUNDING UNDER BOTH TITLE IV-D
                       AND TITLE IV-A, WARRANTING DISGORGEMENT OF
                       TANF AND TITLE IV-D FUNDING – SEE HODGES v.
                       SHALALA

                       The statutory provision of 42 U.S.C. 654(21)(A) makes it

                       explicitly clear that Title IV-D and Title IV-A participating 42

                       USC 654(1) state political subdivisions, such as the political

                       subdivision Rhode Island Judiciary, lack the authority to establish

                       12% compound interest.




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                      To do so “routinely” simply incurs more penalties, more fines

                      constituting more false claim consequences, and imprisonment of

                      the culpable persons and agents.



                   B. RI’s 42 USC 654(1) POLITICAL SUBDIVISION
                      JUDICIARY’S LIMITED JURISDICTION FAMILY COURT
                      (See RIGL 8-6-3) LACKS JURISDICTION OVER
                      QUESTIONS AND MATTERS OF FEDERAL CRIMINAL
                      VIOLATIONS BY RHODE ISLAND SDU OF ROUTINE
                      RECORD TAMPERING WITH 42 U.S.C. 654a
                      AUTOMATED DATA PROCESSING SYSTEM
                      COMMITTING ACCOUNTING FRAUD (e.g., REMOVAL
                      OF UNLAWFUL 12% COMPOUND INTEREST IN ORDER
                      TO CONCEAL IT WHEN CERTIFYING TO OTHER
                      STATE AUTHORITIES AND FEDERAL AUTHORITIES)
                      AND THE CRIMINAL CERTIFICATION OF
                      FRAUDULENT ACCOUNTS THAT CONTAIN
                      MANUALLY REMOVED UNLAWFUL FRAUDULENT 12%
                      COMPOUND INTEREST (UNDER COLOR OF RI’S
                      PREEMPTED STATE LAW) FROM THE SYSTEM

                      Title IV-D 42 USC 651-669, 31 U.S.C. § 3279, 18 U.S.C. §2, 18

                            U.S.C. §3, 18 U.S.C. §13, 18 U.S.C. §21, 18 U.S.C. §35, 18

                            U.S.C. §285, 18 U.S.C. §286, 18 U.S.C. §287, 18 U.S.C. §

                            2071(a), 18 U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18

                            U.S.C. § 371, 18 U.S.C. § 241, 18 U.S.C. § 242, 18 U.S.C. §

                            1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18

                            U.S.C. §1343, 18 U.S.C. § 201, 18 U.S.C. §205, 18 U.S.C.

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                            18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C. §1002, 18

                            U.S.C. §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C.

                            §1346, 18 U.S.C. §1349, 18 U.S.C. §1510, 18 U.S.C. §1513,

                            RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C.

                            §1963, 18 U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968

                            also make clear that the State Plan’s 42 USC 654(1) political

                            subdivision limited jurisdiction Rhode Island family court

                            lacks jurisdiction over FEDERAL CRIMINAL

                            VIOLATIONS BY RHODE ISLAND SDU OF ROUTINE

                            RECORD TAMPERING WITH 42 U.S.C. 654a

                            AUTOMATED DATA PROCESSING SYSTEM

                            COMMITTING ACCOUNTING FRAUD (e.g.,

                            REMOVAL OF UNLAWFUL 12% COMPOUND

                            INTEREST IN ORDER TO CONCEAL IT WHEN

                            CERTIFYING TO OTHER STATE AUTHORITIES AND

                            FEDERAL AUTHORITIES) AND THE CRIMINAL

                            CERTIFICATION OF FRAUDULENT ACCOUNTS

                            THAT CONTAIN MANUALLY REMOVED

                            UNLAWFUL FRAUDULENT 12% COMPOUND




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                            INTEREST (UNDER COLOR OF RI’S PREEMPTED

                            STATE LAW) FROM THE SYSTEM.


                   C. RI’s 42 USC 654(1) POLITICAL SUBDIVISION
                      JUDICIARY’S LIMITED JURISDICTION FAMILY COURT
                      (See RIGL 8-6-3) LACKS JURISDICTION OVER FEDERAL
                      CRIMINAL VIOLATIONS COMMITTED BY ITSELF
                      INVOLVING CERTAIN SYMBIOTIC RHODE ISLAND
                      FAMILY COURT JUSTICES, SUCH AS JUDGE JOHN
                      McCANN AND MAGISTRATE SUSAN NAHABEDIAN,
                      WHO KNOWINGLY AND ROUTINELY FRAUDULENTLY
                      ESTABLISH AND ENFORCE UNLAWFUL 12%
                      COMPOUND INTEREST TARGETING UNSUSPECTING
                      NONCUSTODIAL PARENT VICTIMS

                      Title IV-D 42 USC 651-669, 31 U.S.C. § 3279, 18 U.S.C. §2, 18

                      U.S.C. §3, 18 U.S.C. §13, 18 U.S.C. §21, 18 U.S.C. §35, 18 U.S.C.

                      §285, 18 U.S.C. §286, 18 U.S.C. §287, 18 U.S.C. § 2071(a), 18

                      U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C.

                      § 241, 18 U.S.C. § 242, 18 U.S.C. § 1519, 18 U.S.C. §666, 18

                      U.S.C. §641, Wire Fraud 18 U.S.C. §1343, 18 U.S.C. § 201, 18

                      U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285, 18 U.S.C. §1506,

                      18 U.S.C. § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C.

                      §1002, 18 U.S.C. §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18

                      U.S.C. §1346, 18 U.S.C. §1349, 18 U.S.C. §1510, 18 U.S.C.

                      §1513, RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C.

                      §1963, 18 U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968 also
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                       make clear that the State Plan’s 42 USC 654(1) political

                       subdivision Rhode Island family court lacks jurisdiction over

                       FEDERAL CRIMINAL VIOLATIONS COMMITTED BY

                       ITSELF INVOLVING CERTAIN SYMBIOTIC RHODE

                       ISLAND FAMILY COURT JUSTICES, SUCH AS JUDGE

                       JOHN McCANN AND MAGISTRATE SUSAN NAHABEDIAN,

                       WHO KNOWINGLY AND ROUTINELY FRAUDULENTLY

                       ESTABLISH AND ENFORCE UNLAWFUL 12% COMPOUND

                       INTEREST TARGETING UNSUSPECTING NONCUSTODIAL

                       PARENT VICTIMS.




                                             CONCLUSION

             WHEREFORE, this Court should GRANT Appellant’s herein motion to

       stay the district court’s Fed. R. App. P 4(a)(5) denials and to stay the tolling of

       time to file a Notice of Appeal pending the Court’s resolution of the pending

       Appellant’s March 8, 2024 Fed. R. App. P 27(b) Motion to Reconsider and extend

       the time to file Appellant’s Notice of Appeal or amended Notice of Appeal to April

       2, 2024. This Court should GRANT Appellant’s March 8, 2024 Fed. R. App. P

       27(b) Motion to Reconsider and extend the time to file Appellant’s Notice of


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       Appeal or amended Notice of Appeal to April 2, 2024. This Court should instruct

       the clerks of the courts to correct the falsely altered record. This Court should

       order divestiture of jurisdiction of the district court throughout the pendency of the

       appeal and the trial court is functus officio. This Court should appropriately and

       fittingly sanction the district court actors involved in falsifying the record for

       misconduct. Appellant requests Oral Argument on all issues raised herein before

       the Court. Appellant requests any and all Relief deemed just.

                                         Respectfully submitted,
                                         Mary Seguin
                                         Pro Se
                                         /s/____________________
                                         Email: maryseguin22022@gmail.com
                                         Phone: (281)744-2016
                                         P.O. Box 22022
                                         Houston, TX 77019

                                         Dated: March 24, 2024




                                 CERTIFICATE OF SERVICE

             This is to certify that the foregoing instrument has been served via the
       Court’s ECF filing system on March 24, 2024, on all registered counsel of record,
       and has been transmitted to the Clerk of the Court.

                                                       Mary Seguin

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                                                   Pro Se
                                                   /s/____________________
                                                   Email: maryseguin22022@gmail.com
                                                   Phone: (281)744-2016
                                                   P.O. Box 22022
                                                   Houston, TX 77019




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                                     Exhibit A
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                                                                                   Mary Seguin <maryseguin22022@gmail.com>



 Filing Submitted for Case: K20010521M; GERO MEYERSIEK vs. MARY SEGUIN;
 Envelope Number: 4544999
 1 message

 no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                         Thu, Mar 21, 2024 at 6:49 PM
 To: maryseguin22022@gmail.com



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                                                                                                Case Number: K20010521M
                                                                            Case Style: GERO MEYERSIEK vs. MARY SEGUIN

   The filing below has been submitted to the clerk’s office for review. Please allow twenty-four (24) to forty-eight (48) hours
   for the clerk’s office to process your filing.

                                                           Filing Details
   Court                                 Family Court
   Date/Time Submitted                   3/21/2024 7:47 PM EST
   Filing Type                           Motion to Compel
   Filing Description                    Defendant's Motion to Compel Compliance with Subpoena
   Type of Filing                        EFileAndServe
   Filed By                              Mary Seguin
   Filing Attorney


                                                            Fee Details

   Your account is never charged until your filing is accepted. If you see any pending charges on your account prior to
   acceptance, the pending charges are an authorization hold to ensure that the funds are available so your filing can be
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    This envelope is pending review and fees may change.
    Case Fee Information                      $0.00
    Motion to Compel                          $0.00
   Total:$0.00 (The envelope still has pending filings and the fees are subject to change)


                                                        Document Details
                                         RI Family Court Motion to Compel Compliance with EXHIBITS OF Subpoena and
   Lead Document
                                         42 USC 654 and 654b and 655 FINAL 032124.pdf
   Lead Document Page Count              129
   File Copy                             Download Document
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                  STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
       PROVIDENCE, S.C.                                               FAMILY COURT


       State of Rhode Island ex rel.             :
       GERO MEYERSIEK                            :
              Plaintiff                          :
                                                 :
       VS.                                       :              DOCKET NO: K20010521M
                                                 :              Title IV Part D Case under
                                                 :              42 U.S.C. §§ 651-669
       MARY SEGUIN                               :
           Defendant                             :


         DEFENDANT’S MOTION TO COMPEL COMPLIANCE WITH SUBPOENA



              The Texas Defendant, MARY SEGUIN (“Seguin”), proceeding pro-se, hereby

       moves to compel compliance with Defendant’s Subpoena (attached hereto as Exhibit

       A) served upon the Rhode Island Office of Child Support Services, which is acting on

       behalf of the State of Rhode Island ex. rel. GERO MEYERSIEK, and acting as the “State

       Agency” under the Rhode Island State Plan under 42 U.S.C. § 654, 42 U.S.C. § 654a,

       42 U.S.C. § 654b, 42 U.S.C. § 666 et al., and all applicable state and Federal Laws,

       both civil and criminal, regulating Plaintiffs’ actions and omissions under the legal

       framework of Title IV-D of the Social Security Act. Defendant respectfully

       requests and moves for a hearing on Defendant’s herein Motion to Compel

       Compliance with Subpoena – the Rhode Island Office of Child Support

       Services refuses to respond to and refuses to comply with the Subpoena,

       and filed a motion to quash the subpoena on March 20, 2024 - the

       requested information is further regulated and mandated to be produced

       under the State Plan in compliance under 42 U.S.C. § 654b, therefore those


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       requested documents must be produced by the State within this proceeding

       as well as without judicial compulsion. The Subpoena further summons Kevin

       Tighe, Paul Gould and John Langlois to appear to Court to testify at the hearing

       scheduled in this matter on March 28, 2024 at 10:00 AM.

                  I.     RHODE ISLAND’S STATE PLAN’S PENALTY-INCURRING
                                    VIOLATIONS OF TITLE IV-D
                                                      AND

              ORGANIZED CRIMINAL COMMISSION OF INTERSTATE FRAUD

              Congress prescribed both civil and criminal penalties for violations. Consistent

       with its Spending Power, Congress has the authority to attach conditions on the receipt

       of federal funds. See South Dakota v. Dole, 483 U.S. 203, 206 (1987). The Title IV-D

       statute expressly provides that compliance with the 3-6% simple interest on overdue

       support, operating the automated system for accuracy and SDU requirements is a

       condition of approval of a state plan. See 42 U.S.C. §§ 654(10), (14), (15), (16), (21)(A),

       (24), (27)A, § 654a, § 654b. The clear and unequivocal statement of the required

       conditions in the statute enabled Rhode Island to "exercise [her] choice knowingly,

       cognizant of the consequences of [her] participation." See Dole, 483 U.S. at 207

       (citations omitted). The Supreme Court has recognized that Congress intended the

       linkages between child support programs and the TANF program. See Sullivan v.

       Stroop, 496 U.S. 478, 484 (1990) (concluding Congress intended the two programs to

       "operate together closely.” The penalty provisions of the statute and the wording of the

       statute are plain. Where the Secretary determines that a state plan would be

       disapproved, and where the State has made and continues to make a good faith effort to

       comply and has submitted a corrective compliance plan, "the Secretary shall not

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       disapprove the State plan . . . and the Secretary shall reduce the amount otherwise

       payable to the State [by the designated alternative penalty]." 42 U.S.C. §

       655(a)(4)(A)(i)(II) (emphasis added). "[B]y the text of the statute, the legislature has

       prescribed that the Secretary shall enforce this penalty." Hodges v. Shalala, 121 F.2d at

       879. Absent any discretion available to the Secretary to impose a lesser penalty than the

       alternative penalty as outlined in the statute, Rhode Island is liable for the statutorily

       prescribed penalties. 1 Congress also enacted several criminal codes punishing actors,

       such as the Plaintiffs, who commit federal crimes, including cover up of unlawful

       activities.

              Defendant filed a Motion to Dismiss Interest Arrears on February 4, 2024 and

       Defendant’s Motion is scheduled on the Court’s calendar to be heard on March 28,

       2024. For the hearing, the Defendant served the attached Subpoena, attached hereto as

       Exhibit A, upon the State ex. rel. Plaintiff, Rhode Island Office of Child Support

       Services, the State agency under the State Plan pursuant to 42 U.S.C. § 654. See

       United States Congress’s publication of cited applicable federal law:

       https://uscode.house.gov/view.xhtml?hl=false&edition=prelim&req=granuleid%3AUS



       1
        In 2000, South Carolina unsuccessfully challenged the Department of Health and
       Human Services’ (HHS) authority to impose a penalty for its non-compliance, see
       Hodges v. Shalala, supra, and subsequently submitted a corrective-action plan and
       accepted imposition of a penalty retroactive to 1998. The State paid more than $55
       million in penalties through 2007. South Carolina Dep’t of Social Servs., Response to
       Budget Proviso 13.27 at 4 (Aug. 31, 2007),
       http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
               Emphatically, note that South Carolina’s violations and penalties do not involve
       deliberate alterations of and tampering with government records involved in accounting
       fraud, knowingly inputting 42 USC 654(21)(A) violative 12% compound interest into the
       automated system, then manually removing or adjusting them for purposes of
       certification purposes to Texas and to the United States in order to conceal the 12%
       compound interest from the noncustodial parent and to Texas and Federal authorities.
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              Defendant subpoenaed “(1) All records, files, notes, public records, documents,

       films, materials generated in the course of administration and enforcement of relating to

       Defendant Mary Seguin, from 2010 to the present in this Title IV-D Case under the

       Social Security Act; (2) All records relating to Defendant Mary Seguin from 2010to the

       present, including notes and messages taken and generated on October 5, 2022.”

              See attached subpoena, Exhibit A.

              The Rhode Island Office of Child Support Services’ actions in this Title IV-D

       case’s proceedings since 2010 with the entries of orders prepared and submitted in her

       official and individual capacities, Priscilla Glucksman, make clear the Office of Child

       Support Services is one of the State Plan’s key “organizational unit which meets such

       staffing and organizational requirements as the Secretary may by regulation prescribe,

       within the State to administer the plan” under 42 U.S.C. § 654(3).

              Rhode Island Office of Child Support Services’ refusal to comply with

       the Subpoena is a prima facie 42 U.S.C. § 654b violation that incurs penalties in

       this fiscal year under 42 U.S.C. § 655(a)(5) as well as 42 U.S.C. § 655(a)(4),

       which penalty-incurring violations the Defendant had reported, is reporting and will

       continue to report to relevant law enforcement authorities at the federal and state levels.

       (Judicial notice is respectfully requested that the Defendant in January 2023 reported

       Office of Child Support’s violations to the Rhode Island Office of Attorney General, who

       instead of enforcing the requirements of the State Plan as the Attorney General is

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       similarly a political subdivision under 42 USC 654(1), opted to reinforce, aid, shield and

       protect Rhode Island political subdivisions’ unlawful activities – this is reported to

       United States authorities). As a condition of receipt of any federal funding under Title

       IV-D of the Social Security Act, 42 U.S.C. §§ 651-669, States must have an approved

       state plan for child and spousal support that meets all the requirements of 42 U.S.C. §

       654. Among the prerequisites for approval of a Title IV-D Plan are the requirements

       that the State may only uniformly charge 3-6% simple interest on overdue support, see

       42 U.S.C. § 654(21)(A), and a State must establish and operate an automated data

       processing and information retrieval system without taking computer calculated

       amounts off and then put other numbers back on the system or hardcoding/inputting

       new numbers computed offline onto the system, see 42 U.S.C. § 654(24), and the State

       must have a state child support disbursement unit (SDU) that complies with all the

       requirements of 42 U.S.C. § 654, 42 U.S.C. § 654a, 42 U.S.C. § 654b, see 42 U.S.C. §

       654(27)(A). Rhode Island deliberately fails to meet all the requirements, including

       continuously inputting 12% compound interest on overdue support and the Rhode

       Island Office of Child Support Services covers up their noncompliance with accounting

       fraud inputting into the system and taking off from the automated data processing

       system amounts that are inflated, unlawful, and submitting false books of accounts that

       removed the unlawful inflated amounts to the Federal authorities to make it look like

       Rhode Island is in compliance so as to procure federal funding for which Rhode Island

       is ineligible.

              The deliberate fraud makes clear the State operates an unlawful plan, in fact a

       criminally unlawful plan, and does not have an approved state plan under Title IV-D of



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       the Social Security Act, 42 U.S.C. §§ 651-669, and should lose and disgorge unlawfully

       procured federal funding under both Title IV-D (child support enforcement) and Title

       IV-A (TANF). See 42 U.S.C. § 655(a)(1)(A); 42 U.S.C. § 602(a)(2). See, Hodges v.

       Shalala, 121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002), cert.

       denied, 540 U.S. 811 (2003).

              Any attempt interfering with the Defendant’s reporting, pursuant to

       18 U.S.C. § 4, to law enforcement authorities the commission of crimes by

       political subdivisions of the State within this Title IV-D proceeding is

       unenforceable. Any and all failures to comply with 18 U.S.C. § 4 constitutes

       misprision of a felony.




            A. THIS PROCEEDING IS GOVERNED by 42 U.S.C. § 654 et al.
       UNDER TITLE IV-D THAT REGULATE ALL POLITICAL SUBDIVISIONS OF
       THE STATE OF RHODE ISLAND



              The Political Subdivision of the State of Rhode Island under 42 U.S.C. § 654(1),

       namely by and through the Office of Child Support Services’ Lead Legal Counsel

       Paul Gould, Esq., made several claims before this Court under Oath throughout this

       Title IV-D case hearings and proceedings that the laws of Congress do not matter,

       only this court orders matter and they do not need to conform to

       Congressional prescribed federal statutes. E.g., See Exhibit B Transcript of

       February 2, 2024 Hearing in this matter. Rhode Island is wrong and Paul

       Gould is wrong, and both know it. That flagrant lawlessness is at the heart

       of the violations of federal law under color of state law in this interstate

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       Title IV-D case. Rhode Island participates in Title IV-D, and in so participating

       through its State Plan, must comply with Title IV-D. See, Hodges v. Shalala,

       121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002), cert.

       denied, 540 U.S. 811 (2003). See New York v. United States, 505 U.S. at 161,

       Congress, under the Commerce Clause, may offer the States a choice of

       regulation under federal control or preemption under federal regulation.

       See Hodel v. Virginia Surface Mining & Reclamation Assn., Inc., 452 U.S.

       264, 288 (1981). The Title IV-D statute expressly provides that compliance

       with 42 U.S.C. sec. 654, and compliance with the automated data processing

       system and SDU requirements is a condition of approval of a state plan. See

       42 U.S.C. § 654(16), (24)(27)A. The clear and unequivocal statement of the

       required conditions in the statute enabled Rhode Island to "exercise [her]

       choice knowingly, cognizant of the consequences of [her] participation."

       See Dole, 483 U.S. at 207 (citations omitted); See South Dakota v. Dole, 483

       U.S. 203, 206 (1987). The textual language of 42 U.S.C. § 654(1) states,

             “A State plan for child and spousal support must—
             (1)    provide that it shall be in effect in all political subdivisions of
                    the State”



             The facts and established law thus make it crystal clear all political subdivisions

       of Rhode Island, including the Rhode Island Department of Human Services, the

       Office of Child Support Services AND the Rhode Island Judiciary political

       subdivisions of the State of Rhode Island MUST comply with 42 U.S.C. §

       654. However, because the Rhode Island Office of Child Support Services,


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       the State Plan’s SDU unit, flagrantly and expressly states in this Title IV-D

       case that Title IV-D statute and Congressionally prescribed federal statutes

       do not apply in this case nor in Rhode Island, the State of Rhode Island’s

       political subdivisions have flagrantly flouted 42 USC sec. 654 and then

       adjusted and tampered with the automated data processing system

       accounting to defraud the United States of federal funding, and to defraud

       the Defendant of her Texas properties.

              Therefore the Defendant respectfully reminds all participants involved in this

       Title IV proceeding and gives notice to the applicable State political subdivisions (e.g.,

       Rhode Island Judiciary) and agencies, including the SDU under the State Plan under 42

       U.S.C. § 654(1), e.g., the Rhode Island Office of Child Support Services, that

       this yet again noncompliance by the State of Rhode Island with the Subpoenaed

       information egregiously constitutes yet another of the many numerous failures of Rhode

       Island agencies and its State Plan during this fiscal year to comply with the

       requirements of section 654b, as well as 654, 654a and 666 of Title IV which shall be

       considered yet another of the many numerous failures of the State to comply with

       subparagraphs (A) and (B)(i) of section 654(27) of this title during the fiscal year, that is

       clearly stipulated in 42 U.S.C. § 655(a)(5)(A)(ii) by a penalty amount of up to 30

       percent of the penalty base, in the case of the fifth or any subsequent such

       fiscal year in which such a failure by the State occurs (regardless of whether

       a penalty is imposed under this paragraph with respect to the failure). (ii)

       The term “penalty base” means, with respect to a failure of a State to

       comply with a subparagraph of section 654(24) of this title during a fiscal



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       year, the amount otherwise payable to the State under paragraph (1)(A) of

       this subsection for the preceding fiscal year.

              Additionally, the deliberate noncompliance motivated by cover up makes clear

       the State knowingly and intentionally operates an illegal plan, the State knows Rhode

       Island does not have an approved state plan under Title IV-D of the Social Security Act,

       42 U.S.C. §§ 651-669, and therefore should lose federal funding under both Title IV-D

       (child support enforcement) and Title IV-A (TANF). See 42 U.S.C. § 655(a)(1)(A); 42

       U.S.C. § 602(a)(2).

                                                  B. FRAUD

              In this Title IV case, serial noncompliance, motivated by fraud, and their

       resulting incurred penalties, both civil and criminal, accrued since the initiation of this

       Title IV case fourteen years ago in 2010, upon Plaintiff Gero Meyersiek’s

       application for services under Title IV through his own private attorney,

       Barbara Grady, whose former law firm partner and diseased husband Paul

       Dugan, was himself a former Senior Counsel of the Rhode Island Office of

       Child Support Services, one of the key Title IV-D agencies under Rhode

       Island’s State Plan charged under 42 U.S.C. § 654(3) with State compliance

       with 42 U.S.C. § 654, 654a, 654b, 655, 658a, among others – Barbara Grady

       through Paul Dugan has intimate knowledge of and is a knowing participant

       in the State’s accounting fraud reporting to the United States for federal

       funding reimbursement and federal funding Incentive Payment payouts

       (658a) worth hundreds of millions of dollars under the Title IV Program to

       the Secretary and Department of Health and Human Services, among

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       others. Upon information and belief, the Plaintiff Gero Meyersiek and

       Barbara Grady and the Rhode Island Office of Child Support Services have a

       series of unlawfully obtained “12% compound interest” money receipt

       sharing arrangements involving the fraudulent procurement through the

       Title IV framework of exorbitant 12% compound interest interstate

       targeting Defendant’s Texas properties on overdue support enabled

       through accounting fraud, among others – this arrangement involving

       interstate defraud of the Texas Defendant and simultaneous theft of the

       United States of ineligible Title IV funding entails, inter alia, the Rhode

       Island Office of Child Support Services discussing in great detail at length

       with Barbara Grady the agency’s fraudulent removal from the 42 U.S.C. §

       654(24), 42 U.S.C. § 654(27) and 42 U.S.C. § 654a mandated automated data

       processing system of 12% compound interest when sending to Texas in 2018

       thus creating fraudulent books of accounts under 42 U.S.C. §

       666(14)(A)(ii)(I) and (II) fraudulently certifying to Texas via wire and via

       mail inaccurate support due accounts – discussions of this scheme further

       violated the Defendant’s privacy rights, that are documented in the TRAC

       record of the Defendant’s Title IV case file for December 2021 recording the

       agency’s discussions with Barbara Grady at length regarding taking interest

       off when sending to Texas, and keeping it off the system when

       communicating to Defendant that Gero Meyersiek waived interest, and then

       putting interest back on the system after they defrauded the Defendant

       inducing the Defendant to payoff support that comprised of the principle in

       one lump sum of $104,185.98 in consideration of Gero Meyersiek waiving

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       interest – the agency discussing its illegal and criminal enforcement

       information with Barbara Grady is in itself a violation of 42 U.S.C. 654

       (26)(A) that mandates the State Plan to have in effect safeguards, applicable

       to all confidential information handled by the State agency, that are

       designed to protect the privacy rights of the parties, such as this Texas

       Defendant, including—

             (A)safeguards against unauthorized use or disclosure of information

       relating to proceedings or actions to establish paternity, or to establish,

       modify, or enforce support.

             See Exhibit B. Rhode Island Office of Child Support TRAC document for

       December 2021 attached hereto as EXHIBIT B.

             Under Title IV-D of the Social Security Act, 42 U.S.C. §§ 651-669, the

       Texas Defendant has the protected right to be furnished under Subpoena with all

       TRAC records in Defendant’s Title IV-D case file from 2010 to the present to establish

       the accuracy of the alleged Rhode Island computations mandated to be performed by

       the automated data processing system, but has instead been hard-programmed

       numbers created offline that are then manually input into the automated data

       processing system several times, thus fabricating several different Rhode Island-

       certified false books of accounts of amounts due transmitted by mail and by wire to

       Texas and the Texas Defendant and to the United States for the purposes of procuring

       federal funding under Title IV-D and Title IV-A that violate Federal and Texas State civil

       and criminal codes. The Rhode Island Office of Child Support Services refuses to



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       produce any TRAC records for 2010, 2011, 2012, 2013, 2014, 2015, 2016, 2017, 2018,

       2019, 2021 January to November, 2023 and 2024.

                This violation of, among others, 42 U.S.C. 654(26)(A) constitutes a violation of 42

       U.S.C. 654(27) that counts as a penalty in the many violations in fiscal year 2021 alone

       which exceeds 30% of the penalty base in 2021 – and that’s just civil penalties under

       Title IV – numerous other federal criminal and civil violations incurring additional

       penalties are applicable, including Texas criminal and civil code violations.

                                            C. 42 U.S.C. § 654b(4)

                Under Rhode Island’s State Plan, the Rhode Island Office of Child Support

       Services is mandated to “furnish to any parent, upon request, timely

       information on the current status of support payments under an order

       requiring payments to be made by or to the parent.”

                Therefore, information relating to the Orders in question and relevant

       information relating to those orders must be furnished. Information relating to the

       putting of 12% compound interest on the automated data processing system from 2010

       to the present must be furnished. Information relating to the removal of any alleged

       computed online or offline related to 12% compound interest from the automated data

       processing system in 2018 and at any and all times from 2010 to the present must be

       furnished. Information relating to the waiver by the Plaintiff by and through his private

       attorney Barbara Grady of the 12% compound interest that was represented to

       Defendant as the $0.00 showing under interest calculated by the automated data

       processing system in Defendant’s case file on December 6, 2021 must be furnished.

       Information relating to the Rhode Island Office of Child Support Services calculated

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       total due showing $92,214,56 calculated by the automated data processing system in

       Defendant’s case file on December 6, 2021 that calculates arrears from 2010 must be

       furnished. See attached hereto December 6, 2021 screen shot of the Defendant’s

       online OCSS account showing the calculated amounts of which is mandated by Title

       IV-D to be populated by the automated data processing system as EXHIBIT C.

       Information relating to the interest amount before it was taken off the automated data

       processing system in 2018 must be furnished, as well as any time interest was taken off

       the system from 2010 to the present. Information relating to the interest put back on

       the automated data processing system in 2021 after Defendant accepted the

       $104,185.98 payoff number given by Office of Child Support Services by wire via email

       must be furnished. Information relating to how $104,185.98 was computed by the

       automatic data processing system on December 7, 2021 must be furnished, when the

       automated data processing system calculated $92k just the day before on December 6,

       2021 must be furnished. Information relating to how $75,658.00 was calculated by the

       automated data processing system on March 3, 2022 that was then issued to Texas to

       lien Texas properties by Mail and by wire must be furnished. And this is not exhaustive

       – see Subpoena attached hereto as Exhibit A.




             D. 2012 JUDGE McCANN (and 2024 MAGISTRATE NAHABEDIAN)
            VIOLATIONS of 42 U.S.C. § 654(21)(A) – EIGHT FAILURES AND
        PENALTIES (FOUR IN 2012 and FOUR IN 2024 by and through POLITICAL
           SUBDIVISION RI FAMILY COURT) – (THIS DOES NOT INCLUDE
        CRIMINAL AND CIVIL PENALTIES UNDER APPLICABLE CRIMINAL AND
              CIVIL CODES UNDER FEDERAL LAWS AND TEXAS LAWS)




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                This Court took judicial notice on February 10, 2023of the issuance of two Orders

       issued by Judge McCann in 2012. Magistrate Monaco clarified at the hearing on March

       6, 2023 he did NOT take judicial notice of the contents of the orders, only the issuance

       of the orders. See attached transcript of March 6, 2023 hearing. Exhibit D.

                Those 2012 orders were issued by Judge McCann of the Rhode Island Family

       Court, a political subdivision of the State, in which the State Plan must be in effect under

       42 U.S.C. § 654(1). Therefore, it is crystal clear that the Rhode Island Family

       Court and its justices under the State Plan MUST comply with all provisions

       of Title IV-D, including U.S.C. § 654(21)(A) that makes it crystal clear interest on

       overdue support must be between 3-6% simple interest. However, Judge

       McCann knowingly ordered 12% compound interest in this interstate Title

       IV-D on overdue support to be illegally put into the State Plan’s automated

       data processing system mandated under U.S.C. § 654a and U.S.C. § 654b in

       knowing violation of 42 U.S.C. § 654(21)(A). Certainly, the Rhode Island

       Office of Child Support Services today claims 12% compound interest was

       what Judge McCann ordered, undisputedly making Judge McCann an

       accomplice. The knowing violation of the political subdivision Rhode Island Family

       Court by and through Justice McCann of 42 U.S.C. § 654(21)(A) through fraud

       on the court and under color of state law violates 42 U.S.C. § 654(24), 42

       U.S.C. § 654a and 42 U.S.C. § 654b and incurs FOUR failures and penalties

       in this case alone for the fiscal year 2012 under 42 U.S.C. § 655(a)(4) and 42

       U.S.C. § 655(a)(5), through just the State family court political subdivision

       alone.



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                In 2024, the Rhode Island political subdivision of the family court by

       and through Magistrate Nahabedian flagrantly declared at the February 2,

       2024 hearing in this matter that the State knowingly orders to be put into

       the automated data processing system 12% compound interest in Rhode

       Island under color of state law and through fraud on the court in knowing

       violation of the Rhode Island certified approved State Plan that mandates 3-

       6% simple interest under 42 U.S.C. § 654(21)(A), with her actions

       representing four failures and penalties in fiscal year 2024. See transcript

       Exhibit F. Failure of compliance with all provisions of Title IV-D results in the State’s

       loss of federal funding for Title IV-D and Title IV-A under Federal Law. See Exhibit E,

       Court Reporter Certified Transcripts of February 2, 2024 Title IV case

       hearing in this matter.

             E. 2012 RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES
       (and 2012 Priscilla Glucksman) VIOLATIONS of 42 U.S.C. § 654(21)(A) and
       42 U.S.C. 654 (26)(A) and 42 U.S.C. § § 652-669 – OVER TWENTY
       FAILURES AND INCURRED PENALTIES in 2012 by and through
       POLITICAL SUBDIVISION RI OFFICE OF CHILD SUPPORT SERVICES
       THROUGH FRAUD AND UNDER COLOR OF STATE LAW


                In order to cover up the flagrantly unlawful 12% compound interest that

       represents unlawful and fraudulently obtained and extorted under color of law Rhode

       Island State revenue through the Social Security Act in welfare cases, Rhode Island

       Office of Child Support Services adopted the Official Policy not to pursue

       interest in interstate cases (in order to cover it up from federal authorities

       and other state authorities see 42 USC sec. 666(14) – cooperation with

       other states – EXHIBIT F Attached hereto Rhode Island Office of Child


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       Support Services Official Written Policy that was produced by RI OCSS

       during February 10, 2023 court ordered discovery. This policy document

       evidences the official policy of criminal and civil fraud by the State of Rhode

       Island’s political subdivisions applicable under 42 U.S.C. § 654(1).

                This policy evidences the routine extortions of noncustodial parents

       through the enforcement of 12% compound interest in-state under color of

       state law that incur penalties under Title IV-D and Title IV-A, and all

       applicable criminal codes.

                This policy evidences the political subdivisions of Rhode Island’s

       concealment and cover up from out-of-state and federal authorities of the

       State’s illegal extortion of 12% compound interest under color of state law

       by adopting an official policy not to pursue interest in out of state interstate

       cases that incurs penalties under Title IV-D and Title IV-A, and all

       applicable criminal codes.

                This policy evidences accounting fraud concealing 12% compound

       interest applied to certain selected out-of-state cases such as the

       Defendant’s, as well as accounting fraud adjustments that conceal the 12%

       compound interest in in-state cases when submitting for Title IV-D and

       Title IV-A reimbursement to the United States.

                The pattern of agency discussions and considerations of its illegal

       and criminal enforcement information with Barbara Grady is in itself an

       organized scheme involving schemes to commit accounting fraud and false



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       certification of Title IV-D accounts, in violation of, inter alia, 42 U.S.C. 654

       (26)(A) that mandates the State Plan to have in effect safeguards, applicable

       to all confidential information handled by the State agency, that are

       designed to protect the privacy rights of the Texas Defendant.

                In 2012, Priscilla Glucksman, individually and on behalf of the Rhode Island

       Office of Child Support Services, under 42 U.S.C. 654(1), on oral motion moved

       for 12% compound interest, that by Rhode Island’s official policy should not

       be pursued in this interstate Title IV-D case, with the intent and scheme to

       commit accounting fraud and fraudulent certification of amounts due by

       removing the 12% compound interest from the automated data processing

       system in the anticipated event Rhode Island sends it to Texas authorities

       and Federal authorities for enforcement under 42 U.S.C. 666 (14). Priscilla

       Glucksman schemed with Barbara Grady and Gero Meyersiek to orally move for interest

       in order to minimize a paper trail of paper filings in this interstate Title IV case so that a

       written record of the ordered 12% compound interest is buried within a one line of the

       order, with no documentation of a written paper motion that would otherwise contain or

       omit the State’s legal justification moving for 12% compound interest in this interstate

       Title IV-D case. In 2012, Paul Dugan was alive and participated in the arrangement.

       The symbiotic pliant Judge McCann readily complied under color of state law, knowing

       fully well 12% compound interest is not enforceable in any state and definitely not

       enforceable in Texas under Title IV-D, and knowing that Rhode Island Office of Child

       Support Services intended to remove the interest amount if and when Rhode Island

       sends to Texas for collection while falsely certifying the total amount due and then put


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       the interest back on the system and then file a subsequent motion to set interest arrears

       back in Rhode Island through the symbiotic pliant family court political subdivision of

       the State of Rhode Island before a symbiotic pliant judge like Judge McCann,

       committing interstate fraud in violation of, inter alia, 42 U.S.C. sections 652-669, RICO,

       wire fraud, mail fraud, tampering with government records and accounting fraud. This

       list of criminal codes violated by the Plaintiffs is not exhaustive. Defendant shall

       present a list of the violated federal criminal codes later in this motion under Section IV

       of this motion.

             F. 2013, 2014, 2015, 2016, 2017, 2018, 2019, 2020, 2021, 2022, 2023,
       2024 RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES (and 2012
       Priscilla Glucksman) VIOLATIONS of 42 U.S.C. § 654(21)(A) and 42 U.S.C.
       654 (26)(A) and 42 U.S.C. § § 652-669 and Title IV-A – OVER TWENTY
       ANNUAL FAILURES AND INCURRED PENALTIES in 2013-2024 by and
       through POLITICAL SUBDIVISION RI OFFICE OF CHILD SUPPORT
       SERVICES THROUGH FRAUD AND UNDER COLOR OF STATE LAW



                Title IV-A TANF benefits are conditioned upon the State’s compliance with all

       requirements of 42 U.S.C. § 654, and from 2012 to 2024 and on-going, based on

       violations in this case alone, Rhode Island has been and continues to be ineligible and

       the State is receiving funds through false representations and alteration of government

       records to procure federal funding. From 2012 to 2024, Defendant has the information

       to aver that the State of Rhode Island’s political subdivisions under 42 U.S.C. § 654(1)

       sent by mail and by wire false accounts of amount due and of liens that contained Title

       IV-D violative illegal and unenforceable 12% compound interest fraudulently

       misrepresented as “child support due” to multiple institutions, including banks, credit

       bureaus to Texas in violation of Texas Penal Codes that carry additional fines and jail


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       time. Then Rhode Island Office of Child Support Services and the financial comptroller

       of the Rhode Island Judiciary and the State Treasurer’s Office fraudulently concealed

       through removal and other false accounting itemizations the 12% compound interest

       when sending to United States Department of Health and Human Services for federal

       incentive payments payouts and federal funding payments under Title IV-D and Title

       IV-A.

                The total Title IV penalties incurred, disgorgement due back to the United States

       for ineligible Title IV-D and Title IV-A funding, and criminal fines incurred by Rhode

       Island in this case alone from 2012 to 2024 run upwards of hundreds of millions of

       dollars. From 2012 to 2024, Rhode Island’s Title IV-D political subdivisions conspired

       to violate, in addition to 42 U.S.C. 654(21)(A), among others, several requirements

       under 42 U.S.C. 654 whose plain textual requirements requires the State Plan MUST:

                (7)provide for entering into cooperative arrangements with appropriate courts

       and law enforcement officials and Indian tribes or tribal organizations (as defined in

       subsections (e) and (l) of section 5304 of title 25) (A) to assist the agency administering

       the plan, including the entering into of financial arrangements with such courts and

       officials in order to assure optimum results under such program, and (B) with respect to

       any other matters of common concern to such courts or officials and the agency

       administering the plan;

                (10) provide that the State will maintain a full record of collections and

       disbursements made under the plan and have an adequate reporting system;

                (14)



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                (A)

                comply with such bonding requirements, for employees who receive, disburse,

       handle, or have access to, cash, as the Secretary shall by regulations prescribe;

                (B)

                maintain methods of administration which are designed to assure

       that persons responsible for handling cash receipts shall not participate in accounting or

       operating functions which would permit them to conceal in the accounting

       records the misuse of cash receipts (except that the Secretary shall by regulations

       provide for exceptions to this requirement in the case of sparsely populated areas where

       the hiring of unreasonable additional staff would otherwise be necessary);

                (15)provide for—

                (A)

                a process for annual reviews of and reports to the Secretary on the State program

       operated under the State plan approved under this part, including such information as

       may be necessary to measure State compliance with Federal requirements for expedited

       procedures, using such standards and procedures as are required by the Secretary,

       under which the State agency will determine the extent to which the program is

       operated in compliance with this part; and

                (B)

                a process of extracting from the automated data processing system required by

       paragraph (16) and transmitting to the Secretary data and calculations concerning the


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       levels of accomplishment (and rates of improvement) with respect to applicable

       performance indicators (including paternity establishment percentages) to the extent

       necessary for purposes of sections 652(g) and 658a of this title;

                (16)

                provide for the establishment and operation by the State agency, in accordance

       with an (initial and annually updated) advance automated data processing planning

       document approved under section 652(d) of this title, of a statewide automated data

       processing and information retrieval system meeting the requirements of section 654a

       of this title designed effectively and efficiently to assist management in

       the administration of the State plan, so as to control, account for, and monitor all the

       factors in the support enforcement collection and paternity determination process

       under such plan

                (20)

                provide, to the extent required by section 666 of this title, particularly

       the Due Process protections, that the State (A) shall have in effect all of the laws to

       improve child support enforcement effectiveness which are referred to in that section,

       and (B) shall implement the procedures which are prescribed in or pursuant to such

       laws.

                (23)

                provide that the State will regularly and frequently publicize, through public

       service announcements, the availability of child support enforcement services under the

       plan and otherwise, including information as to any application fees for such services

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       and a telephone number or postal address at which further information may be obtained

       and will publicize the availability and encourage the use of procedures for voluntary

       establishment of paternity and child support by means the State deems appropriate




                                        G. COVER UP AND FRAUD

                In 2012, the child in question was 12 years old. From 2012 to 2018, Defendant

       does not have any records (due to several prior Title IV-D information denials by the

       Rhode Island Office of Child Support Services for purposes of cover-up, that further

       incurred penalties and fines for each and every information denial under 42 USC

       654(24) and 42 USC 654(27) and 42 USC 655) of Rhode Island’s political subdivisions

       under 42 USC 654(1) sending to Texas or to federal authorities the support amount for

       enforcement under 42 USC 654(7) or 42 USC 666(14). Obviously, sending the support

       amount in the automated data processing system without the removal of the interest

       from the system exposes the illegal 12% compound interest disallowed under 42 USC

       654(21)(A), which would incur Title IV-D and Title IV-A penalties, disgorgement of

       ineligible federal funds and incur criminal fines. It is for this very reason that the Rhode

       Island political subdivisions adopted the written official policy not to pursue interest in

       interstate cases, that moreover runs afoul of 42 USC 654(21)(A) plain language that the

       State Plan must apply UNIFORM interest on overdue support, not State-targeted 0% in

       some interstate cases and then 12% compound interest in all other cases, such as in this

       case. Moreover, if the State claims they actually did send notices of support due to the

       Defendant in Texas, each transmission would constitute patterns of federal crimes,

       including Mail Fraud, since the 12% compound interest in this Title IV-D case is illegal

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       and fraudulent and unenforceable. This scheme is in violation of 42 USC §§ 654(7),

       (10), (14), (15), (16), (20), (21), (23), (24), (27).

                Upon information, the State of Rhode Island’s political subdivisions under 42

       USC 654(1) also transmitted by wire and by mail to the United States Department of

       State a hold on the renewal of Defendant’s passport, again omitting and concealing the

       principle amount as well as the fact that the State attempts to enforce interstate an

       illegal 12% compound interest on overdue support. This scheme is in violation of 42

       USC §§ 654(7), (10), (14), (15), (16), (20), (21), (23), (24), (27).

                Upon information, the State of Rhode Island’s political subdivisions made the

       illegal decision between top management employees of the Rhode Island SDU unit,

       dressed up as “administrative decision,” to illegally and criminally remove the illegal

       12% compound interest from the automated accounting data processing system that

       clearly is required to prevent activities “to conceal in the accounting records”

       Rhode Island’s illegal 12% compound interest prescribed under 42 U.S.C. § 654(14).

       See TRAC records attached hereto in Exhibit B.

                Upon information, Rhode Island routinely removes the illegal 12% compound

       interest from the automated data processing system when reporting to the Secretary of

       the United States Department of Health and Human Services in violation of 42 USC §§

       654(10), (14), (15), (16), (20), (21), (23), (24), (27), and applicable federal criminal

       codes. See TRAC records attached hereto in Exhibit B of the routine practice of illegal

       accounting adjustments of the automated data processing system in the hundreds of

       thousands of dollars in December 2021 alone. In this case alone, the aforesaid

       accounting fraud and record tampering violations motivated by theft of the Title IV-D

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       and Title IV-A programs and defraud of the Texas Defendant targeting Texas properties

       occurred in 2012, 2013, 2014, 2015, 2016, 2017, 2018, 2019, 2021, 2022, 2023, and

       2024.

                                      II.    FACTUAL ALLEGATIONS




                The child in question was emancipated in April 2018 and is now an adult 24 years

       old. Therefore accrued “interest on overdue support” stopped in April 2018.

                Due to the hold placed on Defendant’s passport renewal, Defendant discovered

       on and around November 2021 there is alleged support due. Defendant retained a

       lawyer in Texas to contact the Rhode Island Office of Child Support Services to obtain

       information on the amount due. The Rhode Island Office of Child Support Services

       refused to provide information to Defendant’s Texas attorney, in violation of 42 USC §§

       654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27), and concealed the fact that the

       agency illegally removed the illegal 12% compound interest amount from the automated

       data processing system from 2018 to December 2021. To this day, the Rhode Island

       Office of Child Support Services covers up and refuses to furnish information to the

       Defendant the amount of interest that was removed from the system. Continuing

       refusal to furnish requested information motivated by cover up is in violation of, inter

       alia, 42 USC §§ 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27). The Office of

       Child Support Services and Barbara Grady and Gero Meyersiek schemed to deprive

       Defendant of counsel that would facilitate defrauding the Defendant and to conceal

       from Texas counsel the accounting fraud relating to the illegal 12% compound interest

       that is unenforceable in Texas as well as legally unenforceable in Rhode Island (however

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       routinely enforced through fraud under color of state law) under Title IV-D, and refused

       to deal with Defendant’s Texas attorney, fraudulently claiming it is the State’s policy to

       deal with the noncustodial parent directly. This is obviously a blatant lie because the

       TRAC record shows Kevin Tighe initiating phone calls directly to Barbara Grady, Gero

       Meyersiek’s private attorney (and not contacting Gero Meyersiek directly) to discuss

       enforcement actions in detail involving the Rhode Island Office of Child Support

       Service’s fraudulent accounting that entailed the agency’s removal in 2018 (when it

       planned to send to Texas) of the interest from the automated system in December 2021.

       This is in violation of, inter alia, 42 USC §§ 654b, 654(10), (14), (15), (16), (20), (21),

       (23), (24), (27). The Defendant avers and declares, under oath, the following facts:

                1. On December 6, 2021, the State/Plaintiff showed the Defendant her OCSS

                   online account that showed $0.00 under interest. Further the online account

                   that is populated by the automated data processing system shows $93,214.56

                   Total Due, and $0.00 under Interest on December 6, 2021, published online

                   in the State’s OCSS online account for Defendant, as of November 30, 2021.

                   See attached Screen Shot attached hereto this motion. (The Office of Child

                   Support Services told the Defendant that the $0.00 under interest shows that

                   Gero Meyersiek waived interest. The Office of Child Support Services

                   deliberately misrepresented by omission that the interest amount was taken

                   off the system illegally in 2018 and that the interest amount was calculated

                   pursuant to an illegal 12% compound interest that is unenforceable under

                   Title IV-D. Therefore in reality there was no consideration given to the

                   Defendant, as falsely represented, calculated to induce the Defendant into



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                   paying a large lump sum amount. The Office of Child Support Services

                   brokered a settlement deal between the Defendant and Gero Meyersiek where

                   Meyersiek waived interest in consideration of the Defendant paying a lump

                   sum payoff amount of $104,185.98 from Texas, which the State, under its

                   authority, agreed to the deal with the Defendant on December 7, 2021, having

                   calculated the $104,185.98 figure by and through its accountant(s) manually

                   offline and not by the mandated automated data processing system, and

                   actively brokered the terms of the deal itself, namely, Deputy Legal Counsel

                   Kevin Tigue who reports to Mr. Paul Gould, the attorney of record who filed

                   the State’s/Plaintiff’s Motion to Set Arrears. The Defendant requests this

                   Court to take notice of the fact that the State also failed to provide this Court

                   as well as to the Defendant an accounting now and upon Defendant’s request

                   at the time in 2021 of how this figure $104,185.98 was calculated nor how the

                   alleged $81k is calculated. This is in violation of, inter alia, 42 USC §§ 654b,

                   654(10), (14), (15), (16), (20), (21), (23), (24), (27).

                2. The State’s/Plaintiff’s’ authority to forgive arrears debts is an official policy

                   and authority reported to the Office of the U.S. Commissioner Tangular Gray

                   of the Office of Child Support Enforcement of the U.S. Department of Health

                   and Human Services.

                3. The Defendant in Texas good faith accepted and paid the $104,185.98 on

                   December 7, 2021.

                4. From December 6, 2021 to the present, the State/Plaintiff has represented to

                   the Defendant at least seven (7) sets of books of very large arrears and interest

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                calculations, which the State/Plaintiff has either failed or refused to provide

                the Defendant with requested documentation of debt validation and

                verification records supporting the State’s calculation (in violation of, inter

                alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24),

                (27)):

                   a. $93,214.56 Total Due, and $0.00 under Interest on December 6, 2021,

                         published online in the State’s OCSS online account for Defendant, as

                         of November 30, 2021. (Screenshot of this taken on December 6, 2021

                         is attached to this Motion).

                   b. $104,185.98 Total Payoff Amount on December 7, 2021.

                   c. $75,638.00 on a Notice of Intent to Lien dated March 3, 2022. RI

                         OCSS rescinded this figure based on alleged unspecified errors on

                         October 14, 2022.

                   d. $73,000.00 per RI OCSS Deputy Chief Counsel John Langlois’s (staff

                         counsel who also reports to Mr. Paul Gould, who was also the attorney

                         of record for the State at the Appeals Hearing) representation at the

                         agency RI EOHHS (Rhode Island Executive Office of Human and

                         Health Services) administrative appeal Pre-hearing held on October 5,

                         2022.

                   e. $55,000.00 on RI OCSS correspondence with Meyersiek on October

                         13, 2022.




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                      f. $75,623.71 Total Due for “Interest,” online on the afordsaid OCSS

                          online account, as of November 30, 2022. A screenshot taken on

                          December 3, 2022 thereof is attached to this Motion.

                      g. $81,652.46 on the Motion as of December 22, 2o22.

                5. Maintaining at least seven books of account in Defendant’s case file, while

                   obstructing the Defendant’s 42 USC 654b and all Title IV-D protected due

                   process right to documents of accounting validation and verification depriving

                   the Defendant’s right to meaningfully refute the State’s claim is unlawful,

                   covers up the illegal 12% compound interest that is also ballooned through

                   several fraudulent manual accounting calculations NOT USING the Title IV-D

                   mandated automated data processing system. There are pending breach of

                   contract, fraud and Civil RICO et al actions in Federal Courts regarding the

                   conduct of the Plaintiffs.

                6. The Defendant respectfully requests the Court to take notice of the fact that

                   the alleged interest published online by the State/Plaintiff as of November 30,

                   2022 that states the very specific number of $75,623.71 ballooned to

                   $81,652.46 as of December 22, 2022, by a whopping $6,028.75 in a matter of

                   22 days as stated in the State’s/Plaintiff’s Motion, is usurious, and clearly

                   shows the falsity of the State’s/Plaintiff’s Motion, paragraph numbered 8 that

                   says, “That, because interest only accrues on principal balances and not on

                   interest balances, the interest balance owed on arrears has not changed since

                   the principal balance was paid in full on December 9, 2021.” This is in



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                   violation of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20),

                   (21), (23), (24), (27).

                7. The Defendant avers it is nigh on impossible for the Defendant to be able to

                   respond to the State’s/Plaintiff’s Motion and their unverified and unvalidated

                   seven (7) books of accounts represented by the State/Plaintiff since December

                   6, 2021 to as of December 22, 2022, where the State’s/Plaintiff’s calculations

                   of very large amounts have been clearly either refuted and rescinded or have

                   shown to be inaccurate or false. This is in violation of, inter alia, 42 USC §§

                   654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27).

                8. The Defendant respectfully requests the Court to take notice of the fact that

                   after the Defendant accepted the deal in Texas and paid the payoff amount of

                   $104,185.98 from Texas on December 7, 2021, the State/Plaintiff sent to the

                   Defendant in Texas by Mail a Notice of Intent to Lien dated March 3, 2022 for

                   $75,638.00 without any information justifying the fraudulent interest lien on

                   Defendant’s Texas properties – the $75,638.00 amount on the fraudulent lien

                   on Defendant’s Texas properties was deliberately calculated manually then

                   hard input into the automated data processing system in violation of Title IV-

                   D. This is in violation of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15),

                   (16), (20), (21), (23), (24), (27). The Defendant appealed this fraudulent lien

                   to the Appeals Office of Rhode Island Executive Office of Health and Human

                   Services (“RI EOHHS”), a political subdivision of the State of Rhode Island

                   applicable under 42 USC 654(1), on April 1, 2022. Throughout the

                   procedurally defective appeals process where the Defendant was denied by the


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                   State/Plaintiff to access her case file, the State/Plaintiff refused or ignored the

                   Defendant’s over ten(10) record requests for the legal and accounting basis of

                   the $75,638.00 lien. Each record information denial is in violation of, inter

                   alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24),

                   (27). The Defendant also submitted to the Appeals Office records of the

                   written email advisement by the State/Plaintiff that “accounting says” to pay

                   $104,185.98 and records of the Defendant’s bank wire transfer payment. The

                   Appeals Office continued the hearing for the maximum 3 times due to the

                   State/Plaintiff’s refusal to comply with discovery that would render the

                   proceeding procedurally defective. Paul Gould and John Langlois were listed

                   as representing the State. Their collective violations incur penalties and fines

                   under, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21),

                   (23), (24), (27), 655, 658a, Title IV-A. To resolve the discovery issues, the

                   Executive Hearing Officer (“EHO”), Debra DeStefano, scheduled a telephonic

                   Prehearing Conference on October 5, 2022, and only when told by the EHO

                   the burden of proof lies on the State/Plaintiff to show arrears are due (as

                   applies here), did John Langlois (who attended the Prehearing Conference)

                   state the following, which the Defendant in Texas recorded as a party of the

                   call:

                “EHO: The agency will have to submit proof of the allegation for arrears to

       support their position.




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                Langlois: The reason why I asked earlier whether Mary spoke to Karla after she

       made the payment was because there was a change of circumstances right after that. I

       don’t know if anyone in my agency had ever explained that to Mary.

                Seguin: Wait a minute, wait a minute,

                EHO: Wait Mary, I know what you asked for, let me get to what John just said, so

       John, you said there was a change in circumstances subsequent to her making a

       payment but before the notice of lien went out?

                Langlois: Yeah.

                EHO: OK, so…

                Langlois: Can I just back up and explain what happened, 99% of this is a

       misunderstanding…

                EHO: OK?

                Seguin: Including what was on the screenshot, was that a misunderstanding??

                Langlois: Can I speak without being shouted over?

                Seguin: I am flabbergasted, really.

                Langlois: What happened in this case is when Mary’s representative, her

       attorney, called us in late November 2021, and said she wants her passport released and

       what does she have to do to release her passport, they put her in touch with Karla who

       gave her the $104,185.98 number. Where that number came from, was one of our

       attorneys contacted the custodial parent, Gero Meyersiek, so we contacted his attorney,

       it wasn’t me, it was someone in my office, and said if she’s willing to make a $104K to

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       pay off the principle, would you agree to waive the $73K in interest? He said yes. So

       Karla notified Mary that if she paid the $104K, it would be paid in full because he was

       willing to waive the interest and accept just the principal. What happened was the day

       after Karla spoke to Mary to wire in the $104K the attorney for Mr. Meyersiek contacted

       us again and said he changed his mind, please put the interest back on the system, so we

       did. So the number that was given to her on the day it was given to her was correct, the

       $104K, because he was waiving the interest, but then changed his mind, so we put the

       interest back on the system, because he was waiving the interest, and that interest was

       put back on the system and that’s why the system is now saying she owes $73K. That’s

       why in March when the system saw that she had some sort of personal injury insurance

       in the system, our system was showing she owed $73K so we issued the lien. But that

       was what happened, he changed his mind the next day and that’s what messed up the

       numbers. So that’s how all this happened, it was a pure misunderstanding, I don’t know

       whether anyone has ever explained that to Mary how that happened.

                EHO: OK, Mary, did anyone ever explain that to you before?

                Seguin: No. No one ever explained any of that. This is why I am asking for my

       case file, I think this is more basis to ask for my entire case file from 2020. It’s news to

       me for example and its new information to me that your office’s lawyer would not talk to

       me directly but would be picking up the phone and calling the attorney for the custodial

       parent. And then not saying you were doing this deal. I never offered $104K. You had

       determined this number, and that’s why I am looking for documentation as to whether

       this is something you guys do in every case.




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                EHO: OK, John, are you intending to submit then, the documentation showing

       the full balance, which would include the principle and the interest before she paid the

       $104k, and then what happened after, you’re prepared to submit documentation to

       show everything that you said just happened.

                Langlois: Yes. I can show the account balance before he agreed to waive the

       interest. And I can show you the account balance after she made the payment. And then

       when we put the interest back on the system.

                EHO: And you’re going to testify as to why it all occurred, I mean basically what

       you just told us.

                Langlois: Yes.

                Seguin: But the screenshot on December 6th showed $93K.”

                A true copy of the recording evidence has been submitted by the Defendant to

       this court, a Rhode Island political subdivision under Title IV-D proceeding in June

       2023 and in February 2024.

                However, instead of going forward with the testimony and providing the alleged

       debt validation and verification accounting records promised by John Langlois to the

       EHO at the upcoming RI EOHHS scheduled Appeal Hearing at the time on December 1,

       2022, the State/Plaintiff opted to rescind the Notice of Lien that states there are

       unspecified errors on October 14, 2022, and emailed the RI EOHHS Appeals Office that

       the State/Plaintiff will litigate the issue in Family Court. This showed the intent of the

       State/Plaintiff to deprive the agency Appeals Office of jurisdiction by withdrawing the

       enforcement instrument that vests the Appeals Office’s jurisdiction by regulation, in the

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       clear hope of a more favorable outcome to the State/Plaintiff, in the hopes of symbiotic

       and pliant judge shopping, in the hopes of getting a judge like McCann who ordered the

       illegal and unenforceable 12% compound in a Title IV-D case to rubber stamp the

       fraudulent 12% compound interest arrears due, and thereby needlessly increasing

       litigation. Mr. Paul Gould is the co-counsel of record for the State/Plaintiff in the RI

       EOHHS agency appeal. This is in violation of, inter alia, 42 USC §§ 654a, 654b, 654(10),

       (14), (15), (16), (20), (21), (23), (24), (27), 655, 658a.

                9. The State’s/Plaintiffs’ actions and the State’s/Plaintiff’s Motion needlessly

                   extending the agency appeal to Family Court litigation and obstructing

                   Defendant’s discovery rights for debt validation and verification as well as

                   documentation of the Plaintiffs’ waiver of interest are violative of Family Ct.

                   R. Dom. Rel. P. 11 and are in violation of, inter alia, 42 USC §§ 654a, 654b,

                   654(10), (14), (15), (16), (20), (21), (23), (24), (27), 666, 655, 658a. It is in

                   criminal violation of 18 USC § 666 and a scheme to commit fraud on the court

                   and interstate fraud through unenforceable Title IV-D orders that appear to

                   be routinely issued by pliant Title IV-D judges like Judge John McCann III

                   and Magistrate Susan Nahabedian.

                10. Due to the State’s/Plaintiff’s conduct of obstructing the Defendant’s right to

                   access debt validation and verification records of publicly noticed liens of

                   alleged arrears issued by the State/Plaintiff throughout the agency appeal, the

                   Defendant filed an Access to Public Records (“APRA”) request to the then

                   Secretary Ana Novais of the RI EOHHS that manages the State/Plaintiff




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                   agency OCSS. These are all political subdivisions of the State of Rhode Island

                   under 42 USC 654(1).

                11. The RI EOHHS Office in its management capacity required the State/Plaintiff

                   OCSS to respond to the APRA request, but even then the State/Plaintiff

                   denied the Defendant’s APRA request for accounting records, again

                   refused to release the requested debt validation accounting records, but

                   released the Case History Tracking records in the Defendant’s case file, which

                   showed entries made by Kevin Tigue and RI OCSS staff between December 6,

                   2021 to April 2022 of activity that corroborated John Langlois’s

                   representations of taking interest off the system, interest waiver at the agency

                   Prehearing Conference on October 5, 2022 that is outlined above in

                   paragraph 10, then putting interest back on the system after Defendant

                   accepted the offer in Texas, and performed on the contract in Texas paying off

                   all due support from Texas, through Defendant’s Texas bank account, namely

                   Texas properties. Plaintiffs’ record denials are violations of inter alia, 42 USC

                   §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27), 666, 655,

                   658a.

                12. Both the RI OCSS counsel who denied the Defendant’s APRA request and the

                   Executive Legal Counsel of the Secretary of RI EOHHS, Lisa Martinelli (to

                   whom Ms. Deb Barclay reports and to whom Mr. Paul Gould reports, per

                   organization charts supplied by the Secretary of State of the State of Rhode

                   Island) informed the Defendant via official written letter correspondence to

                   appeal RI OCSS’s APRA request denial to the Attorney General pursuant to


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                R.I.G.L. sec. 38-2-8. Their collective denials are in violation of inter alia, 42

                USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27), 666,

                655, 658a. Following their collective official written advisement, the

                Defendant appealed the RI OCSS APRA denial under R.I.G.L. sec. 38-2-8 to

                the Office of the Attorney General and the Superior Court as provided by

                R.I.G.L. sec. 38-2-8. The Office of the Attorney General and the Superior

                Court of are political subdivisions of the State of Rhode Island under 42 USC

                654(1). Instead of releasing the Defendant’s Title IV-D alleged debt validation

                and verification records information, the State/Plaintiff continues to resist

                releasing alleged arrears/debt verification accounting records in Superior

                Court, including failing to comply with the Defendant’s Court-issued

                subpoena for said records and resisting subpoena compliance with extended

                litigation in Superior Court in violation of inter alia, 42 USC §§ 654a, 654b,

                654(10), (14), (15), (16), (20), (21), (23), (24), (27), 666, 655, 658a.

                   a. The Defendant served the State/Plaintiff by email Defendant’s Request

                       for Production of Documents for the same accounting records and

                       interest waiver records pursuant to Family Ct. R. Dom. Rel. P. 34, to

                       which the State/Plaintiff has so far produced one set of book of

                       accounts of the seven different books of accounts. However, the

                       numbers do not corroborate with any of the seven official legal

                       representations of alleged arrears due, e.g., $93,214.56 Total Due, and

                       $0.00 under Interest on December 6, 2021, published online in the

                       State’s OCSS online account for Defendant, as of November 30, 2021;



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                         $104,185.98 Total Payoff Amount on December 7, 2021; $75,638.00 on

                         a Notice of Intent to Lien dated March 3, 2022 that RI OCSS rescinded

                         based on alleged unspecified errors on October 14, 2022; $73,000.00

                         per RI OCSS Deputy Chief Counsel John Langlois’s (staff counsel who

                         also reports to Mr. Paul Gould, who was also the attorney of record for

                         the State at the Appeals Hearing) representation at the agency RI

                         EOHHS (Rhode Island Executive Office of Human and Health

                         Services) administrative appeal Pre-hearing held on October 5, 2022;

                         $55,000.00 on RI OCSS correspondence with Meyersiek on October

                         13, 2022; $75,623.71 Total Due for “Interest,” online on the aforesaid

                         OCSS online account, as of November 30, 2022. A screenshot taken on

                         December 3, 2022 thereof is attached to this Motion; $81,652.46 on

                         the Motion as of December 22, 2o22; this is in violation of, inter alia,

                         42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24),

                         (27), 666, 655, 658a that is consistent with the State/Plaintiff’s pattern

                         of obstructing the Defendant of due process right access to her case file

                         records of RI OCSS’s debt verification itemized accounting calculations

                         of very large sums of alleged arrearages of at least 7 books of accounts

                         from December 6, 2021 to the present in Title IV-D proceedings.

                III.   JUDICIARY VIOLATION OF GOVERNMENT EDICTS
                       DOCTRINE, CALCULATED FAILURE TO INTEGRATE TITLE IV-
                       D AGENCY ELECTRONIC FILING SYSTEM WITH ODYSSEY
                       MAKING THEIR FILINGS INVISIBLE TO ALL E-COURT USERS
                       OTHER THAN THE JUDGE AND THEMSELVES AND
                       VIOLATION OF ACCESS TO COURT INFORMATION OF PUBLIC
                       TITLE IV-D PROCEEDINGS IN RHODE ISLAND’S STATEWIDE
                       ELECTRONIC COURTS

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            A. DENIAL OF PUBLIC AND PRO SE-LITIGANT ACCESS TO COURT
       INFORMATION INCLUDING JUDGE-CREATED LAWS BY 42 USC 654(1)
       POLITICAL SUBDIVISION RHODE ISLAND JUDICIARY
                The Rhode Island Judiciary is a political subdivision of the State of Rhode Island

       under 42 USC 654(1). While publicizing during the implementation of the $6 million

       installation of Odyssey (the statewide electronic filing system) in 2014 that the

       electronic courts will enable ALL court users to pull up court record information with

       ease from their phones, the Rhode Island Judiciary quietly implemented Rule 5 of the

       Rhode Island Rules and Practice denying the Public, pro-se litigants and all parties to a

       case in Rhode Island remote access to court record information including judge-created

       orders and laws, including their own. Through this deceit, the Rhode Island Judiciary

       lied to the Public, while denying access and thereby covering up the routine ordering of

       unenforceable body of judge-created laws ordering 12% compound interest in public

       cases and public hearings under 42 USC 654 in public Title IV-D cases, such as this one,

       by symbiotic pliant judges like Judge McCann and Magistrate Nahabedian. The denial

       of access to pro-se litigants of their own cases’ court records containing support orders

       violates, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24),

       (27), 666, 655, 658a. The denial of public access to public court records documenting

       the routine systemic violations of 42 USC 654(21)(A) in electronic courts violates the

       First Amendment and the public’s right to know the law, even if these fraud on the court

       unenforceable judge-created laws are unenforceable in both Rhode Island and

       elsewhere Title IV Part D reaches. The denial of public access to judge-created laws that

       is also motivated by cover-up fundamentally violates the established Government Edicts

       Doctrine that the United States Supreme Court specifically held applies to electronic


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       formats of government doctrines, such as judge-created laws in digital courts. See

       Georgia v. Public Resource.Org, Inc., No. 18-1150, 590 U.S. ___ (2020). The

       Defendant has been denied access by the political subdivision Rhode Island Judiciary to

       her court records and information regarding the orders in question that must be

       furnished pursuant to 42 USC 654b thus in violation of 42 USC 654. The Defendant has

       been denied access by the political subdivision Rhode Island Judiciary to unenforceable

       judge-created laws that routinely establish unenforceable 12% compound interest by

       certain symbiotic pliant judges, like Judge McCann and Magistrate Nahabedian, who

       work hand-in-hand with the Rhode Island Office of Child Support Services in Title IV-D

       cases, in violation of Defendant’s Due Process and Equal Protection rights to know the

       law to be meaningfully heard and right to meaningful access to justice – they are in

       violation of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23),

       (24), (27), 666, 655, 658a.

                This Court held at the hearing in this matter scheduled on March 6, 2023 that the

       Rhode Island Office of Child Support Services is ordered to show that the alleged arrears

       is accurate. See attached March 6, 2023 hearing transcript. Explicitly stated

       throughout 42 USC 654, “accuracy” requires no accounting alterations generated offline

       then hard input into the automated system, no fraud, no inducements, no interstate

       extortion under color of state law, and for certain no 12% compound interest on overdue

       support.

            B. CALCULATED FAILURE BY THE JUDICIARY TO INTEGRATE THE
       TITLE IV-D AGENCIES’ ELECTRONIC FILING SYSTEM INTO ODYSSEY
       RESULTING IN AGENCY FILINGS BEING INVISIBLE TO ALL COURT
       USERS EXCEPT THE JUDGE AND THE AGENCIES THEMSELVES – COVER
       UP


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                Because under the State’s Plan the Title IV-D agencies routinely file in the Rhode

       Island court system for the illegal enforcement of illegal 12% compound interest

       disallowed under 42 USC 654(21)(A), the political subdivision Rhode Island Judiciary

       deliberately failed to integrate the Title IV-D Agencies’ electronic filing system with the

       State’s electronic filing system Odyssey in order to make Title IV-D Agency electronic

       filings invisible to all court users except the judge and the agencies themselves,

       calculated to cover up the 12% compound interest from audit by the federal authorities

       and from the Public. This came to light at the WebEx hearing in this Title IV-D matter

       before Judge Merolla on June 8, 2023 scheduled at 2PM, where Judge Merolla, showing

       he was unaware of the failure of systems integration, questioned Paul Gould of Rhode

       Island Office of Child Support Services, why Defendant is unable to see the agency’s

       electronic filings that the judge can see in the system. Without hesitation, Paul Gould

       explained that this is due to the electronic court implementation process that was

       supposed to integrate the agency’s legacy system to Odyssey, demonstrating

       conclusively that Gould, the Lead Counsel of the Rhode Island Office of Child Support

       Services responsible and overseeing agency court filings in Title IV-D cases,

       undisputedly was in the know and part of the conspiracy involving the deliberate failure

       of filing system integration and its continuing perpetration in Title IV proceedings that

       made Title IV agencies’ filings invisible as part of the cover up.

            C. FALSIFYING ACCOUNTING TO SHOW $0.00 PAYMENT IN
       DECEMBER 2021 in DEFENDANT’S TITLE IV-D ACCOUNT POWERED BY
       THE AUTOMATED DATA PROCESSING SYSTEM IN ORDER TO DEFRAUD
       DEFENDANT IN THE FUTURE



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                Defendant attaches hereto EXHIBIT G, that shows the Defendant’s online Title

       IV-D OCSS account which is powered by the Automated Data Processing System, as of

       November 2022 at the time of the RI EOHHS Appeal, which showed $0.00 Payment

       for December 2021. Therefore, the Rhode Island Office of Child Support Services

       through accounting fraud never recorded, as late as November 2022, in the Automated

       Data Processing System Defendant’s large lump sum payoff of $104,185.98 bank wired

       from Texas on December 7, 2021, showing prima facie accounting fraud. This shows a

       scheme to defraud the Texas Defendant in the future. This shows that the Rhode Island

       Office of Child Support Services received Defendant’s wired funds and treated it as a

       cash receipt, without ever recording in the automated data processing system such a

       large lump sum payment. Kevin Tighe, Barbara Grady, Gero Meyersiek, John Langlois,

       Paul Gould, and Priscilla Glucksman, among others, distributed the $104,185.98 among

       themselves in their organized conspiracy to defraud. Defendant’s lump sum payment

       was distributed allegedly via a check, not through the usual cash card on December 9,

       2021, (see attached hereto TRAC record for December 2021) record information of

       which check that was allegedly issued by the Office of Child Support Services the agency

       refuses to furnish the Defendant, and which are under subpoena now. Further, the

       Office of Child Support Service’s maintaining a separate offline accounting system in

       this case constitutes fraud and accounting fraud, targeting the Defendant in Texas,

       targeting Texas properties and targeting the United States of America. This is why they

       never utilized the 42 USC 654(7), (14), (20) and 42 USC 666(14) cooperative system

       with Texas, so as to enable them to divide the defrauded cash spoils offline among the

       members participating in the scheme. This accounting fraud and scheme to defraud



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       violate mail fraud, wire fraud, honest services fraud, RICO, record tampering, theft of

       the United States, and felonious fraud, among others.

                In reality, under 42 USC 651-669, employees who engage in, aid and abet and

       facilitate the above must be terminated and must not be permitted to continue criminal

       activities of record tampering, accounting fraud, fraud, theft under color of state law and

       cover up.



                IV.   CRIMINAL VIOLATIONS REPORTED TO SOME JUDGE OF THE
                      UNITED STATES AND OTHER LISTED AUTHORITIES UNDER
                      18 U.S.C. sec. 4

                The Defendant, in good faith and reliant on the plain language of 18 USC § 4,

       misprision of felony, as well as the Brief filed in the United States Supreme Court by the

       United States of America in the Supreme Court case, Turner v. Rogers, 564 U.S. 431

       (2011) that showed South Carolina (found by the 4th Circuit Court of Appeals) liable for

       $75 million in penalties for that state’s 42 USC 654 violations that did not even involve,

       inter alia, fraud and tampering with the record or unlawful 12% compound interest put

       into then taken off then put back on the automated data processing system as here in

       Rhode Island, made known the above activities to “some judges” of “the United States”

       and other relevant federal authorities – counting among the United States judges

       Defendant made known publicly in the Amended Complaint filed in the United States

       District Court for the District of Rhode Island, Judge William E. Smith. The issue of

       what Judge Smith has done with the information “made known to him” is pending

       before the United States Court of Appeals for the First Circuit before a requested panel

       of judges under the federal law of civil procedure. Therefore, under 18 USC 4, the above


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       reported activities have been “made known” to several high ranking judges of the United

       States.

                            A. VIOLATIONS OF FEDERAL CRIMINAL CODES

                 Pending before the official Federal Court of Appeals proceeding, Defendant made

       known to the panel of judges of the United States allegations contained in the Amended

       Complaint filed in Federal Court of the commission of acts by the Rhode Island political

       subdivisions and employees thereof, Barbara Grady and Gero Meyersiek named herein

       in this motion, the afore-described acts violating 18 U.S.C. §2, 18 U.S.C. §3, 18 U.S.C.

       §13, 18 U.S.C. §21, 18 U.S.C. §35, 18 U.S.C. §285, 18 U.S.C. §286, 18 U.S.C. §287, 18

       U.S.C. § 2071(a), 18 U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C. §

       241, 18 U.S.C. § 242, 18 U.S.C. § 1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18

       U.S.C. §1343, 18 U.S.C. § 201, 18 U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285, 18 U.S.C.

       §1506, 18 U.S.C. § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C. §1002, 18 U.S.C.

       §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C. §1346, 18 U.S.C. §1349, 18 U.S.C.

       §1510, 18 U.S.C. §1513, RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C. §1963, 18

       U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968 – such violative acts by the Plaintiffs in

       this matter, along with the political subdivisions and employees thereof named in the

       federal matter, and/or Judge Smith on this list are not exhaustive. It is undisputable,

       among others, that Title IV-D penalties were incurred by, Criminal penalties were

       incurred by, and Title IV-D and Title IV-A disgorgement is due from the applicable State

       of Rhode Island’s political subdivisions.

                                              B. NO IMMUNITY



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                On February 6, 2024 in case No. 23-3228 in UNITED STATES OF AMERICA v.

       DONALD J. TRUMP, DC Circuit, the DC Circuit United States Court of Appeals reminds

       the Public and all applicable tribunals that Judges are similarly liable to the criminal

       laws for their official acts. A notable example is Ex parte Commonwealth of Virginia, in

       which the Supreme Court affirmed the criminal indictment of a judge based on an

       official act. 100 U.S. 339 (1879). A county judge was indicted in federal court for

       violating a federal statute that prohibited discriminating on the basis of race in jury

       selection. Id. at 340, 344. The Supreme Court began by observing the principle that

       officers are bound to follow the law: “We do not perceive how holding an office under a

       State, and claiming to act for the State, can relieve the holder from obligation to obey the

       Constitution of the United States, or take away the power of Congress to punish his

       disobedience.” Id. at 348. The Court then addressed the judge’s argument that the Court

       lacked the authority to punish a state judge for “his official acts.” Id. Its response was

       twofold. First, the Court described juror selection as “merely a ministerial act, as much

       so as the act of a sheriff holding an execution, in determining upon what piece of

       property he will make a levy, or the act of a roadmaster in selecting laborers to work

       upon the roads.” Id. The Court then explained that even if juror selection is considered a

       “judicial act,” the judge had a legal duty to obey the criminal laws:

                “But if the selection of jurors could be considered
                in any case a judicial act, can the act charged
                against the petitioner be considered such when
                he acted outside of his authority and in direct
                violation of the spirit of the State statute? That
                statute gave him no authority, when selecting


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                jurors, from whom a panel might be drawn for
                a circuit court, to exclude all colored men
                merely because they were colored. Such an
                exclusion was not left within the limits of his
                discretion. It is idle, therefore, to say that the
                act of Congress is unconstitutional because it
                inflicts penalties upon State judges for their
                judicial action. It does no such thing.


                Id. at 348–49 (emphasis added). The Court’s reference to “the State statute” is to

       the Virginia law charging the county judge with the duty to select jurors in the circuit

       and county courts. Ex parte Virginia, 100 U.S. at 340.

                More recent case law on the judicial immunity doctrine affirms that judges are

       not immune from criminal liability for their official acts. O’Shea v. Littleton confirmed

       the holding of Ex parte Virginia in dismissing a civil rights action for equitable relief

       brought against a county magistrate and associate judge of a county circuit. 414 U.S.

       488, 490–91, 503 (1974). The Supreme Court concluded that the requested injunction

       was not the only available remedy because both judges remained answerable to the

       federal criminal laws:

                [W]e have never held that the performance of
                the duties of judicial, legislative, or executive
                officers, requires or contemplates the
                immunization of otherwise criminal deprivation
                of constitutional rights. On the contrary, the
                judicially fashioned doctrine of official
                immunity does not reach ‘so far as to immunize


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                criminal conduct proscribed by an Act of
                Congress . . . .’


                Id. at 503 (citation to Ex parte Virginia, 100 U.S. 339, omitted; quoting Gravel,

       408 U.S. at 627). Similarly, in Dennis v. Sparks, the Court affirmed judicial immunity

       from civil money damages in the context of bribery allegations but explained that judges

       “are subject to criminal prosecutions as are other citizens.” 449 U.S. at 31. Crucially, the

       judge in Dennis retained civil immunity because “the challenged conduct” — allegedly

       issuing an injunction corruptly after accepting bribes as part of a conspiracy — was “an

       official judicial act within his statutory jurisdiction, broadly construed.” Id. at 29. The

       scope of civil judicial immunity thus aligns with civil Presidential immunity under

       Fitzgerald, but a judge has no criminal immunity for the same “official act.” See also

       Imbler v. Pachtman, 424 U.S. 409, 429 (1976) (“Even judges, cloaked with absolute civil

       immunity for centuries, could be punished criminally for willful deprivations of

       constitutional rights . . . .”); United States v. Gillock, 445 U.S. 360, 372 (1980) (“[T]he

       cases in this Court which have recognized an immunity from civil suit for state officials

       have presumed the existence of federal criminal liability as a restraining factor on the

       conduct of state officials.”).

                When considering the criminal prosecutions of judges, other circuits have

       repeatedly rejected judicial criminal immunity for official acts, largely in the context of

       bribery prosecutions. See United States v. Claiborne, 727 F.2d 842, 845 (9th Cir.) (per

       curiam), cert. denied, 469 U.S. 829 (1984); United States v. Hastings, 681 F.2d 706,

       709–11 (11th Cir. 1982), cert. denied, 459 U.S. 1203 (1983); United States v. Isaacs, 493




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       F.2d 1124, 1143–44 (7th Cir.) (per curiam), cert. denied, 417 U.S. 976 (1974), overruled

       on other grounds by United States v. Gimbel, 830 F.2d 621 (7th Cir. 1987).

                The political subdivisions of Rhode Island under 42 USC 654(1) similarly are not

       immune, and employees of the political subdivisions of Rhode Island under 42 USC

       654(1) similarly are not immune. Barbara Grady and Gero Meyersiek are

       unquestionably liable.

                V.      CONCLUSION

                        Under 42 USC 654b, the Defendant is entitled to be furnished all
                        subpoenaed records – conversely, the Rhode Island Office of
                        Child Support Services, the SDU under the State’s Plan under 42
                        USC 654, must furnish all subpoenaed information – refusal of
                        which incurs another penalty.

                WHEREFORE, the Defendant respectfully requests the Chief Judge or

       designee-Judge Merolla of this Honorable Court to:


                1. Grant the Defendant’s Motion to Compel.

                2. Grant the Defendant’s request for her Title IV record information that

                     includes record information relating to the “TRAC notes of 12/6/2021 and

                     12/7/2021” as well as relating to the substance of John Langlois’s audio

                     recorded October 5, 2022 statements regarding “what happened in this case”

                     that discuss Gero Meyersiek’s lawyer Barbara Grady phoning the Office of the

                     Child Support Services that Gero Meyersiek said yes, he “agreed to waive the

                     $73k or $75k that are in arrears” as of December 6, 2021 and October 5, 2022

                     which are part of Defendant’s child support case file.




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                3. Declare that Defendant’s child support record file maintained by the Rhode

                   Island Office of Child Support Services that by law codified in Title IV-D

                   Program of the Social Security Act must be produced to the Defendant

                   Noncustodial Parent upon request.

                4. Order a hearing on the herein issues raised in this matter.

                5. Listen to and admit into evidence the audio recording of John Langlois of

                   Office of Child Support Services here:

                   https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-

                   hBMaEg9/view?usp=sharing

                6. For further relief as the Court deems reasonable and fair under the

                   circumstances.

       Respectfully submitted,


       March 21, 2024


                                                  FOR DEFENDANT

                                                  MARY SEGUIN, Pro Se.


                                                  By: ________________
                                                  Mary Seguin
                                                  P.O. Box 22022
                                                  Houston, TX 77019
                                                  maryseguin22022@gmail.com



                                            NOTICE OF HEARING


              Please take notice that the foregoing Motion will be called for hearing before the
       Rhode Island Family Court, One Dorrance Plaza, Providence, RI 02903 at 10:00 AM on
       March 28, 2024 (case is already scheduled for that date/time) by WebEx hearing
       https://ricourts.webex.com/meet/garrahy5F

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                                             CERTIFICATION


              I hereby certify that a copy of the within Motion was filed on March 21, 2024
       electronically using the Court’s Odyssey File and Serve, with service to
       paul.gould@dhs.ri.gov and dhs.courtfile@dhs.ri.gov


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                State of Rhode Island and Providence Plantations


          PROVIDENCE, Sc.                                 FAMILY COURT




          *******************************
          GERO MEYERSIEK




          Vs.                                 F.C. FILE NO. K2001-0521M




          MARY SEGUIN
          ********************************



                                        Heard Before:

                     The Honorable Magistrate Armando O. Monaco

                                   On March 6, 2023


          APPEARANCES:


          FOR MS. SEGUIN. . . . . Pro se

          FOR THE STATE. . . . .. Paul Gould, Esq.




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                                        I HEREBY CERTIFY THAT THE

                                        FOLLOWING IS A TRUE AND ACCURATE

                                        TRANSCRIPT IN THE CASE OF

                                        GERO MEYERSIEK VS. MARY SEGUIN

                                        HEARD BEFORE

                                        MAGISTRATE ARMANDO O. MONACO

                                        ON MARCH 6,2023.




                                        STEVEN FAZIO
                                        ELECTRONIC COURT REPORTER




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          1                             GERO MEYERSIEK V. MARY SEGUIN

          2                                  F.C. NO. K2001-0521M

          3                                  MARCH 6, 2023

          4

          5                                  MARY SEGUIN: Having been

          6         duly sworn testifies as follows:

          7                                  THE COURT: After the

          8         February 12th hearing two orders were submitted

          9         one by each side, objections were filed through

         10         your order being entered, ma'am.

         11                                  MS. SEGUIN: Thank you Your

         12         Honor. I am sorry. Could you repeat that again?

         13         Sorry.

         14                                  THE COURT: Subsequent to the

         15         hearing of February 10,2023, two separate orders

         16         were submitted for my signature. One you

         17         submitted and one the State submitted. The State

         18         filed an objection to the submission of your

         19         order on the basis that they alleged, I believe,

         20         that it is not what I said.

         21                                  MS. SEGUIN: And I also filed

         22         an objection to their proposed order that also

         23         clearly states a lot of additional items that

         24         were never before the Court. Including the

         25         number now that they have now, they submitted a

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          1         $75,623.71 and then another one for $6028.75.

          2         These two numbers were not even in their

          3         original motion to establish arrears that was up

          4         before the court on February the 10th and those

          5         two numbers were never brought up as well. And

          6         without a clear understanding and audit of what

          7         those numbers represent. Because they

          8         unilaterally of their own volition without any

          9         court approval.

         10                                ATTORNEY GOULD: Judge,

         11         objection.

         12                                MS. SEGUIN: Took off the

         13         interest.

         14                                THE COURT: Let me interrupt

         15         you, ma'am. Where are you getting these two

         16         numbers from? I do not see them anywhere.

         17                                MS. SEGUIN: Exactly. That is

         18         the order proposed order that the State had

         19         filed. You are absolutely right. Your Honor.

         20         Those two numbers--

         21                                THE COURT: I am looking at

         22         the proposed state order that has different

         23         numbers then what you are saying.

         24                                MS. SEGUIN: The proposed

         25         order that they submitted to me, on #4 it says

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          1         $75,623.71 for interest. And then a medical

          2         support interest for $6028.75. Now these two

          3         numbers were never before the Court before on

          4         February the 10th. On February the 10th they

          5         brought up a motion that mentioned $81,000.

          6                                THE COURT: Well, maybe that

          7         is a combination of the two numbers.

          8                                ATTORNEY GOULD: Yeah, Judge.

          9         That is the combination.

         10                                MS. SEGUIN: So sorry, go

         11         ahead.

         12                                ATTORNEY GOULD: There was an

         13         objection, Judge.

         14                                THE COURT: Yeah, what is

         15         your objection, Paul?

         16                                ATTORNEY GOULD: We are off

         17         the subject. The subject is whether this order

         18         should enter or not.

         19                                THE COURT: Right.

         20                                ATTORNEY GOULD: Not about

         21         any agreements, not about anything else other

         22         than the numbers and Judge if I may or I will

         23         let the defendant continue Judge.

         24                                THE COURT: I thought my

         25         order was very simply was to set the arrears as

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          1         they appear on the State computer but without

          2         prejudice and then there will be a subsequent

          3         hearing to determine whether or not those

          4         numbers are in fact accurate. As I am reading

          5         the order, they put two numbers in and it is

          6         clearly, let me read the paragraph. Yeah,

          7         paragraph six, the Court finds that the total

          8         the arrears of $81,000, which is the combined

          9         number is placed on the Child Support ledger

         10         without prejudice to the June 8, 2023 hearing.

         11         The State agrees it shall respond to the

         12         defendant's first request for production of

         13         documents forthwith.

         14                                MS. SEGUIN: Yes, Your Honor.

         15         So therefore, you had not made any kind of

         16         findings of fact of whatever they might be. You

         17         simply said put the interest back--

         18                                THE COURT: Yeah, I said

         19         whatever the computer says is the balance. Put

         20         it on the computer without prejudice, which

         21         means that we need a starting point. You need to

         22         know what they allege you owe and that is what

         23         they are alleging you owe. You disagree with

         24         that number. You asked them for the

         25         documentation to substantiate that number. That

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          1         is why I continued it out all the way to June so

          2         that you would have an opportunity to get their

          3         materials, for you to you digest their

          4         materials, provide counter materials back to

          5         them. So that in June, a full hearing can be

          6         held with everyone totally prepared as to argue

          7         either position. Either there is no money due or

          8         there is a balance due. I never made any finding

          9         whatsoever there is in fact a balance due. If I

         10         did, I would not have continued the hearing.

         11                                MS. SEGUIN: Thank you, Your

         12         Honor. That is exactly what my understanding as

         13         well.

         14                                THE COURT: Right. That is

         15         what the order says. It says put the number on

         16         the computer, but without prejudice, which means

         17         both sides have to argue and convince the Judge

         18         that that is in fact the number. Or you are

         19         going to argue it is an incorrect number and you

         20         are going to substantiate it by whatever

         21         arguments you present. They going to

         22         substantiate it by whatever arguments they

         23         present. And then whoever hears it in June will

         24         decide which side is correct.

         25                                MS. SEGUIN: Thank you, Your

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          1         Honor. I wanted to make sure that, you know,

          2         that all parties understand that because at this

          3         point, the State is saying that you already

          4         found that I had—-

          5                                THE COURT: No, no. The State

          6         is not saying that because the order clearly

          7         says those numbers or that number is without

          8         prejudice, which means I did not establish that

          9         number. We do it in many of these cases to get

         10         the ball rolling, so either side knows what they

         11         need to produce to substantiate their positions.

         12         The same way they can come in now and say, Oh,

         13         no, we made a mistake. She actually owes

         14         $185,000.

         15                                MS. SEGUIN: You are giving

         16         me a heart attack, Your Honor.

         17                                THE COURT: It puts a cap on

         18         what they can argue.

         19                                ATTORNEY GOULD: Judge, can I

         20         respond now?

         21                                MS. SEGUIN: So, Your Honor,

         22         with that in mind, just to clarify, that is what

         23         they are saying in 2018 when they first took

         24         off--

         25                                ATTORNEY GOULD: Objection.

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          1                                THE COURT: Just a minute.

          2         The order speaks for itself. It says the balance

          3         on the computer as of whatever dates in there. I

          4         cannot read it now quickly, whatever dates in

          5         there, that is the balance on the computer. They

          6         have to substantiate it. They are going to send

          7         you documentation supposedly to substantiate it.

          8         If they cannot substantiate, then they are not

          9         going to get that number.

         10                                ATTORNEY GOULD: Judge, I

         11         disagree with that. Judge, we have no obligation

         12         to substantiate this. There is a Child Support

         13         number that was established by Judge McCann. You

         14         took judicial notice of that.

         15                                THE COURT: I took judicial

         16         notice that there was no appeal of his order.

         17         That is what the judicial notice of.

         18                                MS. SEGUIN: Thank you, Your

         19         Honor. Thank you, Your Honor. That is my

         20         understanding as well that you took judicial

         21         notice of the orders themselves. But what is in

         22         dispute is how the child support office has

         23         handled this computation.

         24                                THE COURT: That's the

         25         argument for June, ma'am. That is the argument

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          1         for June.

          2                                MS. SEGUIN: Taking that off

          3         the system without your approval. Now, put it

          4         that way--

          5                                THE COURT: What you are

          6         arguing now is what you need to argue in June. I

          7         am satisfied that the order that has been

          8         presented by the State that breaks down the two

          9         balances that the total is $81,000 is in fact

         10         the appropriate order from the hearing. It is

         11         without prejudice. They are going to provide

         12         documents that you requested so that you can

         13         then decide whether or not you agree or

         14         disagree. And if you disagree with their method

         15         of calculating it, you need to present why you

         16         think that method is incorrect and what should

         17         be the correct number if any.

         18                                MS. SEGUIN: Yes, and

         19         including a waiver of interest –

         20                                THE COURT: You are arguing

         21         whether the number is correct or not. That is

         22         the whole purpose of making it without

         23         prejudice.

         24                                MS. SEGUIN: Yes, and that

         25         would include the waiver of interest that had

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          1         occurred.

          2                                THE COURT: No, that is the

          3         subject of the hearing. That is the subject of

          4         the hearing. I am making no finding about

          5         whether there was or was not a waiver of

          6         interest.

          7                                MS. SEGUIN: Thank you, Your

          8         Honor. So that is part of the discovery that

          9         needs to happen.

         10                                THE COURT: Well, that is

         11         what I assume you are asking for. Is to get the

         12         documentation that would have substantiate your

         13         belief that there was the waiver of the

         14         interest.

         15                                MS. SEGUIN: Thank you, Your

         16         Honor.

         17                                THE COURT: So, if you can

         18         substantiate that there was a waiver of

         19         interest, that balance disappears.

         20                                MS. SEGUIN: So, the State is

         21         objecting to producing those protected

         22         documents—

         23                                THE COURT: No, no. They are

         24         not objecting to producing any documents. The

         25         line paragraph says in paragraph 10, The State

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          1         agrees it shall respond to the defendant's first

          2         request for production of documents forthwith.

          3         So, whatever you asked them for, they are going

          4         to they are going to provide to you. If you do

          5         not think they provided everything you asked

          6         for, you file a supplemental request.

          7                                ATTORNEY GOULD: The State

          8         filed its answer in response to her request for

          9         production, Judge. And I will stand by that. And

         10         I will argue those issues that we refuse to

         11         answer, or we objected on procedural grounds or

         12         we objected on legal grounds for what we did.

         13         And I will respond to that when it is

         14         appropriate.

         15                                THE COURT: That would be

         16         June 8th. That will be done on June 8th. So, you

         17         can be prepared to go forward on whatever your

         18         objections are and whoever hears it will decide

         19         whether the objections were valid or not.

         20                                MS. SEGUIN: Your Honor, Mr.

         21         Gould had said something to me, emailed

         22         something to me to the affect that he said you

         23         will be retiring June the 8th. I just wanted to

         24         know why he emailed me something like that.

         25                                THE COURT: It has been

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          1         projected that I am to retire sometime before

          2         July 1st. They are dealing with my successor and

          3         I sit until my successor is appointed and

          4         qualified. And the projection is by the end of

          5         the by end of June, the latest could be earlier.

          6         I do not think it could be later, but it is

          7         possible.

          8                                ATTORNEY GOULD: And Judge,

          9         because we, I guess, we like making these

         10         artificial records, I will make this record

         11         here. I did not say that snd I resent the

         12         defendant putting words in my mouth.

         13                                MS. SEGUIN: I indicated the

         14         email that you wrote to me.

         15                                THE COURT: Listen, just a

         16         minute, just a minute. Whether I sit or I do not

         17         sit is an immaterial situation, it has nothing

         18         to do with what is before me today. I am ruling

         19         on the order they sent you breaking down the

         20         balances between the child support and medical

         21         arrears is valid as to what I said the last time

         22         we were here. I am going to sign that order and

         23         proceed with their discovery. Whatever

         24         objections you have relative to the discovery

         25         and whoever sits here, whether it is me or

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          1         someone else, they will be prepared to address

          2         the situation. Okay.

          3                                MS. SEGUIN: Thank you, Your

          4         Honor. Thank you. One last question about number

          5         11 and 12. I mean, those elements—

          6                                THE COURT:     11 and 12?

          7                                MS. SEGUIN: Yeah, 11 and 12.

          8                                THE COURT: 11 tells you how

          9         to contact us. 11 is how to contact us and 12 is

         10         a standard paragraph that they put in indicating

         11         that, I don't know why it's here, but they that

         12         the standard paragraph they stick in every case

         13         has no bearing on this one. Other than it says

         14         that until it is paid in full, you know, the

         15         order will continue to run. But there is no

         16         order running in terms of what your obligation

         17         to pay that is.

         18                                MS. SEGUIN: Okay, okay. So

         19         that is something that is boilerplate.

         20                                THE COURT: That is

         21         boilerplate and 11 is how you get in touch with

         22         us.

         23                                MS. SEGUIN: Sure.

         24                                THE COURT: We do not put

         25         that in, we will never have any hearings.

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          1                                MS. SEGUIN: Thank you, Your

          2         Honor.

          3                                ATTORNEY GOULD: If I could

          4         talk this time a little bit. Maybe just for the

          5         record. Those same paragraphs were in the

          6         September 25th, 2012 orders. And that same

          7         boilerplate languages in a July 11, 2012 orders

          8         and any other order that she would receive.

          9         August 15, 2012. That same identical language

         10         was contained in those. It is boilerplate.

         11                                THE COURT: Yeah,

         12         boilerplate. All right, we will see you on June

         13         8th at 2:30. Wait a minute. Daylight savings

         14         time is starting soon.

         15                                MS. SEGUIN: Oh, yeah.

         16                                THE COURT: All right. Do you

         17         go on daylight saving time? Pay attention.

         18                                MS. SEGUIN: Okay.

         19                                THE COURT: This coming

         20         Saturday, our clocks jump forward an hour. So,

         21         your clock does not jump forward. You are going

         22         to have to call in an hour earlier.

         23                                MS. SEGUIN: All right.

         24                                THE COURT: I have friends

         25         that live in Arizona, and they told me that in

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          1         Arizona, there were three different time zones

          2         in the summer.

          3                                MS. SEGUIN: Yeah, every

          4         county is allowed to do that out here.

          5                                THE COURT: I know that. That

          6         is why that is why I pay attention to it because

          7         they tell me that people have trouble. They

          8         think, Oh, I am going to be on time, I am going

          9         to Court. They said, No, you are an hour late.

         10         What do you mean? This is the time across the

         11         street. No, that is an hour different than us.

         12                                MS. SEGUIN: It really is

         13         crazy. That they have marked it off, not a

         14         county, but across the street. You are

         15         absolutely right.

         16                                THE COURT:     All right. So,

         17         pay attention. It is 2:30 our time.

         18                                ATTORNEY GOULD: Judge, if I

         19         may. The order I submitted that contains 12

         20         paragraphs.

         21                                THE COURT: Yes.

         22                                ATTORNEY GOULD: February 10,

         23         2023, starting with paragraph one, the matter is

         24         continued.

         25                                THE COURT: Yes.

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          1                                ATTORNEY GOULD: That order

          2         is going to be accepted by the Court. That will

          3         be the order of the Court for that day?

          4                                THE COURT: Right.

          5                                ATTORNEY GOULD: The order

          6         that she submitted will be stricken, correct?

          7                                THE COURT: Right.

          8                                MS. SEGUIN: Yes, that is my

          9         understanding, too. Yes.

         10                                ATTORNEY GOULD: Thank you,

         11         Judge.

         12                                THE COURT:     All right. We

         13         will see you in June.

         14                                ATTORNEY GOULD: One more

         15         thing. I am sorry. Judge, if I may, can the

         16         defendant place her address on the record?

         17         Because we sent some correspondence that was

         18         sent back to us. Now we have used her email as a

         19         courtesy to her and we also need an actual

         20         street address so that we can send her

         21         documents.

         22                                MS. SEGUIN: Your Honor, I

         23         think this is, I do not really understand why -–

         24                                THE COURT: Let me just

         25         interrupt. Let me interrupt. When you enter your

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          1         appearance, you need to provide under the rules

          2         your address, your phone number, and your email

          3         address.

          4                                MS. SEGUIN: Yes.

          5                                THE COURT: And if you were

          6         an attorney, obviously your bar number. Okay so

          7         if you change any of those addresses or emails,

          8         you are under an obligation to keep updating it

          9         because if they send anything to the address or

         10         the email that you provided, it's not a defense

         11         later on, Oh, it's not my address or email, I

         12         changed it. So that is why they are asking to be

         13         sure they get the right method to contact you,

         14         depending on what they have to send. It is a

         15         part of the Court order that you provide your

         16         address and email address.

         17                                MS. SEGUIN: Your Honor, may

         18         I also then ask that the State sent me a or e-

         19         file any notices? Because they have been mailing

         20         things to me in Texas, which takes 10 to 12 days

         21         for me to receive by regular mail. So, could you

         22         also please, I am going to ask you please to

         23         ask, to make them, to order them to notice me by

         24         electronic means as well.

         25                                THE COURT: Well, that's part

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          1         of the rules, too.

          2                                MS. SEGUIN: Okay.

          3                                THE COURT: All right?

          4                                MS. SEGUIN: Okay. Thank you,

          5         Your Honor. I appreciate you telling me.

          6                                THE COURT: All right, June

          7         8th.

          8                                ATTORNEY GOULD: I do not

          9         have an address, Judge.

         10                                THE COURT: Oh, that is

         11         right. What is your updated address?

         12                                MS. SEGUIN: My address is on

         13         the on file is P. O. Box 22022 Houston, Texas,

         14         77019.

         15                                THE COURT: What about email?

         16                                MS. SEGUIN: That's Mary

         17         Seguin 22022 at Gmail.com. They are also in my

         18         pleadings as well.

         19                                THE COURT: Slow down. Slow

         20         down. We do not type that fast.

         21                                THE CLERK: I did not get

         22         that P. O. Box. Can you give it to me again,

         23         please?

         24                                MS. SEGUIN: Yes, it is,

         25         22022.

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          1                                THE COURT: That is the P. O.

          2         Box number?

          3                                MS. SEGUIN: Yes, Your Honor.

          4                                THE COURT: Making sure it

          5         was not the zip or area code.

          6                                MS. SEGUIN: It is one too

          7         many numbers.

          8                                THE COURT: What is the zip

          9         in Houston?

         10                                MS. SEGUIN: It is 77019.

         11                                THE COURT: All right, all

         12         set?

         13                                MS. SEGUIN: Thank you, Your

         14         Honor.

         15                                THE COURT: Okay, June 8.

         16                                ATTORNEY GOULD: Thank you,

         17         Judge.

         18                                MS. SEGUIN: Thank you, Your

         19         Honor.

         20

         21

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                                        I HEREBY CERTIFY THAT THE FOLLOWING

                                        IS A TRUE AND ACCURATE TRANSCRIPT

                                        IN THE CASE OF MEYERSIEK VS. SEGUIN

                                        BEFORE THE HONORABLE MAGISTRATE

                                        SUSAN NAHABEDIAN ON FEBRUARY 2ND,

                                        2024.




                                        AMANDA B. KUSKI
                                        ELECTRONIC COURT REPORTER
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          1                                           THE COURT: Good afternoon.

          2                                           PLAINTIFF: Good afternoon.

          3                                           THE COURT: This is K20010521, Gero

          4     Meyersiek versus Mary Seguin. Both parties are present. Mr. Meyersiek’s

          5     Attorney, um, Achille, she’s here. Um, the Clerk will swear you both in.

          6                                           CLERK: Miss Seguin, Mr. Meyersiek,

          7     raise your right hands, please. You do solemnly swear that the testimony you

          8     shall give to the Court in the matter now in hearing shall be the truth, the whole

          9     truth and nothing but the truth, so help you God?

         10                                           PLAINTIFF: I do.

         11                                           DEFENDANT: I do.

         12                                           CLERK: Miss, Miss Seguin, just state your

         13     name for the record.

         14                                           DEFENDANT: Mary Seguin.

         15                                           CLERK: Mr. Meyersiek, your name,

         16     please, for the record.

         17                                           PLAINTIFF: Gero Meyersiek.

         18                                           CLERK: Thank you.

         19                                           THE COURT: Okay, good afternoon,

         20     folks. This matter was continued from December 15th in order for the, uh, Court

         21     Clerk to, uh, copy Court filings and other documents that were requested by

         22     Miss Seguin. It’s my understanding that those documents were sent to her

         23     electronically, um, in various emails, uh, in December and the remainder of

         24     those were sent at the beginning of January. Um, Miss Seguin, were you able to

         25     review those and are you satisfied that you received everything that you request-

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          1     ed?

          2                                            DEFENDANT: Um, thank you, Your

          3     Honor. I had, uh, received, as you said, in two batches, uh, the Court records

          4     that, um, Mr. Santamarina had, um, had emailed. Uh, the last several batches,

          5     uh, were, sorry, batch was several documents, um, were only emailed about a

          6     couple weeks ago. Uh, there, there were sent in separately about fifteen emails. I

          7     think Your Honor was copied on all of them, as well as Mr. Gould, um, on those

          8     emails, um, and so the records themselves, um, you know, that were sent to me

          9     or emailed to me, um, the, the Court has a copy of those. Um-

         10                                            THE COURT: I, I, so my question is, are,

         11     are you, did, were you able to review them and are you satisfied that everything

         12     that you requested, you received?

         13                                            DEFENDANT: Um, I have not, uh,

         14     received the actual audio recordings of the, that’s part of the record. Um, those

         15     were-

         16                                            THE COURT: Did you request, did you

         17     request the audio recording from Mr. Santamaria?

         18                                            DEFENDANT: Well, I requested all the

         19     records. So, one of the paper documents had said that the, there was, uh,

         20     attached to it, an audio recording of the State saying that Gero waived interest,

         21     and I think that’s very relevant to this case-

         22                                            THE COURT: Okay-

         23                                            DEFENDANT: -especially as it links to-

         24                                            THE COURT: -let me just stop you-

         25                                            DEFENDANT: -(inaudible)-

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          1                                           THE COURT: -let me just stop you, let me

          2     just stop you for a minute, please. I’m new to this case, so I’m not familiar with

          3     the audio recordings request. I’m not aware that you made that type of request.

          4     Can you tell me the date of the audio recording and when you made that

          5     request?

          6                                           DEFENDANT: I made the request for all

          7     Court information in this case. All Court information encompasses all

          8     documents and all forms of records. Uh, that’s, um, that’s the, I believe, legal

          9     understanding of all Court information of records.

         10                                           THE COURT: Alright, Mr.-

         11                                           DEFENDANT: So, that was part, that was-

         12                                           THE COURT: -excuse me, excuse me one

         13     minute. Mr. Gould, I’m trying to unmute you and I’m not able to do it from my

         14     end. So, if you need to be unmuted, you’ll have to do it yourself.

         15                                           DEFENDANT: I had to, so I had

         16     submitted those and this, uh, audio recording ha-, uh, is part of the Court records

         17     as of, um, June 2023. That was emailed to me in a rel-, in a paper document

         18     referring to attached, attached audio recording that is, um, that, that was emailed

         19     by Mr. Santamaria. So, that recording, I want to make sure, uh, and, and that’s

         20     also copied to you by the way, Your Honor-

         21                                           THE COURT: Alright, so-

         22                                           DEFENDANT: -(inaudible).

         23                                           THE COURT: -just, just, just going back

         24     to December, okay, you provided, um, a request for documentation to be copied

         25     by the Court Clerk, Mr. Santamaria, and all of those documents were scanned

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          1     and sent to you in an electronic form. Did you specifically request anything that

          2     referred to an audio recording?

          3                                             DEFENDANT: I specifically record, uh,

          4     requested all Court information, any and all Court information in the records of

          5     my, of this particular case file. Those are the wording that I used, because I, I

          6     don’t know what’s being, what’s on, what’s, what the Court record has. You

          7     know, this is the reason why we went through this process, is, the, the, um,

          8     Rhode Island Judiciary has set up this, uh, uh-

          9                                             THE COURT: So, Miss Seguin-

         10                                             DEFENDANT: -electronic Court system-

         11                                             THE COURT: -we’re not-

         12                                             DEFENDANT: -where the (inaudible)-

         13                                             THE COURT: -so, Miss Seguin, we’re not

         14     gonna get into the Judiciary’s access to the, um, to the portal. We’re not gonna

         15     get into that. We made every effort to make electronic copies of every Court

         16     document pertinent to this case and sent them to you, at no cost, in an electronic

         17     version. You did not, at any point, follow up with Mr. Santamaria to request an

         18     audio recording.

         19                                             DEFENDANT: I’m just in a process of

         20     reviewing this. That was part of your question, uh, Your Honor, is have I had a

         21     chance to review all of these materials. It’s, it’s, it’s, as, as you can see, several

         22     because you’ve been covered, uh, copied on all the emails. There were several

         23     emails, uh, you know, all together, probably thirty-something emails. Uh, I do

         24     appreciate that. I, you know, I thank Your Honor for ordering that, um, and I

         25     also, um, you know, am, am reviewing, have been reviewing. So, I came across,

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          1     to answer your question to the best of my ability, is I came across that doc-,

          2     document where it refers to the audio file, uh, that’s being submitted into the

          3     record. I’ve asked for the Court records. So, um-

          4                                            THE COURT: You received every Court

          5     record, every document going back to-

          6                                            DEFENDANT: Paper. I, I, I think what,

          7     what-

          8                                            THE COURT: Correct.

          9                                            DEFENDANT: -wanted to, you know,

         10     just, just to have a basic understanding of document is, in paper form, but Court

         11     rec-, information as the Court record encompasses various different formats. All

         12     public records encompasses various different formats. Uh, you know, that’s,

         13     that’s written by statute and, you know, as I understand it what public records is.

         14     Court records are a form of public records and, and it forms the basis of, um,

         15     Judge created laws, and therefore, those are critical in my, uh, uh, you know,

         16     access and that’s the basis of this process that we’re going through is accessing

         17     those public records, Court information records, and, uh, accessing the laws that

         18     were created, Judge created laws that were created, in this particular case or

         19     relevant to this particular case. So, I, I’m just trying to, um, respond to your

         20     question, uh, Your Honor, as to if I had a chance to review those, am I satisfied,

         21     and so, these are the, what I’m raising to the Court, to Your Honor, to, in

         22     response to your question is, I received the paper document, uh, I’m, I’m in the

         23     process of reviewing them, um, because they, they form a chronology, they form

         24     a, a, a background chronological, uh, reasoning behind, you know, uh, Judge

         25     created laws, which are the orders, uh, issued. And in so doing, there are refer-

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          1     ences to a, a Court document that was sent to me, actually a couple of them, that

          2     talks about an audio recording of the State saying that Gero waived interest, and,

          3     uh, also the document, uh, there are documents that say Gero did not ask for

          4     interest, but the State on oral motion asked for interest, but then the State’s

          5     policy is not to ask for interest in interstate cases-

          6                                             ATTORNEY GOULD: Judge, Judge, if I

          7     may-

          8                                             DEFENDANT: -that is why. So-

          9                                             ATTORNEY GOULD: -Judge, can I be

         10     heard?

         11                                             DEFENDANT: -that’s why I need to

         12     understand and get a full-

         13                                             ATTORNEY GOULD: If I may, Judge?

         14                                             THE COURT: Hold, just one, one minute,

         15     Mr., Mr. Gould. So, the answer, so, your answer is, you’re not satisfied with

         16     what was sent?

         17                                             DEFENDANT: I’m explaining to you

         18     what’s missing.

         19                                             THE COURT: So, you are, you-

         20                                             DEFENDANT: And I’m trying to identify

         21     to you what is missing-

         22                                             THE COURT: So, this Court-

         23                                             DEFENDANT: -and the Court records,

         24     already are, are showing-

         25                                             THE COURT: -this Court, alright, ex-,

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          1     excuse me, Miss Seguin. Mr. Santamaria spent hours with a coworker manually

          2     scanning and copying those files during a period of time that the Court was very

          3     short handed. All of that documentation, okay, every pertinent document related

          4     to this case, going back decades, two decades, was scanned and sent to you,

          5     okay. We do not have a copy of an audio recording. So, we’re not able to

          6     provide that to you. There is no such audio recording in the Court record that

          7     you, you are referring to. So, now I’m gonna give Mr. Gould an opportunity to

          8     respond. Mr. Gould?

          9                                            ATTORNEY GOULD: Judge, like,

         10     likewise, if she’s requesting a transcript, then she has to go through the normal

         11     process of paying for a transcript, ordering the specific date of the transcript she

         12     wants. This is a Defendant who has failed to come to this Court with clean

         13     hands, Judge. I’ve stayed silent-

         14                                            DEFENDANT: I object! I object, Your

         15     Honor!

         16                                            ATTORNEY GOULD: -the whole time-

         17                                            THE COURT: Your objection is noted and

         18     Miss Seguin, no one interrupted, you’re muted. You’re muted. You’re muted

         19     and you’re going to stay muted. You’re muted. Mr. Gould?

         20                                            ATTORNEY GOULD: Thank you, Judge.

         21     We’ve let this go on for months after months. She brought up an issue relative

         22     to, uh, the Court system. State of Rhode Island Child Support Enforcement, the

         23     Magistrate hearing this case, has no control over that. She’s now filed a Federal

         24     lawsuit in the, uh, District of Texas, Judge. That’s gonna play it’s course ‘cause

         25     she’ll file and follow through on that. This is a simple case of whether or not

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          1     interest is to accrue on this case and what payments were made. It’s simple

          2     math, it’s simple, in, in fact, Judge, there’s maybe five questions I have for the

          3     Defendant, uh, of the Plaintiff relative to this, uh, inquiry. It would be a short

          4     hearing. Uh, whether or not there was any monies paid, what was received, and

          5     the fact that the Court can take Judicial notice of two orders. The fact that

          6     there’s a child support order that continues to run, and two, the fact that interest

          7     has continued to run pursuant to Mag-, pursuant to Judge, uh, John McCann’s

          8     order dated 9/25/2012.

          9                                            THE COURT: Okay, the original support

         10     order was entered May 24th of 2012?

         11                                            ATTORNEY GOULD: That’s when it was

         12     allowed to run on the Child Support system. That was at a period of time when

         13     the arrears were set somewhere in the amount of $30,000.00. I have a copy of

         14     the order. Paragraph four of the May 24th, 2012 order indicates that there was an

         15     arrears of $30,458.00, as of May 24th, 2012. September-

         16                                            THE COURT: And am I, am-

         17                                            ATTORNEY GOULD: Sorry.

         18                                            THE COURT: -there were, there was no

         19     appeal taken from that order.

         20                                            ATTORNEY GOULD: Correct.

         21                                            THE COURT: Just a minute, Miss Seguin.

         22     I’m giving Mr. Gould an opportunity to speak, just like I gave you an

         23     opportunity to speak. In that October 23rd, 2012 order, um, there is language that

         24     indicates that interest would continue to run.

         25                                            ATTORNEY GOULD: Correct.

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          1                                           THE COURT: And nothing has changed

          2     since then?

          3                                           ATTORNEY GOULD: There’s been no

          4     order from the Rhode Island Family Court suspending interest. Correct.

          5                                           THE COURT: Miss Seguin?

          6                                           DEFENDANT: I object to every, uh,

          7     statement that Mr. Gould had, uh, stated because they are, um, uh, perjurious.

          8                                           THE COURT: You (inaudible), excuse

          9     me-

         10                                           DEFENDANT: Mr. Gould and Mr.

         11     Langlois-

         12                                           THE COURT: Excuse me, they’re what?

         13                                           DEFENDANT: They are perjuries. Mr.

         14     Gould and Mr. Langlois and the State of Rhode Island representing the Rhode

         15     Island Child Support Office, had, um, per this Court record, there is a document

         16     that say’s that they, that they had said that Gero had waived interest. (Inaudible)

         17     2021 and they made that statement in 2022.

         18                                           THE COURT: Ma’am, there’s no Court

         19     order that ever suspended-

         20                                           DEFENDANT: (Inaudible).

         21                                           THE COURT: -there’s no Court order that

         22     ever set the interest to zero. There’s no Court order. You’ve received everything,

         23     I’ve reviewed the file. There is nothing in the system where it, it was ever

         24     waived or set to zero. The interest has stayed on the system.

         25                                           DEFENDANT: We’re, we’re talking, uh,

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          1     actually on, on February the 10th, 2023, the first Court order of this, of this

          2     decade that was issued has clearly, um, proven as evidence that interest was

          3     taken off of the system. Mr. Gould had taken the interest off of the system, he

          4     said in Court, in 2018. That is what he had said, and so, in, in Court, and

          5     therefore, he has asked the Judge, or the Magistrate, uh, Monaco to put it back

          6     on the record or, uh, Mr., and then Judge, um, uh, Monaco had only put it on

          7     there with prejudice because he said that there’s, that doesn’t mean, that’s just a

          8     placeholder.

          9                                             ATTORNEY GOULD: Objection.

         10                                             DEFENDANT: So, Mr. Gould had lied,

         11     just now, that’s perjury on-

         12                                             THE COURT: Uh-

         13                                             DEFENDANT: -I’m deeply concerned

         14     about this. These, these are documented in the order. The February 10th order

         15     cannot be refuted. It was, it was prepared by Mr. Gould himself. It said that the

         16     Court-

         17                                             THE COURT: I don’t see it.

         18                                             CLERK: I don’t see anything-

         19                                             DEFENDANT: -(inaudible)-

         20                                             THE COURT: -hold on, hold on. I’d, I’d

         21     like to review that order and I, I don’t see it.

         22                                             CLERK: I don’t see anything filed from

         23     2013-

         24                                             ATTORNEY GOULD: I’d like to be heard

         25     on the objection, Judge.

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          1                                            CLERK: -to ’22. I see nothing.

          2                                            DEFENDANT: Well, that’s a problem.

          3                                            THE COURT: Are you saying that, excuse

          4     me, just let me just clarify this. Again, I’m new to the case-

          5                                            DEFENDANT: That was-

          6                                            THE COURT: -you just made-

          7                                            DEFENDANT: -that was-

          8                                            THE COURT: -you just mentioned

          9     Magistrate Monaco heard this and I’m looking for an order from that hearing

         10     and I don’t see one.

         11                                            ATTORNEY GOULD: Since I was

         12     accused of perjury, Judge, can I clarify something?

         13                                            THE COURT: Yeah, Miss Seguin, I’m

         14     gonna give Mr. opportunity, uh, Mr. Gould an opportunity to reply.

         15                                            ATTORNEY GOULD: See, Miss Seguin

         16     is a little confused about how the process is running. That there is an agency and

         17     the Child Support Office is an agency charged with running the child support on

         18     our system. The Court is in charge of ordering parties to pay child support and in

         19     this case, pursuant to the order of Judge McCann back in 2012, he ordered child

         20     support paid. Again in 2012, he ordered interest paid. Our system in 2018, our

         21     system, the Child Support system, not a Court order, our system removed

         22     interest because of an administrative decision, because this case had become an

         23     interstate case, the Plaintiff was out of, the Defendant mother was out of state.

         24     There was a decision to remove interest from cases running on our system. That

         25     doesn’t mean that the interest doesn’t run. It meant that the interest was removed

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          1     from our system, so that other jurisdictions were not confused, and it had to do

          2     with, a lot of it, the, the fact that jurisdictions had different interest rates running.

          3     So, in order to alleviate any confusion, our Administrator made a determination

          4     to stop interest on all, uh, stop interest running on our system, not stop interest

          5     pursuant to a Court order. So, that’s the distinction. So, when I said earlier today

          6     that there’s no order that, uh, stopped the interest on the case, there is no order,

          7     and then the other statement that, uh, the Plaintiff made, uh, Defendant made

          8     relative to, um, the issue of prejudice of Judge Monaco’s order, that’s an

          9     outright lie, Judge. Judge Monaco never said in Court, there’s no Court order

         10     that is without, or with prejudice, Judge. So, that’s just an outright lie. I’ll leave

         11     it at that because I know I’ll have another twenty minutes of, of rambling on by

         12     the Defendant. So, I’ll (inaudible)-

         13                                              THE COURT: Well, just, just to be clear, I

         14     just want both sides to, to, to know, I don’t see anything in the system reflecting,

         15     um, any, any decision by Magistrate Monaco in May of this year. I don’t see-

         16                                              DEFENDANT: Uh, February, February,

         17     February of this year. So, February the 10th. February the 10th. This I why at the

         18     same time the discovery was ordered, and this is why we are here on discovery

         19     issues, as well, because it was ordered without, sorry, it was placed on the

         20     system and the interest is WITH prejudice.

         21                                              ATTORNEY GOULD: No, Judge, I object

         22     to that, that is not true. That is as far as the truth can be, Judge.

         23                                              DEFENDANT: Perjury, perjury-

         24                                              THE COURT: So, excuse me, hold on,

         25     hold on, folks. I just found the order now that I just see that. It’s February 10th,

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          1     paragraph four, “The Court finds the arrears of $81,652.46 that’ll be placed on

          2     the ledger without prejudice to the June 8th hearing. The arrears reflect interest

          3     on the child support in the amount of $75,623.71 and interest of the medical

          4     support in the amount of $6028.75”.

          5                                             ATTORNEY GOULD: So, Judge, is her

          6     comments about prejudice, is that perjury? So, did she just commit perjury,

          7     Judge, because I wasn’t under oath, but I’ll let that go.

          8                                             DEFENDANT: The order, the order

          9     clearly says that the-

         10                                             THE COURT: That it was placed, that it

         11     was placed on the ledger without prejudice. That’s all, that’s all it says. It was-

         12                                             DEFENDANT: Which means-

         13                                             THE COURT: -placed on the ledger-

         14                                             DEFENDANT: -it means, it means it’s not

         15     owed.

         16                                             THE COURT: No, it means, it doesn’t

         17     mean it’s not owed. It, it, it’s, it’s, let’s see, motion to set arrears and discovery

         18     motions were not concluded on that date. Okay, so it was placed on the ledger

         19     without prejudice because it was still an issue that was left open. Am I correct,

         20     Mr., Mr. Gould?

         21                                             ATTORNEY GOULD: Yes, Your Honor.

         22                                             THE COURT: And with that, you may

         23     inquire of Mr. Meyersiek. Thank you.

         24                                             ATTORNEY GOULD: Thank you. First of

         25     all, Judge-

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          1                                            THE COURT: You’re muted. You’re

          2     muted.

          3                                            ATTORNEY GOULD: I’d ask the Court,

          4     I’d ask the Court to take judicial notice of the May 24th, 2012 order by Judge

          5     McCann, in which he established the child support order, in which he establishes

          6     an arrears of $30,458.00. That order was not appealed. That is the order of this

          7     Court.

          8                                            THE COURT: The Court takes judicial

          9     notice entered on May 24th, 2012, from which no appeal was taken.

         10                                            ATTORNEY GOULD: I’d ask the Court

         11     to take judicial notice for the September 25th, 2012 order of Justice John

         12     McCann in which the paragraph four indicates, “Interest will continue to run on

         13     monies due”.

         14                                            THE COURT: Likewise, the Court takes

         15     judicial notice of the September 25th, 2012 order, again, in which no appeal was

         16     taken.

         17                                            ATTORNEY GOULD: Thank you, Judge.

         18     If I could inquire of the Plaintiff?

         19                                            THE COURT: Yes.

         20                                            ATTORNEY GOULD: Mr. Meyersiek,

         21     you had a child support order that ran to your, uh, ran to your benefit in the

         22     amount of $218.00 per week. Is that correct?

         23                                            THE COURT: Can’t hear you, Sir.

         24                                            PLAINTIFF: (Inaudible).

         25                                            THE COURT: Very, very faint. It’s hard to

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          1     hear you.

          2                                          PLAINTIFF: Is this better?

          3                                          THE COURT: Perfect.

          4                                          PLAINTIFF: Okay, good. Sorry. Yes, to

          5     the best of my recollection, that was the amount.

          6                                          ATTORNEY GOULD: Did you ever

          7     receive child support from the Defendant mother directly, after May 24th, 2012?

          8                                          PLAINTIFF: I only received two

          9     payments. I believe one was in 2019 and one was in 2021.

         10                                          ATTORNEY GOULD: So, from-

         11                                          PLAINTIFF: I never, I never received

         12     anything directly.

         13                                          ATTORNEY GOULD: From 2012 to

         14     2018, you received nothing in child support, correct?

         15                                          PLAINTIFF: Not a single penny.

         16                                          ATTORNEY GOULD: And that was a

         17     time when the child was a minor, correct?

         18                                          PLAINTIFF: Correct.

         19                                          ATTORNEY GOULD: That was during a

         20     period of time when you could’ve used the money for the child, correct?

         21                                          PLAINTIFF: That is absolutely correct.

         22                                          ATTORNEY GOULD: And you received

         23     nothing, correct?

         24                                          PLAINTIFF: That is correct, and I

         25     should’ve had, I had to send my daughter to a school, I had to pay for every

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          1     meal, I had to pay for her clothing, I had to pay for everything.

          2                                           ATTORNEY GOULD: You received a

          3     payment sometime in 2018 in the amount of $6,461.95, correct?

          4                                           PLAINTIFF: That is correct.

          5                                           ATTORNEY GOULD: And then you

          6     received a payment in 2021, on or about 12/9 for 2021, in the amount of

          7     $4,185.98, is that correct?

          8                                           PLAINTIFF: I don’t recall the exact

          9     amount.

         10                                           ATTORNEY GOULD: Does that number

         11     refresh your memory somewhat?

         12                                           PLAINTIFF: Yes, it does.

         13                                           ATTORNEY GOULD: Are you looking to

         14     collect interest that accrued on that money from, from, I’m sorry, from May

         15     202-, May 24th, 2012 up until today’s date?

         16                                           PLAINTIFF: Yes.

         17                                           ATTORNEY GOULD: Did you make any

         18     contracts, agreements with Miss Seguin outside Court that indicated that you

         19     were going to waive interest?

         20                                           PLAINTIFF: Absolutely not.

         21                                           ATTORNEY GOULD: I have no further

         22     questions of the Plaintiff.

         23                                           PLAINTIFF: Thank you.

         24                                           DEFENDANT: Uh, Your Honor, I have

         25     been unable to object to anything because, uh, I was put on mute, but-

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          1                                           THE COURT: Okay, well, we can note

          2     your objection now.

          3                                           DEFENDANT: The, the, uh, at the last

          4     hearing, uh, as well as, uh, the, uh, hearing before you were, uh, appointed, uh,

          5     by the, uh, Judge, uh, in June 2023, we were on a motion to compel. So,

          6     therefore, I do not have, based on discovery, discovery has not been completed.

          7     Therefore, I am not ready to present the, uh, evidence and present the

          8     arguments.

          9                                           THE COURT: What, uh, what specifically,

         10     what are you seeking in discovery that you haven’t received yet?

         11                                           DEFENDANT: I have, uh, as you can see,

         12     I have that motion, uh, that is pending, that has been pending since June of 2023,

         13     to compel production relative to my, uh, request for documents. I, I have a

         14     pending motion-

         15                                           THE COURT: You, you, you received all

         16     of the Court documents.

         17                                           DEFENDANT: No-

         18                                           THE COURT: What out, what outside of

         19     the Court documents are you seeking in discovery?

         20                                           DEFENDANT: I’m seeking based on my,

         21     uh, on the Court record that would show that I’m seeking my case file.

         22                                           THE COURT: You have-

         23                                           DEFENDANT: I’m entitled-

         24                                           THE COURT: -you, no, no.

         25                                           DEFENDANT: I do not have a, my case

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          1     file-

          2                                            THE COURT: You do have your case file.

          3                                            DEFENDANT: -I do not have my-

          4                                            THE COURT: It was scanned-

          5                                            DEFENDANT: I do not!

          6                                            THE COURT: -and sent to you as you

          7     already acknowledged by Mr. Santamaria in numerous emails. The entire Court

          8     file was scanned in and sent to you.

          9                                            DEFENDANT: Oh, you’re talking about

         10     the Court file. I’m talking about my child support case file. I’m entitled under

         11     Federal law to have access to my Federal, my child support case file, and that’s

         12     the discovery that’s being ordered. I have not been able, they have denied, on

         13     paper, which is submitted within this Court record. The Court record shows that

         14     they have, uh, refused, uh, uh, raising all kinds of issues to produce my child

         15     support case record.

         16                                            ATTORNEY GOULD: Objection.

         17                                            DEFENDANT: Under Federal law, under

         18     the Federal law, under Title IV of the Social Security Act, which is what this

         19     process and this legal hearing is under-

         20                                            ATTORNEY GOULD: Objection.

         21                                            DEFENDANT: -(inaudible) under-

         22                                            THE COURT: Alright, what’s-

         23                                            DEFENDANT: I have rights.

         24                                            THE COURT: -what’s the basis of your

         25     objection-

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          1                                            DEFENDANT: -I have a Federal rights-

          2                                            THE COURT: -Mr. Gould?

          3                                            DEFENDANT: -(inaudible), I have a

          4     Federal right to my child support case file.

          5                                            THE COURT: Hold on, Ma’am. He

          6     objected and I wanna know the basis of his objection.

          7                                            ATTORNEY GOULD: Relevance to the

          8     issue before the Court, Judge. The issue before the Court is interest. The motions

          9     that she’s alleging that she’s pursuing, the State file appropriate objections to her

         10     discovery request. So, she needs a hearing on it instead of her other diversions

         11     that she’s had at the last nine months. We could’ve addressed these, Judge, but

         12     we wanna keep pushing this off and pushing this off. So, the State has filed, the

         13     State has responded to the discovery. I’ve had a conference with Miss Seguin, at

         14     one point, to try to go over some of our disputes with regard to, with regard to

         15     discovery. Uh, that did not turn out to be very productive. Uh, I have stated, uh,

         16     on my, on her requests, uh, all the basis for our objections and I’m ready to

         17     argue those objections, when she puts forth specific allegations, specific

         18     documents in the specific request that she’s looking for, but until then, Judge,

         19     this is a real simple case of about whether or not this lady paid child support and

         20     whether or not this gentleman is entitled to interest-

         21                                            DEFENDANT: Objection.

         22                                            ATTORNEY GOULD: -the Court has-

         23                                            DEFENDANT: Objection.

         24                                            ATTORNEY GOULD: -the Court has-

         25                                            THE COURT: (Inaudible).

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          1                                            ATTORNEY GOULD: -filed-

          2                                            DEFENDANT: Fundamentally, in order to

          3     claim that I owe anything, I have a right to my child support case file under

          4     Federal law.

          5                                            THE COURT: Ma’am, what’s this-

          6                                            DEFENDANT: I have-

          7                                            THE COURT: -what’s specific document-

          8                                            DEFENDANT: -(inaudible)-

          9                                            THE COURT: -what specific document-

         10                                            DEFENDANT: -since ’21-

         11                                            THE COURT: Ma’am, Ma’am, Ma’am, if

         12     you keep yelling over me and over the Attorneys, this is not going to be

         13     productive. I’m trying to just narrow this down to the specific piece of

         14     information that you’re seeking.

         15                                            DEFENDANT: I am, Your Honor, I need

         16     to have my entire case file. I, I have, the Court order-

         17                                            THE COURT: Do you, do you-

         18                                            DEFENDANT: -on February the 10th

         19     ordered discovery. There were, by law, my right is to have my entire case file,

         20     and, and by Federal Court, Federal law, I am entitled to have my entire case file.

         21     Child support interstate encompasses, and this is an interstate case, encompasses

         22     Federal law. It encompasses Texas law, because you are reaching your, your

         23     long arm into the State of Texas. Therefore, I am entitled, by Federal law, and

         24     by Texas law, as well as Rhode Island law, to have access to my child support

         25     file.

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          1                                            THE COURT: Thank you Miss, Thank

          2     you, Miss Seguin. Mr. Gould-

          3                                            DEFENDANT: (Inaudible) Mr. Gould-

          4                                            THE COURT: -what, what is the, what is

          5     the State’s objection-

          6                                            ATTORNEY GOULD: Rel-, well for the

          7     most part-

          8                                            THE COURT: -to give-

          9                                            ATTORNEY GOULD: -relevance, Judge.

         10     She’s, she is not gonna use the documents that she’s requesting, in this case,

         11     when she, when the documents you’re requesting is what she is the target for in

         12     her Federal case. So, she’s not gonna use me as a pawn to get, to do her

         13     discovery in her Federal case. This is a simple issue of child support, simple

         14     issue of payments, but what she’s trying to do is she tried to do her discovery,

         15     her Federal discovery in this child support case. So, what I did is I laid out in, in

         16     our responses, our objections, based on relevance. So, again, again, we went

         17     another ten minutes of her for asking for certain, a multitude of documents

         18     without her saying one specific document that she wants, one specific item, one

         19     specific request for production that she’s, we can do this, Judge. We can go for

         20     another twenty minutes and do the same thing, but until she gets her eyes on a

         21     piece of paper and looking at her motions and going word by word, and until we

         22     can do that, Judge, I, we can’t go anywhere. I’ve, I’ve stated our objection-

         23                                            THE COURT: Well, that, I’m, I’m trying,

         24     you know, I’m trying to work with you, Miss Seguin, to see if you can narrow it

         25     down to a specific, a specific issue or a specific document that you believe

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          1     supports you and your contention that at some point, there was an agreement or

          2     there was an order that waived the interest, but to be going on a fishing

          3     expedition and insist that the State, uh, provide you with your case file, um, you

          4     know-

          5                                            DEFENDANT: Your, Your Honor,

          6     discovery is to get my entire case file. I think that is something Federal law

          7     guarantees, and it says so from 42 USC Section 654, all the way to 666. That

          8     law luminous, uh, Federal law, codified by Congress, provides everyone in the

          9     country the right to access all the case file, child support case file, maintained by

         10     every and any State Government, and that is, I’m not the, eh, the, Congress has

         11     never said that’s sufficient expedition (?). Congress has said, you’re allowed to

         12     have your entire case file and from there on, you’re even allowed to ask

         13     questions. Why was this, why was, that’s the due process and that is the equal

         14     protection, and that is the Privileges and Immunities Clause that we’re all

         15     guaranteed and living under. This is an interstate case. I am entitled by the

         16     Constitution and by Federal laws 654 to 666 to have access to my entire file. I

         17     cannot, I am unable, no custodial parent or non-custodial parent is able, that’s

         18     mentioned in the Social Security Act, would be un-,would be able to actually

         19     identify, say this is the document I’m asking for, but they don’t have access to,

         20     to the file.

         21                                            THE COURT: Ma’am, you have access to

         22     all of the Court orders.

         23                                            DEFENDANT: I-

         24                                            THE COURT: The Court-

         25                                            DEFENDANT: But I-

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          1                                            THE COURT: -the Court, the Court is

          2     what establishes the, the child support order, the arrears order, and interest goes

          3     along with that, Ma’am. So-

          4                                            DEFENDANT: You’re talking about this

          5     agreement that we’re deal, talking about. Agreement that you just mentioned

          6     that, Your Honor, deals with my case file and this is the case file I am, by law,

          7     by the (inaudible), by Federal law, by Texas law, and by Rhode Island law,

          8     entitled to have access to, and Mr. Gould and the Child Support, uh, Services

          9     and, uh, of Human Services denies me both, all denying me access to those. So,

         10     I am again, asking for that. I will ask in every possible jurisdiction for those

         11     because I am entitled, by law, at least three jurisdictions. By Texas law, by

         12     Federal law-

         13                                            THE COURT: Thank you.

         14                                            DEFENDANT: -and by Rhode Island law.

         15                                            THE COURT: Thank you-

         16                                            DEFENDANT: Nevermore-

         17                                            THE COURT: -Mr. Gould? Thank you.

         18     Okay, you’ve, you’ve you’ve made your point. I understand what your argument

         19     is. Mr. Gould?

         20                                            ATTORNEY GOULD: Judge, I went

         21     another, I think, ten minutes, maybe nine minutes that time. I still don’t know

         22     what she’s looking for. Uh, it’s a motion to compel. If, if that’s what she wanted,

         23     then let’s have the motion to compel. Let’s hear that. Maybe, maybe she could

         24     put those thoughts into words again and maybe come up with a plan that she

         25     wants for this discovery, Judge, but what we’re doing now is wasting your time,

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          1     and wasting my time, and we’re not getting anywhere. So, we’ve provided her

          2     volumes upon volumes of documents relative to her case. She had specific

          3     questions that I objected to. The, the objections were timely. We had a

          4     conference, we went through them. After the conference, I had not heard

          5     anything from Miss, uh, Seguin. We’ve gone through, I think, since February,

          6     five or six appearances, a couple before you. I, I could, that, that could be an

          7     exaggeration. It could’ve been four, uh, but we’ve been before the Court and,

          8     and we’ve come with other issues every time and we continue this and continue

          9     this. Judge, again, in order to have equity, you have to have clean hands, and this

         10     is a person who has failed to comply with THIS Court’s orders. Not the

         11     Constitution, not the Texas law, not the, not the Congress law. This is someone

         12     who has failed to comply with your orders, with your Court’s orders on a

         13     specific matter-

         14                                            DEFENDANT: Objection.

         15                                            ATTORNEY GOULD: -with child support

         16     with a very-

         17                                            DEFENDANT: Ob, objection.

         18                                            ATTORNEY GOULD: -very basic needs

         19     of a child-

         20                                            DEFENDANT: Objection.

         21                                            ATTORNEY GOULD: -and we’re gonna

         22     give-

         23                                            THE COURT: I’m gonna, I’m gonna, I’m

         24     going to allow him to speak, just like I allowed you to speak. Mr., Mr. Gould,

         25     continue.

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          1                                            ATTORNEY GOULD: I, I’ve said

          2     enough, Judge.

          3                                            DEFENDANT: Objection.

          4                                            THE COURT: Again, the Court, the Court

          5     takes judicial notice of both the May 24th, 2012 Court order, as well as the

          6     subsequent September 25th, 2012 Court order. Um, there was, um, no appeal,

          7     um, taken from either one of those Court orders. With respect to, um-

          8                                            DEFENDANT: Objection. Objection,

          9     Your Honor.

         10                                            THE COURT: Your objection is noted,

         11     thank you very, thank you, your objection is noted.

         12                                            DEFENDANT: He, he-

         13                                            THE COURT: Mr. Gould, what is the

         14     specific, uh, amount of interest that, um, is, uh, should be on the system? Is it

         15     $81,652.49?

         16                                            ATTORNEY GOULD: Yes, Judge.

         17                                            THE COURT: Okay, and was that the

         18     amount that was, um, placed on the system back in February?

         19                                            ATTORNEY GOULD: Correct, Judge.

         20                                            THE COURT: The Court finds-

         21                                            ATTORNEY GOULD: That number

         22     (inaudible)-

         23                                            THE COURT: -the Court finds that that is,

         24     based on no, absolutely no evidence to the contrary, that that is the amount, um,

         25     that should be set on this as of today, today’s date.

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          1                                           ATTORNEY GOULD: Thank you, Your

          2     Honor.

          3                                           DEFENDANT: Objection.

          4                                           THE COURT: Your objection is noted. I

          5     gave my ruling.

          6                                           DEFENDANT: May, Your Honor, Your

          7     Honor-

          8                                           THE COURT: I’ve made my ruling.

          9                                           DEFENDANT: - I would like to place on

         10     the record that I have not been able to complete the discovery that there, that the,

         11     uh, the, uh, Child Support Agency had placed on the record that there is an

         12     agree-, asking about an agreement. I have not been able to cross examine the

         13     Defendant. That is a violative of due process-

         14                                           THE COURT: Sir, you can, Sir-

         15                                           DEFENDANT: -because my, I have-

         16                                           THE COURT: Ma’am, Ma’am, Ma’am-

         17                                           DEFENDANT: -the right to examine-

         18                                           THE COURT: -if you have any questions-

         19                                           DEFENDANT: -(inaudible)-

         20                                           THE COURT: -for Mr. Meyersiek, feel

         21     free to, feel free to ask him.

         22                                           DEFENDANT: So, therefore, we are now

         23     vacating your prior decision-

         24                                           THE COURT: No, we’re not! No, we’re

         25     not!

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          1                                           DEFENDANT: -because we, because we

          2     are, we have not gone through due process in terms of my asking, be able to

          3     cross examine the Defendant. I’m sorry, the Plaintiff, the opposing party. I, I

          4     would like to ask for my witness, Mr. Gould, to be, to the witness stand.

          5                                           THE COURT: Mr. Gould-

          6                                           ATTORNEY GOULD: Objection, Judge.

          7                                           THE COURT: Mr. Gould is not, is not a

          8     witness.

          9                                           DEFENDANT: The State. The State, on

         10     the State of Rhode Island and he represents the State of Rhode Island. He was

         11     instrumen-, he had communicated with me prior to this particular proceeding,

         12     the start of proceeding in 2022, by email, by conversation, and with John

         13     Langlois. So, that’s my witness. I’d like to put on the stand, as my witness-

         14                                           THE COURT: Today, the matter before-

         15                                           DEFENDANT: -regarding-

         16                                           THE COURT: -the matter before the

         17     Court-

         18                                           DEFENDANT: -regarding-

         19                                           THE COURT: -is a motion to set-

         20                                           DEFENDANT: -the waiver of interest-

         21                                           THE COURT: -to set arrears-

         22                                           DEFENDANT: -regarding-

         23                                           THE COURT: Ma’am, Ma’am-

         24                                           DEFENDANT: -the waiver of interest-

         25                                           THE COURT: Ma’am, I’m gonna mute

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          1     you again. The matter before the Court today is simply a motion to set arrears.

          2     We set the arrears, there’s nothing further before the Court. If you wanna file a

          3     different motion, feel free to do so, but this matter is concluded with your arrears

          4     being set at $81,652.49.

          5                                             DEFENDANT: Your, unmute, am I

          6     unmuted?

          7                                             THE COURT: No. Yeah.

          8                                             DEFENDANT: Am I unmuted? Uh, I am

          9     filing, I am asking for, um, uh, reconsideration because there is, I have not, I’ve

         10     been, uh, uh, barred, obstructed from presenting evidence. I’d like to play, uh,

         11     the audio recording of the waiver of interest.

         12                                             THE COURT: Today is the motion to set

         13     the, to set the interest.

         14                                             DEFENDANT: And that’s my defense-

         15                                             THE COURT: The motion to set arrears,

         16                                             DEFENDANT: -my defense is, I would

         17     like to play the recording of the waiver of interest that the State had represented

         18     that Gero had done. If I’m obstructed from, uh, providing evidence and we have

         19     a due process issue in this proceeding. I have not been, I want to present

         20     evidence, I want to cross examine the witness, I want to pro-, I want to call my

         21     witness and I have a right to do so-

         22                                             THE COURT: Ma’am, if you want to do

         23     that, this is not, this is not the forum for that. I can do that in another proceeding.

         24                                             DEFENDANT: Yes, it is! Yes, it is-

         25                                             THE COURT: Uh, well, I respectfully dis-

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          1     agree with you.

          2                                             DEFENDANT: -because we are here-

          3                                             THE COURT: I respectfully disagree-

          4                                             DEFENDANT: -to establish, we are here

          5     to establish, we’re here supposedly to establish interest and I am presenting

          6     evidence that interest was waived.

          7                                             THE COURT: Interest was not waived in

          8     any Court order and that is the basis upon which-

          9                                             DEFENDANT: It was waived-

         10                                             THE COURT: -I made my decision today.

         11                                             DEFENDANT: -(inaudible)-

         12                                             THE COURT: Ma’am, Ma’am-

         13                                             DEFENDANT: -it was waived-

         14                                             THE COURT: -I’m muting you because

         15     you don’t let me speak. There is no Court order by this Court by any Magistrate

         16     or Judge that waived or set the interest to zero. It is still in the system, and that is

         17     why today I am going to establish that the interest owed by you on this account

         18     is set at $81,652.49. There was no Court order to the contrary. This matter is

         19     now concluded.

         20                                             DEFENDANT: I am now, I am now

         21     raising the issue, uh, that interest was waived by contract and agreement-

         22                                             THE COURT: Ma’am, I, Ma’am-

         23                                             DEFENDANT: -with Gero Meyersiek-

         24                                             THE COURT: -I, I just, Ma’am-

         25                                             DEFENDANT: -and this is all part of the-

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          1                                              THE COURT: -I just gave you the

          2     reasoning-

          3                                              DEFENDANT: -(inaudible) process-

          4                                              THE COURT: -for the Court’s decision is

          5     based on the fact that the Court file is void of any order or judgement that

          6     waived the interest of set it to zero.

          7                                              DEFENDANT: Also, the interest rate of

          8     12% compounding interest is illegal under, uh, Social Security Act. They have

          9     put out-

         10                                              THE COURT: Well, that’s the interest rate

         11     that-

         12                                              DEFENDANT: -12% compound interest-

         13                                              THE COURT: -that’s been established-

         14                                              DEFENDANT: -that is illegal under-

         15                                              THE COURT: -by the State of Rhode

         16     Island.

         17                                              DEFENDANT: -Federal law, which

         18     preempts Rhode Island law.

         19                                              THE COURT: Thank you very much, Miss

         20     Seguin-

         21                                              DEFENDANT: I just wanna make sure

         22     that-

         23                                              THE COURT: Your objection is moted.

         24                                              DEFENDANT: -(inaudible)-

         25                                              THE COURT: Thank you very much-

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          1                                           DEFENDANT: -(inaudible)-

          2                                           THE COURT: -Mr. Meyersiek-

          3                                           DEFENDANT: -also entitled-

          4                                           THE COURT: -Attorney Gould-

          5                                           DEFENDANT: -to see Judge created laws

          6     on these, this issue. I have been prevented from accessing those. There’s

          7     (inaudible) public records (inaudible)-

          8                                           THE COURT: Ma’am, we gave you every

          9     Court record you requested.

         10                                           DEFENDANT: -Federal-

         11                                           THE COURT: You requested-

         12                                           DEFENDANT: -that was all Judge

         13     created-

         14                                           THE COURT: -you requested the Court

         15     file-

         16                                           DEFENDANT: -laws. (Inaudible) 12%

         17     compounding interest-

         18                                           THE COURT: -for a number of years. I’m

         19     not going to let you yell at me.

         20                                           DEFENDANT: Why-

         21                                           THE COURT: You’re not going to talk

         22     over me.

         23                                           DEFENDANT: Why-

         24                                           THE COURT: This hearing is concluded.

         25     Thank you very much.

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          1                                            ATTORNEY GOULD: Thank you, Judge.

          2                                            DEFENDANT: I object and raise that the-

          3                                            THE COURT: Thank you-

          4                                            DEFENDANT: -interest, as well-

          5                                            THE COURT: Thank you.

          6                                            DEFENDANT: -and compound interest is

          7     illegal-

          8                                            ATTORNEY GOULD: Thank you, Judge.

          9                                            DEFENDANT: I’m looking to appeal this

         10     to the Judge, Miss, uh, Your Honor, Magistrate-

         11                                            THE COURT: And you’re, and you’re free

         12     to do so.

         13                                            DEFENDANT: And I’m doing that on an

         14     oral basis, so here are-

         15                                            THE COURT: You can file that with the

         16     Clerk-

         17                                            DEFENDANT: -I am doing that orally-

         18                                            THE COURT: You can file that with the

         19     Clerk. I will make a notation.

         20                                            DEFENDANT: -this is an oral motion, an

         21     oral motion, this is an oral motion-

         22                                            THE COURT: Thank you.

         23                                            DEFENDANT: -to-

         24                                            THE COURT: It’s noted.

         25                                            DEFENDANT: -appeal the Magistrate’s

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          1     order-

          2                                             THE COURT: Your appeal from my

          3     decision is noted. It will be put in the order.

          4                                             DEFENDANT: -for a hearing, there was

          5     no hearing on this, there was no trial on this, no trial was provided. I was

          6     prevented from, uh, from, uh, from, uh, from presenting evidence-

          7                                             THE COURT: And you may appeal my

          8     decision-

          9                                             DEFENDANT: -(inaudible) audio

         10     recording-

         11                                             THE COURT: -to a Famiy Court Justice.

         12     Thank you very much.

         13                                             DEFENDANT: I’m appealing it. I, I have

         14     appealed it orally, now.

         15                                             CLERK: Nope, can’t do that.

         16                                             THE COURT: You have to file an appeal

         17     yourself in the Clerk’s office.

         18                                             CLERK: And she has to pay for a

         19     transcript-

         20                                             DEFENDANT: According to Turner

         21     versus Rodgers, another U.S. Supreme Court case, I am entitled to not have to

         22     do a, uh, a written motion. I can do an oral motion for an appeal to a, uh, to, to

         23     the Jus-, Judge, uh, at iss-, that’s, uh, of issue and I’m requesting a hearing date

         24     for that appeal.

         25                                             CLERK: Sorry, that goes before a Judge.

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          1                                            DEFENDANT: Clerk (inaudible)-

          2                                            THE COURT: That has to go before a

          3     Family Court Judge.

          4                                            CLERK: Only the Office can give appeal

          5     dates, and there’s a process and she has to order a transcript, and pay for it,

          6     before that transcript will even be typed out.

          7                                            THE COURT: Miss Seguin, did you hear

          8     the Clerk?

          9                                            DEFENDANT: Who is the, uh, who is the,

         10     uh, the Scribe for this, the, uh, Stenographer? So, today, I wanna make very

         11     clear, you all know you’re establishing this Court, um, establishing interest and

         12     what you’re also saying is that the, the, uh, the interest was supposedly

         13     established but you’re reestablishing interest?

         14                                            THE COURT: I’ve made my ruling-

         15                                            DEFENDANT: There’s no-

         16                                            THE COURT: -I’ve made my ruling-

         17                                            DEFENDANT: -(inaudible)-

         18                                            THE COURT: -Miss Seguin, I’ve made

         19     my ruling. You’ve indicated you’re interest in appealing. That is noted for the

         20     record. We have other cases that are waiting to be heard. Thank you very much

         21     and-

         22                                            DEFENDANT: I’m looking to-

         23                                            THE COURT: -you’re free to follow up-

         24                                            DEFENDANT: -as a pro se litigant-

         25                                            THE COURT: -however you see fit. Thank

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          1     you so much.

          2                                            DEFENDANT: -I’m looking to-

          3                                            THE COURT: I understand that and thank

          4     you.

          5                                            DEFENDANT: -understand what the

          6     Court order will say.

          7                                            THE COURT: Thank-

          8                                            DEFENDANT: What will the Court order

          9     say? What will the Court order say?

         10                                            THE COURT: Mr. Gould will draft the

         11     Court order for my signature, and you’ll receive a copy of it. Thnak you very

         12     much.

         13                                            DEFENDANT: Now, what would it, what

         14     would it, so that we’re all clear, so I can also put on the record any objections.

         15     The objection, so, you’re-

         16                                            THE COURT: Miss Seguin-

         17                                            DEFENDANT: -ordering reestablishment

         18     because that’s the motion. The motion is to reestablish interest.

         19                                            THE COURT: It’s not reestablish.

         20                                            DEFENDANT: And-

         21                                            THE COURT: It’s set arrears. That was the

         22     motion, to set arrears. The arrears are the interest that you owe on the case,

         23     Ma’am, and this hearing is over.

         24                                            DEFENDANT: So, you are-

         25                                            THE COURT: I’m going to end the

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          1     hearing-

          2                                           DEFENDANT: -you are (inaudible)-

          3                                           THE COURT: You are not going to talk

          4     over me. The hearing is over. You can file your appeal. Thank you very much.

          5     Have a good day.

          6                                           DEFENDANT: I would like to put on the

          7     record-

          8                                           THE COURT: The hearing is over,

          9     Ma’am.

         10                                           DEFENDANT: -um, my appeal.

         11                                           THE COURT: The hearing is over. You

         12     can’t cont-

         13                                           DEFENDANT: I would like to put on the

         14     record for the appeal, because the appeal is critically important.

         15                                           THE COURT: I understand that.

         16                                           DEFENDANT: The appeal basically-

         17                                           THE COURT: We’re not, no, we’re not

         18     going to hear your appeal now.

         19                                           DEFENDANT: You don’t have-

         20                                           THE COURT: We’re not going to hear

         21     your appeal now.

         22                                           DEFENDANT: You don’t have, this Court

         23     does not have jurisdiction-

         24                                           THE COURT: You’ve noted you’re

         25     objection, you’ve noted your objection, you’re not going to argue your appeal

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          1     now and you’re not gonna talk over me, okay. I’ve made my ruling. You

          2     disagree with it. You have a right to appeal and the hearing is over, okay. You’re

          3     not going to argue your appeal here. You don’t like my decision, you don’t

          4     agree with my decision, and the hearing is over, because there’s nothing left to

          5     discuss. I’m ending this meeting for everyone. I’m ending-

          6                                           DEFENDANT: You-

          7                                           THE COURT: I’m ending the meeting for

          8     everyone.

          9                                           DEFENDANT: The Family Court does not

         10     have jurisdiction-

         11                                           THE COURT: Thank you.

         12                                           DEFENDANT: -over agreements between

         13     Gero and myself-

         14                                           THE COURT: Thank you. I’m ending, I’m

         15     ending the meeting. Thank you.

         16                                           DEFENDANT: I’m putting that on the

         17     record. The Family Court lacks subject matter-

         18                                           THE COURT: Okay.

         19                                           DEFENDANT: -jurisdiction, nor personal

         20     jurisdiction regarding agreements-

         21                                           THE COURT: I’m ending the meeting-

         22                                           DEFENDANT: -between Gero Meyersiek-

         23                                           THE COURT: -for everyone.

         24                                           DEFENDANT: -and myself-

         25                                           THE COURT: Thank you, Mr. Meyersiek-

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          1                                        DEFENDANT: -and that was a question-

          2                                        THE COURT: -thank you, Mr. Gould-

          3                                        DEFENDANT: -Mr. Gould had posed-

          4                                        THE COURT: Thank you very much. I’m

          5     ending the meeting for everyone.

          6                                        DEFENDANT: In-

          7

          8

          9                                        HEARING CONCLUDED.

         10

         11

         12

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                                                PUBLISHED

                    UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT


                   JIM HODGES, in his official capacity      
                   as Governor of the State of South
                   Carolina; JEAN HOEFER TOAL, in her
                   official capacity as Chief Justice of
                   South Carolina; SOUTH CAROLINA
                   DEPARTMENT OF SOCIAL SERVICES;
                   STATE OF SOUTH CAROLINA; PEOPLE OF
                   SC, on Behalf of the State of South
                   Carolina; JOHN DOE; JANE DOE, and
                   those similarly situated,
                                    Plaintiffs-Appellants,
                                     v.                              No. 00-2512
                   TOMMY G. THOMPSON, SECRETARY,
                   UNITED STATES DEPARTMENT OF
                   HEALTH AND HUMAN SERVICES; WADE
                   F. HORN, Ph.D. in his official
                   capacity as Assistant Secretary of
                   the United States Department of
                   Health and Human Services for
                   Children and Families; U.S.
                   DEPARTMENT OF HEALTH & HUMAN
                   SERVICES,
                                  Defendants-Appellees.
                                                             
                              Appeal from the United States District Court
                             for the District of South Carolina, at Columbia.
                   Julian Abele Cook, Jr., Senior District Judge, sitting by designation.
                                            (CA-00-2048-3-17)

                                           Argued: December 6, 2001

                                          Decided: November 15, 2002
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                   2                       HODGES v. THOMPSON
                       Before WIDENER, NIEMEYER, and MOTZ, Circuit Judges.



                   Affirmed by published per curiam opinion.


                                               COUNSEL

                   ARGUED: Marcus Angelo Manos, NEXSEN, PRUET, JACOBS &
                   POLLARD, L.L.C., Columbia, South Carolina, for Appellants. Greg-
                   ory George Katsas, Appellate Staff, Civil Division, UNITED
                   STATES DEPARTMENT OF JUSTICE, Washington, D.C., for
                   Appellees. ON BRIEF: Wilburn Brewer, Jr., NEXSEN, PRUET,
                   JACOBS & POLLARD, L.L.C., Columbia, South Carolina; A.E.
                   Dick Howard, Charlottesville, Virginia, for Appellants. Stuart E.
                   Schiffer, Acting Assistant Attorney General, Scott N. Schools, United
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                   Washington, D.C., for Appellees.


                                                OPINION

                   PER CURIAM:

                      The Governor of South Carolina appeals the grant of summary
                   judgment to the Secretary of the United States Department of Health
                   and Human Services in the State’s action seeking injunctive and
                   declaratory relief from conditions imposed for federal funding of the
                   Temporary Assistance to Needy Families (TANF) program.

                      South Carolina challenges the district court finding that Congress
                   acted within its Spending Clause authority when it conditioned States’
                   receipt of federal funds under the child support enforcement program
                   and the TANF program on compliance with the requirement that
                   States develop and maintain automated child support enforcement
                   systems and that such a condition was not so coercive as to violate
                   the Tenth Amendment. The State further alleges the district court
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                   erred when it found that the Secretary did not have the discretion to
                   amend the statutory penalty structure for a State’s noncompliance
                   with the child support systems requirements. In addition, South Caro-
                   lina contends the court erred in finding that the State could not invoke
                   the protections of the Due Process Clause. After considering the par-
                   ties’ briefs and the record, and following oral argument, we affirm
                   substantially on the reasoning of the district court.

                                                      I.

                      The district court opinion contains a comprehensive history, the
                   details of which need not be repeated here, of the federal govern-
                   ment’s longstanding involvement in child support enforcement pro-
                   grams and related federal efforts to work with the States to solve the
                   serious problem of nonpayment of child support. See Hodges v. Sha-
                   lala, 121 F.Supp.2d 854 (D.S.C. 2000). Currently, as a condition of
                   receipt of any federal funding under Title IV-D of the Social Security
                   Act, 42 U.S.C. §§ 651-669, States must have an approved state plan
                   for child and spousal support that meets all the requirements of 42
                   U.S.C. § 654. Among the prerequisites for approval of a Title IV-D
                   Plan are the requirements that the State establish and operate an auto-
                   mated data processing and information retrieval system, see 42 U.S.C.
                   § 654(24), and a state child support disbursement unit (SDU), see 42
                   U.S.C. § 654(27)(A). South Carolina concedes that it has neither a
                   federally certifiable statewide automated system for child support nor
                   an SDU. See Hodges, 121 F. Supp. 2d at 861.

                      Without an approved state plan, a State may lose federal funding
                   under both Title IV-D (child support enforcement) and Title IV-A
                   (TANF). See 42 U.S.C. § 655(a)(1)(A); 42 U.S.C. § 602(a)(2). Alter-
                   natively, a State may opt for an alternative penalty in lieu of disap-
                   proval of their state plan and the withholding of federal funds if the
                   State is making a good faith effort to comply with the program’s
                   requirements and the State has submitted a corrective compliance
                   plan. See 42 U.S.C. § 655(a)(4). South Carolina has elected to incur
                   the alternative penalty.

                      We exercise jurisdiction pursuant to 28 U.S.C. § 1291 and review
                   a district court’s grant of summary judgment de novo. See United
                   States v. Kanasco, Ltd., 123 F.3d 209, 210 (4th Cir. 1997).
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                                                     II.

                      We turn first to South Carolina’s contention that the federal gov-
                   ernment’s requirements and penalties associated with the state-wide
                   automated systems, which South Carolina failed to provide, exceed
                   Congressional authority under the Spending Clause and the Tenth
                   Amendment.

                      Consistent with its Spending Power, Congress may attach condi-
                   tions on the receipt of federal funds. See South Dakota v. Dole, 483
                   U.S. 203, 206 (1987). The Spending Power is not unlimited, of
                   course, and the Supreme Court has recognized four general limita-
                   tions: spending must be in pursuit of the general welfare; any attached
                   conditions must be unambiguous; conditions must also be related to
                   a federal interest; and, the obligations imposed by Congress may not
                   violate any independent constitutional provisions. See Dole, 483 U.S.
                   at 207-08.

                      The district court found that "Congress made a considered judg-
                   ment that the American people would benefit significantly from the
                   enhanced enforcement of child-support decrees and the diminution of
                   the number of parents who are able to avoid their obligations simply
                   by moving across local or state lines." Hodges, 121 F. Supp. 2d at
                   873. Thus, like the district court, we are satisfied that Congress acted
                   in the general welfare when it enacted the child support enforcement
                   programs and the associated funding conditions under Title IV-D.

                      South Carolina’s contention that the Title IV-D conditions are
                   ambiguous is without merit. The statute expressly provides that com-
                   pliance with the automated system and SDU requirements is a condi-
                   tion of approval of a state plan. See 42 U.S.C. § 654(16), (24)(27)A.
                   We agree with the district court that the clear and unequivocal state-
                   ment of the required conditions in the statute enabled South Carolina
                   to "exercise [her] choice knowingly, cognizant of the consequences of
                   [her] participation." See Dole, 483 U.S. at 207 (citations omitted).

                     A third limitation on the Spending Power requires that conditions
                   "bear some relationship to the purpose of the federal spending." New
                   York v. United States, 505 U.S. 144, 167 (1992) (citing Dole, 483
                   U.S. at 207-08, n.3). Here, there is a complementary relationship
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                   between efficient child support enforcement and the broader goals of
                   providing assistance to needy families through the TANF program.
                   Establishing paternity and collecting child support may enable fami-
                   lies to reduce their dependence on the welfare system, and both pro-
                   grams are intended to reduce the incidence of poverty among children
                   and families. The Supreme Court has recognized that Congress
                   intended these linkages between child support programs and the
                   TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484 (1990)
                   (concluding Congress intended the two programs to "operate together
                   closely to provide uniform levels of support for children of equal need").1

                      South Carolina does not contend that the Title IV-D conditions vio-
                   late the fourth limitation on the Spending Power — that the condi-
                   tions violate any independent Constitutional prohibition, rather it
                   raises a Tenth Amendment2 challenge. As we have recently recon-
                   firmed, "the Tenth Amendment itself does not act as a constitutional
                   bar to Congress’s spending power; rather, the fourth restriction on
                   Congress’s spending power stands for the more general proposition
                   that Congress may not induce the states to engage in activities that
                   would themselves be unconstitutional." James Island Pub. Serv. Dist.
                   v. City of Charleston, 249 F.3d 323, 327 (4th Cir. 2001) (citing Kan-
                   sas v. United States, 214 F.3d 1196, 1199 (10th Cir. 2000)) (italics in
                   original). We therefore next consider South Carolina’s Tenth Amend-
                   ment argument, not as a limitation related to the Spending Clause, but
                   as an independent constitutional challenge.

                      South Carolina argues that the coercive effect of the Title IV-D
                   conditions run afoul of the protections of the Tenth Amendment. The
                   Supreme Court has recognized that the Tenth Amendment may be
                   implicated when the financial incentives offered by the federal gov-
                   ernment to the States cross the impermissible line where "pressure
                     1
                        Sullivan considered the relationship between child enforcement pro-
                   grams and Aid to Families with Dependent Children (AFDC). 496 U.S.
                   at 478. TANF is a block grant program established in 1996 as the succes-
                   sor to the AFDC program. See 42 U.S.C. §§ 601-618.
                      2
                        The Tenth Amendment states: "The powers not delegated to the
                   United States by the Constitution, nor prohibited by it to the States, are
                   reserved to the States respectively, or to the people." U.S. Const. amend.
                   X.
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                   turns into compulsion." See Dole, 483 U.S. at 211 (citations omitted).
                   Congress may use its Spending Power to influence a State’s legisla-
                   tive choices by providing incentives for States to adopt certain poli-
                   cies, but may not compel or coerce a State, or go so far as to
                   "commandeer the legislative processes of the States by directly com-
                   pelling them to enact and enforce a federal regulatory program." See
                   New York v. United States, 505 U.S. at 161, but Congress, under the
                   Commerce Clause, may offer the States a choice of regulation under
                   federal control or preemption under federal regulation. See Hodel v.
                   Virginia Surface Mining & Reclamation Assn., Inc., 452 U.S. 264,
                   288 (1981).

                      The district court found that, based on the State’s own admission,
                   the alternative penalty, which South Carolina has now elected, would
                   result in the loss of a small fraction of the State’s TANF funds and
                   that such a proportion was noncoercive. Given the linkages between
                   child support enforcement and aid to needy families and the level of
                   the alternative penalty, we agree with the district court’s conclusion
                   that "the Title IV-D conditions are not so overbearing as to create an
                   unconstitutional compulsion." Hodges, 121 F.2d at 875.

                      South Carolina next contends that the Secretary of the Department
                   of Health and Human Services (HHS) has the discretion to deviate
                   from the alternative penalty structure of Title VI-D in order to
                   respond to the peculiar circumstances that led to South Carolina’s
                   noncompliance. Specifically, South Carolina argues that its inability
                   to comply with the automated system and SDU requirements was
                   caused by the failure of its prime contractor, Unisys, to deliver on its
                   contract with the State. South Carolina maintains that because its non-
                   compliance was no fault of its own and its alternative systems are in
                   substantial compliance with the goals of the statute, the Secretary
                   abused her discretion by refusing to grant South Carolina an evidenti-
                   ary hearing and waive or amend the alternative penalty for noncom-
                   pliance.

                      We have examined the penalty provisions of the statute and, like
                   the district court, cannot find the discretion South Carolina envisions.
                   The wording of the statute is plain. Where the Secretary determines
                   that a state plan would be disapproved, and where the State has made
                   and continues to make a good faith effort to comply and has submit-
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                   ted a corrective compliance plan, "the Secretary shall not disapprove
                   the State plan . . . and the Secretary shall reduce the amount other-
                   wise payable to the State [by the designated alternative penalty]." 42
                   U.S.C. § 655(a)(4)(A)(i)(II) (emphasis added). Again, we agree with
                   the district court that "[b]y the text of the statute, the legislature has
                   prescribed that the Secretary shall enforce this penalty." Hodges, 121
                   F.2d at 879. Absent any discretion available to the Secretary to
                   impose a lesser penalty than the alternative penalty as outlined in the
                   statute, South Carolina’s assertion that it is entitled to an evidentiary
                   hearing must also fail.3

                                                      III.

                      For the foregoing reasons, we are of opinion that the Title IV-D
                   provisions are constitutionally valid under the Spending Clause and
                   the Tenth Amendment and that the Secretary lacks discretion under
                   Title IV-D to deviate from the penalty provisions.

                     The judgment of the district court is accordingly

                                                                               AFFIRMED.

                     3
                      In the district court, South Carolina asserted a Due Process claim
                   which the district court denied. The court concluded that the "State can-
                   not invoke the protections of the Fifth Amendment with claims that [the
                   State] has been harmed." Hodges, 121 F.2d at 865. South Carolina does
                   not take issue with the district court’s holding, but rather, on appeal it
                   asserts that the State is entitled to assert a Due Process claim on behalf
                   of its citizens. Because this contention was never properly presented to
                   the district court, we do not consider it now. See McGowan v. Gillen-
                   water, 429 F.2d 586, 587 (4th Cir. 1970).
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                                             No. 10-10

                     In the Supreme Court of the United States

                               MICHAEL D. TURNER, PETITIONER
                                                  v.
                                   REBECCA L. ROGERS, ET AL.


                                     ON WRIT OF CERTIORARI
                            TO THE SUPREME COURT OF SOUTH CAROLINA



                      BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
                                 SUPPORTING REVERSAL




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                                    QUESTIONS PRESENTED

                         1. Whether the Court has jurisdiction to review the
                     decision of the South Carolina Supreme Court.
                         2. Whether due process requires that the State pro-
                     vide counsel, at its expense, to an indigent parent in a
                     child-support proceeding, when the parent is subject to
                     a civil-contempt order for non-payment that may lead to
                     confinement.




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                     In the Supreme Court of the United States
                                             No. 10-10
                                MICHAEL D. TURNER, PETITIONER
                                                 v.
                                   REBECCA L. ROGERS, ET AL.


                                     ON WRIT OF CERTIORARI
                            TO THE SUPREME COURT OF SOUTH CAROLINA



                       BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
                                  SUPPORTING REVERSAL



                               INTEREST OF THE UNITED STATES
                         This case concerns the due process protections that
                     apply in a state civil contempt proceeding for non-
                     payment of court-ordered child support. The state
                     child-support enforcement program at issue in the case,
                     like that in every other State, is part of one of the larg-
                     est cooperative federal-state programs, established un-
                     der the Social Services Amendments of 1974 (1975 Act),
                     Pub. L. No. 93-647, § 101(a), 88 Stat. 2351 (42 U.S.C. 651
                     et seq.) (adding Title IV-D to the Social Security Act).
                     The program, which is administered by the Secretary of
                     Health and Human Services (Secretary), provides that
                     States with approved plans for child and spousal support
                     that meet federal requirements are reimbursed by the
                     federal government for 66% of the costs of operating
                     their child-support enforcement programs. 42 U.S.C.

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                     655(a)(2)(C). The United States has a substantial inter-
                     est in the effective and equitable operation of such child-
                     support programs.
                                           STATEMENT
                         1. This case involves proceedings in South Carolina
                     family court to enforce a child-support order entered
                     against petitioner for the support of his and respondent
                     Rogers’ minor child. South Carolina, like every other
                     State, maintains a child-support enforcement program
                     as a condition of receiving federal funding for its Tempo-
                     rary Assistance for Needy Families program. Since
                     Congress first required States receiving federal funds to
                     undertake child-support enforcement efforts, it has
                     shifted its emphasis from a localized, court-based en-
                     forcement approach to centralized and automated ef-
                     forts. South Carolina, however, maintains a localized,
                     court-based approach to child-support enforcement.
                         a. Congress first required States receiving federal
                     funds to establish child-support enforcement programs
                     in 1950, pursuant to the Aid to Families with Dependent
                     Children (AFDC) program. See Social Security Act
                     Amendments of 1950, ch. 809, § 321(b), 64 Stat. 550 (re-
                     quiring States receiving AFDC funds to “provide for
                     prompt notice to appropriate law-enforcement officials
                     of the furnishing of aid to dependent children in respect
                     of a child who has been deserted or abandoned by a par-
                     ent”). In 1968, Congress required States participating
                     in AFDC to create statewide or local “organizational
                     unit[s]” for establishing paternity and collecting child
                     support. Social Security Amendments of 1967, Pub. L.
                     No. 90-248, § 201(a)(1), 81 Stat. 877-879. It also re-
                     quired States to “provide for entering into cooperative
                     arrangements with appropriate courts and law enforce-
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                     ment officials * * * to assist” with administration of
                     the program. Id. § 201(a)(1), 81 Stat. 879.
                         b. In 1975, Congress adopted Title IV-D, 42 U.S.C.
                     651 et seq., and established the general statutory frame-
                     work that exists today. See 1975 Act § 101(a), 88 Stat.
                     2351; Blessing v. Freestone, 520 U.S. 329, 333-335 (1997)
                     (describing program). The 1975 Act required States
                     participating in AFDC to “have in effect a plan ap-
                     proved” by the Secretary under Title IV-D and to “op-
                     erate a child support program in conformity with such
                     plan.” 1975 Act § 101(c)(5)(C), 88 Stat. 2360. In particu-
                     lar, each State was required to provide services to locate
                     noncustodial parents and to establish the paternity of,
                     and secure support for, children receiving AFDC bene-
                     fits. 42 U.S.C. 654(4).
                         Under the 1975 Act, AFDC recipients were required
                     to assign their support rights to the State and cooperate
                     in enforcement efforts. 42 U.S.C. 602(a)(26) (1976).
                     Amounts recovered generally were retained by the State
                     to reimburse it and the federal government for AFDC
                     assistance provided to the child’s family. 42 U.S.C.
                     657(b) (1976). Once assigned, the support obligation was
                     owed to the State and was collectible under all applica-
                     ble state processes. 42 U.S.C. 656(a)(1) (1976).1
                         The Secretary’s regulations implementing the 1975
                     Act reflected a localized, court-centered approach to
                     enforcement. States’ efforts to collect past-due child
                     support were required to include (“as applicable and
                     necessary”): “[c]ontempt proceedings to enforce an ex-
                     tant court order,” court-ordered wage garnishment, and
                       1
                          Congress required States to provide services to non-AFDC families
                     as well, 42 U.S.C. 654(6) (1976), although those families were not requi-
                     red to assign their support rights and any child support the State collec-
                     ted was paid to the family, 42 U.S.C. 657(a)(4)(B) (1976).
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                     attachment of real and personal property. 45 C.F.R.
                     303.6 (1975). States were also required to maintain suf-
                     ficient staff (either statewide or locally) to “enforce col-
                     lection of support” by “executing contempt proceedings,
                     wage assignments, obtaining garnishment orders, at-
                     taching real and personal property, criminal prosecution
                     and executing judgments.” 45 C.F.R. 303.20(c)(7)
                     (1975).
                         c. In 1984, Congress found that there remained “a
                     critical lack of child support enforcement,” which had “a
                     critical impact on the health and welfare of the children
                     of the Nation.” Child Support Enforcement Amend-
                     ments of 1984 (1984 Amendments), Pub. L. No. 98-378,
                     § 23(a)(2) and (5), 98 Stat. 1329. The 1984 Amendments
                     required States to adopt laws and procedures providing
                     for, among other things, (i) mandatory wage withhold-
                     ing; (ii) expedited processes for obtaining and enforcing
                     support orders; (iii) state income tax refund intercepts;
                     and (iv) reporting overdue support to consumer credit
                     agencies. 42 U.S.C. 666(a)(1)-(8) and (b).
                         Congress ultimately set the federal share of reim-
                     bursable expenditures at 66%, 42 U.S.C. 655(a)(2), but
                     expanded the availability of matching funds at the 90%
                     level for (optional) State expenditures for automating
                     data processing systems to improve “the monitoring of
                     support payments, the maintenance of accurate records
                     regarding the payment of support, and the prompt pro-
                     vision of notice to appropriate officials with respect to
                     any arrearages in support payments which may occur.”
                     1984 Amendments § 6, 98 Stat. 1314; 42 U.S.C. 654(16);
                     655(a)(3)(A).
                         d. Congress amended Title IV-D again in 1988 to
                     improve the rate of child-support collection. Family
                     Support Act of 1988 (1988 Act), Pub. L. No. 100-485,
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                     102 Stat. 2343. Because effective child-support enforce-
                     ment “had long been thwarted by localized enforcement
                     systems that were unable to quickly and effectively
                     track delinquent parents who crossed county and state
                     lines,” Hodges v. Shalala, 121 F. Supp. 2d 854, 874
                     (D.S.C. 2000), aff ’d, 311 F.3d 316 (4th Cir. 2002), cert.
                     denied, 540 U.S. 811 (2003), Congress in the 1988 Act
                     emphasized centralized, automated record-keeping and
                     information retrieval in order to improve collection
                     rates. In particular, Congress mandated “automated
                     data processing and information retrieval system[s]”
                     that had previously been optional. 1988 Act § 123(a)(C),
                     102 Stat. 2352; 42 U.S.C. 654(24).
                         The Title IV-D regulations were amended after
                     adoption of the 1988 Act. As amended, the regulations
                     omitted specific references to contempt proceedings as
                     required means for enforcing child-support obligations.
                     See 45 C.F.R. 303.6, 303.20(c)(7) (1989);2 cf. pp. 3-4, su-
                     pra.
                         e. Finally, Congress made further changes to the
                     child-support enforcement system in the Personal Re-
                     sponsibility and Work Opportunity Reconciliation Act of
                     1996 (1996 Act), Pub. L. No. 104-193, 110 Stat. 2105,
                     which, among other things, replaced AFDC with the
                     block-grant program called Temporary Assistance for
                     Needy Families (TANF).3 Those changes again empha-
                     sized a centralized, automated approach to child-support

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                          Federal financial support remained available for “[e]nforcement of
                     a support obligation” through a variety of means, including contempt
                     citations. 45 C.F.R. 304.20(b)(3)(iv).
                        3
                          The 1996 Act also imposed a five-year cap on benefits. 42 U.S.C.
                     608(a)(7). As before, a custodial parent is required to assign her rights
                     to child support to the State as part of the application for TANF assis-
                     tance. 42 U.S.C. 608(a)(3)(A).
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                     enforcement. The amended statute established detailed
                     requirements for the “statewide automated data pro-
                     cessing and information retrieval systems” made man-
                     datory in 1988. Id. § 344(a)(2), 110 Stat. 2235, 42 U.S.C.
                     654a(a). Among other things, the system must include
                     a state case registry that includes every child-support
                     case in the State, including the amount of monthly sup-
                     port owed and collected in all cases administered by the
                     state agency. 42 U.S.C. 654a(e)(1) and (4); see 42 U.S.C.
                     654a(e)(5) (States must “promptly * * * update” case
                     records when circumstances change). The States are
                     required to use their centralized databases “to the maxi-
                     mum extent feasible, to assist and facilitate the collec-
                     tion and disbursement of support payments,” including
                     by establishing wage-withholding orders and sending
                     wage-withholding notices to employers. 42 U.S.C.
                     654a(g)(1); see 42 U.S.C. 666(c).
                         f. Despite the changes in federal law, South Caro-
                     lina maintains a localized, court-based approach to child-
                     support enforcement. It is the only State that does not
                     have a certified automated system. See Office of Child
                     Support Enforcement, U.S. Dep’t of Health & Human
                     Servs., National Status of Automated Child Support
                     Systems, http://www.acf.hhs.gov/programs/cse/stsys/
                     certmap.htm.4
                       4
                         In the 1996 Act, Congress determined that any State that failed to
                     automate its child-support program should incur substantial penalties.
                     42 U.S.C. 655(a)(4). In 2000, South Carolina unsuccessfully challenged
                     the Department of Health and Human Services’ (HHS) authority to
                     impose a penalty for its non-compliance, see Hodges v. Shalala, supra,
                     and subsequently submitted a corrective-action plan and accepted
                     imposition of a penalty retroactive to 1998. The State paid more than
                     $55 million in penalties through 2007. South Carolina Dep’t of Social
                     Servs., Response to Budget Proviso 13.27 at 4 (Aug. 31, 2007),
                     http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
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                         Acting pursuant to express statutory authority, S.C.
                     Code Ann. § 43-5-235 (West Supp. 2009), the State’s De-
                     partment of Social Services has contracted with county
                     clerks of court across the State to administer its pro-
                     gram. The South Carolina courts have in turn adopted
                     a special rule governing child-support enforcement. See
                     S.C. Rule of Family Ct. 24 (S.C. Rule 24). The rule re-
                     quires clerks of court to review on a monthly basis “all
                     child support and periodic alimony accounts paid
                     through the clerk of court,” as are all accounts for chil-
                     dren whose custodial parent receives TANF assistance.
                     S.C. Rule 24(a); see 42 U.S.C. 608(a)(3)(A). When any
                     such account is in arrears, the clerk is required to “issue
                     a rule to show cause and an affidavit identifying the or-
                     der of the court which requires such payments to be
                     made and the amount of the arrearage [and] directing
                     the party in arrears to appear in court at a specific time
                     and date” to face contempt proceedings. S.C. Rule
                     24(b).
                         A “wilful[]” violation of a “lawful order” of a South
                     Carolina court constitutes contempt and may subject the
                     contemnor to up to 12 months confinement. S.C. Code
                     Ann. § 63-3-620 (West 2010).
                         2. Respondent Rogers and petitioner are the par-
                     ents of a minor child, B.L.P. In 2003, the family court in
                     Oconee County, South Carolina, entered an Order of
                     Financial Responsibility against petitioner. Although
                     the order noted that petitioner was unemployed, the
                     court imputed a gross monthly income of $1386 to him
                     and ordered him to pay $59.72 a week in child support
                     through the court. Pet. App. 22a; see id. at 19a-24a, 25a.

                     083107.doc. We are informed by HHS that the State has now paid a
                     total of more than $72 million in penalties to date and currently owes an
                     additional incurred penalty of more than $10 million for fiscal year 2010.
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                     Because respondent Rogers was receiving public assis-
                     tance, she assigned her right to collect child support to
                     the Department of Social Services. Pet. Br. 8; see id. at
                     9 n.6 (payments were remitted to respondent Rogers
                     starting in 2004 because her benefits had ended but her
                     case continued to be administered as a Title IV-D case).
                     Petitioner fell behind on his payments, received a num-
                     ber of rules to show cause from the court clerk why he
                     should not be held in contempt, and was jailed three
                     times as a result. Id. at 9-10.
                        By 2007, petitioner was $5728.76 behind on his child-
                     support payments, and a judge of the Oconee County
                     Family Court issued a bench warrant for his arrest.
                     Pet. App. 6a; Pet. Br. 8-9. A hearing was held on Janu-
                     ary 3, 2008. After noting petitioner’s outstanding bal-
                     ance and stating that he had not made a payment
                     since August 2006, the judge asked petitioner, “[i]s there
                     anything you want to say?” Id. at 17a. Petitioner re-
                     sponded:
                        Well, when I first got out, I got back on dope. I done
                        meth, smoked pot and everything else, and I paid a
                        little bit here and there. And, when I finally did get
                        to working, I broke my back, back in September. I
                        filed for disability and SSI. And, I didn’t get
                        straightened out off the dope until I broke my back
                        and laid up for two months. And, now I’m off the
                        dope and everything. I just hope that you give me a
                        chance. I don’t know what else to say. I mean, I
                        know I done wrong, and I should have been paying
                        and helping her, and I’m sorry. I mean, dope had a
                        hold to me.
                     Ibid.
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                        After a brief exchange between petitioner and re-
                     spondent about his SSI application, the court said:
                        If there’s nothing else, this will be the Order of the
                        Court. I find the Defendant in willful contempt. I’m
                        gonna sentence him to twelve months in the Oconee
                        County Detention Center. He may purge himself of
                        the contempt and avoid the sentence by having a zero
                        balance on or before his release.
                     Pet. App. 18a. The court made no finding that petitioner
                     was capable of paying the arrears while incarcerated.
                     See id. at 17a-18a.
                         At this hearing, neither petitioner nor respondent
                     Rogers was represented by counsel. Pet. App. 6a. How-
                     ever, pro bono counsel filed an appeal on petitioner’s
                     behalf, alleging that petitioner had a right under the
                     Sixth Amendment and the Due Process Clause to have
                     appointed counsel in the contempt proceeding. Id. at
                     10a-15a. Before the intermediate state court could rule,
                     the South Carolina Supreme Court granted discretion-
                     ary review and affirmed the family court. Id. at 1a-5a.
                         The court noted that the “purpose of civil contempt
                     is to coerce the defendant to comply with the court’s or-
                     der,” while criminal contempt’s purpose is “to punish a
                     party for disobedience or disrespect.” Pet. App. 2a-3a.
                     “Civil contempt sanctions are conditioned on compliance
                     with the court’s order. * * * A contemnor imprisoned
                     for civil contempt is said to hold the keys to his cell be-
                     cause he may end the imprisonment and purge himself
                     of the sentence at any time.” Id. at 3a. The court recog-
                     nized that the “distinction between civil and criminal
                     contempt is crucial because criminal contempt triggers
                     additional constitutional safeguards not mandated in
                     civil contempt proceedings.” Ibid.
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                        The court noted that in this case the family court had
                     said that petitioner could “purge himself of the con-
                     tempt” by achieving a “zero balance” on his arrearage.
                     Pet. App. 3a. Reasoning that “[t]his conditional sen-
                     tence is a classic civil contempt sanction,” the court con-
                     cluded that petitioner had no right to appointed counsel.
                     Ibid.
                                    SUMMARY OF ARGUMENT
                         1. The Court has jurisdiction to review the decision
                     of the South Carolina Supreme Court. Petitioner has
                     completed his term of confinement for civil contempt
                     and has not identified any collateral consequences flow-
                     ing from the contempt. Those facts would ordinarily
                     render his case moot. Petitioner, however, qualifies for
                     a narrow exception to the mootness doctrine because the
                     controversy is capable of repetition yet evading review.
                     Sentences for civil contempt in South Carolina are lim-
                     ited to 12 months, and it is highly unlikely that peti-
                     tioner would be able to secure plenary review by this
                     Court within any future period of confinement. In addi-
                     tion, the constitutional violation petitioner asserts is
                     capable of repetition because he remains subject to the
                     underlying child-support order and still has substantial
                     arrears. There is thus a reasonable expectation that he
                     will receive automatically-generated rules to show cause
                     for contempt in the future. Indeed, since the contempt
                     at issue in this case, petitioner has been jailed again for
                     civil contempt.
                         2. Petitioner’s confinement for civil contempt vio-
                     lated due process, not because he lacked counsel, but
                     because the procedures employed by the family court
                     were inadequate to ensure the accurate determination of
                     petitioner’s present ability to pay his child-support ar-
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                     rears. That ability to pay was a necessary predicate to
                     the civil contempt sanction.
                         The defining feature of confinement for civil con-
                     tempt is its purpose to coerce compliance with a court
                     order. Such confinement must therefore end upon dis-
                     charge of the contemnor’s obligations; he is said to hold
                     “the keys of [his] prison in [his] own pocket[].” Shilli-
                     tani v. United States, 384 U.S. 364, 368 (1966) (citation
                     omitted). Such confinement may not be imposed, how-
                     ever, where the contemnor demonstrates his inability to
                     comply with the order. In such cases, he does not truly
                     hold the keys to the prison; to confine him nonetheless
                     would render the confinement punitive and thus a sanc-
                     tion that may be imposed only after compliance with
                     criminal case safeguards.
                         The question of petitioner’s ability to pay his child-
                     support arrears therefore should have been a focus of
                     the civil contempt proceeding, but it was not. Pro se
                     petitioner was afforded no meaningful opportunity to
                     establish his indigency, and even after he made a state-
                     ment that could have easily been understood to mean he
                     had no present ability to pay nearly $6000 to avoid jail,
                     the family court judge made no further inquiry on the
                     matter before committing him to a nominally conditional
                     term of confinement.
                         The proceeding did not comply with due process be-
                     cause there was a serious risk of erroneous deprivation
                     of petitioner’s liberty through the procedures employed
                     and because additional procedures would have enhanced
                     the accuracy of the proceeding without materially im-
                     pinging on any governmental interest. See Mathews v.
                     Eldridge, 424 U.S. 319, 335 (1976). Provision of counsel
                     would have been a sufficient, but not a necessary, means
                     of satisfying due process in this case. There were other
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                     means of providing petitioner with a meaningful oppor-
                     tunity to establish his present inability to pay, such as
                     asking him to complete an understandable form seeking
                     his financial information, or asking him questions on the
                     topic as necessary at a hearing. In the typical case, pro-
                     viding basic information about one’s personal finances is
                     not the kind of undertaking that requires assistance of
                     counsel, and due process protections are based on the
                     requirements of the mine-run case, not the exceptional
                     one.
                         There is no basis for petitioner’s proposed categori-
                     cal due process right to appointed counsel in civil con-
                     tempt proceedings where confinement is imposed. The
                     Court has declined to recognize a categorical constitu-
                     tional right to appointed counsel in the context of other
                     non-criminal proceedings that can result in confinement.
                     Gagnon v. Scarpelli, 411 U.S. 778, 782-790 (1973) (pro-
                     bation revocation); Middendorf v. Henry, 425 U.S. 25, 43
                     (1976) (summary court-martial). Civil contempt pro-
                     ceedings in child-support cases are relatively brief; the
                     custodial parent may not be represented by counsel; and
                     the issues in dispute are generally not complex. Given
                     those circumstances, there is no warrant for recognizing
                     a categorical right to defense counsel in such proceed-
                     ings. Finally, recognizing a due process right to counsel
                     in such proceedings would upset the balance struck by
                     Title IV-D and its implementing regulations, both of
                     which stress the importance of due process protections
                     in child-support proceedings but neither of which permit
                     federal funding for provision of counsel.
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                                            ARGUMENT
                     I.   THE COURT HAS JURISDICTION TO REVIEW THE DE-
                          CISION OF THE SOUTH CAROLINA SUPREME COURT
                         Although petitioner has completed his term of con-
                     finement for the civil contempt at issue here, his claim is
                     not moot because he remains subject to the underlying
                     child-support order and because there is a reasonable
                     expectation that he will face future contempt proceed-
                     ings. His claim thus avoids mootness because it is capa-
                     ble of repetition yet evading review. This Court thus
                     has jurisdiction to review the final judgment of the
                     South Carolina Supreme Court. See 28 U.S.C. 1257(a).
                         1. “In general a case becomes moot when the issues
                     presented are no longer ‘live’ or the parties lack a le-
                     gally cognizable interest in the outcome.” Murphy v.
                     Hunt, 455 U.S. 478, 481 (1982) (internal quotation marks
                     omitted) (quoting United States Parole Comm’n v.
                     Geraghty, 445 U.S. 388, 396 (1980)). While a currently
                     confined individual’s challenge to his confinement gener-
                     ally presents no question of mootness, an individual who
                     has been released from confinement ordinarily may con-
                     tinue to press his challenge only if he suffers some “col-
                     lateral consequence” that constitutes a “concrete
                     and continuing injury.” Spencer v. Kemna, 523 U.S. 1,
                     7 (1998). Because this Court “ha[s] been willing to pre-
                     sume that a wrongful conviction has continuing collat-
                     eral consequences,” the Court ordinarily will not dismiss
                     as moot a criminal defendant’s challenge to his convic-
                     tion once the defendant has completed his term of im-
                     prisonment. Id. at 8. But the Court has not employed
                     that presumption in other contexts, instead requiring a
                     party not in custody to demonstrate that he will actually
                     face collateral consequences if he does not secure relief
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                     on appeal. See id. at 14 (no presumption of collateral
                     consequences for parole revocation); see also id. at 14-16
                     (reviewing party’s claimed collateral consequences).
                         Petitioner has completed his term of confinement for
                     civil contempt. Because he challenges a civil order, not
                     a criminal conviction, no presumption of collateral conse-
                     quences applies. Moreover, petitioner has not identified
                     any collateral consequences flowing from the finding of
                     civil contempt. Ordinarily, petitioner’s challenge to that
                     finding would be considered moot and beyond this
                     Court’s jurisdiction.
                         2. Petitioner’s claim in this case, however, avoids
                     mootness because his is one of the “exceptional situa-
                     tions” in which a claim is capable of repetition, yet evad-
                     ing review. City of L.A. v. Lyons, 461 U.S. 95, 109
                     (1983). In non-class actions, this doctrine requires satis-
                     faction of two elements: “(1) the challenged action was
                     in its duration too short to be fully litigated prior to its
                     cessation or expiration, and (2) there [is] a reasonable
                     expectation that the same complaining party would be
                     subjected to the same action again.” Murphy, 455 U.S.
                     at 482 (quoting Weinstein v. Bradford, 423 U.S. 147, 149
                     (1975) (per curiam)). Petitioner satisfies both elements.
                         First, confinement for civil contempt in South
                     Carolina is limited to 12 months, S.C. Code Ann.
                     § 63-3-620 (West 2010), and it is exceedingly unlikely
                     that a contemnor could appeal through the South
                     Carolina court system, petition this Court for a writ of
                     certiorari, and receive a decision on his claim within
                     such a limited time period. See, e.g., First Nat’l Bank v.
                     Bellotti, 435 U.S. 765, 774 (1978) (18 months was “too
                     short a period of time for appellants to obtain complete
                     judicial review”); cf. DeFunis v. Odegaard, 416 U.S. 312,
                     319 (1975) (per curiam) (future challenge to law school
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                     admission procedure could likely come to this Court for
                     decision within three-year period of law school matricu-
                     lation). Indeed, in this case, petitioner had completed
                     his term of imprisonment for civil contempt more than
                     a year before the South Carolina Supreme Court ren-
                     dered its decision. Compare Pet. App. 8a with id. at 1a.
                         Second, petitioner “can make a reasonable showing
                     that he will again be subjected to the alleged illegality.”
                     Lyons, 461 U.S. at 109. Petitioner is still subject to the
                     underlying order for child support, and he is nearly
                     $14,000 in arrears. Pet. Br. 15; J.A. 104a. Given that
                     clerks of court in South Carolina automatically issue
                     rules to show cause when a non-custodial parent is late
                     on a required payment, there is a reasonable expectation
                     that petitioner will again be subject to contempt pro-
                     ceedings. Indeed, after he was released from jail for the
                     contempt at issue here, petitioner was again held in con-
                     tempt and reincarcerated. In May 2010 yet another rule
                     to show cause for contempt issued due to failure to pay
                     support to respondent. Pet. Br. 13-15; see id. at 15 (May
                     2010 rule to show cause is still outstanding); see also
                     Olmstead v. L.C., 527 U.S. 581, 594 n.6 (1999) (suit by
                     plaintiffs seeking community-based services rather than
                     institutionalization not moot even though they were then
                     receiving desired services, because of “the multiple in-
                     stitutional placements [they] ha[d] experienced”). This
                     is thus far from “an abstract dispute about the law” that
                     might be thought “unlikely to affect [petitioner] any
                     more than it affects other [South Carolina] citizens.”
                     Alvarez v. Smith, 130 S. Ct. 576, 580 (2009).5
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                         That petitioner was represented by pro bono counsel in a subse-
                     quent contempt proceeding involving a different support order, see Pet.
                     Br. 15 n.10, does not mean his claim is incapable of repetition. Were pro
                     bono counsel bound to represent petitioner in every future contempt
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                     II. THE ABSENCE OF ADEQUATE PROCEDURES NECES-
                         SARY TO SECURE AN ACCURATE ADJUDICATION OF
                         CIVIL CONTEMPT VIOLATED DUE PROCESS
                         The validity of the civil contempt order against peti-
                     tioner turned on a critical fact: his present ability to
                     purge himself of contempt by paying off his past-due
                     child support. The family court’s procedures in this case
                     violated due process because they were inadequate to
                     ensure an accurate determination of that fact and thus
                     prevent an erroneous deprivation of petitioner’s liberty.
                     Although provision of government-provided counsel
                     would have been a sufficient means of complying with
                     due process requirements in this case, it was not a nec-
                     essary one. Other mechanisms, such as requiring an
                     affidavit for disclosure of financial information and a
                     preliminary assessment of petitioner’s current ability to
                     pay child support, would have satisfied the requirements
                     of due process.
                         A. Confinement For Civil Contempt Is Permitted Only
                            When The Contemnor Is Presently Able To Comply With
                            The Underlying Order
                        Both civil and criminal contempt can lead to confine-
                     ment, but this Court has long distinguished the two
                     based on the “character and purpose” of the sanction
                     imposed. Gompers v. Buck’s Stove & Range Co., 221
                     U.S. 418, 441 (1911). In civil contempt, the “punishment
                     * * * [is] remedial,” in that it is intended to “coerc[e]

                     proceeding, then his claim of entitlement to the assistance of counsel
                     would be moot. There is no indication in the record, however, that pro
                     bono counsel is under any such obligation, and, in fact, counsel did not
                     appear in a 2009 contempt proceeding involving support owed respon-
                     dent, see id. at 13-14 (noting that petitioner appeared pro se in 2009 and
                     served six months for civil contempt).
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                     the defendant to do what he had refused to do.” Id. at
                     442. Punishment for criminal contempt, on the other
                     hand, is “punitive” and is imposed “to vindicate the au-
                     thority of the court.” Id. at 441.
                         Because of that fundamental distinction, confinement
                     imposed for civil contempt is conditional. The sentence
                     must include a purge clause under which the contemnor
                     will be immediately released upon compliance with the
                     underlying court order. Hicks v. Feiock, 485 U.S. 624,
                     634 (1988). When confined under such a civil contempt
                     order, the contemnor holds “the keys of [his] prison in
                     [his] own pocket[ ].” Shillitani v. United States, 384
                     U.S. 364, 368 (1966) (citation omitted); see id. at 370
                     (“While any imprisonment, of course, has punitive and
                     deterrent effects, it must be viewed as remedial if the
                     court conditions release upon the contemnor’s willing-
                     ness” to comply with a court order.).
                         A purge clause by itself, however, will not render the
                     contemnor’s confinement remedial rather than punitive
                     because “the justification for coercive imprisonment as
                     applied to civil contempt depends upon the ability of the
                     contemnor to comply with the court’s order.” Shillitani,
                     384 U.S. at 370-371. Accordingly, “punishment may not
                     be imposed in a civil contempt proceeding when it is
                     clearly established that the alleged contemnor is unable
                     to comply with the terms of the order.” Hicks, 485 U.S.
                     at 638 n.9; see Maggio v. Zeitz, 333 U.S. 56, 72 (1948)
                     (“[T]o jail one for a contempt for omitting an act he is
                     powerless to perform would * * * make the proceeding
                     purely punitive, to describe it charitably.”); see also
                     Moseley v. Mosier, 306 S.E.2d 624, 626 (S.C. 1983)
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                     (“When the parent is unable to make the required pay-
                     ments, he is not in contempt.”).6
                         The burdens of production and persuasion may be
                     placed on the defendant to demonstrate his present in-
                     ability to comply with an order. See Hicks, 485 U.S. at
                     637; United States v. Rylander, 460 U.S. 752, 757 (1983).
                     Accordingly, if the defendant “offers no evidence as to
                     his inability to comply,” “stands mute,” or is disbelieved
                     by the court, then he fails to carry his burden and may
                     be held in contempt. Maggio, 333 U.S. at 75. But the
                     trial court “is obliged” to consider “all the evidence
                     properly before it in the contempt proceeding in deter-
                     mining whether or not there is actually a present ability
                     to comply and whether failure so to do constitutes delib-
                     erate defiance which a jail term will break.” Id. at 76.
                         If, upon examination, a contempt penalty is consid-
                     ered punitive rather than remedial, it will be vacated
                     unless all “the protections that the Constitution requires
                     of * * * criminal proceedings” were provided. Inter-
                     national Union, United Mine Workers v. Bagwell, 512
                     U.S. 821, 826 (1994) (quoting Hicks, 485 U.S. at 632).




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                          A defendant may not avoid a finding of civil contempt for violating
                     an order by collaterally attacking that order in the contempt proceed-
                     ing. See Maggio, 333 U.S. at 74-75. The defendant may, however,
                     make the distinct assertion that he has a “present inability to comply
                     with the order in question.” United States v. Rylander, 460 U.S. 752,
                     757 (1983); see ibid. (“While the court is bound by the enforcement
                     order, it will not be blind to evidence that compliance is now factually
                     impossible. Where compliance is impossible, neither the moving party
                     nor the court has any reason to proceed with the civil contempt
                     action.”); Maggio, 333 U.S. at 74-75.
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                        B. The Family Court’s Procedures Were Inadequate To
                           Ensure An Accurate Determination Of Present Ability
                           To Pay
                         The procedures employed by the family court vio-
                     lated petitioner’s due process rights because they were
                     inadequate to ensure that petitioner was not erroneously
                     confined as an inducement to perform a task he was
                     powerless to perform, while additional procedures to
                     ensure petitioner’s present ability to pay his child-sup-
                     port arrears would have been minimally burdensome.
                         “Procedural due process imposes constraints on gov-
                     ernmental decisions which deprive individuals of ‘lib-
                     erty’ or ‘property’ interests within the meaning of the
                     Due Process Clause of the Fifth or Fourteenth Amend-
                     ment.” Mathews v. Eldridge, 424 U.S. 319, 332 (1976).
                     Confinement for civil contempt is a deprivation of lib-
                     erty, and the alleged contemnor is thus entitled to pro-
                     cedural due process protections before its imposition.
                     Cf. Morrissey v. Brewer, 408 U.S. 471, 482 (1972) (termi-
                     nation of parole triggers due process protections); see
                     also Bagwell, 512 U.S. at 827 (civil contempt requires
                     “notice and an opportunity to be heard”).
                         The conclusion that due process applies is the begin-
                     ning of the inquiry, not its end, because “the require-
                     ments of due process are ‘flexible and cal[l] for such
                     procedural protections as the particular situation de-
                     mands.’ ” Wilkinson v. Austin, 545 U.S. 209, 224 (2005)
                     (brackets in original) (quoting Morrissey, 408 U.S. at
                     481). The Court has “generally * * * declined to es-
                     tablish rigid rules and instead ha[s] embraced a frame-
                     work to evaluate the sufficiency of particular proce-
                     dures.” Ibid. That framework involves “consideration
                     of three distinct factors:
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                        First, the private interest that will be affected by the
                        official action; second, the risk of an erroneous depri-
                        vation of such interest through the procedures used,
                        and the probable value, if any, of additional or substi-
                        tute procedural safeguards; and finally, the Govern-
                        ment’s interest, including the function involved and
                        the fiscal and administrative burdens that the addi-
                        tional or substitute procedural requirements would
                        entail.
                     Mathews, 424 U.S. at 335.
                         Application of the Mathews factors here demon-
                     strates that the family court proceeding did not comply
                     with the requirements of procedural due process. First,
                     petitioner’s private interest in avoiding incarceration
                     was significant. See Foucha v. Louisiana, 504 U.S. 71,
                     80 (1992).
                         Second, there was a serious “risk of an erroneous
                     deprivation” of petitioner’s liberty interest under the
                     procedures employed by the family court, and there
                     would have been value in additional procedures.
                     Mathews, 424 U.S. at 335. Petitioner did not dispute
                     that he had failed to comply with his child-support or-
                     der, so the propriety of his confinement for civil con-
                     tempt thus turned on his present ability to do so. See
                     pp. 17-18, supra; Pet. Br. 3-4 (petitioner’s ability to pay
                     “was the precise question before the family court”); id.
                     at 17. But South Carolina automatically referred peti-
                     tioner for contempt proceedings without considering
                     whether petitioner was employed or had assets. At the
                     contempt hearing, the court solicited no financial infor-
                     mation from petitioner, nor was there apparently any
                     mechanism in place for him to provide it on his own. Pe-
                     titioner’s statement at the hearing that he had been un-
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                     able to work because he broke his back, Pet. App. 17a,
                     could reasonably be understood to constitute a claim
                     that he had no present ability to pay nearly $6000. The
                     court did not explore this question, however; it made no
                     inquiry into petitioner’s income or assets. Instead, the
                     court imposed a jail sentence unaccompanied by any
                     finding that petitioner had the ability to pay off his out-
                     standing balance from a jail cell.7 Taking additional
                     modest steps to determine whether petitioner had the
                     present ability to discharge his obligation, see pp. 24-25,
                     infra, would have improved the accuracy of the proceed-
                     ing.
                         Finally, the government’s interests also favor addi-
                     tional procedural safeguards to ensure that only those
                     parents with a present ability to pay are confined for
                     civil contempt. While the State has a strong interest in
                     enforcing child-support orders, it secures no benefit
                     from jailing a non-custodial parent who cannot discharge
                     his obligation. The period of incarceration makes it less,
                     rather than more, likely that such parent will be able to
                     pay child support. See Elizabeth G. Patterson, Civil
                     Contempt & the Indigent Child Support Obligor: The
                     Silent Return of Debtor’s Prison, 18 Cornell J.L. & Pub.
                     Pol’y 95, 126 (2008) (Civil Contempt). Meanwhile, the
                     State incurs the substantial expense of confinement.
                         Moreover, as a general matter, the routine use of
                     contempt for non-payment of child support is likely to be
                     an ineffective strategy for enforcing support orders.
                     See National Child Support Enforcement, U.S. Dep’t
                     of Health & Human Servs., Strategic Plan: FY 2005-
                     2009, at 2, 10 (Strategic Plan), http://www.acf.hhs.gov/
                       7
                         The judge told petitioner, “[i]f you’ve got a job, I’ll make you eli-
                     gible for work release,” Pet. App. 18a, but petitioner states he was ineli-
                     gible for work release, Pet. Br. 12 n.8.
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                     programs/cse/pubs/2004/Strategic_Plan_FY2005-2009.
                     pdf. While child-support recovery efforts once “followed
                     a business model predicated on enforcement” that “in-
                     tervened only after debt, at times substantial, accumu-
                     lated and often too late for collection to be successful, let
                     alone of real value to the child,” experience has shown
                     that alternative methods—such as order modifications,
                     increased contact with non-custodial parents, and use of
                     “automation to detect non-compliance as early as possi-
                     ble”—are more effective. Id. at 2.
                         A substantial portion of child-support obligors have
                     no or low reported income. Elaine Sorensen et al., As-
                     sessing Child Support Arrears in Nine Large States &
                     the Nation 22 (2007) (Assessing Child Support Arrears),
                     http://aspe.hhs.gov/hsp/07/assessing-CS-debt/report.pdf
                     (obligors with $10,000 or less in annual income consti-
                     tuted half of the child-support obligors and owed 70% of
                     the arrears in a nine-state study). Such individuals’
                     child-support obligations are often substantial. See id.
                     at 54 (“For obligors with reported income of $10,000 a
                     year or less, the median percent of reported income that
                     was due as current support was 83[%].”). A low-income
                     individual in arrears on child-support payments is
                     “rarely a candidate for civil incarceration because of the
                     likelihood that he or she is unable to pay the hefty sum
                     represented by the accumulated arrears, or even a por-
                     tion thereof that may be set by the court as the purge
                     amount.” Civil Contempt 116.8

                       8
                         To be sure, coercive enforcement remedies, such as contempt, have
                     a role to play in child-support enforcement efforts, such as with non-
                     custodial parents who are hiding assets or unreported self-employment
                     or under-the-table income. See Strategic Plan 2; Assessing Child
                     Support Arrears 4-5, 22-23, 25; Civil Contempt 97. There is no evi-
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                         Many States have taken alternative steps to avoid
                     child-support arrears, such as establishing more realis-
                     tic support orders, “increas[ing] parental participation
                     in the order establishment process,” providing employ-
                     ment services to non-custodial parents, or using automa-
                     tion tools to improve wage withholding. Assessing Child
                     Support Arrears 10-11, 80-89; see id. at 85 (study of
                     Florida program that provides employment services and
                     case management to non-custodial parents found that
                     program participants paid nearly five dollars in child
                     support for every dollar spent on the program). Such
                     alternatives, which focus on early intervention rather
                     than after-the-fact efforts to collect substantial accumu-
                     lated arrears, are more likely to be effective means of
                     enforcing the child-support obligations of the substantial
                     number of low-income obligors. See Strategic Plan 2.
                        C. Due Process Can Be Satisfied By A Variety Of Proce-
                           dures Intended To Assure An Accurate Determination Of
                           Present Ability To Pay In A Civil Contempt Proceeding
                         Petitioner argues that, in order to ensure that his
                     civil contempt proceeding “remain[ed] civil,” Pet. Br. 39,
                     due process required the appointment of counsel to as-
                     sist him in establishing his inability to comply with the
                     court’s order, see id. at 41. Although we agree that peti-
                     tioner’s due process rights were violated, we disagree
                     that the State’s failure to appoint counsel was itself the
                     basis of the violation. Appointment of counsel is cer-
                     tainly one way to help ensure an accurate determination
                     of the obligor’s current ability to pay—the determina-
                     tion on which the “civil” nature of a civil contempt sanc-
                     tion rests—but it is not the only way. It was the State’s

                     dence, however, that routine use of contempt among low-income non-
                     custodial parents is generally effective. See Civil Contempt 126.
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                     failure to provide any meaningful mechanism for making
                     that determination in this case, and not its failure to
                     provide counsel in particular, that violated petitioner’s
                     due process rights.9
                             1. Courts can comply with due process by providing a
                                meaningful opportunity for an alleged contemnor to
                                establish his present ability to pay
                         While there is no basis for a constitutional rule cate-
                     gorically requiring appointment of counsel in all civil
                     contempt that could lead to deprivation of physical lib-
                     erty, see pp. 25-32, infra, due process does require pro-
                     cedures sufficient to ensure fundamental fairness. In
                     the context of a civil contempt proceeding for non-pay-
                     ment of child support that could lead to confinement,
                     this means procedures adequate to allow a pro se con-
                     temnor to attempt to carry his burden of establishing his
                     present inability to pay.
                         Such procedures may include requiring a non-paying
                     parent to complete an understandable form seeking fi-
                     nancial information. South Carolina already requires

                       9
                          Although petitioner’s submissions below and in this Court have
                     focused on the value of appointed counsel in ensuring that indigent
                     child-support obligors are not erroneously jailed as a means of inducing
                     them to comply with their obligations, see, e.g., Pet. i, Pet. App. 13a,
                     fairly encompassed in those submissions is the proposition that due
                     process demands an appropriate procedure to evaluate an obligor’s
                     present ability to pay. See Sup. Ct. R. 14.1(a); Yee v. City of Escondido,
                     503 U.S. 519, 534 (1992). In conducting that inquiry, it should be open
                     to the Court to consider whether there are alternative procedures,
                     other than the specific procedure petitioner has proposed, that would
                     satisfy constitutional requirements. To the extent the Court concludes
                     otherwise, however, the proper course would be to dismiss the writ of
                     certiorari as improvidently granted and await a case that expressly
                     raises a broader due process claim.
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                     noncustodial parents to fill out such a form when a sup-
                     port order is originally sought in a Title IV-D case, see
                     S.C. Code Ann. § 43-5-220(c) (West Supp. 2009), but ap-
                     parently does not do so in subsequent contempt proceed-
                     ings. Requiring that such forms be completed at the
                     outset of a contempt proceeding would impose little ex-
                     pense on the State or burden on the proceeding while
                     materially advancing the accuracy of the court’s deter-
                     mination. Such information could by itself establish the
                     contemnor’s present inability to pay his arrears or, con-
                     versely, demonstrate his ability to pay. To the extent
                     the court had questions about the information on the
                     form or disbelieved it, the court could question the
                     contemnor about his finances at the contempt hearing.
                     Such simple, minimally burdensome procedures would
                     enable the court to evaluate whether the alleged
                     contemnor has the ability to pay his arrears and is thus
                     an appropriate candidate for a civil contempt sanction.
                           2. There is no basis for an inflexible right to counsel
                              rule in civil contempt proceedings
                         Although the constitutional inadequacy of the family
                     court’s procedures could have been cured by appoint-
                     ment of counsel (who presumably would have addressed
                     petitioner’s inability to pay his arrears and urged the
                     court not to jail him for that reason), appointment of
                     counsel was not constitutionally compelled.
                         a. “The very nature of due process negates any con-
                     cept of inflexible procedures universally applicable to
                     every imaginable situation.” Lujan v. G&G Fire Sprin-
                     klers, Inc., 532 U.S. 189, 196 (2001) (quoting Cafeteria &
                     Rest. Workers v. McElroy, 367 U.S. 886, 895 (1961)); see
                     Mathews, 424 U.S. at 334 (“[D]ue process is flexible and
                     calls for such procedural protections as the particular
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                     situation demands.”) (brackets in original) (quoting
                     Morrissey, 408 U.S. at 481). The question in a due pro-
                     cess case is how to ensure a fundamentally fair proceed-
                     ing, taking into account the importance of the private
                     interest at issue, the risk of error and value of additional
                     procedures, and the government’s interest. See id. at
                     335. This is not an inquiry that typically lends itself to
                     the kind of categorical approach advocated by petition-
                     er. See Gagnon v. Scarpelli, 411 U.S. 778, 789 (1973)
                     (contrasting categorical Sixth Amendment right to coun-
                     sel in criminal prosecution “with the more limited due
                     process right” in other contexts).10
                         In fact, in areas outside traditional criminal prosecu-
                     tions where an individual’s liberty is nonetheless at
                     stake, the Court has declined to recognize a categorical
                     right to counsel, instead relying on alternative proce-
                     dural safeguards to ensure due process. See Gagnon,
                     411 U.S. at 782-790; see also Middendorf v. Henry, 425
                     U.S. 25, 43 (1976) (no due process right to counsel for
                     summary courts-martial).11 For example, in Gagnon,

                       10
                          The Sixth Amendment right to counsel is inapplicable to a civil
                     contempt proceeding because it is not a “criminal prosecution[ ].” U.S.
                     Const. Amend. VI; see Bagwell, 512 U.S. at 826-827.
                       11
                          In In re Gault, 387 U.S. 1 (1967), the Court recognized a due pro-
                     cess right to appointed counsel in a juvenile delinquency proceeding,
                     but, as the Court later explained, that was because the proceeding
                     “while denominated civil, was functionally akin to a criminal trial.”
                     Gagnon, 411 U.S. at 789 n.12. In Vitek v. Jones, 445 U.S. 480 (1980), a
                     plurality would have held that there is a due process right to counsel
                     before a State involuntarily transfers a prisoner to a state mental
                     hospital for psychiatric treatment. See id. at 497. Justice Powell’s con-
                     trolling concurrence, however, disagreed, concluding that “the fairness
                     of an informal hearing designed to determine a medical issue” does not
                     “require[] participation by lawyers.” Id. at 500. Justice Powell agreed
                     that a prisoner “required assistance” in such a proceeding to ensure
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                     the Court held that due process required the govern-
                     ment to provide a preliminary and final hearing before
                     it could incarcerate an individual for violating the terms
                     of his probation. See 411 U.S. at 782; see also id. at 785-
                     786 (hearings necessary in order to provide notice of the
                     alleged probation violation and ensure “accurate finding
                     of fact and the informed use of discretion”). At the same
                     time, however, the Court rejected the “contention that
                     the State is under a constitutional duty to provide coun-
                     sel for indigents in all probation or parole revocation
                     cases.” Id. at 787; see id. at 790 (stating that due pro-
                     cess may require appointment of counsel in exceptional
                     cases). The Court recognized that “such a rule has the
                     appeal of simplicity” but concluded that “it would impose
                     direct costs and serious collateral disadvantages without
                     regard to the need or the likelihood in a particular case
                     for a constructive contribution by counsel.” Id. at 787.
                         The Court in Gagnon noted that in many cases a pro-
                     bationer’s mitigating evidence may be “so simple as not
                     to require either investigation or exposition by counsel.”
                     411 U.S. at 787. Here too, with the provision of easy-to-
                     understand forms on assets and income and, if neces-
                     sary, a colloquy with the trial court, it will often be sim-
                     ple for a delinquent child-support obligor to demon-
                     strate his present inability to discharge his obligation
                     without the assistance of appointed counsel. Indeed,
                     even in criminal cases to which the Sixth Amendment
                     right of counsel applies, defendants are not entitled to
                     government-appointed counsel for the purpose of filling
                     out the forms routinely used to establishing their finan-
                     cial eligibility for government-appointed counsel. See


                     fairness, but said that it could be “rendered by competent laymen in
                     some cases.” Ibid.
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                     18 U.S.C. 3006A(b) (counsel will be appointed only after
                     court is “satisfied after appropriate inquiry that the per-
                     son is financially unable to obtain counsel”); United
                     States v. Bauer, 956 F.2d 693, 695 (7th Cir.) (“Under the
                     Criminal Justice Act, the public fisc need not contribute
                     one penny unless the accused first establishes that he
                     cannot afford counsel. Nothing in the statute directs the
                     Treasury to assist the accused in making this determina-
                     tion.”), cert. denied, 506 U.S. 882 (1992). Just as “[n]o
                     legal expertise is needed to participate effectively in
                     hearings under the Criminal Justice Act,” ibid., no legal
                     expertise is generally required to establish inability to
                     pay child-support arrears.
                         Gagnon also expressed concern that “[t]he introduc-
                     tion of counsel into a revocation proceeding will alter
                     significantly the nature of the proceeding,” since the
                     States typically relied on probation officers to conduct
                     revocation hearings but might turn to attorneys if all
                     probationers were represented. 411 U.S. at 787. “[T]he
                     decisionmaking process will be prolonged, and the finan-
                     cial cost to the State * * * will not be insubstantial.”
                     Id. at 788. In the context of civil contempt for child sup-
                     port as well, automatic appointment of counsel could
                     delay the proceedings, create an asymmetry in repre-
                     sentation between non-custodial parents and custodial
                     parents who may appear pro se, see, e.g., Pet. App. 16a,
                     and impose considerable financial cost on the govern-
                     ment without an automatic increase in accuracy.
                         Lassiter v. Department of Social Services, 452 U.S.
                     18 (1981), upon which petitioner relies, see, e.g., Pet. Br.
                     32-33, is not to the contrary. In that decision, the Court
                     held that there was no due process right to counsel in a
                     parental-rights termination proceeding. See Lassiter,
                     452 U.S. at 32-33. In dictum, the Court said its cases
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                     had established a “presumption” that an indigent had a
                     right to appointed counsel “when, if he loses, he may be
                     deprived of his physical liberty.” Id. at 26-27. The
                     Court has not subsequently relied on any such presump-
                     tion derived from the Lassiter dictum, and Lassiter it-
                     self recognized that Gagnon, which involved a depriva-
                     tion of physical liberty, had held that “due process is not
                     so rigid as to require that the significant interests in
                     informality, flexibility and economy must always be sac-
                     rificed” through appointment of counsel. Id. at 31 (quot-
                     ing Gagnon, 411 U.S. at 788).
                         That there may be atypical cases with “complex fac-
                     tual and legal issues” (Pet. Br. 46) in which counsel
                     would provide a significant benefit beyond what could be
                     obtained through other procedural safeguards does not
                     mean there should be a right to counsel. “[P]rocedural
                     due process rules are shaped by the risk of error inher-
                     ent in the truth-finding process as applied to the gener-
                     ality of cases, not the rare exceptions.” Walters v. Na-
                     tional Ass’n of Radiation Survivors, 473 U.S. 305, 321
                     (1985) (quoting Mathews, 424 U.S. at 344); see id. at 331
                     (“existence of complexity in some cases” was not “suffi-
                     cient to warrant a conclusion that the right to retain and
                     compensate an attorney in [Veterans Administration]
                     cases is a necessary element of procedural fairness un-
                     der the Fifth Amendment”).
                         b. A recognition that due process requires fair pro-
                     ceedings before a child-support obligor can be held in
                     civil contempt but that this due process right does not
                     encompass appointment of government-funded counsel
                     is also consistent with the balance struck by Congress
                     and the Secretary in enacting and administering the
                     Title IV-D program. Cf. Middendorf, 425 U.S. at 43
                     (“[W]e must give particular deference to the determina-
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                     tion of Congress, made under its authority to regulate
                     the land and naval forces, U.S. Const., Art. I, § 8, that
                     counsel should not be provided in summary courts-mar-
                     tial.”); Walters, 473 U.S. at 319-320 (“This deference to
                     congressional judgment must be afforded even though
                     the claim is that a statute Congress has enacted effects
                     a denial of the procedural due process guaranteed by the
                     Fifth Amendment.”).
                         Congress and the Secretary have demonstrated their
                     concern that child-support-related proceedings be con-
                     ducted fairly by repeatedly making compliance with
                     procedural due process rules a requirement of State
                     participation in the program.12 At the same time, how-
                     ever, they have declined to reimburse the States for
                     the cost of providing counsel to non-custodial parents.
                     See S. Rep. No. 387, 98th Cong., 2d Sess. 23 (1984) (stat-
                     ute does not provide federal funding for “defense coun-
                     sel for absent parents” or “incarceration of delinquent
                     obligors”); 45 C.F.R. 304.23 (i) and (j) (no federal fund-
                     ing for “[t]he costs of counsel for indigent defendants in

                       12
                          See, e.g., 42 U.S.C. 666(a)(3)(A) (reduction of non-custodial parents’
                     state income tax refunds to pay overdue support permitted only “after
                     full compliance with all procedural due process requirements of the
                     State”); 42 U.S.C. 666(a)(7)(B)(i) (States must report child-support
                     delinquency to credit bureaus “only after [the] parent has been afforded
                     all due process required under State law, including notice and a reason-
                     able opportunity to contest the accuracy of such information.”);
                     42 U.S.C. 666(a)(8)(B)(iv) (income withholding “must be carried out in
                     full compliance with all procedural due process requirements of the
                     State”); 42 U.S.C. 666(c)(1)(H) (expedited State agency procedures
                     “shall be subject to due process safeguards, including (as appropriate)
                     requirements for notice, opportunity to contest the action, and oppor-
                     tunity for an appeal on the record to an independent administrative or
                     judicial tribunal”); see also 45 C.F.R. 302.70(a)(5)(iii), 303.5(g)(2)(iii),
                     303.100(a)(6) & (f )(4), 303.101(c)(2), 303.102(c)(1), 303.104(b).
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                     IV-D actions” or “[a]ny expenditure for jailing of par-
                     ents in child-support enforcement cases”); see also
                     52 Fed. Reg. 32,130 (1987) (Federal “policy since the
                     inception of the [Title IV-D] program has been that
                     costs of incarceration of delinquent obligors and costs of
                     defense counsel are not necessary and reasonable costs
                     associated with the proper and efficient administration
                     of the Title IV-D program.”).
                         Finally, at its broadest, the categorical rule petition-
                     er suggests—that there is a right to government-ap-
                     pointed counsel in all “proceedings denominated as ‘civil’
                     where an individual nonetheless faces the prospect of
                     confinement to state custody,” Pet. Br. 30—conflicts
                     with Congress’s express judgment that provision of
                     government-funded counsel is not warranted in all such
                     areas. See Middendorf, 425 U.S. at 43 (deferring to
                     such a judgment); Walters, 473 U.S. at 319-320 (same);
                     see also Landon v. Plasencia, 459 U.S. 21, 34-35 (1982)
                     (“The role of the judiciary is limited to determining
                     whether the procedures meet the essential standard of
                     fairness under the Due Process Clause and does not ex-
                     tend to imposing procedures that merely displace con-
                     gressional choices of policy.”).
                         For example, while aliens are sometimes detained
                     during removal proceedings or pending enforcement of
                     removal orders, Congress has long explicitly provided
                     that there is no obligation to provide government pay-
                     ment for counsel in such proceedings. See 8 U.S.C. 1362
                     (“In any removal proceedings before an immigration
                     judge and in any appeal proceedings before the Attor-
                     ney General from any such removal proceedings,
                     the person concerned shall have the privilege of being
                     represented (at no expense to the Government) by such
                     counsel, authorized to practice in such proceedings,
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                     as he shall choose.”) (emphasis added); 8 U.S.C.
                     1229a(b)(4)(A). Congress’s judgment is consistent with
                     this Court’s repeated holdings that removal proceedings
                     are civil and non-punitive, see, e.g., INS v. Lopez-
                     Mendoza, 468 U.S. 1032, 1038 (1984) (“A deportation
                     proceeding is a purely civil action to determine eligibil-
                     ity to remain in this country, not to punish an unlawful
                     entry, though entering or remaining unlawfully in this
                     country is itself a crime.”), and its conclusion that deten-
                     tion of an alien during the removal process is permissi-
                     ble because it is incidental to the proceedings, and not
                     their purpose or goal, see, e.g., Carlson v. Landon,
                     342 U.S. 524, 538 (1952) (“Detention is necessarily a part
                     of this deportation procedure.”). As the Court has
                     also noted, removal proceedings—whose purpose is re-
                     moval of aliens from the country, not deprivation of their
                     physical liberty—are “streamlined” administrative pro-
                     ceedings held before administrative personnel, immigra-
                     tion judges, under rules offering the aliens more limited
                     procedural rights than are available in court. Lopez-
                     Mendoza, 468 U.S. at 1039; see ibid . (“a deportation
                     hearing is intended to provide a streamlined determina-
                     tion of eligibility to remain in this country, nothing
                     more”). The due process guarantee of fundamental fair-
                     ness does not mandate the appointment of counsel in
                     such proceedings, which would be contrary to the judg-
                     ment of Congress.13

                       13
                          For these reasons, the lower courts have held that aliens in removal
                     proceedings have no constitutional right to appointment of counsel at
                     government expense. United States v. Gasca-Kraft, 522 F.2d 149, 152
                     (9th Cir. 1975) (“courts have uniformly held in this circuit and elsewhere
                     that in light of the non-criminal nature of both the proceedings and the
                     order which may be a result, that respondents are not entitled to have
                     counsel appointed at government expense”) (citing cases); see Moham-
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                                               CONCLUSION
                         The judgment of the Supreme Court of South Caro-
                     lina should be reversed.
                         Respectfully submitted.

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                     med v. Gonzales, 400 F.3d 785, 793 (9th Cir. 2005); United States v.
                     Torres-Sanchez, 68 F.3d 227, 230 (8th Cir. 1995); Nazakat v. INS, 981
                     F.2d 1146, 1148 (10th Cir. 1992); United States v. Campos-Asencio, 822
                     F.2d 506, 509 (5th Cir. 1987).
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                                    Exhibit D
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                                        EXHIBIT E
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       STATE OF RHODE ISLAND
       PROVIDENCE, S.C.                                           FAMILY COURT

       State of Rhode Island ex rel.          :
       GERO MEYERSIEK                         :
              Plaintiff                       :
                                              :
       VS.                                    :            DOCKET NO: K010521M
                                              :
      MARY SEGUIN                             :
                Defendant                     :

                        PLAINTIFF’S ANSWERS TO DEFENDANT’S
             REVISED (on or about May 9, 2023) FIRST SET OF INTERROGATORIES

       NOW COMES PLAINTIFF the Rhode Island Office of Child Support Services
       (“OCSS”) and hereby responds to Defendant’s First Set of Interrogatories revised and
       amended on May 9, 2023, following negotiations with Defendant.

       1. Separately for 2012 and each subsequent year to the present, describe in detail
       and quantify each separate arrear calculation for interest by month, relating to
       the interest arrears your agency seeks to establish in your Motion to Establish
       Arrears.


       ANSWER: The interest is a calculation pursuant to Rhode Island statute. This
       calculation of interest has previously been produced to the Defendant in this case.

       2. State all reasons, include events and occurrences or otherwise by date and time
       since 2012 to the present, identify actions by persons, organizations, groups, or
       entities that caused your agency to seek to establish interest arrears by motion at
       this time.

       ANSWER: Objection, overly broad and not relevant. Without waiving said
       objections, the foregoing interest was to run pursuant to Court Orders dated May
       24, 2012, and September 25, 2012 and Rhode Island statute. Seeking Court
       adjudication of arrears due under Court orders and securing Court orders for
       repayment of same is a routine function of OCSS.

       3. Name all experts and witnesses you propose to call as witnesses and for each
       describe the nature of their specialties, involvement, participation, expertise,
       training and affiliations, all opinions which they have reached/rendered to give at
       in the case at bar and the factual basis for each such opinion. Attach to your
       answers copies of all written reports made by each expert and the expert’s CV or

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       resume.

       ANSWER: None at this time other than the parties to this case. The OCSS expects
       the parties to testify to their factual knowledge. Objection to the reference to
       “attach” as improper because it is a Request for Production of Documents.

       4. State the name, address, email and telephone number of each person having
       knowledge of facts material to this case and indicate the content of their knowledge
       and what you expect them to testify to at trial.

       ANSWER: Objection, overly broad. OCSS asserts that the parties and current and
       former employees of the OCSS have knowledge of this case in that this case has
       been pending for over 20 years. At this time, the Plaintiff does not know which
       employees will be called to testify at the hearing. The phrases “content of their
       knowledge” and “what you expect them to testify at trial” call for hearsay and
       speculation.

       5. State the factual basis of your substantiation for each and every claim that you
       raised in your Motion to Establish Arrears.

       ANSWER: Objection, prepared in anticipation of litigation. The support obligation
       of the Defendant was established by the Order of the Court. The Court ordered
       interest to accrue per state statute. The records indicate the Defendant failed to
       make payments when due. Further, the factual basis is pursuant to state statute
       and the fundamental principles of mathematics.

     6. State the factual basis for and describe in detail the conversation, communication,
        discussion or otherwise of the telephone call Kevin Tighe made to the attorney or
        agent or representative of GERO MEYERSIEK on December 6, 2021, to advise and
        to discuss interest. Include information of, regarding, on, relating to any and all
        notes, recordings, records Kevin Tighe made of the telephone conversation and call
        he made to the attorney or agent or representative of GERO MEYERSIEK on
        December 6, 2021. Question 6 is a compound question and is being answered as two
        separate interrogatories.

            6(a) State the factual basis for and describe in detail the conversation,
       communication, discussion or otherwise of the telephone call Kevin Tighe made to
       the attorney or agent or representative of GERO MEYERSIEK on December 6,
       2021, to advise and to discuss interest.

       ANSWER 6(a): See TRAC note of 12/6/21, pursuant to Rule 33(d), previously
       provided to the Defendant.

            6(b) Include information of, regarding, on, relating to any and all notes,
      recordings, records Kevin Tighe made of the telephone conversation and call he
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      made to the attorney or agent or representative of GERO MEYERSIEK on December
      6, 2021.

       ANSWER 6(b): See TRAC note of 12/6/21, pursuant to Rule 33(d), previously
       provided to the Defendant.

     7. State the factual basis for, including identifying the person who instructed Timothy
        Flynn to do so and describe in detail the subpoena Timothy Flynn mailed and
        request for information regarding the Defendant to Bank of America by Timothy
        Flynn on December 14, 2021. Attach to your answer a copy of the subpoena and all
        records related to Timothy Flynn’s request for information. Question 7 is a
        compound question and is being answered as two separate interrogatories.

            7(a) State the factual basis for, including identifying the person who
       instructed Timothy Flynn to do so.

       ANSWER 7(a): Objection, not relevant to the Motion to Establish Arrears.

            7(b). Describe in detail the subpoena Timothy Flynn mailed and request for
       information regarding the Defendant to Bank of America by Timothy Flynn on
       December 14, 2021.

       ANSWER 7(b): Objection, not relevant to the Motion to Establish Arrears.
       Objection to the reference to “attach” as improper because it is a Request for
       Production of Documents.

      8. State the factual basis and describe in detail the conversation, communication,
      discussion or otherwise of the telephone or otherwise conversation Timothy Flynn
      made on January 4, 2022, to Marie at Bank of America regarding a subpoena that
      Timothy Flynn had sent to Bank of America regarding the Defendant. Attach to
      your answer a copy of the subpoena and request for information.

       ANSWER: Objection, not relevant to the Motion to Establish Arrears. Objection to
       the reference to “attach” as improper because it is a Request for Production of
       Documents.

       9. State the factual basis and describe in detail all actions, discussions, notes
           made of conversations, communication, or otherwise made by Timothy Flynn
           as they relate to Defendant’s case from December 2021 to the present.

       ANSWER: Objection, not relevant to the Motion to Establish Arrears.

       10. Identify the name, address, phone number and email of all persons Timothy
           Flynn contacted, spoke to, discussed, communicated, and interacted in any and
           all forms regarding the Defendant from December 2021 to the present. Attach
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          to your answer all documents and records as they relate to Timothy Flynn’s
          conversations regarding the subject matter.

       ANSWER:             Objection, not relevant to the Motion to Set
       A r r e a r s . Objection to the reference to “attach” as improper because it is a
       Request for Production of Documents.

       11. Describe in detail and state the factual basis for all documents that set forth,
           describe, reflect, contain, refer, or relate to the legal authority by the Rhode
           Island Office of Child Support Services to calculate child support interest per
           annum, and the method interest per annum is calculated by the agency in the
           Defendant’s case. Cite the specific statute, regulation or any law by which the
           Rhode Island Office of Child Support Services uses to compute interest and the
           specific rate. Question 11 is a compound question and is being answered as three
           separate interrogatories.

          11(a) Describe in detail and state the factual basis for all documents that set
          forth, describe, reflect, contain, refer, or relate to the legal authority by the
          Rhode Island Office of Child Support Services to calculate child support interest
          per annum.

      ANSWER 11(a): O b j e c t i o n , n o t r e l e v a n t t o t h e M o t i o n t o S e t
      Arrears.   Without waiving said objection, including, but not
      limited to, the following citations:

      42 USC 651, et seq.
      45 CFR 200 et seq.
      45 CFR 300 et seq.
      RIGL 15-5 et seq.
      RIGL 15-8.1 et seq.
      RIGL 15-9 et seq.
      RIGL 15-11.1 et seq.
      RIGL 15-12 et seq.
      RIGL 15-13 et seq.
      RIGL 15-21 et seq.
      RIGL 15-22 et seq.
      RIGL 15-23.1 et seq.
      RIGL 15-24 et seq.
      RIGL 15-25 et seq.
      RIGL 15-26 et seq.
      RIGL 15-28 et seq.
      RIGL 15-29 et seq.
      RIGL 15-30 et seq.
      218-RICR-30-00-1 et seq.
      Rhode Island State Plan promulgated pursuant to 45 CFR 200 et seq.
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          11(b) and the method interest per annum is calculated by the agency in the
          Defendant’s case.

      ANSWER 11(b): Interest is calculated at 1% per month on the ending principal
      balance of the preceding month.

      11(c) Cite the specific statute, regulation or any law by which the Rhode Island
      Office of Child Support Services uses to compute interest and the specific rate.

      ANSWER 11(c) Rhode Island General Laws 15-5-16.5; 12% per annum on any
      support debt due and owning for child support and/or spousal support.

       12. Describe in detail and state the factual basis for all documents that set forth,
           describe, reflect, contain, refer, or relate to the legal authority by the Rhode
           Island Office of Child Support Services to deny noncustodial parents access to
           any portion of their case files, including the agency’s accounting calculations and
           method of calculation of alleged arrears. Attach to your answer all documents
           that relate to the relevant calculations of interest arrears in the Defendant’s
           case file.

      ANSWER: Objection, not relevant to lead to the discovery of admissible evidence,
      not relevant to the Motion to Establish Arrears and lastly, the attaching of
      documents is in the nature of a Request for Production of Documents. Without
      waiving said objections, see the statutes listed supra.

       13. Describe in detail and state the factual basis for the creation, faxing and
           mailing offline of the Notice of Intent to Lien receipt of letter, communication or
           correspondence by Timothy Flynn from Bank of America regarding the
           Defendant from January 12, 2022, to January 22, 2023. Attach to your answer
           a copy of documents created and sent offline by Timothy Flynn related to the
           Defendant.

      ANSWER: Objection, not relevant to the Motion to Establish Arrears. Objection to
      the reference to “attach” as improper because it is a Request for Production of
      Documents.

       14. Describe in detail and state the factual basis for not mailing to the Defendant a
           copy of the Notice of Intent to Lien on January 12, 2022. State and identify the
           person or persons who authorized, instructed, directed or otherwise caused
           Timothy Flynn to do so. State the factual basis and describe in detail the legal
           authority for Timothy Flynn to do so. Question 14 is a compound question and is
           being answered as three separate interrogatories.

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         14(a) Describe in detail and state the factual basis for not mailing to the
         Defendant a copy of the Notice of Intent to Lien on January 12, 2022.
      ANSWER 14(a): O b j e c t i o n , n o t r e l e v a n t t o t h e M o t i o n t o S e t
      Arrears.

           14(b) State and identify the person or persons who authorized, instructed,
      directed or otherwise cause Timothy Flynn to do so.

      ANSWER 14(b): O b j e c t i o n , n o t r e l e v a n t t o t h e M o t i o n t o S e t
      Arrears.

      1 4 ( c ) State the factual basis and describe in detail the legal authority for Timothy
      Flynn to do so.

      ANSWER 14(c): O b j e c t i o n , n o t r e l e v a n t t o t h e M o t i o n t o S e t
      Arrears.

       15. Describe in detail and state the factual basis for all actions and system input by
           any and all employees or former employees of your agency that caused the
           system at your agency to generate a Notice of Intent to Lien on or about March
           3, 2023. Attached to your answer all documents that set forth, describe, reflect,
           contain, refer, or relate to your answer.

      ANSWER: O b j e c t i o n , n o t r e l e v a n t t o t h e M o t i o n t o S e t A r r e a r s .
      Objection to the reference to “attach” as improper because it is a Request for
      Production of Documents.

       16. Describe in detail and state the factual basis for your agency’s failure to remove,
           suspend or otherwise stop the issuance of the notice of perfected lien subsequent
           to receipt of appeal from the Defendant on or about April 1, 2022. Attached to
           your answer all documents that set forth, describe, reflect, contain, refer, or
           relate to your answer.

      ANSWER: Objection, not relevant to the Motion to Establish Arrears and further
      the reference to “attach” as improper because it is a Request for Production of
      Documents.

       17. Describe in detail the two emails in the possession of Frank DiBiase as they
           relate to the Defendant. Attach to your answer a copy of each email and all
           documents as they relate to the authorship of each and every email, and the
           persons set to, sent from and copied on each and every email.

      ANSWER: Objection, not relevant to the Motion to Establish Arrears and further
      the reference to “attach” as improper because it is a Request for Production of
      Documents.
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       18. Describe in detail the job function, job title, job tasks and every day-to-day
           function of Kevin Tighe at your agency from January 2021 to the present.
           Attach to your answer all documents as they relate to the duties, obligations,
           responsibilities, services and code of conduct as they relate to Kevin Tighe.

      ANSWER: See job description for Deputy Chief of Legal Services as described on the
      State of Rhode Island – Division of Human Services – Department of Administration
      website. See Rhode Island Supreme Court Rule of Professional Conduct.

       19. Set forth in detail the following information pertaining to all policies or
          agreements of liability insurance covering or pertaining to acts or omissions
          committed by or on your behalf as a result of enforcing child support interest
          ordered by the Family Court in 2012 at the time of occurrence referenced in the
          Case Tracking Case History from 2018 to the present, designating which, if any
          are primary coverage and which are excess coverage: name and address of the
          insurance carrier, all limits of liability coverage, name and address of the named
          insured and policy number, full description of the acts or omissions to which
          coverage extends, full description of any and all exclusions, the dates of
          coverage, and the present custodian of the policy.

      ANSWER: Objection, not relevant to the Motion to Establish Arrears.

       20. Identify in detail and give the substance of each statement, action or omission,
           or declaration relating to interest, or satisfied with no receipt of interest or
           satisfied with receipt of less interest, or waived interest, whether oral or written,
           by conduct, silence or otherwise, which you contend was made by or on behalf of
           the Plaintiff, GERO MEYERSIEK, and provided the place and date when each
           such statement was made and any witnesses to same.

       ANSWER: See TRAC note of 12/6/21, and emails dated October 11, 2022 and
       October 13, 2022 pursuant to Rule 33(d), previously provided to the Defendant.

       21. Identify the name, address, telephone number and email address of the person
           or persons responsible for publishing the Total Due and Interest Due, payments
           made, and history of all payments in Defendant’s online OCSS account each and
           every month from 2012 to the present.

       ANSWER: Objection, not relevant to the Motion to Establish Arrears..

       22. State the name, address, telephone number, and position of each person having
          personal knowledge of facts material to this case. Include your own full name,
          address, phone number, email, employer, title and position.

      ANSWER: Objection, overly broad in that this case has been pending since 2001, has
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      had multiple hearings in RI Family Court, has been appealed to the RI Supreme
      Court, and has had litigation in Federal District Court. Currently, OCSS is aware of
      the current Family Court proceedings as well as actions in Federal District Court
      and the RI Supreme Court.

       23. If you have obtained any written or recorded statements concerning the dispute
           in this matter, set forth the name and address, phone number and email of the
           person who gave the statement/recording, the date the statement was made, the
           content of the statement, and the present custodian of the statement.

      ANSWER: None.

       24. If you are aware of the existence of any evidence relative to the dispute in this
           matter, then identify each such item, state the date produced or obtained, and the
           name, address, telephone number and email of the present custodian of each such
           demonstrative item

            .
       ANSWER: See Rhode Island Family Court Orders in this case from hearing dates
       on May 24, 2012 and September 25, 2012 currently in the custody of the Rhode
       Island Family Court. The child support ledger currently in the custody of OCSS.
       The interest calculation currently in the custody of OCSS.

       25. Describe in detail any and all policies, guidelines, protocols, standards, and
           orders your agency relied on in the administrations and enforcement of
           Defendant’s case from 2012 to the present. Attach to your answers all
           documents as they relate to said policies, protocols, standards and orders.

      ANSWER: The State hereby objects to Interrogatory Number 25. Pursuant to Rule
      33(b) of the Rules of Civil Procedure, this Interrogatory exceeds the number of
      allowable interrogatories. Eleazer v. Ted Reed Thermal, Inc., 576 A. 2d 1217 (1990).
      .
        26. If you claim any of Defendant’s agency case file records are missing
            information, contain an incorrect or false information or any information was
            modified in any way, shape or form, identify the specific page of the record, the
            date and time of the entry, identify the information which is missing, identify
            which information is false/incorrect, and state which information has been
            modified or changed.

      ANSWER: The State hereby objects to Interrogatory Number 26. Pursuant to Rule
      33(b) of the Rules of Civil Procedure, this Interrogatory exceeds the number of
      allowable interrogatories. Eleazer v. Ted Reed Thermal, Inc., 576 A. 2d 1217 (1990).

       27. Did you and any and all employees at your agency have the knowledge, training,
           and education to accurately issue any and all notices of intent to lien, notices of
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          perfected notice of lien and notices of levy against the Defendant’s property?
          Attach to your answer supporting documentation substantiating your answer.

      ANSWER: The State hereby objects to Interrogatory Number 27. Pursuant to Rule
      33(b) of the Rules of Civil Procedure, this Interrogatory exceeds the number of
      allowable interrogatories. Eleazer v. Ted Reed Thermal, Inc., 576 A. 2d 1217 (1990).

      28. State based on factual basis and described in detail the errors alleged in your
      agency’s October 14, 2022 Recission of Liens issued by John Langlois. Attach to your
      answer all documents as they relate to and support your answer.

      ANSWER: The State hereby objects to Interrogatory Number 28. Pursuant to Rule
      33(b) of the Rules of Civil Procedure, this Interrogatory exceeds the number of
      allowable interrogatories. Eleazer v. Ted Reed Thermal, Inc., 576 A. 2d 1217 (1990).

      29. State based on factual basis and describe in detail the basis of your agency’s
      allegation that it will continue to enforce arrears owed stated in your agency’s
      October 14, 2022, Recission of Liens issued by John Langlois. Attach to your
      answer all documents as they relate to and support your answer.

      ANSWER: The State hereby objects to Interrogatory Number 29. Pursuant to Rule
      33(b) of the Rules of Civil Procedure, this Interrogatory exceeds the number of
      allowable interrogatories. Eleazer v. Ted Reed Thermal, Inc., 576 A. 2d 1217 (1990).

      30. State based on factual basis and describe in detail the documentary information
      John Langlois agreed to produce at the October 5, 2022 Prehearing held by the
      Rhode Island Executive Office of Health and Human Services Office of Appeals.
      Attach to your answer all documents John Langlois agreed to produce. State based
      on factual basis and describe in detail the account balance before Gero Meyersiek
      agreed to waive the interest, the account balance after Defendant made the
      payment, and the account balance when your agency put the interest back on the
      system. Attach to your answer all documents as they relate to and support your
      answer.

       ANSWER: The State hereby objects to Interrogatory Number 30. Pursuant to Rule
       33(b) of the Rules of Civil Procedure, this Interrogatory exceeds the number of
       allowable interrogatories. Eleazer v. Ted Reed Thermal, Inc., 576 A. 2d 1217 (1990).

      Respectfully submitted,

      /s/ Lisa Pinsonneault, Esquire (#5979)
      Department of Human Services
      Office of Child Support Services
      77 Dorrance Street
      Providence, Rhode Island 02903
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      Lisa.Pinsonneault@dhs.ri.gov
      401-458-4404
                                       CERTIFICATION

            I hereby certify that on May 30, 2023, I mailed a copy of this Response to Mary
      Seguin P.O. Box 22022 Houston, Texas 77019 postage pre-paid and via email
      marylive22022@gmail.com.
                                                   /s/ Lisa Pinsonneault




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                    STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
       PROVIDENCE, S.C.                                                FAMILY COURT


       State of Rhode Island ex rel.              :
       GERO MEYERSIEK                             :
              Plaintiff                           :
                                                  :
       VS.                                        :              DOCKET NO: K20010521M
                                                  :
                                                  :
       MARY SEGUIN                                :
           Defendant                              :


         DEFENDANT’S MOTION TO DISQUALIFY MAGISTRATE NAHABEDIAN


                The Texas Defendant, MARY SEGUIN (“Seguin”), proceeding pro-se, hereby
       requests the Chief Judge or the Chief Judge’s designee-judge the Honorable Judge
       Merolla that this Honorable Court disqualify Magistrate Susan Nahabedian from this
       matter. The Magistrate is prejudiced against the Defendant by her prejudicial muzzle of
       the Defendant using the WebEx Host/Administrator’s capability to mute the Defendant
       throughout the entire time allocated to the trial hearing on the State’s Motion to Set
       Arrears, from the point State counsel Paul Gould called the Plaintiff as the State’s
       witness, all the way to the point where the Magistrate read her decision into the record.
       Magistrate Nahabedian muted the Defendant to prevent the Defendant from mounting
       her defense, which the record shows has all along been the Defendant’s intent to mount
       her defense. The aforesaid public court hearing was streamed by the Rhode Island
       Courts and was heard remotely via WebEx hearing on February 2, 2024 scheduled at 2
       PM Eastern Time.

                The amount of and whether the arrears that comprises solely of interest are in
       dispute. The accuracy of the alleged arrears that is computed by the State is in dispute.

                The Court had ordered discovery (against the State) a year ago at the
       February 10, 2023 court hearing on the State’s Motion to Set Arrears, and the court



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       records in this matter shows Defendant’s pending discovery motions had been
       continued to the February 2, 2024 hearing.

                Discovery was not completed.

                Magistrate Nahabedian, who presided over the remote hearing, using the WebEx
       Host/Administrator’s capability to mute any WebEx hearing participant, but without
       any warning to Defendant, muted the Defendant effectively muzzling the Defendant in a
       remote hearing several times (approximately 8) before the decision was read into the
       record – but the undisputed prejudice to the Defendant is the Magistrate’s
       muting the Defendant the entire time from the point of the State’s calling of
       its witness, to the subsequent entire duration of the State’s witness
       testimony of the Plaintiff, GERO MEYERSIEK, that included posing to the
       Gero Meyersiek 5-6 questions that were irrelevant, leading or lacked
       timeframe, that were additionally not about Defendant’s pending discovery
       motions, but on the State’s Motion to Set Arrears.

                Magistrate’s Nahabedian’s WebEx muting of Defendant prevented the Defendant
       from objecting after each question be it on grounds, on relevance, it’s leading, or
       timeframe or personal knowledge, etc.

                Magistrate Nahabedian continued to mute the Defendant at the
       conclusion of State’s witness testimony. Continuing to place the Defendant
       on mute, Magistrate Nahabedian went straight to read into the record her
       decision. Only at the close of reading the decision into the record did
       Magistrate Nahabedian unmute the Defendant.

                During the entirety of the State’s witness testimony Defendant was
       muted/prevented from putting on the record objections or objecting to State’s questions
       immediately after each question. After the State finished questioning Plaintiff’s witness,
       Magistrate Nahabedian continued to mute the Defendant to prevent the Defendant from
       cross-examining the State’s witness.

                Using WebEx’s mute mechanism, Magistrate Nahabedian prevented the
       Defendant from presenting Defendant’s evidence, be it calling Defendant’s witnesses or

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       proffering documentary evidence that were already submitted into the record in 2023
       via attachments to motions, affidavits, objections and filings into the record in this
       matter.

                Using WebEx’s mute mechanism, Magistrate Nahabedian prevented Defendant
       from presenting arguments, effectively prevented from lodging a defense.

                After the State finished putting on its case, the Defendant was continuously
       muted to prevent her from being heard, be it to cross-examine State’s evidence or
       present Defendant’s evidence and arguments.

                To unilaterally reach a decision by proactively using WebEx’s mute capability to
       muzzle the Defendant without affording the opportunity to Defendant to object to the
       State’s questions, nor cross-examine the State’s witness, nor present Defendant’s case by
       muzzling/muting the Defendant in a remote WebEx hearing, when the amount of or
       arrears is in dispute shows prejudice against the Defendant, is prejudicial to the
       Defendant, and is a gross miscarriage of justice, especially when the amount in dispute
       is a substantial $81,000.00 +. The ruling in favor of the State was a foregone
       conclusion.

                In the WebEx hearing, Magistrate Nahabedian sought to create a false record,
       denying Defendant her right to a meaningful appeal, through using the WebEx mute
       against the Defendant to falsely make it look like Defendant failed to mount any
       defense, when in reality Defendant was muzzled and muted by Magistrate Nahabedian
       from presenting evidence and arguing her case, and denied Defendant’s right to object
       to the line of questioning or object to or cross-examine the State’s claim of over
       $81,000.00 in interest arrears.

                Through continuous muting the Defendant throughout the State’s examination of
       its witness, continuing to the rendering of the Court’s decision in the aforesaid manner,
       Magistrate Nahabedian denied the Defendant her constitutional rights to present
       evidence and present arguments because Defendant could not lodge objections nor
       present evidence while Defendant was muted. The WebEx mute cannot serve as an
       excuse to deny a defendant due process, thwart the right to present arguments, object to


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       the State’s witness questions, cross-examine the State’s witness, present the evidence, or
       silence the Defendant.

                Defendant’s exclusion from participation in the hearing through Magistrate
       Nahabedian’s use of the WebEx mute function to silence the Defendant during the
       presentation of evidence and arguments throughout the entirety of the trial phase (that
       proceeded without conclusion of discovery, without resolution of pending motions to
       compel discovery) placed the Defendant at a “total and complete disadvantage” and
       showed bias that requires that she be removed.

       Demonstrated Lack of Competence to Preside

                After the Magistrate read her decision into the record, Defendant was finally
       unmuted. Only at that time after the decision was read did the Magistrate give the
       Defendant permission to cross examine the State’s witness, with the caveat that any
       cross-examination is not going to change her decision. It is plainly obvious that
       unmuting and giving the Defendant permission to cross-examine the witness after the
       decision was read into the record is futile and renders the decision void, as it was
       decided without due process. Defendant also called Paul Gould representing the State
       as her first witness, as is Defendant’s right, to testify on the alleged interest arrears
       amount. Without any basis in law, Magistrate Nahabedian denied Defendant her right
       to call the State as a witness as well, the central witness who stated on the record had
       prepared and administered the amount of the alleged arrears. After preventing the
       Defendant from calling her first witness, Magistrate Nahabedian prevented the
       Defendant from presenting an audio recording of the State’s deputy chief counsel John
       Langlois stating the Plaintiff Gero Meyersiek had waived interest, which the Defendant
       had already submitted and filed into the record in this matter as early as June 6, 2023
       (See Exhibit A). Magistrate Nahabedian prevented Defendant from presenting any
       evidence at all, effectively preventing the Defendant from litigating by presenting her
       evidence and defense, stating that the Magistrate’s decision is just based on there is no
       other court order in the record that brings interest to zero, so there is no need for the
       Defendant to mount a defense disputing the alleged arrears with evidence.



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                The Magistrate clearly shows her own confusion and reasonably calls into
       question her competence by stating that a hearing on the motion to set arrears brought
       by the State is restricted to only hearing what court orders issued twelve and eleven
       years ago in 2012 and 2013 say in the court record in this matter. The Magistrate shows
       she is in effect either flouting or lacks understanding of the intent of the Court’s
       February 2023 Order that ordered discovery. The Magistrate then instructed the
       Defendant to file a Motion if the Defendant disagrees.

                The Magistrate’s insistence that Defendant has to file another motion in order to
       litigate Defendant’s dispute of the State’s alleged interest arrears violates the pro-se
       Defendant’s right to a speedy trial, efficiency and economy, prejudicing the Defendant.

                The aforesaid spectacle of: (1) declaring the Magistrate is restricting the scope of
       the hearing on the State’s motion to set arrears to only taking judicial notice of a twelve-
       year old 2012 court order, (2) while muzzling/muting the Defendant throughout the
       State’s calling and examination of Its witness, and then (3) upon the conclusion of the
       State’s direct questions, going straight to reading her decision while continuously
       muting the Defendant preventing the Defendant from lodging objections/cross-
       examination/presenting evidence and present arguments, reasonably calls into question
       the Magistrate’s competence.

                Under Turner v. Rogers, et al., 564 U.S. 431 (2011), the pro-se Texas
       Defendant has the due process and equal protection right to (1) identify the central
       issues; (2) present evidence; (3) present arguments. Magistrate Nahabedian shows she
       is confused about the central issues, restricts the scope of the hearing to just take
       judicial notice of what the prior court orders say, and flouts the Title IV-D Program
       statutory provisions of the Social Security Act.

                1. The above is violative of Title IV-D Program mandates that govern this child
                   support interest related matter. See Social Services Amendments of
                   1974 (1975 Act), Pub. L. No. 93-647, § 101(a), 88 Stat. 2351 (42
                   U.S.C. 651 et seq.) (adding Title IV-D to the Social Security Act)
                The issue of paramount concern, among others, is the due process protections
       that apply. The state child-support enforcement program at issue in this matter (which

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       is an interstate child support case), like that in every other State, is part of one of the
       largest cooperative federal-state programs, established under the Social Services
       Amendments of 1974 (1975 Act), Pub. L. No. 93-647, § 101(a), 88 Stat. 2351 (42 U.S.C.
       651 et seq.) (adding Title IV-D to the Social Security Act).

                2. Congress and the Secretary of the U.S. Department of Health and Human
                   Services have demonstrated their concern that child-support-related
                   proceedings be conducted fairly by repeatedly making compliance with
                   procedural due process rules a requirement of State participation in the
                   program. (E.g. See, e.g., 42 U.S.C. 666(a)(3)(A) (reduction of non-custodial
                   parents’ state income tax refunds to pay overdue support permitted only
                   “after full compliance with all procedural due process requirements of the
                   State”); 42 U.S.C. 666(a)(7)(B)(i) (States must report child-support
                   delinquency to credit bureaus “only after [the] parent has been afforded all
                   due process required under State law, including notice and a reasonable
                   opportunity to contest the accuracy of such information.”); 42 U.S.C.
                   666(a)(8)(B)(iv) (income withholding “must be carried out in full compliance
                   with all procedural due process requirements of the State”); 42 U.S.C.
                   666(c)(1)(H) (expedited State agency procedures “shall be subject to due
                   process safeguards, including (as appropriate) requirements for notice,
                   opportunity to contest the action, and opportunity for an appeal on
                   the record to an independent administrative or judicial tribunal”); see also
                   45 C.F.R. 302.70(a)(5)(iii), 303.5(g)(2)(iii), 303.100(a)(6) & (f)(4),
                   303.101(c)(2), 303.102(c)(1), 303.104(b).


                3. It is therefore no doubt and unequivocal that due process in any State tribunal
                   in the United States must provide the opportunity to contest the
                   accuracy of the information, the accuracy of the alleged arrears put
                   forth by the State Agency, a Title IV-D Program State Agency, as here. Yet,
                   Magistrate Nahabedian restricts the scope of a hearing to set the arrears
                   brought by the State to only determining whether there exists a prior court



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                   order that set interest, and disallowing litigation challenging the accuracy of
                   the alleged arrears put forth by the State Agency.



                4. Having chosen to participate in the Title IV-D Program, the Rhode Island
                   State here is mandated to comply with the clearly defined meaning of due
                   process in 42 U.S.C. 666(a)(7)(B)(i). Federal law preempts all State customs,
                   preempts State practices, preempts State policies or interests, and preempts
                   State laws that go contrary to the statutory provisions of the Federal Title IV-
                   D Program.



                The Magistrate’s WebEx muting of the Defendant for the entire duration of: (1)
       the State’s questioning of its witness obstructing her from objecting to the questions, (2)
       denying the Defendant the opportunity to cross-examine the witness, (3) denying the
       Defendant the opportunity to challenge the accuracy of the State’s information, (4)
       denying the Defendant the opportunity to present evidence and present arguments. The
       Magistrate’s statement after unmuting the Defendant after reading into the record the
       decision that the Defendant’s then-allowed post-judgment cross-examination of the
       State’s witness “won’t change her decision” unequivocally demonstrates prejudice
       against the Defendant and calls into question her competence.


                The American Bar Association, (“ABA”) in its seminal report produced for remote
       hearings and technology integration into the courts that further address court
       procedures during the COVID-19 Pandemic states that 60% to 100% of the
       approximately 30 million cases annually in the United States have a pro se litigant as a
       party, and that holds especially true in state family courts across the country. This
       implies that the Magistrate’s muting of the Texas pro-se Defendant that obstructs her
       from lodging objections during the State’s examination of its witness showing due
       process violations irreparably injure the vast majority of the pro se public in this Court,
       such as the Defendant proceeding pro se, and from Texas, by knowingly muting the
       Defendant and stating after rendering her decision and unmuting the Defendant that
       any of the Defendant’s post-judgment cross-examination of the witness “won’t change
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       her decision” is an abuse of the electronic technology system to disadvantage the pro-se
       Defendant in the digital court. See ABA Report here:
       https://www.srln.org/system/files/attachments/AppendixA.ABA%20remote.117-
       annual-2020.pdf


       Implication of Violating Due Process Mandates Under Turner v. Rogers, et
       al., 564 U.S. 431 (2011) on State Eligibility of Participation in Title IV-D
       Program

                1. It is in the Public’s interest AND the State’s interest to disqualify Magistrate
                   Nahabedian who uses the WebEx mute function to muzzle the pro-se
                   Defendant, failing to comply with Turner v. Rogers, et al., 564 U.S. 431
                   (2011).



                2. In this matter, on motion to re-establish child support interest brought by
                   under Title IV-D Program, the State and the Plaintiff and all persons etc., are
                   mandated by Turner v. Rogers, et al., 564 U.S. 431 (2011) to comply
                   with due process safeguards Congress intended. Specific to the due
                   process requirement Congress intended is the requirement to develop a
                   record that allows for appeal. Here, the record development requirement is
                   violative of due process.



                See Congressional Intent at eg. 42 U.S.C. 666(c)(1)(H) (expedited
       State agency procedures “shall be subject to due process safeguards,
       including (as appropriate) requirements for notice, opportunity to contest
       the action, and opportunity for an appeal on the record to an independent
       administrative or judicial tribunal”) (Emphasis added)



                3. As Congress, the United States Department of Justice, and the Secretary of
                   the U.S. Department of Health and Human Services have demonstrated their
                   concern that child-support-related proceedings be conducted fairly by

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                   repeatedly making compliance with procedural due process rules a
                   requirement of State participation in the program, it is further in the
                   State’s interest to disqualify Magistrate Nahabedian.



                4. The Defendant seeks to preserve this important issue on the record, for
                   appeal.
                5. After the conclusion of the hearing on February 2, 2024, the Defendant sent a
                   formal written email request to the Clerk of the Court, Magistrate
                   Nahabedian’s Clerk, copying the State counsel, Paul Gould, requesting an
                   electronic recording copy of the WebEx hearing, a public hearing that was also
                   livestreamed. Defendant is informed by WebEx that WebEx hearings are
                   recorded. A record of the muting, periods of muting, Defendant’s repeated
                   press of the “raise hand button” when she was muted to show her intent to
                   object but could not lodge them audibly on the record because she was muted,
                   is requested.
                6. In support of the above, the Defendant attaches herein a copy of the aforesaid
                   Defendant email request made on February 2, 2024.


       WHEREFORE, the Defendant respectfully requests the Chief Judge or designee-Judge
       Merolla of this Honorable Court to:

                1. Grant the Defendant’s Motion to Disqualify Magistrate Nahabedian.
                2. Stay proceedings in this matter to investigate the raised due process violations
                   raised herein as well as due process violation matters relating to Title IV-D
                   Programs that mandate due process proceedings, in order to enforce Title IV-
                   D Program requirements and to enforce the State to comply with Title IV-D
                   Program participation eligibility requirements.
                3. For further relief as the Court deems reasonable and fair under the
                   circumstances.


       Respectfully submitted,

       February 4, 2024

                                                  FOR DEFENDANT
                                                  MARY SEGUIN, Pro Se.

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                                                By: ________________
                                                Mary Seguin
                                                P.O. Box 22022
                                                Houston, TX 77019
                                                maryseguin22022@gmail.com




                                             CERTIFICATION

       I hereby certify that a copy of the within Motion was filed on February 4, 2024
       electronically using the Court’s Odyssey File and Serve, with service to
       paul.gould@dhs.ri.gov and dhs.courtfile@dhs.ri.gov

                                                       _______________________




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                                    Exhibit A
Case Number: K20010521M
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Envelope:  4132664
Reviewer: Doris O.



                                STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
                PROVIDENCE, S.C.                                                     FAMILY COURT

                State of Rhode Island ex rel.
                GERO MEYERSIEK
                     Plaintiff

                VS.                                             :              DOCKET NO: K010521M


                MARY SEGUIN
                          Defendant

                       MARY SEGUIN's DECLARATION PURSUANT To RULE 37(a)(2) IN
                       SUPPORT 0F DEFENDANT'S THIRD RULE 7(b)(3) (G) MOTION TO
                      COMPEL PRODUCTION UNDER RULE 34(b), RULE 37(a)(2)(3), RULE
                                       26(b)((1), RULE 26(b)(5)




                          I, MARY SEGUIN ("Plaintiff"), resident Of the State Of Texas, in good faith,

                certify, declare, verify and state pursuant tO 28 U.S. Code sec 1746, under penalty Of

                perjury that the foregoing is true and correct:

                          1.   I received in the mail a Notice of Lien for the amount of $75,638.00 dated

                               March 3, 2022 issued by the Rhode Island Ofﬁce of Child Support Services on

                               and around mid-March 2022. In April 2022, I ﬁled a written appeal of the

                               lien. My written appeal was docketed on April 4, 2022 at the Ofﬁce of

                               Appeals of the Rhode Island Executive Ofﬁce of Health and Human Services,

                               Docket#22-2116. The Administrative Hearing was continued to the

                               maximum of three times by the Appeals Ofﬁce due to the failure of the Ofﬁce

                               Of Child Support Services to grant me, the Appellant, access to my case ﬁle.


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                             On October 5, 2022 a telephonic conference took place prior to the

                             Administrative Hearing. The participants of the telephone call were John

                             Langlois, Esq., of the Rhode Island Ofﬁce of Child Support Services in Rhode

                             Island, Debra DeStefano, Esq., the Hearing Ofﬁcer of the Rhode Island

                             Executive Ofﬁce of Health and Human Services Ofﬁce of Appeals in Rhode

                             Island, and myself in Texas. I, in Texas, recorded the phone call starting at

                             12:30PM Central Time, or 1:30PM Eastern Time. The recording of the

                             telephone call is 1 hour 35 minutes and 38 seconds long. I am admitting into

                             evidence the recording.

                          2. Because the entire recording is over one and half hour long, I admit into

                             evidence the attached true and accurate part of the recording where John

                             Langlois, Esq., of the Rhode Island Ofﬁce of Child Support Services in Rhode

                             Island stated to me and Debra DeStefano "what happened in this case is when

                             Mary's representative, her attorney, called us in later November 2021 and said

                             she wants her passport released, what does she have to do to release her

                             passport, they put her in touch with Karla, who gave her the $104k number.

                             Where that number came from was the department attorney contacted the

                             custodial parent, Mr. MEYERSIEK. So, we contacted his attorney, it wasn't

                             me, it was somebody else in my ofﬁce, and said, if she was willing to make a

                             $104k payment to pay off the principal, would you be willing to waive the

                             $75k or $73k in arrears. At that time, he said yes. So Karla notiﬁed Mary that

                             if she paid the $104k, it would be paid in full because he was willing to waive
                             the interest, that was just the principal. What happened was the day after

                             Karla told Mary to Wire the $104k the attorney for Mr. Meyersiek contacted us

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                               again and said he changed his mind. Please put the interest back on the

                               system. So we did."

                          3. I attempted to attach the audio ﬁle recording to the Rhode Island Courts e-

                               ﬁling Tyler Technologies system but was informed by the system that audio
                               ﬁles cannot be uploaded as attachments.

                          4. Therefore, I uploaded the audio ﬁle to Google Drive and shared it with

                               DomesticExhibits@Courts.ri.gov and pau1.gould@dhs.ri.gov

                          5. I further attach here the link of the shared Audio File on Google Drive as

                               https: //drive.google.com/file/d/11701n42KYv21NHK3FJ4iN41          -




                               hBMaEgQ/View?usp=sharing

                          6. I granted access to this audio ﬁle on Google Drive to

                               DomesticEXhibits@courts.ri.gov and Daul.gould@dhs.ri.go\z

                          7.   I further emailed DomesticExhibits@courts.ri.gov and Daul.gould@dhs.ri.gov

                               that this is the audio ﬁle attached to my afﬁdavit ﬁled herein in Court to

                               Admit the audio ﬁle into evidence in the above captioned matter in Family

                               Court, K20010521M.

                          8. The Family Court Clerk told me to email my exhibits and evidence along with

                               the case number K20010521M to DomesticEXhibits@courts.ri.gov

                          9. Karla Caballeros of the Rhode Island Ofﬁce of Child Support Services notiﬁed

                               me on December 7, 2021 that if I paid the $104,185.98 it would be paid in full

                               because Gero Meyersiek waived the interest. I agreed, and on December 7,

                               2021, on the same day of Karla Caballeros' notiﬁcation, I paid the $104,185.98

                               through bank wire. After I paid the full amount through bank wire, I emailed

                               Karla Caballeros also on the same day on December 7, 2021 that I wired it.

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                          10. Rhode Island Ofﬁce of Child Support Services also emailed and mailed

                             through regular mail to me during litigation the TRAC note of 12/06/2021

                             and 12 / 07/ 2021 that says, "Agent contacted me that NCP wants to pay all

                             arrears to obtain passport. I called CP private attorney Barbara Grady to

                             advise, and to discuss if CP wants the interest put back on the case

                             (REDACI'ED). We removed the interest when case was made UI when we
                             were ﬁling to Texas. Atty Grady checked with CP and CP is satisﬁed with the

                             lump sum payment of principle of $104k+/-. After conference with Monique

                             and Frank Dibiase, it was decided to require payment in more secure/less

                             reversable form than credit card, so $ will need to be Wired by bank check.

                             Agent will be contacted back by NCP as NCP won't give phone number or

                             email address. Agent is not even sure if NCP is in country. Interest is not

                             included in amount that is considered for passport purposes in any event.

                          11. The statements contained in the Defendant's Second Rule 7(b)(3)(G) Motion


                             to Compel Production ﬁled on March 27 3, 2023 in the Family Court and

                             Defendant's Third Rule 7(b)(3)(G) Motion to Compel ﬁled on June 1, 2023

                             are, to my knowledge, true and correct.

                          12. I ﬁled my/ Defendant's First Rule 7(b) (3)(G) Motion to Compel Production on

                             February 3, 2023 and the Court heard this motion at the hearing in this

                             matter on February 10, 2023.

                          13. The Court ruled at the February 10, 2023 and March 6, 2023 hearings in this

                             matter that the State ex. Rel. GERO MEYERSIEK, Plaintiff, shall comply with

                             discovery forthwith.



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Reviewer: Doris O.



                          14. At the hearing held on February 10, 2023 in this matter, the State through and

                             by Paul Gould, Esq., represented to the Court that the State on its own

                             removed interest from the system in Defendant's case ﬁle in 2018. TRAC

                             notes dated 12/06/2021 and 12/ 07/ 2021 also state that the State on its own

                             removed interest from the system in Defendant's case ﬁle in October 2018.

                          15. At the hearing held on February 10, 2023 in this matter, the Court ordered the

                             State to put interest back on the system without prejudice to the Defendant.

                          16. The Court ruled at the March 6, 2023 hearing in this matter that the interest

                             number put back on the system without prejudice to the Defendant is only a

                             "starting point" for the sole purpose of having a number to start with, without

                             prejudice to the Defendant. The Court elucidates to the Defendant, "You have

                             to have a number to start with. The State is not saying you owe this number."

                          17. The Court ruled at the March 6, 2023 hearing in this matter that the State ex.

                             Rel. GERO MEYERSIEK, Plaintiff, shall substantiate the interest number

                             which the Court ordered to put back on the system without prejudice to the

                             Defendant.

                          18. I, the Defendant in this matter, in good faith, attempted to confer with the

                             State/ Plaintiff, by and through Paul Gould, Esq., in Court at the March 6,

                             2023 hearing to make discovery in an effort to secure the information and

                             documents requested in my/ Defendant's Request for Product of Documents

                             without court action in the form of a formal Motion to Compel. However, the

                             State/ Plaintiff replied in Court that the State stands by the responses

                             propounded by the State/ Plaintiff in the Plaintist Response to Defendant's

                             Request for Production of Documents dated February 16, 2023 and continues

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Case Number: K20010521M
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Submitted: 6/1/2023 7:15 PM
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                             to stand by those said responses up to June 8, 2023, the date this matter is

                             continued for hearing on the State/Plaintiffs DHS Motion.

                          19. I, the Defendant in this matter, in good faith, again attempted to confer with

                             the State/ Plaintiff, by and through Paul Gould, Esq., since April 14, 2023,

                             including sending more than 12 email confer attempts to make discovery in an

                             effort to secure the information and documents requested in my/ Defendant's

                             Requests for Production of Documents without court action in the form of a

                             formal Motion to Compel. However, the State/ Plaintiff again replied during a

                             May 9, 2023 telephone conference with the Defendant that the State/ Plaintiff

                             stands by the responses propounded by the State/ Plaintiff in the Plaintist

                             Responses to Defendant's Requests for Production of Documents in February

                             and April of 2023. The Defendant further revised Defendant's First Set of

                             Interrogatories pursuant to discussions at the aforesaid May 9, 2023

                             discovery telephone conference, as well as asked the State / Plaintiff in writing

                             via email to reply to the Defendant if the State / Plaintiff has any further

                             questions or issues to discuss without court action, but again, the

                             State/ Plaintiff failed to communicate any objections or issues with the

                             Defendant.

                          20.1 certify that the above is true and correct.


                          Declaration Executed on June 1, 2023 by Mary Seguin




                                                                        Mary Seguin



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                                        Exhibit B
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                                                                             Mary Seguin <maryseguin22022@gmail.com>



 Request for Audio Recording of Remote WebEx hearing
 Mary Seguin <maryseguin22022@gmail.com>                                                 Fri, Feb 2, 2024 at 7:21 PM
 To: virtualfamilyclerk@courts.ri.gov
 Cc: Richard Santamaria <Rdsantamaria@courts.ri.gov>, "Nahabedian, Susan" <snahabedian@courts.ri.gov>

  Dear Clerk of the Family Court,

  I am respectfully requesting the audio recording of the WebEx hearing in this matter, Gero Meyersiek v. Mary Seguin,
  K2001-0521M that was scheduled on February 2, 2024 at 2PM EST.

  Please email the audio recording to me as soon as possible.

  Thank you.

  Respectfully Submitted,
  Mary Seguin

  ---------- Forwarded message ---------
  From: Mary Seguin <maryseguin22022@gmail.com>
  Date: Fri, Feb 2, 2024 at 2:38 PM
  Subject: Request for Audio Recording of Remote WebEx hearing
  To: Santamaria, Richard <rdsantamaria@courts.ri.gov>
  Cc: Gould, Paul (DHS) <Paul.Gould@dhs.ri.gov>, Nahabedian, Susan <snahabedian@courts.ri.gov>


  Dear Clerk of the Court,

  I am respectfully requesting the WebEx hearing audio recording of the hearing in this matter, Gero Meyersiek v Mary
  Seguin, K-0521M that was scheduled on February 2, 2024 at 2PM EST.

  Please email the audio recording to me.

  Thank you.

  Respectfully submitted,
  Mary Seguin



         On Jan 18, 2024, at 2:18 PM, Santamaria, Richard <rdsantamaria@courts.ri.gov> wrote:




         Ms. Seguin,



         We have finished scanning the entire file. I will be emailing you the documents In increments, as I did
         before.




         Thank you for your patience during this process.
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       Regards,

       Richard




        <image001.jpg>

                         Richard Santamaria, Jr.
                         Deputy Clerk
                         Domestic Clerk's Office
                         Rhode Island Family Court
                         One Dorrance Plaza
                         Providence, RI 02903
                         Phone: 401-458-3122
                         rdsantamaria@courts.ri.gov |
                         www.courts.ri.gov




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                                        EXHIBIT G
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                    STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
       PROVIDENCE, S.C.                                                FAMILY COURT


       State of Rhode Island ex rel.              :
       GERO MEYERSIEK                             :
              Plaintiff                           :
                                                  :
       VS.                                        :              DOCKET NO: K010521M
                                                  :
                                                  :
       MARY SEGUIN                                :
           Defendant                              :


             DEFENDANT’S MOTION FOR A VIDEO RECORDING OF TITLE IV-D
                               WEBEX HEARING


                Now comes the Texas Defendant, MARY SEGUIN (“Seguin”) and hereby
       respectfully moves the Chief Judge of Family Court, the Honorable Michael Forte, to
       send the Defendant a sound recording and video recording of the public court
       hearing heard via WebEx scheduled on February 2, 2024 at 2 PM Eastern Time in the
       above-captioned matter, a Title IV-D Case.

                Defendant requests a hearing on this matter.

                Defendant proceeds pro-se in Texas. The State alleges a substantial but
       unsubstantiated $81,652.46 in interest arrears without any evidentiary
       substantiation of the validity and accuracy of the alleged arrears on the
       record in this interstate Title IV-D Program case.

                During the entirety of the trial phase of the Title IV-D case WebEx hearing on the
       State’s alleged $81,852.46 in interest arrears, the WebEx Host/Magistrate forcibly
       muted the Defendant for the entire “trial phase” all the way to and through the
       Magistrate’s reading the decision into the record. Only after the decision was read into
       the record was the Defendant unmuted by the WebEx Host/Magistrate. Defendant was
       unable to unmute the Host’s/Magistrate’s mute, and repeatedly pushed the “raise hand”
       button to signal Defendant’s intent to speak to present Defendant’s case, but to no avail.

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          I.       Background

                While the court records lacks documentary evidence substantiating the State’s
       allegation of the $81,654.62 in interest arrears, on the other hand, Defendant has filed
       several motions and submitted evidence into the record from February 3, 2023 to
       August 2023 documentary evidence of screen shots taken on December 6, 2021 showing
       “$0.00 interest” reflected on the Defendant’s online account as of November 30, 2021
       which Office of Child Support Services represented to the Texas Defendant showed that
       interest was waived by the Plaintiff. Defendant’s online account screenshot on
       December 6, 2021 showing “$0.00 interest” coupled with Office of Child Support
       Services representation that the “$0.00 interest” showed interest was waived by the
       Plaintiff led the Texas Plaintiff to reasonably rely on the accuracy of the State’s
       representation that interest was waived, in consideration of the Defendant agreeing to
       pay off the principle in one lump sum. Defendant in Texas accepted and paid in full IN
       ONE LUMP SUM the pay off of $104,185.98 that Office of Child Support sent to
       Defendant in writing by email to pay off arrears in full via bank wire on December 7,
       2021, in consideration of the Plaintiff GERO MEYERSIEK waiving interest. The
       agreement was brokered by the State, by Deputy Legal Counsel Kevin Tigue (“Tigue”) of
       Office of Child Support Services and Attorney Barbara Grady on behalf of Plaintiff
       GERO MEYERSIEK. This is documented in the Defendant’s Title IV-D Child Support
       case file on the “TRAC dated 12/06/2021 and 12/07/2021” that shows Tigue brokering
       the interest waiver with Attorney Barbara Grady on behalf of Gero Meyersiek in
       consideration of Defendant paying a lump sum payment of $104, 185.98 in principle as
       payoff. Defendant submitted the aforesaid documents into the record, attached to
       Defendant’s affidavits. Defendant again attaches the aforesaid online account screen
       shot showing “$0.00 interest” as of November 30, 2021 and the “TRAC for 12/06/2021
       and 12/07/2021” as Exhibit A to this Motion.

                Additionally, at a Prehearing telephonic conference that took place on October 5,
       2022, The participants of the telephone call were John Langlois, Esq., of the Rhode
       Island Office of Child Support Services in Rhode Island, Debra DeStefano, Esq., the
       Hearing Officer of the Rhode Island Executive Office of Health and Human Services
       Office of Appeals in Rhode Island, and Defendant in Texas. Defendant, in Texas,

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       recorded the phone call starting at 12:30PM Central Time, or 1:30PM Eastern Time. The
       recording of the telephone call is 1 hour 35 minutes and 38 seconds long. Defendant is
       admitting into evidence the recording. Listen to the audio recording at the link here:

                   https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-
                   hBMaEg9/view?usp=sharing



                Because the entire recording is over one and half hour long, Defendant admitted
       into evidence the attached true and accurate part of the recording where John Langlois,
       Esq., of the Rhode Island Office of Child Support Services in Rhode Island stated to
       Defendant and Debra DeStefano “what happened in this case is when Mary’s
       representative, her attorney, called us in later November 2021 and said she wants her
       passport released, what does she have to do to release her passport, they put her in
       touch with Karla, who gave her the $104k number. Where that number came from was
       the department attorney contacted the custodial parent, Mr. MEYERSIEK. So, we
       contacted his attorney, it wasn’t me, it was somebody else in my office, and said, if she
       was willing to make a $104k payment to pay off the principal, would you be willing to
       waive the $75k or $73k in arrears. At that time, he said yes. So Karla notified Mary that
       if she paid the $104k, it would be paid in full because he was willing to waive the
       interest, that was just the principle. What happened was the day after Karla told Mary to
       wire the $104k the attorney for Mr. Meyersiek contacted us again and said he changed
       his mind. Please put the interest back on the system. So we did.”

                https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-
                hBMaEg9/view?usp=sharing
                The above are but some of the many evidence the Defendant had already
       submitted into the record on file, but not formally admitted into evidence by a trial
       justice at a hearing. Therefore, the record is amply clear that Defendant intends and
       seeks to exercise her right to the opportunity to be heard (not muted in a WebEx hearing
       by the Magistrate the duration of the trial phase of the hearing).

          II.      Defendant was forcibly Muted for the Entire Duration of the Trial
                   Phase of the Hearing

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                1. The WebEx Host/Magistrate had put Defendant on mute throughout the
                   duration of the State’s witness testimony all the way through to reading into
                   the record the decision using a new WebEx Mute function. Defendant was
                   unable as an individual participant to unmute the WebEx Host‘s mute of the
                   Defendant.
                2. For the duration of the opposing party’s testimony and then through to the
                   end of the reading of the decision into the record, Defendant was forcibly put
                   on mute.
                3. Defendant pressed the “raise hand” button repeatedly seeking to be heard, but
                   to no avail.
                4. If the act of forcibly muting Defendant is not on the appeal record in the
                   WebEx hearing, the record is inaccurate, falsely making it look like Defendant
                   didn’t mount a defense/present evidence before the decision, when in fact
                   Defendant was forcibly muted and used the “raise hand” button repeatedly to
                   signal Defendant’s intent to speak/present evidence/present argument
                   throughout the “trial evidence and argument” phase, but to no avail.
                5. The transcript must accurately reflect the fact that the WebEx
                   Host/Magistrate had forcibly put the Defendant on mute throughout the
                   duration of the trial, resulting in the trial consisted only of the State’s witness
                   testimony, all the way through to the reading into the record the court’s
                   decision using a new WebEx Host mute function. Defendant was unable as an
                   individual participant to unmute the WebEx Host‘s mute of the Defendant.
                6. The Host’s/Magistrate’s mute of the Defendant was not explicitly verbalized
                   on the record beforehand or after unmuting. But the act of the forcible
                   Host/Magistrate muting of the Defendant, when said muting occurred during
                   the State’s testimony/evidence/argument, is crucial to the accuracy of the
                   record, that is guaranteed by the due process provisions of Federal Title IV-D.
                7. Defendant was forcibly muted from raising objections to the opposing party’s
                   questions on their direct.
                8. Defendant was forcibly muted from cross-examining the State’s witness.



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                9. Defendant was forcibly muted from presenting Defendant’s evidence, inter
                   alia the above-mentioned evidence.
                10. Defendant was forcibly muted from presenting Defendant’s arguments
                   regarding the State’s insufficiency/lack of evidence substantiating or
                   supporting the accuracy of alleged arrears calculated and alleged owed.
                11. Defendant was forcibly muted from being heard on evidence and arguments.
                12. Then, going straight to reading a judgment into the record while still keeping
                   Defendant on mute makes the alleged judgement read into the record lack due
                   process. The record must reflect the act of muting the Defendant for the
                   entire trial phase of the hearing.
                13. If the act of forcibly muting the Defendant is not on the record in the WebEx
                   hearing, the record is inaccurate, making it look like Defendant did not mount
                   a defense/present evidence before the decision, when in fact Defendant was
                   forcibly muted and vigorously used the “raise hand” button repeatedly to
                   signal Defendant’s intent to speak and present Defendant’s evidentiary case
                   throughout the “trial evidence and argument” phase, but to no avail.
                14. From the start of mute to the time of unmuting must be part of the record.
                15. The Texas Defendant was summoned to a WebEx hearing where Defendant
                   was forcibly muted and prevented from being heard for the crucial entire
                   phase of the “trial, evidence and argument” of the hearing all the way through
                   to the reading of the decision into the record, which must be preserved in the
                   record to reflect a true/accurate record of the proceeding.
                16. The Defendant respectfully requests to obtain a complete and true video
                   record of the WebEx hearing that appeared on the computer screen replete
                   with being forcibly muted as is indicated by a crossed out microphone icon at
                   the bottom-right corner of the participant’s window, replete with showing the
                   “raising hand” icon pressed and all the crucial records showing the
                   suppression of Defendant’s intent to be heard that must be preserved on the
                   record.
                17. This was a public hearing which was live-streamed.
                18. Defendant requests a sound and video recording of the above WebEx hearing.


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                19. The issue of paramount concern, among others, is the due process protections
                   that apply. The state child-support enforcement program at issue in this
                   matter (which is an interstate child support case), like that in every other
                   State, is part of one of the largest cooperative federal-state programs,
                   established under the Social Services Amendments of 1974 (1975 Act), Pub. L.
                   No. 93-647, § 101(a), 88 Stat. 2351 (42 U.S.C. 651 et seq.) (adding Title IV-D
                   to the Social Security Act).

                20. Congress and the Secretary of the U.S. Department of Health and Human
                   Services have demonstrated their concern that child-support-related
                   proceedings be conducted fairly by repeatedly making compliance with
                   procedural due process rules a requirement of State participation in the
                   program. (E.g. See, e.g., 42 U.S.C. 666(a)(3)(A) (reduction of non-custodial
                   parents’ state income tax refunds to pay overdue support permitted only
                   “after full compliance with all procedural due process requirements of the
                   State”); 42 U.S.C. 666(a)(7)(B)(i) (States must report child-support
                   delinquency to credit bureaus “only after [the] parent has been afforded all
                   due process required under State law, including notice and a reasonable
                   opportunity to contest the accuracy of such information.”); 42 U.S.C.
                   666(a)(8)(B)(iv) (income withholding “must be carried out in full compliance
                   with all procedural due process requirements of the State”); 42 U.S.C.
                   666(c)(1)(H) (expedited State agency procedures “shall be subject to due
                   process safeguards, including (as appropriate) requirements for notice,
                   opportunity to contest the action, and opportunity for an appeal on
                   the record to an independent administrative or judicial tribunal”); see also
                   45 C.F.R. 302.70(a)(5)(iii), 303.5(g)(2)(iii), 303.100(a)(6) & (f)(4),
                   303.101(c)(2), 303.102(c)(1), 303.104(b).

                21. It is therefore unequivocal that due process in any and all tribunal(s) must
                   provide the Defendant Noncustodial Parent the opportunity to
                   contest the accuracy of the information and/or the accuracy of the
                   alleged arrears put forth by the State Agency, a Title IV-D Program State
                   Agency, as in this instant case here.

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                22. Under Turner v. Rogers, et al., 564 U.S. 431 (2011), the pro-se Texas
                   Defendant has the due process and equal protection right to (1) identify the
                   central issues; (2) present evidence; (3) present arguments.
                23. Defendant further sent a written letter request to the Office of the Chief Judge
                   of the Family Court for the same audio and video recordings.
                24. In support of this motion, the Defendant attaches to this herein motion the
                   following evidence ( just a portion of the total evidence) that Defendant was
                   prevented from presenting at the WebEx hearing – these were also previously
                   submitted into the record by the Defendant from February 2023 to June
                   2023:
                              (1) A copy of the screen shots of Noncustodial Parent Defendant’s
                                 online child support account statement of total arrears owed
                                 that shows “$0.00” under “Interest” as of November 30, 2021
                                 which Karla Cabelleros of Office of Child Support Services told
                                 the Defendant showing Gero Meyersiek waived interest and to
                                 rely on the arrears amount figures on the screen stating
                                 “$93,214.56 of principle arrears, $0.00 of interest.”
                              (2) A copy of the TRAC notes of 12/6/2021 and 12/7/2021
                              (3) A copy of the emails between Defendant and Karla Caballeros
                                 on December 6, 2021 and December 7, 2021.

       WHEREFORE, the Defendant respectfully requests the Chief Judge of this Honorable
       Court to:

                1. Grant the Defendant’s Motion for an audio recording and Video recording of
                   the February 2, 2024 Title IV-D WebEx Hearing on this matter.
                2. Declare that Defendant’s child support record file maintained by the Rhode
                   Island Office of Child Support Services that by law codified in Title IV-D
                   Program of the Social Security Act must be produced to the Defendant
                   Noncustodial Parent upon request, including the factual events in this case
                   relating to the waiver of interest that is material to the accuracy of the alleged
                   interest arrears.
                3. Order a hearing.
                4. Listen to and admit into evidence the audio recording of John Langlois of
                   Office of Child Support Services here:
                   https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-
                   hBMaEg9/view?usp=sharing


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                5. For further relief as the Court deems reasonable and fair under the
                   circumstances.


       Respectfully submitted,

       February 5, 2024

                                                  FOR DEFENDANT
                                                  MARY SEGUIN, Pro Se.

                                                  By: ________________
                                                  Mary Seguin
                                                  P.O. Box 22022
                                                  Houston, TX 77019
                                                  maryseguin22022@gmail.com




                                              CERTIFICATION

       I hereby certify that a copy of the within Motion was filed on February 5, 2024
       electronically using the Court’s Odyssey File and Serve, with service to
       paul.gould@dhs.ri.gov and dhs.courtfile@dhs.ri.gov

                                                         _______________________




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                                        EXHIBIT H
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                    STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
       PROVIDENCE, S.C.                                               FAMILY COURT


       State of Rhode Island ex rel.             :
       GERO MEYERSIEK                            :
              Plaintiff                          :
                                                 :
       VS.                                       :              DOCKET NO: K20010521M
                                                 :
                                                 :
       MARY SEGUIN                               :
           Defendant                             :


                  DEFENDANT’S MOTION TO DISMISS INTEREST ARREARS


                The Texas Defendant, MARY SEGUIN (“Seguin”), proceeding pro-se, hereby
       moves to dismiss interest arrears. Defendant respectfully requests and moves for a
       hearing on Defendant’s herein Motion to Dismiss Interest Arrears.

                Defendant separately filed accompanying this motion Defendant’s Motion to
       Disqualify Magistrate Nahabedian, that is related to this herein motion. As facts fully
       alleged herein, Defendant incorporates all the facts averred to in Defendant’s Motion to
       Disqualify that outlines the fact at the WebEx Hearing scheduled at 2 PM Eastern Time
       on February 2, 2024, Magistrate Nahabedian instructed the Defendant to file a separate
       Motion to challenge the accuracy of the information presented on the record in this
       matter by the Office of Child Support Services (“the State”) of the alleged interest owed
       and to challenge whether interest is owed. Additionally, the Defendant requests and
       moves for a hearing to present evidence showing that the Plaintiff’s private attorney
       Barbara Grady provided oral representation and sent written statements representing to
       the Office of Child Support Services that Gero Meyersiek waived interest.

                In support of Defendant’s herein Motion to Dismiss Interest Arrears, the
       Defendant again re-attaches Defendant’s Affidavit of the Facts filed and submitted into
       the record in this matter on June 1, 2023 (see Exhibit A) and states the following facts:



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                1. The State (Rhode Island Office of Child Support Services) computation of
                   alleged interest arrears of over $81k is inaccurate and the Defendant
                   moves for a hearing to challenge and question the State on the State’s
                   information and computation.
                2. The child in question turned 18 years old and was emancipated on April
                   21, 2018, and is now a 24 year old adult.
                3. Further, Defendant received in the mail a Notice of Lien for the amount of
                   $75,638.00 dated March 3, 2022 issued by the Rhode Island Office of
                   Child Support Services without supporting documentation justifying the
                   lien amount on and around mid-March 2022.
                4. In April 2022, Defendant filed a written appeal of the lien. Defendant’s
                   written appeal was docketed on April 4, 2022 at the Office of Appeals of
                   the Rhode Island Executive Office of Health and Human Services,
                   Docket#22-2116. The Administrative Hearing was continued to the
                   maximum of three times by the Appeals Office due to the failure of the
                   Office of Child Support Services to grant Defendant access to Defendant’s
                   child support case file.
                5. On October 5, 2022 a telephonic conference took place prior to the
                   Administrative Hearing. The participants of the telephone call were John
                   Langlois, Esq., of the Rhode Island Office of Child Support Services in
                   Rhode Island, Debra DeStefano, Esq., the Hearing Officer of the Rhode
                   Island Executive Office of Health and Human Services Office of Appeals in
                   Rhode Island, and Defendant in Texas. Defendant, in Texas, recorded the
                   phone call starting at 12:30PM Central Time, or 1:30PM Eastern Time.
                   The recording of the telephone call is 1 hour 35 minutes and 38 seconds
                   long. Defendant is admitting into evidence the recording, Exhibit A.
                   Listen to the audio recording at the link here:
                   https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-
                   hBMaEg9/view?usp=sharing
                6. Because the entire recording is over one and half hour long, Defendant
                   admits into evidence the attached true and accurate part of the recording
                   where John Langlois, Esq., of the Rhode Island Office of Child Support
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                   Services in Rhode Island stated to Defendant and Debra DeStefano “what
                   happened in this case is when Mary’s representative, her attorney, called
                   us in later November 2021 and said she wants her passport released, what
                   does she have to do to release her passport, they put her in touch with
                   Karla, who gave her the $104k number. Where that number came from
                   was the department attorney contacted the custodial parent, Mr.
                   MEYERSIEK. So, we contacted his attorney, it wasn’t me, it was somebody
                   else in my office, and said, if she was willing to make a $104k payment to
                   pay off the principal, would you be willing to waive the $75k or $73k in
                   arrears. At that time, he said yes. So Karla notified Mary that if she paid
                   the $104k, it would be paid in full because he was willing to waive the
                   interest, that was just the principal. What happened was the day after
                   Karla told Mary to wire the $104k the attorney for Mr. Meyersiek
                   contacted us again and said he changed his mind. Please put the interest
                   back on the system. So we did.”
                   https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-
                   hBMaEg9/view?usp=sharing
                7. Karla Caballeros of the Rhode Island Office of Child Support Services
                   notified the Texas Defendant Seguin on December 7, 2021 that if the
                   Defendant paid the $104,185.98 it would be paid in full because Gero
                   Meyersiek waived the interest. Defendant agreed, and on December 7,
                   2021, on the same day of Karla Caballeros’ notification, Defendant paid
                   the $104,185.98 through bank wire in Texas. After Defendant paid the full
                   amount through bank wire, Defendant emailed Karla Caballeros also on
                   the same day on December 7, 2021 that Defendant wired it.
                8. Rhode Island Office of Child Support Services also emailed and mailed
                   through regular mail to Defendant on or about February 2023 during
                   Court ordered discovery the Office of Child Support’s “TRAC note” of
                   12/06/2021 and 12/07/2021 that states, “Agent contacted me that NCP
                   wants to pay all arrears to obtain passport. I called CP private attorney
                   Barbara Grady to advise, and to discuss if CP wants the interest put back
                   on the case (REDACTED). We removed the interest when case was made
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                   UI when we were filing to Texas. Atty Grady checked with CP and CP is
                   satisfied with the lump sum payment of principle of $104k+/-. After
                   conference with Monique and Frank Dibiase, it was decided to require
                   payment in more secure/less reversable form than credit card, so $ will
                   need to be wired by bank check. Agent will be contacted back by NCP as
                   NCP won’t give phone number or email address. Agent is not even sure if
                   NCP is in country. Interest is not included in amount that is considered for
                   passport purposes in any event.” The statements contained in the
                   Defendant’s Second Rule 7(b)(3)(G) Motion to Compel Production filed on
                   March 27 3, 2023 in the Family Court and Defendant’s Third Rule
                   7(b)(3)(G) Motion to Compel filed on June 1, 2023 are, to Defendant’s
                   knowledge, true and correct.
                9. Defendant filed Defendant’s First Rule 7(b)(3)(G) Motion to Compel
                   Production on February 3, 2023 and the Court heard this motion at the
                   hearing in this matter on February 10, 2023.
                10. The Court ruled at the February 10, 2023 and March 6, 2023 hearings in
                   this matter that the State ex. Rel. GERO MEYERSIEK, Plaintiff, shall
                   comply with discovery forthwith.
                11. At both the WebEx hearing held on February 10, 2023 in this matter and
                   at the February 2, 2024 WebEx hearing in this matter, the State through
                   and by Paul Gould, Esq., represented to the Court that the State on its own
                   removed interest from the system in Defendant’s case file in 2018. TRAC
                   notes dated 12/06/2021 and 12/07/2021 also state that the State on its
                   own removed interest from the system in Defendant’s case file in October
                   2018.
                12. At the hearing held on February 10, 2023 in this matter, the Court ordered
                   the State to put interest back on the system without prejudice to the
                   Defendant.
                13. The Court ruled at the March 6, 2023 hearing in this matter that the
                   interest number put back on the system without prejudice to the
                   Defendant is only a “starting point” for the sole purpose of having a
                   number to start with, without prejudice to the Defendant. The Court
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                   elucidates to the Defendant, “You have to have a number to start with. The
                   State is not saying you owe this number.”
                14. The Court ruled at the March 6, 2023 hearing in this matter that the State
                   ex. Rel. GERO MEYERSIEK, Plaintiff, shall substantiate the interest
                   number which the Court ordered to put back on the system without
                   prejudice to the Defendant.
                15. The Defendant in this matter, in good faith, attempted to confer with the
                   State/Plaintiff, by and through Paul Gould, Esq., in Court at the March 6,
                   2023 hearing to make discovery in an effort to secure the information and
                   documents requested in Defendant’s Request for Product of Documents
                   without court action in the form of a formal Motion to Compel. However,
                   the State/ Plaintiff replied in Court that the State stands by the responses
                   propounded by the State/Plaintiff in the Plaintiff’s Response to
                   Defendant’s Request for Production of Documents dated February 16,
                   2023 and continues to stand by those said responses up to June 8, 2023.
                16. The Defendant requested any and all documents in Defendant’s child
                   support case file relating to the TRAC notes of 12/6/2021 and 12/7/2021
                   as well as relating the substance of John Langlois’s statements regarding
                   “what happened in this case” that discuss Gero Meyersiek’s lawyer Barbara
                   Grady phoning the Office of the Child Support Services that Gero
                   Meyersiek said yes, he “agreed to waive the $73k or $75k that are in
                   arrears,” which are part of Defendant’s child support case file. (audio
                   recording of John Langlois is here
                   https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-
                   hBMaEg9/view?usp=sharing But, the Office of the Child Support Services
                   refused to produce those records, claiming Client-Attorney Privilege.
                   However, the State never produced any Privilege Log, as is required by
                   law.
                17. The Defendant in good faith again attempted to confer with the
                   State/Plaintiff, by and through Paul Gould, Esq., since April 14, 2023,
                   including sending more than 12 email confer attempts to make discovery
                   in an effort to secure the information and documents requested in
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                   my/Defendant’s Requests for Production of Documents without court
                   action in the form of a formal Motion to Compel. However, the
                   State/Plaintiff again replied during a May 9, 2023 telephone conference
                   with the Defendant that the State/Plaintiff stands by the responses
                   propounded by the State/Plaintiff in the Plaintiff’s Responses to
                   Defendant’s Requests for Production of Documents in February and April
                   of 2023. The Defendant further revised Defendant’s First Set of
                   Interrogatories pursuant to discussions at the aforesaid May 9, 2023
                   discovery telephone conference, as well as asked the State/Plaintiff in
                   writing via email to produce Defendant’s requested documents in
                   Defendant’s child support case file relating to “TRAC notes of 12/6/2021
                   and 12/7/2021” as well as relating to the substance of John Langlois’s
                   audio recorded October 5, 2022 statements regarding “what happened in
                   this case” that discuss Gero Meyersiek’s lawyer Barbara Grady phoning the
                   Office of the Child Support Services that Gero Meyersiek said yes, he
                   “agreed to waive the $73k or $75k that are in arrears,” which are part of
                   Defendant’s child support case file.
                18. The issue of paramount concern, among others, is the due process
                   protections that apply. The state child-support enforcement program at
                   issue in this matter (which is an interstate child support case), like that
                   in every other State, is part of one of the largest cooperative federal-state
                   programs, established under the Social Services Amendments of 1974
                   (1975 Act), Pub. L. No. 93-647, § 101(a), 88 Stat. 2351 (42 U.S.C. 651 et
                   seq.) (adding Title IV-D to the Social Security Act).

                19. Congress and the Secretary of the U.S. Department of Health and Human
                   Services have demonstrated their concern that child-support-related
                   proceedings be conducted fairly by repeatedly making compliance with
                   procedural due process rules a requirement of State participation in the
                   program. (E.g. See, e.g., 42 U.S.C. 666(a)(3)(A) (reduction of non-
                   custodial parents’ state income tax refunds to pay overdue support
                   permitted only “after full compliance with all procedural due process

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                   requirements of the State”); 42 U.S.C. 666(a)(7)(B)(i) (States must report
                   child-support delinquency to credit bureaus “only after [the] parent has
                   been afforded all due process required under State law, including notice
                   and a reasonable opportunity to contest the accuracy of such
                   information.”); 42 U.S.C. 666(a)(8)(B)(iv) (income withholding “must
                   be carried out in full compliance with all procedural due process
                   requirements of the State”); 42 U.S.C. 666(c)(1)(H) (expedited State
                   agency procedures “shall be subject to due process safeguards, including
                   (as appropriate) requirements for notice, opportunity to contest the
                   action, and opportunity for an appeal on the record to an
                   independent administrative or judicial tribunal”); see also 45 C.F.R.
                   302.70(a)(5)(iii), 303.5(g)(2)(iii), 303.100(a)(6) & (f)(4), 303.101(c)(2),
                   303.102(c)(1), 303.104(b).

                20. It is therefore unequivocal that due process in any and all State tribunal(s)
                   in the United States must provide the Defendant Noncustodial
                   Parent the opportunity to contest the accuracy of the information
                   and/or the accuracy of the alleged arrears put forth by the State
                   Agency, a Title IV-D Program State Agency, as in this instant case here.
                21. In support of this motion, the Defendant attaches to this herein motion the
                   following:
                          (1) A copy of the screen shots of Noncustodial Parent Defendant’s
                                online child support account statement of total arrears owed
                                that shows “$0.00” under “Interest” as of November 30, 2021
                                which Karla Cabelleros of Office of Child Support Services told
                                the Defendant showing Gero Meyersiek waived interest and to
                                rely on the arrears amount figures on the screen stating
                                “$93,214.56 of principle arrears, $0.00 of interest.” Marked as
                                Exhibit B
                          (2) A copy of the TRAC notes of 12/6/2021 and 12/7/2021 marked
                                as Exhibit C



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                             (3) A copy of the letter from Executive Office of Health and Human
                                Services Appeals Officer, Debra DeStefano, sent to the
                                Defendant in Texas outlining agreements made at the pre-
                                hearing conference held on October 5, 2022, where John
                                Langlois stated, “So, we contacted his attorney, it wasn’t me, it
                                was somebody else in my office, and said, if she was willing to
                                make a $104k payment to pay off the principal, would you be
                                willing to waive the $75k or $73k in arrears. At that time, he
                                said yes. So Karla notified Mary that if she paid the $104k, it
                                would be paid in full because he was willing to waive the
                                interest, that was just the principal.” Listen to the audio
                                recording here:
                                https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_
                                -hBMaEg9/view?usp=sharing Marked as Exhibit D.
                             (4) A copy of the emails between Defendant and Karla Caballeros
                                on December 6, 2021 and December 7, 2021. Marked as
                                Exhibit E.

       WHEREFORE, the Defendant respectfully requests the Chief Judge or designee-Judge
       Merolla of this Honorable Court to:

                1. Grant the Defendant’s Motion to Dismiss Interest Arrears.
                2. Grant the Defendant’s request for her records relating to the “TRAC notes of
                   12/6/2021 and 12/7/2021” as well as relating to the substance of John
                   Langlois’s audio recorded October 5, 2022 statements regarding “what
                   happened in this case” that discuss Gero Meyersiek’s lawyer Barbara Grady
                   phoning the Office of the Child Support Services that Gero Meyersiek said yes,
                   he “agreed to waive the $73k or $75k that are in arrears” as of December 6,
                   2021 and October 5, 2022 which are part of Defendant’s child support case
                   file.
                3. Declare that Defendant’s child support record file maintained by the Rhode
                   Island Office of Child Support Services that by law codified in Title IV-D
                   Program of the Social Security Act must be produced to the Defendant
                   Noncustodial Parent upon request.
                4. Order a hearing on the herein issues raised in this matter.
                5. Listen to and admit into evidence the audio recording of John Langlois of
                   Office of Child Support Services here:
                   https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-
                   hBMaEg9/view?usp=sharing

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                6. For further relief as the Court deems reasonable and fair under the
                   circumstances.


       Respectfully submitted,

       February 4, 2024

                                                  FOR DEFENDANT
                                                  MARY SEGUIN, Pro Se.

                                                  By: ________________
                                                  Mary Seguin
                                                  P.O. Box 22022
                                                  Houston, TX 77019
                                                  maryseguin22022@gmail.com




                                              CERTIFICATION

       I hereby certify that a copy of the within Motion was filed on February 4, 2024
       electronically using the Court’s Odyssey File and Serve, with service to
       paul.gould@dhs.ri.gov and dhs.courtfile@dhs.ri.gov

                                                         _______________________




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                                    Exhibit A
Case Number: K20010521M
Filed in Providence/Bristol County Family Court
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Submitted: 6/1/2023 7:15 PM
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                                                                                         04/07/2024   Entry ID: 6635160
                                                                                                                6630894
                                                                                                                6634138
Envelope:  4132664
Reviewer: Doris O.



                                STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
                PROVIDENCE, S.C.                                                     FAMILY COURT

                State of Rhode Island ex rel.
                GERO MEYERSIEK
                     Plaintiff

                VS.                                             :              DOCKET NO: K010521M


                MARY SEGUIN
                          Defendant

                       MARY SEGUIN's DECLARATION PURSUANT To RULE 37(a)(2) IN
                       SUPPORT 0F DEFENDANT'S THIRD RULE 7(b)(3) (G) MOTION TO
                      COMPEL PRODUCTION UNDER RULE 34(b), RULE 37(a)(2)(3), RULE
                                       26(b)((1), RULE 26(b)(5)




                          I, MARY SEGUIN ("Plaintiff"), resident Of the State Of Texas, in good faith,

                certify, declare, verify and state pursuant tO 28 U.S. Code sec 1746, under penalty Of

                perjury that the foregoing is true and correct:

                          1.   I received in the mail a Notice of Lien for the amount of $75,638.00 dated

                               March 3, 2022 issued by the Rhode Island Ofﬁce of Child Support Services on

                               and around mid-March 2022. In April 2022, I ﬁled a written appeal of the

                               lien. My written appeal was docketed on April 4, 2022 at the Ofﬁce of

                               Appeals of the Rhode Island Executive Ofﬁce of Health and Human Services,

                               Docket#22-2116. The Administrative Hearing was continued to the

                               maximum of three times by the Appeals Ofﬁce due to the failure of the Ofﬁce

                               Of Child Support Services to grant me, the Appellant, access to my case ﬁle.


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                                                                                         04/07/2024   Entry ID: 6635160
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Envelope:  4132684
Reviewer: Doris O.



                             On October 5, 2022 a telephonic conference took place prior to the

                             Administrative Hearing. The participants of the telephone call were John

                             Langlois, Esq., of the Rhode Island Ofﬁce of Child Support Services in Rhode

                             Island, Debra DeStefano, Esq., the Hearing Ofﬁcer of the Rhode Island

                             Executive Ofﬁce of Health and Human Services Ofﬁce of Appeals in Rhode

                             Island, and myself in Texas. I, in Texas, recorded the phone call starting at

                             12:30PM Central Time, or 1:30PM Eastern Time. The recording of the

                             telephone call is 1 hour 35 minutes and 38 seconds long. I am admitting into

                             evidence the recording.

                          2. Because the entire recording is over one and half hour long, I admit into

                             evidence the attached true and accurate part of the recording where John

                             Langlois, Esq., of the Rhode Island Ofﬁce of Child Support Services in Rhode

                             Island stated to me and Debra DeStefano "what happened in this case is when

                             Mary's representative, her attorney, called us in later November 2021 and said

                             she wants her passport released, what does she have to do to release her

                             passport, they put her in touch with Karla, who gave her the $104k number.

                             Where that number came from was the department attorney contacted the

                             custodial parent, Mr. MEYERSIEK. So, we contacted his attorney, it wasn't

                             me, it was somebody else in my ofﬁce, and said, if she was willing to make a

                             $104k payment to pay off the principal, would you be willing to waive the

                             $75k or $73k in arrears. At that time, he said yes. So Karla notiﬁed Mary that

                             if she paid the $104k, it would be paid in full because he was willing to waive
                             the interest, that was just the principal. What happened was the day after

                             Karla told Mary to Wire the $104k the attorney for Mr. Meyersiek contacted us

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                               again and said he changed his mind. Please put the interest back on the

                               system. So we did."

                          3. I attempted to attach the audio ﬁle recording to the Rhode Island Courts e-

                               ﬁling Tyler Technologies system but was informed by the system that audio
                               ﬁles cannot be uploaded as attachments.

                          4. Therefore, I uploaded the audio ﬁle to Google Drive and shared it with

                               DomesticExhibits@Courts.ri.gov and pau1.gould@dhs.ri.gov

                          5. I further attach here the link of the shared Audio File on Google Drive as

                               https: //drive.google.com/file/d/11701n42KYv21NHK3FJ4iN41          -




                               hBMaEgQ/View?usp=sharing

                          6. I granted access to this audio ﬁle on Google Drive to

                               DomesticEXhibits@courts.ri.gov and Daul.gould@dhs.ri.go\z

                          7.   I further emailed DomesticExhibits@courts.ri.gov and Daul.gould@dhs.ri.gov

                               that this is the audio ﬁle attached to my afﬁdavit ﬁled herein in Court to

                               Admit the audio ﬁle into evidence in the above captioned matter in Family

                               Court, K20010521M.

                          8. The Family Court Clerk told me to email my exhibits and evidence along with

                               the case number K20010521M to DomesticEXhibits@courts.ri.gov

                          9. Karla Caballeros of the Rhode Island Ofﬁce of Child Support Services notiﬁed

                               me on December 7, 2021 that if I paid the $104,185.98 it would be paid in full

                               because Gero Meyersiek waived the interest. I agreed, and on December 7,

                               2021, on the same day of Karla Caballeros' notiﬁcation, I paid the $104,185.98

                               through bank wire. After I paid the full amount through bank wire, I emailed

                               Karla Caballeros also on the same day on December 7, 2021 that I wired it.

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                          10. Rhode Island Ofﬁce of Child Support Services also emailed and mailed

                             through regular mail to me during litigation the TRAC note of 12/06/2021

                             and 12 / 07/ 2021 that says, "Agent contacted me that NCP wants to pay all

                             arrears to obtain passport. I called CP private attorney Barbara Grady to

                             advise, and to discuss if CP wants the interest put back on the case

                             (REDACI'ED). We removed the interest when case was made UI when we
                             were ﬁling to Texas. Atty Grady checked with CP and CP is satisﬁed with the

                             lump sum payment of principle of $104k+/-. After conference with Monique

                             and Frank Dibiase, it was decided to require payment in more secure/less

                             reversable form than credit card, so $ will need to be Wired by bank check.

                             Agent will be contacted back by NCP as NCP won't give phone number or

                             email address. Agent is not even sure if NCP is in country. Interest is not

                             included in amount that is considered for passport purposes in any event.

                          11. The statements contained in the Defendant's Second Rule 7(b)(3)(G) Motion


                             to Compel Production ﬁled on March 27 3, 2023 in the Family Court and

                             Defendant's Third Rule 7(b)(3)(G) Motion to Compel ﬁled on June 1, 2023

                             are, to my knowledge, true and correct.

                          12. I ﬁled my/ Defendant's First Rule 7(b) (3)(G) Motion to Compel Production on

                             February 3, 2023 and the Court heard this motion at the hearing in this

                             matter on February 10, 2023.

                          13. The Court ruled at the February 10, 2023 and March 6, 2023 hearings in this

                             matter that the State ex. Rel. GERO MEYERSIEK, Plaintiff, shall comply with

                             discovery forthwith.



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                          14. At the hearing held on February 10, 2023 in this matter, the State through and

                             by Paul Gould, Esq., represented to the Court that the State on its own

                             removed interest from the system in Defendant's case ﬁle in 2018. TRAC

                             notes dated 12/06/2021 and 12/ 07/ 2021 also state that the State on its own

                             removed interest from the system in Defendant's case ﬁle in October 2018.

                          15. At the hearing held on February 10, 2023 in this matter, the Court ordered the

                             State to put interest back on the system without prejudice to the Defendant.

                          16. The Court ruled at the March 6, 2023 hearing in this matter that the interest

                             number put back on the system without prejudice to the Defendant is only a

                             "starting point" for the sole purpose of having a number to start with, without

                             prejudice to the Defendant. The Court elucidates to the Defendant, "You have

                             to have a number to start with. The State is not saying you owe this number."

                          17. The Court ruled at the March 6, 2023 hearing in this matter that the State ex.

                             Rel. GERO MEYERSIEK, Plaintiff, shall substantiate the interest number

                             which the Court ordered to put back on the system without prejudice to the

                             Defendant.

                          18. I, the Defendant in this matter, in good faith, attempted to confer with the

                             State/ Plaintiff, by and through Paul Gould, Esq., in Court at the March 6,

                             2023 hearing to make discovery in an effort to secure the information and

                             documents requested in my/ Defendant's Request for Product of Documents

                             without court action in the form of a formal Motion to Compel. However, the

                             State/ Plaintiff replied in Court that the State stands by the responses

                             propounded by the State/ Plaintiff in the Plaintist Response to Defendant's

                             Request for Production of Documents dated February 16, 2023 and continues

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                             to stand by those said responses up to June 8, 2023, the date this matter is

                             continued for hearing on the State/Plaintiffs DHS Motion.

                          19. I, the Defendant in this matter, in good faith, again attempted to confer with

                             the State/ Plaintiff, by and through Paul Gould, Esq., since April 14, 2023,

                             including sending more than 12 email confer attempts to make discovery in an

                             effort to secure the information and documents requested in my/ Defendant's

                             Requests for Production of Documents without court action in the form of a

                             formal Motion to Compel. However, the State/ Plaintiff again replied during a

                             May 9, 2023 telephone conference with the Defendant that the State/ Plaintiff

                             stands by the responses propounded by the State/ Plaintiff in the Plaintist

                             Responses to Defendant's Requests for Production of Documents in February

                             and April of 2023. The Defendant further revised Defendant's First Set of

                             Interrogatories pursuant to discussions at the aforesaid May 9, 2023

                             discovery telephone conference, as well as asked the State / Plaintiff in writing

                             via email to reply to the Defendant if the State / Plaintiff has any further

                             questions or issues to discuss without court action, but again, the

                             State/ Plaintiff failed to communicate any objections or issues with the

                             Defendant.

                          20.1 certify that the above is true and correct.


                          Declaration Executed on June 1, 2023 by Mary Seguin




                                                                        Mary Seguin



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                                        Exhibit B
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                                        Exhibit C
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                                    Exhibit D
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                                        Exhibit E
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                                        EXHIBIT I
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                                         No. 23-1967


                                     IN THE
                         UNITED STATES COURT OF APPEALS
                              FOR THE FIRST CIRCUIT
                           UNITED STATES OF AMERICA,

                                    Plaintiff-Appellant,
                                        MARY SEGUIN
                                              v.
            RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official
              capacity; MICHAEL D. COLEMAN, DEBORAH A. BARCLAY in their
             individual and official capacities; Rhode Island OFFICE OF Child Support
         Services in its official capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK
         DIBIASE, WENDY FOBERT, KARLA CABALLEROS, TIMOTHY FLYNN,
        LISA PINSONNEAULT, CARL BEAUREGARD, PRISCILLA GLUCKSMAN,
          JOHN LANGLOIS, PAUL GOULD, in their individual and official capacities;
         RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL A.
           SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF
                  RHODE ISLAND STATE COURT SYSTEM; RHODE ISLAND
           ADMINISTRATIVE OFFICE OF STATE COURTS in its official capacity;
       RHODE ISLAND ADMINISTRATIVE OFFICE OF THE SUPERIOR COURT in
            its official capacity; RHODE ISLAND JUDICIAL COUNCIL in its official
        capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
       ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE
         JUDICIAL TECHNOLOGY CENTER in its official capacity; JULIE HAMIL,
         MARISA BROWN, JOHN JOSEPH BAXTER, JR., JUSTIN CORREA in their
               individual and official capacities; RHODE ISLAND OFFICE OF THE
         ATTORNEY GENERAL in its official capacity; RHODE ISLAND OFFICE OF
           THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
        capacity; ADAM D. ROACH, PETER NERONHA in their official and individual
                 capacities; TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK
                                   Defendants-Appellees.


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                            Appeal from the United States District Court
                                  for the District of Rhode Island
                                      ___________________
       APPELLANT’S MOTION TO STAY PURSUANT TO Fed. R. App. P 8(a)(2)
                                      ___________________


                Pursuant to Fed. R. App. P 8(a)(2), and pursuant to Fed. R. App. P

       8(a)(2)(D), Appellant, proceeding from Texas and as a citizen of Texas,

       respectfully requests review by a panel of judges in this United States Court of

       Appeals for the First Circuit under Fed. R. App. P 8(a)(2)(D), and requests the

       Court, under Fed. R. App. P 8(a)(2), to stay the district court’s two denials of

       Appellant’s two requests for time extensions to file an amended Notice of Appeal

       (and requests the Court to stay the respective tolling of time to file to file Notice of

       Appeal of said denials), which the district court issued on March 7, 2024 and

       March 8, 2024 denying Appellant’s 03/01/2024 and 03/07/2024 Fed. R. App. P

       4(a)(5) motions for extensions of time (ECF 49, ECF 50) which were filed in the

       district court in order to comply with this Court’s March 1, 2024 Court Order that

       explicitly states, “The appellant shall inform this court whether or not she intends

       to file a notice of appeal or amended notice of appeal from the district court's post-

       judgment order,” and “ See also Fed. R. App. P. 4(a)(5) (allowing the district court

       to grant an extension of time to file a notice of appeal if the party so moved no
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       later than 30 days after the time prescribed by Rule 4(a) expires)” (Case: 23-1967

       Document: 00118115155 Page: 2 Date Filed: 03/01/2024 Entry ID: 6626341).

       Appellant attaches this Court’s Order herewith as EXHIBIT A.

                It is self-evident that this Court’s March 1, 2024 Order in this matter

       explicitly instructed the Appellant, MARY SEGUIN, to file a Fed. R. App. 4(a)(5)

       motion in district court, see (“See also Fed. R. App. P. 4(a)(5) (allowing the district

       court to grant an extension of time to file a notice of appeal if the party so moved

       no later than 30 days after the time prescribed by Rule 4(a) expires)”) because this

       Court’s March 1, 2024 was issued at the late hour at 4:39 PM on Friday March 1,

       2024, a mere 30 hours prior to the “30 days after the time prescribed by Rule 4(a)

       expires” at midnight Saturday March 2, 2024.

                At issue is a post-appeal Order issued in the district court by Judge William

       Smith dated February 1, 2024. At issue also is the fact that this Court had on

       January 22, 2024 set the Briefing schedule setting the due date of Appellant Brief

       for Monday March 4, 2024. Therefore, Saturday, March 2, 2024 was the deadline

       to file an amended Notice of Appeal, and Monday March 4, 2024 was the deadline

       to file the Appellant Brief.

                As the Court can see, the Court’s late hour 4:39 PM Friday March 1, 2024

       Court Order ordered the Appellant to RESPOND to the Court and is an external


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       factor beyond the Appellant’s control that materially affects the following timing

       beyond Appellant’s control:

                (1) The ability to meet the deadline to file an amended Notice of Appeal by

                   right under Fed. R. App. P 4 by burdening the Appellant to review,

                   consider and respond to the Court’s March 1, 2024 Order

                (2) Vacating the Briefing schedule, in recognition that the Court’s March 1,

                   2024 could materially alter the scope of the appeal

                (3) Instructs the Appellant to RESPOND to the Court whether the Appellant

                   intends to file an amended notice of appeal or notice of appeal of the

                   district court’s February 1, 2024 post-appeal order.

                (4) Instructs the Appellant explicitly to extend the time to do the above,

                   explicitly citing “See also Fed. R. App. P. 4(a)(5) (allowing the district

                   court to grant an extension of time to file a notice of appeal if the party so

                   moved no later than 30 days after the time prescribed by Rule 4(a)

                   expires)”

                (5) Explicitly instructs the Court and the district court by way of Court Order

                   regarding Fed. R. App. P. 4(a)(5), explicitly protecting constitutional

                   safeguards of and in compliance with DUE PROCESS – that the

                   district court (Judge Smith), which is devoid of jurisdiction, violates

                   with calculated and deliberate intent.

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                Therefore, Appellant respectfully files this motion to stay under Fed. R.

       App. P 8(a)(2) and demonstrates the following:

                (1) It is impracticable to file in the district court before a disqualified judge.

                (2) It is impracticable to file in the district court that violates due process.

                (3) It is impracticable to file in the district court that is devoid of jurisdiction

                      post-appeal.

                (4) It is impracticable to file in the district court that altered the record of

                      appeal, tampered with the record of appeal, and obstructed the docketing

                      of pre-appeal motions that were also denied pre-appeal that raise issues

                      of disqualification and tampering with the record of appeal by obstructing

                      the docketing of three motions.

                (5) It is impracticable to file in the district court/judge Smith that/who

                      engages in a pattern of obstruction of a federal proceeding and tampering

                      with the record of appeal in a federal proceeding.

                 I.     DISQUALIFICATION – DEFENDANTS-APPELLEES ARE
                      JUDGE SMITH’S FORMER CLIENTS AND JUDGE SMITH HAS
                              KNOWLEDGE OF APPELLEES’ EMPLOYMENT
                       PERFORMANCES TIED TO STATE REVENUE GENERATED
                      FROM ILLEGAL 12% COMPOUND INTEREST COLLECTIONS
                       THROUGH ACCOUNTING FRAUD AND DEFRAUDING THE
                      UNITED STATES AND NONCUSTODIAL PARENTS THROUGH,
                         inter alia, ALTERING THE AUTOMATED ACCOUNTING
                      RECORD SYSTEM MANDATED BY 42 U.S.C. 654a, 42 U.S.C. 655
                              OF TITLE IV OF THE SOCIAL SECURITY ACT


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          A. The Amended Complaint (ECF 25) makes known to a Judge of the
             United States of the commissions of federal crimes That Incur Penalties
             under 42 U.S.C. § 655(a)(5)(A)(ii) for the Defendants-Appellees’
             Systemic violations of, inter alia, 42 U.S.C. 654b and Their Cover-up
             Thereof Through Accounting Fraud Submitted to Federal Authorities



          Relying on and with 18 U.S.C. § 4 applicable to this matter, Appellant in good

       faith drafted the Amended Complaint (ECF 25) to make known to “some judge of

       the United States” the commission of federal crimes including theft of the United

       States in violation of 18 U.S.C. § 666 using the framework of Title IV of the Social

       Security Act for monetary gain and defraud of the United the States and defrauding

       the Appellant by the Defendants-Appellees. The “some judge” of the United

       States in question is district court Judge William Smith sitting in this matter. The

       Amended Complaint reports organized criminal activities of systemic Rhode Island

       establishment and collection of 12% compound interest for overdue support that is

       disallowed under 42 U.S.C. § 654 (21)(A) that makes clear the Rhode Island State

       Plan must strict interest to simple 3-6%. Rhode Island’s 12% compound interest is

       motivated by Title IV-D’s provision that the interest represents incentivized state

       revenue in welfare cases, as the support order is assigned to the State by the

       welfare recipient. Establishing and collecting the 42 U.S.C. § 654 (21)(A)

       disallowed 12% compound interest under color of state law is criminal and entails

       accounting fraud ballooning the support amount due that is mandated to be


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       calculated by the automated record system stipulated in 42 U.S.C. 654a and

       disbursed and paid and accounted for and reported to the United States for

       reimbursement of federal funds under Title IV-D Program through mandated

       accurate administration and calculations using the automated record system that is

       mandated under 42 U.S.C. § 654b. Therefore, for example, illegal record

       alterations that entails “taking unlawful 12% compound interest off the system” or

       “putting unlawful 12% compound interest back on the system” or “not accounting

       for any payments made by the noncustodial parent” or “removal from the system

       any payments made by the noncustodial parent” are explicit violations of, inter

       alia, 42 U.S.C. § 654b.    42 U.S.C. § 655 (a)(5)(A)(ii) states, “All failures of a

       State during a fiscal year to comply with any of the requirements of section 654b

       of this title shall be considered a single failure of the State to comply with

       subparagraphs (A) and (B)(i) of section 654(27) of this title during the fiscal year

       for purposes of this paragraph.” Needless to say, these organized defrauding

       targeting Texas properties and defrauding Appellant in Texas of illegal 12%

       compound interest, when the Defendants-Appellees recorded in Appellant’s Title

       IV support case file that they removed the illegal 12% compound interest when

       sending to Texas in order to cover up from out-of-state and federal authorities the

       illegal 12% compound interest (via wire and via mail, constituting wire and mail

       fraud), defrauded and fraudulently induced the Appellant that the resulting 0%


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       interest shown on the automated system online is because Appellee Gero

       Meyersiek waived interest if Appellant paid off the entire principle due in one

       lump sum (wire fraud), then clandestinely put the illegal 12% compound interest

       back onto the automated system when Appellant accepted the offer and performed

       on the contract paying off support in one lump sum in Texas, then lien Texas

       properties using fraudulent liens (by email and by mail constituting wire and mail

       fraud), then submitting to the United States for the cost of collection of fraudulent

       12% compound interest that are thus untraceable to a principle base that would

       otherwise have exposed the illegal 12% compound interest all constitute a pattern

       of criminal interstate accounting fraud in order to defraud the Appellant, the State

       of Texas, and the United States of America (inter alia, wire and mail fraud). In the

       period of just 2021 to 2023 alone, Defendants-Appellees sent by wire and by mail

       to the Appellant at least eight different sets of books of accounts of alleged arrears

       owed (resulting from the aforesaid alterations of the records through the illegal

       taking off interest from the system or putting it back on the system or manually

       adding alleged medical support arrears twice onto the system) that allegedly were

       generated by the automated record keeping system mandated by 42 U.S.C. § 654a

       and 42 U.S.C. § 654b to be accurate. And this scheme of altering the 42 U.S.C. §

       654a and 42 U.S.C. § 654b mandated automated record system and manipulating

       its accounting is routine to this day, from the time Rhode Island installed the 42


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       U.S.C. § 654a mandated automated record system, and before that, from the time

       Rhode Island participated in the Title IV Program, because Rhode Island had

       always routine established and collected, and continues to illegally establish and

       collect the 12% compound interest under color of state law, defrauding the

       noncustodial parents and defrauding the United States through accounting fraud,

       with or without the automated system. In 1996, Congress explicitly authorized

       penalties under 42 U.S.C. § 655 for States’ noncompliance with 42 U.S.C. § 654a

       and 42 U.S.C. § 654b. Therefore, Rhode Island’s intentional noncompliance

       penalties under 42 U.S.C. § 655 provisions relating to its deliberate accounting

       fraud altering records that Congress mandated to be maintained by the States in

       order to keep ACCURATE records using the automated record system accrues

       since 1996. Defendants-Appellees’ Record alterations/tampering with/falsifying

       federal government records, and with the intent to defraud, incur other criminal

       penalties too numerous to discuss for the purposes of this motion, so accordingly,

       Appellant reserves the right to raise them at the right time in accordance with

       proper procedures in this federal proceeding. Moreover, in sending falsified

       records in 2018, 2021, 2022 and 2023, and fraudulent liens to Texas on Texas

       properties, Defendants-Appellees violated Texas Penal Codes and incurred Texas

       penalties. (Rhode Island civil and criminal laws were violated as well, but the

       Rhode Island Attorney General chooses to represent and engage in cover up, aiding


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       and abetting and subornation of perjury instead). The cumulative penalties accrued

       alone run upwards of hundreds of millions of dollars, potentially billions.

       Appellant respectfully requests Oral Argument on this important issue.

          B. Defendants-Appellees’ Financial and Employment Incentives are tied to
             successful collection of illegal 12% compound interest to boost State
             revenue through Fraud and Judge Smith has knowledge of the scheme
             as former counsel of the Defendants-Appellees, including representing
             Appellees in Employment disputes
                      Appellant states that it is appropriate to present at Oral Argument the

                incentives tied to the successful collection of illegal 12% compound interest,

                as that, while important, is not the basis of this motion; however it suffices

                now to raise in this motion under Fed. R. App. P 8 that the Appellant

                presents the basis of Judge Smith’s disqualification. 28 U.S.C. § 455 deals

                with the disqualification of district court judges and it states in part:

                Any justice, judge, or magistrate, of the United States shall disqualify

                himself/herself in any proceeding in which his/her impartiality might

                reasonably be questioned. See also 28 U.S.C. Sec. 144; Code of Judicial

                Conduct, Canon 3.C(1)(a). In re Martinez-Catala,129 F.3d 213, 220 (1st

                Cir. 1998) makes clear that disqualification is self-executing, and that the

                standard is whether there is an appearance of bias by an objective observer.

                      The district court judge is disqualified if the objective observer in 28

                U.S.C. § 455(a) having possession of all the facts in this case might question
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                the judge’s impartiality, See, “Any justice, judge, or magistrate judge of the

                United States shall disqualify himself in any proceeding in which his

                impartiality might reasonably be questioned.” That objective observer, for

                starters, needs to look no further than the district court’s website of Judge

                Smith’s Public Relations biography that clearly summarizes the depth of

                client relationship and his former firm’s existing client relationship with

                (both formerly and presently) with the Defendants-Appellees, including the

                Rhode Island Judiciary and Rhode Island state employees, including

                representing the them in employment disputes where he has intimate

                knowledge of the employment incentive schemes. See, Exhibit B, and

                weblink – he built the Edwards & Angell firm’s Public Law (Defense)

                Practice based on acquiring and representing key government clients like the

                state courts (and employees thereof) and representations of employees

                within the state’s major political subdivision such as the governor’s office

                (and employees thereof), the state secretary (and employees thereof), the

                state treasurer (and employees thereof), various state agencies (and

                employees thereof), negotiated through the then-novel flat fee contracts

                that were designed to generate high volumes to increase the number of

                representations in all areas; see




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                https://www.rid.uscourts.gov/sites/rid/files/documents/judges/articles/FBA%

                20Profile%2009-14%20Smith-Hon-William-E.pdf

                      Records of these representations are a matter of public records since

                attorney’s fees are funded by Rhode Island’s public funds.

                      To the objective observer, this judge, William Smith, shall disqualify

                himself in this proceeding as his impartiality might reasonably be

                questioned under 28 U.S.C. § 455(a).

          C. Judge Smith did nothing and failed to act on the filed Amended
             Complaint Allegations of federal and state criminal activities made
             known to him in an official federal proceeding, then Obstructed the
             district court clerk’s docketing of Appellant’s filed motions, then
             Altered the record of appeal in order to Aid the Defendants-Appellees
             by cover up and Interfere with the On-going Appeal Proceeding Under
             Color of Law
                      A play-by-play review of the record of this case requires Judge

                Smith’s disqualification and shows his bias protecting, aiding and abetting

                and covering up the criminal acts by the Defendants-Appellees “made

                known to him” in the Amended Complaint (ECF 25) and interference of

                appellate review including jurisdictionally devoid attempts to interfere with

                the appeal.

                      After the filing of the Amended Complaint on September 1, 2023

                (ECF 25), that alleges details of, inter alia, the Defendants-Appellees’


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                attempts to cover up, inter alia, their significant federal civil and criminal

                penalty-incurring schemes under, inter-alia, 42 U.S.C. § 655, entailing,

                among others, fraudulent accounting and theft of the United States using the

                42 USC § 654a automated record system, Judge Smith did nothing to

                conduct the requisite federal proceeding getting to the merits of the

                Amended Complaint’s alleged egregious interstate federal crimes. Nor did

                Judge Smith refer the alleged egregious interstate federal crimes to

                appropriate law enforcement authorities, including to a United States

                Attorney General. Nor did Judge Smith take actions required of “some

                judge of the United States” when allegations of egregious interstate federal

                crimes are officially filed in a United States District Court of Law in an

                official federal proceeding “made known to him” under 18 U.S.C. § 4. Nor

                did Judge Smith make a report to Congress, be it the House Congressional

                Oversight Committee or House Congressional Judiciary Committee or

                another applicable Congressional Committee. Nor did Judge Smith make a

                report to the Secretary of the U.S. Department of Health and Human

                Services or an appropriate federal authority.

                      Instead, Judge Smith sua sponte dismissed the case claiming the

                United States District Court for the District of Rhode Island lacks subject

                matter jurisdiction over, inter alia, violations of 42 U.S.C. § 654, 655,

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                1983, and 18 U.S.C. § 1964 (and revoking Appellant’s electronic filing

                privileges thus attempting to muzzle the Appellant in a scheme to

                obstruct future filings) on October 19, 2023 entering final judgment.

                      Fed. R. of App. P 4 makes clear that the Notice of Appeal must be

                filed in 30 days, Saturday November 18, 2023.

                      In the afternoon of November 16, 2023, Appellant from Texas filed

                with the district court clerk via email a timely Rule 59 motion within 28

                days of the final judgment. Appellant followed up the filing of the

                November 16, 2023 Rule 59 motion with filing a Rule 60(b) motion on the

                same day via email on November 16, 2023. See ECF 32, ECF 32-1. This is

                preserved in the Clerk Certified Record of Appeal transmitted to the Court

                of Appeals on November 17, 2023 in ECF 33, 33-1. See Attachment

                Exhibit C, ECF 33-1.

                      On November 16, 2023, Appellant called from Texas to Rhode

                Island’s federal clerk’s office to confirm that the clerks are in receipt of

                Appellant’s two November 16, 2023 motion filings, and the clerks

                confirmed in the affirmative. Timely motions under Rule 59 and Rule 60

                are treated as Rule 59(e) motions if filed within 28 days post-judgment,

                which suspend the finality of the judgment. See, Gonzalez-Arroyo v.


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                Doctors’ Ctr. Hosp. Bayamon, Inc., 54 F.4th 7, 19 (1st Cir. 2022) "A Rule

                59(e) motion briefly suspends finality" of a judgment so the district court

                can "fix any mistakes and thereby perfect its judgment before a possible

                appeal." quoting Banister v. Davis, 140 S.Ct. 1698, 1708 (2020).”

                      On the morning of November 17, 2023, Appellant still not seeing the

                docketing of her timely November 16, 2023 filed two motions which by law

                are treated as Rule 59(e) motions, called the district court clerk’s office and

                was told that Judge Smith obstructed the docketing of Appellant’s timely

                November 16, 2023 rule 59 motions, in violation of, among others, Fed. R.

                Civ. P 79. District Court Clerk Meghan Kenny told the Appellant that the

                clerk cannot do what the Appellant tells the clerk to do and the clerk is going

                to do what the judge tells her to do, then hung up the phone.

                Subsequent to the disturbing phone exchange, the district court issued the

          first of the two denials that states,

              “TEXT ORDER The Court is in receipt of Plaintiff’ two recent emails to the
          Clerk’s Office. The Court construes these emails as motions for leave to file the
          motions attached to those emails and denies leave to file for the reasons given
          in its earlier text orders.”


                Appellant quickly filed via email with the district clerk’s office the only

          motion Appellant filed on November 17, 2023, a rule 60(b)(1) motion


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          requesting relief from Judge Smith’s obstruction of docketing of Appellant’s

          properly filed motions, moving the Court to order the clerks to docket

          Appellant’s motions.

                Approximately two hours thereafter, Judge Smith issued the second of the

          two text order denials dated November 17, 2023 that states,

          “TEXT ORDER The Court is in receipt of Plaintiff’s email to the Clerk’s
          Office this afternoon. As with its order issued earlier today, the Court construes
          this email as a motion for leave to file the motion attached to the email and
          denies leave to file for the reasons given in its earlier text orders.”



          Deeply disturbed by the continuous obstruction of docketing of Appellant’s

       properly filed motions, then denying those motions thus tampering with the record

       of appeal, Appellant called the clerk’s office again. This time clerk Meghan

       Kenny again informed Appellant Judge Smith was obstructing the docketing of

       Appellant’s motions and then screamed, “File your notice of appeal……. appeal

       everything!” Then, the clerk hung up the phone.

                Within a few minutes, Appellant filed her Notice of Appeal in this matter,

       ECF 32, 32-1, that is over 83 pages long, detailing the above obstruction of

       docketing timely November 16, 2023 Rule 50(e) motions that critically raise

       issues, among others, of Judge Smith’s disqualification, and tampering with the

       record of appeal.

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                Before the end of the day on November 17, 2023, the Clerk of the Court of

       the District Court transmitted the clerk certified record of appeal, ECF 33, and sent

       up to this Court ECF 33-1, where the docket sheet critically showed only THREE

       entries under November 17, 2023:

                • TEXT ORDER The Court is in receipt of Plaintiff’ two recent emails to
                  the Clerk’s Office. The Court construes these emails as motions for leave
                  to file the motions attached to those emails and denies leave to file for the
                  reasons given in its earlier text orders.
                • TEXT ORDER The Court is in receipt of Plaintiff’s email to the Clerk’s
                  Office this afternoon. As with its order issued earlier today, the Court
                  construes this email as a motion for leave to file the motion attached to
                  the email and denies leave to file for the reasons given in its earlier text
                  orders.
                • ECF 32, NOTICE OF APPEAL by Mary Seguin as to Text Order, Text
                  Order (Attachments #1 Envelope)(Kenny, Meghan)(Entered:
                  11/17/2023).
       ECF 33-1 demonstrates with concrete evidence that as of the time of the notice of

       appeal filed in this matter on November 17, 2023, the only three entries on the

       docket for November 17, 2023 that listed above.

                However, that is not what is shown today, with several revisions instructed

       by Judge Smith on November 20, 2023, who as of November 17, 2023 was

       divested of jurisdiction.

          D. As of November 20, 2023, the District Court has been and remains
             DIVESTED OF JURISDICTION
          ECF 33-1 proves beyond a reasonable doubt that Appellant did not file any

       motions subsequent to the second TEXT ORDER that says, “TEXT ORDER The

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       Court is in receipt of Plaintiff’s email to the Clerk’s Office this afternoon. As with

       its order issued earlier today, the Court construes this email as a motion for leave

       to file the motion attached to the email and denies leave to file for the reasons

       given in its earlier text orders.” On the heals of this second text order entered on

       November 17, 2023, Appellant filed the Notice of Appeal, ECF 32, 32-1,

       demonstrating that there were no pending motions at the time of the filing of

       the Notice of Appeal, ECF 32.

          Judge Smith’s second November 17, 2023 text order makes clear that “The

       Court is in receipt of Plaintiff’s email to the Clerk’s Office this afternoon. As with

       its order issued earlier today, the Court construes this email as a motion for leave

       to file the motion attached to the email and denies leave to file.” Judge Smith’s

       first November 17, 2023 text order similarly makes clear that “The Court is in

       receipt of Plaintiff’ two recent emails to the Clerk’s Office. The Court construes

       these emails as motions for leave to file the motions attached to those emails

       and denies leave to file for the reasons given in its earlier text orders.” Judge

       Smith made it crystal clear that the district court reviewed and considered on the

       merits and denied “motions attached to those emails.” Therefore, when

       Appellant filed her Notice of Appeal on November 17, 2023, ECF 32, THERE

       WAS NOTHING PENDING BEFORE THE COURT.



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          The filing of a notice of appeal "divests" the district court of jurisdiction

       over the case, See Griggs v. Provident Consumer Disc. Co., 459 U.S. 56,

       58 (1982) (per curiam).

          Nothing was pending before the court when Appellant filed her November

       17, 2023 appeal, as evidenced in the proof preserved in ECF 33-1 docketed on

       November 17, 2023. See attached Exhibit C.

          However, because Appellant’s November 17, 2023 Notice of Appeal

       documents preserves evidence of Judge Smith’s obstruction of docketing

       Appellant’s timely two Rule 59(e) motions filed on November 16, 2023 and

       Appellant’s Rule 60(b)(1) motion filed on November 17, 2023, Judge Smith

       attempts to cover up his docket obstructions that not only violate Fed. R. Civ. P 79,

       but also violates several federal criminal codes as they relate to government record

       alterations, obstructing an official federal proceeding and falsifying/tampering with

       government records – therefore Judge Smith actively tampered with the docket

       and the record of appeal in this case starting November 20, 2023 to date.

          Without any pending motion before the district court after his own two denial

       TEXT ORDER disposals of Appellant’s post-judgment motions, Judge Smith

       instructed the district court clerk to falsify and alter the record on November 20,

       2023, when the district court was divested of jurisdiction.


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          Firstly, as an initial step, Judge Smith sought to fraudulently fabricate the

       false appearance of retention of jurisdiction for himself/district court, thus

       deliberately ordered the district court clerk to falsify the record by docketing

       on the record all of Appellant’s “motions attached to the emails” the district

       court received from November 16, 2023 to November 17, 2023, as entries ECF

       34, 35, 37 under the date November 17, 2023 entered AFTER the Notice of

       Appeal (ECF 32) in order to falsely make it appear as if Appellant filed three

       motions subsequent to her filing of the Notice of Appeal (ECF 32), thus

       fraudulently fabricating “retaining jurisdiction” over pending motions filed

       after the Notice of Appeal, when in reality, Judge Smith had already in two

       text orders “denied all the motions attached to Plaintiff’s emails” before the

       docketing of the November 17, 2023 Notice of Appeal (ECF 32).

          Secondly, after thus fraudulent fabricating the appearance of jurisdiction

       retention, Judge Smith ordered the district court clerk to falsely enter Appellant’s

       timely 28 day November 16, 2023 Rule 59 motions under entries dated November

       17, 2023 in order to fraudulently make them appear filed out of time (see, entries

       ECF 34, ECF 35 entered under docket entry date November 17, 2023. But, see

       ECF 34-1 and ECF 35-1 Envelopes consisting of Appellant’s gmail emails’ filings

       date-stamped by Gmail showing November 16, 2023.) Thus, Judge Smith



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       sought to also falsify the record to make timely filed Rule 59 motions to falsely

       appear out-of-time.

          Thirdly, after thus fraudulently and falsely “retaining jurisdiction” through

       the tampering of government records, Judge Smith sought to interfere with,

       obstruct and subvert appellate review by his very delayed disposition of the

       falsely-appearing pending motions until after this Court set the briefing

       schedule. Therefore, Judge Smith waited almost 75 days until February 1, 2024 to

       issue a foregone conclusion denial that further deceptively misapplied and quoted

       out-of-context Gonzalez-Arroyo v. Doctors’ Ctr. Hosp. Bayamon, Inc., 54 F.4th 7,

       19 (1st Cir. 2022), when in reality the Gonzalez-Arroyo Court made clear that the

       Notice of Appeal divests the district court of jurisdiction if there isn’t any

       outstanding pending motions at the time of the filing of the Notice of Appeal,

       as is the case here. See docket sheet transmitted to this Court on November

       17, 2023, ECF 33-1. The truth of the matter is Judge Smith fabricated through

       fraudulent falsification of the appeal record abusing his Office using the text order

       November 20, 2023 to falsely make it appear as if there were pending motions

       filed post-appeal by the Appellant by falsely docketing pre-appeal filed and

       previously obstructed and denied motions misleadingly labeled as ECF 34, 35 and

       37 as entries after the entry of the ECF 32 Notice of Appeal.

          E. Judge Smith’s February 1, 2024 is similarly Void
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          Having established the above undisputable facts supported by record evidence,

       this Court must find that Judge Smith’s February 1, 2024 is similarly devoid of

       jurisdiction. The district court orders entered from November 20, 2023 to March 8,

       2024 are null and void and of no force and effect as they are issued by fraud,

       without jurisdiction, result of unlawful rulings, are unconstitutional and violate due

       process and obstruct justice – they obstruct this official federal proceeding and are

       criminal in nature. An order that exceeds the jurisdiction of the court is void, and

       can be attacked in any proceeding in any court where the validity of the judgment

       comes into issue. (See Pennoyer v. Neff, 95 U.S. 714 (1878)).

          Thus, the objective observer is left with the disturbing appearance that not only

       did the judge do nothing, he sought to cover up the Defendants-Appellees’ crimes

       alleged in the Amended Complaint (ECF 25) and evidence of his own association

       with the Appellees-scheme after the docketing of the Amended Complaint (ECF

       25) on September 1, 2023.



                II.    DISTRICT COURT DENIALS OF COURT COMPLIANT
                      TIMELY Fed. R. App. P 4(a)(5) MOTION CONSISTENTLY
                         WRONGLY APPLYING “EXCUSABLE NEGLECT”

                 A. FACTUAL TRAVEL OF THE GOOD CAUSE Fed. R. App. P
                    4(a)(5)(A) motions filed in District Court




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                At 4:39 PM on March 1, 2024, this Court issued its Order, See, (Case: 23-

       1967 Document: 00118115155 Page: 2 Date Filed: 03/01/2024 Entry ID:

       6626341). The Court’s March 1, 2024 Court Order states, “The appellant shall

       inform this court whether or not she intends to file a notice of appeal or amended

       notice of appeal from the district court's post-judgment order,” and “ See also Fed.

       R. App. P. 4(a)(5) (allowing the district court to grant an extension of time to file a

       notice of appeal if the party so moved no later than 30 days after the time

       prescribed by Rule 4(a) expires).” See paragraph 3 of Order (Case: 23-1967

       Document: 00118115155 Page: 2 Date Filed: 03/01/2024 Entry ID: 6626341).

       This Court instructs the Appellant to file Fed. R. App. P 4(a)(5) motion in order to

       be DUE PROCESS compliant because the Court vacated its Briefing Schedule a

       mere 3 days prior to the due date of Appellant’s Brief set for March 4, 2024, as

       well as instructed the Appellant to respond to the Court as to Appellant’s intentions

       whether Appellant will file a Notice of Appeal or Amended Notice of Appeal to

       incorporate the February 1, 2024 district court order to the Notice of Appeal

       Appellant filed on November 17, 2023 (ECF 32), while the Court is cognizant of

       the March 2, 2024 deadline next day on a Saturday to file said Notice of Appeal or

       Amended Notice of Appeal. Therefore, it is crystal clear and explicit that this

       Court instructs the Appellant to file the Fed. R. App. P 4(a)(5) motion in order to

       be DUE PROCESS compliant allowing the Appellant an adequate opportunity to


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       review, consider and respond to this Court. All indications show that this Court on

       March 1, 2024 did not anticipate a biased, disqualified and criminally

       compromised district court judge involved in record tampering to deny the Fed. R.

       App. P 4(a)(5) that this Court itself instructed filing by Court Order.

                Under Fed. R. App. P 4(a)(5)(A), this Court’s issuance of the March 1, 2024

       Court Order that vacated the Court’s previously issued January 22, 2024 briefing

       schedule, and explicitly stating in the text of the Order directing the Appellant to

       “inform this court whether or not she intends to file a notice of appeal or amended

       notice of appeal from the district court's post-judgment order,” and “ See also Fed.

       R. App. P. 4(a)(5) (allowing the district court to grant an extension of time to file a

       notice of appeal if the party so moved no later than 30 days after the time

       prescribed by Rule 4(a) expires)” makes clear that this Court’s March 1, 2024

       Order is the GOOD CAUSE basis to move for extension of time under Fed. R.

       App. P. 4(a)(5) that this Court explicitly instructed the Appellant, since the Order

       affects any and all preparation of the filing of an amended Notice of Appeal or a

       Notice of Appeal.

                Accordingly, in compliance with the Court’s March 1, 2024 Order,

       Appellant diligently and in good faith filed in the district court on March 1, 2024

       the Order prescribed Fed. R. App. P 4(a)(5) Motion for Extension of Time, and

       immediately afterwards, filed here in this Court Appellant’s Notice dated March 1,
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       2024 notifying this Court Appellant complied with the Court’s Order by filing the

       explicitly instructed Fed. R. App. P 4(a)(5) motion for an extension of time in the

       district court and informing the Court that Appellant intends to file a notice of

       appeal or an amended notice of appeal. See Appellant’s March 1, 2024 Notice

       (See, e.g., (Case: 23-1967 Document: 00118115266 Page: 2 Date Filed:

       03/01/2024 Entry ID: 6626396) – “APPELLANT’S NOTICE OF PLAINTIFF-

       APPELLANT’S SUBMISSION/FILING MOTION FOR EXTENSION OF TIME

       PURSUANT TO Fed. R. App. P 4(a)(5)”); See also, e.g., ECF 49. Friday, March

       1, 2024 is 29 days after the district court’s jurisdictionally devoid February 1, 2024

       order.

                     PLAIN READING OF THE TEXT OF Fed. R. App. P 4(a)(5)

                Fed. R. App. P 4(a)(5) Motion for Extension of Time states as follows:

                Fed. R. App. P 4(a)(5)(A)(i) states, “a party so moves no later than 30 days

       after the time prescribed by this Rule 4(a) expires; and”

                Fed R. App. P 4(a)(5)(A)(ii) states, “regardless of whether its motion is filed

       before or during the 30 days after the time prescribed by this Rule 4(a) expires, that

       party shows excusable neglect or good cause.”




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                Fed. R. App. P 4(a)(5)(C) states, “No extension under this Rule 4(a)(5) may

       exceed 30 days after the prescribed time or 14 days after the date when the order

       granting the motion is entered, whichever is later.”

                Therefore, a plain textual reading of Fed. R. App. P 4(a)(5) Motion for

       Extension of Time makes clear that good cause is the standard of review to be

       applied by the district court of Appellant’s Fed. R. App. P 4(a)(5) Motion for

       Extension of Time filed on Friday, March 1, 2024 that is 29 days from the district

       court February 1, 2024 order. Appellant showed good cause for a 30 day

       extension based on the this Court’s aforesaid March 1, 2024 Court Order that

       explicitly says to the Appellant to file a Fed. R. App. P 4(a)(5) motion for extension

       of time if necessary, since the Court’s Order affects the Appellant’s “intent to file a

       Notice of Appeal or an amended Notice of Appeal” and the preparation of the

       Notice of Appeal – therefore pursuant to the appellate rule’s prescribed good cause

       showing, Appellant requested the 30 days extension to adequately review and

       consider this Court’s March 1, 2024 Court Order that affects Appellant’s

       preparation of the Notice of Appeal. See this Court’s 03/01/2024 Court Order

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                However, the district court did not review Appellant’s timely 29 day Fed. R.

       App. P 4(a)(5) motion for extension of time applying the appellate rule’s standard

       of good cause that is explicitly prescribed by Fed. R. App. P 4(a)(5)(A)(ii).

                On March 7, 2024 the district court denied Appellant’s timely 29 day Fed.

       R. App. P 4(a)(5) motion for extension of time showing good cause this Court’s

       March 1, 2024 Court Order that affects Appellant’s preparation of Appellant’s

       Notice of Appeal.

                Wrongly, the district court denied Appellant’s timely 29 day Fed. R. App. P

       4(a)(5) motion for extension of time filed on March 1, 2024 wrongly applying

       “excusable neglect” relying on “extraordinary circumstances” deliberately omitting

       mention of this Court’s “good cause” March 1, 2024 Court Order and instead

       falsely accusing the Appellant of “not knowing the rules” that caused the Appellant

       to file a notice of appeal out of time. That is categorically a false, fraudulent

       distortion of the facts, calculated to deliberately omit this Court’s March 1, 2024

       Order, to make it “disappear” – consistent with Judge Smith’s track record of

       “making Appellant’s motions disappear” from the record by obstructing the

       docketing of Appellant’s motions from November 16, 2023 to November 17, 2023,

       AND consistent with his Defendants-Appellees-former clients’ record tampering

       methodology of removing from the automated record system Rhode Island’s illegal



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       12% compound interest to cover up criminal activity. Record tampering and

       falsifying the records are their modus operandi.

                Accordingly, Appellant filed with the district court clerk on Thursday,

       March 7, 2024, Appellant’s motion for reconsideration and Appellant’s Motion for

       Extension of Time pursuant to Fed. R. App. P 4(a)(5)(A)(i), Fed. R. App. P

       4(a)(5)(A)(ii), and Fed. R. App. P 4(a)(5)(C) moving the district court to apply the

       good cause standard because Appellant already filed on March 1st Appellant’s

       timely Fed. R. App. P 4(a)(5) Motion for Extension of time within 29 days, that

       had already shown good cause that Appellant required the 30 day extension to

       adequately review and consider this Appellate Court’s March 1, 2024 Order that

       affects Appellant’s preparation of Notice of Appeal. For example, Paragraph one

       (1) of Appellant’s March 1, 2024 FRAP 4(a)(5) Motion clearly states as good

       cause that “Plaintiff only received the Appellate Court March 1, 2024 Court Order

       on the afternoon of March 1, 2024, and has not had an adequate opportunity to

       adequately review, consider or respond.” See, ECF 49, first paragraph.

                The district court docketed the Appellant’s district court motion for

       reconsideration as ECF 53.

                Appellant immediately filed here into this case her Response to the Court’s

       March 1, 2024 Order again responding that the Appellant intends to file a notice of


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       appeal or an amended notice of appeal, and noticed the Court Appellant’s filing in

       the district court the March 7, 2024 motion for reconsideration. (See, (Case: 23-

       1967 Document: 00118117753 Page: 2 Date Filed: 03/07/2024 Entry ID: 6627688)

                On Friday, March 8, 2024 the district court denied Appellant’s March 7,

       2024 motion for reconsideration (ECF 53) with a curt TEXT ORDER, saying the

       second denial is on the same basis as the district court’s March 7, 2024 denial,

       again wrongly applying an “excusable neglect” standard by distorting the facts

       through omission of this Court’s March 1, 2024 Court Order, then falsely accusing

       the Appellant of not knowing the rules and filing a Notice of Appeal out of time.

                At this juncture, Appellant can file a Notice of Appeal of the district court

       March 7th and 8th, 2024 denials, incorporating those orders into the final

       judgment. However, Appellant respectfully reminds the Court that Judge Smith’s

       post-appeal orders dated November 20, 2023, February 1, 2024, and the resulting

       March 7, 2024 and March 8, 2024 denial orders have already resulted in the

       creation of two appeal cases, Appeal No. 23-1967 and 23-1978. A third appeal

       case created under these circumstances is not in the interest of judicial economy.

                Accordingly, Appellant respectfully filed in this Court a motion for

       reconsideration before this Court, pursuant to a reading of the rules’ texts under

       Fed. R. App. P 27(b), 26(b)(1) and 4(a)(5)(A).


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                Appellant in good faith and with diligence filed in the district court on

       March 8, 2024 a Fed. R. App. P 8(a)(1)(A) to stay the denials and to stay the

       tolling of time to file Appellant’s Notice of Appeal pending this Court’s

       resolution of this herein motion for reconsideration. In so doing, in the

       interest of judicial economy, the Appellant in good faith afforded the district

       court a third opportunity to reconsider its Fed. R. App. P 4 extension of time

       denials, prior to filing a Fed. R. App. P 8(a)(2) motion before this Court.

       Appellants asked the district court to resolve Appellant’s Fed. R. App. P

       8(a)(1)(A) motion to stay by the end of day on March 8, 2024, based on the

       district court’s record of speedy two denials throughout this week. However,

       the district court failed to resolve it by the requested time.

                Consequently, Appellant filed in the district court a Notice of

       Withdrawal of Appellant’s Fed. R. App. P 8(a)(1)(A) motion to stay on March

       11, 2024.

                Subsequently, with no pending motions before the district court, Appellant

       files this Fed. R. App. P 8(a)(2) motion to stay the district court’s denials and to

       stay the tolling of time to file a Notice of Appeal, pending the resolution by this

       Court of Appellant’s Fed. R. App. P 27(b), 26(b)(1) and 4 motion to reconsider.

       Appellant, in complying with and responding to the Court’s March 1, 2024 Order

       that instructed the Appellant to respond and to file with the district court the Fed.
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       R. App. P 4(a)(5) motion for extension of time, has been adversely affected by a

       jurisdictionally devoid district court and this appeal proceeding has been interfered

       with through his tampering of the record of appeal criminally by the disqualified

       bias judge in district court, William Smith.

             THE COMMISION BY DEFENDANTS-APPELLEES and JUDGE
         SMITH of FEDERAL CRIMINAL VIOLATIONS MADE KNOWN TO A
                    JUDGE OF THE UNITED STATES HEREIN
                Herein, Appellant, in filing this motion and raising before the Court the

       filing of the Amended Complaint (ECF 25) in this matter, made known to judges

       of the United States, pursuant to 18 U.S.C. §4, in the official proceeding

       allegations of the commission of acts by Defendants-Appellees violating 18 U.S.C.

       §2, 18 U.S.C. §3, 18 U.S.C. §13, 18 U.S.C. §21, 18 U.S.C. §35, 18 U.S.C. §285,

       18 U.S.C. §286, 18 U.S.C. §287, 18 U.S.C. § 2071(a), 18 U.S.C. § 2071(b), 18

       U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C. § 241, 18 U.S.C. § 242, 18 U.S.C. §

       1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18 U.S.C. §1343, 18 U.S.C. §

       201, 18 U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285, 18 U.S.C. §1506, 18 U.S.C.

       § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C. §1002, 18 U.S.C. §1031,

       18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C. §1346, 18 U.S.C. §1349, 18 U.S.C.

       §1510, 18 U.S.C. §1513, RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C.

       §1963, 18 U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968 – such violative acts

       by the Defendants-Appellees and/or Judge Smith on this list is not exhaustive.


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                                           No Immunity

                On February 6, 2024 in case No. 23-3228 in UNITED STATES OF

       AMERICA v. DONALD J. TRUMP, DC Circuit, the DC Circuit Court reminds the

       Court that Judges are similarly liable to the criminal laws for their official acts. A

       notable example is Ex parte Commonwealth of Virginia, in which the Supreme

       Court affirmed the criminal indictment of a judge based on an official act. 100 U.S.

       339 (1879). A county judge was indicted in federal court for violating a federal

       statute that prohibited discriminating on the basis of race in jury selection. Id. at

       340, 344. The Supreme Court began by observing the principle that officers are

       bound to follow the law: “We do not perceive how holding an office under a State,

       and claiming to act for the State, can relieve the holder from obligation to obey the

       Constitution of the United States, or take away the power of Congress to punish his

       disobedience.” Id. at 348. The Court then addressed the judge’s argument that the

       Court lacked the authority to punish a state judge for “his official acts.” Id. Its

       response was twofold. First, the Court described juror selection as “merely a

       ministerial act, as much so as the act of a sheriff holding an execution, in

       determining upon what piece of property he will make a levy, or the act of a

       roadmaster in selecting laborers to work upon the roads.” Id. The Court then


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       explained that even if juror selection is considered a “judicial act,” the judge had a

       legal duty to obey the criminal laws:

                             “But if the selection of jurors could be considered
                                in any case a judicial act, can the act charged
                               against the petitioner be considered such when
                                he acted outside of his authority and in direct
                               violation of the spirit of the State statute? That
                               statute gave him no authority, when selecting
                               jurors, from whom a panel might be drawn for
                                 a circuit court, to exclude all colored men
                                merely because they were colored. Such an
                                exclusion was not left within the limits of his
                                discretion. It is idle, therefore, to say that the
                                act of Congress is unconstitutional because it
                                inflicts penalties upon State judges for their
                                    judicial action. It does no such thing.
                Id. at 348–49 (emphasis added). The Court’s reference to “the State statute”

       is to the Virginia law charging the county judge with the duty to select jurors in the

       circuit and county courts. Ex parte Virginia, 100 U.S. at 340.

                More recent case law on the judicial immunity doctrine affirms that judges

       are not immune from criminal liability for their official acts. O’Shea v. Littleton

       confirmed the holding of Ex parte Virginia in dismissing a civil rights action for



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       equitable relief brought against a county magistrate and associate judge of a county

       circuit. 414 U.S. 488, 490–91, 503 (1974). The Supreme Court concluded that the

       requested injunction was not the only available remedy because both judges

       remained answerable to the federal criminal laws:

                          [W]e have never held that the performance of
                          the duties of judicial, legislative, or executive
                              officers, requires or contemplates the
                         immunization of otherwise criminal deprivation
                          of constitutional rights. On the contrary, the
                             judicially fashioned doctrine of official
                         immunity does not reach ‘so far as to immunize
                            criminal conduct proscribed by an Act of
                                          Congress . . . .’
       Id. at 503 (citation to Ex parte Virginia, 100 U.S. 339, omitted; quoting Gravel,

       408 U.S. at 627). Similarly, in Dennis v. Sparks, the Court affirmed judicial

       immunity from civil money damages in the context of bribery allegations but

       explained that judges “are subject to criminal prosecutions as are other

       citizens.” 449 U.S. at 31. Crucially, the judge in Dennis retained civil immunity

       because “the challenged conduct” — allegedly issuing an injunction corruptly after

       accepting bribes as part of a conspiracy — was “an official judicial act within




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       his statutory jurisdiction, broadly construed.” Id. at 29. The scope of civil judicial

       immunity thus aligns with civil Presidential immunity under Fitzgerald, but a judge

       has no criminal immunity for the same “official act.” See also Imbler

       v. Pachtman, 424 U.S. 409, 429 (1976) (“Even judges, cloaked with absolute civil

       immunity for centuries, could be punished criminally for willful deprivations of

       constitutional rights . . . .”); United States v. Gillock, 445 U.S. 360, 372

       (1980) (“[T]he cases in this Court which have recognized an immunity from civil

       suit for state officials have presumed the existence of federal criminal liability as a

       restraining factor on the conduct of state officials.”).

                When considering the criminal prosecutions of judges, other circuits have

       repeatedly rejected judicial criminal immunity for official acts, largely in the

       context of bribery prosecutions. See United States v. Claiborne, 727 F.2d 842,

       845 (9th Cir.) (per curiam), cert. denied, 469 U.S. 829 (1984); United States v.

       Hastings, 681 F.2d 706, 709–11 (11th Cir. 1982), cert. denied, 459 U.S. 1203

       (1983); United States v. Isaacs, 493 F.2d 1124, 1143–44 (7th Cir.) (per curiam),

       cert. denied, 417 U.S. 976 (1974), overruled on other grounds by

       United States v. Gimbel, 830 F.2d 621 (7th Cir. 1987).




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                                             CONCLUSION

                WHEREFORE, this Court should GRANT Appellant’s herein motion to

       stay the district court’s Fed. R. App. P 4(a)(5) denials and to stay the tolling of

       time to file a Notice of Appeal pending the Court’s resolution of the pending

       Appellant’s March 8, 2024 Fed. R. App. P 27(b) Motion to Reconsider and extend

       the time to file Appellant’s Notice of Appeal or amended Notice of Appeal to April

       2, 2024. This Court should GRANT Appellant’s March 8, 2024 Fed. R. App. P

       27(b) Motion to Reconsider and extend the time to file Appellant’s Notice of

       Appeal or amended Notice of Appeal to April 2, 2024. This Court should instruct

       the clerks of the courts to correct the falsely altered record. This Court should

       order divestiture of jurisdiction of the district court throughout the pendency of the

       appeal and the trial court is functus officio. This Court should appropriately and

       fittingly sanction the district court actors involved in falsifying the record for

       misconduct. Appellant requests Oral Argument on all issues raised herein before

       the Court. Appellant requests any and all Relief deemed just.

                                         Respectfully submitted,
                                         Mary Seguin
                                         Pro Se
                                         /s/____________________
                                         Email: maryseguin22022@gmail.com
                                         Phone: (281)744-2016
                                         P.O. Box 22022
                                         Houston, TX 77019
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                                      Dated: March 11, 2024




                               CERTIFICATE OF SERVICE

             This is to certify that the foregoing instrument has been served via the
       Court’s ECF filing system on March 11, 2024, on all registered counsel of record,
       and has been transmitted to the Clerk of the Court.

                                                    Mary Seguin
                                                    Pro Se
                                                    /s/____________________
                                                    Email: maryseguin22022@gmail.com
                                                    Phone: (281)744-2016
                                                    P.O. Box 22022
                                                    Houston, TX 77019




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                                    Exhibit A
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                      United States Court of Appeals
                                       For the First Circuit
                                          _____________________

       No. 23-1967
                                              MARY SEGUIN,

                                             Plaintiff - Appellant,

                                                      v.

        RHODE ISLAND DEPARTMENT OF HUMAN SERVICES, in its official capacity; RHODE
            ISLAND OFFICE OF CHILD SUPPORT SERVICES, in its official capacity; GERO
        MEYERSIEK, in his individual and official capacity; PRISCILLA GLUCKSMAN; JOHN A.
           LANGLOIS; PAUL GOULD; MICHAEL D. COLEMAN, in his individual and official
             capacity; DEBORAH A. BARCLAY, in her individual and official capacity; LISA
          PINSONNEAULT, in her individual and official capacity; CARL BEAUREGARD, in his
         individual and official capacity; KEVIN TIGHE; MONIQUE BONIN; FRANK DIBIASE;
       WENDY FOBERT; KARLA CABALLEROS; TIMOTHY FLYNN; RHODE ISLAND COURT
        SYSTEM; MARISA BROWN; PAUL A. SUTTELL, in his individual and official capacity as
        Executive Head of Rhode Island State Court System; RHODE ISLAND ADMINISTRATIVE
         OFFICE OF STATE COURTS; RHODE ISLAND ADMINISTRATIVE OFFICE OF THE
       SUPERIOR COURT; RHODE ISLAND JUDICIAL COUNCIL; RHODE ISLAND SUPERIOR
         COURT; RHODE ISLAND SUPERIOR COURT JUDICIAL COUNCIL; THE JUDICIAL
            TECHNOLOGY CENTER; JULIE HAMIL; JOHN JOSEPH BAXTER, JR.; JUSTIN
        CORREA; RHODE ISLAND OFFICE OF THE ATTORNEY GENERAL; RHODE ISLAND
           OFFICE OF THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT; ADAM D.
                    ROACH; PETER F. NERONHA; TYLER TECHNOLOGIES, INC.,

                                           Defendants - Appellees.
                                           __________________
                                           ORDER OF COURT

                                           Entered: March 1, 2024
                                        Pursuant to 1st Cir. R. 27.0(d)

              The briefing schedule entered on January 22, 2024 is hereby vacated as entered in error.

              In 1:23-cv-00126-WES-PAS (D.R.I), Plaintiff-appellant Mary Seguin filed three post-
       judgment motions pursuant to Rule 59, Rule 60(b) and Rule 60(b)(1) (Docket Entries #34, #35
       and #37) which, per Fed. R. App. P. 4(a)(4)(B)(i), tolled the effectiveness of her November 17,
       2023 notice of appeal until the district court disposed of the post-judgment motions. On February
       1, 2024, the district court entered an order denying the post judgment motions. (D.E. # 48)
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                The appellant shall inform this court whether or not she intends to file a notice of appeal
       or amended notice of appeal from the district court's post-judgment order. See Fed. R. App. P.
       4(a)(4)(B)(ii) (noting that if appellant seeks appeal an order disposing of a post-judgment motion
       or incorporate it into a prior appeal, they must file a notice of appeal or amended notice of appeal
       within the 30 day period after the order enters). See also Fed. R. App. P. 4(a)(5) (allowing the
       district court to grant an extension of time to file a notice of appeal if the party so moved no later
       than 30 days after the time prescribed by Rule 4(a) expires).

              A briefing schedule will enter in due course.


                                                              By the Court:

                                                              Maria R. Hamilton, Clerk


       cc:
       Mary Seguin
       Marissa D. Pizana
       Joanna M. Achille
       Peter F. Neronha
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                                        Exhibit B
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     Published September 2014
                                                                                               Judicial Proﬁle
                                                                                                       by Amy E. Moses



                              Hon. William E. Smith
                      Chief Judge, U.S. District Court for the
                             District of Rhode Island



    B
                    orn and raised in Boise, Idaho, Chief Judge
                    William E. Smith of the U.S. District Court for
                    the District of Rhode Island got a taste of both
                    politics and the judiciary at a young age. His
                    late father, Walter E. “Bill” Smith, was a suc-
     cessful candidate for the Ada County Probate Court in the
     1950s. Chief Judge Smith recalls many fall days during his
     childhood handing out palm cards and walking in parades
     for his father’s campaigns.
         Judge W.E. Smith was an early champion of court
     reform, and his efforts ultimately led to merit-selection for
     state judges in Idaho. Selected by the governor for a seat on
     the Idaho District Court, the trial court of general jurisdic-
     tion, W.E. Smith was the first member of Idaho’s judiciary
     appointed under the new merit selection process.
         Chief Judge Smith considers his father to be his earli-
     est and most influential judicial mentor. His father was
     a devoted public servant who spent the vast majority of
     his legal career as a judge; he was committed to following
     the highest ethical standards and dedicated to the rule of
     law. Chief Judge Smith recalls frequently walking from his
     elementary school to the county courthouse to get a ride
     home; he would do homework while his father drafted opin-
     ions or sit in the courtroom and watch trials. The late W.E.
     Smith’s devotion to the law appears to have influenced all
     of his children’s professional paths: Stephen is in private
     practice in Idaho; Tom is a law professor in California; and       Chief Judge Smith and Court Security Officer Charlie Penelton
     Trish is a district attorney in Utah.                              standing in front of a portrait of Senior Judge Lagueux. Penelton
         Chief Judge Smith left Idaho to study at Georgetown            worked for both judges.
     University, following in his brother Stephen’s footsteps.
     Thanks to Idaho’s Democratic Sen. Frank Church, he                 chair. He worked upward of 30 hours a week to help support
     worked during college as a messenger in the U.S. Senate            himself and pay for his undergraduate education.
     Foreign Relations Committee, of which Sen. Church was                 During the summer of 1980, Chief Judge Smith returned




     Amy E. Moses served as Chief Judge Smith’s law clerk during the 2005 – 2006 term. She is a mem-
     ber of the board of the Rhode Island Chapter of the Federal Bar Association.© 2014 Amy E. Moses.
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              home to work on Sen. Church’s re-election campaign. He              public library, and the Rhode Island State Courts in a variety
              coordinated volunteers, drafted issue papers, and occasion-         of high-profile labor-related legal battles. At the same time,
              ally drove the senator to campaign events across Idaho.             Chief Judge Smith continued to represent an increasing
              Although close, the campaign did not survive the “Reagan            variety of private sector and nonprofit clients on labor and
              Revolution,” which unseated numerous long-serving demo-             employment matters, including grocery chains, banks, and
              cratic senators and left Chief Judge Smith without a job.           manufacturing companies, as well as colleges.
              Through Sen. Church’s former Chief of Staff Peter Fenn,                 While in private practice, Chief Judge Smith also became
              he secured a position at the newly formed Democrats for             politically active. Although a Democrat in his college days,
              the ’80s, a political action committee. There he worked             he found himself more at home with Rhode Island’s small
              as a research assistant helping to draft two fact books for         Republican party. Early on, he was active with the 1988 Bob
              democratic candidates running in 1982 and 1984. While at            Dole (R) presidential campaign,. Through his legal work for
              Georgetown, Chief Judge Smith met his future wife, class-           the town of Warwick, he became good friends with Mayor
              mate Christine Boris, a native of Westerly, R.I.; he occasion-      Chafee and supported his re-election campaigns.
              ally traveled with her to Rhode Island to visit her family in           In late 1999, following the sudden death of U.S. Sen.
              the summer.                                                         John Chafee, Mayor Lincoln Chafee was appointed by the
                  Shortly after graduating from Georgetown in 1982, Chief         governor to serve the remaining year of his father’s term.
              Judge Smith enrolled in the night program at Georgetown’s           The following November, Sen. Chafee ran for the seat. He
              Law School. By taking courses at night, he was able to work         was the clear underdog going into the 2000 race, campaign-
              full time during the day to pay for his education. Thanks           ing against the much more seasoned Rep. Robert Weygand
              to his connections at Democrats for the ’80s, he secured a          (D). Bringing his campaign experience from a U.S. Senate
              paralegal/law clerk position at Akin Gump Strauss Hauer &           race 20 years prior, Chief Judge Smith left his partnership
              Feld and worked there through much of law school (taking            at Edwards & Angell to serve as the staff director in Sen.
              time off in summers to clerk in several other firms). During        Chafee’s Rhode Island office. From 9 to 5, Chief Judge Smith
                                              his third year, he and Christine    worked on Senate matters, but all of his spare time was
                                              married.                            devoted to the campaign, overseeing everything from staff-
   Outside of the court-                          In 1987, after considering      ing to scheduling, media, and debate preparation.
   house, you might catch                     law firms in Portland, Maine,           After serving for a year as staff director and seeing
   a glimpse of Chief Judge                   and Providence, R.I., Chief         Chafee to victory in November, Chief Judge Smith returned
                                              Judge Smith accepted a posi-        to Edwards & Angell. Shortly thereafter, U.S. District Judge
   Smith peddling through                     tion at Edwards & Angell, then      Ronald R. Lagueux announced he would take senior status,
   downtown Providence                        Providence’s largest and most       opening up a seat on the federal bench. Sen. Chafee sug-
   or on the East Bay bike                    prestigious law firm. Other         gested Chief Judge Smith to President George W. Bush, and
   path. Weather permitting, than Christine’s family down                         after a relatively uneventful process, he was confirmed by
                                              in Westerly, he “didn’t know a      the U.S. Senate on Nov. 14, 2002. Looking back, Chief Judge
   he occasionally rides his                  soul in Rhode Island,” but his      Smith appreciates that the stars unexpectedly aligned: but
   bike the almost 25 miles                   instincts told him that Rhode       for both Sen. Chafee and President Bush winning close and
   from home to work.                         Island was a place where a          perhaps unexpected victories in 2000, he would not have
                                              young lawyer could have an          been appointed to the federal bench.
                                              impact and make a name for              Taking the bench in his early forties, Chief Judge Smith
              himself. As a young associate, Chief Judge Smith built a            brought with him innovative ideas about the work of judging.
              practice focused on labor law and pubic-sector law. In his          In one high-stakes patent case involving complex computer
              new hometown of West Warwick, he served as an assistant             algorithms, for example, he broke new ground by combining
              solicitor and later became the municipal judge. In neighbor-        the digital audio of testimony with the demonstrative video
              ing Warwick, after now-Governor Lincoln Chafee (D) was              used by the witness to create a movie that he embedded
              elected mayor in 1992, Chief Judge Smith competed for and           into his decision; readers can click on the embedded link
              won a contract to consolidate all of the city’s legal services      to watch the movie.1 In another case, when it came time to
              and was designated as the city solicitor. Revolutionary at the      award attorneys’ fees in a securities class-action matter,2 he
              time, he convinced Mayor Chafee that his firm could handle          adopted a market-based approach championed by Judges
              the city’s legal work efficiently and effectively for a flat fee,   Vaughn Walker and Milton Shadur in the post-settlement
              saving the city $100,000 per year. Under this contract, Chief       context using available data about fee awards.3
              Judge Smith represented Warwick in numerous matters                     Early on in his judicial career, Chief Judge Smith became
              involving police officers, firefighters, and municipal unions;      focused on issues of fundamental fairness. In the wake of
              civil rights cases; utility rate cases; tax and zoning matters;     Booker4 and disturbed by the disparity between crack and
              and cases regarding the interpretation of the city charter,         cocaine sentences, he conducted extensive research on
              to name a few. This experience led to a similar flat-fee con-       the scientific differences between the two substances and
              tract representing the Rhode Island Secretary of State. In          the history of the 100-to-1 sentencing ratio in use at the
              due course, Chief Judge Smith’s burgeoning public-sector            time. His thoughtful and comprehensive opinion on this
              practice expanded to include representing the governor, a           issue, United States v. Perry,5 was used by other judges
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    considering rejecting the 100-to-1 ratio and got a shout             hac vice process, issued an order permitting the electronic
    out from the U.S. Supreme Court in the United States v.              filing of complaints, and initiated a protocol to allow report-
    Spears6 opinion, which upheld the discretion of district             ers to use electronic devices in the courtroom (with the
    court judges to vary from the sentencing guidelines based            judge’s approval) to report via Twitter, blogs, or otherwise.
    on policy disagreements. On another topic, Chief Judge               Currently he is overseeing an initiative to make admission
    Smith chastised law enforcement’s persistent failure to              to practice in the District of Rhode Island more practical for
    record custodial interrogations, warning that in future cases        new lawyers, a program to provide pro bono counsel in civil
    he would take remedial measures, including instructing the           cases, the development of a re-entry court to offer an alter-
    jury to treat with caution testimony of law enforcement offi-        native to supervised release, and a litigation academy to help
    cers about statements made during custodial interrogations           train young lawyers (at low cost) in some of the basic skills
    where recording equipment was not utilized.7 These efforts,          of litigation. (The academy is a partnership between the
    along with those of many other judges and commentators,              court, the Federal Bar Association, and the Roger Williams
    arguably have contributed to a sea change in practices on            University School of Law.)
    custodial recording.8                                                     Looking forward, Chief Judge Smith is not certain if he
        Chief Judge Smith has taught at Roger Williams                   will retire or take senior status when eligible, but he does
    University School of Law, the state’s only law school, since         not think of himself as the kind of judge who has to be on
    2007. He believes that the law school plays a unique role in         the bench. While he cherishes his judicial position, he has
    Rhode Island’s legal community by educating many of the              numerous interests and enjoys traveling. And while that
    state’s lawyers, fostering intellectual exchanges through            decision is still a long ways off, he says it might be interest-
    seminars and conferences, and expanding legal services               ing to do some “completely different” kind of public service.
    through its clinics and Pro Bono Collaborative. His courses          That, above all, is what he learned from his father: a life of
    have included a year-long capstone course of his own design          devoted public service is its own reward. ~
    in federal practice, which mimics an actual federal civil case
    from start to finish; a course in expert and scientific evi-         Endnotes
                                                                            1
    dence; and a seminar in judicial process, which explores how              Uniloc USA, Inc. v. Microsoft Corp., 640 F. Supp. 2d
    judges decide cases with an emphasis on the psychological            150 (D.R.I. 2009).
                                                                             2
    and less well understood influences in decision-making.                   In re Cabletron Systems, Inc. Securities Litigation,
    Chief Judge Smith greatly enjoys mentoring students and              239 F.R.D. 30 (D.N.H. 2006).
                                                                             3
    interacting with faculty and staff. He recently accepted                  See, e.g., In re Oracle Securities Litig., 131 F.R.D. 688
    appointment as chair of the law school’s board of directors          (N.D. Cal. 1990) (Walker, J.); In re Amino Acid Lysine
    and looks forward to helping the school navigate the chang-          Antitrust Litig., 918 F. Supp. 1190 (N.D. Ill. 1996) (Shadur,
    ing seas of legal education.                                         J.); Report of the Third Circuit Task Force on Selection of
        During his tenure as a district judge, Chief Judge Smith         Class Counsel, 208 F.R.D. 340, 354 n.31 (2002).
                                                                             4
    has accepted numerous invitations to sit with the First and               United States v. Booker, 543 U.S. 220 (2005).
                                                                             5
    Ninth Circuit Courts of Appeals. He enjoys the sparring and               United States v. Perry, 389 F. Supp. 2d 278 (D.R.I. 2005).
                                                                             6
    camaraderie in the appellate bench. Indeed, Chief Judge                   Spears v. United States, 555 U.S. 261, 261, 266 (2009).
                                                                             7
    Smith was nominated by President Bush to a seat on the                    United States v. Mason, 497 F. Supp. 2d 328, 336 (D.R.I.
    First Circuit in December of 2007, but (somewhat ironically          2007) (“It is for this reason that continued indifference (or
    given his early political background) was “blue-slipped” by          resistance) by the Providence Police Department to practices
    Rhode Island’s Democratic senators in the waning months of           aimed at curing the problems discussed above risks this
    the Bush administration.                                             Court’s use of corrective measures.”); see also United States
        Outside of the courthouse, you might catch a glimpse of          v. Mejia, Cr. No. 07-005S, Jury Instructions, p. 36, www.rid.
    Chief Judge Smith peddling through downtown Providence               uscourts.gov/menu/judges/jurycharges/CRdocs/07-05S%20
    or on the East Bay bike path. Weather permitting, he occa-           US%20v%20Tejada-Pichardo%20et%20al%20(Ricardo%20
    sionally rides his bike the almost 25 miles from home to             Mejia).pdf (“Testimony regarding unrecorded statements,
    work. During lunch, he usually catches a game of competi-            particularly in circumstances where recording equipment is
    tive squash. And on the weekends, he enjoys hiking, tennis,          available, must be viewed with caution.”); Katie Mulvaney,
    and mountain biking. He is an avid reader, mostly of nonfic-         Police resist judge’s call that they record interrogations,
    tion, with a particular interest in history, policy, and science.    PROVIDENCE JOURNAL, March 18, 2009.
                                                                             8
        In December 2013, Chief Judge Smith began his seven-                  See Thomas P. Sullivan, Recording Custodial
    year term as chief judge. The youngest person ever to                Interrogations, THE CHAMPION, April 2014.
    serve as chief judge in the District of Rhode Island,9 he                9
                                                                              See Federal Judicial Center, Biographical Directory of
    brings new energy and enthusiasm to the position. While              Federal Judges, 1789 present, www.fjc.gov/history/home.
    he continues to innovate and focus on fairness, Chief Judge          nsf/page/judges.html (containing dates of birth and years of
    Smith is committed broadening his effort to make the court           service as District of Rhode Island Chief Judge).
    a friendlier and more welcoming place for litigants, lawyers,
    and the public. During his first few months as chief, he
    established a court Twitter account, modernized the pro
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                      $3F686ÿO%83PFÿ8323$&6126ÿ2E12ÿ2E3ÿ1F3F/ÿ6ÿ12/ÿ1$3ÿ$371238#ÿ01$%2/ÿ31071.
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                     1FF638ÿ2ÿ06F2$62ÿM%83ÿN67761&ÿ4#ÿ1&62Eÿ$ÿ177ÿ%$2E3$ÿ$ 3386F#ÿQ$62186/
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                     13%6#ÿ221E&32F5ÿJÿÿ4E6'62ÿ4E6'62Fÿÿ2ÿiÿ1221E38ÿ2ÿ71626PFÿ(%73ÿ"&.
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                      ÿK%&1ÿ13$H63F/ÿ(E83ÿF718ÿ031$2&32ÿÿK%&1ÿ13$H63Fÿ63ÿÿE678
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                      X!%/'.'+0!uÿv+wY+x#'+ÿ23ÿ83ÿ9\8=ÿP9\8<ÿ83SÿP1Tÿ0126324045S
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                      l!ÿv+wY+x#'|%ÿ)%/'%lÿ23ÿ83ÿ9\8=ÿP;5Tÿ]ÿ6ÿ52ÿ451ÿ1ÿ3
                      8ÿ\;3ÿ8ÿÿ93ÿQ;1\SP9\8<ÿ83SÿP1Tÿ0126124045S
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                      6'1ÿ52ÿ512p6)ÿ'(ÿ1ÿ 419ÿM6451ÿ9ÿ1ÿ5 1ÿ76'(ÿ021;1ÿ2Lÿ%'4(499
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                 012343567ÿ297ÿ69 9ÿ2335ÿ5449ÿÿ9ÿ29ÿ52ÿ012343567ÿ 392ÿ
                 13453 ÿÿ416ÿ52ÿ123435ÿ69462ÿ13ÿ9ÿ2335ÿ ÿ53 5392ÿ52ÿ
                 1392ÿ7ÿ796ÿ94 39ÿ2797ÿ34123ÿÿ129469592ÿ12951692ÿ
                 416ÿ29433 ÿ5633ÿ6 ÿ59ÿ649923ÿ3ÿ9ÿ59ÿ2335ÿ9946 34ÿ416ÿ
                 52ÿ2335ÿ416ÿ65463ÿ629692ÿ7ÿ52ÿ532ÿ7ÿ69ÿ335 ÿ5ÿ569ÿ1392ÿ
                 7ÿ9ÿ012343567ÿ23357ÿ ÿ796ÿ94 39ÿ2797ÿ569ÿ5ÿ29392ÿ5449ÿÿ
                  9ÿ134ÿ69ÿ335 ÿ52ÿ5639ÿÿ9ÿ3353 ÿ!ÿ569ÿ69699 92ÿ7ÿ
                 419"#ÿÿ9ÿ29ÿ52ÿ59ÿ$ 16ÿ 7ÿ65 ÿ69 9ÿ5449ÿÿ2335ÿ416ÿ52ÿ
                 123435ÿ69462ÿ469592ÿ7ÿ129ÿ621492ÿ3ÿ2335ÿ416ÿÿ29ÿ52ÿ5 697ÿ
                 52ÿ59ÿ52ÿ92965ÿ59439ÿ5ÿ569ÿ56%92ÿ7ÿ9ÿ29ÿ52ÿ012343567ÿ
                       7#ÿ ÿ3ÿ596ÿÿ4669 292ÿ3ÿ!633ÿ1699ÿ&'"ÿ((ÿ
                 4669 2949ÿ9 53ÿ!3ÿ)6#ÿ013ÿ$ 6695ÿ*+#ÿ52ÿ)#ÿ(9,5265ÿ-63ÿÿ9ÿ
                 29ÿ52ÿ012343567ÿ6 ÿ019ÿ&.ÿ/./0ÿÿ017ÿ&.ÿ/./0#ÿ
             1#ÿ5ÿ9ÿ59ÿ39925 ÿ3ÿ3ÿ596ÿ9946 3457ÿ39ÿ5ÿ 349ÿ13ÿ5 96ÿ
                 9946 34ÿ33ÿ79 ÿ5ÿ3ÿ9%9ÿ95659ÿ52ÿ23969 ÿ6 ÿ9ÿ*4ÿ2797"#ÿ
             5#ÿ5ÿ9ÿ59ÿ39925 ÿ416ÿ9946 34ÿ33ÿ569ÿ ÿ 3492ÿÿ9ÿ3ÿ9,5#ÿ
             &.#ÿ5ÿ9ÿ59ÿ39925 ÿ416ÿ9946 34ÿ33ÿ569ÿ ÿ%339ÿÿ9ÿ ÿ9ÿ29ÿ
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             &/#ÿ5ÿ9ÿ59ÿ39925 ÿ416ÿ9946 34ÿ33ÿ416ÿ69462ÿ45 ÿ9ÿ544992ÿ
                 69 97ÿ7ÿ9ÿ134ÿ7ÿ969699 92ÿ335 ÿ 6ÿ7ÿ5639ÿÿ9ÿ459ÿ1ÿ
                 45ÿ9ÿ544992ÿ69 97ÿ52ÿ35 7ÿ61ÿ9ÿ3 969ÿ7ÿ5 697ÿ3ÿ29ÿ
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             &0#ÿ5ÿ9ÿ29ÿ52ÿ$ 16ÿ$966ÿ59ÿÿ9ÿ%96ÿ9ÿ 9ÿ5ÿ97ÿ569ÿ
                 63392ÿ6 ÿ69523ÿ9ÿ4 9 ÿÿ9ÿ416ÿ69462ÿ%96ÿ9ÿ 9ÿÿ9#ÿ
             &'#ÿ5ÿ9ÿ29ÿ52ÿ$ 16ÿ%3615ÿ4966ÿ59ÿÿ9ÿ%96ÿ9ÿ 9ÿ5ÿ9%9ÿ97ÿ
                 569ÿ159ÿÿ99ÿ6ÿ5449ÿ9ÿ416ÿ69462ÿ36 53 ÿÿ33ÿ7ÿ9ÿ59ÿ
                 39925 ÿ6 ÿ9ÿ%3615ÿ4966ÿ5449ÿ65#ÿÿÿ
             &7#ÿ5ÿ9ÿ29ÿ52ÿ*946 34ÿ433ÿ79 ÿ459ÿ559 9 ÿ79 ÿ619ÿ52ÿ
                 654349ÿ163ÿ52ÿ14 313 57ÿ69634ÿ52ÿ297ÿ5449ÿÿ9ÿ416ÿÿ699ÿ
                 4598ÿ&"ÿ9ÿ1349ÿ/"ÿ69ÿ335 9ÿ0"ÿ5639ÿÿ9ÿ459ÿ!ÿ569ÿ69699 92ÿ
                 7ÿ419"ÿ52ÿ3ÿ%317ÿ163ÿ6996%92ÿ6ÿ 7ÿ9ÿ%96 9 ÿ52ÿ29ÿ
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             &:#ÿ5ÿ9ÿ59ÿ39925 ÿ5%9ÿ1ÿ6 !929ÿÿ9ÿ96931ÿ219ÿ649ÿ
                 %353 ÿÿ9ÿ29ÿ52ÿ59ÿ416ÿ*4#ÿ
             &;#ÿ5ÿ9ÿ59ÿ39925 ÿ5%9ÿ1ÿ6 !929ÿÿ9ÿ96931ÿ219ÿ649ÿ
                 %353 ÿÿ9ÿ29ÿ52ÿ59ÿ416ÿ*4ÿ79 <564394169<619<654349ÿ52ÿ

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                ÿ8956ÿ4 62ÿ1ÿÿ226ÿ596641ÿ232ÿ46 ÿ ÿ86465ÿ9212219ÿ4ÿ
                46ÿ596ÿ5132ÿ1ÿ6!"ÿ
             #$"ÿ32ÿ236ÿ226ÿ&68642ÿ36ÿ8ÿ'90646ÿ98ÿ236ÿ65619ÿ46ÿ596ÿ
                19219ÿ98ÿ236ÿ3946ÿ4ÿ226ÿ952ÿ(ÿ26 )53126256)56)5216*ÿ4ÿ
                1121264ÿ236ÿ8 1ÿ952ÿ226ÿ596641ÿ9ÿ+5ÿ,#*ÿ,ÿ68956ÿ236ÿ-914ÿ
                 656ÿ&65219ÿ0ÿ18264"ÿ
             #."ÿ32ÿ236ÿ226ÿ&68642ÿ36ÿ8ÿ'90646ÿ98ÿ236ÿ65619ÿ46ÿ596ÿ
                19219ÿ98ÿ236ÿ3946ÿ4ÿ226ÿ952ÿ(ÿ26 )53126256)56)5216ÿ232ÿ
                65ÿ29ÿ/012ÿ411/5ÿ678/97:ÿ;0<9409ÿ40=ÿ>?11ÿ@/?69ÿ4@@7<<ÿ9/ÿ4ÿ67<96;@97=ÿ@1?Aÿ/>ÿ
                BCDCÿ145276<ÿ40=ÿ9E7ÿF/G7608709*ÿ96ÿ9212219ÿ4ÿ46ÿ546ÿ9ÿ6*ÿÿ
                121H6ÿ98ÿ6!ÿ965ÿ*Iÿ16ÿ0"ÿ
             "ÿ32ÿ236ÿ226ÿ&68642ÿ36ÿ8ÿ'90646ÿ98ÿ236ÿ65619ÿ815ÿ46ÿ596ÿ
                19219ÿ98ÿ236ÿ3946ÿ4ÿ226ÿ952ÿ(ÿ26 )53126256)56)5216ÿ232ÿ
                46 ÿ6ÿ6ÿ29ÿ236ÿ56J1564ÿ717@96/0;@ÿ@/?69ÿ9640<@6;K9<ÿ56564ÿÿ236ÿ952ÿ
                5695265ÿ4ÿ662591ÿ8164ÿ1ÿ236ÿ226ÿ(ÿ232ÿDÿ/6=767=ÿ40=ÿK4;=ÿ>/6ÿ895ÿ
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                56251219ÿ9ÿ6ÿ29ÿ952ÿ56954ÿ4ÿ1895 219ÿ29ÿ236ÿ1ÿ4ÿ9 0 65ÿ1ÿ
                4616526*ÿÿ461ÿ4ÿ264ÿ29ÿ6ÿ815*ÿ1921ÿ9212219ÿ5266ÿ
                98ÿ8ÿ4ÿ815ÿ995212ÿ29ÿ516ÿ1 ÿ1ÿ226ÿ596641"ÿ
             "ÿ32ÿ236ÿ965164ÿ9212219ÿ56251219ÿ56ÿ92ÿ6!3216"ÿ
             ,"ÿ32ÿ ÿ86465ÿ9625ÿ4 6ÿ1 ÿ9ÿ236ÿ921221912ÿ98ÿ236ÿ3946ÿ
                4ÿ226ÿ952ÿ56*ÿ5216ÿ4ÿ596641ÿ232ÿ1926ÿ236ÿ965 62ÿ6412ÿ
                492516ÿ4ÿ1926ÿ236ÿ596ÿ1212L*ÿ3ÿÿ 68*ÿ86465ÿ9212219ÿ5132Mÿ
                N#Oÿ86465ÿ9212219ÿ5132ÿ98ÿ6Jÿ6ÿ29ÿ236ÿ952*ÿNOÿ86465ÿ9212219ÿ
                5132ÿ29ÿ6Jÿ6ÿ29ÿ952ÿ56954ÿ29ÿ56616ÿ1895 219ÿ9ÿ236ÿ9262ÿ98ÿÿ
                662591ÿ8164ÿ9216*ÿ641*ÿ952ÿ46119*ÿ4ÿ25512ÿ232ÿÿ 68ÿ
                9546564ÿ4ÿ14ÿ895ÿ895ÿ6ÿ232ÿ56ÿ56J1564ÿ29ÿ6ÿ662591ÿ8164ÿÿ226ÿ
                952ÿ56ÿ4ÿ5216*ÿN,Oÿ86465ÿ9212219ÿ46ÿ596ÿ5132ÿ4ÿ6Jÿ5132ÿ29ÿ
                6ÿ16ÿ6Jÿ4ÿ216ÿ9216ÿ98ÿ662591ÿ811ÿ4ÿ62516ÿÿ236ÿ952ÿ
                N141ÿ952ÿ46119*ÿ952ÿ95465*ÿ952ÿ4 62*ÿ8ÿ49'62ÿ62516*ÿ62"Oÿ232ÿ
                236ÿ3946ÿ4ÿ+4115ÿ4616526ÿ46 ÿÿ2695ÿÿ596ÿ1212ÿ6ÿ29ÿ
                952ÿ1895 219*ÿ 6ÿ236ÿ9262ÿ98ÿ411)952ÿ56954ÿ98ÿ6ÿ29ÿ0313ÿÿ
                 ÿ236ÿ6856566264ÿ52*ÿNPOÿ86465ÿ9212219ÿ46ÿ596ÿ5132ÿ29ÿ6ÿ3654ÿ
                N3946ÿ4ÿ65195ÿ-952ÿ235626ÿ6*ÿ236ÿ6!ÿ596ÿ12188*ÿ0123ÿ461ÿ98ÿ
                    ÿ56J62ÿ29ÿ942ÿQ6!ÿ3651ÿ895ÿ236ÿ596ÿ98ÿ46 1ÿ236ÿ6!ÿ596ÿ
                1212ÿ6ÿ29ÿ236ÿ952ÿ4ÿ29ÿ6ÿ3654O*ÿNIOÿ86465ÿ9212219ÿ46ÿ596ÿ
                5132ÿ29ÿ46119ÿÿÿ625ÿ46119 '65ÿN236ÿ952ÿ232ÿ4616ÿ596ÿ1212ÿ


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                 011233ÿ56ÿ572ÿ16895ÿ0 ÿ572ÿ169609ÿ669585ÿ56ÿ2ÿ7209ÿ03ÿ572ÿ28590ÿ2136
                 029ÿ5235ÿÿ73ÿ35ÿ3ÿ65ÿ2708352ÿ
             ÿ705ÿÿ322ÿ56ÿ382ÿÿ2290ÿ16895ÿ572ÿ5052ÿ22 053ÿ0 ÿ0 ÿ0 560ÿ22 053ÿ
             ÿÿ0ÿ0ÿ685635052ÿ2935ÿ0 ÿ0ÿ9632ÿ5!05ÿÿ5"6ÿ35052ÿ96122!3ÿÿ#762ÿ
                 30 $ÿ0 ÿ702ÿ22ÿ8163558560 ÿ3!2ÿ685ÿÿ572ÿ5052ÿ%8109$ÿÿ
                 1052!69ÿ&3292923252ÿ5!05$'ÿ56ÿ2ÿ0992ÿ96ÿ011233!ÿ2215961ÿ1032ÿ
                 69056ÿ0857692ÿÿ(8!23ÿ0 ÿ"717ÿ572ÿ%8109ÿ703ÿ0ÿ666 ÿÿ572ÿ
                 81056ÿ6ÿ572ÿ(8!2192052ÿ0"3ÿÿ"717ÿ35052ÿ16895ÿ10323ÿÿ0ÿ572ÿ9632ÿ095$ÿ
                 0 ÿ57292692ÿ702ÿ350 !ÿ56ÿ9032ÿ103ÿ0!035ÿ573ÿ8163558560ÿ35052ÿ901512ÿ
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                 %8109)3ÿ666 ÿÿ572ÿ!50ÿ81056ÿ6ÿ(8!2192052ÿ0"3ÿÿ572ÿ%8109)ÿ
                 2252ÿ!50*2215961ÿ168953ÿ0 ÿ572ÿ%8109)3ÿ20ÿ56ÿ572ÿ+81ÿ0 ÿ56ÿ
                 2ÿ96ÿ011233!ÿ572ÿ666,2ÿ2215961ÿ81056ÿ6ÿ572ÿ(8!2192052ÿ0"3ÿ
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                 81ÿ16895ÿ921693ÿÿ5!056$ÿ!2ÿ52 ÿ6512$ÿ0208052ÿ669585ÿ56ÿ2ÿ
                 7209ÿ0 ÿ56ÿ2136ÿÿ0ÿ28590ÿ2136029ÿ092ÿ8 0250ÿ/935ÿ0 ÿ/68957ÿ
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                 572ÿ#762ÿ30 ÿ82969ÿ16895ÿ2217ÿ209ÿ165522ÿ9215 ÿ92052ÿ56ÿ368!29ÿ
                 .35256ÿ41256ÿÿÿ
             5ÿ72ÿ5052ÿ22 053ÿ229052 ÿ2ÿ0ÿ572ÿ5052)3ÿ20!3ÿ68532ÿ6ÿ572ÿ5052)3ÿ
                 2215961ÿ!ÿ3352$ÿ&6 332$'ÿ0 ÿ229052 ÿ832ÿ0ÿ"76 ÿ2925ÿ802ÿ
                 2215961ÿ!ÿ3352$ÿ2925ÿ0 ÿ3209052ÿ96ÿ5705ÿ7&6 332'ÿ962ÿ69ÿ
                 9632ÿ5!053$ÿ36ÿ5705ÿ9632ÿ5!053ÿ6ÿ65ÿ92122ÿ0 ÿ9208352ÿ0856052ÿ
                 2215961ÿ65123ÿ6ÿ16895ÿ6563ÿ69ÿ20!3ÿ572ÿ5052ÿ22 053ÿ2ÿ
                 22159610 $ÿ69ÿ092ÿ96ÿ32ÿ5!053ÿ02ÿ56ÿ22159610 ÿ011233ÿ572ÿ16525ÿ
                 69056ÿ6ÿ572ÿ5052ÿ22 053)ÿ22159610 2ÿ20!3ÿÿ72ÿ6 ÿ"0ÿ572ÿ
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       27815ÿ7014929ÿ 093ÿA05228ÿ 01 2ÿ#)ÿ#'2ÿ(33#&#4%ÿ&454&#'67ÿ3 4ÿA05228ÿ
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                484ÿ8ÿ64ÿC1<552<ÿ5<5@2:1ÿ
             O1ÿ3456ÿ64ÿP.QCRSÿ4TUAVRÿWXR4=4A.Yÿ.XUSTÿC9ÿZ.A=[4=Sÿ
                \C]S.V4V\ÿZXKU4=ÿA==STTÿ[CÿSUS=[.CV4=ÿ=ATSÿ4V9C.^A[4CV_ÿ
                .>62ÿ̀aÿAbb255ÿ@0ÿ=752ÿ48c0?:7@;08_ÿdbHÿ.2:0@2ÿAbb255ÿ@0ÿ=752ÿ48c0?:7@;08aÿdFHÿ
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                Z0?@76aÿÿV08Gh>f6;bÿb752ÿ@<h25ÿ5/766ÿ80@ÿf2ÿ?2:0@26<ÿ7bb255;f62ÿ2ib2h@ÿc0?ÿb2?@7;8ÿ
                b752ÿ@<h25ÿ@0ÿ7@@0?82<5ÿe/0ÿ/7B2ÿ28@2?21ÿ78ÿ7hh27?78b2ÿ;8ÿ7ÿb752aÿÿdDHÿ=08@28@aÿ
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                48c0?:7@;08kÿf7?_ÿ128<_ÿB;067@2_ÿ7f?;1g2_ÿ;8c?;8g2ÿ781ÿ;8@2?c2?2ÿe;@/ÿZ?0ÿT2ÿ
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                6;@;g78@5_ÿ781ÿh7?@;25ÿ5/766ÿ/7B2ÿ.2:0@2ÿAbb255ÿ@0ÿ@/2ÿ?2g;5@2?ÿ0cÿ7b@;085ÿ0?ÿ
                R0bj2@ÿf>@ÿ5/766ÿ80@ÿ/7B2ÿ.2:0@2ÿAbb255ÿ@0ÿ0@/2?ÿS62b@?08;bÿ=752ÿ48c0?:7@;08a*ÿÿ
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                781ÿZ7?@;25ÿ@0ÿ7ÿ=752_ÿ[/2ÿh>f6;b_ÿ526cG?2h?2528@21ÿ6;@;g78@5_ÿ781ÿh7?@;25ÿ;8ÿ7ÿb752ÿ
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                 52ÿ2335ÿ416ÿ65463ÿ629692ÿ7ÿ52ÿ532ÿ7ÿ69ÿ335 ÿ5ÿ569ÿ1392ÿ
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                 52ÿ59ÿ52ÿ92965ÿ59439ÿ5ÿ569ÿ56%92ÿ7ÿ9ÿ29ÿ52ÿ012343567ÿ
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                 4598ÿ&"ÿ9ÿ1349ÿ/"ÿ69ÿ335 9ÿ0"ÿ5639ÿÿ9ÿ459ÿ!ÿ569ÿ69699 92ÿ
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                19219ÿ98ÿ236ÿ3946ÿ4ÿ226ÿ952ÿ(ÿ26 )53126256)56)5216*ÿ4ÿ
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             #."ÿ32ÿ236ÿ226ÿ&68642ÿ36ÿ8ÿ'90646ÿ98ÿ236ÿ65619ÿ46ÿ596ÿ
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                65ÿ29ÿ/012ÿ411/5ÿ678/97:ÿ;0<9409ÿ40=ÿ>?11ÿ@/?69ÿ4@@7<<ÿ9/ÿ4ÿ67<96;@97=ÿ@1?Aÿ/>ÿ
                BCDCÿ145276<ÿ40=ÿ9E7ÿF/G7608709*ÿ96ÿ9212219ÿ4ÿ46ÿ546ÿ9ÿ6*ÿÿ
                121H6ÿ98ÿ6!ÿ965ÿ*Iÿ16ÿ0"ÿ
             "ÿ32ÿ236ÿ226ÿ&68642ÿ36ÿ8ÿ'90646ÿ98ÿ236ÿ65619ÿ815ÿ46ÿ596ÿ
                19219ÿ98ÿ236ÿ3946ÿ4ÿ226ÿ952ÿ(ÿ26 )53126256)56)5216ÿ232ÿ
                46 ÿ6ÿ6ÿ29ÿ236ÿ56J1564ÿ717@96/0;@ÿ@/?69ÿ9640<@6;K9<ÿ56564ÿÿ236ÿ952ÿ
                5695265ÿ4ÿ662591ÿ8164ÿ1ÿ236ÿ226ÿ(ÿ232ÿDÿ/6=767=ÿ40=ÿK4;=ÿ>/6ÿ895ÿ
                6*ÿ2ÿ236ÿ226ÿ&68642ÿ36ÿ122ÿ56 926ÿ6ÿÿ226ÿ952ÿ461"ÿ
             #"ÿ32ÿ236ÿ226ÿ&68642ÿ36ÿ8ÿ'90646ÿ98ÿ236ÿ96ÿ9212219ÿ
                56251219ÿ9ÿ6ÿ29ÿ952ÿ56954ÿ4ÿ1895 219ÿ29ÿ236ÿ1ÿ4ÿ9 0 65ÿ1ÿ
                4616526*ÿÿ461ÿ4ÿ264ÿ29ÿ6ÿ815*ÿ1921ÿ9212219ÿ5266ÿ
                98ÿ8ÿ4ÿ815ÿ995212ÿ29ÿ516ÿ1 ÿ1ÿ226ÿ596641"ÿ
             "ÿ32ÿ236ÿ965164ÿ9212219ÿ56251219ÿ56ÿ92ÿ6!3216"ÿ
             ,"ÿ32ÿ ÿ86465ÿ9625ÿ4 6ÿ1 ÿ9ÿ236ÿ921221912ÿ98ÿ236ÿ3946ÿ
                4ÿ226ÿ952ÿ56*ÿ5216ÿ4ÿ596641ÿ232ÿ1926ÿ236ÿ965 62ÿ6412ÿ
                492516ÿ4ÿ1926ÿ236ÿ596ÿ1212L*ÿ3ÿÿ 68*ÿ86465ÿ9212219ÿ5132Mÿ
                N#Oÿ86465ÿ9212219ÿ5132ÿ98ÿ6Jÿ6ÿ29ÿ236ÿ952*ÿNOÿ86465ÿ9212219ÿ
                5132ÿ29ÿ6Jÿ6ÿ29ÿ952ÿ56954ÿ29ÿ56616ÿ1895 219ÿ9ÿ236ÿ9262ÿ98ÿÿ
                662591ÿ8164ÿ9216*ÿ641*ÿ952ÿ46119*ÿ4ÿ25512ÿ232ÿÿ 68ÿ
                9546564ÿ4ÿ14ÿ895ÿ895ÿ6ÿ232ÿ56ÿ56J1564ÿ29ÿ6ÿ662591ÿ8164ÿÿ226ÿ
                952ÿ56ÿ4ÿ5216*ÿN,Oÿ86465ÿ9212219ÿ46ÿ596ÿ5132ÿ4ÿ6Jÿ5132ÿ29ÿ
                6ÿ16ÿ6Jÿ4ÿ216ÿ9216ÿ98ÿ662591ÿ811ÿ4ÿ62516ÿÿ236ÿ952ÿ
                N141ÿ952ÿ46119*ÿ952ÿ95465*ÿ952ÿ4 62*ÿ8ÿ49'62ÿ62516*ÿ62"Oÿ232ÿ
                236ÿ3946ÿ4ÿ+4115ÿ4616526ÿ46 ÿÿ2695ÿÿ596ÿ1212ÿ6ÿ29ÿ
                952ÿ1895 219*ÿ 6ÿ236ÿ9262ÿ98ÿ411)952ÿ56954ÿ98ÿ6ÿ29ÿ0313ÿÿ
                 ÿ236ÿ6856566264ÿ52*ÿNPOÿ86465ÿ9212219ÿ46ÿ596ÿ5132ÿ29ÿ6ÿ3654ÿ
                N3946ÿ4ÿ65195ÿ-952ÿ235626ÿ6*ÿ236ÿ6!ÿ596ÿ12188*ÿ0123ÿ461ÿ98ÿ
                    ÿ56J62ÿ29ÿ942ÿQ6!ÿ3651ÿ895ÿ236ÿ596ÿ98ÿ46 1ÿ236ÿ6!ÿ596ÿ
                1212ÿ6ÿ29ÿ236ÿ952ÿ4ÿ29ÿ6ÿ3654O*ÿNIOÿ86465ÿ9212219ÿ46ÿ596ÿ
                5132ÿ29ÿ46119ÿÿÿ625ÿ46119 '65ÿN236ÿ952ÿ232ÿ4616ÿ596ÿ1212ÿ


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                 011233ÿ56ÿ572ÿ16895ÿ0 ÿ572ÿ169609ÿ669585ÿ56ÿ2ÿ7209ÿ03ÿ572ÿ28590ÿ2136
                 029ÿ5235ÿÿ73ÿ35ÿ3ÿ65ÿ2708352ÿ
             ÿ705ÿÿ322ÿ56ÿ382ÿÿ2290ÿ16895ÿ572ÿ5052ÿ22 053ÿ0 ÿ0 ÿ0 560ÿ22 053ÿ
             ÿÿ0ÿ0ÿ685635052ÿ2935ÿ0 ÿ0ÿ9632ÿ5!05ÿÿ5"6ÿ35052ÿ96122!3ÿÿ#762ÿ
                 30 $ÿ0 ÿ702ÿ22ÿ8163558560 ÿ3!2ÿ685ÿÿ572ÿ5052ÿ%8109$ÿÿ
                 1052!69ÿ&3292923252ÿ5!05$'ÿ56ÿ2ÿ0992ÿ96ÿ011233!ÿ2215961ÿ1032ÿ
                 69056ÿ0857692ÿÿ(8!23ÿ0 ÿ"717ÿ572ÿ%8109ÿ703ÿ0ÿ666 ÿÿ572ÿ
                 81056ÿ6ÿ572ÿ(8!2192052ÿ0"3ÿÿ"717ÿ35052ÿ16895ÿ10323ÿÿ0ÿ572ÿ9632ÿ095$ÿ
                 0 ÿ57292692ÿ702ÿ350 !ÿ56ÿ9032ÿ103ÿ0!035ÿ573ÿ8163558560ÿ35052ÿ901512ÿ
                 0 ÿ8163558560ÿ35052ÿ16895ÿ901512ÿ0 ÿ9823ÿÿÿ8 29350 ÿ572ÿ#762ÿ30 ÿ
                 %8109)3ÿ666 ÿÿ572ÿ!50ÿ81056ÿ6ÿ(8!2192052ÿ0"3ÿÿ572ÿ%8109)ÿ
                 2252ÿ!50*2215961ÿ168953ÿ0 ÿ572ÿ%8109)3ÿ20ÿ56ÿ572ÿ+81ÿ0 ÿ56ÿ
                 2ÿ96ÿ011233!ÿ572ÿ666,2ÿ2215961ÿ81056ÿ6ÿ572ÿ(8!2192052ÿ0"3ÿ
                 ÿ572ÿ16895ÿ921693ÿ6052ÿ572ÿ!62925ÿ215ÿ61592ÿ
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                 81ÿ16895ÿ921693ÿÿ5!056$ÿ!2ÿ52 ÿ6512$ÿ0208052ÿ669585ÿ56ÿ2ÿ
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                 .2 25ÿ0 ÿ/68952257ÿ.2 25ÿ9!753ÿÿ19510 $ÿ572ÿ8163558560ÿ
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                 9632ÿ5!053ÿÿ572ÿ#762ÿ30 ÿ5052ÿ168953$ÿ#762ÿ30 ÿ5052ÿ%8109ÿ0 ÿ
                 572ÿ#762ÿ30 ÿ82969ÿ16895ÿ2217ÿ209ÿ165522ÿ9215 ÿ92052ÿ56ÿ368!29ÿ
                 .35256ÿ41256ÿÿÿ
             5ÿ72ÿ5052ÿ22 053ÿ229052 ÿ2ÿ0ÿ572ÿ5052)3ÿ20!3ÿ68532ÿ6ÿ572ÿ5052)3ÿ
                 2215961ÿ!ÿ3352$ÿ&6 332$'ÿ0 ÿ229052 ÿ832ÿ0ÿ"76 ÿ2925ÿ802ÿ
                 2215961ÿ!ÿ3352$ÿ2925ÿ0 ÿ3209052ÿ96ÿ5705ÿ7&6 332'ÿ962ÿ69ÿ
                 9632ÿ5!053$ÿ36ÿ5705ÿ9632ÿ5!053ÿ6ÿ65ÿ92122ÿ0 ÿ9208352ÿ0856052ÿ
                 2215961ÿ65123ÿ6ÿ16895ÿ6563ÿ69ÿ20!3ÿ572ÿ5052ÿ22 053ÿ2ÿ
                 22159610 $ÿ69ÿ092ÿ96ÿ32ÿ5!053ÿ02ÿ56ÿ22159610 ÿ011233ÿ572ÿ16525ÿ
                 69056ÿ6ÿ572ÿ5052ÿ22 053)ÿ22159610 2ÿ20!3ÿÿ72ÿ6 ÿ"0ÿ572ÿ
                 96ÿ32ÿ5!05$ÿ3817ÿ03ÿ2$ÿ572ÿ203ÿ+05$ÿ10ÿ011233ÿ572ÿ16895ÿ92169ÿ3ÿ56ÿ
                 29360 ÿ!6ÿ629ÿ$88ÿ23ÿ0"0ÿ56ÿ572ÿ1689576832ÿÿ#762ÿ30 ÿ56ÿ011233ÿ572ÿ
                 16895ÿ20!ÿ69056$ÿ69ÿ!25ÿ0ÿ&1689523ÿ6512'ÿ0ÿ20ÿ69ÿ!25ÿ0ÿ&1689523ÿ
                   6512'ÿ57968!7ÿ9ÿ:0ÿ325ÿÿ572ÿ5052ÿ22 053ÿ05ÿ"7ÿÿÿ72ÿ5052ÿ
                 22 053ÿ229052 ÿ0ÿ56ÿ32 ÿ572ÿ65123ÿ22159610 ÿ69ÿÿ9ÿ:0$ÿ0 ÿ572ÿ
                 35052ÿ168953ÿ229052 ÿ968!052ÿ16895ÿ9823ÿ306"!ÿ572ÿ81$ÿ9632ÿ
                  5!053ÿ0 ÿ22ÿ572ÿ09523ÿ"76ÿ092ÿ92923252ÿÿ0" 293$ÿ92652ÿ011233ÿ56ÿ16895ÿ
                 921693$ÿ0 ÿ19510 $ÿ2 ÿ011233ÿ56ÿ19810ÿ16895ÿ21363$ÿ(8!253ÿ0 ÿ69293ÿ6ÿ
                 81ÿ10323$ÿ03ÿ"2ÿ03ÿ2 ÿ92652ÿ011233ÿ56ÿ572ÿ59031953ÿ69292ÿÿ9632ÿ
                  5!053ÿ69ÿ020ÿÿ19510 $ÿ572ÿ5052ÿ16895)3ÿ09!25ÿ0 ÿ20ÿ6ÿ011233ÿ56ÿ
                 16895ÿ618253ÿ56ÿ572ÿ96ÿ32ÿ5!05ÿ0 ÿ572ÿ!2290ÿ81ÿ92385ÿÿ572ÿ

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                 0123145650563178ÿ7 6 15ÿ71ÿ1678ÿ3ÿ078ÿ568ÿ71ÿ716108ÿ72244ÿ53ÿ
                 2305ÿ23876154ÿ2646314ÿ0 154ÿ71ÿ3 4ÿÿ75ÿ64ÿ508ÿ43261ÿ64ÿ575ÿ5ÿ
                 3ÿ4871ÿ06267ÿ1ÿ164ÿ713ÿ74ÿ34ÿ86567154ÿ35ÿ72244ÿ3ÿ2305ÿ
                 57142654ÿ575ÿÿ3 ÿÿ34ÿ86567154ÿ3ÿ778ÿÿÿ
             !"ÿ$6 8ÿ5ÿ$%74ÿ&3'ÿ&876156ÿ6423ÿ71ÿ66ÿ5ÿ725ÿ31ÿ3ÿ7305ÿ08ÿ
                 (ÿ!)!*ÿ575ÿ5ÿ3ÿ4871ÿ06267ÿ0461ÿ5ÿ73476ÿ4575ÿ2305ÿ08ÿ7 61ÿ
                   ÿ2753ÿ34ÿ86567154ÿ3ÿ7224461ÿ2305ÿ274ÿ61375631ÿ358ÿ74ÿ5ÿ
                 &876156ÿÿ2753ÿ+,48415ÿ8656715-.ÿ3ÿ7224461ÿ4575ÿ2305ÿ
                 3261ÿ57142654ÿ575ÿ5ÿ$%74ÿ&876156ÿ3 ÿ71ÿ76ÿ3ÿ3ÿ778ÿÿ1ÿ
                 35ÿ3 4ÿ5ÿÿ'0ÿ/305ÿ/8ÿ4575ÿ53ÿ5ÿ$%74ÿ&876156ÿ575ÿ5ÿ
                 &876156ÿ61ÿ$%74ÿ64ÿ01231456505631788ÿ7 ÿ3ÿ358ÿ7224461ÿ5ÿ
                 57142654ÿ3ÿ2305ÿ32614ÿ575ÿ4ÿ3 ÿ71ÿ76ÿ3ÿ61ÿÿ778ÿ53ÿ5ÿÿ
                 '0ÿ/305ÿ61ÿ5ÿ&8761566165675ÿ0&0ÿ725631ÿ123456ÿ89ÿ:;ÿ<==5>2ÿ?=ÿ@A5BCÿ
                 14DD?EFÿ12E85>2GHÿI@JKKJLMKNOÿ71ÿ5ÿ5ÿ'575ÿP17154ÿ7ÿ6106578ÿ
                    715ÿ6145715ÿ71ÿÿ35ÿ72244ÿ53ÿ534ÿÿ57142654ÿ575ÿ5ÿ$%74ÿ&876156ÿ
                 3 ÿ71ÿ76ÿ3ÿ3ÿ778ÿÿ$ÿ78ÿ$%74ÿ&876156ÿ425088ÿ0454ÿ564ÿ
                 /305ÿ5ÿ%514631ÿ3ÿ56ÿ53ÿ415ÿ5ÿ1 ÿ612ÿ71ÿ87ÿ5ÿ66ÿ7254ÿÿ
             !QÿR3058ÿ5ÿ$%74ÿ&876156ÿ6423ÿ71ÿ66ÿ5ÿ725ÿ31ÿ3ÿ7305ÿ08ÿSSÿ
                 !)!*ÿ575ÿ465ÿ5ÿ$%74ÿ&876156T4ÿ478ÿ31ÿ610664ÿ53ÿ5ÿÿ'063ÿ
                 /305ÿ61ÿ5ÿ745ÿ478ÿ4ÿ7 61ÿ5ÿ457504ÿ3ÿ5ÿ778ÿ5ÿÿ'063ÿ
                 /305ÿ3ÿ01642834ÿ74314ÿ768ÿ71ÿ2315610ÿ53ÿ768ÿ53ÿ861064ÿ064625631ÿ
                 71ÿ5714ÿ5ÿ2305ÿ274ÿ68ÿ3ÿ123456ÿ89ÿ:;ÿ<==5>2ÿ?=ÿ@A5BCÿ14DD?EFÿ12E85>2GHÿ
                 I@JKKJLMKNOÿ53ÿ5ÿÿ'0ÿ/305ÿ6561ÿ5ÿ06465ÿU)ÿ74ÿ75ÿ&876156T4ÿ
                 6861ÿ3ÿV3562ÿ3ÿ078ÿ31ÿ068ÿ*ÿ!)!*ÿ74ÿ06ÿÿ5ÿÿ'0ÿ/305ÿ
                  084ÿ71ÿ3204ÿÿ05ÿ5ÿ47ÿ56ÿ5ÿ$%74ÿ&876156ÿ66ÿ5ÿ725ÿ575ÿ5ÿ
                 &8761563 ÿ57142654ÿ3ÿ5ÿ4575ÿ32614ÿ61ÿ5ÿR78ÿ&8761566165675ÿ
                 4575ÿ0&0ÿ725631ÿ123456ÿ89ÿ:;ÿ<==5>2ÿ?=ÿ@A5BCÿ14DD?EFÿ12E85>2GHÿI@JKKJLMKNOÿ
                 43 ÿ5ÿÿ'063ÿ/305ÿ05ÿ01231456505631788ÿ4305ÿ53ÿ1ÿ5ÿ$%74ÿ
                 &876156ÿ72244ÿ53ÿ5ÿ4575ÿ2305ÿ71ÿ3350165ÿ53ÿÿ7 ÿÿ30565ÿ575161ÿ
                 5ÿ&876156ÿ61ÿ31ÿ2305ÿ575ÿ5ÿ0 ÿP76ÿ/064ÿ061ÿ5ÿ761ÿ3ÿW72ÿ
                 !Xÿ!)!*ÿ61ÿ575ÿ755ÿ4788ÿ04ÿ5ÿ4575ÿ2305T4ÿ64256317ÿ3 ÿ61ÿ5ÿ050ÿ53ÿ
                   1ÿ788ÿ3ÿ5ÿ$%74ÿ34ÿ&876156T4ÿ5656314ÿ3ÿ35ÿY%ÿ7614ÿ53ÿ
                 2568ÿ1ÿÿ72244ÿ53ÿ5ÿ4575ÿ4063ÿ2305ÿÿÿ$ÿ4575ÿ2305ÿ575ÿ164ÿ
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                State of Rhode Island and Providence Plantations


          PROVIDENCE, Sc.                                 FAMILY COURT




          *******************************
          GERO MEYERSIEK




          Vs.                                 F.C. FILE NO. K2001-0521M




          MARY SEGUIN
          ********************************



                                        Heard Before:

                     The Honorable Magistrate Armando O. Monaco

                                   On March 6, 2023


          APPEARANCES:


          FOR MS. SEGUIN. . . . . Pro se

          FOR THE STATE. . . . .. Paul Gould, Esq.




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                                        I HEREBY CERTIFY THAT THE

                                        FOLLOWING IS A TRUE AND ACCURATE

                                        TRANSCRIPT IN THE CASE OF

                                        GERO MEYERSIEK VS. MARY SEGUIN

                                        HEARD BEFORE

                                        MAGISTRATE ARMANDO O. MONACO

                                        ON MARCH 6,2023.




                                        STEVEN FAZIO
                                        ELECTRONIC COURT REPORTER




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          1                             GERO MEYERSIEK V. MARY SEGUIN

          2                                  F.C. NO. K2001-0521M

          3                                  MARCH 6, 2023

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          5                                  MARY SEGUIN: Having been

          6         duly sworn testifies as follows:

          7                                  THE COURT: After the

          8         February 12th hearing two orders were submitted

          9         one by each side, objections were filed through

         10         your order being entered, ma'am.

         11                                  MS. SEGUIN: Thank you Your

         12         Honor. I am sorry. Could you repeat that again?

         13         Sorry.

         14                                  THE COURT: Subsequent to the

         15         hearing of February 10,2023, two separate orders

         16         were submitted for my signature. One you

         17         submitted and one the State submitted. The State

         18         filed an objection to the submission of your

         19         order on the basis that they alleged, I believe,

         20         that it is not what I said.

         21                                  MS. SEGUIN: And I also filed

         22         an objection to their proposed order that also

         23         clearly states a lot of additional items that

         24         were never before the Court. Including the

         25         number now that they have now, they submitted a

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          1         $75,623.71 and then another one for $6028.75.

          2         These two numbers were not even in their

          3         original motion to establish arrears that was up

          4         before the court on February the 10th and those

          5         two numbers were never brought up as well. And

          6         without a clear understanding and audit of what

          7         those numbers represent. Because they

          8         unilaterally of their own volition without any

          9         court approval.

         10                                ATTORNEY GOULD: Judge,

         11         objection.

         12                                MS. SEGUIN: Took off the

         13         interest.

         14                                THE COURT: Let me interrupt

         15         you, ma'am. Where are you getting these two

         16         numbers from? I do not see them anywhere.

         17                                MS. SEGUIN: Exactly. That is

         18         the order proposed order that the State had

         19         filed. You are absolutely right. Your Honor.

         20         Those two numbers--

         21                                THE COURT: I am looking at

         22         the proposed state order that has different

         23         numbers then what you are saying.

         24                                MS. SEGUIN: The proposed

         25         order that they submitted to me, on #4 it says

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          1         $75,623.71 for interest. And then a medical

          2         support interest for $6028.75. Now these two

          3         numbers were never before the Court before on

          4         February the 10th. On February the 10th they

          5         brought up a motion that mentioned $81,000.

          6                                THE COURT: Well, maybe that

          7         is a combination of the two numbers.

          8                                ATTORNEY GOULD: Yeah, Judge.

          9         That is the combination.

         10                                MS. SEGUIN: So sorry, go

         11         ahead.

         12                                ATTORNEY GOULD: There was an

         13         objection, Judge.

         14                                THE COURT: Yeah, what is

         15         your objection, Paul?

         16                                ATTORNEY GOULD: We are off

         17         the subject. The subject is whether this order

         18         should enter or not.

         19                                THE COURT: Right.

         20                                ATTORNEY GOULD: Not about

         21         any agreements, not about anything else other

         22         than the numbers and Judge if I may or I will

         23         let the defendant continue Judge.

         24                                THE COURT: I thought my

         25         order was very simply was to set the arrears as

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          1         they appear on the State computer but without

          2         prejudice and then there will be a subsequent

          3         hearing to determine whether or not those

          4         numbers are in fact accurate. As I am reading

          5         the order, they put two numbers in and it is

          6         clearly, let me read the paragraph. Yeah,

          7         paragraph six, the Court finds that the total

          8         the arrears of $81,000, which is the combined

          9         number is placed on the Child Support ledger

         10         without prejudice to the June 8, 2023 hearing.

         11         The State agrees it shall respond to the

         12         defendant's first request for production of

         13         documents forthwith.

         14                                MS. SEGUIN: Yes, Your Honor.

         15         So therefore, you had not made any kind of

         16         findings of fact of whatever they might be. You

         17         simply said put the interest back--

         18                                THE COURT: Yeah, I said

         19         whatever the computer says is the balance. Put

         20         it on the computer without prejudice, which

         21         means that we need a starting point. You need to

         22         know what they allege you owe and that is what

         23         they are alleging you owe. You disagree with

         24         that number. You asked them for the

         25         documentation to substantiate that number. That

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          1         is why I continued it out all the way to June so

          2         that you would have an opportunity to get their

          3         materials, for you to you digest their

          4         materials, provide counter materials back to

          5         them. So that in June, a full hearing can be

          6         held with everyone totally prepared as to argue

          7         either position. Either there is no money due or

          8         there is a balance due. I never made any finding

          9         whatsoever there is in fact a balance due. If I

         10         did, I would not have continued the hearing.

         11                                MS. SEGUIN: Thank you, Your

         12         Honor. That is exactly what my understanding as

         13         well.

         14                                THE COURT: Right. That is

         15         what the order says. It says put the number on

         16         the computer, but without prejudice, which means

         17         both sides have to argue and convince the Judge

         18         that that is in fact the number. Or you are

         19         going to argue it is an incorrect number and you

         20         are going to substantiate it by whatever

         21         arguments you present. They going to

         22         substantiate it by whatever arguments they

         23         present. And then whoever hears it in June will

         24         decide which side is correct.

         25                                MS. SEGUIN: Thank you, Your

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          1         Honor. I wanted to make sure that, you know,

          2         that all parties understand that because at this

          3         point, the State is saying that you already

          4         found that I had—-

          5                                THE COURT: No, no. The State

          6         is not saying that because the order clearly

          7         says those numbers or that number is without

          8         prejudice, which means I did not establish that

          9         number. We do it in many of these cases to get

         10         the ball rolling, so either side knows what they

         11         need to produce to substantiate their positions.

         12         The same way they can come in now and say, Oh,

         13         no, we made a mistake. She actually owes

         14         $185,000.

         15                                MS. SEGUIN: You are giving

         16         me a heart attack, Your Honor.

         17                                THE COURT: It puts a cap on

         18         what they can argue.

         19                                ATTORNEY GOULD: Judge, can I

         20         respond now?

         21                                MS. SEGUIN: So, Your Honor,

         22         with that in mind, just to clarify, that is what

         23         they are saying in 2018 when they first took

         24         off--

         25                                ATTORNEY GOULD: Objection.

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          1                                THE COURT: Just a minute.

          2         The order speaks for itself. It says the balance

          3         on the computer as of whatever dates in there. I

          4         cannot read it now quickly, whatever dates in

          5         there, that is the balance on the computer. They

          6         have to substantiate it. They are going to send

          7         you documentation supposedly to substantiate it.

          8         If they cannot substantiate, then they are not

          9         going to get that number.

         10                                ATTORNEY GOULD: Judge, I

         11         disagree with that. Judge, we have no obligation

         12         to substantiate this. There is a Child Support

         13         number that was established by Judge McCann. You

         14         took judicial notice of that.

         15                                THE COURT: I took judicial

         16         notice that there was no appeal of his order.

         17         That is what the judicial notice of.

         18                                MS. SEGUIN: Thank you, Your

         19         Honor. Thank you, Your Honor. That is my

         20         understanding as well that you took judicial

         21         notice of the orders themselves. But what is in

         22         dispute is how the child support office has

         23         handled this computation.

         24                                THE COURT: That's the

         25         argument for June, ma'am. That is the argument

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          1         for June.

          2                                MS. SEGUIN: Taking that off

          3         the system without your approval. Now, put it

          4         that way--

          5                                THE COURT: What you are

          6         arguing now is what you need to argue in June. I

          7         am satisfied that the order that has been

          8         presented by the State that breaks down the two

          9         balances that the total is $81,000 is in fact

         10         the appropriate order from the hearing. It is

         11         without prejudice. They are going to provide

         12         documents that you requested so that you can

         13         then decide whether or not you agree or

         14         disagree. And if you disagree with their method

         15         of calculating it, you need to present why you

         16         think that method is incorrect and what should

         17         be the correct number if any.

         18                                MS. SEGUIN: Yes, and

         19         including a waiver of interest –

         20                                THE COURT: You are arguing

         21         whether the number is correct or not. That is

         22         the whole purpose of making it without

         23         prejudice.

         24                                MS. SEGUIN: Yes, and that

         25         would include the waiver of interest that had

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          1         occurred.

          2                                THE COURT: No, that is the

          3         subject of the hearing. That is the subject of

          4         the hearing. I am making no finding about

          5         whether there was or was not a waiver of

          6         interest.

          7                                MS. SEGUIN: Thank you, Your

          8         Honor. So that is part of the discovery that

          9         needs to happen.

         10                                THE COURT: Well, that is

         11         what I assume you are asking for. Is to get the

         12         documentation that would have substantiate your

         13         belief that there was the waiver of the

         14         interest.

         15                                MS. SEGUIN: Thank you, Your

         16         Honor.

         17                                THE COURT: So, if you can

         18         substantiate that there was a waiver of

         19         interest, that balance disappears.

         20                                MS. SEGUIN: So, the State is

         21         objecting to producing those protected

         22         documents—

         23                                THE COURT: No, no. They are

         24         not objecting to producing any documents. The

         25         line paragraph says in paragraph 10, The State

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          1         agrees it shall respond to the defendant's first

          2         request for production of documents forthwith.

          3         So, whatever you asked them for, they are going

          4         to they are going to provide to you. If you do

          5         not think they provided everything you asked

          6         for, you file a supplemental request.

          7                                ATTORNEY GOULD: The State

          8         filed its answer in response to her request for

          9         production, Judge. And I will stand by that. And

         10         I will argue those issues that we refuse to

         11         answer, or we objected on procedural grounds or

         12         we objected on legal grounds for what we did.

         13         And I will respond to that when it is

         14         appropriate.

         15                                THE COURT: That would be

         16         June 8th. That will be done on June 8th. So, you

         17         can be prepared to go forward on whatever your

         18         objections are and whoever hears it will decide

         19         whether the objections were valid or not.

         20                                MS. SEGUIN: Your Honor, Mr.

         21         Gould had said something to me, emailed

         22         something to me to the affect that he said you

         23         will be retiring June the 8th. I just wanted to

         24         know why he emailed me something like that.

         25                                THE COURT: It has been

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          1         projected that I am to retire sometime before

          2         July 1st. They are dealing with my successor and

          3         I sit until my successor is appointed and

          4         qualified. And the projection is by the end of

          5         the by end of June, the latest could be earlier.

          6         I do not think it could be later, but it is

          7         possible.

          8                                ATTORNEY GOULD: And Judge,

          9         because we, I guess, we like making these

         10         artificial records, I will make this record

         11         here. I did not say that snd I resent the

         12         defendant putting words in my mouth.

         13                                MS. SEGUIN: I indicated the

         14         email that you wrote to me.

         15                                THE COURT: Listen, just a

         16         minute, just a minute. Whether I sit or I do not

         17         sit is an immaterial situation, it has nothing

         18         to do with what is before me today. I am ruling

         19         on the order they sent you breaking down the

         20         balances between the child support and medical

         21         arrears is valid as to what I said the last time

         22         we were here. I am going to sign that order and

         23         proceed with their discovery. Whatever

         24         objections you have relative to the discovery

         25         and whoever sits here, whether it is me or

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          1         someone else, they will be prepared to address

          2         the situation. Okay.

          3                                MS. SEGUIN: Thank you, Your

          4         Honor. Thank you. One last question about number

          5         11 and 12. I mean, those elements—

          6                                THE COURT:     11 and 12?

          7                                MS. SEGUIN: Yeah, 11 and 12.

          8                                THE COURT: 11 tells you how

          9         to contact us. 11 is how to contact us and 12 is

         10         a standard paragraph that they put in indicating

         11         that, I don't know why it's here, but they that

         12         the standard paragraph they stick in every case

         13         has no bearing on this one. Other than it says

         14         that until it is paid in full, you know, the

         15         order will continue to run. But there is no

         16         order running in terms of what your obligation

         17         to pay that is.

         18                                MS. SEGUIN: Okay, okay. So

         19         that is something that is boilerplate.

         20                                THE COURT: That is

         21         boilerplate and 11 is how you get in touch with

         22         us.

         23                                MS. SEGUIN: Sure.

         24                                THE COURT: We do not put

         25         that in, we will never have any hearings.

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          1                                MS. SEGUIN: Thank you, Your

          2         Honor.

          3                                ATTORNEY GOULD: If I could

          4         talk this time a little bit. Maybe just for the

          5         record. Those same paragraphs were in the

          6         September 25th, 2012 orders. And that same

          7         boilerplate languages in a July 11, 2012 orders

          8         and any other order that she would receive.

          9         August 15, 2012. That same identical language

         10         was contained in those. It is boilerplate.

         11                                THE COURT: Yeah,

         12         boilerplate. All right, we will see you on June

         13         8th at 2:30. Wait a minute. Daylight savings

         14         time is starting soon.

         15                                MS. SEGUIN: Oh, yeah.

         16                                THE COURT: All right. Do you

         17         go on daylight saving time? Pay attention.

         18                                MS. SEGUIN: Okay.

         19                                THE COURT: This coming

         20         Saturday, our clocks jump forward an hour. So,

         21         your clock does not jump forward. You are going

         22         to have to call in an hour earlier.

         23                                MS. SEGUIN: All right.

         24                                THE COURT: I have friends

         25         that live in Arizona, and they told me that in

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          1         Arizona, there were three different time zones

          2         in the summer.

          3                                MS. SEGUIN: Yeah, every

          4         county is allowed to do that out here.

          5                                THE COURT: I know that. That

          6         is why that is why I pay attention to it because

          7         they tell me that people have trouble. They

          8         think, Oh, I am going to be on time, I am going

          9         to Court. They said, No, you are an hour late.

         10         What do you mean? This is the time across the

         11         street. No, that is an hour different than us.

         12                                MS. SEGUIN: It really is

         13         crazy. That they have marked it off, not a

         14         county, but across the street. You are

         15         absolutely right.

         16                                THE COURT:     All right. So,

         17         pay attention. It is 2:30 our time.

         18                                ATTORNEY GOULD: Judge, if I

         19         may. The order I submitted that contains 12

         20         paragraphs.

         21                                THE COURT: Yes.

         22                                ATTORNEY GOULD: February 10,

         23         2023, starting with paragraph one, the matter is

         24         continued.

         25                                THE COURT: Yes.

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          1                                ATTORNEY GOULD: That order

          2         is going to be accepted by the Court. That will

          3         be the order of the Court for that day?

          4                                THE COURT: Right.

          5                                ATTORNEY GOULD: The order

          6         that she submitted will be stricken, correct?

          7                                THE COURT: Right.

          8                                MS. SEGUIN: Yes, that is my

          9         understanding, too. Yes.

         10                                ATTORNEY GOULD: Thank you,

         11         Judge.

         12                                THE COURT:     All right. We

         13         will see you in June.

         14                                ATTORNEY GOULD: One more

         15         thing. I am sorry. Judge, if I may, can the

         16         defendant place her address on the record?

         17         Because we sent some correspondence that was

         18         sent back to us. Now we have used her email as a

         19         courtesy to her and we also need an actual

         20         street address so that we can send her

         21         documents.

         22                                MS. SEGUIN: Your Honor, I

         23         think this is, I do not really understand why -–

         24                                THE COURT: Let me just

         25         interrupt. Let me interrupt. When you enter your

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          1         appearance, you need to provide under the rules

          2         your address, your phone number, and your email

          3         address.

          4                                MS. SEGUIN: Yes.

          5                                THE COURT: And if you were

          6         an attorney, obviously your bar number. Okay so

          7         if you change any of those addresses or emails,

          8         you are under an obligation to keep updating it

          9         because if they send anything to the address or

         10         the email that you provided, it's not a defense

         11         later on, Oh, it's not my address or email, I

         12         changed it. So that is why they are asking to be

         13         sure they get the right method to contact you,

         14         depending on what they have to send. It is a

         15         part of the Court order that you provide your

         16         address and email address.

         17                                MS. SEGUIN: Your Honor, may

         18         I also then ask that the State sent me a or e-

         19         file any notices? Because they have been mailing

         20         things to me in Texas, which takes 10 to 12 days

         21         for me to receive by regular mail. So, could you

         22         also please, I am going to ask you please to

         23         ask, to make them, to order them to notice me by

         24         electronic means as well.

         25                                THE COURT: Well, that's part

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          1         of the rules, too.

          2                                MS. SEGUIN: Okay.

          3                                THE COURT: All right?

          4                                MS. SEGUIN: Okay. Thank you,

          5         Your Honor. I appreciate you telling me.

          6                                THE COURT: All right, June

          7         8th.

          8                                ATTORNEY GOULD: I do not

          9         have an address, Judge.

         10                                THE COURT: Oh, that is

         11         right. What is your updated address?

         12                                MS. SEGUIN: My address is on

         13         the on file is P. O. Box 22022 Houston, Texas,

         14         77019.

         15                                THE COURT: What about email?

         16                                MS. SEGUIN: That's Mary

         17         Seguin 22022 at Gmail.com. They are also in my

         18         pleadings as well.

         19                                THE COURT: Slow down. Slow

         20         down. We do not type that fast.

         21                                THE CLERK: I did not get

         22         that P. O. Box. Can you give it to me again,

         23         please?

         24                                MS. SEGUIN: Yes, it is,

         25         22022.

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          1                                THE COURT: That is the P. O.

          2         Box number?

          3                                MS. SEGUIN: Yes, Your Honor.

          4                                THE COURT: Making sure it

          5         was not the zip or area code.

          6                                MS. SEGUIN: It is one too

          7         many numbers.

          8                                THE COURT: What is the zip

          9         in Houston?

         10                                MS. SEGUIN: It is 77019.

         11                                THE COURT: All right, all

         12         set?

         13                                MS. SEGUIN: Thank you, Your

         14         Honor.

         15                                THE COURT: Okay, June 8.

         16                                ATTORNEY GOULD: Thank you,

         17         Judge.

         18                                MS. SEGUIN: Thank you, Your

         19         Honor.

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                                       No. 23-1851

                    IN THE UNITED STATES COURT OF APPEALS
                             FOR THE FIRST CIRCUIT
                          UNITED STATES OF AMERICA,

                                    Plaintiff-Appellant,
                                     MARY SEGUIN
                                             v.
         RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES in its official
         capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK DIBIASE, WENDY
        FOBERT, KARLA CABALLEROS and TIMOTHY FLYNN in their individual
             and official capacities; GERO MEYERSIEK; BARBARA GRADY
                                  Defendants-Appellees.


                        Appeal from the United States District Court
                              for the District of Rhode Island
                                  ___________________
            APPELLANT’S RENEWED MOTION TO IMPOSE SANCTIONS
             AGAINST APPELLEES AND COUNSELS FOR APPELLEES
             FOR OBSTRUCTION OF JUSTICE FRAUD ON THE COURT,
         CONSPIRACY TO SUBORN PERJURY, MISPRISION OF FELONIES,
                      CONSPIRACY TO MAKE FALSE CLAIMS
                                  ___________________


             ORGANIZED FRAUD, THEFT OF PUBLIC MONEY AND
         GOVERNMENT PROGRAMS INVOLVING BILLIONS OF DOLLARS
        Unlawful Interstate Collection of Unlawful 12% Compound Interest Within
         the Title IV-D Legal Framework Involving Organized Felonious Acts and


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            Obstruction of Justice by Appellees, and Obstruction of Justice and
                        Misprision of Felony by Appellee Counsels


          Appellant, MARY SEGUIN, respectfully renews her motion for sanctions,

       pursuant to 28 U.S.C. § 2106 and Fed. R. App. P 27, against the Appellees and

       counsels for Appellees, for Obstruction of Justice, the conspiracy to defraud the

       Court, defraud the United States, make false claims, obstruct justice, obstruct

       official proceedings, falsification of records, conspiracy to suborn perjury and

       make false statements, including misprision of felony before this Court.

          Appellant invokes 18 U.S.C. § § 503.

          Appellant invokes 18 U.S.C. § 4.

          Appellant invokes 18 U.S.C. § 2.

          Appellant invokes 18 U.S.C. § 3.

          Appellant invokes United States v. Olson, 856 F.3d 1216 (9th Cir. 2017).

          Appellant invokes United States v. Sullivan, Case No. 3:20-cr-00337-WHO

       (N.D. Cal.).

          Appellant invokes Nix v. Whiteside, 475 U.S. 157 (1986).

          Appellant invokes United States v. Silverman, 745 F.2d 1386, 1395 (11th Cir.

       1984).


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          Appellant invokes 18 U.S.C. § 2(b), and United States v. Walser, 3 F.3d 380,

       388 (11th Cir. 1993).

          Appellant invokes Rules 1-102, 4-101 and 7-109 of the Code of Professional

       Responsibility.

          Appellant invokes Canons 1,4, and 7, and Ethical Consideration 7-26.

          Appellant invokes R.I. Gen. Law § 11-32-1.

          Appellant invokes R.I. Gen. Law § 11-32-3.

          Appellant invokes R.I. Gen. Law § 11-1-1.

          Appellant invokes State v. Flynn, 100 R.I. 520 (R.I. 1966).

          Appellant invokes State v. Horton, Dougherty, 47 R.I. 341 (R.I. 1926).

          In support of the motion for sanctions, Appellant states as follows:



          Corrupt, felonious and indictable obstruction of justice and perversion of
       justice



          Between April 4, 2024 and April 9, 2024, from the jurisdiction of Rhode Island,

       State Appellees and counsels for State Appellees, Special R.I. Attorney General M.

       Pizana and M. Shaw submitted to this Court nine (9) copies of the State Appellee-

       Brief that contains, signed by Attorney Pizana, fraud on the Court felonious lies
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       repeated over a dozen times that the Appellees are enforcing lawful interstate child

       support [interest] against the Texas Appellant. Counsels and Appellees had

       repeatedly submitted from the jurisdiction of Rhode Island court filings signed by

       attorneys in the United States District Court and in this U.S. Court of Appeals,

       containing statements to similar effect, obstructing justice.

          Plainly, this action concerns the unlawful collection by the Appellees of

       unlawful 12% compound interest under the Title IV-D Legal Framework through

       felonious acts that involve, as it turns out by official state policy, the felonious

       removal in interstate support cases of the unlawful 12% compound interest from

       the Title IV mandated automated data processing system in 2018 when the

       Appellees sent the support collection to TEXAS under 42 U.S.C. § 666(14) in

       order to conceal the unlawful 12% compound interest (leaving it on the system

       would expose Rhode Island’s ineligibility to participate in Title IV), and after

       inducing the Appellant to pay off the principle support in one lump sum

       $104,185.98 by representing to the Appellant that Appellee GERO MEYERSIEK

       waived interest as consideration of the lump sum payment, Appellees put back

       onto the system the unlawful 12% compound interest. Appellees-counsels are

       accessories to the crimes after the fact, and conceal the felonious crimes through

       obstruction of justice, misprision of felonies, subornation of perjury and knowing

       false representations to (the requisite) truth-seeking United States judges who

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       themselves are under Oath to the United States Article III courts under the

       Constitution explicitly conferred duty by Congress under 18 U.S.C. § 4, 18 U.S.C.

       § 503 (United States judges are explicitly conferred expressed duty by Congress in

       the statutory text under 18 U.S.C. §4).

          The omnibus clause, or "catch-all provision" of 18 U.S.C. § 1503, provides:

          Whoever . . . corruptly or by threats or force, or by any threatening letter or

       communication, influences, obstructs, or impedes, or endeavors to influence,

       obstruct, or impede, the due administration of justice, shall be (guilty of an

       offense).

           In this case, the clause shall be read broadly to include any conduct interfering

       with the fair administration of justice if that conduct was undertaken with a corrupt

       motive, since Appellees corruptly reached interstate to TEXAS. Appellees

       corruptly and feloniously sent false certifications to Texas in 2018 certifying there

       is no interest due, after Appellees corruptly and feloniously removed the unlawful

       12% compound interest from the Title IV automated data processing and

       information retrieval system. Then in 2021, Appellees placed fraudulent liens in

       Texas on Texas properties, and endeavored to and did corruptly influence, obstruct

       and impede the due administration of justice in Texas under 18 U.S.C. § 1503,




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       United States v. Howard, 569 F.2d 1331, 1333-36 (5th Cir.). Their justice

       obstructive acts are felonious in Texas and in the Fifth Circuit.

          From the jurisdiction of Rhode Island, Appellees and counsels for Appellees in

       this action have actively submitted to courts of the United States in judicial

       proceedings over two dozen filings that consistently lie that they are collecting or

       enforcing lawful support interest. The United States Supreme Court favors a

       broad reading of the omnibus clause. In United States v. Aguilar, ___ U.S. ___,

       115 S.Ct. 2357 (1995).

          Convictions under the omnibus clause of 18 U.S.C. § 1503 have been based on

       the following conduct: Endeavoring to suborn perjury. United States v. Kenny, 973

       F.2d 339 (4th Cir. 1992); United States v. Casel, 995 F.2d 1299 (5th Cir.

       1993); United States v. Tranakos, 911 F.2d 1225 (10th Cir. 1990); Falk v.

       United States, 370 F.2d 472 (9th Cir. 1966).

          Appellees’ and their counsels’ obstruction of justice acts are designed to thwart

       this Court’s judicial function. See United States v. Aguilar, supra.

          A party may be prosecuted under section 1503 for endeavoring to obstruct

       justice United States v. Williams, 874 F.2d 968, 976 (5th Cir. 1989).

          The term "officer in or of any court of the United States" includes: United

       States District Judges, United States v. Jones, 663 F.2d 567 (5th Cir. 1981) (by

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       implication); United States v. Glickman, 604 F.2d 625 (9th Cir. 1979) (by

       implication); United States v. Fasolino, 586 F.2d 939 (2d Cir. 1978) (per

       curiam) (by implication); United States v. Margoles, 294 F.2d 371, 373 (7th

       Cir.), Supreme Court Justices, United States Courts of Appeals Judges,

       United States Magistrate Judges, clerks of Federal courts, law clerks to

       Federal judges, Federal court staff attorneys, Federal court reporters, Federal

       prosecutors and defense counsel. Because 18 U.S.C. § 1503 applies to civil, as

       well as criminal judicial proceedings, Roberts v. United States, 239 F.2d 467, 470

       (9th Cir. 1956); Sneed v. United States, 298 F. 911, 912 (5th Cir.), cert. denied,

       265 U.S. 590 (1924); see Nye v. United States, 137 F.2d 73 (4th Cir.) (by

       implication), cert. denied, 320 U.S. 755 (1943), private attorneys are also covered

       by the statute.

          In this case, there are several pending judicial proceedings protected by and

       governed under 18 U.S.C. § 1503 (including the omnibus clause). United States v.

       Neal, 951 F.2d 630 (5th Cir. 1992); United States v. Guzzino, 810 F.2d 687 (7th

       Cir.), cert. denied, 481 U.S. 1030 (1987); United States v. Capo, 791 F.2d 1054,

       1070 (2d Cir. 1986), reh'g granted on other grounds, 817 F.2d 947 (2d Cir.

       1987) (en banc); United States v. Johnson, 605 F.2d 729, 730 (4th Cir.

       1979), cert. denied, 444 U.S. 1020 (1980); United States v. Baker, 494 F.2d 1262,

       1265 (6th Cir. 1974); United States v. Smith, 729 F. Supp. 1380 (D.D.C. 1990).

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          The proceedings were pending once the judicial machinery has been activated,

       as is applicable to this matter. United States v. Gonzalez-Mares, 752 F.2d 1485

       (9th Cir.) (although a complaint had not been filed at time of the interview

       with the probation officer, the proceeding was pending because the defendant

       was in custody and had signed a waiver of her right to trial and sentencing by

       the court), cert. denied, 473 U.S. 913 (1985). But see United States v. Blohm, 585

       F. Supp. 1112 (S.D.N.Y. 1984) (coverage of omnibus clause not limited to

       situations in which an action is pending; alternatively, action was pending

       because defendant was appealing the case at the time he committed the

       obstructive conduct).

          Appellees and counsels for appellees have knowledge that their perjurious,

       corrupt and felonious actions are likely to affect this and other pending judicial

       proceedings, United States v. Aguilar, ___ U.S. ___, 115 S.Ct. 2357

       (1995); United States v. Frankhauser, 80 F.3d 641 (1st Cir. 1996); United States

       v. Vesich, 724 F.2d 451 (5th Cir. 1984); United States v. Jackson, 850 F. Supp.

       1481 (D. Kan. 1994); but see United States v. Littleton, 76 F.3d 614 (4th Cir.

       1996). There is no requirement, however, that the defendant know that the

       proceedings are Federal in nature. United States v. Duran, 41 F.3d 540, 544

       (9th Cir. 1994); United States v. Mullins, 22 F.3d 135, 1369 (6th Cir.



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       1994); United States v. Aragon, 983 F.2d 1306, 1310 (4th Cir. 1993); United

       States v. Ardito, 782 F.2d 358 (2d Cir.), cert. denied, 476 U.S. 1160 (1986).

          "Corruptly" has been described to mean "for an evil or wicked purpose," United

       States v. Ryan, 455 F.2d 728, 734 (9th Cir. 1972); "with the purpose of

       obstructing justice," Rasheed, 663 F.2d at 852; "for an improper

       motive," United States v. Haas, 583 F.2d 216, 220 (5th Cir. 1978), cert. denied,

       440 U.S. 981 (1979); and, "at least in part, by a corrupt motive," United States

       v. Brand, 775 F.2d 1460, 1465 (11th Cir. 1985).

          The attached State Policy in Exhibit I shows the systemic and organized

       violation by policy of 42 U.S.C. § 654(21)(A) by various Title IV-covered State

       political subdivisions under Rhode Island’s State Plan, and the Appellees’

       coordinated, concerted and organized efforts to cover it up. The felonious cover up

       of Appellees’ violation of 42 U.S.C. § 654(21)(A) entailed sophisticated felonious

       removal of the unlawful 12% compound interest from the automated data

       processing and information retrieval system on a routine basis to “zero out any

       existing interest” for the explicit purpose of “for the purpose of removing interest

       from interstate cases.” The policy further states, “Two reports will be created. The

       first will detail the interstate cases for which a support order modification was done

       first for which one or more interest adjustments were created. The second report

       will detail interstate cases for which the interest field is Y, B, B or P.” Explicitly
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       applied to this instant case, the Appellees, in accordance with the policy,

       feloniously removed tens of thousands of dollars of “interest” from the automated

       data processing and information retrieval system governed by 42 U.S.C. §651-669

       and feloniously sent to the State of Texas in 2018 a total amount with the interest

       thus removed, feloniously certifying the support amount with interest thus removed

       as a true total support amount under, inter alia, 42 U.S.C. §666(14), showing prima

       facie felonious false certification, accounting fraud, false records. In so doing,

       Appellees feloniously sent a corresponding false certification to the United States.

             The attached factual materials show on their face, beyond any doubt, that the

       judge-created laws created by the judges in the State’s family court the

       establishment and enforcement of the State’s “interest” that is “prohibited in

       interstate cases” that involve the routine felonious, corrupt and perversion of

       justice removal from the system the interest when certifying to another state like

       TEXAS and certifying State compliance to Title IV to the United States

       fraudulently. The Rhode Island Supreme Court’s promulgated court Rule 5

       governing access to court information that denies remote access to the public and

       to pro se litigants, therefore, on its face, defacto aids in the denial of public access

       to judge-created laws in the state’s courts that knowingly and corruptly violate the

       federal statutory provisions of Title IV. Because the Rhode Island Supreme

       Court’s Chief Judge and Associate Judge Lynch-Prata are former chief judge of or

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       former attorney practitioner in the state family court that routinely establishes and

       enforces the policy-described “interest” that is prohibited by state policy to be

       charged in interstate cases, which interest is plainly unlawful under the explicit

       statutory text of 42 U.S.C. § 654(21)(A), the Rhode Island Supreme Court

       promulgated Rule 5 governing public access to court information de facto covers

       up from the Public access to evidence of routine violations of Title IV within the

       political subdivisions of the state courts.

             Because the entire support and “interest” order is assigned to the State, that

       then becomes a debt owed to the State by noncustodial parents under the

       provisions of 42 U.S.C. § 651-669, the “interest” on its face represents unlawful

       state revenue under color of state law.

             Because noncompliance with provisions of 42 U.S.C. § 654(1)-(34) incurs

       penalties of tens of millions of dollars in a fiscal year under 42 U.S.C. §651-669

       and the State can lose TANF funding, Appellees and counsels for Appellees

       corruptly lie to this Court in the corrupt calculation in the hopes of corruptly

       cover up Rhode Island’s noncompliance with 42 U.S.C. § 654 and thus

       corruptly retain TANF funding through felonious deceit. See, Hodges v.

       Shalala, 121 F.Supp.2d 854 (D.S.C. 2000), Hodges v. Shalala, 121 F. Supp. 2d

       854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002), cert. denied, 540 U.S.

       811 (2003). As a condition of receipt of any federal funding under Title IV-D of
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       the Social Security Act, 42 U.S.C. §§ 651-669, States must have an approved state

       plan for child and spousal support that meets all the requirements of 42 U.S.C. §

       654. Congress, under the Commerce Clause, may offer the States a choice of

       regulation under federal control or preemption under federal regulation. See

       Hodel v. Virginia Surface Mining & Reclamation Assn., Inc., 452 U.S. 264, 288

       (1981).

          As such, Appellant preserves and reserves the issue of district court judge

       William Smith’s role in the scheme as the former chief counsel advising the

       executive, judicial and legislative political subdivisions of the State Plan from

       1996 to 2002 concerning the State’s corrupt policy to corruptly circumvent the

       mandatory implementation of the 1996 amendments of 42 U.S.C. § 654, through

       the State’s corrupt adoption of the felonious state policy to corruptly and

       feloniously remove the unlawful 12% compound from the system in interstate

       cases, corruptly and feloniously adjust accounting of the support amount, and

       corruptly and feloniously certify the false accounting to cooperative states such as

       TEXAS and to the United States to corruptly avoid detection of the scheme.

          Appellees-counsels even repeatedly plastered in the federal district court

       records as exhibits the state family court’s February 10, 2023 court order that

       facially show Appellees’ felonious scheme through the order’s text, “…interest put

       back on the system without prejudice to the Defendant.” Appellees counsels
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       feloniously misrepresent repeatedly to the Court that the felonious “putting back on

       the system” the unlawful 12% compound interest means the family court found

       Appellant owes the interest, in order to conceal the Appellees’ felonious scheme of

       removing the unlawful 12% compound interest from the system in 2018 when

       Rhode Island sent it to TEXAS under 42 U.S.C. § 666(14) through false

       certification and false claims, as it turns out by official state policy, in order to

       conceal the unlawful 12% compound interest that would expose Rhode Island’s

       ineligibility to participate in Title IV at least since 1996.

         Rhode Island Criminal Laws Prohibit Special Attorneys General Pizana
       and Shaw from submitting 9 copies of the perjurious State Appellee-Brief
          Misprision of felony is an indictable offense in Rhode Island by virtue of statute

       providing for prosecution and punishment of common-law crimes. Rhode Island

       G.L. 1956, § 11-1-1. Misprision of felony was a crime known at common law. The

       Rhode Island Supreme Court in State v. Flynn, 100 R.I. 520 (R.I. 1966) held,

       “Blackstone defined it as concealment of a felony which a man knows but never

       assented to, 2 Sharswood's Blackstone's Commentaries, book 4, (1860 ed.) 121, p.

       407, and Chitty said that any person knowing a crime to have been committed and

       concealing it, even though he has not actively assisted the offender, will be guilty

       of a misprision of the crime which he has been instrumental in concealing. 1

       Chitty, Criminal Law (3d Am. ed. 1836), 3. Elsewhere it is described generally as a

       criminal neglect either to prevent a felony from being committed, or to bring the
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       defendant to justice after its commission, but without such previous concert with or

       subsequent assistance to the felon as would make the concealer an accessory

       before or after the fact. State v. Wilson, 80 Vt. 249; State v. Biddle, 32 Del. 401; 1

       Wharton, Criminal Law and Procedures (12th ed.) § 112, p. 244.

          While the list of offenses punishable by the statutes of this state does not

       include misprision of felony, the legislature has provided in § 11-1-1 that every act

       and omission which was an offense at common law and for which no punishment

       is specifically prescribed may be prosecuted and punished as an offense at

       common law. Based upon that statute, or its precursors, this court held

       in State v. Horton, 47 R.I. 341, that the act of misleading, cheating, defrauding

       and defeating public justice was an indictable offense even though not interdicted

       under a specific statutory listing. We reached a similar result as to champerty

       in Martin v. Clarke, 8 R.I. 389, and in State v. Eastern Coal Co., 29 R.I. 254, we

       said that the law relative to the common-law offense of engrossing, although

       dormant in this state, might, because of the statute making offenses at common law

       subject to prosecution and punishment, be applied.

          In our judgment the statute is sufficiently embracing to make misprision of

       felony an indictable offense in this state. We answer the first question in the

       affirmative.”



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          This Court moreover must take judicial notice of the century old holding in

       State v. Horton, 47 R.I. 341 that establishes undisputably that the Special

       Attorneys General Pizana and Shaw corruptly committed obstruction of justice,

       obstruction of a judicial proceeding and misprision of felony indictable in Rhode

       Island.

          Firstly, State v. Horton upholds the criminality of conspiring to attempt to

       obtain a decree of divorce by uttering and publishing a false and fraudulent

       deposition, known to them to be such, "with the object of misleading, cheating,

       defrauding and defeating public justice," and holding that conspiring to obtain the

       entry of a decree of divorce by means of a false deposition known to them to be

       such.

          Secondly, to willfully mislead a court of justice by the production of false

       evidence or to obstruct or pervert the administration of public justice is an offence

       at common law, and to Defeat Public Justice is an Offence at Common Law. In

       State v. Horton, the acts found to defeat public justice were as follows, “defendants

       fraudulently and unlawfully combined, confederated and conspired to attempt to

       obtain a decree of divorce in a case pending in the Superior Court for the counties

       of Providence and Bristol by uttering and publishing a false and fraudulent

       deposition, purporting to be the deposition of one George E. Rands, with the object

       of misleading, cheating, defrauding and defeating public justice; and that the
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       defendants then and there well knew that said deposition was false, fraudulent and

       untrue.”

          Thirdly, the Rhode Island Supreme Court held, “the statutes of the State do not

       in terms include the act of misleading, cheating, defrauding and defeating public

       justice among the criminal offenses. It is provided, however, that every act which

       is an offense at common law and for which no punishment is specifically

       prescribed in the statutes may be prosecuted and punished as an offense at common

       law; and punishment is fixed for such offense. § 1, Chap. 402, Gen. Laws 1923. It

       cannot be questioned that willfully to mislead a court of justice by the production

       of false evidence or to obstruct or pervert the administration of public justice is an

       offense at common law. This has been recognized in State v. Bacon, 27 R.I. 252.

       In that case, the respondents conspired to procure an action to be commenced upon

       a charge known to them to be false, unlawful and fraudulent with intent to cheat

       the defendant in such action. Although such intent was not alleged in the

       indictment, it was held that the count charged a conspiracy to pervert or obstruct

       justice. While the words, "misleading, cheating, defrauding and defeating public

       justice" are not synonymous with the words "perverting and obstructing justice" we

       think that, at most, they should be regarded as surplusage, and their presence is not

       fatal to the indictment.”



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          Here, it is now plainly established that Appellees’ corrupt felonious scheme

       comprised of corruptly and feloniously removing unlawful 12% compound

       interest from the Title IV automated data processing system and then endeavoring

       to corruptly enforce the unlawful 12% compound interest is nothing less than

       perverting and obstructing justice.

          Special counsels Pizana and Shaw causing 9 copies of their feloniously written

       filings to be sent from Rhode Island to the judges of the Court of Appeals in the

       plain endeavor to corruptly influence the judges is prima facie perversion and

       obstruction of justice.

          Undisputedly, Appellees and counsels for appellees violated 18 U.S.C. §503

       and 18 U.S.C. §4, as well as wire fraud and mail fraud.

          Among others, they violated 31 U.S.C. § 3279, 18 U.S.C. §2, 18 U.S.C. §3, 18

       U.S.C. §13, 18 U.S.C. §21, 18 U.S.C. §35, 18 U.S.C. §285, 18 U.S.C. §286, 18

       U.S.C. §287, 18 U.S.C. § 2071(a), 18 U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18

       U.S.C. § 371, 18 U.S.C. § 241, 18 U.S.C. § 242, 18 U.S.C. § 1519, 18 U.S.C.

       §666, 18 U.S.C. §641, Wire Fraud 18 U.S.C. §1343, 18 U.S.C. § 201, 18 U.S.C.

       §205, 18 U.S.C. §225, 18 U.S.C. §285, 18 U.S.C. §1506, 18 U.S.C. § 1512, 18

       U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C. §1002, 18 U.S.C. §1031, 18 U.S.C.

       §1341, 18 U.S.C. §1344, 18 U.S.C. §1346, 18 U.S.C. §1349, 18 U.S.C. §1510, 18


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       U.S.C. §1513, RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C. §1963, 18

       U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968.



          I.      Appellees-counsels conceal the True Felonious Nature of Appellees’
                  Unlawful Interstate Enforcement of Unlawful Interest Arears on
                  Overdue Support Under the Legal Framework of Title IV of The
                  Social Security Act, repeated over a dozen times in the State Appellee
                  Brief – Counsels’ representation that Rhode Island has a state
                  interest to enforce unlawful 12% compound interest Turns Out to Be
                  False, Perjurious and Felonious Because Counsels Concealed Rhode
                  Island’s 12% Compound Interest Is Unlawful and the State’s
                  Enforcement Involves Organized Accounting Fraud, False
                  Certifications and False Claims by Political Subdivisions of Rhode
                  Island Regulated By 42 U.S.C. § 654

                  A. Lies to The Tribunal by The Rhode Island Attorney General
                     Representing the State Appellees, All Political Subdivisions
                     governed by 42 U.S.C. § 654(1)



          Firstly, if charged with the misprision of a felony, the Appellees and counsels

       for Appellees could face the following penalties if convicted:

          (1) Fines of up to $250,000 and

          (2) Up to three years in federal prison.

       If charged with obstruction of justice, the Appellees and counsels for Appellees

       could face the following penalties if convicted:

               (1) Fines of up to $5,000,000 and

               (2) Up to twenty years in federal prison.
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          Counsel for the State Appellees is the attorney general of Rhode Island, the

       political subdivision under the State Plan regulated by 42 U.S.C. § 654(1), charged

       with enforcing the provisions of 42 U.S.C. § 654 in Rhode Island under the terms

       of Rhode Island’s participation in the Title IV Program. The language of 42

       U.S.C. § 654(1) is explicit. “A State plan for child and spousal support must-

          (1) provide that it shall be in effect in all political subdivisions of the State.”

       Therefore, Congress is explicit in requiring the State Plan must provide that it shall

       be in effect in the political subdivision of the Office of the Attorney General.

       Therefore, under the State Plan, the explicit requirement is that, as the attorney

       general, counsels for the State Appellees are charged with enforcing state

       compliance with 42 U.S.C. § 654, including 42 U.S.C. § 654(21)(A).

          But the Rhode Island attorney general has shown throughout this appellate

       official proceeding alone that not only is s/he not interested in enforcing the State’s

       compliance with 42 U.S.C. § 654(21)(A), s/he time and again lies to this United

       States Tribunal that Rhode Island lawfully enforces interstate interest on support,

       and time and again affirmatively CONCEALS the felonious official state policy

       adopted by the Appellees to feloniously remove the unlawful 12% compound

       interest in interstate cases and feloniously send false accounting and false

       certifications to TEXAS and the United States concealing Rhode Island’s felonious

       removal of the unlawful 12% compound interest from the Title IV automated data
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       processing and information retrieval system, in a bald felonious attempt to

       influence this Tribunal to apply the judge-made Younger abstention that gets a

       judge-made re-invention every decade since the 1970s. Judge-made “rules” must

       give way to jurisdiction in this case – this case is not merely harassment, this case

       involves organized felonious scheme by the Appellees using the Title IV legal

       framework. See Hamer v. Neighborhood Housing Services of Chicago, 583 U.S.

       ___(2017).

          Because neither discovery nor a trial took place in this matter in the district

       court, the district court judge William Smith, the former chief outside counsel for

       the State Plan’s political subdivisions from 1996 to 2002 when the 1996

       Amendments to 42 U.S.C. § 654 should have been implemented by the Appellees,

       deliberately handicapped the Appellant’s right to discovery and seek the truth in

       the district court. The district court dismissed Appellant’s action at law on

       September 28, 2023, denying Appellant’s motion to amend the complaint nunc pro

       tunc.

          At this juncture, the Court must take judicial notice under Fed. R. Evid. 201 that

       in the related case, Seguin v. R.I. Department of Human Services et al., 1:23-cv-

       126-WES-PAS, the district court judge William Smith ordered on July 7, 2023,

       “Since District Judge William E. Smith has determined that this case is in fact

       related to CA 23-cv-34 this case is permanently assigned to District Judge William
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       E. Smith for all further proceedings.” This is relevant because judge Smith and his

       former firm Edwards & Angell used to and continue to be the chief outside counsel

       of the state political subdivisions responsible for implementing the 1996

       amendments to 42 U.S.C. § 654 and advising the State Appellees here and the

       State Appellees in the CA 23-cv-126 on the statewide adoption of the State Policy.

          As such, the Rhode Island Attorney General audaciously filed in the federal

       district court on August 7, 2023 the state family court order in CA 23-cv-126, ECF

       11, as an exhibit in support of the State Appellees motion for extension of time to

       answer complaint there – the state family court order’s text explicitly ordered, “put

       interest back on the system without prejudice to the Defendant.” The complicit

       judge Smith thereafter granted a 60 day extension.

          Without the availability of the State Policy in 2023, all these explicit language

       of “put interest back on the system” and “remove interest off the system” did not

       make meaningful sense. But it was language well understood by the Appellees, the

       counsels for appellees and district court judge William E. Smith.

             Pointedly, the State Policy entitled, “Specifications for OCSS Change

       Order” that “outlines the process by which interstate cases are selected, automatic

       adjustments are created, and support orders are modified all for the purpose of

       removing interest from interstate cases” was available in 2024, which Appellant


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       diligently made known to this Court at 1:00:16 AM on March 29, 2024, and

       requested Judicial Notice under Fed. R. Evid. 201 in Appellant’s subsequently

       filed March 29, 2024 Motion to take judicial notice of Document 001182126131

       Appellant’s Notice requesting judicial notice and making known the commission

       of crimes by Appellees was filed pursuant to 18 U.S.C. § 4. See Document No.:

       00118126131 filed on March 29, 2024 at 1:00:16 AM Eastern Daylight Time. The

       policy hereafter “State Policy.” Appellant invoked 18 U.S.C. § 4, unlawful 12%

       that in part is aimed and directed at the Appellees and Appellees counsels.

       Appellees affirmatively participated in the felonious removal of the unlawful

       12% compound interest from the automated data processing system in 2018

       when Rhode Island sent the support to TEXAS. Appellees affirmatively

       participated in feloniously “keeping the unlawful interest off the system” as

       the key instrument/vehicle of deceit in 2021 when Appellant contacted the

       Appellees to pay off support. Appellees affirmatively recorded in Appellant’s

       Title IV-D case record the felonious “keep the interest off the system.”

       Appellees affirmatively recorded the felonious “agreed to keep the interest off

       the system.” Appellees affirmatively recorded the felonious “changed his

       mind and put the interest back on the system” after Appellant performed on

       the agreement and paid the ”$104k.” Therefore, even outside of the felonious

       representations to the Appellant in 2021, Appellees affirmatively recorded


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       their felonious scheme in public Title IV records that they sought to conceal.

       Therefore, it is shown and proven beyond a doubt that the Appellees counsels

       are accessories after the fact, and affirmatively and feloniously concealed the

       principals’ felonious scheme. All Appellee-counsels violated 18 U.S.C. § 4.

             The official state policy available in 2024 made sense of the felonious

       scheme.

             In aid of the Court, Appellant attaches the State Policy hereto for illustration

       purposes under Exhibit I. The State Policy states as follows:

             “This specification will outline the process by which interstate cases are

       selected, automatically adjusted, are created, and support orders are modified all

       for the purpose of removing interest from interstate cases.” This policy goes on

       to state under its heading, “It is desirable for the Rhode Island Office of Child

       Support Services (OCSS) to prohibit the charging of interest in interstate cases.

       This is manually done by placing an N in the interest field on page 2 of the

       support order. Entry of the N not only prohibits the charging of future interest

       but automatically creates adjustment to zero out any existing interest.” This

       policy further states “Two reports will be created. The first will detail the

       interstate cases for which a support order modification was done first for which

       one or more interest adjustments were created. The second report will detail


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       interstate cases for which the interest field is Y, B, B or P.” This 2024 available

       undisputed policy document evidence is submitted pursuant to Fed. Rules of

       Evidence 201, to this Court, and Appellant now and again respectfully requests

       judicial notice under Fed. Rules of Evidence 201. This policy was newly available

       in 2024, and with diligent compliance with Congressionally prescribed criminal

       jurisdiction conferred on “judges” “of the United State”s pursuant 18 U.S.C. § 4,

       the Texas Appellant made known the state policy to the judges in the United States

       Court of Appeals for the First Circuit, pursuant to Federal Rules of Evidence 201.

       This policy made sense of the ensuing documentary evidence that were also

       submitted and made known under 18 U.S.C. § 4 and Fed. R. Evid. 201.

             Explicitly applied to this instant case, the Appellees, in accordance with the

       policy, feloniously removed tens of thousands of dollars of “interest” from the

       automated data processing and information retrieval system governed by 42 U.S.C.

       §651-669 and feloniously sent to the State of Texas in 2018 a total amount with the

       interest thus removed, feloniously certifying it under, inter alia, 42 U.S.C.

       §666(14), showing prima facie felonious false certification, felonious accounting

       fraud, felonious false records. In so doing, Appellees feloniously sent a

       corresponding felonious false certification to the United States. See, EXHIBIT II.

             The resulting effect of the above felonious removals from the automated

       data processing and information retrieval system, fraudulent accounting, false
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       accounts, false certifications to Texas and to the United States, and corresponding

       false claims to the United States under Title IV, feloniously produced fraudulent

       online accounts created by the Appellees, that showed a felonious false record of

       $0 payment in December 2021 for Appellant’s very large lump sum payoff

       payment of $104,185.98 wired from Texas. See screenshot of Appellee-created

       and maintained online Title IV-D account in Exhibit III.

             The resulting effect of the above felonious removals produced the online

       account that showed $0.00 under interest as of December 6, 2021, due to the

       Appellees’ felonious removal of the interest in 2018 when Appellees sent the

       support to Texas for enforcement. See Exhibit IV. Appellees told the Appellant

       that the $0.00 showing on the online account represents the waiver of interest by

       the custodian parent, Appellee GERO MEYERSIEK.

             Appellant recorded in Texas the phone conversation Appellant had with

       Appellee John Langlois that took place on October 5, 2022, in which Appellee

       John Langlois also stated that Appellee GERO MEYERSIEK waived interest and

       changed his mind subsequent to Appellant performing on the agreed pay-off

       amount of $104,185.98, so Appellees put the 2018 removed interest back on the

       system. Putting the 2018 feloniously removed interest back on the system is a

       felony and the subsequent fraudulent liens levied on Appellant’s TEXAS

       properties are felonious that further violate TEXAS PENAL CODES. Appellant
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       submitted this recording pursuant to Rhode Island Rules of Evidence 901 to the

       state family court in K2001-0521M, and to federal court judges pursuant Federal

       Rules of Evidence 901, 201, and pursuant to 18 U.S.C. §4, 18 U.S.C. §666, and

       other applicable federal statutes.

             Therefore, pursuant to Fed. Rules of Evid. 201 of judicial notices of related

       concurrent court actions, Appellant requests judicial notice of the attached

       recording submitted to the concurrent courts for concurrent pending actions at law.

                    https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-

       hBMaEg9/view?usp=sharing

             Additionally, Appellant submitted Congressionally published statutory text,

       notes and amendments for 42 U.S.C. § 654, requesting judicial notice of the

       explicit preemptive statutory notes under Congress’s 1996 Amendment, that

       explicitly provided State participation in the Title IV Program on the condition of

       acceptance of the preemption of 42 U.S.C. § 654 over State laws and constitutions

       that must be amended to comply with the 1996 Amendments.

             Therefore, as of 1:00:16 AM on March 29, 2024, before the Court under

       the explicit invocation of 18 U.S.C. § 4, is the evidentiary proof that the Appellee

       felonious enforcement of unlawful interest that Appellees feloniously removed

       from the automated system in 2018 and thereafter feloniously certified to TEXAS


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       and to the United States under 42 U.S.C. § 666(14) that there was no interest in

       Appellant’s interstate support case that goes to show that the state’s enforcement is

       not just harassing but constitutes felonious organized fraud, squarely confronted

       the Appellee-counsel. Appellee-counsels affirmative actions concealing the

       felonious scheme thereafter proves beyond a doubt that sanctions are warranted.

             Subsequent to Appellant’s foremost compliance under 18 U.S.C. § 4 to

       diligently make known criminal activities to judges of the United States, Appellant

       proceeded in the morning hours of March 29, 2024 to draft and prepare court

       filings for motions for judicial notice under Fed. R. of Evid. 201.

             However, around 10 AM on March 29, 2024, Appellee-counsel filed

       Appellees’ first Appellee-Brief, without offering any evidentiary proof, refuting

       the undisputable factual evidence squarely before the Court, contradictorily

       painting and claiming under Oath as officers of the court their unlawful

       enforcement as lawful, but unsupported by any evidence to support Appellees’

       unsubstantiated claim.

                Appellees-counsel’s solution to “remove” the evidentiary proof before the

       Court that proves the Appellee-Brief is filled with lies is to file a motion to strike

       the evidentiary proof accompanying the Appellee-Brief. The filing of the motion

       to strike is squarely an affirmative act to conceal the felonious scheme.


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             Therefore, in the scenario in which Appellees prevail, there necessarily

       would entail countless “removals” from official records in official proceedings of

       incriminating evidence damning to the Appellees, e.g.,:

             (1) Removal without basis in law from this official Appellate record

                evidence of Appellees’ felonious removal of tens of thousands of interest

                from the automated data processing and information retrieval system

             (2) Perpetuating the Appellees’ felonious routine practice by policy under

                color of state law in aid of Appellees’ felonious removal from the

                automated data processing system the unlawful 42 U.S.C. § 654(21)(A)

                prohibited 12% compound interest in interstate cases when Appellees

                feloniously send to other states like TEXAS under felonious false

                certifications that there is no interest in order to feloniously cover up

                Rhode Island’s unlawful 12% compound interest felonious scheme, and

                when Appellees feloniously send to the United States under the Title IV

                Federal Program falsely and feloniously certifying compliance with 42

                U.S.C. § 654 in order to feloniously obtain federal funding for which

                Rhode Island is ineligible.

             Appellant avers in good faith that both scenarios above necessarily involve

       equally complicit acts by judges in this Court pursuant to 18 U.S.C. § 4, also

       reviewable under fraud on the court and other applicable federal criminal statutes.
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       This is because the Rules of Evid. 201 submitted material that invokes 18 U.S.C. §

       4, shows systemic and organized felonious violation by official policy of 42 U.S.C.

       § 654(21)(A) by various Title IV-covered State political subdivisions under Rhode

       Island’s State Plan, and the Appellees’ felonious coordinated, concerted and

       organized efforts to feloniously cover it up. The felonious cover up of Appellees’

       violation of 42 U.S.C. § 654(21)(A) entailed sophisticated felonious removal of the

       unlawful 12% compound interest from the automated data processing and

       information retrieval system on a routine basis to “zero out any existing interest”

       for the explicit felonious purpose of “for the purpose of removing interest from

       interstate cases.” The policy further states, “Two reports will be created. The first

       will detail the interstate cases for which a support order modification was done first

       for which one or more interest adjustments were created. The second report will

       detail interstate cases for which the interest field is Y, B, B or P.” Explicitly

       applied to this instant case, the Appellees, in accordance with the policy,

       feloniously removed tens of thousands of dollars of “interest” from the automated

       data processing and information retrieval system governed by 42 U.S.C. §651-669

       and feloniously sent to the State of Texas in 2018 a total amount with the interest

       thus removed, feloniously certifying it under, inter alia, 42 U.S.C. §666(14),

       showing prima facie felonious false certification, accounting fraud, false records.




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       In so doing, Appellees feloniously sent a corresponding false certification to the

       United States.

                     The attached factual materials show on their face, beyond any doubt,

       that the judge-created “court order” laws created by the judges in the State’s family

       court show felonious judge-created laws under color of state law the felonious

       establishment and felonious enforcement of the State’s “interest” that is

       “prohibited in interstate cases” that involve the felonious routine removal from the

       system the interest when feloniously certifying to another state like TEXAS and

       feloniously certifying State compliance to the Title IV Program for federal

       funding, to the United States.

          The above show unequivocally sanctionable defraud of the Court by the

       Appellees and Appellee-counsel(s), all of whom are additionally regulated under

       42 U.S.C. § 654(1), including subornation of perjury and conspiracy to suborn

       perjury.

          The above show unequivocally sanctionable defraud of the United States,

       defraud of Texas, defraud of the Appellant, making false claims, making false

       certifications, accounting fraud, falsification of records, obstruction of official

       proceedings, obstruction of justice, violation of 18 U.S.C. § 2(b), §3, §4 among

       numerous others by both the Appellees and Appellee-counsels.


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          II.    Misprision of Felony by the Appellees and Appellees-Counsels

          A. Requisite knowledge of “removing interest from the system,” “keeping
             interest off the system,” “agree to keeping interest off the system,”
             “changed his mind and put interest back on the system” are felonies –
             and handshake partnership – United States v. Olson, 856 F.3d 1216 (9th
             Cir. 2017)



          Firstly, the Court must take notice under Fed. R. Evid. 201 the textual language

       of 18 U.S.C. § 4.

          The misprision of felony statute states:

          “Whoever, having knowledge of the actual commission of a felony cognizable

       by a court of the United States, conceals and does not as soon as possible make

       known the same to some judge or other person in civil or military authority under

       the United States, shall be fined under this title or imprisoned not more than three

       years, or both.” 18 U.S.C. § 4 (emphasis added). The emphasis was added by the

       9th Circuit Court of Appeals in United States v. Olson, 856 F.3d 1216 (9th Cir.

       2017).

          To establish misprision of felony, the government must prove beyond a

       reasonable doubt: “(1) that the principal . . . committed and completed the felony

       alleged; (2) that the defendant had full knowledge of that fact; (3) that he failed to

       notify the authorities; and (4) that he took affirmative steps to conceal the crime of


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       the principal.” Lancey v. United States, 356 F.2d 407, 409 (9th Cir. 1966)

       (alterations omitted) (quoting Neal v. United States, 102 F.2d 643, 646 (8th Cir.

       1939)).

          Appellees have thus far resisted and fought discovery production in the on-

       going state family court under advisement of the Rhode Island Attorney General

       for any and all information regarding the Appellees’ waiver of interest, or

       partnerships or agreements or arrangements amongst the State Appellees and

       Appellee GERO MEYERSIEK.

          Nevertheless, the plain existence of a partnership and agreement is in plain

       sight, upon the availability of State Policy attached hereto in Exhibit I that makes

       sense of multiple referrals of “remove interest off the system,” “keep interest off

       the system,” “agree to keep interest off the system,” and “put interest back on the

       system.”

          The TRAC records attached in Exhibit II records in plain and explicit terms the

       multiple discussions and activity that is described in the terms of “remove interest

       from the system,” “keep interest off the system,” “agree to keep interest off the

       system,” and “put interest back on the system.”

          Critically, the Rhode Island Attorney General before this Court attached copies

       of the state family court order issued at a hearing dated February 10, 2023 that


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       explicitly ordered, “…interest put back on the system without prejudice to the

       Defendant.”

          The full meaning of the interest “removed” or “keep off” or “agree to keep off”

       or “put back” on the system cannot be fully comprehended until the 2024 available

       State Policy attached hereto in Exhibit I made sense of those terms submitted in

       numerous instances to this United States Court by the Appellee counsel, the Rhode

       Island Attorney General.

          It is plain that the Rhode Island Attorney General has the State Policy in HIS

       possession, and he concealed it from this tribunal.

          The record in this appeals court plainly show that the Rhode Island Attorney

       General, confronted with Appellant’s 1 AM March 29, 2024 submission of the

       State Policy attached hereto in Exhibit I under 18 U.S.C. § 4 and Fed. R. Evid.

       201, affirmatively filed motions to strike it from the record on or around 9 AM

       March 29, 2024.

          Pursuant to United States v. Olson, 856 F.3d 1216 (9th Cir. 2017), a panel of

       judges in the Ninth Circuit found that, “Congress intended the misprision

       statute to apply solely to conduct the average person would understand as

       criminal and serious.” “[M]isprision comprehends an offence which is of so




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       serious a character that an ordinary law-abiding citizen would realise he

       ought to report it to the police.”

          The certification and grant forms that the 42 U.S.C. § 654(1) political

       subdivisions fill out to obtain federal grants and funding under 42 U.S.C. § 651-

       669 bear the warning that any individual who submitted false statements could be

       imprisoned up to five years. Appellees had seen similar warnings “many times,”

       and the Court should infer Appellees’ sophistication from experience as the state’s

       designated enforcement entity. This is the reason for the adoption of the State

       Policy to “zero out interest” in interstate cases plainly for concealment purposes.

       The state’s Attorney General tasked with enforcing making into effect 42 U.S.C. §

       654 in all political subdivisions under the State Plan has an even higher degree of

       duty and sophistication having possession of the State Policy.

          To illustrate this point, Appellant attaches herewith the 9th Circuit’s opinion

       United States v. Olson, 856 F.3d 1216 (9th Cir. 2017), as Exhibit V.

          B. Appellee GERO MEYERSIEK’S SOPHISTICATION AND
             KNOWLEDGE OF FELONY



       The language used by Appellee GERO MEYERSIEK shows and proves beyond a

       doubt that not only is MEYERSIEK a partner of the State Appellees, he is in the

       know of the sophistication of the State Policy’s purpose underlying Appellees’

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       felonious interest removals from the system, keeping interest off the system,

       agreeing to keeping the interest off the system, and changing his mind and putting

       interest back on the system.

             Pointedly, MEYERSIEK’s lawyer, Barbara Grady, and MEYERSIEK

       himself, explicitly describe their actions similarly in terms of felonious interest

       removals from the system, keeping interest off the system, agreeing to keeping the

       interest off the system, and changing his mind and putting interest back on the

       system, over and over again from 2018 to 2024. MEYERSIEK, if incognizant or

       unsophisticated, would not describe what ordinarily would be explained by a

       layman as “waive interest” or “agree to waive interest” or “changed his mind and

       demand interest” as felonious interest removals from the system, keeping interest

       off the system, agreeing to keeping the interest off the system, and changing his

       mind and putting interest back on the system.

             Appellee-GERO MEYERSIEK’s lawyers, Barbara Grady (in family court)

       and Joanna Achille, similarly have knowledge of and are in possession of the State

       Policy attached hereto in Exhibit I. Barbara Grady’s husband Paul Dugan, a law

       firm partner of Dugan & Grady Law, was a former Deputy Chief Counsel of

       Appellee Office of Child Support Services and knew and was in possession f the

       State Policy, and among his job mandate, as are the individual State Appellees of

       this action, is to enforce and conceal the felonious State Policy and practice from
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       detection. Appellee Gero Meyersiek, by and through his lawyer Barbara Grady,

       had partnered with the State Appellees to feloniously establish unlawful 12%

       compound interest in the interstate case involving TEXAS in the contemplated

       ensuing enforcement, necessarily involving contemplated felonious false

       accounting, false certification and fraudulent liens, and is an accessory to aiding

       and abetting in making false claims to the United States.

       Appellee-GERO MEYERSIEK’s counsel, Joanna Achille, did not file an

       Appellee-Brief in this matter. However, she plainly knew the substantive elements

       of the felonious false claim for interstate unlawful 12% compound interest that

       necessitated the felonious interest removals from the system, keeping interest off

       the system, agreeing to keeping the interest off the system, and changing his mind

       and putting interest back on the system. Counsel for Appellee-GERO

       MEYERSIEK, confronted with the State Policy evidence attached hereto in

       Exhibit I as of March 29, 2024, similarly failed to make known to federal

       authorities the commission of felonious crimes, and has affirmatively concealed

       the crimes in violation of 18 U.S.C. § 4 evidenced in this proceeding, alone.

          III.   Nix v. Whiteside, 475 U.S. 157 (1986) Requires Withdrawal of
                 Appellee-Counsels pursuant to Model Rule of Professional Conduct
                 1.2 (stating that a lawyer shall not counsel a client to engage, or assist
                 a client, in conduct that the lawyer knows is criminal or
                 fraudulent); Model Rule 3.3 cmt. [12] (recognizing that lawyers have
                 a special obligation to protect a tribunal against criminal or
                 fraudulent conduct that undermines the integrity of the adjudicative
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                process, such as unlawfully destroying or concealing documents or
                other evidence or failing to disclose information to the tribunal when
                required by law to do so); Model Rule 1.16 (requiring that a lawyer
                withdraw from the representation of a client if the representation
                will result in violation of the rules of professional conduct or other
                law).



          The Court must further review the conduct of the counsels for Appellees

          pursuant to the duty of the Court and the judges’ duty under 18 U.S.C. § 4,

          pursuant to Nix v. Whiteside, 475 U.S. 157 (1986).

             The United States Supreme Court in Nix v. Whiteside, 475 U.S. 157

          (1986) makes plain that the attorneys here are required to withdraw pursuant to

          Model Rule of Professional Conduct 1.2 (stating that a lawyer shall not counsel

          a client to engage, or assist a client, in conduct that the lawyer knows is

          criminal or fraudulent); Model Rule 3.3 cmt. [12] (recognizing that lawyers

          have a special obligation to protect a tribunal against criminal or fraudulent

          conduct that undermines the integrity of the adjudicative process, such as

          unlawfully destroying or concealing documents or other evidence or failing to

          disclose information to the tribunal when required by law to do so); Model Rule

          1.16 (requiring that a lawyer withdraw from the representation of a client if the

          representation will result in violation of the rules of professional conduct or

          other law).


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             A. Impeachable Conduct by the Rhode Island Attorney General

          Here, the record on appeal makes clear that the Rhode Island Attorney General,

       itself a political subdivision subject to regulation under 42 U.S.C. § 654, has had

       knowledge of the State Policy attached hereto in Exhibit I (hereafter “State

       Policy”) since counsels’ entry of appearance in this matter in January 2023, for

       over 15 months. The state attorney general as the premier law enforcement

       political subdivision under the regulation of 42 U.S.C. § 654 affirmatively knew

       and have known about the State Policy since its latest revision in 2011. As such,

       since 2011, the Attorney General of Rhode Island has affirmatively counseled

       Rhode Island political subdivisions to engage, or assist the subdivisions in

       implementing and put into practice the State Policy that the lawyer knows is

       feloniously criminal and feloniously fraudulent.

             In this matter alone, the State Appellee counsel has egregiously \violated

          Model Rule 3.3 cmt. [12] (recognizing that lawyers have a special obligation to

          protect a tribunal against criminal or fraudulent conduct that undermines the

          integrity of the adjudicative process, such as unlawfully destroying or

          concealing documents or other evidence or failing to disclose information to the

          tribunal when required by law to do so). The Rhode Island attorney general has

          violated his special obligation, that is further regulated by 42 U.S.C. § 654, to

          protect this tribunal against felonious criminal and fraudulent conduct that
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          undermines the adjudicative process, such as feloniously concealing the State

          Policy and other evidence related to the Policy, feloniously moving the Court to

          strike the State Policy from the record under the ludicrously lame excuse of

          “another bite at the apple” and then failing to disclose the State Policy and

          related materials to the tribunal when required to do so. Undisputedly, for the

          purpose of the furtherance of the appellate truth-seeking duty of this Court,

          Congress proscribed Fed. R. of Evidence 201 and Fed. R. Civ P. 60(b)(3), (4),

          (5), and (6) as mainstays ENABLING “another bite at the apple” in the

          furtherance of justice and public interest. Rather than complying with federal

          law, including applicable federal and state criminal laws, counsels for the State

          Appellees engage in felonious acts in violation of inter alia 18 U.S.C. § § 2, 3,

          and 4.

          Model Rule 1.16 (requiring that a lawyer withdraw from the representation of a

          client if the representation will result in violation of the rules of professional

          conduct or other law) requires the Attorney General of Rhode Island to

          withdraw from the case, and any contradictory state case law or state judge-

          created laws interpreting Model Rule 1.16 and the state Attorney General’s

          corrupt and felonious and indictable prerogative is preempted by Nix v.

          Whiteside, 475 U.S. 157 (1986) in this matter. Public interest or public justice

          dictates it. The Rhode Island public should not be made to foot the bill for the

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          abject interstate felonious, corrupt and indictable commission of crimes before

          this Court by the counsels for the State Appellees.

           The public of other states victimized by Rhode Island’s felonious scheme

          aided and abetted by the 42 U.S.C. § 654 regulated Rhode Island Attorney

          general should not be made to foot the bill for protecting themselves from

          Appellees and Appellees-counsels scheme, just because of a Rhode Island state

          judge-created law on the prerogative of a state attorney general to decide who to

          represent. In reality, the state attorney general’s conduct is indictable and

          impeachable. This is not about whether the attorney general of Rhode Island

          has a prerogative to decide who to represent, this is about whether his

          prerogative conduct is felonious or indictable and impeachable conduct.

             B. Mandatory Withdrawal of Counsel for Appellee-GERO
                MEYERSIEK
             For the foregoing reasons, counsel for Gero Meyersiek is similarly required

          to withdraw pursuant to Model Rule of Professional Conduct 1.2 (stating that a

          lawyer shall not counsel a client to engage, or assist a client, in conduct that the

          lawyer knows is criminal or fraudulent); Model Rule 3.3 cmt. [12] (recognizing

          that lawyers have a special obligation to protect a tribunal against criminal or

          fraudulent conduct that undermines the integrity of the adjudicative process,

          such as unlawfully destroying or concealing documents or other evidence or


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          failing to disclose information to the tribunal when required by law to do so);

          Model Rule 1.16 (requiring that a lawyer withdraw from the representation of a

          client if the representation will result in violation of the rules of professional

          conduct or other law).




          IV.   Fed. R. Civ. 11(c)(3)

             Here, the State Policy was not available until 2024, during the time in which

       the Appellees requested and were granted two extensions to file their appellate

       brief from January 2024 to March 29, 2024. Because the state policy was not

       available until 2024, Appellant properly requested judicial notice of the State

       policy pursuant to Fed. R. of Evidence 201 on March 29, 2024, and multiple times

       thereafter. Appellant further invoked Fed. R. Evid. 201(e) for a hearing by right

       in every filing made in this Court since the Appellant’s filing of her Motion for

       Judicial Notice pursuant to Fed. R. Evid. 201 on March 29, 2024.

             Because the State Policy has long been available to the Appellee-counsel

       and Fed. R. Civ. P 11 requires the Appellee-counsel to investigate the facts relating

       to the State Policy available to the Appellee-counsel at counsel’s disposal, the

       Appellee-counsel’s filing of the Appellee-brief and the lies contained therein has

       shown to be utterly lacking in candor and blatantly lying to the Court, constituting


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       prima facie fraud on the court. As such the Appellee-Brief should be stricken from

       the record, pursuant to Fed. R. Civ. P 11.

                The Court, on its own initiative under Fed. R. Civ. P 11(c)(3) should order

       the Appellees and Appellees’ counsels to show cause why conduct by the

       Appellees and their counsels specifically described above has not violated Rule

       11(b).

                In aid of the Court, the Appellant attaches hereto in Exhibit VI Document

       00118126131, that was reported to the judges of this United States Court of

       Appeals under 18 U.S.C. § 4 and Fed. R. Evid. 201.

                Appellant moreover respectfully requests the judges of the United States,

       explicitly conferred by Congress the explicit duty under 18 U.S.C. § 4, to refer the

       criminal acts made known in Document 00118126131 to the United States

       Attorney General Merrick Garland, an official who also fits the bill under 18

       U.S.C. § 4, pursuant to Fed. R. Civ. P 11(c)(4) “to deter repetition of the conduct

       or comparable conduct by others similarly situated.”

                Appellant respectfully requests furthermore that the Court order the

       Appellees pay the Appellant 9x $250,000 and no less than 9x $50,000 for each

       infraction named herein for having to prosecute this motion for their felonious

       conduct.


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          V.    CONCLUSION

                The Court should grant this motion for sanctions. The Court should

                order the withdrawal of Appellee-counsels named herein. The Court

                should order the Appellant-requested 9x $250,000 and no less than 9x

                $50,000 for each infraction named herein payable by the Appellees and

                Appellees counsels to the Appellant, for having to prosecute this motion

                for their felonious and corrupt conduct. The Court should strike the 9

                copies of the corrupt Appellee-Briefs from the record. The Court should

                strike the Appellee Brief from the record. The Court should vacate the

                Court’s briefing schedule. The Court should take judicial notice of

                Document 00118126131 filed under Fed. R. Evid. 201 and 18 U.S.C. § 4.

                The Court should strike the Appellee-Brief from the record for fraud on

                the court and for violation of Fed. R. Civ. P 11(b). The Court should

                grant Appellant’s Motion to file a supplemental opening brief. The Court

                should extend the time to file the Supplemental opening brief. The Court

                should on its own initiative under Fed. R. Civ. P 11(c)(3) order the

                Appellees and Appellees’ counsels to show cause why conduct by the

                Appellees and their counsels specifically described above has not

                violated Rule 11(b). The judges of the United States Court of Appeals

                have been explicitly conferred an expressed duty by Congress under 18


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                 U.S.C. § 4 and 18 U.S.C. § 503 and should refer the corrupt criminal acts

                 made known herein and in Document 00118126131 to the United States

                 Attorney General Merrick Garland, an official under 18 U.S.C. § 4,

                 pursuant to Fed. R. Civ. P 11(c)(4) “to deter repetition of the conduct or

                 comparable conduct by others similarly situated,” in the interest of the

                 public, public justice and protection of government proceedings. The

                 Court should extend the time due for the Appellant Reply Brief until 30

                 days after the Court’s resolution of the above-listed pending motions.

                 The Appellant respectfully requests any and all relief that is just under

                 the circumstances.

                Pursuant to Fed. R. Evidence 201(e), Appellant requests by right a hearing.

                                        Respectfully submitted,
                                        Mary Seguin
                                        Pro Se
                                        /s/____________________
                                        Email: maryseguin22022@gmail.com
                                        Phone: (281)744-2016
                                        P.O. Box 22022
                                        Houston, TX 77019

                                        Dated: April 9, 2024

                                 CERTIFICATE OF SERVICE




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             This is to certify that the foregoing instrument has been served via the
       Court’s ECF filing system on April 9, 2024, on all registered counsel of record,
       and has been transmitted to the Clerk of the Court.

                                                     Mary Seguin
                                                     Pro Se
                                                     /s/____________________
                                                     Email: maryseguin22022@gmail.com
                                                     Phone: (281)744-2016
                                                     P.O. Box 22022
                                                     Houston, TX 77019




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                            FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT


          UNITED STATES OF AMERICA,               No. 15-30022
                    Plaintiff-Appellee,
                                                  D.C. No.
                       v.                   3:13-cr-00093-TMB-1

          KAREN B. OLSON,
                 Defendant-Appellant.              OPINION


                Appeal from the United States District Court
                         for the District of Alaska
                Timothy M. Burgess, Chief Judge, Presiding

                   Argued and Submitted August 4, 2016
                           Anchorage, Alaska

                             Filed May 15, 2017

                Before: Raymond C. Fisher, Richard A. Paez
                  and Andrew D. Hurwitz, Circuit Judges.

                        Opinion by Judge Fisher;
                      Concurrence by Judge Hurwitz
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                                      SUMMARY*


                                     Criminal Law

               The panel affirmed the defendant’s conviction under
          18 U.S.C. § 4 (misprision of felony) for concealing and
          failing to notify authorities of her business partner’s
          submission of false statements to the United States
          Department of Agriculture Rural Development Program in
          connection with a federal grant application.

              The panel held that, to secure a conviction under § 4, the
          government must prove not only that the defendant knew the
          principal engaged in conduct that satisfies the essential
          elements of the underlying felony, but also that the defendant
          knew the conduct was a felony; that to establish the latter, the
          government must prove the defendant knew the offense was
          punishable by death or a term of imprisonment exceeding one
          year; and that sufficient evidence supports the jury’s finding
          that the defendant here knew the principal’s crime was
          punishable by more than a year in custody.

              Concurring in part and concurring in the result, Judge
          Hurwitz would leave to another day, in a case in which it
          matters to the outcome, whether the government must prove
          in a § 4 prosecution that the defendant knew the underlying
          offense was a felony.




              *
                This summary constitutes no part of the opinion of the court. It has
          been prepared by court staff for the convenience of the reader.
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                                   COUNSEL

          Glenda Kerry (argued), Law Office of Glenda J. Kerry,
          Girdwood, Alaska, for Defendant-Appellant.

          Retta-Rae Randall (argued), Assistant United States Attorney,
          United States Attorney’s Office, Anchorage, Alaska, for
          Plaintiff-Appellee.


                                   OPINION

          FISHER, Circuit Judge:

              Karen Olson appeals her conviction for misprision of
          felony under 18 U.S.C. § 4. She was convicted of concealing
          and failing to notify authorities of her business partner’s
          submission of false statements to the United States
          Department of Agriculture Rural Development Program
          (USDA) in connection with a federal grant application. She
          challenges her conviction, arguing the government failed to
          prove she knew the conduct she concealed constituted a
          felony. We address her argument in two parts. First, we
          agree with Olson that, to secure a conviction under 18 U.S.C.
          § 4, the government must prove not only that the defendant
          knew the principal engaged in conduct that satisfies the
          essential elements of the underlying felony, but also that the
          defendant knew the conduct was a felony. See Flores-
          Figueroa v. United States, 556 U.S. 646, 652 (2009)
          (“[C]ourts ordinarily read a phrase in a criminal statute that
          introduces the elements of a crime with the word ‘knowingly’
          as applying that word to each element.”). Second, applying
          that standard, we hold sufficient evidence supports the jury’s
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          finding that Olson had the requisite knowledge here. We
          therefore affirm.1

                               BACKGROUND

              The USDA awarded a grant to Robert Wells to open a
          milk processing facility. The terms of the grant provided that
          certain equipment was to be purchased wholly or in part with
          grant funds, and that the USDA would hold a first lien
          position on any equipment purchased with grant money.
          Although the grant was in Wells’ name, he had an informal
          “handshake” partnership with Olson, a former Alaska
          executive director of the USDA Farm Service Agency who
          wrote Wells’ grant application. Wells described her as the
          “brains” behind the grant, and their informal partnership
          entitled her to 50 percent of the profits from the milk
          processing facility.

               Around the same time, Kyle Beus received a separate
          USDA grant to establish an ice cream and cheese
          manufacturing facility. The paperwork for both Wells’ and
          Beus’ grant applications warned that anyone who made false,
          fictitious or fraudulent statements could be fined or
          imprisoned for up to five years.

               Wells, Beus and Olson agreed to locate their two projects
          at the same facility. Unbeknownst to Wells and Olson, Beus
          instructed his contractor, Nether Industries, to inflate the
          value of certain dairy processing equipment – including a
          clean-in-place (CIP) system and a glycol chilling system – on
          papers submitted to the USDA for reimbursement. Beus also

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               We reject Olson’s remaining challenges in an unpublished
          memorandum disposition filed concurrently with this opinion.
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          submitted invoices to Nether, allegedly for project expenses,
          so he could personally receive a portion of the grant money
          the USDA disbursed.

              A year into the enterprise, Beus told Wells and Olson he
          had leased certain “technologically obsolete” pieces of
          equipment rather than purchase new equipment as agreed in
          the original grant application, including a “really cheap old
          glycol unit” and an “incomplete clean-in-place system.” As
          to some of this equipment, Olson informed the USDA there
          had been a change of plans that called for “leasing instead of
          outright purchasing some of the original smaller equipment.”
          She did not do so, however, with respect to the CIP system
          and glycol cooling system. The attached “Proposed Money
          Grant Expenditure” included a CIP system listed at $35,000
          and a glycol cooling system listed at $50,000 when, in fact,
          those systems had been leased rather than purchased.

              After the USDA disbursed the grant funds, Olson filed a
          final report with the department. It included a “Final List of
          Expenditures by Category and Completion” that once again
          falsely listed the purchase of a $35,000 CIP system and a
          $50,000 glycol cooling system.

              Olson later became aware that Beus had been
          misappropriating grant funds by submitting false invoices to
          Nether Industries and receiving payments – which Olson
          described as “kickbacks” – in return. Olson also discovered
          Beus had improperly used grant funds to make a $71,000
          personal investment in a milk jug manufacturer. An entry in
          her day planner around this time reveals that she knew Beus’
          actions were improper. She wrote: “Began full-time work on
          financials/straightening out Kyle’s mess. Learning of
          questionable deals – Nether – Kyle spent $190,000 of our
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          grant on others, so Nether way over budget. Also, Kyle
          misused our [] advance $ as his own stock purchases – !”
          Olson told the project’s office assistant she “could send
          [Beus’] ass to jail.” She wrote members of her board that
          “[t]he revelations of the past week have crystallized for me
          that [Beus’ agreement to co-locate the projects] was simply
          a way to divert our grant money into a grandiose plan that has
          not worked,” and that Beus “has put the entire dairy industry
          at risk for an ever-widening investigation closing off all loan
          sources and public goodwill.”

              Olson was convicted after a jury trial of misprision of
          felony under 18 U.S.C. § 4. Her conviction was based on her
          knowledge that Beus, the principal, submitted false
          statements to the USDA in furtherance of his scheme to
          misappropriate grant funds in violation of 18 U.S.C. § 1014
          – a felony under federal law. Olson appeals.

                          STANDARD OF REVIEW

              “We review a question of statutory construction de novo.”
          United States v. Weitzenhoff, 35 F.3d 1275, 1283 (9th Cir.
          1993). “Our review of the constitutional sufficiency of
          evidence to support a criminal conviction is governed by
          Jackson v. Virginia, which requires a court of appeals to
          determine whether, ‘after viewing the evidence in the light
          most favorable to the prosecution, any rational trier of fact
          could have found the essential elements of the crime beyond
          a reasonable doubt.’” United States v. Nevils, 598 F.3d 1158,
          1163–64 (9th Cir. 2010) (en banc) (quoting Jackson v.
          Virginia, 443 U.S. 307, 319 (1979)) (citation omitted).
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                                  DISCUSSION

                                         I

              The misprision of felony statute states:

                  Whoever, having knowledge of the actual
                  commission of a felony cognizable by a court
                  of the United States, conceals and does not as
                  soon as possible make known the same to
                  some judge or other person in civil or military
                  authority under the United States, shall be
                  fined under this title or imprisoned not more
                  than three years, or both.

          18 U.S.C. § 4 (emphasis added).

              To establish misprision of felony, the government must
          prove beyond a reasonable doubt: “(1) that the principal . . .
          committed and completed the felony alleged; (2) that the
          defendant had full knowledge of that fact; (3) that he failed to
          notify the authorities; and (4) that he took affirmative steps to
          conceal the crime of the principal.” Lancey v. United States,
          356 F.2d 407, 409 (9th Cir. 1966) (alterations omitted)
          (quoting Neal v. United States, 102 F.2d 643, 646 (8th Cir.
          1939)). Only the second element is at issue here.

              To show a defendant has “knowledge of the actual
          commission of a felony cognizable by a court of the United
          States,” 18 U.S.C. § 4, the parties agree the government must
          prove at least that the defendant knew the principal engaged
          in conduct that satisfies the essential elements of the
          underlying felony. In other words, the defendant must “know
          the facts that make [certain] conduct fit the definition of the
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          offense.” Elonis v. United States, 135 S. Ct. 2001, 2009
          (2015) (quoting Staples v. United States, 511 U.S. 600, 608
          n.3 (1994)). The parties disagree as to whether – and to what
          extent – the government must also prove the defendant knew
          such conduct was a felony. We conclude Olson has the
          stronger argument.

              First, Olson’s construction is consistent with the general
          presumption that a mens rea requirement applies to each
          element of an offense. “Absent indication of contrary
          purpose in the language or legislative history of the statute,”
          Liparota v. United States, 471 U.S. 419, 425 (1985), we
          “ordinarily read a phrase in a criminal statute that introduces
          the elements of a crime with the word ‘knowingly’ as
          applying that word to each element,” Flores-Figueroa,
          556 U.S. at 652. See United States v. Williams, 553 U.S. 285,
          294 (2008) (applying a knowledge requirement to each
          subdivision in a statute in the absence of “grammar or
          structure enabl[ing] the challenged provision or some of its
          parts to be read apart from the ‘knowingly’ requirement”);
          United States v. X-Citement Video, Inc., 513 U.S. 64, 77–78
          (1994) (“[A]s a matter of grammar it is difficult to conclude
          that the word ‘knowingly’ modifies one of the elements in
          [the statute], but not the other.”). This “presumption in favor
          of a scienter requirement,” X-Citement Video, 513 U.S. at 72,
          “reflects the basic principal that ‘wrongdoing must be
          conscious to be criminal,’” Elonis, 135 S. Ct. at 2009
          (quoting Morissette v. United States, 342 U.S. 246, 252
          (1952)). As a general matter, “a defendant must be
          ‘blameworthy in mind’ before he can be found guilty.” Id.
          (quoting Morissette, 342 U.S. at 252).

              In Liparota, for example, the statute at issue imposed
          criminal liability on “whoever knowingly uses, transfers,
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          acquires, alters, or possesses coupons or authorization cards
          in any manner not authorized by this chapter or the
          regulations issued pursuant to this chapter.” Liparota,
          471 U.S. at 420 n.1 (alteration omitted) (quoting 7 U.S.C.
          § 2024(b)(1) (1985)). The evidence showed the defendant
          purchased food stamps from an undercover agent for less than
          face value. See id. at 421. The government argued the statute
          required proof only that the defendant knew of his acquisition
          of the cards, not that the acquisition was unauthorized by law.
          See id. at 423. The Supreme Court disagreed. Because it was
          not clear from the text of the statute which phrase or phrases
          Congress intended the knowledge requirement to modify, and
          because the legislative history contained nothing to clarify
          congressional purpose, the knowledge requirement applied to
          each phrase in the statute. The government was required to
          show the defendant knew purchasing food stamps for less
          than face value was unauthorized by law. See id. at 425.
          Since Liparota, the Court has applied this presumption to a
          range of statutes. See, e.g., Flores-Figueroa, 556 U.S. at 657
          (applying a knowledge requirement to each phrase in the
          aggravated identity theft statute); Williams, 553 U.S. at 294
          (applying a knowledge requirement to all elements in a child
          pornography statute); X-Citement Video, 513 U.S. at 78
          (applying a knowledge requirement to all elements in a
          statute criminalizing the exploitation of minors).

              The same presumption applies here. First, as in Liparota,
          the text of the misprision statute alone does not make clear
          whether the knowledge requirement applies to each element.
          Compare 18 U.S.C. § 4 (“Whoever, having knowledge of the
          actual commission of a felony cognizable by a court of the
          United States . . . .”), with 7 U.S.C. § 2024(b)(1) (1985)
          (“[W]hoever knowingly uses, transfers, acquires, alters, or
          possesses coupons or authorization cards in any manner not
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          authorized by this chapter . . . .”). Putting aside the Flores-
          Figueroa presumption, the mental state in § 4 could plausibly
          be read to modify only “actual commission” or both “actual
          commission” and “of a felony cognizable by a court of the
          United States.” Under Flores-Figueroa, however, we
          presume Congress intended the knowledge requirement to
          apply to both phrases, see 556 U.S. at 652, and nothing in the
          text or legislative history negates the presumption that
          Congress so intended. The government has not pointed to
          anything suggesting Congress intended to penalize someone
          who did not know she was witnessing the commission of a
          felony. Accordingly, given the language of § 4 and the
          Flores-Figueroa presumption, the statute is best interpreted
          as requiring proof that, in addition to showing the defendant
          knew the principal engaged in conduct satisfying the essential
          elements of the underlying felony, the government must also
          show the defendant knew such conduct was a felony.

              Second, even putting the presumption aside, the history of
          misprision also supports Olson’s construction. In England,
          before the advent of professional police forces, individual
          citizens bore the responsibility for combating crime. See Carl
          Wilson Mullis, III, Misprision of Felony: A Reappraisal,
          23 Emory L.J. 1095, 1114 (1974). They had “a duty to raise
          the hue and cry and report felonies to the authorities.”
          Branzburg v. Hayes, 408 U.S. 665, 696 (1972) (internal
          quotation marks omitted). See Hue and Cry, Black’s Law
          Dictionary (10th ed. 2014) (“The public uproar that, at
          common law, a citizen was expected to initiate after
          discovering a crime.”). A citizen who breached this duty
          could be charged with misprision. See Mullis, supra, at 1095.
          In this country, the First Congress enacted the American
          misprision statute as part of the Crimes Act of 1790, the
          current version of which is “functionally identical” to its
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          predecessor. United States v. Phillips, 827 F.3d 1171, 1175
          (9th Cir. 2016).

              This context suggests Congress intended the misprision
          statute to apply solely to conduct the average person would
          understand as criminal and serious. As an English court has
          explained, requiring knowledge of the serious criminal nature
          of the underlying offense “disposes of many of the supposed
          absurdities, such as boys stealing apples, which many laymen
          would rank as a misdemeanour and no one would think he
          was bound to report to the police. . . . [M]isprision
          comprehends an offence which is of so serious a character
          that an ordinary law-abiding citizen would realise he ought to
          report it to the police.” Sykes v. Dir. of Pub. Prosecutions,
          [1962] A.C. 528 at 563.2

              The government argues in passing that United States v.
          Graves, 143 F.3d 1185 (9th Cir. 1998), as amended (June 4,
          1988), supports its position. Graves, however, did not
          address the question we are considering here. Graves
          concerned the “accessory after the fact” statute, which states:
          “Whoever, knowing that an offense against the United States
          has been committed, receives, relieves, comforts or assists the
          offender in order to hinder or prevent his apprehension, trial
          or punishment, is an accessory after the fact.” Id. at 1187
          (emphasis added) (quoting 18 U.S.C. § 3). The defendant
          was charged as an accessory (“charged offense”) to the crime

              2
                Misprision has become a little used and much maligned criminal
          charge. England eliminated the offense a few years after the Sykes
          decision. See Mullis, supra, at 1100–01. American commentators have
          urged Congress to do the same, arguing the crime has outlived its
          usefulness in light of modern methods of law enforcement. See, e.g.,
          E. Lee Morgan, Misprision of Felony, 6 S.C. L. Q. 87, 95 (1953–54);
          Mullis, supra, at 1111 n.92 (listing commentators).
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          of felon in possession of a firearm (“underlying offense”).
          See id. at 1186. The underlying offense, felon in possession
          of a firearm, contains two elements: first, possession of a
          weapon and second, a previous felony conviction. See id. at
          1187. There was no evidence the defendant knew the
          principal was a felon, but the government argued it need not
          make such a showing. See id. We disagreed, holding a
          “defendant who is accused of being an accessory after the fact
          must be shown to have had actual knowledge of each element
          of the underlying offense.” Id. at 1189. The government was
          therefore required to prove the defendant knew that “the
          offender possessed a firearm” and that the offender “had
          previously been convicted of a felony.” Id.

              Applied here, Graves stands only for the undisputed
          proposition that Olson must have had knowledge of the
          elements of the underlying offense – submission of false
          statements to the USDA. Graves does not address or support
          the government’s argument regarding the specified
          knowledge requirement of the charged offense here –
          misprision of a felony.3

              In sum, in light of Supreme Court precedent and relevant
          history, we hold the misprision statute requires knowledge
          not only that the principal engaged in conduct that satisfies




               3
                 Both parties invoke United States v. White Eagle, 721 F.3d 1108
          (9th Cir. 2013), in support of their respective positions. This case has no
          bearing on our analysis here because it did not address the knowledge
          requirement of the misprision statute. See id. at 1119–20 (addressing only
          the “failure to notify the authorities” and the “affirmative step to conceal”
          elements).
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          the essential elements of the underlying felony, but also that
          the underlying offense is a felony.4

                                              II

             The question then becomes: What does it mean to know
          conduct constitutes a felony?

              When a term used in a statute is defined by that statute or
          by “any other relevant statutory provision,” Taniguchi v. Kan
          Pac. Saipan, Ltd., 132 S. Ct. 1997, 2002 (2012), we generally
          presume that definition applies to the statute’s use of the
          term. See Stenberg v. Carhart, 530 U.S. 914, 942 (2000)
          (“When a statute includes an explicit definition, we must
          follow that definition, even if it varies from that term’s
          ordinary meaning.”); see also Meese v. Keene, 481 U.S. 465,

              4
                 Olson asks us to go further by holding the government must show
          the defendant knew the relevant conduct was a felony under federal law,
          based on the statute’s language stating “of a felony cognizable by a court
          of the United States.” 18 U.S.C. § 4 (emphasis added). We decline to do
          so. “The concept of criminal intent does not extend so far as to require
          that the actor understand not only the nature of his act but also its
          consequence for the choice of a judicial forum.” United States v. Feola,
          420 U.S. 671, 685 (1975). The requirement that the felony be cognizable
          by a court of the United States was included in the statute to state the
          foundation for federal jurisdiction. See United States v. Howey, 427 F.2d
          1017, 1018 (9th Cir. 1970). “A defendant’s knowledge of the
          jurisdictional fact is irrelevant,” id., as has been held in numerous cases
          interpreting analogous statutory provisions. See, e.g., United States v.
          Felix-Gutierrez, 940 F.2d 1200, 1206–07 (9th Cir. 1991) (holding a
          defendant charged with being an accessory after the fact need not know
          the principal crime was one against the United States despite the presence
          of such language in the statute); Feola, 420 U.S. at 687 (holding a
          defendant charged with conspiracy need not know his conduct violated
          federal law despite the statute’s prohibition on conspiring to commit an
          offense against the United States).
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          484 (1987) (“It is axiomatic that the statutory definition of the
          term excludes unstated meanings of that term.”); United
          States v. Lettiere, 640 F.3d 1271, 1274 (9th Cir. 2011)
          (“[There is a] well-settled principle that, for purposes of
          statutory interpretation, the language of the statute is the first
          and, if the language is clear, the only relevant inquiry.”).

              This presumption is not absolute, however. If interpreting
          a term consistently with its statutory definition would, for
          instance, lead to “obvious incongruities” or would “destroy
          one of the major [congressional] purposes,” the statutory
          definition may yield to context. See Lawson v. Suwannee
          Fruit & S.S. Co., 336 U.S. 198, 201 (1949); see also Util. Air
          Regulatory Grp. v. EPA, 134 S. Ct. 2427, 2441 (2014)
          (confirming that the presumption of consistent usage may
          yield to context).

              Here, the term “felony” is defined as part of the federal
          criminal code as a crime punishable by death or a term of
          imprisonment exceeding one year. See 18 U.S.C. § 3559(a);
          see also Burgess v. United States, 553 U.S. 124, 130 (2008)
          (“[T]he term ‘felony’ is commonly defined to mean a crime
          punishable by imprisonment for more than one year.” (citing
          18 U.S.C. § 3559(a))). Although the misprision offense and
          the felony definition are in separate sections of the United
          States Code, they were included in the same statute at least
          twice. In 1909, Congress passed an act to “codify, revise, and
          amend the penal laws of the United States.” See Criminal
          Code of 1909, ch. 321, 35 Stat. 1088, 1088 (preamble) (the
          “1909 Crime Act”). Along with a slightly modified version
          of the original misprision statute, see id. § 146, 35 Stat. at
          1114, the 1909 Crime Act included, apparently for the first
          time, a statutory definition for the term “felony,” see id.
          § 335, 35 Stat. at 1152 (“All offenses which may be punished
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          by death, or imprisonment for a term exceeding one year,
          shall be deemed felonies.”). The 1948 Crimes and Criminal
          Procedure Act (the “1948 Crime Act”), enacted to “revise,
          codify, and enact into positive law, Title 18 of the United
          States Code, entitled ‘Crimes and Criminal Procedure,’”
          Crimes and Criminal Procedure Act, Pub. L. No. 80-772, 62
          Stat. 683, 683 (1948) (preamble), similarly included versions
          of both provisions. See id. §§ 1, 4, 62 Stat. at 684. Indeed,
          the 1948 Crime Act actually included the felony definition
          and the misprision offense on the very same page. See id.

              This is a case, therefore, in which Congress has adopted
          a statute using a term – “felony” – and in the same statute
          adopted a definition that presumptively applies. Moreover,
          it does not appear the presumption is rebutted by context.
          Applying the statutory definition, for instance, neither leads
          to incongruities nor destroys Congress’ purposes. See
          Lawson, 336 U.S. at 201. The drafting history of the 1909
          and 1948 Crime Acts supports this conclusion. Before 1909,
          the term “felony” lacked a uniform definition. A Senate
          Report on the 1909 Crime Act explained that the term
          “felony” had an “indefinite classification,” resulting in its
          being “indiscriminately applied.” S. Rep. No. 60-10, at 12
          (1908). The report therefore underscored the need for a
          uniform definition, which would “characterize the whole
          system rather than pertain to any particular part of it.” Id.
          Far from “destroy[ing] one of the major [congressional]
          purposes,” see Lawson, 336 U.S. at 201, incorporating
          § 3559’s definition into the misprision statute furthers
          Congress’ intent to bring a measure of uniformity to the
          criminal code.

              We therefore hold the government must prove the
          defendant knew the underlying offense was punishable by
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          death or more than one year in prison. The defendant need
          not know the precise term of imprisonment authorized by
          law, but at least she must know the potential punishment
          exceeds one year in prison.5

                                              III

              In Olson’s case, there was sufficient evidence to support
          a jury’s finding that she knew submitting false statements to
          the USDA was punishable by a sentence of incarceration
          exceeding one year. See Nevils, 598 F.3d at 1163–64.6 The
          USDA grant form Olson completed on behalf of Wells
          explicitly warned that any individual who submitted false


               5
                Knowledge is ordinarily a subjective standard, and the parties do not
          argue the rule is otherwise here. See, e.g., United States v. Twine,
          853 F.2d 676, 680 (9th Cir. 1988) (“We drew our conclusion in the face
          of Congress’ use of the terms ‘knowingly and willfully,’ words which the
          Model Penal Code defines in a subjective manner.”); United States v.
          Jewell, 532 F.2d 697, 707 (9th Cir. 1976) (en banc) (Kennedy, J.,
          dissenting) (“[K]nowledge [is] a matter of subjective belief, an important
          safeguard against diluting the guilty state of mind required for
          conviction.”).
               6
                As to this issue, Olson raises only a sufficiency of the evidence
          claim. Olson does not contest the adequacy of the misprision jury
          instruction apart from its failure to include a unanimity instruction – an
          issue we address in a concurrently filed memorandum disposition. Nor
          did she proffer a jury instruction at trial clarifying this point of law. We
          therefore assume the jury was properly instructed on misprision and
          address solely Olson’s argument that there was insufficient evidence of
          her knowledge. In future cases, of course, a defendant in Olson’s position
          could request an instruction requiring the government to prove that she
          knew the underlying offense was punishable by more than one year in
          prison. The instructions given here did not specifically address this issue,
          but Olson did not challenge the instruction on appeal, so we need not
          address whether the failure to give such an instruction was erroneous.
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          statements to the USDA could be imprisoned up to five years.
          Olson had seen similar warnings “many times,” and the jury
          could have inferred Olson’s sophistication from her
          experience as executive director of the USDA Farm Service
          Agency. This evidence was sufficient for a reasonable jury
          to find Olson knew Beus’ crime was punishable by more than
          a year in custody.

                                CONCLUSION

              We hold 18 U.S.C. § 4 requires the government to prove
          the defendant knew the principal engaged in conduct that
          satisfies the essential elements of the underlying felony and
          that the defendant knew such conduct was a felony. To
          establish the latter, the government must prove the defendant
          knew the offense was punishable by death or a term of
          imprisonment exceeding one year. Sufficient evidence
          supports that finding here. For the reasons stated in this
          opinion and in a concurrently filed memorandum disposition,
          we affirm Olson’s conviction.

             AFFIRMED.



          HURWITZ, Circuit Judge, concurring in part and concurring
          in the result:

              This case does not turn on whether the government must
          prove in a misprision prosecution under 18 U.S.C. § 4 that the
          defendant knew the underlying offense was a felony. As the
          majority correctly concludes, the evidence at trial sufficed for
          a misprision conviction even if the government bears that
          burden of proof.
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               The majority’s interpretation of the statute may be
          correct. But, I would leave such analysis for another day, in
          a case in which it matters to the outcome. See Whitehouse v.
          Ill. Cent. R. Co., 349 U.S. 366, 372–73 (1955) (“These are
          perplexing questions. Their difficulty admonishes us to
          observe the wise limitations on our function and to confine
          ourselves to deciding only what is necessary to the
          disposition of the immediate case.”); PDK Labs. Inc. v. DEA,
          362 F.3d 786, 799 (D.C. Cir. 2004) (Roberts, J., concurring
          in part and concurring in the judgment) (noting “the cardinal
          principle of judicial restraint” that “if it is not necessary to
          decide more, it is necessary not to decide more”).
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                                EXHIBIT VI.
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                                       No. 23-1851

                    IN THE UNITED STATES COURT OF APPEALS
                             FOR THE FIRST CIRCUIT
                          UNITED STATES OF AMERICA,

                                    Plaintiff-Appellant,
                                     MARY SEGUIN
                                             v.
         RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES in its official
         capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK DIBIASE, WENDY
        FOBERT, KARLA CABALLEROS and TIMOTHY FLYNN in their individual
             and official capacities; GERO MEYERSIEK; BARBARA GRADY
                                  Defendants-Appellees.


                        Appeal from the United States District Court
                              for the District of Rhode Island
                                  ___________________
       APPELLANT’S NOTICE TO THE JUDGES OF THE UNITED STATES OF
          THE COMMISSION OF ACTIVITIES BY PERSONS OR WHOEVER
       INVOLVING RECORD TAMPERING; KNOWING PRESENTATION, OR
        CAUSING TO BE PRESENTED OR CERTIFICATION OF A FALSE OR
        FRAUDULENT CLAIM TO THE UNITED STATES, TO THE STATE OF
          TEXAS, FOR PAYMENT OR APPROVAL; KNOWINGLY MAKING,
        USING OR CAUSING TO BE MADE OR USED, A FALSE RECORD OR
         STATEMENT MATERIAL TO A FALSE OR FRAUDULENT CLAIM;
         CONSPIRING TO COMMIT A VIOLATION OF THE AFORESAID TO
       PROCURE TITLE IV-D FUNDING, THAT INVOLVE VIOLATIONS OF 42
                          U.S.C. § 654 WHICH ARE
        PENALTY-INCURRING AND FINES INCURRING UNDER 42 U.S.C. §
       654, COMMITTED BY INDIVIDUAL APPELLEE PERSONS, WHOEVER,


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        AND AGENTS OF TITLE IV SOCIAL SECURITY ACT RHODE ISLAND
                               STATE PLAN
                                           Pursuant to
                                            18 U.S.C. § 4
                                         18 U.S.C. § 666
                       18 U.S.C. § 287 - making false, fictitious claims,
                    18 U.S.C. § 371 - conspiracy to defraud the United States,
           18 U.S.C. § 1001 - false documents or false statements to a federal agency,
                                   18 U.S.C. § 1341 - mail fraud,
                                   18 U.S.C. § 1343 - wire fraud,
                      18 U.S.C. § 641 - Public money, property or records,
                          31 U.S.C. § 3279 - federal civil false claims act
                                                Et al.
                                     ___________________

             ORGANIZED FRAUD, THEFT OF PUBLIC MONEY AND
         GOVERNMENT PROGRAMS INVOLVING BILLIONS OF DOLLARS


             Judicial Notice, in aid of the court, is respectfully requested of the following:

             This case is related to Appeal No. 23-1967 and Appeal No. 23-1978.

             In 2010, Appellee Gero Meyersiek (who is a non-welfare recipient and

       independently wealthy person, was represented by his private counsel, Barbara

       Grady, whose law firm partner, Paul Dugan, was formerly a Deputy Chief Counsel

       of State Appellee) paid Appellee Rhode Island Office of Child Support Services

       $25 under 42 U.S.C. §654(6)(B) for legal services that entailed, inter alia,

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       establishing and enforcement of interest on overdue support. In return for

       Appellee Gero Meyersiek’s $25 payment, State Appellee’s Deputy Chief Counsel

       Priscilla Glucksman provided dedicated, individualized and customized services

       beyond those prescribed by 42 U.S.C. §654(6)(B), to wit Glucksman appeared on

       behalf of the State at all non-welfare non-paternity family court hearings in (over

       12) 2010, (over 12) 2011, (over 12) 2012 and 2013 concerning private custody

       matters relating to Appellant’s application to move her young daughters whom she

       had physical custody up until she moved to TEXAS in 2010 when Appellant

       remarried in TEXAS.

             Rhode Island Executive Office of Health and Human Services’s Budget for

       this Fiscal Year is $3,419,217,779.00 ($3.42 Billion) that consists of Federal

       Funding. Penalties and fines incurred as of and accrued from the year 1996 when

       Congress amended Title IV-D of the Social Security Act providing for penalties

       and fines levied against States’ noncompliance with Title IV-D. The amount of

       penalties and fines incurred by Rhode Island under 42 U.S.C. § 654 and other

       applicable federal laws, and the amount of funding Title IV-A TANF disgorgement

       owed and due from Rhode Island to the United States pursuant to Congress linking

       State eligibility for TANF funding to State compliance with Title IV-D date back

       to 1996 through 2024.



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             Pursuant to 18 U.S.C. § 4, APPELLANT, proceeding from TEXAS and as a

       citizen of TEXAS, in aid of the Court, respectfully in good faith makes known to

       the Judges of the United States in the United States Court of Appeals for the First

       Circuit of United States of America, the commission of penalties-incurring and

       fines-incurring, both civil and criminal, (negligent and intentional) violations by

       Appellee persons or whoever acting as agents of the 42 U.S.C. § 654(1) political

       subdivisions of the State Plan of the State of Rhode Island and Appellee

       persons, pursuant to 18 U.S.C. § 666, 18 U.S.C. § 287 - making false, fictitious

       claims, 18 U.S.C. § 371 - conspiracy to defraud the United States, 18 U.S.C. §

       1001 - false documents or false statements to a federal agency, 18 U.S.C. §

       1341 - mail fraud, 18 U.S.C. § 1343 - wire fraud, 18 U.S.C. § 641 - Public

       money, property or records, 31 U.S.C. § 3279 - federal civil false claims act et

       al. (a non-exhaustive list of Appellee-violated federal codes is invoked in the

       Conclusion Section of this Notice), and respectfully requests review by a panel of

       judges in this United States Court of Appeals for the First Circuit under Fed. R.

       App. P 27(b). Certain aspects of the fraud made known herein were also made

       known to the judges of the United States in the related case Appeal Case No. 23-

       1967 pending before a panel of judges pursuant to Appellant’s motions invoked

       under Fed. R. App. P 8(a)(2)(D) and Fed. R. App. P 27(b) pending in that

       matter.


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                Please take Judicial Notice that Appellant, in Appeals No. 23-1967,

       respectfully requested a hearing by a panel of Judges on the Federal Question

       matters raised herein under Fed. R. App. P 8(a)(2)(D) and Fed. R. App. P

       27(b).

                I.    APPELLANT’S LIMITED SCOPE PROSECUTION OF THE
                      APPELLEES AND STATE OPERATIONS UNDER THE
                      STATE PLAN UNDER 42 U.S.C. § 654 IN THE LIMITED
                      JURISDICTION 42 U.S.C. § 654(1) STATE FAMILY COURT
                      TITLE IV CASE PROCEEDINGS

                The TEXAS Appellant, a victim of the Appellees’ organized commission of

       organized Title IV-D and Title IV-A Program interstate fraud defrauding Appellant

       (and TEXAS because Rhode Island’s official policy and practice to conceal any

       and all interest by removing it from the automated data processing system when

       certifying to Texas for collections under 42 U.S.C. § 666(14) in a scheme

       calculated to deny Texas’s ability to request in sharing legitimate interest under

       Title IV-D’s enforcement and collection states cooperative program scheme) of 42

       U.S.C. § 654(21)(A) prohibited 12% compound interest on overdue support fraud,

       fraudulent liens in TEXAS on TEXAS properties consisting of 42 U.S.C. §

       654(21)(A) violative 12% COMPOUND INTEREST on overdue support, fraud,

       theft, and accounting fraud, respectfully requests judicial notice, in aid of the

       Court, of the TEXAS Appellant’s concurrent limited scope prosecution of the

       Appellees in the Rhode Island State Plan’s 42 U.S.C. § 654(1) political

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       subdivision, Rhode Island Judiciary limited jurisdiction family court, where certain

       symbiotic state judicial actors, such as state judge John McCann III, state judge

       Haiganush Bedrosian and state magistrate Susan Nahabedian, routinely establish

       and enforce under color of Rhode Island state law 12% compound interest on

       overdue support, upon information, since 1980, when the Rhode Island General

       Assembly enacted R.I. Gen. Laws § 15-5-16.5 on “support owing.” Appellant

       respectfully attached hereto this Notice the publication by Congress of 42 U.S.C. §

       654, Appellant’s motion to dismiss for lack of jurisdiction and close the case dated

       March 27, 2024; motions to compel compliance with subpoena filed on March 26,

       2024 and March 21, 2024 to compel enforcement of that family court’s properly

       issued subpoena for Appellant’s Title IV-D case records including records showing

       the Appellee-Rhode Island Office of Child Support Service’s accounting

       alterations and false support certifications to TEXAS involving any and all records

       as they relate to the removal of 12% compound interest in the amount of tens of

       thousands of dollars from the automated data processing system and putting the

       12% compound interest in the amount of tens of thousands of dollars back on the

       system whether it be for certification of a compliant approved State Plan to the

       UNITED STATES for claims under Title IV-D and Title IV-A programs funding

       under 42 U.S.C. §§ 654(7), 654(10), 654(14), 654(15), 654(16), 654a, 654b; or

       certified to financial institutions or property-holding entities for the purpose of


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       placing or perfecting liens on Appellant’s TEXAS properties, or certified to the

       State of TEXAS for enforcement against the Appellant (e.g., to TEXAS for

       cooperation under the State Plan Congressionally prescribed under 42 U.S.C. §666

       (14) certifying the accuracy and legal sufficiency of Rhode Island’s automated data

       processing system accounted amount) that must obviously exactly corroborate with

       the amounts directly represented to and demanded from the Appellant during the

       course of the Appellees’ support collection activities – Appellant prosecuted

       judicial compulsion of Rhode Island Appellees’ compliance with the subpoena and

       compliance with 42 U.S.C. §654b’s requirement to furnish the information upon

       the noncustodial parent’s information request by filing the motion to compel using

       the State’s electronic court filing system, Odyssey, and attached hereto under

       Exhibit A. This federal appellate Court is requested to scrutinize the attached

       Congressionally published Statutory Text as well as the Statutory Notes and

       Related Subsidiaries of all Congress’s Amendments, especially the 1996

       Amendments to 42 U.S.C. §654.

             As a threshold matter, Appellant respectfully requests Judicial Notice of

       the Explicit Preemptive Effect of 42 U.S.C. sec. 654 that Congress offered to

       Rhode Island under the Commerce Clause and the Spending Clause of the

       United States Constitution as a condition for receiving Federal Funds under the

       Title IV Programs.

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             A. The Statutory Text and Statutory Notes and Related Subsidiaries of
             Congress’s 1996 Amendment to 42 U.S.C. §654 Make Clear that Under
             the United States Constitution’s Commerce Clause, Congress
             conditioned State Participation in 42 U.S.C. §654 with State Acceptance
             of 42 U.S.C. §654 Preemption of State Laws and State Constitutions



             Appellant respectfully requests Judicial Notice of the attached 42 U.S.C. §

       654. The Statutory text, Statutory Notes and Related Subsidiaries of Congress’s

       1996 Amendment to 42 U.S.C. § 654 makes clear that Under the United States

       Constitution’s Commerce Clause, Congress conditioned State Participation in Title

       IV-D, as prescribed in 42 U.S.C. § 654, with State Acceptance of 42 U.S.C. § 654

       Preemption of State Laws and State Constitutions. Appellant requests Judicial

       Notice of the text under “Effective Date of 1996” that states as follows:

             “Effective Date of 1996

             "(a) In General.-Except as otherwise specifically provided (but subject to
       subsections (b) and (c))-
              "(1) the provisions of this title [see Tables for classification] requiring the
       enactment or amendment of State laws under section 466 of the Social Security
       Act [42 U.S.C. 666], or revision of State plans under section 454 of such Act
       [this section], shall be effective with respect to periods beginning on and after
       October 1, 1996; and
              "(2) all other provisions of this title shall become effective upon the date
       of the enactment of this Act [Aug. 22, 1996].
            "(b) Grace Period for State Law Changes.-The provisions of this title shall
       become effective with respect to a State on the later of-
             "(1) the date specified in this title, or


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            "(2) the effective date of laws enacted by the legislature of such State
       implementing such provisions,
              but in no event later than the 1st day of the 1st calendar quarter beginning
       after the close of the 1st regular session of the State legislature that begins after the
       date of the enactment of this Act [Aug. 22, 1996]. For purposes of the previous
       sentence, in the case of a State that has a 2-year legislative session, each year of
       such session shall be deemed to be a separate regular session of the State
       legislature.
             "(c) Grace Period for State Constitutional Amendment.-A State shall not
       be found out of compliance with any requirement enacted by this title if the State is
       unable to so comply without amending the State constitution until the earlier of-
            "(1) 1 year after the effective date of the necessary State constitutional
       amendment; or
                 "(2) 5 years after the date of the enactment of this Act [Aug. 22, 1996]."



                 Specific 1996 Amendments to 42 U.S.C. §654b and 42 U.S.C.

       §654(21)(A).

                 Appellant respectfully requests Judicial Notice of Congress’ specific 1996

       Amendments to 42 U.S.C. § 654b and 42 U.S.C. §654(21)(A):

                 “Amendment by section 312(a) of Pub. L. 104–193 effective Oct. 1, 1998,

       with limited exception for States which, as of Aug. 22, 1996, were processing

       the receipt of child support payments through local courts, see section 312(d)

       of Pub. L. 104–193, set out as an Effective Date note under section 654b of this

       title.”




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             Further the 1996 Amendments made changes to Par. (21)(A). Pub. L.

       104–193, §395(d)(1)(D), substituted "noncustodial parent" for "absent parent".

             Therefore, Congress makes it unequivocally clear that States are required as

       a condition of State participation, to change State Laws, and if necessary, amend

       State Constitutions, to comply with the 1996 Amendments to Title IV-D. See, e.g.,

       “b) Grace Period for State Law Changes. - The provisions of this title shall

       become effective with respect to a State on the later of the effective date of laws

       enacted by the legislature of such State implementing such provisions.”

             Therefore, in 1996, Congress made clear that States, such as Rhode Island,

       that fail to enact by the legislature of such States implementing provisions of Title

       IV-D, are no longer eligible to participate in Title IV-D, resulting in ineligibility to

       receive federal funding, as of 1996.

             Under 42 U.S.C. § 655(a)(4)(A) and 42 U.S.C. § 655(a)(5), by the text of the

       Title IV-D statute, the Appellant respectfully requests Judicial Notice that the

       legislature has prescribed penalties and that this penalty shall be enforced.

             Here, in the case of Rhode Island, noncompliance is through deliberate

       and willful fault of Rhode Island – Appellant respectfully requests Judicial

       Notice of One of the Reports entitled “TRAC Record” generated by Appellee

       Rhode Island Office of Child Support Services in Appellant’s case that


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       Appellant was denied under 42 U.S.C. § 654b(b)(4), but produced pursuant to

       Appellant’s Rhode Island Access to Public Records Act (APRA) showing an entry

       made on December 6, 2021 by Appellee Kevin Tighe, Deputy Legal Chief Counsel

       of Appellee Rhode Island Office of Child Support Services stating that “interest

       was removed from the system in 2018 when we sent to Texas when case was made

       IU” then blacked out REDACTION. Appellant is prosecuting Rhode Island in the

       state family court to produce the unredacted copy of the said public records that

       were produced pursuant to APRA regarding this entry “interest was removed from

       the system in 2018 when we sent to Texas when case was made IU.” See attached

       TRAC Records Exhibit C. As it turned out, the alleged interest amount is in the

       tens of thousands of dollars, for which the Appellees continue to refuse to furnish

       the complete accounting books of their offline manual accounting of how much

       was removed in 2018.

             The State Appellees’ removal of the interest from the automated data

       processing and information retrieval system is material to this matter as the

       evidence herein presented goes to show proof towards the willful and deliberate

       noncompliance by Rhode Island of Title IV-D. Congress made clear in its 1996

       Amendment of Title IV to require the implementation of an automated data

       processing and information retrieval system as a condition of eligibility because

       the legacy manual computation, collection and disbursement of child and spousal

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       support were fraught with inaccuracies, that essentially ran afoul of safeguards

       against false accounting and falsified records by unscrupulous persons like the

       Appellees. Congress made explicitly clear that accuracy was so central to the

       federal government’s involvement in Title IV-D that It enacted punitive penalties

       and fines under 42 U.S.C. § 655 for States’ noncompliance of 42 U.S.C. §§ 654,

       666.

              Therefore, the Appellees’ knowing removal of tens of thousands of dollars

       representing Rhode Island’s unlawful 12% compound interest prohibited under 42

       U.S.C. § 654(21)(A) “when sent to Texas” makes clear Appellees knew the 12%

       compound interest was fraudulent and unlawful, and sought to cover it up from

       TEXAS authorities through the manual removal of the entire interest amount

       (consisting of tens of thousands of dollars) from the automated data processing and

       information retrieval system that is prohibited by 42 U.S.C. §§ 651-669. The

       system is intended to certify the integrity and accuracy of the entire support

       amount in any given account.

              Therefore, it is clearly established that Rhode Island covers up its

       noncompliance and it is clearly established that Rhode Island’s noncompliance is

       willful and deliberate because Rhode Island knowingly failed to comply with

       numerous provisions of 42 U.S.C. § 654 as follows:



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                (1) Failed to enact State laws in 1996 implementing provisions clearly

                   prescribed in 42 U.S.C. § 654(21)(A) that makes clear that States may

                   opt to impose interest on overdue support, but no less than 3 percent and

                   no more than 6 percent; See attached Exhibit D. R.I. Gen. Law§15-5-

                   16.5 legislating 12% compound interest on overdue child and spousal

                   support that is explicitly prohibited by 42 U.S.C. § 654(21)(A) (and

                   contract to the selective violation of RIGL § 15-5-16.5 that Appellee-

                   Rhode Island Child Support Services official policy states to prohibit

                   charging interest on overdue support in interstate cases only. – See

                   Policy attached in Exhibit B)

                (2) Failed to enact State codes and procedures to comply with 42 U.S.C. §

                   654(21)(A) requirement “at the option of the State, impose a late

                   payment fee on all overdue support (as defined in section 666(e) of this

                   title) under any obligation being enforced under this part, in an amount

                   equal to a uniform percentage determined by the State (not less than

                   3 percent nor more than 6 percent) of the overdue support” that would

                   prohibit the State’s Title IV-D operational policy saying, “it is

                   desirable” to prohibit the State’s Office of Child Support Services

                   charging interest in interstate cases (implying in intrastate cases 12%

                   compound interest is routinely established and enforced by State policy


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                   in violation of the “not less than 3 percent nor more than 6 percent”

                   explicitly prescribed under 42 U.S.C. § 654(21)(A).

                (3) Failed to disclose by deliberate omission (by concealment) to the United

                   States when certifying to the United States Secretary of the Department

                   of Health and Human Services for federal reimbursement payment and

                   incentive payment funding under the Title IV Programs Part D, 42

                   U.S.C. §§ 651-669, and Part A, TANF.

                (4) Falsified accounting and falsified certifications sent to the United States

                   and other support enforcement cooperating States, like TEXAS, under,

                   inter alia, 42 U.S.C. §§ 651-669, through the State’s official Policy and

                   official Practice of creating multiple accounting records and books of

                   accounts for the same support case through the manual removal of the

                   Section 654(21)(A) noncompliant (and incriminating) 12% compound

                   interest amount from the automated data processing system consisting of

                   tens of thousands of dollars for example, and putting the removed

                   interest back on the system by manually issuing fraudulent (based on

                   illegal 12% compound interest) liens on properties, for example,

                   fraudulent liens on Texas properties in TEXAS that further violated

                   TEXAS PENAL and CIVIL CODES. See Appellee Rhode Island

                   Office of Child Support Services’s Official Policy that states, “It is


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                   desirable for RI OCSS to prohibit the charging of interest in

                   Interstate Cases.” The Policy goes on to state regarding operations of

                   the automated data processing system, “Entry of the N not only prohibits

                   the charging of future interest but automatically creates adjustments to

                   zero out any existing interest.” Additionally the Policy states, “Two

                   reports will be created. The first will detail the interstate cases for

                   which a support order….. for which one or more interest adjustment

                   were created.” In Exhibit B.

                (5) Concealment of the State’s noncompliance with 42 U.S.C. § 654(21)(A)

                   by Cover Up and by Fraud, through the routine practice of illegal

                   manual removal by Appellee Rhode Island Office of Child Support

                   Services of Rhode Island’s fraudulent and unlawful 12% compound

                   interest from the 42 U.S.C. § 654(24) mandated automated data

                   processing and information retrieval system mandated and legislated

                   under inter alia 42 U.S.C. § 654(24) and 42 U.S.C. §654a and 42

                   U.S.C. §654b to be accurate, thereby deliberately and willfully

                   violating, inter alia, 42 U.S.C. § 654b, 42 U.S.C. §654(20), 42 U.S.C.

                   §666(14), 42 U.S.C. §654(24) and Congressional Requirements for

                   accuracy of support calculations be performed by the automated

                   data processing system, from which information is retrieved for all


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                   support certifications sent to the United States and to cooperative

                   enforcement States like TEXAS for 42 U.S.C. § 654(21)(A) fund

                   sharing, Title IV-D Program federal fund reimbursements, and

                   Title IV-A TANF federal fund procurement.

                (6) The illegal manual removal of the unlawful 12% compound interest

                   from the automated data processing system is augmented by the illegal

                   manual inputting back on the system the illegal 12% compound interest

                   when Rhode Island generates fraudulent liens under the guise of support

                   collection for the unlawful 12% compound interest.

                (7) Operating a scheme of collecting unlawful 12% compound interest that

                   Rhode Island converts to unlawful State revenue because under 42

                   U.S.C. §§ 651-669 this “ordered” 12% compound interest is assigned by

                   the welfare recipient to the State, thus the 12% compound interest

                   represents a debt to the State owed by the noncustodial parent.

                (8) Appellee Cover up of the illegal scheme from unsuspecting noncustodial

                   parent victims like Appellant, by refusing or deny furnishing

                   noncustodial parents “information upon request, timely information on

                   the current status of support payments under an order requiring

                   payments to be made by or to the parent – the timely information

                   generated by the Appellee Rhode Island Office of Child Support


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                   Services must comply with 42 U.S.C. § 654b(b) Required procedures

                   mandating “The State disbursement unit shall use automated

                   procedures, electronic processes, and computer-driven technology to the

                   maximum extent feasible, efficient, and economical, for the collection

                   and disbursement of support payments, including procedures that

                   furnish noncustodial parents their case files upon request.

                (9) Appellee Rhode Island Office of Child Support Service’s unlawful

                   policy and practice of manually removing support amounts through

                   fraud from the automated data process system resulted in the generation

                   of fraudulent and false accounting and false ledgers published in

                   Appellant’s online child support account maintained by State Appellees

                   fraudulently showing “$0 payment” for Appellant’s large sum of

                   $104,185.98 payoff payment in full paid in Texas on December 7, 2021

                   – See screenshot taken of online account on December 3, 2022 that says

                   “$0.00” under Payments for December 2021, attached hereto as Exhibit

                   E.

                (10) Similarly, State Appellees concealed from through deceit that the

                   “$0.00” Under Interest Due on the Appellant’s online account shown on

                   December 6, 2021 was in part because State Appellees unlawfully took

                   interest off the automated data processing system and information


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                   retrieval system in 2018 when they sent the support to TEXAS – this

                   tampering with federal Title IV records in Appellant’s case file was

                   covered up by State Appellees. See Exhibit F, Screen shot of

                   Appellant’s online support account taken on December 6, 2021, which

                   shows $0.00 under Interest Due.

                (11) Appellee Rhode Island Office of Child Support Services Deputy

                   Chief Counsel Kevin Tighe further violated Appellant’s privacy

                   rights protected under 42 U.S.C. §654(26)(A) by discussing in detail

                   with Barbara Grady, Appellee Gero Meyersiek’s private attorney,

                   information and strategies regarding “taking interest off the

                   system” and “keeping interest off the system” as they relate to

                   support enforcement which is prohibited by the statutory text of 42

                   U.S.C. sec.,654(26)(A) mandating that the State Plan “have in effect

                   safeguards, applicable to all confidential information handled by the

                   State agency, that are designed to protect the privacy rights of the

                   parties, including-(A) safeguards against unauthorized use or

                   disclosure of information relating to proceedings or actions to

                   enforce support. – See Exhibit C, TRAC records for December 6,

                   2021 showing Kevin Tighe’s unauthorized disclosure to Barbara

                   Grady of enforcement information regarding taking interest off the


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                   system in 2018 when sending to Texas in in violation of Appellant’s

                   privacy rights protected by 42 U.S.C. sec. 654(26)(A). This

                   disclosure was calculated to scheme with Barbara Grady on how to

                   defraud the Appellant through “leaving the interest off the system”

                   so as to cover up from the Appellant the unenforceable 12%

                   compound interest rate as well as to deceive the Appellant through

                   inducement, to accept Appellee’s offer and to agree to pay off the

                   large lump sum principle amount by representing to the Appellant

                   that Appellee Gero Meyersiek waived interest if Appellant paid off

                   support in full in one lump sum $104,185.98.

                (12) In addition to Appellee Rhode Island Office of Child Support

                   Services, the State is culpable of a deliberate and willful failure to

                   comply with 42 U.S.C. §654(1) requiring “A State plan for child and

                   spousal support must-(1) provide that it shall be in effect in all

                   political subdivisions of the State:

                      a. Political subdivision limited jurisdiction Rhode Island state
                         family court judiciary and justices routinely establish and
                         enforce under color of state law and through fraud on the
                         court absent jurisdiction the unlawful 12% compound interest
                         in violation of 42 U.S.C. §654(21)(A)

                      b. Political subdivision Office of the Attorney General knowingly
                         aids and abets in and enforces the unlawful 12% compound
                         interest


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                     c. Political subdivision Rhode Island Executive Office of Health
                        and Human Services that has an annual budget of $3.42
                        Billion knowingly falsely certifies the State’s Title IV-D
                        compliance when it knows or should have known that Rhode
                        Island is not in compliance of multiple provisions of Title IV-
                        D, and participates in the consequentially unlawful collection
                        of reimbursement of federal funds and federal grant money
                        from the United States under Title IV-D Program.

                     d. Political subdivision Rhode Island Office of the Treasurer
                        knowingly falsely certifies the State’s Title IV-D compliance
                        when it knows or should have known that Rhode Island is not
                        in compliance of multiple provisions of Title IV-D, and
                        participates in the consequentially unlawful collection of
                        reimbursement of federal funds and federal grant money from
                        the United States under Title IV-D Program.

                     e. Political subdivision Rhode Island Office of the Governor
                        knowingly falsely certifies the State’s Title IV-D compliance
                        when it knows or should have known that Rhode Island is not
                        in compliance of multiple provisions of Title IV-D, and
                        participates in the consequentially unlawful collection of
                        reimbursement of federal funds and federal grant money from
                        the United States under Title IV-D Program.

                     f. Political subdivision Appropriations Committee knowingly
                        falsely certifies the State’s Title IV-D compliance when it
                        knows or should have known that Rhode Island is not in
                        compliance of multiple provisions of Title IV-D, and causes to
                        appropriate public funds in the consequentially unlawful State
                        financial participation of the noncompliant State Plan,
                        appropriating the State’s public funds to the illegal Title IV-D
                        operation that defrauds unsuspecting noncustodial parents
                        and spousal support obligors for 12% compound interest on
                        overdue support under color of state law.



            B. Hodel v. Virginia Surface Mining & Reclamation Assn., Inc. and
       Hodges v. Shalala, 121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th

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       Cir. 2002), cert. denied, 540 U.S. 811 (2003) - U.S. Supreme Court Affirms 42
       U.S.C. §654 Preemption over State Laws and State Constitutions under the
       United States Spending Clause and Commerce Clause
              Congress prescribed both civil and criminal penalties for violations of Title IV of

       the Social Security Act. Firstly, consistent with its Spending Power, Congress has the

       authority to attach conditions on the receipt of federal funds. See South Dakota v.

       Dole, 483 U.S. 203, 206 (1987). The Title IV-D statute expressly provides that

       compliance with the 3-6% simple interest on overdue support, operating the automated

       system for accuracy and SDU requirements is a condition of approval of a state plan. See

       42 U.S.C. §§ 654(10), (14), (15), (16), (20), (21)(A), (24), (27)A, § 654a, § 654b. The clear

       and unequivocal statement of the required conditions in the statute enabled Rhode

       Island to "exercise [her] choice knowingly, cognizant of the consequences of [her]

       participation." See Dole, 483 U.S. at 207 (citations omitted). The Supreme Court has

       recognized that Congress intended the linkages between child support programs and the

       TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484 (1990) (concluding

       Congress intended the two programs to "operate together closely.” The penalty

       provisions of the statute and the wording of the statute are plain. Where the Secretary

       determines that a state plan would be disapproved, and where the State has made and

       continues to make a good faith effort to comply and has submitted a corrective

       compliance plan, "the Secretary shall not disapprove the State plan . . . and the Secretary

       shall reduce the amount otherwise payable to the State [by the designated alternative

       penalty]." 42 U.S.C. § 655(a)(4)(A)(i)(II) (emphasis added). "[B]y the text of the statute,

       the legislature has prescribed that the Secretary shall enforce this penalty." Hodges v.

       Shalala, 121 F.2d at 879. Absent any discretion available to the Secretary to impose a



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       lesser penalty than the alternative penalty as outlined in the statute, Rhode Island is

       liable for the statutorily prescribed penalties.1

              Congress also enacted several criminal codes punishing actors, such as the

       Plaintiffs, who commit federal crimes, including cover up of unlawful activities.

              The federal government has a longstanding involvement in child support

       enforcement programs. See Hodges v. Shalala, 121 F.Supp.2d 854 (D.S.C. 2000),

       Hodges v. Shalala, 121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th

       Cir. 2002), cert. denied, 540 U.S. 811 (2003) As a condition of receipt of any federal

       funding under Title IV-D of the Social Security Act, 42 U.S.C. §§ 651-669, States must

       have an approved state plan for child and spousal support that meets all the

       requirements of 42 U.S.C. § 654. Among the prerequisites for approval of a Title IV-D

       Plan are the requirements under 42 U.S.C. sec. 654(21)(A) that the State, at the option

       of the State, impose a late payment fee (‘interest”) on all overdue support (as defined

       in section 666(e) of this title) under any obligation being enforced under this part, in an

       amount equal to a uniform percentage determined by the State (not less than 3 percent


       1
        In 2000, South Carolina unsuccessfully challenged the Department of Health and
       Human Services’ (HHS) authority to impose a penalty for its non-compliance, see
       Hodges v. Shalala, supra, and subsequently submitted a corrective-action plan and
       accepted imposition of a penalty retroactive to 1998. The State paid more than $55
       million in penalties through 2007. South Carolina paid $75 million as of 2009 and was
       set to pay another $10 million for 2010. South Carolina Dep’t of Social Servs., Response
       to Budget Proviso 13.27 at 4 (Aug. 31, 2007),
       http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
               Emphatically, note that South Carolina’s violations and penalties do not involve
       deliberate alterations of and tampering with government records involved in accounting
       fraud, knowingly inputting 42 USC 654(21)(A) violative 12% compound interest into the
       automated system, then manually removing or adjusting them for purposes of
       certification purposes to Texas and to the United States in order to conceal the 12%
       compound interest from the noncustodial parent and to Texas and Federal authorities.
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       nor more than 6 percent) of the overdue support, which shall be payable by the

       noncustodial parent owing the overdue support; establish and operate an automated

       data processing and information retrieval system, see 42 U.S.C. § 654(24), and a state

       child support disbursement unit (SDU), see 42 U.S.C. § 654(27)(A), among others

             While Rhode Island submits to the United States that it has a federally certifiable

       statewide automated data processing system for child support, Office of Child Support

       Services produced APRA Public Records consisting of Title IV Public Records showing

       Rhode Island taking off from the automated data processing system tens of thousands of

       dollars allegedly representing the 42 U.S.C. sec. 654(21)(A) prohibited 12% compound

       interest late payment fee “interest” prior to certifying to TEXAS and the United States,

       and showing Rhode Island falsely certified to the amount’s accuracy under 42 U.S.C.

       sec. 666(14) when in fact Rhode Island removed significant tens of thousands of dollars

       (See TRAC records in attached Exhibit).

             The Title IV-D statute expressly provides that compliance with ALL 42 U.S.C. 654

       requirements is a condition of approval of a state plan. See 42 U.S.C. § 654(16),

       (24)(27)A.

             Again, the clear and unequivocal statement of the required conditions in the

       statute enabled South Rhode Island to "exercise [her] choice knowingly, cognizant of the

       consequences of [her] participation." See Dole, 483 U.S. at 207 (citations omitted). The

       Supreme Court has recognized that Congress intended these linkages between child

       support programs and the TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484

       (1990) (concluding Congress intended the two programs to "operate together closely.”



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              Emphatically, Congress may use its Spending Power to influence a State’s

       legislative choices by providing incentives for States to adopt certain policies, but may

       not compel or coerce a State, or go so far as to "commandeer the legislative processes of

       the States by directly compelling them to enact and enforce a federal regulatory

       program." See New York v. United States, 505 U.S. at 161, but Congress, under the

       Commerce Clause, may offer the States a choice of regulation under federal

       control or preemption under federal regulation. See Hodel v. Virginia

       Surface Mining & Reclamation Assn., Inc., 452 U.S. 264, 288 (1981). It is crystal

       clear that upon Rhode Island’s State Plan entering into agreement with the United

       States under the Commerce Clause, Rhode Island accepted the agreement terms of

       regulation under federal control or preemption under federal regulation. See Hodel v.

       Virginia Surface Mining & Reclamation Assn., Inc., 452 U.S. 264, 288 (1981).

              See United States Congress’s publication of cited applicable federal law:
              https://uscode.house.gov/view.xhtml?hl=false&edition=prelim&req=granuleid%
       3AUSC-prelim-title42-
       section654&f=treesort&num=0&saved=%7CY29kZSBvZiBmZWRlcmFsIHJlZ3VsYXRp
       b25z%7CdHJlZXNvcnQ%3D%7C%7C1862%7Cfalse%7Cnull
              Appellant requests judicial Notice of attached Exhibit G. Hodges v.

       Shalala, 311 F.3d 316 (4th Cir. 2002)




             C. Rhode Island’s Defraud of TEXAS – Under 42 U.S.C. §654, “State
       may allow the jurisdiction which makes the collection involved to retain any
       application fee under paragraph (6)(B) or any late payment fee under
       paragraph (21)” and Rhode Island Removed Tens of Thousands of
       “paragraph (21)”



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             The last provision after Provision (34) of 42 U.S.C. sec. 654 states as
       follows:
       “The State may allow the jurisdiction which makes the collection involved to
       retain any application fee under paragraph (6)(B) or any late payment fee under
       paragraph (21). Nothing in paragraph (33) shall void any provision of any
       cooperative agreement entered into before August 22, 1996, nor shall such
       paragraph deprive any State of jurisdiction over Indian country (as so defined) that
       is lawfully exercised under section 1322 of title 25.”
        See link:
             https://uscode.house.gov/view.xhtml?hl=false&edition=prelim&req=gra
       nuleid%3AUSC-prelim-title42-
       section654&f=treesort&num=0&saved=%7CY29kZSBvZiBmZWRlcmFsIHJl
       Z3VsYXRpb25z%7CdHJlZXNvcnQ%3D%7C%7C1862%7Cfalse%7Cnull
             Appellee Rhode Island Office of Child Support Service’s routine practice of

       removal of tens of thousands of dollars of interest from the automated system

       before sending to other states like Texas in 2018 makes clear that the Appellees

       schemed to defraud TEXAS “who makes the collection to retain any late payment

       fee under paragraph (21)” – except TEXAS, a paragraph (21) compliant State that

       set 6% simple interest, would have known the 12% compound interest is unlawful

       and unenforceable in Texas.

             D. Rhode Island’s Defraud of the UNITED STATES in Scheme
       Involving Routine Removals of 42 U.S.C. §654(21)
             Appellant in good faith relies on the straightforward and clearly worded

       ruling of the United States Court of Appeals for the 4th Circuit in Hodges v.

       Shalala, 121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002),

       cert. denied, 540 U.S. 811 (2003), that makes clear Congress’s intent to prescribe


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       both civil and criminal penalties and fines for violations. Consistent with its

       Spending Power, Congress has the authority to attach conditions on the receipt of

       federal funds. See South Dakota v. Dole, 483 U.S. 203, 206 (1987). The Title IV-D

       statute expressly provides that compliance with the 3-6% simple interest on

       overdue support, operating the automated system for accuracy and SDU

       requirements are conditions of approval of a state plan. See 42 U.S.C. §§ 654(7),

       (10), (14), (15), (16), (21)(A), (24), (27)A, § 654a, § 654b. The clear and

       unequivocal statement of the required conditions in the statute enabled Rhode

       Island to "exercise [her] choice knowingly, cognizant of the consequences of [her]

       participation." See Dole, 483 U.S. at 207 (citations omitted). The Supreme Court

       has recognized that Congress intended the linkages between child support

       programs and the TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484 (1990)

       (concluding Congress intended the two programs to "operate together closely.”

       The penalty provisions of the statute and the wording of the statute are plain.

       Where the Secretary determines that a state plan would be disapproved, and where

       the State has made and continues to make a good faith effort to comply and has

       submitted a corrective compliance plan, "the Secretary shall not disapprove the

       State plan . . . and the Secretary shall reduce the amount otherwise payable to the

       State [by the designated alternative penalty]." 42 U.S.C. § 655(a)(4)(A)(i)(II)

       (emphasis added). "[B]y the text of the statute, the legislature has prescribed that


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       the Secretary shall enforce this penalty." Hodges v. Shalala, 121 F.2d at 879.

       Absent any discretion available to the Secretary to impose a lesser penalty than the

       alternative penalty as outlined in the statute, Rhode Island is liable for the

       statutorily prescribed penalties. 2 Congress also enacted several criminal codes

       punishing persons, whoever who act as agents, such as the Appellees, who commit

       federal crimes, including cover up of unlawful activities under federal criminal

       codes, e.g., see 8 U.S.C. § 666, 18 U.S.C. § 287 - making false, fictitious claims,

       18 U.S.C. § 371 - conspiracy to defraud the United States, 18 U.S.C. § 1001 -

       false documents or false statements to a federal agency, 18 U.S.C. § 1341 -

       mail fraud, 18 U.S.C. § 1343 - wire fraud, 31 U.S.C. § 3279 - federal civil false

       claims act et al. (a non-exhaustive list of Appellee-violated federal codes is

       invoked in the Conclusion Section of this Notice). Penalties and fines against the

       State for noncompliance (including due process violations provided in 42 U.S.C.


       2
        In 2000, South Carolina unsuccessfully challenged the Department of Health and
       Human Services’ (HHS) authority to impose a penalty for its non-compliance, see
       Hodges v. Shalala, supra, and subsequently submitted a corrective-action plan and
       accepted imposition of a penalty retroactive to 1998. The State paid more than $55
       million in penalties through 2007. South Carolina Dep’t of Social Servs., Response to
       Budget Proviso 13.27 at 4 (Aug. 31, 2007),
       http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
               Emphatically, note that South Carolina’s violations and penalties do not involve
       deliberate alterations of and tampering with government records involved in accounting
       fraud, knowingly inputting 42 USC 654(21)(A) violative 12% compound interest into the
       automated system, then manually removing or adjusting them for purposes of
       certification purposes to TEXAS and to the United States in order to conceal the
       unlawful 12% compound interest from the noncustodial parent and from TEXAS and
       Federal authorities in the false amounts certified to TEXAS and to the United States for
       incentive claims, cooperation claims and Title IV-D and Title IV-A funding claims.
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       §654(20) and corresponding §666) is explicit under federal codes Title IV-D, Title

       IV-A, and 18 U.S.C. § 666, and upheld.

                 Appellant attaches the 4th Circuit’s ruling (Hodges v. Shalala, 121 F. Supp.

       2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002), cert. denied, 540 U.S.

       811 (2003) herewith under Exhibit G.

             Appellant moreover in good faith relies on the straightforward and clearly

       worded Brief filed by the United States Department of Justice and Secretary of the

       United States Department of Health and Human Services in the seminal United

       States Supreme Court case Turner v. Rogers, 564 U.S. 431 (2011) that showed

       South Carolina (found by the 4th Circuit Court of Appeals) liable for $75 million in

       penalties for that state’s 42 U.S.C. § 654 violations that did not even involve, inter

       alia, fraud and tampering with the record or unlawful 12% compound interest put

       into, then taken off, then put back on, the automated data processing system as here

       in Rhode Island by the political subdivision Appellees. The TEXAS Appellant, the

       victim of fraud and organized fraud by Rhode Island’s political subdivisions under

       42 U.S.C. § 654(1), in good faith made known the above activities to “some

       judges” of “the United States” such as the judges sitting in the Court of Appeals for

       the First Circuit and other relevant federal authorities under 18 U.S.C. § 4.




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             Appellant attaches the aforesaid Brief filed in the U.S. Supreme Court by the

       United States in Turner v. Rogers, 564 U.S. 431 (2011) herewith under Exhibit H.

             Relying on the Turner v. Rogers United States Amicus Brief, it is crystal

       clear from Appellant’s making known, inter alia, to judges of the United

       States the routine false certifications to United States and other States under

       42 U.S.C. sec. 654, 655, 658a, 666 et al to defraud the federal Title IV Program

       funding of ineligible funds under Title IV-D and TANF, the defraud of

       noncustodial parents and grandparents through the 42 U.S.C. sec. 654 legal

       framework under color of state law, the defraud of State public funds of

       Rhode Island and of Texas to enforce fraudulent void and voidable support

       orders targeting noncustodial victims that established unlawful 12%

       compound interest on overdue support, and the defraud of cooperative States

       like Texas from sharing the “late fee” provided by 42 U.S.C. sec. 654 by

       Appellees’ removal of the interest amount from the automated system prior to

       certification to Texas for enforcement, Rhode Island has accrued billions of

       dollars in penalties and fines under both civil and criminal statutes, both

       federal and state.

             II.    STATE JUDICIARY’S VIOLATION OF GOVERNMENT
                    EDICTS DOCTRINE, CALCULATED FAILURE TO
                    INTEGRATE TITLE IV-D AGENCY ELECTRONIC FILING
                    SYSTEM WITH ODYSSEY MAKING THEIR FILINGS
                    INVISIBLE TO ALL E-COURT USERS OTHER THAN THE
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                    JUDGE AND THEMSELVES AND VIOLATION OF ACCESS
                    TO COURT INFORMATION OF PUBLIC TITLE IV-D
                    PROCEEDINGS IN RHODE ISLAND’S STATEWIDE
                    ELECTRONIC COURTS

            a. DENIAL OF PUBLIC AND PRO SE-LITIGANT ACCESS TO
       COURT INFORMATION INCLUDING JUDGE-CREATED LAWS BY 42
       USC 654(1) POLITICAL SUBDIVISION RHODE ISLAND JUDICIARY
             The Rhode Island Judiciary is a political subdivision of the State of Rhode

       Island under 42 USC 654(1). While publicizing during the implementation of the

       $6 million installation of Odyssey (the statewide electronic filing system) in 2014

       that the electronic courts will enable ALL court users to pull up court record

       information with ease from their phones, the Rhode Island Judiciary quietly

       implemented Rule 5 of the Rhode Island Rules and Practice denying the Public,

       pro-se litigants and all parties to a case in Rhode Island remote access to court

       record information including judge-created orders and laws, including their own.

       Through this deceit, the Rhode Island Judiciary lied to the Public, while denying

       access and thereby covering up the routine ordering of unenforceable body of

       judge-created laws ordering 12% compound interest in public cases and public

       hearings under 42 USC 654 in public Title IV-D cases, such as Appellant’s, by

       symbiotic pliant judges like Judge McCann and Magistrate Nahabedian. The

       denial of access to pro-se litigants of their own cases’ court records containing

       support orders violates, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16),

       (20), (21), (23), (24), (27), 666, 655, 658a. The denial of public access to public
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       court records documenting the routine systemic violations of 42 USC 654(21)(A)

       in electronic courts violates the First Amendment and the public’s right to know

       the law, even if these fraud on the court unenforceable judge-created laws are

       unenforceable in both Rhode Island and elsewhere Title IV Part D reaches. The

       denial of public access to judge-created laws that is also motivated by cover-up

       fundamentally violates the established Government Edicts Doctrine that the United

       States Supreme Court specifically held applies to electronic formats of government

       doctrines, such as judge-created laws in digital courts. See Georgia v. Public

       Resource.Org, Inc., No. 18-1150, 590 U.S. ___ (2020). The Appellant has been

       denied access by the political subdivision Rhode Island Judiciary to her court

       records and information regarding the orders in question that must be furnished

       pursuant to 42 USC 654b thus in violation of 42 USC 654. The Appellant has been

       denied access by the political subdivision Rhode Island Judiciary to unenforceable

       and impeachable judge-created fraud on the court void laws that routinely establish

       unenforceable 12% compound interest by certain symbiotic pliant judges, like

       Judge McCann and Magistrate Nahabedian, who work hand-in-hand with the

       Rhode Island Office of Child Support Services in Title IV-D cases, in violation of

       Appellant’s Due Process and Equal Protection rights to know the law to be

       meaningfully heard and right to meaningful access to justice – they are in violation




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       of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23),

       (24), (27), 666, 655, 658a.

             The family court held at the hearing in this matter scheduled on March 6,

       2023 that the Rhode Island Office of Child Support Services is ordered to show

       that the alleged arrears is accurate. See attached March 6, 2023 hearing transcript.

       Explicitly stated throughout 42 USC 654, “accuracy” requires no accounting

       alterations generated offline then unsubstantiated hard inputs into the automated

       system, no fraud, no inducements, no interstate extortion under color of state law,

       and for certain no 12% compound interest on overdue support.

           b. CALCULATED FAILURE BY THE JUDICIARY TO INTEGRATE
       THE TITLE IV-D AGENCIES’ ELECTRONIC FILING SYSTEM INTO
       ODYSSEY RESULTING IN AGENCY FILINGS BEING INVISIBLE TO
       ALL COURT USERS EXCEPT THE JUDGE AND THE AGENCIES
       THEMSELVES – COVER UP



             Because under the State’s Plan the Title IV-D agencies routinely file in the

       Rhode Island court system for the illegal enforcement of illegal 12% compound

       interest disallowed under 42 USC 654(21)(A), the political subdivision Rhode

       Island Judiciary deliberately failed to integrate the Title IV-D Agencies’ electronic

       filing system with the State’s electronic filing system Odyssey in order to make

       Title IV-D Agency electronic filings invisible to all court users except the judge

       and the agencies themselves, calculated to cover up the 12% compound interest
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       from audit by the federal authorities and from the Public. This came to light at the

       WebEx hearing in this Title IV-D matter before family court Judge Merola on June

       8, 2023 scheduled at 2PM, where Judge Merola, showing he was unaware of the

       failure of systems integration, questioned Appellee Paul Gould of Rhode Island

       Office of Child Support Services, why the Appellant is unable to see the agency’s

       electronic filings that the judge can see in the system. Without hesitation, Appellee

       Paul Gould explained that this is due to the electronic court implementation

       process that was supposed to integrate the agency’s legacy system to Odyssey,

       demonstrating conclusively that Gould, the Lead Counsel of the Rhode Island

       Office of Child Support Services responsible and overseeing agency court filings

       in all Title IV-D cases under the State Plan, undisputedly was in the know and part

       of the conspiracy involving the deliberate failure of filing system integration and

       its continuing perpetration in Title IV proceedings that made Title IV agencies’

       filings invisible as part of the cover up.

                 c. CRIMINAL VIOLATIONS REPORTED TO SOME JUDGE OF
                    THE UNITED STATES AND OTHER LISTED AUTHORITIES
                    UNDER 18 U.S.C. § 4

             The Appellant, in good faith and reliant on the plain language of 18 USC §

       4, misprision of felony, as well as the Brief filed in the United States Supreme

       Court by the United States of America in the Supreme Court case, Turner v.

       Rogers, 564 U.S. 431 (2011) that showed South Carolina (found by the 4th Circuit
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       Court of Appeals) liable for $88 million in penalties for that state’s 42 U.S.C. sec.

       654 violations that did not even involve, inter alia, fraud and tampering with the

       record or unlawful 12% compound interest put into then taken off then put back on

       the automated data processing system as here in Rhode Island, made known the

       above activities to “some judges” of “the United States” and other relevant federal

       authorities – counting among the United States judges Appellant made known

       publicly in the Amended Complaint filed in the United States District Court for the

       District of Rhode Island, Judge William E. Smith. The issue of what Judge Smith

       has done with the information “made known to him” is pending before the United

       States Court of Appeals for the First Circuit before a requested panel of judges

       under the federal appellate law of civil procedure in Appeal Case No. 23-1967.

       Therefore, under 18 U.S.C. Sec. 4, the above reported activities have been “made

       known” to several high ranking Judges of the United States, including the Judge in

       this case.

                     III.   VIOLATIONS OF FEDERAL CRIMINAL CODES

             Pending before the official Federal Court of Appeals proceeding, Appellant

       made known to the panel of judges of the United States allegations contained in the

       Amended Complaint filed in Federal Court of the commission of acts by the Rhode

       Island political subdivisions and employees thereof, Barbara Grady and Gero

       Meyersiek named herein in this motion, the afore-described acts violating 31
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       U.S.C. § 3279, 18 U.S.C. §2, 18 U.S.C. §3, 18 U.S.C. §13, 18 U.S.C. §21, 18

       U.S.C. §35, 18 U.S.C. §285, 18 U.S.C. §286, 18 U.S.C. §287, 18 U.S.C. § 2071(a),

       18 U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C. § 241, 18

       U.S.C. § 242, 18 U.S.C. § 1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18

       U.S.C. §1343, 18 U.S.C. § 201, 18 U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285,

       18 U.S.C. §1506, 18 U.S.C. § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C.

       §1002, 18 U.S.C. §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C. §1346, 18

       U.S.C. §1349, 18 U.S.C. §1510, 18 U.S.C. §1513, RICO: 18 U.S.C. §1961, 18

       U.S.C. §1962, 18 U.S.C. §1963, 18 U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C.

       §1968 – such violative acts by the Appellees in this matter, and/or Judge Smith on

       this list are not exhaustive. It is undisputable, among others, that Title IV-D

       penalties were incurred by, Criminal penalties were incurred by, and Title IV-D

       and Title IV-A disgorgement is due from the applicable State of Rhode Island’s

       political subdivisions.

                                          IV. NO IMMUNITY

             On February 6, 2024 in case No. 23-3228 in UNITED STATES OF

       AMERICA v. DONALD J. TRUMP, DC Circuit, the DC Circuit United States

       Court of Appeals reminds the Public and all applicable tribunals that Judges are

       similarly liable to the criminal laws for their official acts. A notable example is Ex

       parte Commonwealth of Virginia, in which the Supreme Court affirmed the
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       criminal indictment of a judge based on an official act. 100 U.S. 339 (1879). A

       county judge was indicted in federal court for violating a federal statute that

       prohibited discriminating on the basis of race in jury selection. Id. at 340, 344. The

       Supreme Court began by observing the principle that officers are bound to follow

       the law: “We do not perceive how holding an office under a State, and claiming to

       act for the State, can relieve the holder from obligation to obey the Constitution of

       the United States, or take away the power of Congress to punish his

       disobedience.” Id. at 348. The Court then addressed the judge’s argument that the

       Court lacked the authority to punish a state judge for “his official acts.” Id. Its

       response was twofold. First, the Court described juror selection as “merely a

       ministerial act, as much so as the act of a sheriff holding an execution, in

       determining upon what piece of property he will make a levy, or the act of a

       roadmaster in selecting laborers to work upon the roads.” Id. The Court then

       explained that even if juror selection is considered a “judicial act,” the judge had a

       legal duty to obey the criminal laws:

             “But if the selection of jurors could be considered
             in any case a judicial act, can the act charged
             against the petitioner be considered such when
             he acted outside of his authority and in direct
             violation of the spirit of the State statute? That
             statute gave him no authority, when selecting

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             jurors, from whom a panel might be drawn for
             a circuit court, to exclude all colored men
             merely because they were colored. Such an
             exclusion was not left within the limits of his
             discretion. It is idle, therefore, to say that the
             act of Congress is unconstitutional because it
             inflicts penalties upon State judges for their
             judicial action. It does no such thing.


             Id. at 348–49 (emphasis added). The Court’s reference to “the State statute”

       is to the Virginia law charging the county judge with the duty to select jurors in the

       circuit and county courts. Ex parte Virginia, 100 U.S. at 340.

             More recent case law on the judicial immunity doctrine affirms that judges

       are not immune from criminal liability for their official acts. O’Shea v. Littleton

       confirmed the holding of Ex parte Virginia in dismissing a civil rights action for

       equitable relief brought against a county magistrate and associate judge of a county

       circuit. 414 U.S. 488, 490–91, 503 (1974). The Supreme Court concluded that the

       requested injunction was not the only available remedy because both judges

       remained answerable to the federal criminal laws:

             [W]e have never held that the performance of
             the duties of judicial, legislative, or executive
             officers, requires or contemplates the
             immunization of otherwise criminal deprivation
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             of constitutional rights. On the contrary, the
             judicially fashioned doctrine of official
             immunity does not reach ‘so far as to immunize
             criminal conduct proscribed by an Act of
             Congress . . . .’


             Id. at 503 (citation to Ex parte Virginia, 100 U.S. 339, omitted; quoting

       Gravel, 408 U.S. at 627). Similarly, in Dennis v. Sparks, the Court affirmed

       judicial immunity from civil money damages in the context of bribery allegations

       but explained that judges “are subject to criminal prosecutions as are other

       citizens.” 449 U.S. at 31. Crucially, the judge in Dennis retained civil immunity

       because “the challenged conduct” — allegedly issuing an injunction corruptly after

       accepting bribes as part of a conspiracy — was “an official judicial act within his

       statutory jurisdiction, broadly construed.” Id. at 29. The scope of civil judicial

       immunity thus aligns with civil Presidential immunity under Fitzgerald, but a

       judge has no criminal immunity for the same “official act.” See also Imbler v.

       Pachtman, 424 U.S. 409, 429 (1976) (“Even judges, cloaked with absolute civil

       immunity for centuries, could be punished criminally for willful deprivations of

       constitutional rights . . . .”); United States v. Gillock, 445 U.S. 360, 372 (1980)

       (“[T]he cases in this Court which have recognized an immunity from civil suit for

       state officials have presumed the existence of federal criminal liability as a

       restraining factor on the conduct of state officials.”).
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             When considering the criminal prosecutions of judges, other circuits have

       repeatedly rejected judicial criminal immunity for official acts, largely in the

       context of bribery prosecutions. See United States v. Claiborne, 727 F.2d 842, 845

       (9th Cir.) (per curiam), cert. denied, 469 U.S. 829 (1984); United States v.

       Hastings, 681 F.2d 706, 709–11 (11th Cir. 1982), cert. denied, 459 U.S. 1203

       (1983); United States v. Isaacs, 493 F.2d 1124, 1143–44 (7th Cir.) (per curiam),

       cert. denied, 417 U.S. 976 (1974), overruled on other grounds by United States v.

       Gimbel, 830 F.2d 621 (7th Cir. 1987).

             The political subdivisions of Rhode Island under 42 USC 654(1) similarly

       are not immune, and employees of the political subdivisions of Rhode Island under

       42 USC § 654(1) similarly are not immune. Barbara Grady and Gero Meyersiek

       are undisputedly liable.




             IV.    LACK OF JURISDICTION – APPELLEE 42 U.S.C. § 654(1)
                    STATE PLAN POLITICAL SUBDIVISION RHODE ISLAND
                    JUDICIARY’S LIMITED JURISDICTION FAMILY COURT
                    (CREATED UNDER RIGL 8-6-3) LACKS JURISDICTION

                    A. RI’S 42 USC 654(1) POLITICAL SUBDIVISION
                       JUDICIARY LACKS JURISDICTION TO ESTABLISH OR
                       ENFORCE 42 USC § 654(21)(A) VIOLATIVE 12%
                       COMPOUND INTEREST ON OVERDUE SUPPORT –
                       DOING SO INCURS PENALTY UNDER 42 USC 654(24)
                       AND REINFORCES ITS STATE PLAN’S INELIGIBILITY
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                       FOR FEDERAL FUNDING UNDER BOTH TITLE IV-D
                       AND TITLE IV-A, WARRANTING DISGORGEMENT OF
                       TANF AND TITLE IV-D FUNDING – SEE HODGES v.
                       SHALALA

                       The statutory provision of 42 U.S.C. 654(21)(A) makes it

                       explicitly clear that Title IV-D and Title IV-A participating 42

                       USC 654(1) state political subdivisions, such as the political

                       subdivision Rhode Island Judiciary, lack the authority to establish

                       12% compound interest.



                       To do so “routinely” simply incurs more penalties, more fines

                       constituting more false claim consequences, and imprisonment of

                       the culpable persons and agents.



                    B. RI’s 42 USC 654(1) POLITICAL SUBDIVISION
                       JUDICIARY’S LIMITED JURISDICTION FAMILY COURT
                       (See RIGL 8-6-3) LACKS JURISDICTION OVER
                       QUESTIONS AND MATTERS OF FEDERAL CRIMINAL
                       VIOLATIONS BY RHODE ISLAND SDU OF ROUTINE
                       RECORD TAMPERING WITH 42 U.S.C. 654a
                       AUTOMATED DATA PROCESSING SYSTEM
                       COMMITTING ACCOUNTING FRAUD (e.g., REMOVAL
                       OF UNLAWFUL 12% COMPOUND INTEREST IN ORDER
                       TO CONCEAL IT WHEN CERTIFYING TO OTHER
                       STATE AUTHORITIES AND FEDERAL AUTHORITIES)
                       AND THE CRIMINAL CERTIFICATION OF
                       FRAUDULENT ACCOUNTS THAT CONTAIN
                       MANUALLY REMOVED UNLAWFUL FRAUDULENT 12%


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                       COMPOUND INTEREST (UNDER COLOR OF RI’S
                       PREEMPTED STATE LAW) FROM THE SYSTEM

                       Title IV-D 42 USC 651-669, 31 U.S.C. § 3279, 18 U.S.C. §2, 18

                             U.S.C. §3, 18 U.S.C. §13, 18 U.S.C. §21, 18 U.S.C. §35, 18

                             U.S.C. §285, 18 U.S.C. §286, 18 U.S.C. §287, 18 U.S.C. §

                             2071(a), 18 U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18

                             U.S.C. § 371, 18 U.S.C. § 241, 18 U.S.C. § 242, 18 U.S.C. §

                             1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18

                             U.S.C. §1343, 18 U.S.C. § 201, 18 U.S.C. §205, 18 U.S.C.

                             §225, 18 U.S.C. §285, 18 U.S.C. §1506, 18 U.S.C. § 1512,

                             18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C. §1002, 18

                             U.S.C. §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C.

                             §1346, 18 U.S.C. §1349, 18 U.S.C. §1510, 18 U.S.C. §1513,

                             RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C.

                             §1963, 18 U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968

                             also make clear that the State Plan’s 42 USC 654(1) political

                             subdivision limited jurisdiction Rhode Island family court

                             lacks jurisdiction over FEDERAL CRIMINAL

                             VIOLATIONS BY RHODE ISLAND SDU OF ROUTINE

                             RECORD TAMPERING WITH 42 U.S.C. 654a

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                             COMMITTING ACCOUNTING FRAUD (e.g.,

                             REMOVAL OF UNLAWFUL 12% COMPOUND

                             INTEREST IN ORDER TO CONCEAL IT WHEN

                             CERTIFYING TO OTHER STATE AUTHORITIES AND

                             FEDERAL AUTHORITIES) AND THE CRIMINAL

                             CERTIFICATION OF FRAUDULENT ACCOUNTS

                             THAT CONTAIN MANUALLY REMOVED

                             UNLAWFUL FRAUDULENT 12% COMPOUND

                             INTEREST (UNDER COLOR OF RI’S PREEMPTED

                             STATE LAW) FROM THE SYSTEM. Appellant attaches

                             herewith in Exhibit I. Rhode Island Gen. Laws Sec. 8-10-3

                             that makes clear family court is a court of limited

                             jurisdiction that lacks jurisdiction over the Appellees’

                             criminal violations.


                    C. RI’s 42 USC 654(1) POLITICAL SUBDIVISION
                       JUDICIARY’S LIMITED JURISDICTION FAMILY COURT
                       (See RIGL 8-6-3) LACKS JURISDICTION OVER FEDERAL
                       CRIMINAL VIOLATIONS COMMITTED BY ITSELF
                       INVOLVING CERTAIN SYMBIOTIC RHODE ISLAND
                       FAMILY COURT JUSTICES, SUCH AS JUDGE JOHN
                       McCANN AND MAGISTRATE SUSAN NAHABEDIAN,
                       WHO KNOWINGLY AND ROUTINELY FRAUDULENTLY
                       ESTABLISH AND ENFORCE UNLAWFUL 12%
                       COMPOUND INTEREST TARGETING UNSUSPECTING
                       NONCUSTODIAL PARENT VICTIMS
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                       Title IV-D 42 USC 651-669, 31 U.S.C. § 3279, 18 U.S.C. §2, 18

                       U.S.C. §3, 18 U.S.C. §13, 18 U.S.C. §21, 18 U.S.C. §35, 18 U.S.C.

                       §285, 18 U.S.C. §286, 18 U.S.C. §287, 18 U.S.C. § 2071(a), 18

                       U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C.

                       § 241, 18 U.S.C. § 242, 18 U.S.C. § 1519, 18 U.S.C. §666, 18

                       U.S.C. §641, Wire Fraud 18 U.S.C. §1343, 18 U.S.C. § 201, 18

                       U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285, 18 U.S.C. §1506,

                       18 U.S.C. § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C.

                       §1002, 18 U.S.C. §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18

                       U.S.C. §1346, 18 U.S.C. §1349, 18 U.S.C. §1510, 18 U.S.C.

                       §1513, RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C.

                       §1963, 18 U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968 also

                       make clear that the State Plan’s 42 USC 654(1) political

                       subdivision Rhode Island family court lacks jurisdiction over

                       FEDERAL CRIMINAL VIOLATIONS COMMITTED BY

                       ITSELF INVOLVING CERTAIN SYMBIOTIC RHODE

                       ISLAND FAMILY COURT JUSTICES, SUCH AS JUDGE

                       JOHN McCANN AND MAGISTRATE SUSAN NAHABEDIAN,

                       WHO KNOWINGLY AND ROUTINELY FRAUDULENTLY

                       ESTABLISH AND ENFORCE UNLAWFUL 12% COMPOUND
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                       INTEREST TARGETING UNSUSPECTING NONCUSTODIAL

                       PARENT VICTIMS.




                                           CONCLUSION

             WHEREFORE, this Court should hold Oral Arguments regarding the

       Federal Questions and serious criminal matters raised herein. This Court should

       reverse the district court’s judgement and remand for further proceedings.

       Appellant requests Oral Argument on all issues raised herein before the Court.

       Appellant requests any and all Relief deemed just.

                                       Respectfully submitted,
                                       Mary Seguin
                                       Pro Se
                                       /s/____________________
                                       Email: maryseguin22022@gmail.com
                                       Phone: (281)744-2016
                                       P.O. Box 22022
                                       Houston, TX 77019

                                       Dated: March 29, 2024




                                CERTIFICATE OF SERVICE



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             This is to certify that the foregoing instrument has been served via the
       Court’s ECF filing system on March 29, 2024, on all registered counsel of record,
       and has been transmitted to the Clerk of the Court.

                                                    Mary Seguin
                                                    Pro Se
                                                    /s/____________________
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             42 USC 654: State plan for child and spousal support
             Text contains those laws in effect on March 25, 2024

             From Title 42-THE PUBLIC HEALTH AND WELFARE
                 CHAPTER 7-SOCIAL SECURITY
                 SUBCHAPTER IV-GRANTS TO STATES FOR AID AND SERVICES TO NEEDY FAMILIES WITH
                 CHILDREN AND FOR CHILD-WELFARE SERVICES
                 Part D-Child Support and Establishment of Paternity
             Jump To:
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                 Miscellaneous
                 References In Text
                 Codification
                 Amendments
                 Effective Date




           §654. State plan for child and spousal support
             A State plan for child and spousal support must-
               (1) provide that it shall be in effect in all political subdivisions of the State;
               (2) provide for financial participation by the State;
               (3) provide for the establishment or designation of a single and separate organizational unit, which
             meets such staffing and organizational requirements as the Secretary may by regulation prescribe, within
             the State to administer the plan;
               (4) provide that the State will-
                 (A) provide services relating to the establishment of paternity or the establishment, modification, or
               enforcement of child support obligations, as appropriate, under the plan with respect to-
                     (i) each child for whom (I) assistance is provided under the State program funded under part A of
                 this subchapter, (II) benefits or services for foster care maintenance are provided under the State
                 program funded under part E of this subchapter, (III) medical assistance is provided under the State
                 plan approved under subchapter XIX, or (IV) cooperation is required pursuant to section 2015(l)(1) of
                 title 7, unless, in accordance with paragraph (29), good cause or other exceptions exist;
                     (ii) any other child, if an individual applies for such services with respect to the child (except that, if
                 the individual applying for the services resides in a foreign reciprocating country or foreign treaty
                 country, the State may opt to require the individual to request the services through the Central
                 Authority for child support enforcement in the foreign reciprocating country or the foreign treaty
                 country, and if the individual resides in a foreign country that is not a foreign reciprocating country or
                 a foreign treaty country, a State may accept or reject the application); and

                   (B) enforce any support obligation established with respect to-
                     (i) a child with respect to whom the State provides services under the plan; or
                     (ii) the custodial parent of such a child;

                (5) provide that (A) in any case in which support payments are collected for an individual with respect
             to whom an assignment pursuant to section 608(a)(3) of this title is effective, such payments shall be
             made to the State for distribution pursuant to section 657 of this title and shall not be paid directly to the
             family, and the individual will be notified on a monthly basis (or on a quarterly basis for so long as the
             Secretary determines with respect to a State that requiring such notice on a monthly basis would impose
             an unreasonable administrative burden) of the amount of the support payments collected, and (B) in any
             case in which support payments are collected for an individual pursuant to the assignment made under
             section 1396k of this title, such payments shall be made to the State for distribution pursuant to section
             1396k of this title, except that this clause shall not apply to such payments for any month after the month

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             in which the individual ceases to be eligible for medical assistance;
                (6) provide that-
                   (A) services under the plan shall be made available to residents of other States on the same terms
                as to residents of the State submitting the plan;
                   (B)(i) an application fee for furnishing such services shall be imposed on an individual, other than an
                individual receiving assistance under a State program funded under part A or E, or under a State plan
                approved under subchapter XIX, or who is required by the State to cooperate with the State agency
                administering the program under this part pursuant to subsection (l) or (m) of section 2015 of title 7,
                and shall be paid by the individual applying for such services, or recovered from the absent parent, or
                paid by the State out of its own funds (the payment of which from State funds shall not be considered
                as an administrative cost of the State for the operation of the plan, and shall be considered income to
                the program), the amount of which (I) will not exceed $25 (or such higher or lower amount (which shall
                be uniform for all States) as the Secretary may determine to be appropriate for any fiscal year to reflect
                increases or decreases in administrative costs), and (II) may vary among such individuals on the basis
                of ability to pay (as determined by the State); and
                   (ii) in the case of an individual who has never received assistance under a State program funded
                under part A and for whom the State has collected at least $550 of support, the State shall impose an
                annual fee of $35 for each case in which services are furnished, which shall be retained by the State
                from support collected on behalf of the individual (but not from the first $550 so collected), paid by the
                individual applying for the services, recovered from the absent parent, or paid by the State out of its
                own funds (the payment of which from State funds shall not be considered as an administrative cost of
                the State for the operation of the plan, and the fees shall be considered income to the program);
                   (C) a fee of not more than $25 may be imposed in any case where the State requests the Secretary
                of the Treasury to withhold past-due support owed to or on behalf of such individual from a tax refund
                pursuant to section 664(a)(2) of this title;
                   (D) a fee (in accordance with regulations of the Secretary) for performing genetic tests may be
                imposed on any individual who is not a recipient of assistance under a State program funded under
                part A; and
                   (E) any costs in excess of the fees so imposed may be collected-
                       (i) from the parent who owes the child or spousal support obligation involved; or
                       (ii) at the option of the State, from the individual to whom such services are made available, but
                   only if such State has in effect a procedure whereby all persons in such State having authority to
                   order child or spousal support are informed that such costs are to be collected from the individual to
                   whom such services were made available;

                 (7) provide for entering into cooperative arrangements with appropriate courts and law enforcement
             officials and Indian tribes or tribal organizations (as defined in subsections (e) and (l) of section 5304 of
             title 25) (A) to assist the agency administering the plan, including the entering into of financial
             arrangements with such courts and officials in order to assure optimum results under such program, and
             (B) with respect to any other matters of common concern to such courts or officials and the agency
             administering the plan;
                 (8) provide that, for the purpose of establishing parentage, establishing, setting the amount of,
             modifying, or enforcing child support obligations, or making or enforcing a child custody or visitation
             determination, as defined in section 663(d)(1) of this title the agency administering the plan will establish
             a service to locate parents utilizing-
                   (A) all sources of information and available records; and
                   (B) the Federal Parent Locator Service established under section 653 of this title,

             and shall, subject to the privacy safeguards required under paragraph (26), disclose only the information
             described in sections 653 and 663 of this title to the authorized persons specified in such sections for the
             purposes specified in such sections;
               (9) provide that the State will, in accordance with standards prescribed by the Secretary, cooperate
             with any other State-
                  (A) in establishing paternity, if necessary;
                  (B) in locating a noncustodial parent residing in the State (whether or not permanently) against
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                whom any action is being taken under a program established under a plan approved under this part in
                another State;
                   (C) in securing compliance by a noncustodial parent residing in such State (whether or not
                permanently) with an order issued by a court of competent jurisdiction against such parent for the
                support and maintenance of the child or children or the parent of such child or children with respect to
                whom aid is being provided under the plan of such other State;
                   (D) in carrying out other functions required under a plan approved under this part; and
                   (E) not later than March 1, 1997, in using the forms promulgated pursuant to section 652(a)(11) of
                this title for income withholding, imposition of liens, and issuance of administrative subpoenas in
                interstate child support cases;

                 (10) provide that the State will maintain a full record of collections and disbursements made under the
             plan and have an adequate reporting system;
                 (11)(A) provide that amounts collected as support shall be distributed as provided in section 657 of this
             title; and
                 (B) provide that any payment required to be made under section 656 or 657 of this title to a family shall
             be made to the resident parent, legal guardian, or caretaker relative having custody of or responsibility for
             the child or children;
                 (12) provide for the establishment of procedures to require the State to provide individuals who are
             applying for or receiving services under the State plan, or who are parties to cases in which services are
             being provided under the State plan-
                    (A) with notice of all proceedings in which support obligations might be established or modified; and
                    (B) with a copy of any order establishing or modifying a child support obligation, or (in the case of a
                 petition for modification) a notice of determination that there should be no change in the amount of the
                 child support award, within 14 days after issuance of such order or determination;

                (13) provide that the State will comply with such other requirements and standards as the Secretary
             determines to be necessary to the establishment of an effective program for locating noncustodial
             parents, establishing paternity, obtaining support orders, and collecting support payments and provide
             that information requests by parents who are residents of other States be treated with the same priority
             as requests by parents who are residents of the State submitting the plan;
                (14)(A) comply with such bonding requirements, for employees who receive, disburse, handle, or have
             access to, cash, as the Secretary shall by regulations prescribe;
                (B) maintain methods of administration which are designed to assure that persons responsible for
             handling cash receipts shall not participate in accounting or operating functions which would permit them
             to conceal in the accounting records the misuse of cash receipts (except that the Secretary shall by
             regulations provide for exceptions to this requirement in the case of sparsely populated areas where the
             hiring of unreasonable additional staff would otherwise be necessary);
                (15) provide for-
                    (A) a process for annual reviews of and reports to the Secretary on the State program operated
                under the State plan approved under this part, including such information as may be necessary to
                measure State compliance with Federal requirements for expedited procedures, using such standards
                and procedures as are required by the Secretary, under which the State agency will determine the
                extent to which the program is operated in compliance with this part; and
                    (B) a process of extracting from the automated data processing system required by paragraph (16)
                and transmitting to the Secretary data and calculations concerning the levels of accomplishment (and
                rates of improvement) with respect to applicable performance indicators (including paternity
                establishment percentages) to the extent necessary for purposes of sections 652(g) and 658a of this
                title;

               (16) provide for the establishment and operation by the State agency, in accordance with an (initial and
             annually updated) advance automated data processing planning document approved under section
             652(d) of this title, of a statewide automated data processing and information retrieval system meeting
             the requirements of section 654a of this title designed effectively and efficiently to assist management in

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             the administration of the State plan, so as to control, account for, and monitor all the factors in the
             support enforcement collection and paternity determination process under such plan;
                 (17) provide that the State will have in effect an agreement with the Secretary entered into pursuant to
             section 663 of this title for the use of the Parent Locator Service established under section 653 of this
             title, and provide that the State will accept and transmit to the Secretary requests for information
             authorized under the provisions of the agreement to be furnished by such Service to authorized persons,
             will impose and collect (in accordance with regulations of the Secretary) a fee sufficient to cover the costs
             to the State and to the Secretary incurred by reason of such requests, will transmit to the Secretary from
             time to time (in accordance with such regulations) so much of the fees collected as are attributable to
             such costs to the Secretary so incurred, and during the period that such agreement is in effect will
             otherwise comply with such agreement and regulations of the Secretary with respect thereto;
                 (18) provide that the State has in effect procedures necessary to obtain payment of past-due support
             from overpayments made to the Secretary of the Treasury as set forth in section 664 of this title, and take
             all steps necessary to implement and utilize such procedures;
                 (19) provide that the agency administering the plan-
                    (A) shall determine on a periodic basis, from information supplied pursuant to section 508 of the
                 Unemployment Compensation Amendments of 1976, whether any individuals receiving compensation
                 under the State's unemployment compensation law (including amounts payable pursuant to any
                 agreement under any Federal unemployment compensation law) owe child support obligations which
                 are being enforced by such agency; and
                    (B) shall enforce any such child support obligations which are owed by such an individual but are not
                 being met-
                       (i) through an agreement with such individual to have specified amounts withheld from
                    compensation otherwise payable to such individual and by submitting a copy of any such agreement
                    to the State agency administering the unemployment compensation law; or
                       (ii) in the absence of such an agreement, by bringing legal process (as defined in section 659(i)(5)
                    of this title) to require the withholding of amounts from such compensation;

                 (20) provide, to the extent required by section 666 of this title, that the State (A) shall have in effect all
             of the laws to improve child support enforcement effectiveness which are referred to in that section, and
             (B) shall implement the procedures which are prescribed in or pursuant to such laws;
                 (21)(A) at the option of the State, impose a late payment fee on all overdue support (as defined in
             section 666(e) of this title) under any obligation being enforced under this part, in an amount equal to a
             uniform percentage determined by the State (not less than 3 percent nor more than 6 percent) of the
             overdue support, which shall be payable by the noncustodial parent owing the overdue support; and
                 (B) assure that the fee will be collected in addition to, and only after full payment of, the overdue
             support, and that the imposition of the late payment fee shall not directly or indirectly result in a decrease
             in the amount of the support which is paid to the child (or spouse) to whom, or on whose behalf, it is
             owed;
                 (22) in order for the State to be eligible to receive any incentive payments under section 658a of this
             title, provide that, if one or more political subdivisions of the State participate in the costs of carrying out
             activities under the State plan during any period, each such subdivision shall be entitled to receive an
             appropriate share (as determined by the State) of any such incentive payments made to the State for
             such period, taking into account the efficiency and effectiveness of the activities carried out under the
             State plan by such political subdivision;
                 (23) provide that the State will regularly and frequently publicize, through public service
             announcements, the availability of child support enforcement services under the plan and otherwise,
             including information as to any application fees for such services and a telephone number or postal
             address at which further information may be obtained and will publicize the availability and encourage the
             use of procedures for voluntary establishment of paternity and child support by means the State deems
             appropriate;
                 (24) provide that the State will have in effect an automated data processing and information retrieval
             system-
                    (A) by October 1, 1997, which meets all requirements of this part which were enacted on or before
                 October 13, 1988; and

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                  (B) by October 1, 2000, which meets all requirements of this part enacted on or before August 22,
                1996, except that such deadline shall be extended by 1 day for each day (if any) by which the
                Secretary fails to meet the deadline imposed by section 344(a)(3) of the Personal Responsibility and
                Work Opportunity Reconciliation Act of 1996;

               (25) provide that if a family with respect to which services are provided under the plan ceases to
             receive assistance under the State program funded under part A, the State shall provide appropriate
             notice to the family and continue to provide such services, subject to the same conditions and on the
             same basis as in the case of other individuals to whom services are furnished under the plan, except that
             an application or other request to continue services shall not be required of such a family and paragraph
             (6)(B) shall not apply to the family;
               (26) have in effect safeguards, applicable to all confidential information handled by the State agency,
             that are designed to protect the privacy rights of the parties, including-
                  (A) safeguards against unauthorized use or disclosure of information relating to proceedings or
               actions to establish paternity, or to establish, modify, or enforce support, or to make or enforce a child
               custody determination;
                  (B) prohibitions against the release of information on the whereabouts of 1 party or the child to
               another party against whom a protective order with respect to the former party or the child has been
               entered;
                  (C) prohibitions against the release of information on the whereabouts of 1 party or the child to
               another person if the State has reason to believe that the release of the information to that person may
               result in physical or emotional harm to the party or the child;
                  (D) in cases in which the prohibitions under subparagraphs (B) and (C) apply, the requirement to
               notify the Secretary, for purposes of section 653(b)(2) of this title, that the State has reasonable
               evidence of domestic violence or child abuse against a party or the child and that the disclosure of
               such information could be harmful to the party or the child; and
                  (E) procedures providing that when the Secretary discloses information about a parent or child to a
               State court or an agent of a State court described in section 653(c)(2) or 663(d)(2)(B) of this title, and
               advises that court or agent that the Secretary has been notified that there is reasonable evidence of
               domestic violence or child abuse pursuant to section 653(b)(2) of this title, the court shall determine
               whether disclosure to any other person of information received from the Secretary could be harmful to
               the parent or child and, if the court determines that disclosure to any other person could be harmful,
               the court and its agents shall not make any such disclosure;

                (27) provide that, on and after October 1, 1998, the State agency will-
                  (A) operate a State disbursement unit in accordance with section 654b of this title; and
                  (B) have sufficient State staff (consisting of State employees) and (at State option) contractors
                reporting directly to the State agency to-
                     (i) monitor and enforce support collections through the unit in cases being enforced by the State
                  pursuant to paragraph (4) (including carrying out the automated data processing responsibilities
                  described in section 654a(g) of this title); and
                     (ii) take the actions described in section 666(c)(1) of this title in appropriate cases;

               (28) provide that, on and after October 1, 1997, the State will operate a State Directory of New Hires in
             accordance with section 653a of this title;
               (29) provide that the State agency responsible for administering the State plan-
                 (A) shall make the determination (and redetermination at appropriate intervals) as to whether an
               individual who has applied for or is receiving assistance under the State program funded under part A,
               the State program under part E, the State program under subchapter XIX, or the supplemental nutrition
               assistance program, as defined under section 2012(l) 1 of title 7, is cooperating in good faith with the
                State in establishing the paternity of, or in establishing, modifying, or enforcing a support order for, any
                child of the individual by providing the State agency with the name of, and such other information as
                the State agency may require with respect to, the noncustodial parent of the child, subject to good
                cause and other exceptions which-

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                     (i) in the case of the State program funded under part A, the State program under part E, or the
                   State program under subchapter XIX shall, at the option of the State, be defined, taking into account
                   the best interests of the child, and applied in each case, by the State agency administering such
                   program; and
                     (ii) in the case of the supplemental nutrition assistance program, as defined under section
                   2012(l) 1 of title 7, shall be defined and applied in each case under that program in accordance with
                   section 2015(l)(2) of title 7;

                   (B) shall require the individual to supply additional necessary information and appear at interviews,
                hearings, and legal proceedings;
                   (C) shall require the individual and the child to submit to genetic tests pursuant to judicial or
                administrative order;
                   (D) may request that the individual sign a voluntary acknowledgment of paternity, after notice of the
                rights and consequences of such an acknowledgment, but may not require the individual to sign an
                acknowledgment or otherwise relinquish the right to genetic tests as a condition of cooperation and
                eligibility for assistance under the State program funded under part A, the State program under part E,
                the State program under subchapter XIX, or the supplemental nutrition assistance program, as defined
                under section 2012(l) 1 of title 7; and
                  (E) shall promptly notify the individual and the State agency administering the State program funded
                under part A, the State agency administering the State program under part E, the State agency
                administering the State program under subchapter XIX, or the State agency administering the
                supplemental nutrition assistance program, as defined under section 2012(l) 1 of title 7, of each such
                determination, and if noncooperation is determined, the basis therefor;

               (30) provide that the State shall use the definitions established under section 652(a)(5) of this title in
             collecting and reporting information as required under this part;
               (31) provide that the State agency will have in effect a procedure for certifying to the Secretary, for
             purposes of the procedure under section 652(k) of this title, determinations that individuals owe
             arrearages of child support in an amount exceeding $2,500, under which procedure-
                  (A) each individual concerned is afforded notice of such determination and the consequences
               thereof, and an opportunity to contest the determination; and
                  (B) the certification by the State agency is furnished to the Secretary in such format, and
               accompanied by such supporting documentation, as the Secretary may require;

                (32)(A) provide that any request for services under this part by a foreign reciprocating country, a foreign
             treaty country, or a foreign country with which the State has an arrangement described in section 659a(d)
             of this title shall be treated as a request by a State;
                (B) provide, at State option, notwithstanding paragraph (4) or any other provision of this part, for
             services under the plan for enforcement of a spousal support order not described in paragraph (4)(B)
             entered by such a country (or subdivision); and
                (C) provide that no applications will be required from, and no costs will be assessed for such services
             against, the foreign reciprocating country, foreign treaty country, or foreign individual (but costs may at
             State option be assessed against the obligor);
                (33) provide that a State that receives funding pursuant to section 628 of this title and that has within its
             borders Indian country (as defined in section 1151 of title 18) may enter into cooperative agreements with
             an Indian tribe or tribal organization (as defined in subsections (e) and (l) of section 5304 of title 25), if the
             Indian tribe or tribal organization demonstrates that such tribe or organization has an established tribal
             court system or a Court of Indian Offenses with the authority to establish paternity, establish, modify, or
             enforce support orders, or to enter support orders in accordance with child support guidelines established
             or adopted by such tribe or organization, under which the State and tribe or organization shall provide for
             the cooperative delivery of child support enforcement services in Indian country and for the forwarding of
             all collections pursuant to the functions performed by the tribe or organization to the State agency, or
             conversely, by the State agency to the tribe or organization, which shall distribute such collections in

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             accordance with such agreement; and
                (34) include an election by the State to apply section 657(a)(2)(B) of this title or former section 657(a)
             (2)(B) of this title (as in effect for the State immediately before the date this paragraph first applies to the
             State) to the distribution of the amounts which are the subject of such sections and, for so long as the
             State elects to so apply such former section, the amendments made by subsection (b)(1) of section 7301
             of the Deficit Reduction Act of 2005 shall not apply with respect to the State, notwithstanding subsection
             (e) of such section 7301.

             The State may allow the jurisdiction which makes the collection involved to retain any application fee
           under paragraph (6)(B) or any late payment fee under paragraph (21). Nothing in paragraph (33) shall void
           any provision of any cooperative agreement entered into before August 22, 1996, nor shall such paragraph
           deprive any State of jurisdiction over Indian country (as so defined) that is lawfully exercised under section
           1322 of title 25.
           (Aug. 14, 1935, ch. 531, title IV, §454, as added Pub. L. 93–647, §101(a), Jan. 4, 1975, 88 Stat. 2354 ;
           amended Pub. L. 94–88, title II, §208(b), (c), Aug. 9, 1975, 89 Stat. 436 ; Pub. L. 95–30, title V, §502(a),
           May 23, 1977, 91 Stat. 162 ; Pub. L. 96–265, title IV, §405(b), June 9, 1980, 94 Stat. 463 ; Pub. L. 96–611,
           §9(a), Dec. 28, 1980, 94 Stat. 3571 ; Pub. L. 97–35, title XXIII, §§2331(b), 2332(d), 2333(a), (b), 2335(a),
           Aug. 13, 1981, 95 Stat. 860 , 862, 863; Pub. L. 97–248, title I, §§171(a), (b)(1), 173(a), Sept. 3, 1982, 96
           Stat. 401 , 403; Pub. L. 98–369, div. B, title VI, §2663(c)(14), (j)(2)(B)(x), July 18, 1984, 98 Stat. 1166 ,
           1170; Pub. L. 98–378, §§3(a), (c)–(f), 5(b), 6(a), 11(b)(1), 12(a), (b), 14(a), 21(d), Aug. 16, 1984, 98 Stat.
           1306 , 1310, 1311, 1314, 1318, 1319, 1320, 1324; Pub. L. 100–203, title IX, §§9141(a)(2), 9142(a), Dec.
           22, 1987, 101 Stat. 1330–321 ; Pub. L. 100–485, title I, §§104(a), 111(c), 123(a), (d), Oct. 13, 1988, 102
           Stat. 2348 , 2349, 2352, 2353; Pub. L. 104–35, §1(a), Oct. 12, 1995, 109 Stat. 294 ; Pub. L. 104–193, title I,
           §108(c)(11), (12), title III, §§301(a), (b), 302(b)(2), 303(a), 304(a), 312(a), 313(a), 316(g)(1), 324(b), 332,
           333, 342(a), 343(b), 344(a)(1), (4), 370(a)(2), 371(b), 375(a), (c), 395(d)(1)(D), (2)(B), Aug. 22, 1996, 110
           Stat. 2166 , 2199, 2204, 2205, 2207, 2209, 2218, 2223, 2230, 2233, 2234, 2236, 2252, 2254, 2256, 2259,
           2260; Pub. L. 105–33, title V, §§5531(a), 5542(c), 5545, 5546(a), 5548, 5552, 5556(b), Aug. 5, 1997, 111
           Stat. 625 , 631, 633, 635, 637; Pub. L. 106–169, title IV, §401(g), (h), Dec. 14, 1999, 113 Stat. 1858 ; Pub.
           L. 109–171, title VII, §§7301(b)(1)(C), 7303(b), 7310(a), Feb. 8, 2006, 120 Stat. 143 , 145, 147; Pub. L.
           110–234, title IV, §§4002(b)(1)(A), (B), (2)(V), 4115(c)(2)(H), May 22, 2008, 122 Stat. 1095–1097 , 1110;
           Pub. L. 110–246, §4(a), title IV, §§4002(b)(1)(A), (B), (2)(V), 4115(c)(2)(H), June 18, 2008, 122 Stat. 1664 ,
           1857, 1858, 1871; Pub. L. 113–79, title IV, §4030(v), Feb. 7, 2014, 128 Stat. 815 ; Pub. L. 113–183, title III,
           §301(c), Sept. 29, 2014, 128 Stat. 1943 ; Pub. L. 115–123, div. E, title XII, §53117(a), Feb. 9, 2018, 132
           Stat. 307 .)


                                                                   EDITORIAL NOTES

                                                             REFERENCES IN TEXT
               Section 508 of the Unemployment Compensation Amendments of 1976, referred to in par.
           (19), is section 508 of Pub. L. 94–566, Oct. 20, 1976, 90 Stat. 2689 , which enacted section 603a of
           this title and amended section 49b of Title 29, Labor.
               Section 344(a)(3) of the Personal Responsibility and Work Opportunity Reconciliation Act of
           1996, referred to in par. (24), is section 344(a)(3) of Pub. L. 104–193, which is set out as a
           Regulations note under section 654a of this title.
               Section 2012(l) of title 7, referred to in par. (29), was struck out, and a new section 2012(t) of title 7
           similarly defining "supplemental nutrition assistance program" was enacted, by Pub. L. 113–79,
           title IV, §4030(a)(3), (5), Feb. 7, 2014, 128 Stat. 813 .
               Section 7301 of the Deficit Reduction Act of 2005, referred to in par. (34), is section 7301 of
           Pub. L. 109–171, title VII, Feb. 8, 2006, 120 Stat. 141 . Subsec. (b)(1) of section 7301 of Pub. L.
           109–171 amended this section and section 657 of this title. Subsec. (e) of section 7301 of Pub. L.
           109–171 is set out as an Effective Date of 2006 Amendment note under section 608 of this title.

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             Pub. L. 110–234 and Pub. L. 110–246 made identical amendments to this section. The
           amendments by Pub. L. 110–234 were repealed by section 4(a) of Pub. L. 110–246.

                                                                  AMENDMENTS
               2018-Par. (6)(B)(ii). Pub. L. 115–123 substituted "$35" for "$25" and, in two places, substituted
           "$550" for "$500".
               2014-Par. (4)(A)(ii). Pub. L. 113–183, §301(c)(1), inserted before semicolon "(except that, if the
           individual applying for the services resides in a foreign reciprocating country or foreign treaty
           country, the State may opt to require the individual to request the services through the Central
           Authority for child support enforcement in the foreign reciprocating country or the foreign treaty
           country, and if the individual resides in a foreign country that is not a foreign reciprocating
           country or a foreign treaty country, a State may accept or reject the application)".
               Par. (29)(A), (D), (E). Pub. L. 113–79, §4030(v), amended Pub. L. 110–246, §4115(c)(2)(H). See
           2008 Amendment note below.
               Par. (32)(A). Pub. L. 113–183, §301(c)(2)(A), inserted ", a foreign treaty country," after "a
           foreign reciprocating country".
               Par. (32)(C). Pub. L. 113–183, §301(c)(2)(B), substituted ", foreign treaty country, or foreign
           individual" for "or foreign obligee".
               2008-Pars. (4)(A)(i)(IV), (6)(B)(i). Pub. L. 110–246, §4002(b)(1)(B), (2)(V), made technical
           amendment to references in original act which appear in text as references to sections 2015(l)(1)
           and 2015 of title 7.
               Par. (29)(A), (D), (E). Pub. L. 110–246, §4115(c)(2)(H), as amended by Pub. L. 113–79,
           §4030(v), substituted "section 2012(l)" for "section 2012(h)" wherever appearing.
               Pub. L. 110–246, §4002(b)(1)(A), (B), (2)(V), substituted "supplemental nutrition assistance
           program" for "food stamp program" wherever appearing and made technical amendment to
           references in original act which appear in text as references to sections 2012(h) and 2015(l)(2) of
           title 7.
               2006-Par. (6)(B). Pub. L. 109–171, §7310(a), designated existing provisions as cl. (i),
           redesignated former cls. (i) and (ii) as subcls. (I) and (II), respectively, of cl. (i), and added cl.
           (ii).
               Par. (31). Pub. L. 109–171, §7303(b), substituted "$2,500" for "$5,000" in introductory
           provisions.
               Par. (34). Pub. L. 109–171, §7301(b)(1)(C), added par. (34).
               1999-Par. (6)(E)(i). Pub. L. 106–169, §401(g)(1), substituted "; or" for ", or" at end.
               Par. (9)(A) to (C). Pub. L. 106–169, §401(g)(2), substituted semicolon for comma at end.
               Par. (19)(A). Pub. L. 106–169, §401(g)(3), substituted "; and" for ", and" at end.
               Par. (19)(B)(i). Pub. L. 106–169, §401(g)(1), substituted "; or" for ", or" at end.
               Par. (24)(A). Pub. L. 106–169, §401(g)(3), substituted "; and" for ", and" at end.
               Par. (24)(B). Pub. L. 106–169, §401(h), made technical amendment to reference in original act
           which appears in text as reference to August 22, 1996.
               1997-Par. (4)(A)(i)(IV). Pub. L. 105–33, §5548(a), added subcl. (IV).
               Par. (6)(B). Pub. L. 105–33, §5531(a), substituted "an individual, other than an individual
           receiving assistance under a State program funded under part A or E, or under a State plan
           approved under subchapter XIX, or who is required by the State to cooperate with the State
           agency administering the program under this part pursuant to subsection (l) or (m) of section

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           2015 of title 7, and" for "individuals not receiving assistance under any State program funded
           under part A, which".
              Par. (8). Pub. L. 105–33, §5552(1)(D), inserted concluding provisions.
              Pub. L. 105–33, §5552(1)(A), in introductory provisions, inserted ", for the purpose of
           establishing parentage, establishing, setting the amount of, modifying, or enforcing child
           support obligations, or making or enforcing a child custody or visitation determination, as
           defined in section 663(d)(1) of this title" after "provide that" and struck out "noncustodial" before
           "parents".
              Par. (8)(A). Pub. L. 105–33, §5552(1)(B), substituted "records; and" for "records, and".
              Par. (8)(B). Pub. L. 105–33, §5552(1)(C), substituted "title," for "title;".
              Par. (16). Pub. L. 105–33, §5556(b), made technical amendment to directory language of Pub.
           L. 104–193, §344(a)(1)(F). See 1996 Amendment note below.
              Par. (17). Pub. L. 105–33, §5552(2), substituted "provide that the State will have" for "in the
           case of a State which has" and inserted "and" after "section 653 of this title,".
              Par. (19)(B)(ii). Pub. L. 105–33, §5542(c), substituted "section 659(i)(5)" for "section 662(e)".
              Par. (26). Pub. L. 105–33, §5552(3)(A), struck out "will" before "have in effect" in introductory
           provisions.
              Par. (26)(A). Pub. L. 105–33, §5552(3)(B), inserted ", modify," after "or to establish" and ", or to
           make or enforce a child custody determination" after "support".
              Par. (26)(B). Pub. L. 105–33, §5552(3)(C)(i), (ii), inserted "or the child" after "1 party" and after
           "former party".
              Par. (26)(C). Pub. L. 105–33, §5552(3)(D), inserted "or the child" after "1 party", substituted
           "another person" for "another party", inserted "to that person" after "release of the information",
           and substituted "party or the child" for "former party".
              Par. (26)(D), (E). Pub. L. 105–33, §5552(3)(C)(iii), (E), added subpars. (D) and (E).
              Par. (29)(A). Pub. L. 105–33, §5548(b)(1)(B), substituted cls. (i) and (ii) for
                   "(i) shall be defined, taking into account the best interests of the child, and
                   "(ii) shall be applied in each case,
           by, at the option of the State, the State agency administering the State program under part A of
           this subchapter, this part, or subchapter XIX;".
              Pub. L. 105–33, §5548(b)(1)(A), in introductory provisions, substituted "part A, the State
           program under part E, the State program under subchapter XIX, or the food stamp program, as
           defined under section 2012(h) of title 7," for "part A of this subchapter or the State program under
           subchapter XIX".
              Par. (29)(D). Pub. L. 105–33, §5548(b)(2), substituted "the State program under part E, the
           State program under subchapter XIX, or the food stamp program, as defined under section
           2012(h) of title 7" for "or the State program under subchapter XIX".
              Par. (29)(E). Pub. L. 105–33, §5548(b)(3), substituted "individual and the State agency
           administering the State program funded under part A, the State agency administering the State
           program under part E, the State agency administering the State program under subchapter
           XIX, or the State agency administering the food stamp program, as defined under section
           2012(h) of title 7," for "individual, the State agency administering the State program funded under
           part A, and the State agency administering the State program under subchapter XIX,".
              Par. (32)(A). Pub. L. 105–33, §5545, substituted "section 659a(d)" for "section 659a(d)(2)".
              Par. (33). Pub. L. 105–33, §5546(a), substituted "or enforce support orders, or" for "and
           enforce support orders, and", "guidelines established or adopted by such tribe or organization"

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           for "guidelines established by such tribe or organization", "all collections" for "all funding
           collected", and "such collections" for "such funding".
              1996-Pub. L. 104–193, §375(a)(4), inserted at end of closing provisions "Nothing in paragraph
           (33) shall void any provision of any cooperative agreement entered into before August 22,
           1996, nor shall such paragraph deprive any State of jurisdiction over Indian country (as so
           defined) that is lawfully exercised under section 1322 of title 25."
              Par. (4). Pub. L. 104–193, §301(a)(1), amended par. (4) generally. Prior to amendment, par. (4)
           read as follows: "provide that such State will undertake-
                     "(A) in the case of a child born out of wedlock with respect to whom an assignment
              under section 602(a)(26) of this title or section 1396k of this title is effective, to establish the
              paternity of such child, unless the agency administering the plan of the State under part A of
              this subchapter determines in accordance with the standards prescribed by the Secretary
              pursuant to section 602(a)(26)(B) of this title that it is against the best interests of the child to do
              so, or, in the case of such a child with respect to whom an assignment under section 1396k of
              this title is in effect, the State agency administering the plan approved under subchapter XIX
              of this chapter determines pursuant to section 1396k(a)(1)(B) of this title that it is against the best
              interests of the child to do so, and
                     "(B) in the case of any child with respect to whom such assignment is effective, including
              an assignment with respect to a child on whose behalf a State agency is making foster care
              maintenance payments under part E of this subchapter, to secure support for such child from
              his parent (or from any other person legally liable for such support), and from such parent for
              his spouse (or former spouse) receiving aid to families with dependent children or medical
              assistance under a State plan approved under subchapter XIX of this chapter (but only if a
              support obligation has been established with respect to such spouse, and only if the support
              obligation established with respect to the child is being enforced under the plan), utilizing any
              reciprocal arrangements adopted with other States (unless the agency administering the plan
              of the State under part A or E of this subchapter determines in accordance with the
              standards prescribed by the Secretary pursuant to section 602(a)(26)(B) of this title that it is
              against the best interests of the child to do so), except that when such arrangements and
              other means have proven ineffective, the State may utilize the Federal courts to obtain or
              enforce court orders for support;".
              Par. (5)(A). Pub. L. 104–193, §108(c)(11), substituted "pursuant to section 608(a)(3) of this title"
           for "under section 602(a)(26) of this title" and "payments collected," for "payments collected;
           except that this paragraph shall not apply to such payments for any month following the first
           month in which the amount collected is sufficient to make such family ineligible for assistance
           under the State plan approved under part A of this subchapter;".
              Par. (6). Pub. L. 104–193, §301(a)(2)(A), substituted "provide that-" for "provide that" in
           introductory provisions.
              Par. (6)(A). Pub. L. 104–193, §301(a)(2)(B), added subpar. (A) and struck out former subpar.
           (A) which read as follows: "the child support collection or paternity determination services
           established under the plan shall be made available to any individual not otherwise eligible for
           such services upon application filed by such individual with the State, including support
           collection services for the spouse (or former spouse) with whom the absent parent's child is
           living (but only if a support obligation has been established with respect to such spouse, and
           only if the support obligation established with respect to the child is being enforced under the
           plan),".

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               Par. (6)(B). Pub. L. 104–193, §301(a)(2)(C), (D), inserted "on individuals not receiving
           assistance under any State program funded under part A" after "such services shall be
           imposed", realigned margins, and substituted semicolon for comma at end.
               Par. (6)(C). Pub. L. 104–193, §301(a)(2)(D), realigned margins and substituted semicolon for
           comma at end.
               Par. (6)(D). Pub. L. 104–193, §301(a)(2)(D), realigned margins and substituted semicolon for
           comma before "and" at end.
               Pub. L. 104–193, §108(c)(12), substituted "assistance under a State program funded" for "aid
           under a State plan approved".
               Par. (6)(E). Pub. L. 104–193, §301(a)(2)(D)(i), (E), realigned margins.
               Pub. L. 104–193, §301(a)(2)(D)(ii), which directed substitution of a semicolon for the final
           comma, could not be executed because subpar. (E) already ended in a semicolon and not a
           comma.
               Par. (7). Pub. L. 104–193, §375(c), inserted "and Indian tribes or tribal organizations (as
           defined in subsections (e) and (l) of section 5304 of title 25)" after "law enforcement officials".
               Par. (8). Pub. L. 104–193, §395(d)(1)(D), substituted "noncustodial" for "absent" in introductory
           provisions.
               Par. (8)(B). Pub. L. 104–193, §316(g)(1)(A), amended subpar. (B) generally. Prior to
           amendment, subpar. (B) read as follows: "the Parent Locator Service in the Department of
           Health and Human Services;".
               Par. (9)(B), (C). Pub. L. 104–193, §395(d)(2)(B), substituted "a noncustodial parent" for "an
           absent parent".
               Par. (9)(E). Pub. L. 104–193, §324(b), added subpar. (E).
               Par. (11). Pub. L. 104–193, §302(b)(2), designated existing provisions as subpar. (A), inserted
           "and" after semicolon at end, and redesignated par. (12) as subpar. (B).
               Par. (12). Pub. L. 104–193, §304(a), added par. (12). Former par. (12) redesignated (11)(B).
               Pub. L. 104–193, §302(b)(2)(B), redesignated par. (12) as (11)(B).
               Par. (13). Pub. L. 104–193, §§316(g)(1)(B), 395(d)(1)(D), substituted "noncustodial parents" for
           "absent parents" and inserted before semicolon at end "and provide that information requests
           by parents who are residents of other States be treated with the same priority as requests by
           parents who are residents of the State submitting the plan".
               Par. (14). Pub. L. 104–193, §342(a)(1), (2), designated existing provisions as subpar. (A) and
           redesignated par. (15) as subpar. (B).
               Par. (15). Pub. L. 104–193, §342(a)(3), added par. (15). Former par. (15) redesignated (14)(B).
               Pub. L. 104–193, §342(a)(2), redesignated par. (15) as (14)(B).
               Par. (16). Pub. L. 104–193, §344(a)(1), as amended by Pub. L. 105–33, §5556(b), struck out
           ", at the option of the State," before "for the establishment", inserted "and operation by the
           State agency" after "for the establishment" and "meeting the requirements of section 654a of this
           title" after "information retrieval system", substituted "so as to control" for "in the State and
           localities thereof, so as (A) to control", struck out "(i)" before "all the factors in the support
           enforcement collection", and struck out before semicolon at end "(including, but not limited to,
           (I) identifiable correlation factors (such as social security numbers, names, dates of birth, home
           addresses and mailing addresses (including postal ZIP codes) of any individual with respect to
           whom support obligations are sought to be established or enforced and with respect to any
           person to whom such support obligations are owing) to assure sufficient compatibility among
           the systems of different jurisdictions to permit periodic screening to determine whether such

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           individual is paying or is obligated to pay support in more than one jurisdiction, (II) checking of
           records of such individuals on a periodic basis with Federal, intra- and inter-State, and local
           agencies, (III) maintaining the data necessary to meet the Federal reporting requirements on a
           timely basis, and (IV) delinquency and enforcement activities), (ii) the collection and distribution
           of support payments (both intra- and inter-State), the determination, collection, and distribution
           of incentive payments both inter- and intra-State, and the maintenance of accounts receivable
           on all amounts owed, collected and distributed, and (iii) the costs of all services rendered,
           either directly or by interfacing with State financial management and expenditure information,
           (B) to provide interface with records of the State's aid to families with dependent children
           program in order to determine if a collection of a support payment causes a change affecting
           eligibility for or the amount of aid under such program, (C) to provide for security against
           unauthorized access to, or use of, the data in such system, (D) to facilitate the development
           and improvement of the income withholding and other procedures required under section 666(a)
           of this title through the monitoring of support payments, the maintenance of accurate records
           regarding the payment of support, and the prompt provision of notice to appropriate officials
           with respect to any arrearages in support payments which may occur, and (E) to provide
           management information on all cases under the State plan from initial referral or application
           through collection and enforcement".
              Par. (21)(A). Pub. L. 104–193, §395(d)(1)(D), substituted "noncustodial parent" for "absent
           parent".
              Par. (23). Pub. L. 104–193, §332, inserted "and will publicize the availability and encourage the
           use of procedures for voluntary establishment of paternity and child support by means the
           State deems appropriate" before semicolon.
              Par. (24). Pub. L. 104–193, §344(a)(4), amended par. (24) generally. Prior to amendment, par.
           (24) read as follows: "provide that if the State, as of October 13, 1988, does not have in effect
           an automated data processing and information retrieval system meeting all of the requirements
           of paragraph (16), the State-
                     "(A) will submit to the Secretary by October 1, 1991, for review and approval by the
              Secretary within 9 months after submittal an advance automated data processing planning
              document of the type referred to in such paragraph; and
                     "(B) will have in effect by October 1, 1997, an operational automated data processing
              and information retrieval system, meeting all the requirements of that paragraph, which has
              been approved by the Secretary;".
              Par. (25). Pub. L. 104–193, §301(b), added par. (25).
              Par. (26). Pub. L. 104–193, §303(a), added par. (26).
              Par. (27). Pub. L. 104–193, §312(a), added par. (27).
              Par. (28). Pub. L. 104–193, §313(a), added par. (28).
              Par. (29). Pub. L. 104–193, §333, added par. (29).
              Par. (30). Pub. L. 104–193, §343(b), added par. (30).
              Par. (31). Pub. L. 104–193, §370(a)(2), added par. (31).
              Par. (32). Pub. L. 104–193, §371(b), added par. (32).
              Par. (33). Pub. L. 104–193, §375(a)(1)–(3), added par. (33).
              1995-Par. (24)(B). Pub. L. 104–35 substituted "1997" for "1995".
              1988-Par. (5)(A). Pub. L. 100–485, §104(a), substituted "on a monthly basis (or on a quarterly
           basis for so long as the Secretary determines with respect to a State that requiring such notice
           on a monthly basis would impose an unreasonable administrative burden)" for "at least

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           annually".
              Par. (6)(D), (E). Pub. L. 100–485, §111(c), added cl. (D) and redesignated former cl. (D) as (E).
              Par. (16). Pub. L. 100–485, §123(d), substituted "advance automated" for "advance automatic"
           in introductory provisions.
              Pub. L. 100–485, §123(a)(2), substituted "a statewide automated" for "an automatic".
              Par. (24). Pub. L. 100–485, §123(a)(1), added par. (24).
              1987-Par. (4)(A). Pub. L. 100–203, §9142(a)(1)(A), (B), substituted "an assignment under
           section 602(a)(26) of this title or section 1396k of this title" for "an assignment under section 602(a)(26)
           of this title" and ", or, in the case of such a child with respect to whom an assignment under
           section 1396k of this title is in effect, the State agency administering the plan approved under
           subchapter XIX of this chapter determines pursuant to section 1396k(a)(1)(B) of this title that it is
           against the best interests of the child to do so, and" for ", and".
              Par. (4)(B). Pub. L. 100–203, §9142(a)(1)(C), inserted "or medical assistance under a State
           plan approved under subchapter XIX of this chapter" after "children".
              Par. (5). Pub. L. 100–203, §9142(a)(2), substituted "provide that (A)" for "provide that," and
           added cl. (B).
              Pub. L. 100–203, §9141(a)(2), struck out "(except as provided in section 657(c) of this title)" after
           "apply to such payments".
              1984-Par. (4)(B). Pub. L. 98–378, §11(b)(1), inserted "including an assignment with respect to a
           child on whose behalf a State agency is making foster care maintenance payments under part
           E of this subchapter," after "such assignment is effective," and inserted "or E" after "part A".
              Par. (4)(B). Pub. L. 98–378, §12(a), substituted ", and" for "and, at the option of the State,"
           before "from such parent" and inserted ", and only if the support obligation established with
           respect to the child is being enforced under the plan".
              Par. (5). Pub. L. 98–378, §3(e), inserted ", and the individual will be notified at least annually of
           the amount of the support payments collected;".
              Par. (6)(A). Pub. L. 98–378, §12(b), struck out ", at the option of the State," before "support
           collection services" and inserted ", and only if the support obligation established with respect to
           the child is being enforced under the plan".
              Par. (6)(B). Pub. L. 98–378, §3(c), substituted "shall be imposed, which shall be paid by the
           individual applying for such services, or recovered from the absent parent, or paid by the State
           out of its own funds (the payment of which from State funds shall not be considered as an
           administrative cost of the State for the operation of the plan, and shall be considered income to
           the program), the amount of which (i) will not exceed $25 (or such higher or lower amount
           (which shall be uniform for all States) as the Secretary may determine to be appropriate for any
           fiscal year to reflect increases or decreases in administrative costs), and (ii) may vary among
           such individuals on the basis of ability to pay (as determined by the State), and" for "may be
           imposed, except that the amount of any such application fee shall be reasonable, as
           determined under regulations of the Secretary,".
              Par. (6)(C). Pub. L. 98–378, §21(d)(1), (3), added cl. (C). Former cl. (C) redesignated (D).
              Par. (6)(D). Pub. L. 98–378, §21(d)(1), (2), redesignated former cl. (C) as (D) and substituted
           "fees" for "fee" before "so imposed".
              Par. (8)(B). Pub. L. 98–369, §2663(j)(2)(B)(x), substituted "Health and Human Services" for
           "Health, Education, and Welfare".
              Par. (9)(C). Pub. L. 98–369, §2663(c)(14)(A), struck out "of such parent" before "with respect
           to whom aid".

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              Par. (16)(A)(ii). Pub. L. 98–369, §2663(c)(14)(B), substituted "collection, and distribution" for
           "collection and distribution," before "of incentive payments".
              Par. (16)(D), (E). Pub. L. 98–378, §6(a), added cl. (D) and redesignated former cl. (D) as (E).
              Par. (17). Pub. L. 98–378, §2663(c)(14)(C), realigned margin, substituted "provide that the
           State will accept" for "to accept", "will impose" for "and to impose", "will transmit" for "to
           transmit", and "will otherwise comply" for ", otherwise to comply".
              Par. (20). Pub. L. 98–378, §3(a), added par. (20).
              Par. (21). Pub. L. 98–378, §3(d), added par. (21).
              Par. (22). Pub. L. 98–378, §5(b), added par. (22).
              Par. (23). Pub. L. 98–378, §14(a), added par. (23).
              Pub. L. 98–378, §3(f), inserted after numbered paragraphs provision that the State may allow
           the jurisdiction which makes the collection involved to retain any application fee under par. (6)
           (B) or any late payment fee under par. (21).
              1982-Par. (5). Pub. L. 97–248, §173(a), inserted "following the first month" after "for any
           month".
              Par. (6). Pub. L. 97–248, §171(a), in cl. (A) inserted provisions relating to inclusion of, at the
           option of the State, support collection services for the spouse or former spouse, in cl. (B)
           substituted "such services" for "services under the State plan (other than collection of support)",
           and in cl. (C) substituted provisions relating to collection of any costs in excess of the fee
           imposed, for provisions relating to the State retaining any fee imposed under State law as
           required under former par. (19).
              Pars. (18) to (20). Pub. L. 97–248, §171(b)(1), inserted "and" at end of par. (18), struck out par.
           (19) relating to imposition of a fee on an individual who owes child or spousal support
           obligation, and redesignated par. (20) as (19).
              1981-Pub. L. 97–35, §2332(d)(2), substituted in provision preceding par. (1) "child and spousal
           support" for "child support".
              Par. (4)(B). Pub. L. 97–35, §2332(d)(3), substituted "such support) and, at the option of the
           State, from such parent for his spouse (or former spouse) receiving aid to families with
           dependent children (but only if a support obligation has been established with respect to such
           spouse), utilizing" for "such support), utilizing".
              Par. (5). Pub. L. 97–35, §2332(d)(4), substituted "support payments" for "child support
           payments" and "collected for an individual" for "collected for a child".
              Par. (6)(B). Pub. L. 97–35, §2333(a)(1), substituted "services under the State plan (other than
           collection of support)" for "such services".
              Par. (6)(C). Pub. L. 97–35, §2333(a)(2), substituted "the State will retain, but only if it is the
           State which makes the collection, the fee imposed under State law as required under
           paragraph (19)" for "any costs in excess of the fee so imposed may be collected from such
           individual by deducting such costs from the amount of any recovery made".
              Par. (9)(C). Pub. L. 97–35, §2332(d)(5), substituted "of the child or children or the parent of
           such child or children" for "of a child or children".
              Par. (11). Pub. L. 97–35, §2332(d)(6), substituted "collected as support" for "collected as child
           support".
              Par. (16). Pub. L. 97–35, §2332(d)(7), substituted "support enforcement" for "child support
           enforcement", "whom support obligations" for "whom child support obligations", and "obligated
           to pay support" for "obligated to pay child support".
              Par. (18). Pub. L. 97–35, §2331(b), added par. (18).

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             Par. (19). Pub. L. 97–35, §2333(b), added par. (19).
             Par. (20). Pub. L. 97–35, §2335(a), added par. (20).
             1980-Par. (16). Pub. L. 96–265 added par. (16).
             Par. (17). Pub. L. 96–611 added par. (17).
             1977-Pars. (14), (15). Pub. L. 95–30 added pars. (14) and (15).
             1975-Par. (4)(A). Pub. L. 94–88, §208(b), substituted "to establish the paternity of such child,
           unless the agency administering the plan of the State under part A of this subchapter
           determines in accordance with the standards prescribed by the Secretary pursuant to section
           602(a)(26)(B) of this title that it is against the best interests of the child to do so" for "to establish
           the paternity of such child".
             Par. (4)(B). Pub. L. 94–88, §208(c), substituted "reciprocal arrangements adopted with other
           States (unless the agency administering the plan of the State under part A of this subchapter
           determines in accordance with the standards prescribed by the Secretary pursuant to section
           602(a)(26)(B) of this title that it is against the best interests of the child to do so)" for "reciprocal
           arrangements adopted with other States".


                                                   STATUTORY NOTES AND RELATED SUBSIDIARIES

                                                EFFECTIVE DATE OF 2018 AMENDMENT
              Pub. L. 115–123, div. E, title XII, §53117(b), Feb. 9, 2018, 132 Stat. 307 , provided that:
              "(1) IN GENERAL.-The amendments made by subsection (a) [amending this section] shall take
           effect on the 1st day of the 1st fiscal year that begins on or after the date of the enactment of
           this Act [Feb. 9, 2018], and shall apply to payments under part D of title IV of the Social
           Security Act (42 U.S.C. 651 et seq.) for calendar quarters beginning on or after such 1st day.
              "(2) DELAY PERMITTED IF STATE LEGISLATION REQUIRED.-If the Secretary of Health and Human Services
           determines that State legislation (other than legislation appropriating funds) is required in order
           for a State plan developed pursuant to part D of title IV of the Social Security Act (42 U.S.C. 651
           et seq.) to meet the requirements imposed by the amendment made by subsection (a), the plan
           shall not be regarded as failing to meet such requirements before the 1st day of the 1st
           calendar quarter beginning after the first regular session of the State legislature that begins
           after the date of the enactment of this Act. For purposes of the preceding sentence, if the State
           has a 2-year legislative session, each year of the session is deemed to be a separate regular
           session of the State legislature."

                                                EFFECTIVE DATE OF 2008 AMENDMENT
              Amendment of this section and repeal of Pub. L. 110–234 by Pub. L. 110–246 effective May 22,
           2008, the date of enactment of Pub. L. 110–234, except as otherwise provided, see section 4 of
           Pub. L. 110–246, set out as an Effective Date note under section 8701 of Title 7, Agriculture.
              Amendment by sections 4002(b)(1)(A), (B), (2)(V), and 4115(c)(2)(H) of Pub. L. 110–246
           effective Oct. 1, 2008, see section 4407 of Pub. L. 110–246, set out as a note under section 1161
           of Title 2, The Congress.

                                                EFFECTIVE DATE OF 2006 AMENDMENT
              Amendment by section 7301(b)(1)(C) of Pub. L. 109–171 effective Oct. 1, 2009, and applicable
           to payments under parts A and D of this subchapter for calendar quarters beginning on or after
           such date, subject to certain State options, see section 7301(e) of Pub. L. 109–171, set out as a
           note under section 608 of this title.
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              Amendment by section 7303(b) of Pub. L. 109–171 effective Oct. 1, 2006, see section 7303(c)
           of Pub. L. 109–171, set out as a note under section 652 of this title.
              Pub. L. 109–171, title VII, §7310(c), Feb. 8, 2006, 120 Stat. 148 , provided that: "The
           amendments made by this section [amending this section and section 657 of this title] shall take
           effect on October 1, 2006."

                                                EFFECTIVE DATE OF 1999 AMENDMENT
             Amendment by Pub. L. 106–169 effective as if included in the enactment of the Personal
           Responsibility and Work Opportunity Reconciliation Act of 1996, Pub. L. 104–193, see section
           401(q) of Pub. L. 106–169, set out as a note under section 602 of this title.

                                                EFFECTIVE DATE OF 1997 AMENDMENT
             Amendment by Pub. L. 105–33 effective as if included in the enactment of title III of the
           Personal Responsibility and Work Opportunity Reconciliation Act of 1996, Pub. L. 104–193, see
           section 5557 of Pub. L. 105–33, set out as a note under section 608 of this title.

                                                EFFECTIVE DATE OF 1996 AMENDMENT
              Amendment by section 108(c)(11), (12) of Pub. L. 104–193 effective July 1, 1997, with
           transition rules relating to State options to accelerate such date, rules relating to claims,
           actions, and proceedings commenced before such date, rules relating to closing out of
           accounts for terminated or substantially modified programs and continuance in office of
           Assistant Secretary for Family Support, and provisions relating to termination of entitlement
           under AFDC program, see section 116 of Pub. L. 104–193, as amended, set out as an Effective
           Date note under section 601 of this title.
              Amendment by section 302(b)(2) of Pub. L. 104–193 effective Aug. 22, 1996, see section
           302(c)(2) of Pub. L. 104–193, set out as a note under section 657 of this title.
              Pub. L. 104–193, title III, §303(b), Aug. 22, 1996, 110 Stat. 2205 , provided that: "The
           amendment made by subsection (a) [amending this section] shall become effective on October
           1, 1997."
              Pub. L. 104–193, title III, §304(b), Aug. 22, 1996, 110 Stat. 2205 , provided that: "The
           amendment made by subsection (a) [amending this section] shall become effective on October
           1, 1997."
              Amendment by section 312(a) of Pub. L. 104–193 effective Oct. 1, 1998, with limited exception
           for States which, as of Aug. 22, 1996, were processing the receipt of child support payments
           through local courts, see section 312(d) of Pub. L. 104–193, set out as an Effective Date note
           under section 654b of this title.
              Amendment by section 342(a) of Pub. L. 104–193 effective with respect to calendar quarters
           beginning 12 months or more after Aug. 22, 1996, see section 342(c) of Pub. L. 104–193, set out
           as a note under section 652 of this title.
              Amendment by section 370(a)(2) of Pub. L. 104–193 effective Oct. 1, 1997, see section 370(b)
           of Pub. L. 104–193, set out as a note under section 652 of this title.
              Pub. L. 104–193, title III, §395(a)–(c), Aug. 22, 1996, 110 Stat. 2259 , provided that:
              "(a) IN GENERAL.-Except as otherwise specifically provided (but subject to subsections (b) and
           (c))-
                    "(1) the provisions of this title [see Tables for classification] requiring the enactment or
              amendment of State laws under section 466 of the Social Security Act [42 U.S.C. 666], or
              revision of State plans under section 454 of such Act [this section], shall be effective with

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             respect to periods beginning on and after October 1, 1996; and
                  "(2) all other provisions of this title shall become effective upon the date of the
             enactment of this Act [Aug. 22, 1996].
             "(b) GRACE PERIOD FOR STATE LAW CHANGES.-The provisions of this title shall become effective with
           respect to a State on the later of-
                  "(1) the date specified in this title, or
                  "(2) the effective date of laws enacted by the legislature of such State implementing
             such provisions,
           but in no event later than the 1st day of the 1st calendar quarter beginning after the close of the
           1st regular session of the State legislature that begins after the date of the enactment of this
           Act [Aug. 22, 1996]. For purposes of the previous sentence, in the case of a State that has a 2-
           year legislative session, each year of such session shall be deemed to be a separate regular
           session of the State legislature.
             "(c) GRACE PERIOD FOR STATE CONSTITUTIONAL AMENDMENT.-A State shall not be found out of
           compliance with any requirement enacted by this title if the State is unable to so comply without
           amending the State constitution until the earlier of-
                  "(1) 1 year after the effective date of the necessary State constitutional amendment; or
                  "(2) 5 years after the date of the enactment of this Act [Aug. 22, 1996]."

                                                EFFECTIVE DATE OF 1988 AMENDMENT
              Pub. L. 100–485, title I, §104(b), Oct. 13, 1988, 102 Stat. 2348 , provided that: "The amendment
           made by subsection (a) [amending this section] shall become effective on the first day of the
           first calendar quarter which begins 4 or more years after the date of the enactment of this Act
           [Oct. 13, 1988]."
              Pub. L. 100–485, title I, §111(f)(2), Oct. 13, 1988, 102 Stat. 2350 , provided that: "The
           amendments made by subsections (b) and (c) [amending this section and section 666 of this title]
           shall become effective on the first day of the first month beginning one year or more after the
           date of the enactment of this Act [Oct. 13, 1988]."

                                                EFFECTIVE DATE OF 1987 AMENDMENT
             Pub. L. 100–203, title IX, §9141(b), Dec. 22, 1987, 101 Stat. 1330–321 , provided that: "The
           amendments made by subsection (a) [amending this section and section 657 of this title] shall
           become effective upon enactment [Dec. 22, 1987]."
             Pub. L. 100–203, title IX, §9142(b), Dec. 22, 1987, 101 Stat. 1330–322 , provided that: "The
           amendments made by subsection (a) [amending this section] shall become effective on July 1,
           1988."

                                                EFFECTIVE DATE OF 1984 AMENDMENT
              Pub. L. 98–378, §3(g), Aug. 16, 1984, 98 Stat. 1311 , provided that:
              "(1) Except as provided in paragraphs (2) and (3), the amendments made by this section
           [enacting section 666 of this title and amending this section] shall become effective on October 1,
           1985.
              "(2) Section 454(21) of the Social Security Act [42 U.S.C. 654(21)] (as added by subsection (d)
           of this section), and section 466(e) of such Act [42 U.S.C. 666(e)] (as added by subsection (b) of
           this section), shall be effective with respect to support owed for any month beginning after the
           date of the enactment of this Act [Aug. 16, 1984].
              "(3) In the case of a State with respect to which the Secretary of Health and Human Services

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           has determined that State legislation is required in order to conform the State plan approved
           under part D of title IV of the Social Security Act [42 U.S.C. 651 et seq.] to the requirements
           imposed by any amendment made by this section, the State plan shall not be regarded as
           failing to comply with the requirements of such part solely by reason of its failure to meet the
           requirements imposed by such amendment prior to the beginning of the fourth month beginning
           after the end of the first session of the State legislature which ends on or after October 1, 1985.
           For purposes of the preceding sentence, the term 'session' means a regular, special, budget, or
           other session of a State legislature."
              Pub. L. 98–378, §5(c)(1), Aug. 16, 1984, 98 Stat. 1314 , provided that: "The amendments made
           by the preceding provisions of this section [amending this section and section 658 of this title]
           shall become effective on October 1, 1985."
              Pub. L. 98–378, §6(c), Aug. 16, 1984, 98 Stat. 1315 , provided that: "The amendments made by
           this section [amending this section and section 655 of this title] shall apply with respect to quarters
           beginning on or after October 1, 1984."
              Pub. L. 98–378, §11(e), Aug. 16, 1984, 98 Stat. 1318 , provided that: "The amendments made
           by this section [amending this section and sections 656, 657, 664, and 671 of this title] shall become
           effective October 1, 1984, and shall apply to collections made on or after that date."
              Pub. L. 98–378, §12(c), Aug. 16, 1984, 98 Stat. 1319 , provided that: "The amendments made
           by this section [amending this section] shall become effective October 1, 1985."
              Pub. L. 98–378, §14(b), Aug. 16, 1984, 98 Stat. 1320 , provided that: "The amendments made
           by subsection (a) [amending this section] shall become effective October 1, 1985."
              Amendment by section 21(d) of Pub. L. 98–378 applicable with respect to refunds payable
           under section 6402 of Title 26, Internal Revenue Code, after Dec. 31, 1985, see section 21(g) of
           Pub. L. 98–378, set out as a note under section 6103 of Title 26.
              Amendment by Pub. L. 98–369 effective July 18, 1984, but not to be construed as changing or
           affecting any right, liability, status, or interpretation which existed (under the provisions of law
           involved) before that date, see section 2664(b) of Pub. L. 98–369, set out as a note under section
           401 of this title.

                                                EFFECTIVE DATE OF 1982 AMENDMENT
             Amendment by section 171(a), (b)(1) of Pub. L. 97–248 effective on and after Aug. 13, 1981,
           see section 171(c) of Pub. L. 97–248, set out as a note under section 503 of this title.
             Pub. L. 97–248, title I, §173(b), Sept. 3, 1982, 96 Stat. 403 , provided that: "The amendment
           made by this section [amending this section] shall become effective on October 1, 1982."

                                                EFFECTIVE DATE OF 1981 AMENDMENT
             Amendments by sections 2331(b), 2332(d)(2)–(7), and 2333(a), (b) of Pub. L. 97–35 effective
           Oct. 1, 1981, except as otherwise specifically provided, see section 2336 of Pub. L. 97–35, set
           out as a note under section 651 of this title.
             Amendment by section 2335(a) of Pub. L. 97–35 effective Aug. 13, 1981, except that such
           amendment shall not be requirements under this section or section 503 of this title before Oct. 1,
           1982, see section 2335(c) of Pub. L. 97–35, set out as a note under section 503 of this title.

                                                EFFECTIVE DATE OF 1980 AMENDMENT
             Amendment by Pub. L. 96–265 effective July 1, 1981, and to be effective only with respect to
           expenditures, referred to in section 655(a)(3) of this title, made on or after such date, see section
           405(e) of Pub. L. 96–265, set out as a note under section 652 of this title.

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                                                EFFECTIVE DATE OF 1977 AMENDMENT
              Pub. L. 95–30, title V, §502(b), May 23, 1977, 91 Stat. 162 , provided that: "The amendments
           made by this section [amending this section] shall take effect on the first day of the first
           calendar month which begins after the date of enactment of this Act [May 23, 1977]."

                                                EFFECTIVE DATE OF 1975 AMENDMENT
             Pub. L. 94–88, title II, §210, Aug. 9, 1975, 89 Stat. 437 , provided that: "The amendments made
           by this title [amending this section and sections 602, 603, and 655 of this title and enacting
           provisions set out as notes under sections 602 and 655 of this title] shall, unless otherwise
           specified therein, become effective August 1, 1975."

                 EXCEPTION TO GENERAL EFFECTIVE DATE FOR STATE PLANS REQUIRING STATE LAW
                                                 AMENDMENTS
               Pub. L. 109–171, title VII, §7311, Feb. 8, 2006, 120 Stat. 148 , provided that: "In the case of a
           State plan under part D of title IV of the Social Security Act [42 U.S.C. 651 et seq.] which the
           Secretary determines requires State legislation in order for the plan to meet the additional
           requirements imposed by the amendments made by this subtitle [subtitle C (§§7301–7311) of
           title VII of Pub. L. 109–171, amending this section, sections 608, 652, 653, 655, 657, 664, and 666 of
           this title, section 6402 of Title 26, Internal Revenue Code, and provisions set out as a note under
           section 1169 of Title 29, Labor], the effective date of the amendments imposing the additional
           requirements shall be 3 months after the first day of the first calendar quarter beginning after
           the close of the first regular session of the State legislature that begins after the date of the
           enactment of this Act [Feb. 8, 2006]. For purposes of the preceding sentence, in the case of a
           State that has a 2-year legislative session, each year of the session shall be considered to be a
           separate regular session of the State legislature."

                                               STATE COMMISSIONS ON CHILD SUPPORT
              Pub. L. 98–378, §15, Aug. 16, 1984, 98 Stat. 1320 , provided that:
              "(a) As a condition of the State's eligibility for Federal payments under part A or D of title IV of
           the Social Security Act [42 U.S.C. 601 et seq., 651 et seq.] for quarters beginning more than 30
           days after the date of the enactment of this Act [Aug. 16, 1984] and ending prior to October 1,
           1985, the Governor of each State, on or before December 1, 1984, shall (subject to subsection
           (f)) appoint a State Commission on Child Support.
              "(b) Each State Commission appointed under subsection (a) shall be composed of members
           appropriately representing all aspects of the child support system, including custodial and non-
           custodial parents, the agency or organizational unit administering the State's plan under part D
           of such title IV [42 U.S.C. 651 et seq.], the State judiciary, the executive and legislative branches
           of the State government, child welfare and social services agencies, and others.
              "(c) It shall be the function of each State Commission to examine, investigate, and study the
           operation of the State's child support system for the primary purpose of determining the extent
           to which such system has been successful in securing support and parental involvement both
           for children who are eligible for aid under a State plan approved under part A of title IV of such
           Act [42 U.S.C. 601 et seq.] and for children who are not eligible for such aid, giving particular
           attention to such specific problems (among others) as visitation, the establishment of
           appropriate objective standards for support, the enforcement of interstate obligations, the
           availability, cost, and effectiveness of services both to children who are eligible for such aid and
           to children who are not, and the need for additional State or Federal legislation to obtain
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           support for all children.
             "(d) Each State Commission shall submit to the Governor of the State and make available to
           the public, no later than October 1, 1985, a full and complete report of its findings and
           recommendations resulting from the examination, investigation, and study under this section.
           The Governor shall transmit such report to the Secretary of Health and Human Services along
           with the Governor's comments thereon.
             "(e) None of the costs incurred in the establishment and operation of a State Commission
           under this section, or incurred by such a Commission in carrying out its functions under
           subsections (c) and (d), shall be considered as expenditures qualifying for Federal payments
           under part A or D of title IV of the Social Security Act [42 U.S.C. 601 et seq., 651 et seq.] or be
           otherwise payable or reimbursable by the United States or any agency thereof.
             "(f) If the Secretary determines, at the request of any State on the basis of information
           submitted by the State and such other information as may be available to the Secretary, that
           such State-
                    "(1) has placed in effect and is implementing objective standards for the determination
             and enforcement of child support obligations,
                    "(2) has established within the five years prior to the enactment of this Act [Aug. 16,
             1984] a commission or council with substantially the same functions as the State
             Commissions provided for under this section, or
                    "(3) is making satisfactory progress toward fully effective child support enforcement and
             will continue to do so,
           then such State shall not be required to establish a State Commission under this section and
           the preceding provisions of this section shall not apply."

                            DELAYED EFFECTIVE DATE IN CASES REQUIRING STATE LEGISLATION
              Pub. L. 97–248, title I, §176, Sept. 3, 1982, 96 Stat. 403 , provided that: "In the case of a State
           with respect to which the Secretary of Health and Human Services has determined that State
           legislation is required in order to conform the State plan approved under part D of title IV of the
           Social Security Act [42 U.S.C. 651 et seq.] to the requirements imposed by any amendment made
           by this subtitle [subtitle E (§§171–176) of title I of Pub. L. 97–248, see Tables for classification],
           the State plan shall not be regarded as failing to comply with the requirements of such part
           solely by reason of its failure to meet the requirements imposed by such amendment prior to
           the end of the first session of the State legislature which begins after October 1, 1982, or which
           began prior to October 1, 1982, and remained in session for at least twenty-five calendar days
           after such date. For purposes of the preceding sentence, the term 'session' means a regular,
           special, budget, or other session of a State legislature."

                1 See References in Text note below.




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                  STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
       PROVIDENCE, S.C.                                                FAMILY COURT


       State of Rhode Island ex rel.             :
       GERO MEYERSIEK                            :
              Plaintiff                          :
                                                 :
       VS.                                       :              DOCKET NO: K20010521M
                                                 :              Title IV Part D Case under
                                                 :              42 U.S.C. §§ 651-669
       MARY SEGUIN                               :
           Defendant                             :


             DEFENDANT’S EMERGENCY MOTION TO DISMISS FOR LACK OF
                               JURISDICTION
                                                     And
                                          CLOSE THE CASE



              The Texas Defendant, MARY SEGUIN (“Seguin”), proceeding pro-se, hereby

       respectfully moves the Court to Dismiss for Lack of Jurisdiction over the State’s

       Motion to Set Arrears that is in violation of 42 U.S.C. sec. 654. The Defendant

       respectfully moves to close the case based on the plain fact that the Defendant paid off

       in full all “principle” support. The child in question was emancipated in April 2018.

              This motion to dismiss relies on the plain Federal statutory requirements of Title

       IV of the Social Security Act binding the Rhode Island Plaintiffs, binding the State Plan,

       binding the limited jurisdiction Family Court, and binding the Witness Rhode Island

       Executive Office of Health and Human Services.

              The Defendant reserves the right to raise all other multiple jurisdiction defect and

       nullity issues at the appropriate time in accordance with all applicable the laws of civil


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       procedure governing federal questions of the Title IV Program, the Commerce Clause

       and jurisdiction over the falsification of Title IV records certified to Texas and to the

       United States, among others.

              The Defendant respectfully requests that the Court issues a written opinion

       stating the Court’s reasoning.

              If the Court wishes to hold a hearing on the matter, the Defendant respectfully

       requests the Court give priority to and settles the threshold jurisdiction challenge, in

       accordance with the law.

                 I.       Lack of Jurisdiction under 42 U.S.C. sec. 654

              Congress enacted and offered the State of Rhode Island along with all states in

       the Union participation in Title IV of the Social Security Act attaching conditions to

       states’ participation under the Commerce Clause and Spending Clause of the

       United States Constitution. The conditional requirements mandate that participating

       States must amend their respective state constitutions to comply with Congressional

       amendments to 42 U.S.C. sec. 654. See, e.g., STATUTORY NOTES AND RELATED

       SUBSIDIARIES, Effective Date of 1996 Amendment, "(b) GRACE PERIOD FOR

       STATE LAW CHANGES.-The provisions of this title shall become effective with

       respect to a State on the later of- "(1) the date specified in this title, or "(2) the effective

       date of laws enacted by the legislature of such State implementing such provisions, but

       in no event later than the 1st day of the 1st calendar quarter beginning after the close of

       the 1st regular session of the State legislature that begins after the date of the enactment

       of this Act [Aug. 22, 1996]. For purposes of the previous sentence, in the case of a State

       that has a 2- year legislative session, each year of such session shall be deemed to be a

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       separate regular session of the State legislature. "(c) GRACE PERIOD FOR STATE

       CONSTITUTIONAL AMENDMENT.-A State shall not be found out of compliance

       with any requirement enacted by this title if the State is unable to so comply without

       amending the State constitution until the earlier of- "(1) 1 year after the effective date of

       the necessary State constitutional amendment; or "(2) 5 years after the date of the

       enactment of this Act [Aug. 22, 1996]." See also, Amendments for 1996 Par. (21)(A).

       Pub. L. 104–193, §395(d)(1)(D), substituted "noncustodial parent" for "absent parent."

       Therefore, it is abundantly and explicitly clear that as of the 1996 Amendment to 42

       U.S.C. sec. 654 legislating penalties for state noncompliance, Congress explicitly

       required participating states like Rhode Island to amend its state constitution for

       compliance with 42 U.S.C. sec. 654. Therefore, Congress explicitly mandates that

       Rhode Island general laws that are out of compliance with 42 U.S.C. sec.

       654(21)(A) that was moreover highlighted in the statutory notes for the Amendments

       in 1996, are required to be changed. See Exhibit A. The United States Congress

       publication of 42 U.S.C. sec. 654.

              Therefore, it is firmly and unequivocally established that Rhode Island’s R.I.

       Gen. Laws § 15-5-16.5 that legislates 12% compound interest on overdue

       support is out of compliance. The plain statutory text of 42 U.S.C. sec.

       654(21)(A) states 3 to 6 percent and requires the State to set a uniform rate

       for all, not 12% compound interest in intrastate cases but 0% by policy in

       interstate cases, complicated by setting yet another category of 12%

       compound interest in targeted interstate cases, such as TEXAS Defendant’s

       interstate case. The fact that Rhode Island certifies that its State laws, such as R.I.



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       Gen. Laws § 15-5-16.5, are in compliance with 42 U.S.C. sec. 654(21)(A) shows prima

       facie false certification, and the grace period for the change of law expired in August

       1996, 28 years ago. See Exhibit B. R.I. Gen. Laws § 15-5-16.5.

              Per the Rhode Island State Government publication of the History of Section for

       R.I. Gen. Laws § 15-5-16.5, the Rhode Island General Assembly Public Legislature

       actually amended and reviewed R.I. Gen. Laws § 15-5-16.5in 2001, showing the Public

       the knowing noncompliance by the Rhode Island General Assembly. See, “History of

       Section. P.L. 1980, ch. 308, § 1; P.L. 1984, ch. 167, § 1; P.L. 2001, ch. 155, § 1.”

              Therefore, the limited jurisdiction court lacks jurisdiction to preempt 42 U.S.C.

       sec. 654, when 42 U.S.C. sec. 654 plainly requires unequivocally that “the State is

       required to so comply by amending the State constitution.”




                 II.   Family Court is a court of Limited Jurisdiction created under
                       RIGL 8-10-3 and Rhode Island, Having Participated in Title IV,
                       lacks jurisdiction to preempt 42 U.S.C. sec. 654



              Moreover, Rhode Island state family court is a court of limited jurisdiction

       created by the General Assembly under RIGL 8-10-3. See, Exhibit C. Plainly, the

       limited jurisdiction conferred to the state family court lacks the authority to preempt 42

       U.S.C. sec. 654. When the judge violates federal law or aids in the violation of federal

       criminal laws, the judge has no immunity. See section below entitled “No Immunity.”

              For example, RIGL 8-10-3 plainly confers the limited jurisdiction family court the

       authority to hear motions on support establishment and enforcement, but does NOT


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       confer the family court the authority to preempt 42 U.S.C. sec. 654. Indeed the

       statutory terms in the Statutory Notes Section and the language of 42 U.S.C. sec. 654

       plainly conditions Title IV preemption of State constitutions for State acceptance of

       participation. The Defendant reserves all rights to raise the other multiple other

       jurisdictional defects as they apply to this matter, but the basic jurisdictional threshold

       regarding the authority to preempt 42 U.S.C. sec. 654(21)(A) must fundamentally be

       met – and this court lacks jurisdiction.

              The clearly established lack of authority of this court to preempt 42 U.S.C. sec.

       654 leads the court to address the question of the court’s lack of jurisdiction over the

       Rhode Island Office of Child Support’s written policy, “It is desirable for RI OCSS to

       prohibit the charging of interest in Interstate Cases.” See Exhibit D, Rhode

       Island Office of Child Support Services Written Policy stating, “It is desirable for RI

       OCSS to prohibit the charging of interest in Interstate Cases.”

                 III.   RI OCSS Policy that States “It is desirable for RI OCSS to
                        prohibit the charging of interest in Interstate Cases” – This
                        Court lacks jurisdiction over the Policy and lacks jurisdiction
                        hear legal actions at law regarding the effect and the motive
                        behind establishing this policy



              A plain reading of RIGL 8-10-3 concludes that the limited jurisdiction family

       court lacks jurisdiction over the RI OCSS Policy attached Exhibit D that states, ““It is

       desirable for RI OCSS to prohibit the charging of interest in Interstate

       Cases.” The Policy goes on to state regarding operations of the automated data

       processing system, “Entry of the N not only prohibits the charging of future interest but

       automatically creates adjustments to zero out any existing interest.” Additionally the


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       Policy states, “Two reports will be created. The first will detail the interstate cases for

       which a support order….. for which one or more interest adjustment were created.” For

       the purposes of this motion, it suffices to raise that it is documented unequivocally the

       Office of Child Support Services creates multiple books of account reports for the

       completely un-uniform interest rates applied to support cases and that routinely “one or

       more interest adjustment were created” – 42 U.S.C. sec. 654 emphatically forbids all the

       policy practices enumerated in the Policy and the egregious issue of certifying a support

       record under 42 U.S.C. sec. 666(14), for example, that involves one or more interest

       adjustments and “two reports will be created” as it relates to compliance with 42 U.S.C.

       sec. 654 et al is a matter over which this court plainly lacks jurisdiction.

              Applying the aforesaid RI OCSS Policy to this court’s order dated September 25,

       2012 that allegedly “established interest” in this interstate Title IV case, that this court

       also judicially noticed on February 2, 2024, the court must scrutinize the September

       25, 2012 Order prepared by RI OCSS and signed and entered by Judge John McCann III

       that is challenged.

                 IV.   This Court Lacks Jurisdiction Over any Legal Action in Law
                       Regarding the Violation of 42 U.S.C. sec. 654 By This Court



              Subsequent to the review of the Title IV-D TRAC records selectively only

       produced by RI OCSS for December 2021 to April 2022 (see Exhibit F) (and the

       aforesaid RI OCSS Policy), the TEXAS Defendant filed legal actions in law in Federal

       courts that have jurisdiction over the Federal question and Federal matters in this

       interstate case. Furthermore, subsequent to Defendant raising in court at the WebEx

       hearing in this matter scheduled on October 18, 2023 that Defendant is denied access to

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       her own case records by the Rhode Island Rules and Practice 5 denying the public and

       pro se litigants remote access to court information (except the docket), the Defendant

       was emailed a copy of the September 25, 2012 court order allegedly establishing 12%

       compound interest between December 2023 and January 2024, the delayed access

       (Defendant has been denied access to information regarding the court orders and the

       ordered interest since November 2021 to January 2023) of which is already egregiously

       outrageous and the delay itself constituted countless multiple penalty-incurring

       compliance failure violations.

              For the purpose of this motion, a strict scrutiny of the First Amendment access-

       denied September 25, 2012 order is plainly required.

              On a Rhode Island Office of Child Support presented order by Deputy Chief

       Counsel Priscilla Glucksman, in this interstate non-welfare Title IV-D case, in which

       Plaintiff Gero Plaintiff (who is additionally represented by his own private attorney

       Barbara E. Grady, whose husband and law firm partner Paul Dugan was formerly

       Deputy Chief Legal Counsel for RI OCSS) paid RI OCSS under 42 U.S.C. sec. 654 a

       whopping $25 application fee that acquired for him the entire suite of full and complete

       individualized customized and dedicated child support interest establishment and

       enforcement legal services involving at least seven (7) Deputy Chief Legal Counsels and

       Chief Legal Counsel (e.g., 1. Priscilla Glucksman, 2. Kevin Tighe, 3. Frank DiBiaise, 4.

       Paul Gould, 5. John Langlois, 6. Lisa Pinnsonneault, 7. Carl Beauregard) from 2010 to

       the present from RI OCSS, Item 4 of the September 25, 2024 Order states, “The State’s

       Oral request to clarifying whether or not interest was to run o n the child support and




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       medical arrears as found in the May 24, 2012 court order is addressed. Interest will

       continue to run on the money due.”

              It is plainly explicit that 12% compound interest rate is not expressly provided in

       the text of the order.

              It is plainly explicit that 42 U.S.C. sec. 654(21)(A) preempts RIGL 15-16-15.5.

                 It is plainly explicit that the RI OCSS Policy states RI OCSS is prohibit from

       charging interest in interstate cases, meaning in interstate cases, the interest is 0%.

              It is plainly explicit that the plain statutory text of 42 U.S.C. sec. 654(21)(A)

       requires that the State must set uniform interest and if the State opts to set interest, it

       must be “no less than 3 percent and no more than 6 percent.”

              Accordingly, this court has jurisdiction to set the only lawful rate set

       by State Policy as stated in the RI OCSS Policy, which is zero percent (0%),

       uniformly, be it interstate or intrastate, given the plain statutory text of 42

       U.S.C. sec. 654(21)(A).

              The TEXAS Defendant explicitly requests respectfully that this Court take judicial

       notice of the fact that the Rhode Island Office of Child Support claims multiple times

       under Oath that, although the September 25, 2012 Order plainly omits the percent being

       charged for overdue support, Judge McCann ordered 12% compound interest that he

       knew or should have known, be it interstate or intrastate, is unlawful under 42 U.S.C.

       sec. 654 and preempted by the plain statutory language of 42 U.S.C. sec. 654(21)(A).

              Based on the aforesaid obvious effect of ordering 12% compound interest, Judge

       John McCann III knew or should have known that “two reports” will be created in the

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       automated data processing system and the resulting removal of the interest amount

       from the automated system resulting in Rhode Island certifying “no interest” when

       sending to Texas and to Federal authorities for enforcement under 42 U.S.C. sec.

       666(14). Judge McCann’s knowing aiding in the false certification of Title IV records via

       wire and via Mail interstate to Texas and to the United States plainly violates Federal

       criminal law. The judge had a legal duty to obey the criminal laws.

                 V.   Any Order Now Re-Establishing 12% Compound Interest Simply
                      Results in the Creation of “zero interest” in Certifications to
                      Texas under 42 U.S.C. sec. 666(14)



              Enforceability of any order now re-establishing 12% compound interest simply

       results in the creation of “zero interest” in enforcement certifications to Texas under 42

       U.S.C. sec. 666(14). With the child emancipated since 2018, the Office of Child Support

       Services claiming in the TRAC Record it certified to TEXAS child support amount due

       with ZERO INTEREST also in 2018, and the fact that principle was paid off by the

       Defendant three years ago in December 2021 per representations by the Office of Child

       Support Services, the Court lacks jurisdiction to establish or modify or re-set or set

       arrears or whatever legal moniker that essentially dresses up organized fraud based on

       this set of circumstances raised herein in this motion alone.

              The fact that the Office of Child Support Services filed a motion before this court

       to set interest “arrears” in January 2023 a year after Defendant paid off the principle in

       December 2021 reeks of fraud. If lawful and legitimate interest is actually due, logic

       dictates the State’s support enforcement political subdivision under 42 U.S.C. sec.

       654(3) simply enforces it without necessitating this court to “set interest arrears.” This


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       court’s addressment of this issue was punting it from Magistrate Monaco to Judge

       Merola to Magistrate Nahabedian who showed her colors by stating on the record

       affirming that the Rhode Island judiciary orders 12% compound interest that it knows is

       preempted by 42 U.S.C. sec. 654, thereby necessitating the aforesaid RI OCSS Policy “it

       is desirable for RI OCSS to prohibit the charging of interest in interstate cases.” Why?

       Because it is plain under 42 U.S.C. 654 that Rhode Island’s “effective enforcement” of

       interest in interstate cases may necessitate certifying to another state, like to TEXAS, an

       “interest-removed-from-the-system” consisting of zero interest, to better keep track of

       their several “reports” that “will be created.” In other words, the no interest in interstate

       cases policy better helps to keep RI OCSS’s lies and fraud straight.

              Although Defendant reserves the right to fully raise the issue of fraud by the

       certain symbiotic judges and by RI OCSS at the right time, Defendant raises the fact that

       the judge has a legal duty to obey the criminal laws. Obviously RI OCSS has

       a legal duty to obey criminal laws.

                 VI.   Statutory and Federal Authority

              Certainly, among others, in order to avoid yet another penalty-incurring violation

       of 42 U.S.C. sec. 654, the court must dismiss for lack of jurisdiction and close the case.

              Congress prescribed both civil and criminal penalties for violations of Title IV of

       the Social Security Act. Firstly, consistent with its Spending Power, Congress has the

       authority to attach conditions on the receipt of federal funds. See South Dakota v.

       Dole, 483 U.S. 203, 206 (1987). The Title IV-D statute expressly provides that

       compliance with the 3-6% simple interest on overdue support, operating the automated

       system for accuracy and SDU requirements is a condition of approval of a state plan. See

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       42 U.S.C. §§ 654(10), (14), (15), (16), (20), (21)(A), (24), (27)A, § 654a, § 654b. The clear

       and unequivocal statement of the required conditions in the statute enabled Rhode

       Island to "exercise [her] choice knowingly, cognizant of the consequences of [her]

       participation." See Dole, 483 U.S. at 207 (citations omitted). The Supreme Court has

       recognized that Congress intended the linkages between child support programs and the

       TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484 (1990) (concluding

       Congress intended the two programs to "operate together closely.” The penalty

       provisions of the statute and the wording of the statute are plain. Where the Secretary

       determines that a state plan would be disapproved, and where the State has made and

       continues to make a good faith effort to comply and has submitted a corrective

       compliance plan, "the Secretary shall not disapprove the State plan . . . and the Secretary

       shall reduce the amount otherwise payable to the State [by the designated alternative

       penalty]." 42 U.S.C. § 655(a)(4)(A)(i)(II) (emphasis added). "[B]y the text of the statute,

       the legislature has prescribed that the Secretary shall enforce this penalty." Hodges v.

       Shalala, 121 F.2d at 879. Absent any discretion available to the Secretary to impose a

       lesser penalty than the alternative penalty as outlined in the statute, Rhode Island is

       liable for the statutorily prescribed penalties.1



       1
        In 2000, South Carolina unsuccessfully challenged the Department of Health and
       Human Services’ (HHS) authority to impose a penalty for its non-compliance, see
       Hodges v. Shalala, supra, and subsequently submitted a corrective-action plan and
       accepted imposition of a penalty retroactive to 1998. The State paid more than $55
       million in penalties through 2007. South Carolina paid $75 million as of 2009 and was
       set to pay another $10 million for 2010. South Carolina Dep’t of Social Servs., Response
       to Budget Proviso 13.27 at 4 (Aug. 31, 2007),
       http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
               Emphatically, note that South Carolina’s violations and penalties do not involve
       deliberate alterations of and tampering with government records involved in accounting
       fraud, knowingly inputting 42 USC 654(21)(A) violative 12% compound interest into the
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                Congress also enacted several criminal codes punishing actors, such as the

       Plaintiffs, who commit federal crimes, including cover up of unlawful activities.

                The federal government has a longstanding involvement in child support

       enforcement programs. See Hodges v. Shalala, 121 F.Supp.2d 854 (D.S.C. 2000). As

       a condition of receipt of any federal funding under Title IV-D of the Social Security Act,

       42 U.S.C. §§ 651-669, States must have an approved state plan for child and spousal

       support that meets all the requirements of 42 U.S.C. § 654. Among the prerequisites for

       approval of a Title IV-D Plan are the requirements under 42 U.S.C. sec. 654(21)(A) that

       the State, at the option of the State, impose a late payment fee (‘interest”) on all overdue

       support (as defined in section 666(e) of this title) under any obligation being enforced

       under this part, in an amount equal to a uniform percentage determined by the State

       (not less than 3 percent nor more than 6 percent) of the overdue support, which shall be

       payable by the noncustodial parent owing the overdue support; establish and operate an

       automated data processing and information retrieval system, see 42 U.S.C. § 654(24),

       and a state child support disbursement unit (SDU), see 42 U.S.C. § 654(27)(A), among

       others

                While Rhode Island submits to the United States that it has a federally certifiable

       statewide automated data processing system for child support, Office of Child Support

       Services produced APRA Public Records consisting of Title IV Public Records showing

       Rhode Island taking off from the automated data processing system tens of thousands of

       dollars allegedly representing the 42 U.S.C. sec. 654(21)(A) prohibited 12% compound


       automated system, then manually removing or adjusting them for purposes of
       certification purposes to Texas and to the United States in order to conceal the 12%
       compound interest from the noncustodial parent and to Texas and Federal authorities.
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       interest late payment fee “interest” prior to certifying to TEXAS and the United States,

       and showing Rhode Island falsely certified to the amount’s accuracy under 42 U.S.C.

       sec. 666(14) when in fact Rhode Island removed significant tens of thousands of dollars

       (See TRAC records in attached Exhibit).

              The Title IV-D statute expressly provides that compliance with ALL 42 U.S.C. 654

       requirements is a condition of approval of a state plan. See 42 U.S.C. § 654(16),

       (24)(27)A.

              Again, the clear and unequivocal statement of the required conditions in the

       statute enabled South Rhode Island to "exercise [her] choice knowingly, cognizant of the

       consequences of [her] participation." See Dole, 483 U.S. at 207 (citations omitted). The

       Supreme Court has recognized that Congress intended these linkages between child

       support programs and the TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484

       (1990) (concluding Congress intended the two programs to "operate together closely.”

              Emphatically, Congress may use its Spending Power to influence a State’s

       legislative choices by providing incentives for States to adopt certain policies, but may

       not compel or coerce a State, or go so far as to "commandeer the legislative processes of

       the States by directly compelling them to enact and enforce a federal regulatory

       program." See New York v. United States, 505 U.S. at 161, but Congress, under the

       Commerce Clause, may offer the States a choice of regulation under federal

       control or preemption under federal regulation. See Hodel v. Virginia

       Surface Mining & Reclamation Assn., Inc., 452 U.S. 264, 288 (1981). It is crystal

       clear that upon Rhode Island’s State Plan entering into agreement with the United

       States under the Commerce Clause, Rhode Island accepted the agreement terms of

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       regulation under federal control or preemption under federal regulation. See Hodel v.

       Virginia Surface Mining & Reclamation Assn., Inc., 452 U.S. 264, 288 (1981).

              See United States Congress’s publication of cited applicable federal law:

       https://uscode.house.gov/view.xhtml?hl=false&edition=prelim&req=granuleid%3AUS

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                           A. VIOLATIONS OF FEDERAL CRIMINAL CODES

              Pending before the official Federal Court of Appeals proceeding, Defendant made

       known to the panel of judges of the United States allegations contained in the Amended

       Complaint filed in Federal Court of the commission of acts by the Rhode Island political

       subdivisions and employees thereof, Barbara Grady and Gero Meyersiek named herein

       in this motion, the afore-described acts violating 18 U.S.C. §2, 18 U.S.C. §3, 18 U.S.C.

       §13, 18 U.S.C. §21, 18 U.S.C. §35, 18 U.S.C. §285, 18 U.S.C. §286, 18 U.S.C. §287, 18

       U.S.C. § 2071(a), 18 U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C. §

       241, 18 U.S.C. § 242, 18 U.S.C. § 1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18

       U.S.C. §1343, 18 U.S.C. § 201, 18 U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285, 18 U.S.C.

       §1506, 18 U.S.C. § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C. §1002, 18 U.S.C.

       §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C. §1346, 18 U.S.C. §1349, 18 U.S.C.

       §1510, 18 U.S.C. §1513, RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C. §1963, 18

       U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968 – such violative acts by the Plaintiffs in

       this matter, along with the political subdivisions and employees thereof named in the

       federal matter on this list are not exhaustive. It is undisputable, among others, that

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       Title IV-D penalties were incurred by, Criminal penalties were incurred by, and Title IV-

       D and Title IV-A disgorgement is due from the applicable State of Rhode Island’s Title

       IV political subdivisions.

                                              B. NO IMMUNITY

              On February 6, 2024 in case No. 23-3228 in UNITED STATES OF AMERICA v.

       DONALD J. TRUMP, DC Circuit, the DC Circuit United States Court of Appeals reminds

       the Public and all applicable tribunals that Judges are similarly liable to the criminal

       laws for their official acts. A notable example is Ex parte Commonwealth of Virginia, in

       which the Supreme Court affirmed the criminal indictment of a judge based on an

       official act. 100 U.S. 339 (1879). A county judge was indicted in federal court for

       violating a federal statute that prohibited discriminating on the basis of race in jury

       selection. Id. at 340, 344. The Supreme Court began by observing the principle that

       officers are bound to follow the law: “We do not perceive how holding an office under a

       State, and claiming to act for the State, can relieve the holder from obligation to obey the

       Constitution of the United States, or take away the power of Congress to punish his

       disobedience.” Id. at 348. The Court then addressed the judge’s argument that the Court

       lacked the authority to punish a state judge for “his official acts.” Id. Its response was

       twofold. First, the Court described juror selection as “merely a ministerial act, as much

       so as the act of a sheriff holding an execution, in determining upon what piece of

       property he will make a levy, or the act of a roadmaster in selecting laborers to work

       upon the roads.” Id. The Court then explained that even if juror selection is considered a

       “judicial act,” the judge had a legal duty to obey the criminal laws:

              “But if the selection of jurors could be considered

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              in any case a judicial act, can the act charged
              against the petitioner be considered such when
              he acted outside of his authority and in direct
              violation of the spirit of the State statute? That
              statute gave him no authority, when selecting
              jurors, from whom a panel might be drawn for
              a circuit court, to exclude all colored men
              merely because they were colored. Such an
              exclusion was not left within the limits of his
              discretion. It is idle, therefore, to say that the
              act of Congress is unconstitutional because it
              inflicts penalties upon State judges for their
              judicial action. It does no such thing.


              Id. at 348–49 (emphasis added). The Court’s reference to “the State statute” is to

       the Virginia law charging the county judge with the duty to select jurors in the circuit

       and county courts. Ex parte Virginia, 100 U.S. at 340.

              More recent case law on the judicial immunity doctrine affirms that judges are

       not immune from criminal liability for their official acts. O’Shea v. Littleton confirmed

       the holding of Ex parte Virginia in dismissing a civil rights action for equitable relief

       brought against a county magistrate and associate judge of a county circuit. 414 U.S.

       488, 490–91, 503 (1974). The Supreme Court concluded that the requested injunction

       was not the only available remedy because both judges remained answerable to the

       federal criminal laws:

              [W]e have never held that the performance of
              the duties of judicial, legislative, or executive


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              officers, requires or contemplates the
              immunization of otherwise criminal deprivation
              of constitutional rights. On the contrary, the
              judicially fashioned doctrine of official
              immunity does not reach ‘so far as to immunize
              criminal conduct proscribed by an Act of
              Congress . . . .’


              Id. at 503 (citation to Ex parte Virginia, 100 U.S. 339, omitted; quoting Gravel,

       408 U.S. at 627). Similarly, in Dennis v. Sparks, the Court affirmed judicial immunity

       from civil money damages in the context of bribery allegations but explained that judges

       “are subject to criminal prosecutions as are other citizens.” 449 U.S. at 31. Crucially, the

       judge in Dennis retained civil immunity because “the challenged conduct” — allegedly

       issuing an injunction corruptly after accepting bribes as part of a conspiracy — was “an

       official judicial act within his statutory jurisdiction, broadly construed.” Id. at 29. The

       scope of civil judicial immunity thus aligns with civil Presidential immunity under

       Fitzgerald, but a judge has no criminal immunity for the same “official act.” See also

       Imbler v. Pachtman, 424 U.S. 409, 429 (1976) (“Even judges, cloaked with absolute civil

       immunity for centuries, could be punished criminally for willful deprivations of

       constitutional rights . . . .”); United States v. Gillock, 445 U.S. 360, 372 (1980) (“[T]he

       cases in this Court which have recognized an immunity from civil suit for state officials

       have presumed the existence of federal criminal liability as a restraining factor on the

       conduct of state officials.”).

              When considering the criminal prosecutions of judges, other circuits have

       repeatedly rejected judicial criminal immunity for official acts, largely in the context of


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       bribery prosecutions. See United States v. Claiborne, 727 F.2d 842, 845 (9th Cir.) (per

       curiam), cert. denied, 469 U.S. 829 (1984); United States v. Hastings, 681 F.2d 706,

       709–11 (11th Cir. 1982), cert. denied, 459 U.S. 1203 (1983); United States v. Isaacs, 493

       F.2d 1124, 1143–44 (7th Cir.) (per curiam), cert. denied, 417 U.S. 976 (1974), overruled

       on other grounds by United States v. Gimbel, 830 F.2d 621 (7th Cir. 1987).

             The political subdivisions of Rhode Island under 42 USC 654(1) similarly are not

       immune, and employees of the political subdivisions of Rhode Island under 42 USC

       654(1) similarly are not immune. Barbara Grady and Gero Meyersiek are

       unquestionably liable.

                 VII.   CONCLUSION

                        Under 42 USC sec. 654 this court only has jurisdiction to set the

                        only lawful rate set by State, articulated in writing in the State’s

                        Policy as stated in the RI OCSS Policy, which is zero percent

                        (0%), uniformly, be it interstate or intrastate, given the plain

                        statutory text of 42 U.S.C. sec. 654(21)(A). Defendant paid off

                        the principle in full as of December 7, 2021. This Court must

                        dismiss for lack of jurisdiction and close the case.


             WHEREFORE, the Defendant respectfully requests the Chief Judge or

       designee-Judge Merola of this Honorable Court to:


             1. Grant Defendant’s Motion to Dismiss for Lack of Jurisdiction and Close the

                   Case.

             2. Order the Title IV case closed.

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             3. Order appropriate sanctions against Rhode Island Office of Child Support

                 Services and Plaintiff, for among others fraud on the court, including

                 ordering referral of the matters raised herein to the Office of Inspector

                 General, both state and federal.

             4. Declare that Defendant’s child support record file maintained by the Rhode

                 Island Office of Child Support Services that by law codified in Title IV-D

                 Program of the Social Security Act must be produced to the Defendant

                 Noncustodial Parent upon request.

             5. Declare that Defendant’s child support file maintained by the Rhode Island

                 Office of Child Support Services under the supervision of RI EOHHS must be

                 produced to the Defendant Noncustodial Parent upon request.

             6. Issue a written decision on the Court’s decision.

             7. Listen to and admit into evidence the audio recording of John Langlois of

                 Office of Child Support Services here:

                 https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-

                 hBMaEg9/view?usp=sharing

             8. For further relief as the Court deems reasonable and fair under the

                 circumstances.

       Respectfully submitted,


       March 27, 2024


                                                FOR DEFENDANT

                                                MARY SEGUIN, Pro Se.



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                                                By: ________________
                                                Mary Seguin
                                                P.O. Box 22022
                                                Houston, TX 77019
                                                maryseguin22022@gmail.com



                                          NOTICE OF HEARING


              Please take notice that if necessary, the foregoing Emergency Motion to Dismiss
       for Lack of Jurisdiction and Close the Case will be called for hearing on a priority basis
       to determine the threshold jurisdiction challenge before the Rhode Island Family Court,
       One Dorrance Plaza, Providence, RI 02903 at 10:00 AM on March 28, 2024 (case is
       already scheduled for that date/time) by WebEx hearing
       https://ricourts.webex.com/meet/garrahy5F




                                             CERTIFICATION


              I hereby certify that a copy of the within Emergency Motion was filed on March
       27, 2024 electronically using the Court’s Odyssey File and Serve, with service to
       paul.gould@dhs.ri.gov and dhs.courtfile@dhs.ri.gov


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             42 USC 654: State plan for child and spousal support
             Text contains those laws in effect on March 25, 2024

             From Title 42-THE PUBLIC HEALTH AND WELFARE
                 CHAPTER 7-SOCIAL SECURITY
                 SUBCHAPTER IV-GRANTS TO STATES FOR AID AND SERVICES TO NEEDY FAMILIES WITH
                 CHILDREN AND FOR CHILD-WELFARE SERVICES
                 Part D-Child Support and Establishment of Paternity
             Jump To:
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                 Effective Date




           §654. State plan for child and spousal support
             A State plan for child and spousal support must-
               (1) provide that it shall be in effect in all political subdivisions of the State;
               (2) provide for financial participation by the State;
               (3) provide for the establishment or designation of a single and separate organizational unit, which
             meets such staffing and organizational requirements as the Secretary may by regulation prescribe, within
             the State to administer the plan;
               (4) provide that the State will-
                 (A) provide services relating to the establishment of paternity or the establishment, modification, or
               enforcement of child support obligations, as appropriate, under the plan with respect to-
                     (i) each child for whom (I) assistance is provided under the State program funded under part A of
                 this subchapter, (II) benefits or services for foster care maintenance are provided under the State
                 program funded under part E of this subchapter, (III) medical assistance is provided under the State
                 plan approved under subchapter XIX, or (IV) cooperation is required pursuant to section 2015(l)(1) of
                 title 7, unless, in accordance with paragraph (29), good cause or other exceptions exist;
                     (ii) any other child, if an individual applies for such services with respect to the child (except that, if
                 the individual applying for the services resides in a foreign reciprocating country or foreign treaty
                 country, the State may opt to require the individual to request the services through the Central
                 Authority for child support enforcement in the foreign reciprocating country or the foreign treaty
                 country, and if the individual resides in a foreign country that is not a foreign reciprocating country or
                 a foreign treaty country, a State may accept or reject the application); and

                   (B) enforce any support obligation established with respect to-
                     (i) a child with respect to whom the State provides services under the plan; or
                     (ii) the custodial parent of such a child;

                (5) provide that (A) in any case in which support payments are collected for an individual with respect
             to whom an assignment pursuant to section 608(a)(3) of this title is effective, such payments shall be
             made to the State for distribution pursuant to section 657 of this title and shall not be paid directly to the
             family, and the individual will be notified on a monthly basis (or on a quarterly basis for so long as the
             Secretary determines with respect to a State that requiring such notice on a monthly basis would impose
             an unreasonable administrative burden) of the amount of the support payments collected, and (B) in any
             case in which support payments are collected for an individual pursuant to the assignment made under
             section 1396k of this title, such payments shall be made to the State for distribution pursuant to section
             1396k of this title, except that this clause shall not apply to such payments for any month after the month

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             in which the individual ceases to be eligible for medical assistance;
                (6) provide that-
                   (A) services under the plan shall be made available to residents of other States on the same terms
                as to residents of the State submitting the plan;
                   (B)(i) an application fee for furnishing such services shall be imposed on an individual, other than an
                individual receiving assistance under a State program funded under part A or E, or under a State plan
                approved under subchapter XIX, or who is required by the State to cooperate with the State agency
                administering the program under this part pursuant to subsection (l) or (m) of section 2015 of title 7,
                and shall be paid by the individual applying for such services, or recovered from the absent parent, or
                paid by the State out of its own funds (the payment of which from State funds shall not be considered
                as an administrative cost of the State for the operation of the plan, and shall be considered income to
                the program), the amount of which (I) will not exceed $25 (or such higher or lower amount (which shall
                be uniform for all States) as the Secretary may determine to be appropriate for any fiscal year to reflect
                increases or decreases in administrative costs), and (II) may vary among such individuals on the basis
                of ability to pay (as determined by the State); and
                   (ii) in the case of an individual who has never received assistance under a State program funded
                under part A and for whom the State has collected at least $550 of support, the State shall impose an
                annual fee of $35 for each case in which services are furnished, which shall be retained by the State
                from support collected on behalf of the individual (but not from the first $550 so collected), paid by the
                individual applying for the services, recovered from the absent parent, or paid by the State out of its
                own funds (the payment of which from State funds shall not be considered as an administrative cost of
                the State for the operation of the plan, and the fees shall be considered income to the program);
                   (C) a fee of not more than $25 may be imposed in any case where the State requests the Secretary
                of the Treasury to withhold past-due support owed to or on behalf of such individual from a tax refund
                pursuant to section 664(a)(2) of this title;
                   (D) a fee (in accordance with regulations of the Secretary) for performing genetic tests may be
                imposed on any individual who is not a recipient of assistance under a State program funded under
                part A; and
                   (E) any costs in excess of the fees so imposed may be collected-
                       (i) from the parent who owes the child or spousal support obligation involved; or
                       (ii) at the option of the State, from the individual to whom such services are made available, but
                   only if such State has in effect a procedure whereby all persons in such State having authority to
                   order child or spousal support are informed that such costs are to be collected from the individual to
                   whom such services were made available;

                 (7) provide for entering into cooperative arrangements with appropriate courts and law enforcement
             officials and Indian tribes or tribal organizations (as defined in subsections (e) and (l) of section 5304 of
             title 25) (A) to assist the agency administering the plan, including the entering into of financial
             arrangements with such courts and officials in order to assure optimum results under such program, and
             (B) with respect to any other matters of common concern to such courts or officials and the agency
             administering the plan;
                 (8) provide that, for the purpose of establishing parentage, establishing, setting the amount of,
             modifying, or enforcing child support obligations, or making or enforcing a child custody or visitation
             determination, as defined in section 663(d)(1) of this title the agency administering the plan will establish
             a service to locate parents utilizing-
                   (A) all sources of information and available records; and
                   (B) the Federal Parent Locator Service established under section 653 of this title,

             and shall, subject to the privacy safeguards required under paragraph (26), disclose only the information
             described in sections 653 and 663 of this title to the authorized persons specified in such sections for the
             purposes specified in such sections;
               (9) provide that the State will, in accordance with standards prescribed by the Secretary, cooperate
             with any other State-
                  (A) in establishing paternity, if necessary;
                  (B) in locating a noncustodial parent residing in the State (whether or not permanently) against
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                whom any action is being taken under a program established under a plan approved under this part in
                another State;
                   (C) in securing compliance by a noncustodial parent residing in such State (whether or not
                permanently) with an order issued by a court of competent jurisdiction against such parent for the
                support and maintenance of the child or children or the parent of such child or children with respect to
                whom aid is being provided under the plan of such other State;
                   (D) in carrying out other functions required under a plan approved under this part; and
                   (E) not later than March 1, 1997, in using the forms promulgated pursuant to section 652(a)(11) of
                this title for income withholding, imposition of liens, and issuance of administrative subpoenas in
                interstate child support cases;

                 (10) provide that the State will maintain a full record of collections and disbursements made under the
             plan and have an adequate reporting system;
                 (11)(A) provide that amounts collected as support shall be distributed as provided in section 657 of this
             title; and
                 (B) provide that any payment required to be made under section 656 or 657 of this title to a family shall
             be made to the resident parent, legal guardian, or caretaker relative having custody of or responsibility for
             the child or children;
                 (12) provide for the establishment of procedures to require the State to provide individuals who are
             applying for or receiving services under the State plan, or who are parties to cases in which services are
             being provided under the State plan-
                    (A) with notice of all proceedings in which support obligations might be established or modified; and
                    (B) with a copy of any order establishing or modifying a child support obligation, or (in the case of a
                 petition for modification) a notice of determination that there should be no change in the amount of the
                 child support award, within 14 days after issuance of such order or determination;

                (13) provide that the State will comply with such other requirements and standards as the Secretary
             determines to be necessary to the establishment of an effective program for locating noncustodial
             parents, establishing paternity, obtaining support orders, and collecting support payments and provide
             that information requests by parents who are residents of other States be treated with the same priority
             as requests by parents who are residents of the State submitting the plan;
                (14)(A) comply with such bonding requirements, for employees who receive, disburse, handle, or have
             access to, cash, as the Secretary shall by regulations prescribe;
                (B) maintain methods of administration which are designed to assure that persons responsible for
             handling cash receipts shall not participate in accounting or operating functions which would permit them
             to conceal in the accounting records the misuse of cash receipts (except that the Secretary shall by
             regulations provide for exceptions to this requirement in the case of sparsely populated areas where the
             hiring of unreasonable additional staff would otherwise be necessary);
                (15) provide for-
                    (A) a process for annual reviews of and reports to the Secretary on the State program operated
                under the State plan approved under this part, including such information as may be necessary to
                measure State compliance with Federal requirements for expedited procedures, using such standards
                and procedures as are required by the Secretary, under which the State agency will determine the
                extent to which the program is operated in compliance with this part; and
                    (B) a process of extracting from the automated data processing system required by paragraph (16)
                and transmitting to the Secretary data and calculations concerning the levels of accomplishment (and
                rates of improvement) with respect to applicable performance indicators (including paternity
                establishment percentages) to the extent necessary for purposes of sections 652(g) and 658a of this
                title;

               (16) provide for the establishment and operation by the State agency, in accordance with an (initial and
             annually updated) advance automated data processing planning document approved under section
             652(d) of this title, of a statewide automated data processing and information retrieval system meeting
             the requirements of section 654a of this title designed effectively and efficiently to assist management in

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             the administration of the State plan, so as to control, account for, and monitor all the factors in the
             support enforcement collection and paternity determination process under such plan;
                 (17) provide that the State will have in effect an agreement with the Secretary entered into pursuant to
             section 663 of this title for the use of the Parent Locator Service established under section 653 of this
             title, and provide that the State will accept and transmit to the Secretary requests for information
             authorized under the provisions of the agreement to be furnished by such Service to authorized persons,
             will impose and collect (in accordance with regulations of the Secretary) a fee sufficient to cover the costs
             to the State and to the Secretary incurred by reason of such requests, will transmit to the Secretary from
             time to time (in accordance with such regulations) so much of the fees collected as are attributable to
             such costs to the Secretary so incurred, and during the period that such agreement is in effect will
             otherwise comply with such agreement and regulations of the Secretary with respect thereto;
                 (18) provide that the State has in effect procedures necessary to obtain payment of past-due support
             from overpayments made to the Secretary of the Treasury as set forth in section 664 of this title, and take
             all steps necessary to implement and utilize such procedures;
                 (19) provide that the agency administering the plan-
                    (A) shall determine on a periodic basis, from information supplied pursuant to section 508 of the
                 Unemployment Compensation Amendments of 1976, whether any individuals receiving compensation
                 under the State's unemployment compensation law (including amounts payable pursuant to any
                 agreement under any Federal unemployment compensation law) owe child support obligations which
                 are being enforced by such agency; and
                    (B) shall enforce any such child support obligations which are owed by such an individual but are not
                 being met-
                       (i) through an agreement with such individual to have specified amounts withheld from
                    compensation otherwise payable to such individual and by submitting a copy of any such agreement
                    to the State agency administering the unemployment compensation law; or
                       (ii) in the absence of such an agreement, by bringing legal process (as defined in section 659(i)(5)
                    of this title) to require the withholding of amounts from such compensation;

                 (20) provide, to the extent required by section 666 of this title, that the State (A) shall have in effect all
             of the laws to improve child support enforcement effectiveness which are referred to in that section, and
             (B) shall implement the procedures which are prescribed in or pursuant to such laws;
                 (21)(A) at the option of the State, impose a late payment fee on all overdue support (as defined in
             section 666(e) of this title) under any obligation being enforced under this part, in an amount equal to a
             uniform percentage determined by the State (not less than 3 percent nor more than 6 percent) of the
             overdue support, which shall be payable by the noncustodial parent owing the overdue support; and
                 (B) assure that the fee will be collected in addition to, and only after full payment of, the overdue
             support, and that the imposition of the late payment fee shall not directly or indirectly result in a decrease
             in the amount of the support which is paid to the child (or spouse) to whom, or on whose behalf, it is
             owed;
                 (22) in order for the State to be eligible to receive any incentive payments under section 658a of this
             title, provide that, if one or more political subdivisions of the State participate in the costs of carrying out
             activities under the State plan during any period, each such subdivision shall be entitled to receive an
             appropriate share (as determined by the State) of any such incentive payments made to the State for
             such period, taking into account the efficiency and effectiveness of the activities carried out under the
             State plan by such political subdivision;
                 (23) provide that the State will regularly and frequently publicize, through public service
             announcements, the availability of child support enforcement services under the plan and otherwise,
             including information as to any application fees for such services and a telephone number or postal
             address at which further information may be obtained and will publicize the availability and encourage the
             use of procedures for voluntary establishment of paternity and child support by means the State deems
             appropriate;
                 (24) provide that the State will have in effect an automated data processing and information retrieval
             system-
                    (A) by October 1, 1997, which meets all requirements of this part which were enacted on or before
                 October 13, 1988; and

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                  (B) by October 1, 2000, which meets all requirements of this part enacted on or before August 22,
                1996, except that such deadline shall be extended by 1 day for each day (if any) by which the
                Secretary fails to meet the deadline imposed by section 344(a)(3) of the Personal Responsibility and
                Work Opportunity Reconciliation Act of 1996;

               (25) provide that if a family with respect to which services are provided under the plan ceases to
             receive assistance under the State program funded under part A, the State shall provide appropriate
             notice to the family and continue to provide such services, subject to the same conditions and on the
             same basis as in the case of other individuals to whom services are furnished under the plan, except that
             an application or other request to continue services shall not be required of such a family and paragraph
             (6)(B) shall not apply to the family;
               (26) have in effect safeguards, applicable to all confidential information handled by the State agency,
             that are designed to protect the privacy rights of the parties, including-
                  (A) safeguards against unauthorized use or disclosure of information relating to proceedings or
               actions to establish paternity, or to establish, modify, or enforce support, or to make or enforce a child
               custody determination;
                  (B) prohibitions against the release of information on the whereabouts of 1 party or the child to
               another party against whom a protective order with respect to the former party or the child has been
               entered;
                  (C) prohibitions against the release of information on the whereabouts of 1 party or the child to
               another person if the State has reason to believe that the release of the information to that person may
               result in physical or emotional harm to the party or the child;
                  (D) in cases in which the prohibitions under subparagraphs (B) and (C) apply, the requirement to
               notify the Secretary, for purposes of section 653(b)(2) of this title, that the State has reasonable
               evidence of domestic violence or child abuse against a party or the child and that the disclosure of
               such information could be harmful to the party or the child; and
                  (E) procedures providing that when the Secretary discloses information about a parent or child to a
               State court or an agent of a State court described in section 653(c)(2) or 663(d)(2)(B) of this title, and
               advises that court or agent that the Secretary has been notified that there is reasonable evidence of
               domestic violence or child abuse pursuant to section 653(b)(2) of this title, the court shall determine
               whether disclosure to any other person of information received from the Secretary could be harmful to
               the parent or child and, if the court determines that disclosure to any other person could be harmful,
               the court and its agents shall not make any such disclosure;

                (27) provide that, on and after October 1, 1998, the State agency will-
                  (A) operate a State disbursement unit in accordance with section 654b of this title; and
                  (B) have sufficient State staff (consisting of State employees) and (at State option) contractors
                reporting directly to the State agency to-
                     (i) monitor and enforce support collections through the unit in cases being enforced by the State
                  pursuant to paragraph (4) (including carrying out the automated data processing responsibilities
                  described in section 654a(g) of this title); and
                     (ii) take the actions described in section 666(c)(1) of this title in appropriate cases;

               (28) provide that, on and after October 1, 1997, the State will operate a State Directory of New Hires in
             accordance with section 653a of this title;
               (29) provide that the State agency responsible for administering the State plan-
                 (A) shall make the determination (and redetermination at appropriate intervals) as to whether an
               individual who has applied for or is receiving assistance under the State program funded under part A,
               the State program under part E, the State program under subchapter XIX, or the supplemental nutrition
               assistance program, as defined under section 2012(l) 1 of title 7, is cooperating in good faith with the
                State in establishing the paternity of, or in establishing, modifying, or enforcing a support order for, any
                child of the individual by providing the State agency with the name of, and such other information as
                the State agency may require with respect to, the noncustodial parent of the child, subject to good
                cause and other exceptions which-

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                     (i) in the case of the State program funded under part A, the State program under part E, or the
                   State program under subchapter XIX shall, at the option of the State, be defined, taking into account
                   the best interests of the child, and applied in each case, by the State agency administering such
                   program; and
                     (ii) in the case of the supplemental nutrition assistance program, as defined under section
                   2012(l) 1 of title 7, shall be defined and applied in each case under that program in accordance with
                   section 2015(l)(2) of title 7;

                   (B) shall require the individual to supply additional necessary information and appear at interviews,
                hearings, and legal proceedings;
                   (C) shall require the individual and the child to submit to genetic tests pursuant to judicial or
                administrative order;
                   (D) may request that the individual sign a voluntary acknowledgment of paternity, after notice of the
                rights and consequences of such an acknowledgment, but may not require the individual to sign an
                acknowledgment or otherwise relinquish the right to genetic tests as a condition of cooperation and
                eligibility for assistance under the State program funded under part A, the State program under part E,
                the State program under subchapter XIX, or the supplemental nutrition assistance program, as defined
                under section 2012(l) 1 of title 7; and
                  (E) shall promptly notify the individual and the State agency administering the State program funded
                under part A, the State agency administering the State program under part E, the State agency
                administering the State program under subchapter XIX, or the State agency administering the
                supplemental nutrition assistance program, as defined under section 2012(l) 1 of title 7, of each such
                determination, and if noncooperation is determined, the basis therefor;

               (30) provide that the State shall use the definitions established under section 652(a)(5) of this title in
             collecting and reporting information as required under this part;
               (31) provide that the State agency will have in effect a procedure for certifying to the Secretary, for
             purposes of the procedure under section 652(k) of this title, determinations that individuals owe
             arrearages of child support in an amount exceeding $2,500, under which procedure-
                  (A) each individual concerned is afforded notice of such determination and the consequences
               thereof, and an opportunity to contest the determination; and
                  (B) the certification by the State agency is furnished to the Secretary in such format, and
               accompanied by such supporting documentation, as the Secretary may require;

                (32)(A) provide that any request for services under this part by a foreign reciprocating country, a foreign
             treaty country, or a foreign country with which the State has an arrangement described in section 659a(d)
             of this title shall be treated as a request by a State;
                (B) provide, at State option, notwithstanding paragraph (4) or any other provision of this part, for
             services under the plan for enforcement of a spousal support order not described in paragraph (4)(B)
             entered by such a country (or subdivision); and
                (C) provide that no applications will be required from, and no costs will be assessed for such services
             against, the foreign reciprocating country, foreign treaty country, or foreign individual (but costs may at
             State option be assessed against the obligor);
                (33) provide that a State that receives funding pursuant to section 628 of this title and that has within its
             borders Indian country (as defined in section 1151 of title 18) may enter into cooperative agreements with
             an Indian tribe or tribal organization (as defined in subsections (e) and (l) of section 5304 of title 25), if the
             Indian tribe or tribal organization demonstrates that such tribe or organization has an established tribal
             court system or a Court of Indian Offenses with the authority to establish paternity, establish, modify, or
             enforce support orders, or to enter support orders in accordance with child support guidelines established
             or adopted by such tribe or organization, under which the State and tribe or organization shall provide for
             the cooperative delivery of child support enforcement services in Indian country and for the forwarding of
             all collections pursuant to the functions performed by the tribe or organization to the State agency, or
             conversely, by the State agency to the tribe or organization, which shall distribute such collections in

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             accordance with such agreement; and
                (34) include an election by the State to apply section 657(a)(2)(B) of this title or former section 657(a)
             (2)(B) of this title (as in effect for the State immediately before the date this paragraph first applies to the
             State) to the distribution of the amounts which are the subject of such sections and, for so long as the
             State elects to so apply such former section, the amendments made by subsection (b)(1) of section 7301
             of the Deficit Reduction Act of 2005 shall not apply with respect to the State, notwithstanding subsection
             (e) of such section 7301.

             The State may allow the jurisdiction which makes the collection involved to retain any application fee
           under paragraph (6)(B) or any late payment fee under paragraph (21). Nothing in paragraph (33) shall void
           any provision of any cooperative agreement entered into before August 22, 1996, nor shall such paragraph
           deprive any State of jurisdiction over Indian country (as so defined) that is lawfully exercised under section
           1322 of title 25.
           (Aug. 14, 1935, ch. 531, title IV, §454, as added Pub. L. 93–647, §101(a), Jan. 4, 1975, 88 Stat. 2354 ;
           amended Pub. L. 94–88, title II, §208(b), (c), Aug. 9, 1975, 89 Stat. 436 ; Pub. L. 95–30, title V, §502(a),
           May 23, 1977, 91 Stat. 162 ; Pub. L. 96–265, title IV, §405(b), June 9, 1980, 94 Stat. 463 ; Pub. L. 96–611,
           §9(a), Dec. 28, 1980, 94 Stat. 3571 ; Pub. L. 97–35, title XXIII, §§2331(b), 2332(d), 2333(a), (b), 2335(a),
           Aug. 13, 1981, 95 Stat. 860 , 862, 863; Pub. L. 97–248, title I, §§171(a), (b)(1), 173(a), Sept. 3, 1982, 96
           Stat. 401 , 403; Pub. L. 98–369, div. B, title VI, §2663(c)(14), (j)(2)(B)(x), July 18, 1984, 98 Stat. 1166 ,
           1170; Pub. L. 98–378, §§3(a), (c)–(f), 5(b), 6(a), 11(b)(1), 12(a), (b), 14(a), 21(d), Aug. 16, 1984, 98 Stat.
           1306 , 1310, 1311, 1314, 1318, 1319, 1320, 1324; Pub. L. 100–203, title IX, §§9141(a)(2), 9142(a), Dec.
           22, 1987, 101 Stat. 1330–321 ; Pub. L. 100–485, title I, §§104(a), 111(c), 123(a), (d), Oct. 13, 1988, 102
           Stat. 2348 , 2349, 2352, 2353; Pub. L. 104–35, §1(a), Oct. 12, 1995, 109 Stat. 294 ; Pub. L. 104–193, title I,
           §108(c)(11), (12), title III, §§301(a), (b), 302(b)(2), 303(a), 304(a), 312(a), 313(a), 316(g)(1), 324(b), 332,
           333, 342(a), 343(b), 344(a)(1), (4), 370(a)(2), 371(b), 375(a), (c), 395(d)(1)(D), (2)(B), Aug. 22, 1996, 110
           Stat. 2166 , 2199, 2204, 2205, 2207, 2209, 2218, 2223, 2230, 2233, 2234, 2236, 2252, 2254, 2256, 2259,
           2260; Pub. L. 105–33, title V, §§5531(a), 5542(c), 5545, 5546(a), 5548, 5552, 5556(b), Aug. 5, 1997, 111
           Stat. 625 , 631, 633, 635, 637; Pub. L. 106–169, title IV, §401(g), (h), Dec. 14, 1999, 113 Stat. 1858 ; Pub.
           L. 109–171, title VII, §§7301(b)(1)(C), 7303(b), 7310(a), Feb. 8, 2006, 120 Stat. 143 , 145, 147; Pub. L.
           110–234, title IV, §§4002(b)(1)(A), (B), (2)(V), 4115(c)(2)(H), May 22, 2008, 122 Stat. 1095–1097 , 1110;
           Pub. L. 110–246, §4(a), title IV, §§4002(b)(1)(A), (B), (2)(V), 4115(c)(2)(H), June 18, 2008, 122 Stat. 1664 ,
           1857, 1858, 1871; Pub. L. 113–79, title IV, §4030(v), Feb. 7, 2014, 128 Stat. 815 ; Pub. L. 113–183, title III,
           §301(c), Sept. 29, 2014, 128 Stat. 1943 ; Pub. L. 115–123, div. E, title XII, §53117(a), Feb. 9, 2018, 132
           Stat. 307 .)


                                                                   EDITORIAL NOTES

                                                             REFERENCES IN TEXT
               Section 508 of the Unemployment Compensation Amendments of 1976, referred to in par.
           (19), is section 508 of Pub. L. 94–566, Oct. 20, 1976, 90 Stat. 2689 , which enacted section 603a of
           this title and amended section 49b of Title 29, Labor.
               Section 344(a)(3) of the Personal Responsibility and Work Opportunity Reconciliation Act of
           1996, referred to in par. (24), is section 344(a)(3) of Pub. L. 104–193, which is set out as a
           Regulations note under section 654a of this title.
               Section 2012(l) of title 7, referred to in par. (29), was struck out, and a new section 2012(t) of title 7
           similarly defining "supplemental nutrition assistance program" was enacted, by Pub. L. 113–79,
           title IV, §4030(a)(3), (5), Feb. 7, 2014, 128 Stat. 813 .
               Section 7301 of the Deficit Reduction Act of 2005, referred to in par. (34), is section 7301 of
           Pub. L. 109–171, title VII, Feb. 8, 2006, 120 Stat. 141 . Subsec. (b)(1) of section 7301 of Pub. L.
           109–171 amended this section and section 657 of this title. Subsec. (e) of section 7301 of Pub. L.
           109–171 is set out as an Effective Date of 2006 Amendment note under section 608 of this title.

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             Pub. L. 110–234 and Pub. L. 110–246 made identical amendments to this section. The
           amendments by Pub. L. 110–234 were repealed by section 4(a) of Pub. L. 110–246.

                                                                  AMENDMENTS
               2018-Par. (6)(B)(ii). Pub. L. 115–123 substituted "$35" for "$25" and, in two places, substituted
           "$550" for "$500".
               2014-Par. (4)(A)(ii). Pub. L. 113–183, §301(c)(1), inserted before semicolon "(except that, if the
           individual applying for the services resides in a foreign reciprocating country or foreign treaty
           country, the State may opt to require the individual to request the services through the Central
           Authority for child support enforcement in the foreign reciprocating country or the foreign treaty
           country, and if the individual resides in a foreign country that is not a foreign reciprocating
           country or a foreign treaty country, a State may accept or reject the application)".
               Par. (29)(A), (D), (E). Pub. L. 113–79, §4030(v), amended Pub. L. 110–246, §4115(c)(2)(H). See
           2008 Amendment note below.
               Par. (32)(A). Pub. L. 113–183, §301(c)(2)(A), inserted ", a foreign treaty country," after "a
           foreign reciprocating country".
               Par. (32)(C). Pub. L. 113–183, §301(c)(2)(B), substituted ", foreign treaty country, or foreign
           individual" for "or foreign obligee".
               2008-Pars. (4)(A)(i)(IV), (6)(B)(i). Pub. L. 110–246, §4002(b)(1)(B), (2)(V), made technical
           amendment to references in original act which appear in text as references to sections 2015(l)(1)
           and 2015 of title 7.
               Par. (29)(A), (D), (E). Pub. L. 110–246, §4115(c)(2)(H), as amended by Pub. L. 113–79,
           §4030(v), substituted "section 2012(l)" for "section 2012(h)" wherever appearing.
               Pub. L. 110–246, §4002(b)(1)(A), (B), (2)(V), substituted "supplemental nutrition assistance
           program" for "food stamp program" wherever appearing and made technical amendment to
           references in original act which appear in text as references to sections 2012(h) and 2015(l)(2) of
           title 7.
               2006-Par. (6)(B). Pub. L. 109–171, §7310(a), designated existing provisions as cl. (i),
           redesignated former cls. (i) and (ii) as subcls. (I) and (II), respectively, of cl. (i), and added cl.
           (ii).
               Par. (31). Pub. L. 109–171, §7303(b), substituted "$2,500" for "$5,000" in introductory
           provisions.
               Par. (34). Pub. L. 109–171, §7301(b)(1)(C), added par. (34).
               1999-Par. (6)(E)(i). Pub. L. 106–169, §401(g)(1), substituted "; or" for ", or" at end.
               Par. (9)(A) to (C). Pub. L. 106–169, §401(g)(2), substituted semicolon for comma at end.
               Par. (19)(A). Pub. L. 106–169, §401(g)(3), substituted "; and" for ", and" at end.
               Par. (19)(B)(i). Pub. L. 106–169, §401(g)(1), substituted "; or" for ", or" at end.
               Par. (24)(A). Pub. L. 106–169, §401(g)(3), substituted "; and" for ", and" at end.
               Par. (24)(B). Pub. L. 106–169, §401(h), made technical amendment to reference in original act
           which appears in text as reference to August 22, 1996.
               1997-Par. (4)(A)(i)(IV). Pub. L. 105–33, §5548(a), added subcl. (IV).
               Par. (6)(B). Pub. L. 105–33, §5531(a), substituted "an individual, other than an individual
           receiving assistance under a State program funded under part A or E, or under a State plan
           approved under subchapter XIX, or who is required by the State to cooperate with the State
           agency administering the program under this part pursuant to subsection (l) or (m) of section

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           2015 of title 7, and" for "individuals not receiving assistance under any State program funded
           under part A, which".
              Par. (8). Pub. L. 105–33, §5552(1)(D), inserted concluding provisions.
              Pub. L. 105–33, §5552(1)(A), in introductory provisions, inserted ", for the purpose of
           establishing parentage, establishing, setting the amount of, modifying, or enforcing child
           support obligations, or making or enforcing a child custody or visitation determination, as
           defined in section 663(d)(1) of this title" after "provide that" and struck out "noncustodial" before
           "parents".
              Par. (8)(A). Pub. L. 105–33, §5552(1)(B), substituted "records; and" for "records, and".
              Par. (8)(B). Pub. L. 105–33, §5552(1)(C), substituted "title," for "title;".
              Par. (16). Pub. L. 105–33, §5556(b), made technical amendment to directory language of Pub.
           L. 104–193, §344(a)(1)(F). See 1996 Amendment note below.
              Par. (17). Pub. L. 105–33, §5552(2), substituted "provide that the State will have" for "in the
           case of a State which has" and inserted "and" after "section 653 of this title,".
              Par. (19)(B)(ii). Pub. L. 105–33, §5542(c), substituted "section 659(i)(5)" for "section 662(e)".
              Par. (26). Pub. L. 105–33, §5552(3)(A), struck out "will" before "have in effect" in introductory
           provisions.
              Par. (26)(A). Pub. L. 105–33, §5552(3)(B), inserted ", modify," after "or to establish" and ", or to
           make or enforce a child custody determination" after "support".
              Par. (26)(B). Pub. L. 105–33, §5552(3)(C)(i), (ii), inserted "or the child" after "1 party" and after
           "former party".
              Par. (26)(C). Pub. L. 105–33, §5552(3)(D), inserted "or the child" after "1 party", substituted
           "another person" for "another party", inserted "to that person" after "release of the information",
           and substituted "party or the child" for "former party".
              Par. (26)(D), (E). Pub. L. 105–33, §5552(3)(C)(iii), (E), added subpars. (D) and (E).
              Par. (29)(A). Pub. L. 105–33, §5548(b)(1)(B), substituted cls. (i) and (ii) for
                   "(i) shall be defined, taking into account the best interests of the child, and
                   "(ii) shall be applied in each case,
           by, at the option of the State, the State agency administering the State program under part A of
           this subchapter, this part, or subchapter XIX;".
              Pub. L. 105–33, §5548(b)(1)(A), in introductory provisions, substituted "part A, the State
           program under part E, the State program under subchapter XIX, or the food stamp program, as
           defined under section 2012(h) of title 7," for "part A of this subchapter or the State program under
           subchapter XIX".
              Par. (29)(D). Pub. L. 105–33, §5548(b)(2), substituted "the State program under part E, the
           State program under subchapter XIX, or the food stamp program, as defined under section
           2012(h) of title 7" for "or the State program under subchapter XIX".
              Par. (29)(E). Pub. L. 105–33, §5548(b)(3), substituted "individual and the State agency
           administering the State program funded under part A, the State agency administering the State
           program under part E, the State agency administering the State program under subchapter
           XIX, or the State agency administering the food stamp program, as defined under section
           2012(h) of title 7," for "individual, the State agency administering the State program funded under
           part A, and the State agency administering the State program under subchapter XIX,".
              Par. (32)(A). Pub. L. 105–33, §5545, substituted "section 659a(d)" for "section 659a(d)(2)".
              Par. (33). Pub. L. 105–33, §5546(a), substituted "or enforce support orders, or" for "and
           enforce support orders, and", "guidelines established or adopted by such tribe or organization"

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           for "guidelines established by such tribe or organization", "all collections" for "all funding
           collected", and "such collections" for "such funding".
              1996-Pub. L. 104–193, §375(a)(4), inserted at end of closing provisions "Nothing in paragraph
           (33) shall void any provision of any cooperative agreement entered into before August 22,
           1996, nor shall such paragraph deprive any State of jurisdiction over Indian country (as so
           defined) that is lawfully exercised under section 1322 of title 25."
              Par. (4). Pub. L. 104–193, §301(a)(1), amended par. (4) generally. Prior to amendment, par. (4)
           read as follows: "provide that such State will undertake-
                     "(A) in the case of a child born out of wedlock with respect to whom an assignment
              under section 602(a)(26) of this title or section 1396k of this title is effective, to establish the
              paternity of such child, unless the agency administering the plan of the State under part A of
              this subchapter determines in accordance with the standards prescribed by the Secretary
              pursuant to section 602(a)(26)(B) of this title that it is against the best interests of the child to do
              so, or, in the case of such a child with respect to whom an assignment under section 1396k of
              this title is in effect, the State agency administering the plan approved under subchapter XIX
              of this chapter determines pursuant to section 1396k(a)(1)(B) of this title that it is against the best
              interests of the child to do so, and
                     "(B) in the case of any child with respect to whom such assignment is effective, including
              an assignment with respect to a child on whose behalf a State agency is making foster care
              maintenance payments under part E of this subchapter, to secure support for such child from
              his parent (or from any other person legally liable for such support), and from such parent for
              his spouse (or former spouse) receiving aid to families with dependent children or medical
              assistance under a State plan approved under subchapter XIX of this chapter (but only if a
              support obligation has been established with respect to such spouse, and only if the support
              obligation established with respect to the child is being enforced under the plan), utilizing any
              reciprocal arrangements adopted with other States (unless the agency administering the plan
              of the State under part A or E of this subchapter determines in accordance with the
              standards prescribed by the Secretary pursuant to section 602(a)(26)(B) of this title that it is
              against the best interests of the child to do so), except that when such arrangements and
              other means have proven ineffective, the State may utilize the Federal courts to obtain or
              enforce court orders for support;".
              Par. (5)(A). Pub. L. 104–193, §108(c)(11), substituted "pursuant to section 608(a)(3) of this title"
           for "under section 602(a)(26) of this title" and "payments collected," for "payments collected;
           except that this paragraph shall not apply to such payments for any month following the first
           month in which the amount collected is sufficient to make such family ineligible for assistance
           under the State plan approved under part A of this subchapter;".
              Par. (6). Pub. L. 104–193, §301(a)(2)(A), substituted "provide that-" for "provide that" in
           introductory provisions.
              Par. (6)(A). Pub. L. 104–193, §301(a)(2)(B), added subpar. (A) and struck out former subpar.
           (A) which read as follows: "the child support collection or paternity determination services
           established under the plan shall be made available to any individual not otherwise eligible for
           such services upon application filed by such individual with the State, including support
           collection services for the spouse (or former spouse) with whom the absent parent's child is
           living (but only if a support obligation has been established with respect to such spouse, and
           only if the support obligation established with respect to the child is being enforced under the
           plan),".

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               Par. (6)(B). Pub. L. 104–193, §301(a)(2)(C), (D), inserted "on individuals not receiving
           assistance under any State program funded under part A" after "such services shall be
           imposed", realigned margins, and substituted semicolon for comma at end.
               Par. (6)(C). Pub. L. 104–193, §301(a)(2)(D), realigned margins and substituted semicolon for
           comma at end.
               Par. (6)(D). Pub. L. 104–193, §301(a)(2)(D), realigned margins and substituted semicolon for
           comma before "and" at end.
               Pub. L. 104–193, §108(c)(12), substituted "assistance under a State program funded" for "aid
           under a State plan approved".
               Par. (6)(E). Pub. L. 104–193, §301(a)(2)(D)(i), (E), realigned margins.
               Pub. L. 104–193, §301(a)(2)(D)(ii), which directed substitution of a semicolon for the final
           comma, could not be executed because subpar. (E) already ended in a semicolon and not a
           comma.
               Par. (7). Pub. L. 104–193, §375(c), inserted "and Indian tribes or tribal organizations (as
           defined in subsections (e) and (l) of section 5304 of title 25)" after "law enforcement officials".
               Par. (8). Pub. L. 104–193, §395(d)(1)(D), substituted "noncustodial" for "absent" in introductory
           provisions.
               Par. (8)(B). Pub. L. 104–193, §316(g)(1)(A), amended subpar. (B) generally. Prior to
           amendment, subpar. (B) read as follows: "the Parent Locator Service in the Department of
           Health and Human Services;".
               Par. (9)(B), (C). Pub. L. 104–193, §395(d)(2)(B), substituted "a noncustodial parent" for "an
           absent parent".
               Par. (9)(E). Pub. L. 104–193, §324(b), added subpar. (E).
               Par. (11). Pub. L. 104–193, §302(b)(2), designated existing provisions as subpar. (A), inserted
           "and" after semicolon at end, and redesignated par. (12) as subpar. (B).
               Par. (12). Pub. L. 104–193, §304(a), added par. (12). Former par. (12) redesignated (11)(B).
               Pub. L. 104–193, §302(b)(2)(B), redesignated par. (12) as (11)(B).
               Par. (13). Pub. L. 104–193, §§316(g)(1)(B), 395(d)(1)(D), substituted "noncustodial parents" for
           "absent parents" and inserted before semicolon at end "and provide that information requests
           by parents who are residents of other States be treated with the same priority as requests by
           parents who are residents of the State submitting the plan".
               Par. (14). Pub. L. 104–193, §342(a)(1), (2), designated existing provisions as subpar. (A) and
           redesignated par. (15) as subpar. (B).
               Par. (15). Pub. L. 104–193, §342(a)(3), added par. (15). Former par. (15) redesignated (14)(B).
               Pub. L. 104–193, §342(a)(2), redesignated par. (15) as (14)(B).
               Par. (16). Pub. L. 104–193, §344(a)(1), as amended by Pub. L. 105–33, §5556(b), struck out
           ", at the option of the State," before "for the establishment", inserted "and operation by the
           State agency" after "for the establishment" and "meeting the requirements of section 654a of this
           title" after "information retrieval system", substituted "so as to control" for "in the State and
           localities thereof, so as (A) to control", struck out "(i)" before "all the factors in the support
           enforcement collection", and struck out before semicolon at end "(including, but not limited to,
           (I) identifiable correlation factors (such as social security numbers, names, dates of birth, home
           addresses and mailing addresses (including postal ZIP codes) of any individual with respect to
           whom support obligations are sought to be established or enforced and with respect to any
           person to whom such support obligations are owing) to assure sufficient compatibility among
           the systems of different jurisdictions to permit periodic screening to determine whether such

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           individual is paying or is obligated to pay support in more than one jurisdiction, (II) checking of
           records of such individuals on a periodic basis with Federal, intra- and inter-State, and local
           agencies, (III) maintaining the data necessary to meet the Federal reporting requirements on a
           timely basis, and (IV) delinquency and enforcement activities), (ii) the collection and distribution
           of support payments (both intra- and inter-State), the determination, collection, and distribution
           of incentive payments both inter- and intra-State, and the maintenance of accounts receivable
           on all amounts owed, collected and distributed, and (iii) the costs of all services rendered,
           either directly or by interfacing with State financial management and expenditure information,
           (B) to provide interface with records of the State's aid to families with dependent children
           program in order to determine if a collection of a support payment causes a change affecting
           eligibility for or the amount of aid under such program, (C) to provide for security against
           unauthorized access to, or use of, the data in such system, (D) to facilitate the development
           and improvement of the income withholding and other procedures required under section 666(a)
           of this title through the monitoring of support payments, the maintenance of accurate records
           regarding the payment of support, and the prompt provision of notice to appropriate officials
           with respect to any arrearages in support payments which may occur, and (E) to provide
           management information on all cases under the State plan from initial referral or application
           through collection and enforcement".
              Par. (21)(A). Pub. L. 104–193, §395(d)(1)(D), substituted "noncustodial parent" for "absent
           parent".
              Par. (23). Pub. L. 104–193, §332, inserted "and will publicize the availability and encourage the
           use of procedures for voluntary establishment of paternity and child support by means the
           State deems appropriate" before semicolon.
              Par. (24). Pub. L. 104–193, §344(a)(4), amended par. (24) generally. Prior to amendment, par.
           (24) read as follows: "provide that if the State, as of October 13, 1988, does not have in effect
           an automated data processing and information retrieval system meeting all of the requirements
           of paragraph (16), the State-
                     "(A) will submit to the Secretary by October 1, 1991, for review and approval by the
              Secretary within 9 months after submittal an advance automated data processing planning
              document of the type referred to in such paragraph; and
                     "(B) will have in effect by October 1, 1997, an operational automated data processing
              and information retrieval system, meeting all the requirements of that paragraph, which has
              been approved by the Secretary;".
              Par. (25). Pub. L. 104–193, §301(b), added par. (25).
              Par. (26). Pub. L. 104–193, §303(a), added par. (26).
              Par. (27). Pub. L. 104–193, §312(a), added par. (27).
              Par. (28). Pub. L. 104–193, §313(a), added par. (28).
              Par. (29). Pub. L. 104–193, §333, added par. (29).
              Par. (30). Pub. L. 104–193, §343(b), added par. (30).
              Par. (31). Pub. L. 104–193, §370(a)(2), added par. (31).
              Par. (32). Pub. L. 104–193, §371(b), added par. (32).
              Par. (33). Pub. L. 104–193, §375(a)(1)–(3), added par. (33).
              1995-Par. (24)(B). Pub. L. 104–35 substituted "1997" for "1995".
              1988-Par. (5)(A). Pub. L. 100–485, §104(a), substituted "on a monthly basis (or on a quarterly
           basis for so long as the Secretary determines with respect to a State that requiring such notice
           on a monthly basis would impose an unreasonable administrative burden)" for "at least

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           annually".
              Par. (6)(D), (E). Pub. L. 100–485, §111(c), added cl. (D) and redesignated former cl. (D) as (E).
              Par. (16). Pub. L. 100–485, §123(d), substituted "advance automated" for "advance automatic"
           in introductory provisions.
              Pub. L. 100–485, §123(a)(2), substituted "a statewide automated" for "an automatic".
              Par. (24). Pub. L. 100–485, §123(a)(1), added par. (24).
              1987-Par. (4)(A). Pub. L. 100–203, §9142(a)(1)(A), (B), substituted "an assignment under
           section 602(a)(26) of this title or section 1396k of this title" for "an assignment under section 602(a)(26)
           of this title" and ", or, in the case of such a child with respect to whom an assignment under
           section 1396k of this title is in effect, the State agency administering the plan approved under
           subchapter XIX of this chapter determines pursuant to section 1396k(a)(1)(B) of this title that it is
           against the best interests of the child to do so, and" for ", and".
              Par. (4)(B). Pub. L. 100–203, §9142(a)(1)(C), inserted "or medical assistance under a State
           plan approved under subchapter XIX of this chapter" after "children".
              Par. (5). Pub. L. 100–203, §9142(a)(2), substituted "provide that (A)" for "provide that," and
           added cl. (B).
              Pub. L. 100–203, §9141(a)(2), struck out "(except as provided in section 657(c) of this title)" after
           "apply to such payments".
              1984-Par. (4)(B). Pub. L. 98–378, §11(b)(1), inserted "including an assignment with respect to a
           child on whose behalf a State agency is making foster care maintenance payments under part
           E of this subchapter," after "such assignment is effective," and inserted "or E" after "part A".
              Par. (4)(B). Pub. L. 98–378, §12(a), substituted ", and" for "and, at the option of the State,"
           before "from such parent" and inserted ", and only if the support obligation established with
           respect to the child is being enforced under the plan".
              Par. (5). Pub. L. 98–378, §3(e), inserted ", and the individual will be notified at least annually of
           the amount of the support payments collected;".
              Par. (6)(A). Pub. L. 98–378, §12(b), struck out ", at the option of the State," before "support
           collection services" and inserted ", and only if the support obligation established with respect to
           the child is being enforced under the plan".
              Par. (6)(B). Pub. L. 98–378, §3(c), substituted "shall be imposed, which shall be paid by the
           individual applying for such services, or recovered from the absent parent, or paid by the State
           out of its own funds (the payment of which from State funds shall not be considered as an
           administrative cost of the State for the operation of the plan, and shall be considered income to
           the program), the amount of which (i) will not exceed $25 (or such higher or lower amount
           (which shall be uniform for all States) as the Secretary may determine to be appropriate for any
           fiscal year to reflect increases or decreases in administrative costs), and (ii) may vary among
           such individuals on the basis of ability to pay (as determined by the State), and" for "may be
           imposed, except that the amount of any such application fee shall be reasonable, as
           determined under regulations of the Secretary,".
              Par. (6)(C). Pub. L. 98–378, §21(d)(1), (3), added cl. (C). Former cl. (C) redesignated (D).
              Par. (6)(D). Pub. L. 98–378, §21(d)(1), (2), redesignated former cl. (C) as (D) and substituted
           "fees" for "fee" before "so imposed".
              Par. (8)(B). Pub. L. 98–369, §2663(j)(2)(B)(x), substituted "Health and Human Services" for
           "Health, Education, and Welfare".
              Par. (9)(C). Pub. L. 98–369, §2663(c)(14)(A), struck out "of such parent" before "with respect
           to whom aid".

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              Par. (16)(A)(ii). Pub. L. 98–369, §2663(c)(14)(B), substituted "collection, and distribution" for
           "collection and distribution," before "of incentive payments".
              Par. (16)(D), (E). Pub. L. 98–378, §6(a), added cl. (D) and redesignated former cl. (D) as (E).
              Par. (17). Pub. L. 98–378, §2663(c)(14)(C), realigned margin, substituted "provide that the
           State will accept" for "to accept", "will impose" for "and to impose", "will transmit" for "to
           transmit", and "will otherwise comply" for ", otherwise to comply".
              Par. (20). Pub. L. 98–378, §3(a), added par. (20).
              Par. (21). Pub. L. 98–378, §3(d), added par. (21).
              Par. (22). Pub. L. 98–378, §5(b), added par. (22).
              Par. (23). Pub. L. 98–378, §14(a), added par. (23).
              Pub. L. 98–378, §3(f), inserted after numbered paragraphs provision that the State may allow
           the jurisdiction which makes the collection involved to retain any application fee under par. (6)
           (B) or any late payment fee under par. (21).
              1982-Par. (5). Pub. L. 97–248, §173(a), inserted "following the first month" after "for any
           month".
              Par. (6). Pub. L. 97–248, §171(a), in cl. (A) inserted provisions relating to inclusion of, at the
           option of the State, support collection services for the spouse or former spouse, in cl. (B)
           substituted "such services" for "services under the State plan (other than collection of support)",
           and in cl. (C) substituted provisions relating to collection of any costs in excess of the fee
           imposed, for provisions relating to the State retaining any fee imposed under State law as
           required under former par. (19).
              Pars. (18) to (20). Pub. L. 97–248, §171(b)(1), inserted "and" at end of par. (18), struck out par.
           (19) relating to imposition of a fee on an individual who owes child or spousal support
           obligation, and redesignated par. (20) as (19).
              1981-Pub. L. 97–35, §2332(d)(2), substituted in provision preceding par. (1) "child and spousal
           support" for "child support".
              Par. (4)(B). Pub. L. 97–35, §2332(d)(3), substituted "such support) and, at the option of the
           State, from such parent for his spouse (or former spouse) receiving aid to families with
           dependent children (but only if a support obligation has been established with respect to such
           spouse), utilizing" for "such support), utilizing".
              Par. (5). Pub. L. 97–35, §2332(d)(4), substituted "support payments" for "child support
           payments" and "collected for an individual" for "collected for a child".
              Par. (6)(B). Pub. L. 97–35, §2333(a)(1), substituted "services under the State plan (other than
           collection of support)" for "such services".
              Par. (6)(C). Pub. L. 97–35, §2333(a)(2), substituted "the State will retain, but only if it is the
           State which makes the collection, the fee imposed under State law as required under
           paragraph (19)" for "any costs in excess of the fee so imposed may be collected from such
           individual by deducting such costs from the amount of any recovery made".
              Par. (9)(C). Pub. L. 97–35, §2332(d)(5), substituted "of the child or children or the parent of
           such child or children" for "of a child or children".
              Par. (11). Pub. L. 97–35, §2332(d)(6), substituted "collected as support" for "collected as child
           support".
              Par. (16). Pub. L. 97–35, §2332(d)(7), substituted "support enforcement" for "child support
           enforcement", "whom support obligations" for "whom child support obligations", and "obligated
           to pay support" for "obligated to pay child support".
              Par. (18). Pub. L. 97–35, §2331(b), added par. (18).

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             Par. (19). Pub. L. 97–35, §2333(b), added par. (19).
             Par. (20). Pub. L. 97–35, §2335(a), added par. (20).
             1980-Par. (16). Pub. L. 96–265 added par. (16).
             Par. (17). Pub. L. 96–611 added par. (17).
             1977-Pars. (14), (15). Pub. L. 95–30 added pars. (14) and (15).
             1975-Par. (4)(A). Pub. L. 94–88, §208(b), substituted "to establish the paternity of such child,
           unless the agency administering the plan of the State under part A of this subchapter
           determines in accordance with the standards prescribed by the Secretary pursuant to section
           602(a)(26)(B) of this title that it is against the best interests of the child to do so" for "to establish
           the paternity of such child".
             Par. (4)(B). Pub. L. 94–88, §208(c), substituted "reciprocal arrangements adopted with other
           States (unless the agency administering the plan of the State under part A of this subchapter
           determines in accordance with the standards prescribed by the Secretary pursuant to section
           602(a)(26)(B) of this title that it is against the best interests of the child to do so)" for "reciprocal
           arrangements adopted with other States".


                                                   STATUTORY NOTES AND RELATED SUBSIDIARIES

                                                EFFECTIVE DATE OF 2018 AMENDMENT
              Pub. L. 115–123, div. E, title XII, §53117(b), Feb. 9, 2018, 132 Stat. 307 , provided that:
              "(1) IN GENERAL.-The amendments made by subsection (a) [amending this section] shall take
           effect on the 1st day of the 1st fiscal year that begins on or after the date of the enactment of
           this Act [Feb. 9, 2018], and shall apply to payments under part D of title IV of the Social
           Security Act (42 U.S.C. 651 et seq.) for calendar quarters beginning on or after such 1st day.
              "(2) DELAY PERMITTED IF STATE LEGISLATION REQUIRED.-If the Secretary of Health and Human Services
           determines that State legislation (other than legislation appropriating funds) is required in order
           for a State plan developed pursuant to part D of title IV of the Social Security Act (42 U.S.C. 651
           et seq.) to meet the requirements imposed by the amendment made by subsection (a), the plan
           shall not be regarded as failing to meet such requirements before the 1st day of the 1st
           calendar quarter beginning after the first regular session of the State legislature that begins
           after the date of the enactment of this Act. For purposes of the preceding sentence, if the State
           has a 2-year legislative session, each year of the session is deemed to be a separate regular
           session of the State legislature."

                                                EFFECTIVE DATE OF 2008 AMENDMENT
              Amendment of this section and repeal of Pub. L. 110–234 by Pub. L. 110–246 effective May 22,
           2008, the date of enactment of Pub. L. 110–234, except as otherwise provided, see section 4 of
           Pub. L. 110–246, set out as an Effective Date note under section 8701 of Title 7, Agriculture.
              Amendment by sections 4002(b)(1)(A), (B), (2)(V), and 4115(c)(2)(H) of Pub. L. 110–246
           effective Oct. 1, 2008, see section 4407 of Pub. L. 110–246, set out as a note under section 1161
           of Title 2, The Congress.

                                                EFFECTIVE DATE OF 2006 AMENDMENT
              Amendment by section 7301(b)(1)(C) of Pub. L. 109–171 effective Oct. 1, 2009, and applicable
           to payments under parts A and D of this subchapter for calendar quarters beginning on or after
           such date, subject to certain State options, see section 7301(e) of Pub. L. 109–171, set out as a
           note under section 608 of this title.
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              Amendment by section 7303(b) of Pub. L. 109–171 effective Oct. 1, 2006, see section 7303(c)
           of Pub. L. 109–171, set out as a note under section 652 of this title.
              Pub. L. 109–171, title VII, §7310(c), Feb. 8, 2006, 120 Stat. 148 , provided that: "The
           amendments made by this section [amending this section and section 657 of this title] shall take
           effect on October 1, 2006."

                                                EFFECTIVE DATE OF 1999 AMENDMENT
             Amendment by Pub. L. 106–169 effective as if included in the enactment of the Personal
           Responsibility and Work Opportunity Reconciliation Act of 1996, Pub. L. 104–193, see section
           401(q) of Pub. L. 106–169, set out as a note under section 602 of this title.

                                                EFFECTIVE DATE OF 1997 AMENDMENT
             Amendment by Pub. L. 105–33 effective as if included in the enactment of title III of the
           Personal Responsibility and Work Opportunity Reconciliation Act of 1996, Pub. L. 104–193, see
           section 5557 of Pub. L. 105–33, set out as a note under section 608 of this title.

                                                EFFECTIVE DATE OF 1996 AMENDMENT
              Amendment by section 108(c)(11), (12) of Pub. L. 104–193 effective July 1, 1997, with
           transition rules relating to State options to accelerate such date, rules relating to claims,
           actions, and proceedings commenced before such date, rules relating to closing out of
           accounts for terminated or substantially modified programs and continuance in office of
           Assistant Secretary for Family Support, and provisions relating to termination of entitlement
           under AFDC program, see section 116 of Pub. L. 104–193, as amended, set out as an Effective
           Date note under section 601 of this title.
              Amendment by section 302(b)(2) of Pub. L. 104–193 effective Aug. 22, 1996, see section
           302(c)(2) of Pub. L. 104–193, set out as a note under section 657 of this title.
              Pub. L. 104–193, title III, §303(b), Aug. 22, 1996, 110 Stat. 2205 , provided that: "The
           amendment made by subsection (a) [amending this section] shall become effective on October
           1, 1997."
              Pub. L. 104–193, title III, §304(b), Aug. 22, 1996, 110 Stat. 2205 , provided that: "The
           amendment made by subsection (a) [amending this section] shall become effective on October
           1, 1997."
              Amendment by section 312(a) of Pub. L. 104–193 effective Oct. 1, 1998, with limited exception
           for States which, as of Aug. 22, 1996, were processing the receipt of child support payments
           through local courts, see section 312(d) of Pub. L. 104–193, set out as an Effective Date note
           under section 654b of this title.
              Amendment by section 342(a) of Pub. L. 104–193 effective with respect to calendar quarters
           beginning 12 months or more after Aug. 22, 1996, see section 342(c) of Pub. L. 104–193, set out
           as a note under section 652 of this title.
              Amendment by section 370(a)(2) of Pub. L. 104–193 effective Oct. 1, 1997, see section 370(b)
           of Pub. L. 104–193, set out as a note under section 652 of this title.
              Pub. L. 104–193, title III, §395(a)–(c), Aug. 22, 1996, 110 Stat. 2259 , provided that:
              "(a) IN GENERAL.-Except as otherwise specifically provided (but subject to subsections (b) and
           (c))-
                    "(1) the provisions of this title [see Tables for classification] requiring the enactment or
              amendment of State laws under section 466 of the Social Security Act [42 U.S.C. 666], or
              revision of State plans under section 454 of such Act [this section], shall be effective with

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             respect to periods beginning on and after October 1, 1996; and
                  "(2) all other provisions of this title shall become effective upon the date of the
             enactment of this Act [Aug. 22, 1996].
             "(b) GRACE PERIOD FOR STATE LAW CHANGES.-The provisions of this title shall become effective with
           respect to a State on the later of-
                  "(1) the date specified in this title, or
                  "(2) the effective date of laws enacted by the legislature of such State implementing
             such provisions,
           but in no event later than the 1st day of the 1st calendar quarter beginning after the close of the
           1st regular session of the State legislature that begins after the date of the enactment of this
           Act [Aug. 22, 1996]. For purposes of the previous sentence, in the case of a State that has a 2-
           year legislative session, each year of such session shall be deemed to be a separate regular
           session of the State legislature.
             "(c) GRACE PERIOD FOR STATE CONSTITUTIONAL AMENDMENT.-A State shall not be found out of
           compliance with any requirement enacted by this title if the State is unable to so comply without
           amending the State constitution until the earlier of-
                  "(1) 1 year after the effective date of the necessary State constitutional amendment; or
                  "(2) 5 years after the date of the enactment of this Act [Aug. 22, 1996]."

                                                EFFECTIVE DATE OF 1988 AMENDMENT
              Pub. L. 100–485, title I, §104(b), Oct. 13, 1988, 102 Stat. 2348 , provided that: "The amendment
           made by subsection (a) [amending this section] shall become effective on the first day of the
           first calendar quarter which begins 4 or more years after the date of the enactment of this Act
           [Oct. 13, 1988]."
              Pub. L. 100–485, title I, §111(f)(2), Oct. 13, 1988, 102 Stat. 2350 , provided that: "The
           amendments made by subsections (b) and (c) [amending this section and section 666 of this title]
           shall become effective on the first day of the first month beginning one year or more after the
           date of the enactment of this Act [Oct. 13, 1988]."

                                                EFFECTIVE DATE OF 1987 AMENDMENT
             Pub. L. 100–203, title IX, §9141(b), Dec. 22, 1987, 101 Stat. 1330–321 , provided that: "The
           amendments made by subsection (a) [amending this section and section 657 of this title] shall
           become effective upon enactment [Dec. 22, 1987]."
             Pub. L. 100–203, title IX, §9142(b), Dec. 22, 1987, 101 Stat. 1330–322 , provided that: "The
           amendments made by subsection (a) [amending this section] shall become effective on July 1,
           1988."

                                                EFFECTIVE DATE OF 1984 AMENDMENT
              Pub. L. 98–378, §3(g), Aug. 16, 1984, 98 Stat. 1311 , provided that:
              "(1) Except as provided in paragraphs (2) and (3), the amendments made by this section
           [enacting section 666 of this title and amending this section] shall become effective on October 1,
           1985.
              "(2) Section 454(21) of the Social Security Act [42 U.S.C. 654(21)] (as added by subsection (d)
           of this section), and section 466(e) of such Act [42 U.S.C. 666(e)] (as added by subsection (b) of
           this section), shall be effective with respect to support owed for any month beginning after the
           date of the enactment of this Act [Aug. 16, 1984].
              "(3) In the case of a State with respect to which the Secretary of Health and Human Services

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           has determined that State legislation is required in order to conform the State plan approved
           under part D of title IV of the Social Security Act [42 U.S.C. 651 et seq.] to the requirements
           imposed by any amendment made by this section, the State plan shall not be regarded as
           failing to comply with the requirements of such part solely by reason of its failure to meet the
           requirements imposed by such amendment prior to the beginning of the fourth month beginning
           after the end of the first session of the State legislature which ends on or after October 1, 1985.
           For purposes of the preceding sentence, the term 'session' means a regular, special, budget, or
           other session of a State legislature."
              Pub. L. 98–378, §5(c)(1), Aug. 16, 1984, 98 Stat. 1314 , provided that: "The amendments made
           by the preceding provisions of this section [amending this section and section 658 of this title]
           shall become effective on October 1, 1985."
              Pub. L. 98–378, §6(c), Aug. 16, 1984, 98 Stat. 1315 , provided that: "The amendments made by
           this section [amending this section and section 655 of this title] shall apply with respect to quarters
           beginning on or after October 1, 1984."
              Pub. L. 98–378, §11(e), Aug. 16, 1984, 98 Stat. 1318 , provided that: "The amendments made
           by this section [amending this section and sections 656, 657, 664, and 671 of this title] shall become
           effective October 1, 1984, and shall apply to collections made on or after that date."
              Pub. L. 98–378, §12(c), Aug. 16, 1984, 98 Stat. 1319 , provided that: "The amendments made
           by this section [amending this section] shall become effective October 1, 1985."
              Pub. L. 98–378, §14(b), Aug. 16, 1984, 98 Stat. 1320 , provided that: "The amendments made
           by subsection (a) [amending this section] shall become effective October 1, 1985."
              Amendment by section 21(d) of Pub. L. 98–378 applicable with respect to refunds payable
           under section 6402 of Title 26, Internal Revenue Code, after Dec. 31, 1985, see section 21(g) of
           Pub. L. 98–378, set out as a note under section 6103 of Title 26.
              Amendment by Pub. L. 98–369 effective July 18, 1984, but not to be construed as changing or
           affecting any right, liability, status, or interpretation which existed (under the provisions of law
           involved) before that date, see section 2664(b) of Pub. L. 98–369, set out as a note under section
           401 of this title.

                                                EFFECTIVE DATE OF 1982 AMENDMENT
             Amendment by section 171(a), (b)(1) of Pub. L. 97–248 effective on and after Aug. 13, 1981,
           see section 171(c) of Pub. L. 97–248, set out as a note under section 503 of this title.
             Pub. L. 97–248, title I, §173(b), Sept. 3, 1982, 96 Stat. 403 , provided that: "The amendment
           made by this section [amending this section] shall become effective on October 1, 1982."

                                                EFFECTIVE DATE OF 1981 AMENDMENT
             Amendments by sections 2331(b), 2332(d)(2)–(7), and 2333(a), (b) of Pub. L. 97–35 effective
           Oct. 1, 1981, except as otherwise specifically provided, see section 2336 of Pub. L. 97–35, set
           out as a note under section 651 of this title.
             Amendment by section 2335(a) of Pub. L. 97–35 effective Aug. 13, 1981, except that such
           amendment shall not be requirements under this section or section 503 of this title before Oct. 1,
           1982, see section 2335(c) of Pub. L. 97–35, set out as a note under section 503 of this title.

                                                EFFECTIVE DATE OF 1980 AMENDMENT
             Amendment by Pub. L. 96–265 effective July 1, 1981, and to be effective only with respect to
           expenditures, referred to in section 655(a)(3) of this title, made on or after such date, see section
           405(e) of Pub. L. 96–265, set out as a note under section 652 of this title.

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                                                EFFECTIVE DATE OF 1977 AMENDMENT
              Pub. L. 95–30, title V, §502(b), May 23, 1977, 91 Stat. 162 , provided that: "The amendments
           made by this section [amending this section] shall take effect on the first day of the first
           calendar month which begins after the date of enactment of this Act [May 23, 1977]."

                                                EFFECTIVE DATE OF 1975 AMENDMENT
             Pub. L. 94–88, title II, §210, Aug. 9, 1975, 89 Stat. 437 , provided that: "The amendments made
           by this title [amending this section and sections 602, 603, and 655 of this title and enacting
           provisions set out as notes under sections 602 and 655 of this title] shall, unless otherwise
           specified therein, become effective August 1, 1975."

                 EXCEPTION TO GENERAL EFFECTIVE DATE FOR STATE PLANS REQUIRING STATE LAW
                                                 AMENDMENTS
               Pub. L. 109–171, title VII, §7311, Feb. 8, 2006, 120 Stat. 148 , provided that: "In the case of a
           State plan under part D of title IV of the Social Security Act [42 U.S.C. 651 et seq.] which the
           Secretary determines requires State legislation in order for the plan to meet the additional
           requirements imposed by the amendments made by this subtitle [subtitle C (§§7301–7311) of
           title VII of Pub. L. 109–171, amending this section, sections 608, 652, 653, 655, 657, 664, and 666 of
           this title, section 6402 of Title 26, Internal Revenue Code, and provisions set out as a note under
           section 1169 of Title 29, Labor], the effective date of the amendments imposing the additional
           requirements shall be 3 months after the first day of the first calendar quarter beginning after
           the close of the first regular session of the State legislature that begins after the date of the
           enactment of this Act [Feb. 8, 2006]. For purposes of the preceding sentence, in the case of a
           State that has a 2-year legislative session, each year of the session shall be considered to be a
           separate regular session of the State legislature."

                                               STATE COMMISSIONS ON CHILD SUPPORT
              Pub. L. 98–378, §15, Aug. 16, 1984, 98 Stat. 1320 , provided that:
              "(a) As a condition of the State's eligibility for Federal payments under part A or D of title IV of
           the Social Security Act [42 U.S.C. 601 et seq., 651 et seq.] for quarters beginning more than 30
           days after the date of the enactment of this Act [Aug. 16, 1984] and ending prior to October 1,
           1985, the Governor of each State, on or before December 1, 1984, shall (subject to subsection
           (f)) appoint a State Commission on Child Support.
              "(b) Each State Commission appointed under subsection (a) shall be composed of members
           appropriately representing all aspects of the child support system, including custodial and non-
           custodial parents, the agency or organizational unit administering the State's plan under part D
           of such title IV [42 U.S.C. 651 et seq.], the State judiciary, the executive and legislative branches
           of the State government, child welfare and social services agencies, and others.
              "(c) It shall be the function of each State Commission to examine, investigate, and study the
           operation of the State's child support system for the primary purpose of determining the extent
           to which such system has been successful in securing support and parental involvement both
           for children who are eligible for aid under a State plan approved under part A of title IV of such
           Act [42 U.S.C. 601 et seq.] and for children who are not eligible for such aid, giving particular
           attention to such specific problems (among others) as visitation, the establishment of
           appropriate objective standards for support, the enforcement of interstate obligations, the
           availability, cost, and effectiveness of services both to children who are eligible for such aid and
           to children who are not, and the need for additional State or Federal legislation to obtain
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           support for all children.
             "(d) Each State Commission shall submit to the Governor of the State and make available to
           the public, no later than October 1, 1985, a full and complete report of its findings and
           recommendations resulting from the examination, investigation, and study under this section.
           The Governor shall transmit such report to the Secretary of Health and Human Services along
           with the Governor's comments thereon.
             "(e) None of the costs incurred in the establishment and operation of a State Commission
           under this section, or incurred by such a Commission in carrying out its functions under
           subsections (c) and (d), shall be considered as expenditures qualifying for Federal payments
           under part A or D of title IV of the Social Security Act [42 U.S.C. 601 et seq., 651 et seq.] or be
           otherwise payable or reimbursable by the United States or any agency thereof.
             "(f) If the Secretary determines, at the request of any State on the basis of information
           submitted by the State and such other information as may be available to the Secretary, that
           such State-
                    "(1) has placed in effect and is implementing objective standards for the determination
             and enforcement of child support obligations,
                    "(2) has established within the five years prior to the enactment of this Act [Aug. 16,
             1984] a commission or council with substantially the same functions as the State
             Commissions provided for under this section, or
                    "(3) is making satisfactory progress toward fully effective child support enforcement and
             will continue to do so,
           then such State shall not be required to establish a State Commission under this section and
           the preceding provisions of this section shall not apply."

                            DELAYED EFFECTIVE DATE IN CASES REQUIRING STATE LEGISLATION
              Pub. L. 97–248, title I, §176, Sept. 3, 1982, 96 Stat. 403 , provided that: "In the case of a State
           with respect to which the Secretary of Health and Human Services has determined that State
           legislation is required in order to conform the State plan approved under part D of title IV of the
           Social Security Act [42 U.S.C. 651 et seq.] to the requirements imposed by any amendment made
           by this subtitle [subtitle E (§§171–176) of title I of Pub. L. 97–248, see Tables for classification],
           the State plan shall not be regarded as failing to comply with the requirements of such part
           solely by reason of its failure to meet the requirements imposed by such amendment prior to
           the end of the first session of the State legislature which begins after October 1, 1982, or which
           began prior to October 1, 1982, and remained in session for at least twenty-five calendar days
           after such date. For purposes of the preceding sentence, the term 'session' means a regular,
           special, budget, or other session of a State legislature."

                1 See References in Text note below.




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                                                    Title 15
                                                Domestic Relations
                                                        Chapter 5
                                                  Divorce and Separation
                                                      R.I. Gen. Laws § 15-5-16.5

     § 15-5-16.5. Interest on arrearages.

     Interest at the rate of twelve percent (12%) per annum on any support debt due or owing, child or
     spousal support, shall be assessed unless the responsible party shall, for good cause shown, be relieved
     of the obligation to pay interest by the family court.

     History of Section.
     P.L. 1980, ch. 308, § 1; P.L. 1984, ch. 167, § 1; P.L. 2001, ch. 155, § 1.




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                                 Title 8
                  Courts and Civil Procedure — Courts
                                                              Chapter 10
                                                             Family Court
                                                        R.I. Gen. Laws § 8-10-3

     § 8-10-3. Establishment of court — Jurisdiction — Seal — Oaths.

     (a) There is hereby established a family court, consisting of a chief judge and eleven (11) associate
     justices, to hear and determine all petitions for divorce from the bond of marriage and from bed and
     board; all motions for allowance, alimony, support and custody of children, allowance of counsel and
     witness fees, and other matters arising out of petitions and motions relative to real and personal
     property in aid thereof, including, but not limited to, partitions, accountings, receiverships,
     sequestration of assets, resulting and constructive trust, impressions of trust, and such other equitable
     matters arising out of the family relationship, wherein jurisdiction is acquired by the court by the filing
     of petitions for divorce, bed and board and separate maintenance; all motions for allowance for
     support and educational costs of children attending high school at the time of their eighteenth (18th)
     birthday and up to ninety (90) days after high school graduation, but in no case beyond their
     nineteenth (19th) birthday; enforcement of any order or decree granting alimony and/or child support,
     and/or custody and/or visitation of any court of competent jurisdiction of another state; modification
     of any order or decree granting alimony and/or custody and/or visitation of any court of competent
     jurisdiction of another state on the ground that there has been a change of circumstances; modification
     of any order or decree granting child support of any court of competent jurisdiction of another state
     provided: (1) the order has been registered in Rhode Island for the purposes of modification pursuant
     to § 15-23.1-611, or (2) Rhode Island issued the order and has continuing exclusive jurisdiction over
     the parties; antenuptial agreements, property settlement agreements and all other contracts between
     persons, who at the time of execution of the contracts, were husband and wife or planned to enter into
     that relationship; complaints for support of parents and children; those matters relating to delinquent,
     wayward, dependent, neglected, or children with disabilities who by reason of any disability requires
     special education or treatment and other related services; to hear and determine all petitions for
     guardianship of any child who has been placed in the care, custody, and control of the department for
     children, youth, and families pursuant to the provisions of chapter 1 of title 14 and chapter 11 of title
     40; adoption of children under eighteen (18) years of age; change of names of children under the age
     of eighteen (18) years; paternity of children born out of wedlock and provision for the support and
     disposition of such children or their mothers; child marriages; those matters referred to the court in
     accordance with the provisions of § 14-1-28; those matters relating to adults who shall be involved
     with paternity of children born out of wedlock; responsibility for or contributing to the delinquency,
     waywardness, or neglect of children under sixteen (16) years of age; desertion, abandonment, or
     failure to provide subsistence for any children dependent upon such adults for support; neglect to send
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     any child to school as required by law; bastardy proceedings and custody to children in proceedings,
     whether or not supported by petitions for divorce or separate maintenance or for relief without
     commencement of divorce proceedings; and appeals of administrative decisions concerning setoff of
     income tax refunds for past due child support in accordance with §§ 44-30.1-5 and 40-6-21. The
     holding of real estate as tenants by the entirety shall not in and of itself preclude the family court from
     partitioning real estate so held for a period of six (6) months after the entry of final decree of divorce.

     (b) The family court shall be a court of record and shall have a seal which shall contain such words
     and devices as the court shall adopt.

     (c) The judges and clerk of the family court shall have power to administer oaths and affirmations.

     (d) The family court shall have exclusive initial jurisdiction of all appeals from any administrative
     agency or board affecting or concerning children under the age of eighteen (18) years and appeals of
     administrative decisions concerning setoff of income tax refunds, lottery set offs, insurance intercept,
     and lien enforcement provisions for past due child support, in accordance with §§ 44-30.1-5 and 40-6-
     21, and appeals of administrative agency orders of the department of human services to withhold
     income under chapter 16 of title 15.

     (e) The family court shall have jurisdiction over those civil matters relating to the enforcement of laws
     regulating child care providers and child placing agencies.

     (f) The family court shall have exclusive jurisdiction of matters relating to the revocation or
     nonrenewal of a license of an obligor due to noncompliance with a court order of support, in
     accordance with chapter 11.1 of title 15.

         [See § 12-1-15 of the General Laws.]

     (g) Notwithstanding any general or public law to the contrary, the family court shall have jurisdiction
     over all protective orders provided pursuant to the Rhode Island general laws, when either party is a
     juvenile.

     History of Section.
     P.L. 1961, ch. 73, § 1; P.L. 1972, ch. 30, § 1; P.L. 1973, ch. 125, § 1; P.L. 1974, ch. 85, § 1; P.L. 1975,
     ch. 3, § 1; P.L. 1976, ch. 252, § 1; P.L. 1977, ch. 89, § 1; P.L. 1980, ch. 54, § 1; P.L. 1981, ch. 319, § 1;
     P.L. 1984, ch. 167, § 3; P.L. 1984, ch. 281, § 1; P.L. 1987, ch. 163, § 2; P.L. 1988, ch. 84, § 7; P.L.
     1992, ch. 326, § 1; P.L. 1994, ch. 158, § 2, P.L. 1994, ch. 195, § 3; P.L. 1994, ch. 244, § 1; P.L. 1994,
     ch. 263, § 3; P.L. 1995, ch. 370, art. 29, § 10; P.L. 1995, ch. 374, § 10; P.L. 1996, ch. 129, § 1; P.L.
     1996, ch. 131, § 1; P.L. 1996, ch. 132, § 1; P.L. 1996, ch. 133, § 1; P.L. 1997, ch. 170, § 23; P.L. 1999,
     ch. 83, § 6; P.L. 1999, ch. 130, § 6; P.L. 2007, ch. 73, art. 3, § 9; P.L. 2010, ch. 216, § 1; P.L. 2010, ch.
     236, § 1.




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                      STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
       PROVIDENCE, S.C.                                                 FAMILY COURT


       State of Rhode Island ex rel.               :
       GERO MEYERSIEK                              :
              Plaintiff                            :
                                                   :
       VS.                                         :              DOCKET NO: K20010521M
                                                   :              Title IV Part D Case under
                                                   :              42 U.S.C. §§ 651-669
       MARY SEGUIN                                 :
           Defendant                               :


        DEFENDANT’S MOTION TO COMPEL RI EXECUTIVE OFFICE OF HEALTH
         AND HUMAN SERVICES (“EOHHS”) COMPLIANCE WITH SUBPOENA



                  The Texas Defendant, MARY SEGUIN (“Seguin”), proceeding pro-se, hereby

       moves to compel compliance with Defendant’s Subpoena (attached hereto as Exhibit

       A) served upon the Rhode Island Executive Office of Health and Human

       Services (“RI EOHHS”). On March 26, 2024, RI EOHHS filed a motion to quash

       subpoena.




             I.      Defendant Does NOT Compel Production of or Testimony on
                     Deliberations of November 29, 2022 Agency Dismissal That Cites
                     Loss of Jurisdiction Which Speaks for Itself



                  The Title IV records for Rhode Island Executive Office of Health and Human

       Services (“RI EOHHS”) show that in the RI EOHHS Appeal case Docket# 22-2116 a

       hearing was scheduled for December 1, 2022. However no hearing or trial took place

       on December 1, 2022. Emphatically, a hearing never took place in that matter.

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                As the RI EOHHS November 29, 2022 decision dismissing the Defendant-

       initiated appeals case for lack of jurisdiction clearly states, upon the Office of Child

       Support Service’s withdrawal of the enforcement instrument Notice of Lien on October

       14, 2022, the RI EOHHS determined it lost jurisdiction over the matter before any

       hearing was conducted and before the December 1, 2022 scheduled hearing that never

       took place as a result of the dismissal based on its determination of loss of jurisdiction.

       The decision regarding loss of jurisdiction speaks for itself. The subpoena clearly does

       not seek production of documents relating to the November 29, 2022 Agency decision

       relating to loss of jurisdiction.

                The subpoena seeks production and testimony relating to the facts evidenced in

       the Rhode Island Office of Child Support produced PUBLIC RECORDS TRAC records

       that RI EOHHS in its supervisory capacity over Department of Human Services and

       Office of Child Support Serviced caused to be produced in response to Defendant’s

       APRA Request for public records filed with RI EOHHS on December 1, 2022.

                I.      Title IV-D Records and Facts relating to Public Records
                        Produced by RI EOHHS’s Response to Defendant’s APRA
                        (Rhode Island Access to Public Records) Record Request are
                        Obviously Open to the Public and Obviously Not Privileged



                Subsequent to the aforesaid RI EOHHS issuance of its November 29, 2022

       decision citing loss of jurisdiction, TEXAS Defendant MARY SEGUIN filed a Rhode

       Island Access to Public Records Act (“APRA”) request for Defendant’s Title IV case

       records on December 1, 2022 emailed to then Acting Secretary Ana Novais of RI

       EOHHS.



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                On December 16, 2022, Ms. Lisa Martinelli, Esq., Chief Legal Counsel for RI

       EOHHS sent an APRA response letter to TEXAS Defendant MARY SEGUIN informing

       the Defendant that public records are being produced. However TEXAS Defendant’s

       Title IV records are maintained, Rhode Island Executive Office of Health and Human

       Services by and through its Chief Legal Counsel Ms. Lisa Martinelli confirmed its own

       oversight over Department of Human Services (and Office of Child Support Services) as

       a Title IV Agency. See Exhibit B. Letter from Ms. Lisa Martinelli.

                On December 22, 2022 Rhode Island Department of Human Services and Rhode

       Island Office of Child Support Services produced under Rhode Island’s Access to Public

       Records (“APRA”) public records of Defendant’s Title IV-D case TRAC records that

       show the taking off from the 42 U.S.C. sec. 654a automated data processing system

       Rhode Island’s 12% compound interest when Rhode Island Office of Child Support

       Services prior to Rhode Island sending to and certifying to TEXAS under 42 U.S.C. sec.

       666(14). APRA Public Records TRAC records attached Exhibit C.

                This APRA-produced TRAC records are not only Public records in Rhode Island,

       they also consist of Public Records in TEXAS and consist of Public Records of the

       United States of America.

                As such, there is nothing privileged about Rhode Island EOHHS’s first-hand

       knowledge of the public records being maintained by the Rhode Island Office of Child

       Support Services under the Rhode Island Department of Human Services all of which

       the Rhode Island EOHHS oversees and exercises supervisory responsibility and control

       under 42 U.S.C. sections 651-669.



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                II.   APRA Public Records Show RI EOHHS and Ms. Lisa Martinelli
                      has First Hand Knowledge or Should Have First Hand
                      Knowledge of Facts Documented in the RI EOHHS Produced
                      APRA Public Records Relating to the Rhode Island Office of
                      Child Support Services Practice of Taking Interest Amounts off
                      from the 42 U.S.C. sec. 654a automated data processing system
                      when certifying to TEXAS under 42 U.S.C. sec. 666(14) in 2018,
                      and Putting An Ever-Changing Interest Amount Back on the 42
                      U.S.C. sec. 654a automated system



                The APRA Public Records produced pursuant to Defendant’s December 1, 2022

       APRA Record Request show that RI EOHHS, Chief Counsel Ms. Debra Barclay, and

       Chief Counsel Ms. Lisa Martinelli (and Chief Counsel Ms. Jennifer Buckley) have First

       Hand Knowledge or Should Have First Hand Knowledge of Facts Documented in the RI

       EOHHS-Produced APRA Public Records Relating to the Rhode Island Office of Child

       Support Services’ Practice of Taking Interest Amounts off from the 42 U.S.C. sec. 654a

       automated data processing system when certifying to other states, and in Defendant’s

       case, when certifying to TEXAS under 42 U.S.C. sec. 666(14) in 2018, and Putting back

       the Ever-Changing Interest Amount Back on the 42 U.S.C. sec. 654a automated system

       in the amount of tens of thousands of dollars. Office of Child Support Service’s taking

       the interest amount off the automated system and putting the interest back on the

       automated system is so public and routine that they not only form part of transcripts of

       public hearings in this Title IV proceeding, they also form the basis of written public

       court orders entered in this Title IV case from February 10, 2023 to the present.

                A RI EOHHS Officer testifying to the RI EOHHS’s First Hand Knowledge

       and testifying to Whether the RI EOHHS Knew Or Should Have Known that the Rhode

       Island Office of Child Support Services routinely certifies and submits child support


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       records that entails the removals or adding back on to the system tens of thousands of

       dollars in interest amounts that are documented in the APRA public records produced

       on December 22, 2022, which corroborate with all the information, materials,

       evidence, filings and facts presented during the course of the RI EOHHS Appeal

       Docket# 22-2116 in which NO FORMAL HEARING ever took place, simply and

       straightforwardly complies with DUE PROCESS requirements prescribed by 42

       U.S.C. sec. 666 that 42 U.S.C. sec. 654(20) requires as a condition of Rhode Island’s

       participating in Title IV-D and as a condition of receiving Title IV-A TANF federal

       funding.

                III.   Statutory and Federal Authority

                In order to avoid yet another penalty-incurring violation of 42 U.S.C. sec. 654, the

       RI EOHHS and Ms. Debra DeStefano must produce subpoenaed information and testify

       to facts and any and all first-hand knowledge of the APRA public records that RI

       EOHHS caused to be produced relating to Rhode Island Office of Child Support

       Service’s Practice of taking tens of thousands of dollars of alleged interest amounts off

       the 42 U.S.C. sec. 654a automated data processing system when certifying and sending

       to TEXAS under 42 U.S.C. sec. 666(14) documented in the TRAC records in Defendant’s

       Title IV-D case.

                Congress prescribed both civil and criminal penalties for violations. Consistent

       with its Spending Power, Congress has the authority to attach conditions on the receipt

       of federal funds. See South Dakota v. Dole, 483 U.S. 203, 206 (1987). The Title IV-D

       statute expressly provides that compliance with the 3-6% simple interest on overdue

       support, operating the automated system for accuracy and SDU requirements is a

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       condition of approval of a state plan. See 42 U.S.C. §§ 654(10), (14), (15), (16), (20),

       (21)(A), (24), (27)A, § 654a, § 654b. The clear and unequivocal statement of the required

       conditions in the statute enabled Rhode Island to "exercise [her] choice knowingly,

       cognizant of the consequences of [her] participation." See Dole, 483 U.S. at 207

       (citations omitted). The Supreme Court has recognized that Congress intended the

       linkages between child support programs and the TANF program. See Sullivan v.

       Stroop, 496 U.S. 478, 484 (1990) (concluding Congress intended the two programs to

       "operate together closely.” The penalty provisions of the statute and the wording of the

       statute are plain. Where the Secretary determines that a state plan would be

       disapproved, and where the State has made and continues to make a good faith effort to

       comply and has submitted a corrective compliance plan, "the Secretary shall not

       disapprove the State plan . . . and the Secretary shall reduce the amount otherwise

       payable to the State [by the designated alternative penalty]." 42 U.S.C. §

       655(a)(4)(A)(i)(II) (emphasis added). "[B]y the text of the statute, the legislature has

       prescribed that the Secretary shall enforce this penalty." Hodges v. Shalala, 121 F.2d

       at 879. Absent any discretion available to the Secretary to impose a lesser penalty than

       the alternative penalty as outlined in the statute, Rhode Island is liable for the

       statutorily prescribed penalties.1 Congress also enacted several criminal codes


       1
        In 2000, South Carolina unsuccessfully challenged the Department of Health and
       Human Services’ (HHS) authority to impose a penalty for its non-compliance, see
       Hodges v. Shalala, supra, and subsequently submitted a corrective-action plan and
       accepted imposition of a penalty retroactive to 1998. The State paid more than $55
       million in penalties through 2007. South Carolina Dep’t of Social Servs., Response to
       Budget Proviso 13.27 at 4 (Aug. 31, 2007),
       http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
              Emphatically, note that South Carolina’s violations and penalties do not involve
       deliberate alterations of and tampering with government records involved in accounting
       fraud, knowingly inputting 42 USC 654(21)(A) violative 12% compound interest into the
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       punishing actors, such as the Plaintiffs, who commit federal crimes, including cover up

       of unlawful activities.

                The federal government has a longstanding involvement in child support

       enforcement programs. See Hodges v. Shalala, 121 F.Supp.2d 854 (D.S.C. 2000). As

       a condition of receipt of any federal funding under Title IV-D of the Social Security Act,

       42 U.S.C. §§ 651-669, States must have an approved state plan for child and spousal

       support that meets all the requirements of 42 U.S.C. § 654. Among the prerequisites for

       approval of a Title IV-D Plan are the requirements under 42 U.S.C. sec. 654(21)(A) that

       the State, at the option of the State, impose a late payment fee (‘interest”) on all overdue

       support (as defined in section 666(e) of this title) under any obligation being enforced

       under this part, in an amount equal to a uniform percentage determined by the State

       (not less than 3 percent nor more than 6 percent) of the overdue support, which shall be

       payable by the noncustodial parent owing the overdue support; establish and operate an

       automated data processing and information retrieval system, see 42 U.S.C. § 654(24),

       and a state child support disbursement unit (SDU), see 42 U.S.C. § 654(27)(A), among

       others

                While Rhode Island submits to the United States that it has a federally certifiable

       statewide automated data processing system for child support, RI EOHHS caused Office

       of Child Support Services to produce APRA Public Records consisting of Title IV Public

       Records showing Rhode Island taking off from the automated data processing system

       tens of thousands of dollars allegedly representing the 42 U.S.C. sec. 654(21)(A)


       automated system, then manually removing or adjusting them for purposes of
       certification purposes to Texas and to the United States in order to conceal the 12%
       compound interest from the noncustodial parent and to Texas and Federal authorities.
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       prohibited 12% compound interest late payment fee “interest” prior to certifying to

       TEXAS and the United States, and showing Rhode Island falsely certified to the

       amount’s accuracy under 42 U.S.C. sec. 666(14) when in fact Rhode Island removed

       significant tens of thousands of dollars (See TRAC records in Exhibit C).

                RI EOHHS is being called as a witness in this Title IV hearing matter to testify to

       the facts, furthermore in its supervisory capacity, relating to the APRA records RI

       EOHHS caused to be produced, and Ms. Debra DeStefano to testify, among others, her

       first-hand knowledge of said facts relating to Office of Child Support Services taking off

       the 42 U.S.C. sec. 654(21)(A) interest from the automated data processing system and

       then putting it back on the system that is corroborated by the APRA Public Records

       produced as a result of RI EOHHS’s response to TEXAS Defendant’s RI APRA public

       records request.

                Defendant reiterates that failure to furnish information regarding the State Plan’s

       and the SDU’s Title IV-D operations relating to the tens of thousands of dollars removed

       from the automated system prior to certifying to Texas and the United States and then

       put back on the system tens of thousands of dollars shown in Defendant’s case file

       public records is penalty incurring and shows the state plan fails to meet all

       requirements under 42 U.S.C. sec. 654. Without an approved state plan, a State may

       lose federal funding under both Title IV-D (child support enforcement) and Title IV-A

       (TANF). See 42 U.S.C. § 655(a)(1)(A); 42 U.S.C. § 602(a)(2). Alternatively, a State may

       opt for an alternative penalty in lieu of disapproval of their state plan and the

       withholding of federal funds if the State is making a good faith effort to comply with the




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       program’s requirements and the State has submitted a corrective compliance plan. See

       42 U.S.C. § 655(a)(4).

                The Title IV-D statute expressly provides that compliance with ALL 42 U.S.C. 654

       requirements is a condition of approval of a state plan. See 42 U.S.C. § 654(16),

       (24)(27)A.

                The clear and unequivocal statement of the required conditions in the statute

       enabled South Rhode Island to "exercise [her] choice knowingly, cognizant of the

       consequences of [her] participation." See Dole, 483 U.S. at 207 (citations omitted). The

       Supreme Court has recognized that Congress intended these linkages between child

       support programs and the TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484

       (1990) (concluding Congress intended the two programs to "operate together closely.”

                Emphatically, Congress may use its Spending Power to influence a State’s

       legislative choices by providing incentives for States to adopt certain policies, but may

       not compel or coerce a State, or go so far as to "commandeer the legislative processes of

       the States by directly compelling them to enact and enforce a federal regulatory

       program." See New York v. United States, 505 U.S. at 161, but Congress, under the

       Commerce Clause, may offer the States a choice of regulation under federal

       control or preemption under federal regulation. See Hodel v. Virginia

       Surface Mining & Reclamation Assn., Inc., 452 U.S. 264, 288 (1981). It is crystal

       clear that upon Rhode Island’s State Plan entering into agreement with the United

       States, Rhode Island accepted the agreement terms of regulation under federal control

       or preemption under federal regulation. See Hodel v. Virginia Surface Mining &

       Reclamation Assn., Inc., 452 U.S. 264, 288 (1981).

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                Defendant filed a Motion to Dismiss Interest Arrears on February 4, 2024 and

       Defendant’s Motion is scheduled on the Court’s calendar to be heard on March 28,

       2024. For the hearing, the Defendant served the attached Subpoena, attached hereto as

       Exhibit A, upon the witness RI EOHHS, the entity that further supervises the Rhode

       Island Office of Child Support Services, both acting and designated as the State agency

       under the State Plan pursuant to 42 U.S.C. § 654. See United States Congress’s

       publication of cited applicable federal law:

       https://uscode.house.gov/view.xhtml?hl=false&edition=prelim&req=granuleid%3AUS

       C-prelim-title42-

       section654&f=treesort&num=0&saved=%7CY29kZSBvZiBmZWRlcmFsIHJlZ3VsYXRp

       b25z%7CdHJlZXNvcnQ%3D%7C%7C1862%7Cfalse%7Cnull

              V. RI EOHHS Has Access to and Has Supervisory Access to Pursuant
       Its Supervisory Control of Rhode Island Office of Child Support Services,
       Title IV-D records related to Defendant Mary Seguin
                Defendant subpoenaed “(1) All records relating to Administrative Appeal Docket

       # 22-2116 CSE ID: 1689817, including notes taken, messages generated and received

       through Microsoft teams meeting at the pre-hearing conference call with Appellant

       Mary Seguin and John Langlois of Rhode Island Office of Chiild Support Services on

       October 5, 2022; (2) All records relating to Mary Seguin.”

                See attached subpoena, Exhibit A.

                The RI EOHHS has pursuant to its supervisory control access to records of Rhode

       Island Office of Child Support Services’ actions in this Title IV-D case’s proceedings

       since 2010 evidence by the entries of orders in this matter prepared and submitted in

       her official and individual capacities, Priscilla Glucksman – they make clear the Office of


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       Child Support Services is one of the State Plan’s key “organizational unit which meets

       such staffing and organizational requirements as the Secretary may by regulation

       prescribe, within the State to administer the plan” under 42 U.S.C. § 654(3), and the

       RI EOHHS has supervisory responsibility over Office of Child Support

       Services, and is a 42 U.S.C. § 654(3) entity itself and is further a 42 U.S.C. §

       654(1) entity in which all requirements of 42 U.S.C. § 654 must be in effect.

                Rhode Island EOHHS’ refusal to comply with the Subpoena to produce Title

       IV-D records relating to the above to the requesting noncustodial parent is a prima

       facie 42 U.S.C. § 654b violation that incurs penalties in this fiscal year under

       42 U.S.C. § 655(a)(5) as well as 42 U.S.C. § 655(a)(4), and represents

       complicit cover-up, which penalty-incurring violations the Defendant had reported,

       is reporting and will continue to report to relevant law enforcement authorities at the

       federal and state levels. (Judicial notice is respectfully requested that the Defendant in

       January 2023 reported Office of Child Support’s violations to the Rhode Island Office of

       Attorney General that is further directed by the December 16, 2022 Letter sent by Ms.

       Lisa Martinelli, Esq., Chief Counsel of RI EOHHS, who instead of enforcing the

       requirements of the State Plan as the Attorney General is similarly a political

       subdivision under 42 USC 654(1), opted to reinforce, aid, shield and protect Rhode

       Island political subdivisions’ unlawful activities – this is reported to United States

       authorities). As a condition of receipt of any federal funding under Title IV-D of the

       Social Security Act, 42 U.S.C. §§ 651-669, States must have an approved state plan for

       child and spousal support that meets all the requirements of 42 U.S.C. § 654. Among

       the prerequisites for approval of a Title IV-D Plan are the requirements that the State



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       may only uniformly charge 3-6% simple interest on overdue support, see 42 U.S.C. §

       654(21)(A), and a State must establish and operate an automated data processing and

       information retrieval system without taking computer calculated amounts off and then

       put other numbers back on the system or hardcoding/inputting new numbers computed

       offline onto the system, see 42 U.S.C. § 654(24), and the State must have a state child

       support disbursement unit (SDU) that complies with all the requirements of 42 U.S.C. §

       654, 42 U.S.C. § 654a, 42 U.S.C. § 654b, see 42 U.S.C. § 654(27)(A). Rhode Island

       deliberately fails to meet all the requirements, including continuously inputting 12%

       compound interest on overdue support and the Rhode Island Office of Child Support

       Services covers up their noncompliance with accounting fraud inputting into the system

       and taking off from the automated data processing system amounts that are inflated,

       unlawful, and submitting false books of accounts that removed the unlawful inflated

       amounts to the Federal authorities to make it look like Rhode Island is in compliance so

       as to procure federal funding for which Rhode Island is ineligible.

                The deliberate fraud makes clear the State operates an unlawful plan, in fact a

       criminally unlawful plan, and does not have an approved state plan under Title IV-D of

       the Social Security Act, 42 U.S.C. §§ 651-669, and should lose and disgorge unlawfully

       procured federal funding under both Title IV-D (child support enforcement) and Title

       IV-A (TANF). See 42 U.S.C. § 655(a)(1)(A); 42 U.S.C. § 602(a)(2). See, Hodges v.

       Shalala, 121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002), cert.

       denied, 540 U.S. 811 (2003).

                Any attempt interfering with the Defendant’s reporting, pursuant to

       18 U.S.C. § 4, to law enforcement authorities the commission of crimes by


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       political subdivisions of the State within this Title IV-D proceeding is

       unenforceable. Any and all failures to comply with 18 U.S.C. § 4 constitutes

       misprision of a felony.

                           A. VIOLATIONS OF FEDERAL CRIMINAL CODES

                Pending before the official Federal Court of Appeals proceeding, Defendant made

       known to the panel of judges of the United States allegations contained in the Amended

       Complaint filed in Federal Court of the commission of acts by the Rhode Island political

       subdivisions and employees thereof, Barbara Grady and Gero Meyersiek named herein

       in this motion, the afore-described acts violating 18 U.S.C. §2, 18 U.S.C. §3, 18 U.S.C.

       §13, 18 U.S.C. §21, 18 U.S.C. §35, 18 U.S.C. §285, 18 U.S.C. §286, 18 U.S.C. §287, 18

       U.S.C. § 2071(a), 18 U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C. §

       241, 18 U.S.C. § 242, 18 U.S.C. § 1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18

       U.S.C. §1343, 18 U.S.C. § 201, 18 U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285, 18 U.S.C.

       §1506, 18 U.S.C. § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C. §1002, 18 U.S.C.

       §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C. §1346, 18 U.S.C. §1349, 18 U.S.C.

       §1510, 18 U.S.C. §1513, RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C. §1963, 18

       U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968 – such violative acts by the Plaintiffs in

       this matter, along with the political subdivisions and employees thereof named in the

       federal matter on this list are not exhaustive. It is undisputable, among others, that

       Title IV-D penalties were incurred by, Criminal penalties were incurred by, and Title IV-

       D and Title IV-A disgorgement is due from the applicable State of Rhode Island’s

       political subdivisions.

                                             B. NO IMMUNITY

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                On February 6, 2024 in case No. 23-3228 in UNITED STATES OF AMERICA v.

       DONALD J. TRUMP, DC Circuit, the DC Circuit United States Court of Appeals reminds

       the Public and all applicable tribunals that Judges are similarly liable to the criminal

       laws for their official acts. A notable example is Ex parte Commonwealth of Virginia, in

       which the Supreme Court affirmed the criminal indictment of a judge based on an

       official act. 100 U.S. 339 (1879). A county judge was indicted in federal court for

       violating a federal statute that prohibited discriminating on the basis of race in jury

       selection. Id. at 340, 344. The Supreme Court began by observing the principle that

       officers are bound to follow the law: “We do not perceive how holding an office under a

       State, and claiming to act for the State, can relieve the holder from obligation to obey the

       Constitution of the United States, or take away the power of Congress to punish his

       disobedience.” Id. at 348. The Court then addressed the judge’s argument that the Court

       lacked the authority to punish a state judge for “his official acts.” Id. Its response was

       twofold. First, the Court described juror selection as “merely a ministerial act, as much

       so as the act of a sheriff holding an execution, in determining upon what piece of

       property he will make a levy, or the act of a roadmaster in selecting laborers to work

       upon the roads.” Id. The Court then explained that even if juror selection is considered a

       “judicial act,” the judge had a legal duty to obey the criminal laws:

                “But if the selection of jurors could be considered
                in any case a judicial act, can the act charged
                against the petitioner be considered such when
                he acted outside of his authority and in direct
                violation of the spirit of the State statute? That
                statute gave him no authority, when selecting


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                jurors, from whom a panel might be drawn for
                a circuit court, to exclude all colored men
                merely because they were colored. Such an
                exclusion was not left within the limits of his
                discretion. It is idle, therefore, to say that the
                act of Congress is unconstitutional because it
                inflicts penalties upon State judges for their
                judicial action. It does no such thing.


                Id. at 348–49 (emphasis added). The Court’s reference to “the State statute” is to

       the Virginia law charging the county judge with the duty to select jurors in the circuit

       and county courts. Ex parte Virginia, 100 U.S. at 340.

                More recent case law on the judicial immunity doctrine affirms that judges are

       not immune from criminal liability for their official acts. O’Shea v. Littleton confirmed

       the holding of Ex parte Virginia in dismissing a civil rights action for equitable relief

       brought against a county magistrate and associate judge of a county circuit. 414 U.S.

       488, 490–91, 503 (1974). The Supreme Court concluded that the requested injunction

       was not the only available remedy because both judges remained answerable to the

       federal criminal laws:

                [W]e have never held that the performance of
                the duties of judicial, legislative, or executive
                officers, requires or contemplates the
                immunization of otherwise criminal deprivation
                of constitutional rights. On the contrary, the
                judicially fashioned doctrine of official
                immunity does not reach ‘so far as to immunize


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                criminal conduct proscribed by an Act of
                Congress . . . .’


                Id. at 503 (citation to Ex parte Virginia, 100 U.S. 339, omitted; quoting Gravel,

       408 U.S. at 627). Similarly, in Dennis v. Sparks, the Court affirmed judicial immunity

       from civil money damages in the context of bribery allegations but explained that judges

       “are subject to criminal prosecutions as are other citizens.” 449 U.S. at 31. Crucially, the

       judge in Dennis retained civil immunity because “the challenged conduct” — allegedly

       issuing an injunction corruptly after accepting bribes as part of a conspiracy — was “an

       official judicial act within his statutory jurisdiction, broadly construed.” Id. at 29. The

       scope of civil judicial immunity thus aligns with civil Presidential immunity under

       Fitzgerald, but a judge has no criminal immunity for the same “official act.” See also

       Imbler v. Pachtman, 424 U.S. 409, 429 (1976) (“Even judges, cloaked with absolute civil

       immunity for centuries, could be punished criminally for willful deprivations of

       constitutional rights . . . .”); United States v. Gillock, 445 U.S. 360, 372 (1980) (“[T]he

       cases in this Court which have recognized an immunity from civil suit for state officials

       have presumed the existence of federal criminal liability as a restraining factor on the

       conduct of state officials.”).

                When considering the criminal prosecutions of judges, other circuits have

       repeatedly rejected judicial criminal immunity for official acts, largely in the context of

       bribery prosecutions. See United States v. Claiborne, 727 F.2d 842, 845 (9th Cir.) (per

       curiam), cert. denied, 469 U.S. 829 (1984); United States v. Hastings, 681 F.2d 706,

       709–11 (11th Cir. 1982), cert. denied, 459 U.S. 1203 (1983); United States v. Isaacs, 493




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       F.2d 1124, 1143–44 (7th Cir.) (per curiam), cert. denied, 417 U.S. 976 (1974), overruled

       on other grounds by United States v. Gimbel, 830 F.2d 621 (7th Cir. 1987).

                The political subdivisions of Rhode Island under 42 USC 654(1) similarly are not

       immune, and employees of the political subdivisions of Rhode Island under 42 USC

       654(1) similarly are not immune. Barbara Grady and Gero Meyersiek are

       unquestionably liable.

                I.      CONCLUSION

                        Under 42 USC 654b, the Defendant is entitled to be furnished all
                        subpoenaed records – conversely, the Rhode Island Executive
                        Office of Health and Human Services, the SDU under the State’s
                        Plan under 42 USC 654, must furnish all subpoenaed
                        information and RI EOHHS Hearing Officer must testify to first-
                        hand knowledge of information related to factual information
                        furnished by Rhode Island Office of Child Support Services that
                        are corroborated by the Title IV-D public records RI EOHHS
                        caused to be produced in response to Defendant’s RI APRA
                        public records request – refusal of which incurs yet another
                        penalty.

                WHEREFORE, the Defendant respectfully requests the Chief Judge or

       designee-Judge Merola of this Honorable Court to:


                1. Grant the Defendant’s Motion to Compel.

                2. Grant the Defendant’s request for any and all records relating to her Title IV

                     record information that includes record information relating to the “TRAC

                     notes of 12/6/2021 and 12/7/2021” that records taking interest off the system

                     when sending to Texas then REDACTION, as well as relating to the substance

                     of John Langlois’s audio recorded October 5, 2022 statements regarding

                     “what happened in this case” that discuss Gero Meyersiek’s lawyer Barbara

                     Grady phoning the Office of the Child Support Services that Gero Meyersiek

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                   said yes, he “agreed to waive the $73k or $75k that are in arrears” as of

                   December 6, 2021 and October 5, 2022 which are part of Defendant’s child

                   support case file.

                3. Declare that Defendant’s child support record file maintained by the Rhode

                   Island Office of Child Support Services that by law codified in Title IV-D

                   Program of the Social Security Act must be produced to the Defendant

                   Noncustodial Parent upon request.

                4. Declare that Defendant’s child support file maintained by the Rhode Island

                   Office of Child Support Services under the supervision of RI EOHHS must be

                   produced to the Defendant Noncustodial Parent upon request.

                5. Order a hearing on the herein issues raised in this matter.

                6. Listen to and admit into evidence the audio recording of John Langlois of

                   Office of Child Support Services here:

                   https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-

                   hBMaEg9/view?usp=sharing

                7. Order testimony and document production by Ms. Jennifer Lynch Buckley

                   who replaced Ms. Lisa Martinelli as they relate to RI EOHHS Agency’s APRA

                   public records production in response to Defendant’s December 1, 2022

                   APRA request sent to RI EOHHS requesting Defendant’s Title IV records.

                8. For further relief as the Court deems reasonable and fair under the

                   circumstances.

       Respectfully submitted,


       March 26, 2024


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                                                FOR DEFENDANT

                                                MARY SEGUIN, Pro Se.


                                                By: ________________
                                                Mary Seguin
                                                P.O. Box 22022
                                                Houston, TX 77019
                                                maryseguin22022@gmail.com



                                          NOTICE OF HEARING


              Please take notice that the foregoing Motion will be called for hearing before the
       Rhode Island Family Court, One Dorrance Plaza, Providence, RI 02903 at 10:00 AM on
       March 28, 2024 (case is already scheduled for that date/time) by WebEx hearing
       https://ricourts.webex.com/meet/garrahy5F




                                             CERTIFICATION


              I hereby certify that a copy of the within Motion was filed on March 26, 2024
       electronically using the Court’s Odyssey File and Serve, with service to
       paul.gould@dhs.ri.gov, Jennifer.buckley@ohhs.ri.gov and dhs.courtfile@dhs.ri.gov


                                                        _______________________




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                                   Rhode Island Executive Office of Health and Human Services
                                    Legal Office, Three West Road, Virks Building, 4th Floor, Cranston, RI 02920
                                     phone: 401.462.2326 fax: 401.462.1678




       December 16, 2022

       VIA EMAIL and US Mail: marylive22022@gmail.com

       Ms. Mary Seguin
       2303 Elmen Street
       Houston, TX 77019

       Re: Response to Correspondence dated December 1, 2022

       Dear Ms. Seguin:

       I am responding on behalf of Secretary Novais to your correspondence of December 1, 2022. It
       is my understanding that you have been seeking records related to a matter pending with the
       Office of Child Support Services (OCSS). I have contacted OCSS Chief Legal Counsel Attorney
       Paul Gould and he assured me that records relating to your file will be forwarded to you in the
       next couple of days. Attorney Gould is copied on this correspondence.

       In reply to your correspondence/petition of December 1, 2022, the Executive Office of Health
       and Human Services (EOHHS) and its Appeals Office do not have any documents responsive to
       your request regarding your file with OCSS. You may not be aware that the OCSS is part of the
       Rhode Island Department of Human Services (DHS) and file documents are not commingled
       between agencies. This response is solely on behalf of EOHHS and not any other agency or
       branch of state government. Further, the Appeals Office never received any documents from
       your file from the OCSS when the appeal was pending. When DHS OCSS withdrew the adverse
       action (the Notice of Lien), which gave rise to your appeal, there was no longer an underlying
       case for the Appeals Office to adjudicate, and the appeal was dismissed for lack of jurisdiction.
       (See attached Final Notice of Dismissal and Order).

       If you are seeking an appeal of an Access to Public Records request, that action is governed by
       R.I. Gen. Laws § 38-2-8 and is answered by the Chief Administrative Officer for the agency that
       has custody of the requested records. The Chief Administrative Officer for the DHS OCSS is
       the Director of the Rhode Island Department of Human Services, Acting Director Kimberly Brito
       or you may elect to directly appeal a decision to the Rhode Island Office of the Attorney
       General, 150 South Main Street, Providence, RI 02903.
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       Very truly yours,




       Lisa M. Martinelli, Esq.
       Executive Legal Counsel

       cc: Deb Barclay, Esq., Paul Gould, Esq.
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                    STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
       PROVIDENCE, S.C.                                               FAMILY COURT


       State of Rhode Island ex rel.             :
       GERO MEYERSIEK                            :
              Plaintiff                          :
                                                 :
       VS.                                       :              DOCKET NO: K20010521M
                                                 :              Title IV Part D Case under
                                                 :              42 U.S.C. §§ 651-669
       MARY SEGUIN                               :
           Defendant                             :


         DEFENDANT’S MOTION TO COMPEL COMPLIANCE WITH SUBPOENA



                The Texas Defendant, MARY SEGUIN (“Seguin”), proceeding pro-se, hereby

       moves to compel compliance with Defendant’s Subpoena (attached hereto as Exhibit

       A) served upon the Rhode Island Office of Child Support Services, which is acting on

       behalf of the State of Rhode Island ex. rel. GERO MEYERSIEK, and acting as the “State

       Agency” under the Rhode Island State Plan under 42 U.S.C. § 654, 42 U.S.C. § 654a,

       42 U.S.C. § 654b, 42 U.S.C. § 666 et al., and all applicable state and Federal Laws,

       both civil and criminal, regulating Plaintiffs’ actions and omissions under the legal

       framework of Title IV-D of the Social Security Act. Defendant respectfully

       requests and moves for a hearing on Defendant’s herein Motion to Compel

       Compliance with Subpoena – the Rhode Island Office of Child Support

       Services refuses to respond to and refuses to comply with the Subpoena,

       and filed a motion to quash the subpoena on March 20, 2024 - the

       requested information is further regulated and mandated to be produced

       under the State Plan in compliance under 42 U.S.C. § 654b, therefore those


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       requested documents must be produced by the State within this proceeding

       as well as without judicial compulsion. The Subpoena further summons Kevin

       Tighe, Paul Gould and John Langlois to appear to Court to testify at the hearing

       scheduled in this matter on March 28, 2024 at 10:00 AM.

                   I.     RHODE ISLAND’S STATE PLAN’S PENALTY-INCURRING
                                     VIOLATIONS OF TITLE IV-D
                                                      AND

                ORGANIZED CRIMINAL COMMISSION OF INTERSTATE FRAUD

                Congress prescribed both civil and criminal penalties for violations. Consistent

       with its Spending Power, Congress has the authority to attach conditions on the receipt

       of federal funds. See South Dakota v. Dole, 483 U.S. 203, 206 (1987). The Title IV-D

       statute expressly provides that compliance with the 3-6% simple interest on overdue

       support, operating the automated system for accuracy and SDU requirements is a

       condition of approval of a state plan. See 42 U.S.C. §§ 654(10), (14), (15), (16), (21)(A),

       (24), (27)A, § 654a, § 654b. The clear and unequivocal statement of the required

       conditions in the statute enabled Rhode Island to "exercise [her] choice knowingly,

       cognizant of the consequences of [her] participation." See Dole, 483 U.S. at 207

       (citations omitted). The Supreme Court has recognized that Congress intended the

       linkages between child support programs and the TANF program. See Sullivan v.

       Stroop, 496 U.S. 478, 484 (1990) (concluding Congress intended the two programs to

       "operate together closely.” The penalty provisions of the statute and the wording of the

       statute are plain. Where the Secretary determines that a state plan would be

       disapproved, and where the State has made and continues to make a good faith effort to

       comply and has submitted a corrective compliance plan, "the Secretary shall not

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       disapprove the State plan . . . and the Secretary shall reduce the amount otherwise

       payable to the State [by the designated alternative penalty]." 42 U.S.C. §

       655(a)(4)(A)(i)(II) (emphasis added). "[B]y the text of the statute, the legislature has

       prescribed that the Secretary shall enforce this penalty." Hodges v. Shalala, 121 F.2d at

       879. Absent any discretion available to the Secretary to impose a lesser penalty than the

       alternative penalty as outlined in the statute, Rhode Island is liable for the statutorily

       prescribed penalties. 1 Congress also enacted several criminal codes punishing actors,

       such as the Plaintiffs, who commit federal crimes, including cover up of unlawful

       activities.

                Defendant filed a Motion to Dismiss Interest Arrears on February 4, 2024 and

       Defendant’s Motion is scheduled on the Court’s calendar to be heard on March 28,

       2024. For the hearing, the Defendant served the attached Subpoena, attached hereto as

       Exhibit A, upon the State ex. rel. Plaintiff, Rhode Island Office of Child Support

       Services, the State agency under the State Plan pursuant to 42 U.S.C. § 654. See

       United States Congress’s publication of cited applicable federal law:

       https://uscode.house.gov/view.xhtml?hl=false&edition=prelim&req=granuleid%3AUS



       1
        In 2000, South Carolina unsuccessfully challenged the Department of Health and
       Human Services’ (HHS) authority to impose a penalty for its non-compliance, see
       Hodges v. Shalala, supra, and subsequently submitted a corrective-action plan and
       accepted imposition of a penalty retroactive to 1998. The State paid more than $55
       million in penalties through 2007. South Carolina Dep’t of Social Servs., Response to
       Budget Proviso 13.27 at 4 (Aug. 31, 2007),
       http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
               Emphatically, note that South Carolina’s violations and penalties do not involve
       deliberate alterations of and tampering with government records involved in accounting
       fraud, knowingly inputting 42 USC 654(21)(A) violative 12% compound interest into the
       automated system, then manually removing or adjusting them for purposes of
       certification purposes to Texas and to the United States in order to conceal the 12%
       compound interest from the noncustodial parent and to Texas and Federal authorities.
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       C-prelim-title42-

       section654&f=treesort&num=0&saved=%7CY29kZSBvZiBmZWRlcmFsIHJlZ3VsYXRp

       b25z%7CdHJlZXNvcnQ%3D%7C%7C1862%7Cfalse%7Cnull

                Defendant subpoenaed “(1) All records, files, notes, public records, documents,

       films, materials generated in the course of administration and enforcement of relating to

       Defendant Mary Seguin, from 2010 to the present in this Title IV-D Case under the

       Social Security Act; (2) All records relating to Defendant Mary Seguin from 2010to the

       present, including notes and messages taken and generated on October 5, 2022.”

                See attached subpoena, Exhibit A.

                The Rhode Island Office of Child Support Services’ actions in this Title IV-D

       case’s proceedings since 2010 with the entries of orders prepared and submitted in her

       official and individual capacities, Priscilla Glucksman, make clear the Office of Child

       Support Services is one of the State Plan’s key “organizational unit which meets such

       staffing and organizational requirements as the Secretary may by regulation prescribe,

       within the State to administer the plan” under 42 U.S.C. § 654(3).

                Rhode Island Office of Child Support Services’ refusal to comply with

       the Subpoena is a prima facie 42 U.S.C. § 654b violation that incurs penalties in

       this fiscal year under 42 U.S.C. § 655(a)(5) as well as 42 U.S.C. § 655(a)(4),

       which penalty-incurring violations the Defendant had reported, is reporting and will

       continue to report to relevant law enforcement authorities at the federal and state levels.

       (Judicial notice is respectfully requested that the Defendant in January 2023 reported

       Office of Child Support’s violations to the Rhode Island Office of Attorney General, who

       instead of enforcing the requirements of the State Plan as the Attorney General is

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       similarly a political subdivision under 42 USC 654(1), opted to reinforce, aid, shield and

       protect Rhode Island political subdivisions’ unlawful activities – this is reported to

       United States authorities). As a condition of receipt of any federal funding under Title

       IV-D of the Social Security Act, 42 U.S.C. §§ 651-669, States must have an approved

       state plan for child and spousal support that meets all the requirements of 42 U.S.C. §

       654. Among the prerequisites for approval of a Title IV-D Plan are the requirements

       that the State may only uniformly charge 3-6% simple interest on overdue support, see

       42 U.S.C. § 654(21)(A), and a State must establish and operate an automated data

       processing and information retrieval system without taking computer calculated

       amounts off and then put other numbers back on the system or hardcoding/inputting

       new numbers computed offline onto the system, see 42 U.S.C. § 654(24), and the State

       must have a state child support disbursement unit (SDU) that complies with all the

       requirements of 42 U.S.C. § 654, 42 U.S.C. § 654a, 42 U.S.C. § 654b, see 42 U.S.C. §

       654(27)(A). Rhode Island deliberately fails to meet all the requirements, including

       continuously inputting 12% compound interest on overdue support and the Rhode

       Island Office of Child Support Services covers up their noncompliance with accounting

       fraud inputting into the system and taking off from the automated data processing

       system amounts that are inflated, unlawful, and submitting false books of accounts that

       removed the unlawful inflated amounts to the Federal authorities to make it look like

       Rhode Island is in compliance so as to procure federal funding for which Rhode Island

       is ineligible.

                The deliberate fraud makes clear the State operates an unlawful plan, in fact a

       criminally unlawful plan, and does not have an approved state plan under Title IV-D of



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       the Social Security Act, 42 U.S.C. §§ 651-669, and should lose and disgorge unlawfully

       procured federal funding under both Title IV-D (child support enforcement) and Title

       IV-A (TANF). See 42 U.S.C. § 655(a)(1)(A); 42 U.S.C. § 602(a)(2). See, Hodges v.

       Shalala, 121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002), cert.

       denied, 540 U.S. 811 (2003).

                Any attempt interfering with the Defendant’s reporting, pursuant to

       18 U.S.C. § 4, to law enforcement authorities the commission of crimes by

       political subdivisions of the State within this Title IV-D proceeding is

       unenforceable. Any and all failures to comply with 18 U.S.C. § 4 constitutes

       misprision of a felony.




            A. THIS PROCEEDING IS GOVERNED by 42 U.S.C. § 654 et al.
       UNDER TITLE IV-D THAT REGULATE ALL POLITICAL SUBDIVISIONS OF
       THE STATE OF RHODE ISLAND



                The Political Subdivision of the State of Rhode Island under 42 U.S.C. § 654(1),

       namely by and through the Office of Child Support Services’ Lead Legal Counsel

       Paul Gould, Esq., made several claims before this Court under Oath throughout this

       Title IV-D case hearings and proceedings that the laws of Congress do not matter,

       only this court orders matter and they do not need to conform to

       Congressional prescribed federal statutes. E.g., See Exhibit B Transcript of

       February 2, 2024 Hearing in this matter. Rhode Island is wrong and Paul

       Gould is wrong, and both know it. That flagrant lawlessness is at the heart

       of the violations of federal law under color of state law in this interstate

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       Title IV-D case. Rhode Island participates in Title IV-D, and in so participating

       through its State Plan, must comply with Title IV-D. See, Hodges v. Shalala,

       121 F. Supp. 2d 854 (D.S.C. 2000), aff’d, 311 F.3d 316 (4th Cir. 2002), cert.

       denied, 540 U.S. 811 (2003). See New York v. United States, 505 U.S. at 161,

       Congress, under the Commerce Clause, may offer the States a choice of

       regulation under federal control or preemption under federal regulation.

       See Hodel v. Virginia Surface Mining & Reclamation Assn., Inc., 452 U.S.

       264, 288 (1981). The Title IV-D statute expressly provides that compliance

       with 42 U.S.C. sec. 654, and compliance with the automated data processing

       system and SDU requirements is a condition of approval of a state plan. See

       42 U.S.C. § 654(16), (24)(27)A. The clear and unequivocal statement of the

       required conditions in the statute enabled Rhode Island to "exercise [her]

       choice knowingly, cognizant of the consequences of [her] participation."

       See Dole, 483 U.S. at 207 (citations omitted); See South Dakota v. Dole, 483

       U.S. 203, 206 (1987). The textual language of 42 U.S.C. § 654(1) states,

                “A State plan for child and spousal support must—
                (1)    provide that it shall be in effect in all political subdivisions of
                       the State”



                The facts and established law thus make it crystal clear all political subdivisions

       of Rhode Island, including the Rhode Island Department of Human Services, the

       Office of Child Support Services AND the Rhode Island Judiciary political

       subdivisions of the State of Rhode Island MUST comply with 42 U.S.C. §

       654. However, because the Rhode Island Office of Child Support Services,


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       the State Plan’s SDU unit, flagrantly and expressly states in this Title IV-D

       case that Title IV-D statute and Congressionally prescribed federal statutes

       do not apply in this case nor in Rhode Island, the State of Rhode Island’s

       political subdivisions have flagrantly flouted 42 USC sec. 654 and then

       adjusted and tampered with the automated data processing system

       accounting to defraud the United States of federal funding, and to defraud

       the Defendant of her Texas properties.

                Therefore the Defendant respectfully reminds all participants involved in this

       Title IV proceeding and gives notice to the applicable State political subdivisions (e.g.,

       Rhode Island Judiciary) and agencies, including the SDU under the State Plan under 42

       U.S.C. § 654(1), e.g., the Rhode Island Office of Child Support Services, that

       this yet again noncompliance by the State of Rhode Island with the Subpoenaed

       information egregiously constitutes yet another of the many numerous failures of Rhode

       Island agencies and its State Plan during this fiscal year to comply with the

       requirements of section 654b, as well as 654, 654a and 666 of Title IV which shall be

       considered yet another of the many numerous failures of the State to comply with

       subparagraphs (A) and (B)(i) of section 654(27) of this title during the fiscal year, that is

       clearly stipulated in 42 U.S.C. § 655(a)(5)(A)(ii) by a penalty amount of up to 30

       percent of the penalty base, in the case of the fifth or any subsequent such

       fiscal year in which such a failure by the State occurs (regardless of whether

       a penalty is imposed under this paragraph with respect to the failure). (ii)

       The term “penalty base” means, with respect to a failure of a State to

       comply with a subparagraph of section 654(24) of this title during a fiscal



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       year, the amount otherwise payable to the State under paragraph (1)(A) of

       this subsection for the preceding fiscal year.

                Additionally, the deliberate noncompliance motivated by cover up makes clear

       the State knowingly and intentionally operates an illegal plan, the State knows Rhode

       Island does not have an approved state plan under Title IV-D of the Social Security Act,

       42 U.S.C. §§ 651-669, and therefore should lose federal funding under both Title IV-D

       (child support enforcement) and Title IV-A (TANF). See 42 U.S.C. § 655(a)(1)(A); 42

       U.S.C. § 602(a)(2).

                                                   B. FRAUD

                In this Title IV case, serial noncompliance, motivated by fraud, and their

       resulting incurred penalties, both civil and criminal, accrued since the initiation of this

       Title IV case fourteen years ago in 2010, upon Plaintiff Gero Meyersiek’s

       application for services under Title IV through his own private attorney,

       Barbara Grady, whose former law firm partner and diseased husband Paul

       Dugan, was himself a former Senior Counsel of the Rhode Island Office of

       Child Support Services, one of the key Title IV-D agencies under Rhode

       Island’s State Plan charged under 42 U.S.C. § 654(3) with State compliance

       with 42 U.S.C. § 654, 654a, 654b, 655, 658a, among others – Barbara Grady

       through Paul Dugan has intimate knowledge of and is a knowing participant

       in the State’s accounting fraud reporting to the United States for federal

       funding reimbursement and federal funding Incentive Payment payouts

       (658a) worth hundreds of millions of dollars under the Title IV Program to

       the Secretary and Department of Health and Human Services, among

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       others. Upon information and belief, the Plaintiff Gero Meyersiek and

       Barbara Grady and the Rhode Island Office of Child Support Services have a

       series of unlawfully obtained “12% compound interest” money receipt

       sharing arrangements involving the fraudulent procurement through the

       Title IV framework of exorbitant 12% compound interest interstate

       targeting Defendant’s Texas properties on overdue support enabled

       through accounting fraud, among others – this arrangement involving

       interstate defraud of the Texas Defendant and simultaneous theft of the

       United States of ineligible Title IV funding entails, inter alia, the Rhode

       Island Office of Child Support Services discussing in great detail at length

       with Barbara Grady the agency’s fraudulent removal from the 42 U.S.C. §

       654(24), 42 U.S.C. § 654(27) and 42 U.S.C. § 654a mandated automated data

       processing system of 12% compound interest when sending to Texas in 2018

       thus creating fraudulent books of accounts under 42 U.S.C. §

       666(14)(A)(ii)(I) and (II) fraudulently certifying to Texas via wire and via

       mail inaccurate support due accounts – discussions of this scheme further

       violated the Defendant’s privacy rights, that are documented in the TRAC

       record of the Defendant’s Title IV case file for December 2021 recording the

       agency’s discussions with Barbara Grady at length regarding taking interest

       off when sending to Texas, and keeping it off the system when

       communicating to Defendant that Gero Meyersiek waived interest, and then

       putting interest back on the system after they defrauded the Defendant

       inducing the Defendant to payoff support that comprised of the principle in

       one lump sum of $104,185.98 in consideration of Gero Meyersiek waiving

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       interest – the agency discussing its illegal and criminal enforcement

       information with Barbara Grady is in itself a violation of 42 U.S.C. 654

       (26)(A) that mandates the State Plan to have in effect safeguards, applicable

       to all confidential information handled by the State agency, that are

       designed to protect the privacy rights of the parties, such as this Texas

       Defendant, including—

                (A)safeguards against unauthorized use or disclosure of information

       relating to proceedings or actions to establish paternity, or to establish,

       modify, or enforce support.

                See Exhibit B. Rhode Island Office of Child Support TRAC document for

       December 2021 attached hereto as EXHIBIT B.

                Under Title IV-D of the Social Security Act, 42 U.S.C. §§ 651-669, the

       Texas Defendant has the protected right to be furnished under Subpoena with all

       TRAC records in Defendant’s Title IV-D case file from 2010 to the present to establish

       the accuracy of the alleged Rhode Island computations mandated to be performed by

       the automated data processing system, but has instead been hard-programmed

       numbers created offline that are then manually input into the automated data

       processing system several times, thus fabricating several different Rhode Island-

       certified false books of accounts of amounts due transmitted by mail and by wire to

       Texas and the Texas Defendant and to the United States for the purposes of procuring

       federal funding under Title IV-D and Title IV-A that violate Federal and Texas State civil

       and criminal codes. The Rhode Island Office of Child Support Services refuses to



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       produce any TRAC records for 2010, 2011, 2012, 2013, 2014, 2015, 2016, 2017, 2018,

       2019, 2021 January to November, 2023 and 2024.

                This violation of, among others, 42 U.S.C. 654(26)(A) constitutes a violation of 42

       U.S.C. 654(27) that counts as a penalty in the many violations in fiscal year 2021 alone

       which exceeds 30% of the penalty base in 2021 – and that’s just civil penalties under

       Title IV – numerous other federal criminal and civil violations incurring additional

       penalties are applicable, including Texas criminal and civil code violations.

                                            C. 42 U.S.C. § 654b(4)

                Under Rhode Island’s State Plan, the Rhode Island Office of Child Support

       Services is mandated to “furnish to any parent, upon request, timely

       information on the current status of support payments under an order

       requiring payments to be made by or to the parent.”

                Therefore, information relating to the Orders in question and relevant

       information relating to those orders must be furnished. Information relating to the

       putting of 12% compound interest on the automated data processing system from 2010

       to the present must be furnished. Information relating to the removal of any alleged

       computed online or offline related to 12% compound interest from the automated data

       processing system in 2018 and at any and all times from 2010 to the present must be

       furnished. Information relating to the waiver by the Plaintiff by and through his private

       attorney Barbara Grady of the 12% compound interest that was represented to

       Defendant as the $0.00 showing under interest calculated by the automated data

       processing system in Defendant’s case file on December 6, 2021 must be furnished.

       Information relating to the Rhode Island Office of Child Support Services calculated

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       total due showing $92,214,56 calculated by the automated data processing system in

       Defendant’s case file on December 6, 2021 that calculates arrears from 2010 must be

       furnished. See attached hereto December 6, 2021 screen shot of the Defendant’s

       online OCSS account showing the calculated amounts of which is mandated by Title

       IV-D to be populated by the automated data processing system as EXHIBIT C.

       Information relating to the interest amount before it was taken off the automated data

       processing system in 2018 must be furnished, as well as any time interest was taken off

       the system from 2010 to the present. Information relating to the interest put back on

       the automated data processing system in 2021 after Defendant accepted the

       $104,185.98 payoff number given by Office of Child Support Services by wire via email

       must be furnished. Information relating to how $104,185.98 was computed by the

       automatic data processing system on December 7, 2021 must be furnished, when the

       automated data processing system calculated $92k just the day before on December 6,

       2021 must be furnished. Information relating to how $75,658.00 was calculated by the

       automated data processing system on March 3, 2022 that was then issued to Texas to

       lien Texas properties by Mail and by wire must be furnished. And this is not exhaustive

       – see Subpoena attached hereto as Exhibit A.




             D. 2012 JUDGE McCANN (and 2024 MAGISTRATE NAHABEDIAN)
            VIOLATIONS of 42 U.S.C. § 654(21)(A) – EIGHT FAILURES AND
        PENALTIES (FOUR IN 2012 and FOUR IN 2024 by and through POLITICAL
           SUBDIVISION RI FAMILY COURT) – (THIS DOES NOT INCLUDE
        CRIMINAL AND CIVIL PENALTIES UNDER APPLICABLE CRIMINAL AND
              CIVIL CODES UNDER FEDERAL LAWS AND TEXAS LAWS)




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                This Court took judicial notice on February 10, 2023of the issuance of two Orders

       issued by Judge McCann in 2012. Magistrate Monaco clarified at the hearing on March

       6, 2023 he did NOT take judicial notice of the contents of the orders, only the issuance

       of the orders. See attached transcript of March 6, 2023 hearing. Exhibit D.

                Those 2012 orders were issued by Judge McCann of the Rhode Island Family

       Court, a political subdivision of the State, in which the State Plan must be in effect under

       42 U.S.C. § 654(1). Therefore, it is crystal clear that the Rhode Island Family

       Court and its justices under the State Plan MUST comply with all provisions

       of Title IV-D, including U.S.C. § 654(21)(A) that makes it crystal clear interest on

       overdue support must be between 3-6% simple interest. However, Judge

       McCann knowingly ordered 12% compound interest in this interstate Title

       IV-D on overdue support to be illegally put into the State Plan’s automated

       data processing system mandated under U.S.C. § 654a and U.S.C. § 654b in

       knowing violation of 42 U.S.C. § 654(21)(A). Certainly, the Rhode Island

       Office of Child Support Services today claims 12% compound interest was

       what Judge McCann ordered, undisputedly making Judge McCann an

       accomplice. The knowing violation of the political subdivision Rhode Island Family

       Court by and through Justice McCann of 42 U.S.C. § 654(21)(A) through fraud

       on the court and under color of state law violates 42 U.S.C. § 654(24), 42

       U.S.C. § 654a and 42 U.S.C. § 654b and incurs FOUR failures and penalties

       in this case alone for the fiscal year 2012 under 42 U.S.C. § 655(a)(4) and 42

       U.S.C. § 655(a)(5), through just the State family court political subdivision

       alone.



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                In 2024, the Rhode Island political subdivision of the family court by

       and through Magistrate Nahabedian flagrantly declared at the February 2,

       2024 hearing in this matter that the State knowingly orders to be put into

       the automated data processing system 12% compound interest in Rhode

       Island under color of state law and through fraud on the court in knowing

       violation of the Rhode Island certified approved State Plan that mandates 3-

       6% simple interest under 42 U.S.C. § 654(21)(A), with her actions

       representing four failures and penalties in fiscal year 2024. See transcript

       Exhibit F. Failure of compliance with all provisions of Title IV-D results in the State’s

       loss of federal funding for Title IV-D and Title IV-A under Federal Law. See Exhibit E,

       Court Reporter Certified Transcripts of February 2, 2024 Title IV case

       hearing in this matter.

             E. 2012 RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES
       (and 2012 Priscilla Glucksman) VIOLATIONS of 42 U.S.C. § 654(21)(A) and
       42 U.S.C. 654 (26)(A) and 42 U.S.C. § § 652-669 – OVER TWENTY
       FAILURES AND INCURRED PENALTIES in 2012 by and through
       POLITICAL SUBDIVISION RI OFFICE OF CHILD SUPPORT SERVICES
       THROUGH FRAUD AND UNDER COLOR OF STATE LAW


                In order to cover up the flagrantly unlawful 12% compound interest that

       represents unlawful and fraudulently obtained and extorted under color of law Rhode

       Island State revenue through the Social Security Act in welfare cases, Rhode Island

       Office of Child Support Services adopted the Official Policy not to pursue

       interest in interstate cases (in order to cover it up from federal authorities

       and other state authorities see 42 USC sec. 666(14) – cooperation with

       other states – EXHIBIT F Attached hereto Rhode Island Office of Child


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       Support Services Official Written Policy that was produced by RI OCSS

       during February 10, 2023 court ordered discovery. This policy document

       evidences the official policy of criminal and civil fraud by the State of Rhode

       Island’s political subdivisions applicable under 42 U.S.C. § 654(1).

                This policy evidences the routine extortions of noncustodial parents

       through the enforcement of 12% compound interest in-state under color of

       state law that incur penalties under Title IV-D and Title IV-A, and all

       applicable criminal codes.

                This policy evidences the political subdivisions of Rhode Island’s

       concealment and cover up from out-of-state and federal authorities of the

       State’s illegal extortion of 12% compound interest under color of state law

       by adopting an official policy not to pursue interest in out of state interstate

       cases that incurs penalties under Title IV-D and Title IV-A, and all

       applicable criminal codes.

                This policy evidences accounting fraud concealing 12% compound

       interest applied to certain selected out-of-state cases such as the

       Defendant’s, as well as accounting fraud adjustments that conceal the 12%

       compound interest in in-state cases when submitting for Title IV-D and

       Title IV-A reimbursement to the United States.

                The pattern of agency discussions and considerations of its illegal

       and criminal enforcement information with Barbara Grady is in itself an

       organized scheme involving schemes to commit accounting fraud and false



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       certification of Title IV-D accounts, in violation of, inter alia, 42 U.S.C. 654

       (26)(A) that mandates the State Plan to have in effect safeguards, applicable

       to all confidential information handled by the State agency, that are

       designed to protect the privacy rights of the Texas Defendant.

                In 2012, Priscilla Glucksman, individually and on behalf of the Rhode Island

       Office of Child Support Services, under 42 U.S.C. 654(1), on oral motion moved

       for 12% compound interest, that by Rhode Island’s official policy should not

       be pursued in this interstate Title IV-D case, with the intent and scheme to

       commit accounting fraud and fraudulent certification of amounts due by

       removing the 12% compound interest from the automated data processing

       system in the anticipated event Rhode Island sends it to Texas authorities

       and Federal authorities for enforcement under 42 U.S.C. 666 (14). Priscilla

       Glucksman schemed with Barbara Grady and Gero Meyersiek to orally move for interest

       in order to minimize a paper trail of paper filings in this interstate Title IV case so that a

       written record of the ordered 12% compound interest is buried within a one line of the

       order, with no documentation of a written paper motion that would otherwise contain or

       omit the State’s legal justification moving for 12% compound interest in this interstate

       Title IV-D case. In 2012, Paul Dugan was alive and participated in the arrangement.

       The symbiotic pliant Judge McCann readily complied under color of state law, knowing

       fully well 12% compound interest is not enforceable in any state and definitely not

       enforceable in Texas under Title IV-D, and knowing that Rhode Island Office of Child

       Support Services intended to remove the interest amount if and when Rhode Island

       sends to Texas for collection while falsely certifying the total amount due and then put


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       the interest back on the system and then file a subsequent motion to set interest arrears

       back in Rhode Island through the symbiotic pliant family court political subdivision of

       the State of Rhode Island before a symbiotic pliant judge like Judge McCann,

       committing interstate fraud in violation of, inter alia, 42 U.S.C. sections 652-669, RICO,

       wire fraud, mail fraud, tampering with government records and accounting fraud. This

       list of criminal codes violated by the Plaintiffs is not exhaustive. Defendant shall

       present a list of the violated federal criminal codes later in this motion under Section IV

       of this motion.

             F. 2013, 2014, 2015, 2016, 2017, 2018, 2019, 2020, 2021, 2022, 2023,
       2024 RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES (and 2012
       Priscilla Glucksman) VIOLATIONS of 42 U.S.C. § 654(21)(A) and 42 U.S.C.
       654 (26)(A) and 42 U.S.C. § § 652-669 and Title IV-A – OVER TWENTY
       ANNUAL FAILURES AND INCURRED PENALTIES in 2013-2024 by and
       through POLITICAL SUBDIVISION RI OFFICE OF CHILD SUPPORT
       SERVICES THROUGH FRAUD AND UNDER COLOR OF STATE LAW



                Title IV-A TANF benefits are conditioned upon the State’s compliance with all

       requirements of 42 U.S.C. § 654, and from 2012 to 2024 and on-going, based on

       violations in this case alone, Rhode Island has been and continues to be ineligible and

       the State is receiving funds through false representations and alteration of government

       records to procure federal funding. From 2012 to 2024, Defendant has the information

       to aver that the State of Rhode Island’s political subdivisions under 42 U.S.C. § 654(1)

       sent by mail and by wire false accounts of amount due and of liens that contained Title

       IV-D violative illegal and unenforceable 12% compound interest fraudulently

       misrepresented as “child support due” to multiple institutions, including banks, credit

       bureaus to Texas in violation of Texas Penal Codes that carry additional fines and jail


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       time. Then Rhode Island Office of Child Support Services and the financial comptroller

       of the Rhode Island Judiciary and the State Treasurer’s Office fraudulently concealed

       through removal and other false accounting itemizations the 12% compound interest

       when sending to United States Department of Health and Human Services for federal

       incentive payments payouts and federal funding payments under Title IV-D and Title

       IV-A.

                The total Title IV penalties incurred, disgorgement due back to the United States

       for ineligible Title IV-D and Title IV-A funding, and criminal fines incurred by Rhode

       Island in this case alone from 2012 to 2024 run upwards of hundreds of millions of

       dollars. From 2012 to 2024, Rhode Island’s Title IV-D political subdivisions conspired

       to violate, in addition to 42 U.S.C. 654(21)(A), among others, several requirements

       under 42 U.S.C. 654 whose plain textual requirements requires the State Plan MUST:

                (7)provide for entering into cooperative arrangements with appropriate courts

       and law enforcement officials and Indian tribes or tribal organizations (as defined in

       subsections (e) and (l) of section 5304 of title 25) (A) to assist the agency administering

       the plan, including the entering into of financial arrangements with such courts and

       officials in order to assure optimum results under such program, and (B) with respect to

       any other matters of common concern to such courts or officials and the agency

       administering the plan;

                (10) provide that the State will maintain a full record of collections and

       disbursements made under the plan and have an adequate reporting system;

                (14)



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                (A)

                comply with such bonding requirements, for employees who receive, disburse,

       handle, or have access to, cash, as the Secretary shall by regulations prescribe;

                (B)

                maintain methods of administration which are designed to assure

       that persons responsible for handling cash receipts shall not participate in accounting or

       operating functions which would permit them to conceal in the accounting

       records the misuse of cash receipts (except that the Secretary shall by regulations

       provide for exceptions to this requirement in the case of sparsely populated areas where

       the hiring of unreasonable additional staff would otherwise be necessary);

                (15)provide for—

                (A)

                a process for annual reviews of and reports to the Secretary on the State program

       operated under the State plan approved under this part, including such information as

       may be necessary to measure State compliance with Federal requirements for expedited

       procedures, using such standards and procedures as are required by the Secretary,

       under which the State agency will determine the extent to which the program is

       operated in compliance with this part; and

                (B)

                a process of extracting from the automated data processing system required by

       paragraph (16) and transmitting to the Secretary data and calculations concerning the


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       levels of accomplishment (and rates of improvement) with respect to applicable

       performance indicators (including paternity establishment percentages) to the extent

       necessary for purposes of sections 652(g) and 658a of this title;

                (16)

                provide for the establishment and operation by the State agency, in accordance

       with an (initial and annually updated) advance automated data processing planning

       document approved under section 652(d) of this title, of a statewide automated data

       processing and information retrieval system meeting the requirements of section 654a

       of this title designed effectively and efficiently to assist management in

       the administration of the State plan, so as to control, account for, and monitor all the

       factors in the support enforcement collection and paternity determination process

       under such plan

                (20)

                provide, to the extent required by section 666 of this title, particularly

       the Due Process protections, that the State (A) shall have in effect all of the laws to

       improve child support enforcement effectiveness which are referred to in that section,

       and (B) shall implement the procedures which are prescribed in or pursuant to such

       laws.

                (23)

                provide that the State will regularly and frequently publicize, through public

       service announcements, the availability of child support enforcement services under the

       plan and otherwise, including information as to any application fees for such services

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       and a telephone number or postal address at which further information may be obtained

       and will publicize the availability and encourage the use of procedures for voluntary

       establishment of paternity and child support by means the State deems appropriate




                                        G. COVER UP AND FRAUD

                In 2012, the child in question was 12 years old. From 2012 to 2018, Defendant

       does not have any records (due to several prior Title IV-D information denials by the

       Rhode Island Office of Child Support Services for purposes of cover-up, that further

       incurred penalties and fines for each and every information denial under 42 USC

       654(24) and 42 USC 654(27) and 42 USC 655) of Rhode Island’s political subdivisions

       under 42 USC 654(1) sending to Texas or to federal authorities the support amount for

       enforcement under 42 USC 654(7) or 42 USC 666(14). Obviously, sending the support

       amount in the automated data processing system without the removal of the interest

       from the system exposes the illegal 12% compound interest disallowed under 42 USC

       654(21)(A), which would incur Title IV-D and Title IV-A penalties, disgorgement of

       ineligible federal funds and incur criminal fines. It is for this very reason that the Rhode

       Island political subdivisions adopted the written official policy not to pursue interest in

       interstate cases, that moreover runs afoul of 42 USC 654(21)(A) plain language that the

       State Plan must apply UNIFORM interest on overdue support, not State-targeted 0% in

       some interstate cases and then 12% compound interest in all other cases, such as in this

       case. Moreover, if the State claims they actually did send notices of support due to the

       Defendant in Texas, each transmission would constitute patterns of federal crimes,

       including Mail Fraud, since the 12% compound interest in this Title IV-D case is illegal

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       and fraudulent and unenforceable. This scheme is in violation of 42 USC §§ 654(7),

       (10), (14), (15), (16), (20), (21), (23), (24), (27).

                Upon information, the State of Rhode Island’s political subdivisions under 42

       USC 654(1) also transmitted by wire and by mail to the United States Department of

       State a hold on the renewal of Defendant’s passport, again omitting and concealing the

       principle amount as well as the fact that the State attempts to enforce interstate an

       illegal 12% compound interest on overdue support. This scheme is in violation of 42

       USC §§ 654(7), (10), (14), (15), (16), (20), (21), (23), (24), (27).

                Upon information, the State of Rhode Island’s political subdivisions made the

       illegal decision between top management employees of the Rhode Island SDU unit,

       dressed up as “administrative decision,” to illegally and criminally remove the illegal

       12% compound interest from the automated accounting data processing system that

       clearly is required to prevent activities “to conceal in the accounting records”

       Rhode Island’s illegal 12% compound interest prescribed under 42 U.S.C. § 654(14).

       See TRAC records attached hereto in Exhibit B.

                Upon information, Rhode Island routinely removes the illegal 12% compound

       interest from the automated data processing system when reporting to the Secretary of

       the United States Department of Health and Human Services in violation of 42 USC §§

       654(10), (14), (15), (16), (20), (21), (23), (24), (27), and applicable federal criminal

       codes. See TRAC records attached hereto in Exhibit B of the routine practice of illegal

       accounting adjustments of the automated data processing system in the hundreds of

       thousands of dollars in December 2021 alone. In this case alone, the aforesaid

       accounting fraud and record tampering violations motivated by theft of the Title IV-D

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       and Title IV-A programs and defraud of the Texas Defendant targeting Texas properties

       occurred in 2012, 2013, 2014, 2015, 2016, 2017, 2018, 2019, 2021, 2022, 2023, and

       2024.

                                      II.    FACTUAL ALLEGATIONS




                The child in question was emancipated in April 2018 and is now an adult 24 years

       old. Therefore accrued “interest on overdue support” stopped in April 2018.

                Due to the hold placed on Defendant’s passport renewal, Defendant discovered

       on and around November 2021 there is alleged support due. Defendant retained a

       lawyer in Texas to contact the Rhode Island Office of Child Support Services to obtain

       information on the amount due. The Rhode Island Office of Child Support Services

       refused to provide information to Defendant’s Texas attorney, in violation of 42 USC §§

       654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27), and concealed the fact that the

       agency illegally removed the illegal 12% compound interest amount from the automated

       data processing system from 2018 to December 2021. To this day, the Rhode Island

       Office of Child Support Services covers up and refuses to furnish information to the

       Defendant the amount of interest that was removed from the system. Continuing

       refusal to furnish requested information motivated by cover up is in violation of, inter

       alia, 42 USC §§ 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27). The Office of

       Child Support Services and Barbara Grady and Gero Meyersiek schemed to deprive

       Defendant of counsel that would facilitate defrauding the Defendant and to conceal

       from Texas counsel the accounting fraud relating to the illegal 12% compound interest

       that is unenforceable in Texas as well as legally unenforceable in Rhode Island (however

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       routinely enforced through fraud under color of state law) under Title IV-D, and refused

       to deal with Defendant’s Texas attorney, fraudulently claiming it is the State’s policy to

       deal with the noncustodial parent directly. This is obviously a blatant lie because the

       TRAC record shows Kevin Tighe initiating phone calls directly to Barbara Grady, Gero

       Meyersiek’s private attorney (and not contacting Gero Meyersiek directly) to discuss

       enforcement actions in detail involving the Rhode Island Office of Child Support

       Service’s fraudulent accounting that entailed the agency’s removal in 2018 (when it

       planned to send to Texas) of the interest from the automated system in December 2021.

       This is in violation of, inter alia, 42 USC §§ 654b, 654(10), (14), (15), (16), (20), (21),

       (23), (24), (27). The Defendant avers and declares, under oath, the following facts:

                1. On December 6, 2021, the State/Plaintiff showed the Defendant her OCSS

                   online account that showed $0.00 under interest. Further the online account

                   that is populated by the automated data processing system shows $93,214.56

                   Total Due, and $0.00 under Interest on December 6, 2021, published online

                   in the State’s OCSS online account for Defendant, as of November 30, 2021.

                   See attached Screen Shot attached hereto this motion. (The Office of Child

                   Support Services told the Defendant that the $0.00 under interest shows that

                   Gero Meyersiek waived interest. The Office of Child Support Services

                   deliberately misrepresented by omission that the interest amount was taken

                   off the system illegally in 2018 and that the interest amount was calculated

                   pursuant to an illegal 12% compound interest that is unenforceable under

                   Title IV-D. Therefore in reality there was no consideration given to the

                   Defendant, as falsely represented, calculated to induce the Defendant into



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                   paying a large lump sum amount. The Office of Child Support Services

                   brokered a settlement deal between the Defendant and Gero Meyersiek where

                   Meyersiek waived interest in consideration of the Defendant paying a lump

                   sum payoff amount of $104,185.98 from Texas, which the State, under its

                   authority, agreed to the deal with the Defendant on December 7, 2021, having

                   calculated the $104,185.98 figure by and through its accountant(s) manually

                   offline and not by the mandated automated data processing system, and

                   actively brokered the terms of the deal itself, namely, Deputy Legal Counsel

                   Kevin Tigue who reports to Mr. Paul Gould, the attorney of record who filed

                   the State’s/Plaintiff’s Motion to Set Arrears. The Defendant requests this

                   Court to take notice of the fact that the State also failed to provide this Court

                   as well as to the Defendant an accounting now and upon Defendant’s request

                   at the time in 2021 of how this figure $104,185.98 was calculated nor how the

                   alleged $81k is calculated. This is in violation of, inter alia, 42 USC §§ 654b,

                   654(10), (14), (15), (16), (20), (21), (23), (24), (27).

                2. The State’s/Plaintiff’s’ authority to forgive arrears debts is an official policy

                   and authority reported to the Office of the U.S. Commissioner Tangular Gray

                   of the Office of Child Support Enforcement of the U.S. Department of Health

                   and Human Services.

                3. The Defendant in Texas good faith accepted and paid the $104,185.98 on

                   December 7, 2021.

                4. From December 6, 2021 to the present, the State/Plaintiff has represented to

                   the Defendant at least seven (7) sets of books of very large arrears and interest

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                calculations, which the State/Plaintiff has either failed or refused to provide

                the Defendant with requested documentation of debt validation and

                verification records supporting the State’s calculation (in violation of, inter

                alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24),

                (27)):

                   a. $93,214.56 Total Due, and $0.00 under Interest on December 6, 2021,

                         published online in the State’s OCSS online account for Defendant, as

                         of November 30, 2021. (Screenshot of this taken on December 6, 2021

                         is attached to this Motion).

                   b. $104,185.98 Total Payoff Amount on December 7, 2021.

                   c. $75,638.00 on a Notice of Intent to Lien dated March 3, 2022. RI

                         OCSS rescinded this figure based on alleged unspecified errors on

                         October 14, 2022.

                   d. $73,000.00 per RI OCSS Deputy Chief Counsel John Langlois’s (staff

                         counsel who also reports to Mr. Paul Gould, who was also the attorney

                         of record for the State at the Appeals Hearing) representation at the

                         agency RI EOHHS (Rhode Island Executive Office of Human and

                         Health Services) administrative appeal Pre-hearing held on October 5,

                         2022.

                   e. $55,000.00 on RI OCSS correspondence with Meyersiek on October

                         13, 2022.




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                      f. $75,623.71 Total Due for “Interest,” online on the afordsaid OCSS

                          online account, as of November 30, 2022. A screenshot taken on

                          December 3, 2022 thereof is attached to this Motion.

                      g. $81,652.46 on the Motion as of December 22, 2o22.

                5. Maintaining at least seven books of account in Defendant’s case file, while

                   obstructing the Defendant’s 42 USC 654b and all Title IV-D protected due

                   process right to documents of accounting validation and verification depriving

                   the Defendant’s right to meaningfully refute the State’s claim is unlawful,

                   covers up the illegal 12% compound interest that is also ballooned through

                   several fraudulent manual accounting calculations NOT USING the Title IV-D

                   mandated automated data processing system. There are pending breach of

                   contract, fraud and Civil RICO et al actions in Federal Courts regarding the

                   conduct of the Plaintiffs.

                6. The Defendant respectfully requests the Court to take notice of the fact that

                   the alleged interest published online by the State/Plaintiff as of November 30,

                   2022 that states the very specific number of $75,623.71 ballooned to

                   $81,652.46 as of December 22, 2022, by a whopping $6,028.75 in a matter of

                   22 days as stated in the State’s/Plaintiff’s Motion, is usurious, and clearly

                   shows the falsity of the State’s/Plaintiff’s Motion, paragraph numbered 8 that

                   says, “That, because interest only accrues on principal balances and not on

                   interest balances, the interest balance owed on arrears has not changed since

                   the principal balance was paid in full on December 9, 2021.” This is in



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                   violation of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20),

                   (21), (23), (24), (27).

                7. The Defendant avers it is nigh on impossible for the Defendant to be able to

                   respond to the State’s/Plaintiff’s Motion and their unverified and unvalidated

                   seven (7) books of accounts represented by the State/Plaintiff since December

                   6, 2021 to as of December 22, 2022, where the State’s/Plaintiff’s calculations

                   of very large amounts have been clearly either refuted and rescinded or have

                   shown to be inaccurate or false. This is in violation of, inter alia, 42 USC §§

                   654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27).

                8. The Defendant respectfully requests the Court to take notice of the fact that

                   after the Defendant accepted the deal in Texas and paid the payoff amount of

                   $104,185.98 from Texas on December 7, 2021, the State/Plaintiff sent to the

                   Defendant in Texas by Mail a Notice of Intent to Lien dated March 3, 2022 for

                   $75,638.00 without any information justifying the fraudulent interest lien on

                   Defendant’s Texas properties – the $75,638.00 amount on the fraudulent lien

                   on Defendant’s Texas properties was deliberately calculated manually then

                   hard input into the automated data processing system in violation of Title IV-

                   D. This is in violation of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15),

                   (16), (20), (21), (23), (24), (27). The Defendant appealed this fraudulent lien

                   to the Appeals Office of Rhode Island Executive Office of Health and Human

                   Services (“RI EOHHS”), a political subdivision of the State of Rhode Island

                   applicable under 42 USC 654(1), on April 1, 2022. Throughout the

                   procedurally defective appeals process where the Defendant was denied by the


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                   State/Plaintiff to access her case file, the State/Plaintiff refused or ignored the

                   Defendant’s over ten(10) record requests for the legal and accounting basis of

                   the $75,638.00 lien. Each record information denial is in violation of, inter

                   alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24),

                   (27). The Defendant also submitted to the Appeals Office records of the

                   written email advisement by the State/Plaintiff that “accounting says” to pay

                   $104,185.98 and records of the Defendant’s bank wire transfer payment. The

                   Appeals Office continued the hearing for the maximum 3 times due to the

                   State/Plaintiff’s refusal to comply with discovery that would render the

                   proceeding procedurally defective. Paul Gould and John Langlois were listed

                   as representing the State. Their collective violations incur penalties and fines

                   under, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21),

                   (23), (24), (27), 655, 658a, Title IV-A. To resolve the discovery issues, the

                   Executive Hearing Officer (“EHO”), Debra DeStefano, scheduled a telephonic

                   Prehearing Conference on October 5, 2022, and only when told by the EHO

                   the burden of proof lies on the State/Plaintiff to show arrears are due (as

                   applies here), did John Langlois (who attended the Prehearing Conference)

                   state the following, which the Defendant in Texas recorded as a party of the

                   call:

                “EHO: The agency will have to submit proof of the allegation for arrears to

       support their position.




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                Langlois: The reason why I asked earlier whether Mary spoke to Karla after she

       made the payment was because there was a change of circumstances right after that. I

       don’t know if anyone in my agency had ever explained that to Mary.

                Seguin: Wait a minute, wait a minute,

                EHO: Wait Mary, I know what you asked for, let me get to what John just said, so

       John, you said there was a change in circumstances subsequent to her making a

       payment but before the notice of lien went out?

                Langlois: Yeah.

                EHO: OK, so…

                Langlois: Can I just back up and explain what happened, 99% of this is a

       misunderstanding…

                EHO: OK?

                Seguin: Including what was on the screenshot, was that a misunderstanding??

                Langlois: Can I speak without being shouted over?

                Seguin: I am flabbergasted, really.

                Langlois: What happened in this case is when Mary’s representative, her

       attorney, called us in late November 2021, and said she wants her passport released and

       what does she have to do to release her passport, they put her in touch with Karla who

       gave her the $104,185.98 number. Where that number came from, was one of our

       attorneys contacted the custodial parent, Gero Meyersiek, so we contacted his attorney,

       it wasn’t me, it was someone in my office, and said if she’s willing to make a $104K to

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       pay off the principle, would you agree to waive the $73K in interest? He said yes. So

       Karla notified Mary that if she paid the $104K, it would be paid in full because he was

       willing to waive the interest and accept just the principal. What happened was the day

       after Karla spoke to Mary to wire in the $104K the attorney for Mr. Meyersiek contacted

       us again and said he changed his mind, please put the interest back on the system, so we

       did. So the number that was given to her on the day it was given to her was correct, the

       $104K, because he was waiving the interest, but then changed his mind, so we put the

       interest back on the system, because he was waiving the interest, and that interest was

       put back on the system and that’s why the system is now saying she owes $73K. That’s

       why in March when the system saw that she had some sort of personal injury insurance

       in the system, our system was showing she owed $73K so we issued the lien. But that

       was what happened, he changed his mind the next day and that’s what messed up the

       numbers. So that’s how all this happened, it was a pure misunderstanding, I don’t know

       whether anyone has ever explained that to Mary how that happened.

                EHO: OK, Mary, did anyone ever explain that to you before?

                Seguin: No. No one ever explained any of that. This is why I am asking for my

       case file, I think this is more basis to ask for my entire case file from 2020. It’s news to

       me for example and its new information to me that your office’s lawyer would not talk to

       me directly but would be picking up the phone and calling the attorney for the custodial

       parent. And then not saying you were doing this deal. I never offered $104K. You had

       determined this number, and that’s why I am looking for documentation as to whether

       this is something you guys do in every case.




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                EHO: OK, John, are you intending to submit then, the documentation showing

       the full balance, which would include the principle and the interest before she paid the

       $104k, and then what happened after, you’re prepared to submit documentation to

       show everything that you said just happened.

                Langlois: Yes. I can show the account balance before he agreed to waive the

       interest. And I can show you the account balance after she made the payment. And then

       when we put the interest back on the system.

                EHO: And you’re going to testify as to why it all occurred, I mean basically what

       you just told us.

                Langlois: Yes.

                Seguin: But the screenshot on December 6th showed $93K.”

                A true copy of the recording evidence has been submitted by the Defendant to

       this court, a Rhode Island political subdivision under Title IV-D proceeding in June

       2023 and in February 2024.

                However, instead of going forward with the testimony and providing the alleged

       debt validation and verification accounting records promised by John Langlois to the

       EHO at the upcoming RI EOHHS scheduled Appeal Hearing at the time on December 1,

       2022, the State/Plaintiff opted to rescind the Notice of Lien that states there are

       unspecified errors on October 14, 2022, and emailed the RI EOHHS Appeals Office that

       the State/Plaintiff will litigate the issue in Family Court. This showed the intent of the

       State/Plaintiff to deprive the agency Appeals Office of jurisdiction by withdrawing the

       enforcement instrument that vests the Appeals Office’s jurisdiction by regulation, in the

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       clear hope of a more favorable outcome to the State/Plaintiff, in the hopes of symbiotic

       and pliant judge shopping, in the hopes of getting a judge like McCann who ordered the

       illegal and unenforceable 12% compound in a Title IV-D case to rubber stamp the

       fraudulent 12% compound interest arrears due, and thereby needlessly increasing

       litigation. Mr. Paul Gould is the co-counsel of record for the State/Plaintiff in the RI

       EOHHS agency appeal. This is in violation of, inter alia, 42 USC §§ 654a, 654b, 654(10),

       (14), (15), (16), (20), (21), (23), (24), (27), 655, 658a.

                9. The State’s/Plaintiffs’ actions and the State’s/Plaintiff’s Motion needlessly

                   extending the agency appeal to Family Court litigation and obstructing

                   Defendant’s discovery rights for debt validation and verification as well as

                   documentation of the Plaintiffs’ waiver of interest are violative of Family Ct.

                   R. Dom. Rel. P. 11 and are in violation of, inter alia, 42 USC §§ 654a, 654b,

                   654(10), (14), (15), (16), (20), (21), (23), (24), (27), 666, 655, 658a. It is in

                   criminal violation of 18 USC § 666 and a scheme to commit fraud on the court

                   and interstate fraud through unenforceable Title IV-D orders that appear to

                   be routinely issued by pliant Title IV-D judges like Judge John McCann III

                   and Magistrate Susan Nahabedian.

                10. Due to the State’s/Plaintiff’s conduct of obstructing the Defendant’s right to

                   access debt validation and verification records of publicly noticed liens of

                   alleged arrears issued by the State/Plaintiff throughout the agency appeal, the

                   Defendant filed an Access to Public Records (“APRA”) request to the then

                   Secretary Ana Novais of the RI EOHHS that manages the State/Plaintiff




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                   agency OCSS. These are all political subdivisions of the State of Rhode Island

                   under 42 USC 654(1).

                11. The RI EOHHS Office in its management capacity required the State/Plaintiff

                   OCSS to respond to the APRA request, but even then the State/Plaintiff

                   denied the Defendant’s APRA request for accounting records, again

                   refused to release the requested debt validation accounting records, but

                   released the Case History Tracking records in the Defendant’s case file, which

                   showed entries made by Kevin Tigue and RI OCSS staff between December 6,

                   2021 to April 2022 of activity that corroborated John Langlois’s

                   representations of taking interest off the system, interest waiver at the agency

                   Prehearing Conference on October 5, 2022 that is outlined above in

                   paragraph 10, then putting interest back on the system after Defendant

                   accepted the offer in Texas, and performed on the contract in Texas paying off

                   all due support from Texas, through Defendant’s Texas bank account, namely

                   Texas properties. Plaintiffs’ record denials are violations of inter alia, 42 USC

                   §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27), 666, 655,

                   658a.

                12. Both the RI OCSS counsel who denied the Defendant’s APRA request and the

                   Executive Legal Counsel of the Secretary of RI EOHHS, Lisa Martinelli (to

                   whom Ms. Deb Barclay reports and to whom Mr. Paul Gould reports, per

                   organization charts supplied by the Secretary of State of the State of Rhode

                   Island) informed the Defendant via official written letter correspondence to

                   appeal RI OCSS’s APRA request denial to the Attorney General pursuant to


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                R.I.G.L. sec. 38-2-8. Their collective denials are in violation of inter alia, 42

                USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24), (27), 666,

                655, 658a. Following their collective official written advisement, the

                Defendant appealed the RI OCSS APRA denial under R.I.G.L. sec. 38-2-8 to

                the Office of the Attorney General and the Superior Court as provided by

                R.I.G.L. sec. 38-2-8. The Office of the Attorney General and the Superior

                Court of are political subdivisions of the State of Rhode Island under 42 USC

                654(1). Instead of releasing the Defendant’s Title IV-D alleged debt validation

                and verification records information, the State/Plaintiff continues to resist

                releasing alleged arrears/debt verification accounting records in Superior

                Court, including failing to comply with the Defendant’s Court-issued

                subpoena for said records and resisting subpoena compliance with extended

                litigation in Superior Court in violation of inter alia, 42 USC §§ 654a, 654b,

                654(10), (14), (15), (16), (20), (21), (23), (24), (27), 666, 655, 658a.

                   a. The Defendant served the State/Plaintiff by email Defendant’s Request

                       for Production of Documents for the same accounting records and

                       interest waiver records pursuant to Family Ct. R. Dom. Rel. P. 34, to

                       which the State/Plaintiff has so far produced one set of book of

                       accounts of the seven different books of accounts. However, the

                       numbers do not corroborate with any of the seven official legal

                       representations of alleged arrears due, e.g., $93,214.56 Total Due, and

                       $0.00 under Interest on December 6, 2021, published online in the

                       State’s OCSS online account for Defendant, as of November 30, 2021;



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                         $104,185.98 Total Payoff Amount on December 7, 2021; $75,638.00 on

                         a Notice of Intent to Lien dated March 3, 2022 that RI OCSS rescinded

                         based on alleged unspecified errors on October 14, 2022; $73,000.00

                         per RI OCSS Deputy Chief Counsel John Langlois’s (staff counsel who

                         also reports to Mr. Paul Gould, who was also the attorney of record for

                         the State at the Appeals Hearing) representation at the agency RI

                         EOHHS (Rhode Island Executive Office of Human and Health

                         Services) administrative appeal Pre-hearing held on October 5, 2022;

                         $55,000.00 on RI OCSS correspondence with Meyersiek on October

                         13, 2022; $75,623.71 Total Due for “Interest,” online on the aforesaid

                         OCSS online account, as of November 30, 2022. A screenshot taken on

                         December 3, 2022 thereof is attached to this Motion; $81,652.46 on

                         the Motion as of December 22, 2o22; this is in violation of, inter alia,

                         42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24),

                         (27), 666, 655, 658a that is consistent with the State/Plaintiff’s pattern

                         of obstructing the Defendant of due process right access to her case file

                         records of RI OCSS’s debt verification itemized accounting calculations

                         of very large sums of alleged arrearages of at least 7 books of accounts

                         from December 6, 2021 to the present in Title IV-D proceedings.

                III.   JUDICIARY VIOLATION OF GOVERNMENT EDICTS
                       DOCTRINE, CALCULATED FAILURE TO INTEGRATE TITLE IV-
                       D AGENCY ELECTRONIC FILING SYSTEM WITH ODYSSEY
                       MAKING THEIR FILINGS INVISIBLE TO ALL E-COURT USERS
                       OTHER THAN THE JUDGE AND THEMSELVES AND
                       VIOLATION OF ACCESS TO COURT INFORMATION OF PUBLIC
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            A. DENIAL OF PUBLIC AND PRO SE-LITIGANT ACCESS TO COURT
       INFORMATION INCLUDING JUDGE-CREATED LAWS BY 42 USC 654(1)
       POLITICAL SUBDIVISION RHODE ISLAND JUDICIARY
                The Rhode Island Judiciary is a political subdivision of the State of Rhode Island

       under 42 USC 654(1). While publicizing during the implementation of the $6 million

       installation of Odyssey (the statewide electronic filing system) in 2014 that the

       electronic courts will enable ALL court users to pull up court record information with

       ease from their phones, the Rhode Island Judiciary quietly implemented Rule 5 of the

       Rhode Island Rules and Practice denying the Public, pro-se litigants and all parties to a

       case in Rhode Island remote access to court record information including judge-created

       orders and laws, including their own. Through this deceit, the Rhode Island Judiciary

       lied to the Public, while denying access and thereby covering up the routine ordering of

       unenforceable body of judge-created laws ordering 12% compound interest in public

       cases and public hearings under 42 USC 654 in public Title IV-D cases, such as this one,

       by symbiotic pliant judges like Judge McCann and Magistrate Nahabedian. The denial

       of access to pro-se litigants of their own cases’ court records containing support orders

       violates, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23), (24),

       (27), 666, 655, 658a. The denial of public access to public court records documenting

       the routine systemic violations of 42 USC 654(21)(A) in electronic courts violates the

       First Amendment and the public’s right to know the law, even if these fraud on the court

       unenforceable judge-created laws are unenforceable in both Rhode Island and

       elsewhere Title IV Part D reaches. The denial of public access to judge-created laws that

       is also motivated by cover-up fundamentally violates the established Government Edicts

       Doctrine that the United States Supreme Court specifically held applies to electronic


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       formats of government doctrines, such as judge-created laws in digital courts. See

       Georgia v. Public Resource.Org, Inc., No. 18-1150, 590 U.S. ___ (2020). The

       Defendant has been denied access by the political subdivision Rhode Island Judiciary to

       her court records and information regarding the orders in question that must be

       furnished pursuant to 42 USC 654b thus in violation of 42 USC 654. The Defendant has

       been denied access by the political subdivision Rhode Island Judiciary to unenforceable

       judge-created laws that routinely establish unenforceable 12% compound interest by

       certain symbiotic pliant judges, like Judge McCann and Magistrate Nahabedian, who

       work hand-in-hand with the Rhode Island Office of Child Support Services in Title IV-D

       cases, in violation of Defendant’s Due Process and Equal Protection rights to know the

       law to be meaningfully heard and right to meaningful access to justice – they are in

       violation of, inter alia, 42 USC §§ 654a, 654b, 654(10), (14), (15), (16), (20), (21), (23),

       (24), (27), 666, 655, 658a.

                This Court held at the hearing in this matter scheduled on March 6, 2023 that the

       Rhode Island Office of Child Support Services is ordered to show that the alleged arrears

       is accurate. See attached March 6, 2023 hearing transcript. Explicitly stated

       throughout 42 USC 654, “accuracy” requires no accounting alterations generated offline

       then hard input into the automated system, no fraud, no inducements, no interstate

       extortion under color of state law, and for certain no 12% compound interest on overdue

       support.

            B. CALCULATED FAILURE BY THE JUDICIARY TO INTEGRATE THE
       TITLE IV-D AGENCIES’ ELECTRONIC FILING SYSTEM INTO ODYSSEY
       RESULTING IN AGENCY FILINGS BEING INVISIBLE TO ALL COURT
       USERS EXCEPT THE JUDGE AND THE AGENCIES THEMSELVES – COVER
       UP


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                Because under the State’s Plan the Title IV-D agencies routinely file in the Rhode

       Island court system for the illegal enforcement of illegal 12% compound interest

       disallowed under 42 USC 654(21)(A), the political subdivision Rhode Island Judiciary

       deliberately failed to integrate the Title IV-D Agencies’ electronic filing system with the

       State’s electronic filing system Odyssey in order to make Title IV-D Agency electronic

       filings invisible to all court users except the judge and the agencies themselves,

       calculated to cover up the 12% compound interest from audit by the federal authorities

       and from the Public. This came to light at the WebEx hearing in this Title IV-D matter

       before Judge Merolla on June 8, 2023 scheduled at 2PM, where Judge Merolla, showing

       he was unaware of the failure of systems integration, questioned Paul Gould of Rhode

       Island Office of Child Support Services, why Defendant is unable to see the agency’s

       electronic filings that the judge can see in the system. Without hesitation, Paul Gould

       explained that this is due to the electronic court implementation process that was

       supposed to integrate the agency’s legacy system to Odyssey, demonstrating

       conclusively that Gould, the Lead Counsel of the Rhode Island Office of Child Support

       Services responsible and overseeing agency court filings in Title IV-D cases,

       undisputedly was in the know and part of the conspiracy involving the deliberate failure

       of filing system integration and its continuing perpetration in Title IV proceedings that

       made Title IV agencies’ filings invisible as part of the cover up.

            C. FALSIFYING ACCOUNTING TO SHOW $0.00 PAYMENT IN
       DECEMBER 2021 in DEFENDANT’S TITLE IV-D ACCOUNT POWERED BY
       THE AUTOMATED DATA PROCESSING SYSTEM IN ORDER TO DEFRAUD
       DEFENDANT IN THE FUTURE



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                Defendant attaches hereto EXHIBIT G, that shows the Defendant’s online Title

       IV-D OCSS account which is powered by the Automated Data Processing System, as of

       November 2022 at the time of the RI EOHHS Appeal, which showed $0.00 Payment

       for December 2021. Therefore, the Rhode Island Office of Child Support Services

       through accounting fraud never recorded, as late as November 2022, in the Automated

       Data Processing System Defendant’s large lump sum payoff of $104,185.98 bank wired

       from Texas on December 7, 2021, showing prima facie accounting fraud. This shows a

       scheme to defraud the Texas Defendant in the future. This shows that the Rhode Island

       Office of Child Support Services received Defendant’s wired funds and treated it as a

       cash receipt, without ever recording in the automated data processing system such a

       large lump sum payment. Kevin Tighe, Barbara Grady, Gero Meyersiek, John Langlois,

       Paul Gould, and Priscilla Glucksman, among others, distributed the $104,185.98 among

       themselves in their organized conspiracy to defraud. Defendant’s lump sum payment

       was distributed allegedly via a check, not through the usual cash card on December 9,

       2021, (see attached hereto TRAC record for December 2021) record information of

       which check that was allegedly issued by the Office of Child Support Services the agency

       refuses to furnish the Defendant, and which are under subpoena now. Further, the

       Office of Child Support Service’s maintaining a separate offline accounting system in

       this case constitutes fraud and accounting fraud, targeting the Defendant in Texas,

       targeting Texas properties and targeting the United States of America. This is why they

       never utilized the 42 USC 654(7), (14), (20) and 42 USC 666(14) cooperative system

       with Texas, so as to enable them to divide the defrauded cash spoils offline among the

       members participating in the scheme. This accounting fraud and scheme to defraud



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       violate mail fraud, wire fraud, honest services fraud, RICO, record tampering, theft of

       the United States, and felonious fraud, among others.

                In reality, under 42 USC 651-669, employees who engage in, aid and abet and

       facilitate the above must be terminated and must not be permitted to continue criminal

       activities of record tampering, accounting fraud, fraud, theft under color of state law and

       cover up.



                IV.   CRIMINAL VIOLATIONS REPORTED TO SOME JUDGE OF THE
                      UNITED STATES AND OTHER LISTED AUTHORITIES UNDER
                      18 U.S.C. sec. 4

                The Defendant, in good faith and reliant on the plain language of 18 USC § 4,

       misprision of felony, as well as the Brief filed in the United States Supreme Court by the

       United States of America in the Supreme Court case, Turner v. Rogers, 564 U.S. 431

       (2011) that showed South Carolina (found by the 4th Circuit Court of Appeals) liable for

       $75 million in penalties for that state’s 42 USC 654 violations that did not even involve,

       inter alia, fraud and tampering with the record or unlawful 12% compound interest put

       into then taken off then put back on the automated data processing system as here in

       Rhode Island, made known the above activities to “some judges” of “the United States”

       and other relevant federal authorities – counting among the United States judges

       Defendant made known publicly in the Amended Complaint filed in the United States

       District Court for the District of Rhode Island, Judge William E. Smith. The issue of

       what Judge Smith has done with the information “made known to him” is pending

       before the United States Court of Appeals for the First Circuit before a requested panel

       of judges under the federal law of civil procedure. Therefore, under 18 USC 4, the above


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       reported activities have been “made known” to several high ranking judges of the United

       States.

                            A. VIOLATIONS OF FEDERAL CRIMINAL CODES

                 Pending before the official Federal Court of Appeals proceeding, Defendant made

       known to the panel of judges of the United States allegations contained in the Amended

       Complaint filed in Federal Court of the commission of acts by the Rhode Island political

       subdivisions and employees thereof, Barbara Grady and Gero Meyersiek named herein

       in this motion, the afore-described acts violating 18 U.S.C. §2, 18 U.S.C. §3, 18 U.S.C.

       §13, 18 U.S.C. §21, 18 U.S.C. §35, 18 U.S.C. §285, 18 U.S.C. §286, 18 U.S.C. §287, 18

       U.S.C. § 2071(a), 18 U.S.C. § 2071(b), 18 U.S.C. § 1512(k), 18 U.S.C. § 371, 18 U.S.C. §

       241, 18 U.S.C. § 242, 18 U.S.C. § 1519, 18 U.S.C. §666, 18 U.S.C. §641, Wire Fraud 18

       U.S.C. §1343, 18 U.S.C. § 201, 18 U.S.C. §205, 18 U.S.C. §225, 18 U.S.C. §285, 18 U.S.C.

       §1506, 18 U.S.C. § 1512, 18 U.S.C. § 1515, 18 U.S.C. §1001, 18 U.S.C. §1002, 18 U.S.C.

       §1031, 18 U.S.C. §1341, 18 U.S.C. §1344, 18 U.S.C. §1346, 18 U.S.C. §1349, 18 U.S.C.

       §1510, 18 U.S.C. §1513, RICO: 18 U.S.C. §1961, 18 U.S.C. §1962, 18 U.S.C. §1963, 18

       U.S.C. §1964, 18 U.S.C. §1965, 18 U.S.C. §1968 – such violative acts by the Plaintiffs in

       this matter, along with the political subdivisions and employees thereof named in the

       federal matter, and/or Judge Smith on this list are not exhaustive. It is undisputable,

       among others, that Title IV-D penalties were incurred by, Criminal penalties were

       incurred by, and Title IV-D and Title IV-A disgorgement is due from the applicable State

       of Rhode Island’s political subdivisions.

                                              B. NO IMMUNITY



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                On February 6, 2024 in case No. 23-3228 in UNITED STATES OF AMERICA v.

       DONALD J. TRUMP, DC Circuit, the DC Circuit United States Court of Appeals reminds

       the Public and all applicable tribunals that Judges are similarly liable to the criminal

       laws for their official acts. A notable example is Ex parte Commonwealth of Virginia, in

       which the Supreme Court affirmed the criminal indictment of a judge based on an

       official act. 100 U.S. 339 (1879). A county judge was indicted in federal court for

       violating a federal statute that prohibited discriminating on the basis of race in jury

       selection. Id. at 340, 344. The Supreme Court began by observing the principle that

       officers are bound to follow the law: “We do not perceive how holding an office under a

       State, and claiming to act for the State, can relieve the holder from obligation to obey the

       Constitution of the United States, or take away the power of Congress to punish his

       disobedience.” Id. at 348. The Court then addressed the judge’s argument that the Court

       lacked the authority to punish a state judge for “his official acts.” Id. Its response was

       twofold. First, the Court described juror selection as “merely a ministerial act, as much

       so as the act of a sheriff holding an execution, in determining upon what piece of

       property he will make a levy, or the act of a roadmaster in selecting laborers to work

       upon the roads.” Id. The Court then explained that even if juror selection is considered a

       “judicial act,” the judge had a legal duty to obey the criminal laws:

                “But if the selection of jurors could be considered
                in any case a judicial act, can the act charged
                against the petitioner be considered such when
                he acted outside of his authority and in direct
                violation of the spirit of the State statute? That
                statute gave him no authority, when selecting


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                jurors, from whom a panel might be drawn for
                a circuit court, to exclude all colored men
                merely because they were colored. Such an
                exclusion was not left within the limits of his
                discretion. It is idle, therefore, to say that the
                act of Congress is unconstitutional because it
                inflicts penalties upon State judges for their
                judicial action. It does no such thing.


                Id. at 348–49 (emphasis added). The Court’s reference to “the State statute” is to

       the Virginia law charging the county judge with the duty to select jurors in the circuit

       and county courts. Ex parte Virginia, 100 U.S. at 340.

                More recent case law on the judicial immunity doctrine affirms that judges are

       not immune from criminal liability for their official acts. O’Shea v. Littleton confirmed

       the holding of Ex parte Virginia in dismissing a civil rights action for equitable relief

       brought against a county magistrate and associate judge of a county circuit. 414 U.S.

       488, 490–91, 503 (1974). The Supreme Court concluded that the requested injunction

       was not the only available remedy because both judges remained answerable to the

       federal criminal laws:

                [W]e have never held that the performance of
                the duties of judicial, legislative, or executive
                officers, requires or contemplates the
                immunization of otherwise criminal deprivation
                of constitutional rights. On the contrary, the
                judicially fashioned doctrine of official
                immunity does not reach ‘so far as to immunize


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                criminal conduct proscribed by an Act of
                Congress . . . .’


                Id. at 503 (citation to Ex parte Virginia, 100 U.S. 339, omitted; quoting Gravel,

       408 U.S. at 627). Similarly, in Dennis v. Sparks, the Court affirmed judicial immunity

       from civil money damages in the context of bribery allegations but explained that judges

       “are subject to criminal prosecutions as are other citizens.” 449 U.S. at 31. Crucially, the

       judge in Dennis retained civil immunity because “the challenged conduct” — allegedly

       issuing an injunction corruptly after accepting bribes as part of a conspiracy — was “an

       official judicial act within his statutory jurisdiction, broadly construed.” Id. at 29. The

       scope of civil judicial immunity thus aligns with civil Presidential immunity under

       Fitzgerald, but a judge has no criminal immunity for the same “official act.” See also

       Imbler v. Pachtman, 424 U.S. 409, 429 (1976) (“Even judges, cloaked with absolute civil

       immunity for centuries, could be punished criminally for willful deprivations of

       constitutional rights . . . .”); United States v. Gillock, 445 U.S. 360, 372 (1980) (“[T]he

       cases in this Court which have recognized an immunity from civil suit for state officials

       have presumed the existence of federal criminal liability as a restraining factor on the

       conduct of state officials.”).

                When considering the criminal prosecutions of judges, other circuits have

       repeatedly rejected judicial criminal immunity for official acts, largely in the context of

       bribery prosecutions. See United States v. Claiborne, 727 F.2d 842, 845 (9th Cir.) (per

       curiam), cert. denied, 469 U.S. 829 (1984); United States v. Hastings, 681 F.2d 706,

       709–11 (11th Cir. 1982), cert. denied, 459 U.S. 1203 (1983); United States v. Isaacs, 493




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       F.2d 1124, 1143–44 (7th Cir.) (per curiam), cert. denied, 417 U.S. 976 (1974), overruled

       on other grounds by United States v. Gimbel, 830 F.2d 621 (7th Cir. 1987).

                The political subdivisions of Rhode Island under 42 USC 654(1) similarly are not

       immune, and employees of the political subdivisions of Rhode Island under 42 USC

       654(1) similarly are not immune. Barbara Grady and Gero Meyersiek are

       unquestionably liable.

                V.      CONCLUSION

                        Under 42 USC 654b, the Defendant is entitled to be furnished all
                        subpoenaed records – conversely, the Rhode Island Office of
                        Child Support Services, the SDU under the State’s Plan under 42
                        USC 654, must furnish all subpoenaed information – refusal of
                        which incurs another penalty.

                WHEREFORE, the Defendant respectfully requests the Chief Judge or

       designee-Judge Merolla of this Honorable Court to:


                1. Grant the Defendant’s Motion to Compel.

                2. Grant the Defendant’s request for her Title IV record information that

                     includes record information relating to the “TRAC notes of 12/6/2021 and

                     12/7/2021” as well as relating to the substance of John Langlois’s audio

                     recorded October 5, 2022 statements regarding “what happened in this case”

                     that discuss Gero Meyersiek’s lawyer Barbara Grady phoning the Office of the

                     Child Support Services that Gero Meyersiek said yes, he “agreed to waive the

                     $73k or $75k that are in arrears” as of December 6, 2021 and October 5, 2022

                     which are part of Defendant’s child support case file.




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                3. Declare that Defendant’s child support record file maintained by the Rhode

                   Island Office of Child Support Services that by law codified in Title IV-D

                   Program of the Social Security Act must be produced to the Defendant

                   Noncustodial Parent upon request.

                4. Order a hearing on the herein issues raised in this matter.

                5. Listen to and admit into evidence the audio recording of John Langlois of

                   Office of Child Support Services here:

                   https://drive.google.com/file/d/11701n42KYv21NHK3FJ4jN4l_-

                   hBMaEg9/view?usp=sharing

                6. For further relief as the Court deems reasonable and fair under the

                   circumstances.

       Respectfully submitted,


       March 21, 2024


                                                  FOR DEFENDANT

                                                  MARY SEGUIN, Pro Se.


                                                  By: ________________
                                                  Mary Seguin
                                                  P.O. Box 22022
                                                  Houston, TX 77019
                                                  maryseguin22022@gmail.com



                                            NOTICE OF HEARING


              Please take notice that the foregoing Motion will be called for hearing before the
       Rhode Island Family Court, One Dorrance Plaza, Providence, RI 02903 at 10:00 AM on
       March 28, 2024 (case is already scheduled for that date/time) by WebEx hearing
       https://ricourts.webex.com/meet/garrahy5F

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                                             CERTIFICATION


              I hereby certify that a copy of the within Motion was filed on March 21, 2024
       electronically using the Court’s Odyssey File and Serve, with service to
       paul.gould@dhs.ri.gov and dhs.courtfile@dhs.ri.gov


                                                       _______________________




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                                        Exhibit C
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                State of Rhode Island and Providence Plantations


          PROVIDENCE, Sc.                                 FAMILY COURT




          *******************************
          GERO MEYERSIEK




          Vs.                                 F.C. FILE NO. K2001-0521M




          MARY SEGUIN
          ********************************



                                        Heard Before:

                     The Honorable Magistrate Armando O. Monaco

                                   On March 6, 2023


          APPEARANCES:


          FOR MS. SEGUIN. . . . . Pro se

          FOR THE STATE. . . . .. Paul Gould, Esq.




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                                        I HEREBY CERTIFY THAT THE

                                        FOLLOWING IS A TRUE AND ACCURATE

                                        TRANSCRIPT IN THE CASE OF

                                        GERO MEYERSIEK VS. MARY SEGUIN

                                        HEARD BEFORE

                                        MAGISTRATE ARMANDO O. MONACO

                                        ON MARCH 6,2023.




                                        STEVEN FAZIO
                                        ELECTRONIC COURT REPORTER




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          1                             GERO MEYERSIEK V. MARY SEGUIN

          2                                  F.C. NO. K2001-0521M

          3                                  MARCH 6, 2023

          4

          5                                  MARY SEGUIN: Having been

          6         duly sworn testifies as follows:

          7                                  THE COURT: After the

          8         February 12th hearing two orders were submitted

          9         one by each side, objections were filed through

         10         your order being entered, ma'am.

         11                                  MS. SEGUIN: Thank you Your

         12         Honor. I am sorry. Could you repeat that again?

         13         Sorry.

         14                                  THE COURT: Subsequent to the

         15         hearing of February 10,2023, two separate orders

         16         were submitted for my signature. One you

         17         submitted and one the State submitted. The State

         18         filed an objection to the submission of your

         19         order on the basis that they alleged, I believe,

         20         that it is not what I said.

         21                                  MS. SEGUIN: And I also filed

         22         an objection to their proposed order that also

         23         clearly states a lot of additional items that

         24         were never before the Court. Including the

         25         number now that they have now, they submitted a

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          1         $75,623.71 and then another one for $6028.75.

          2         These two numbers were not even in their

          3         original motion to establish arrears that was up

          4         before the court on February the 10th and those

          5         two numbers were never brought up as well. And

          6         without a clear understanding and audit of what

          7         those numbers represent. Because they

          8         unilaterally of their own volition without any

          9         court approval.

         10                                ATTORNEY GOULD: Judge,

         11         objection.

         12                                MS. SEGUIN: Took off the

         13         interest.

         14                                THE COURT: Let me interrupt

         15         you, ma'am. Where are you getting these two

         16         numbers from? I do not see them anywhere.

         17                                MS. SEGUIN: Exactly. That is

         18         the order proposed order that the State had

         19         filed. You are absolutely right. Your Honor.

         20         Those two numbers--

         21                                THE COURT: I am looking at

         22         the proposed state order that has different

         23         numbers then what you are saying.

         24                                MS. SEGUIN: The proposed

         25         order that they submitted to me, on #4 it says

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          1         $75,623.71 for interest. And then a medical

          2         support interest for $6028.75. Now these two

          3         numbers were never before the Court before on

          4         February the 10th. On February the 10th they

          5         brought up a motion that mentioned $81,000.

          6                                THE COURT: Well, maybe that

          7         is a combination of the two numbers.

          8                                ATTORNEY GOULD: Yeah, Judge.

          9         That is the combination.

         10                                MS. SEGUIN: So sorry, go

         11         ahead.

         12                                ATTORNEY GOULD: There was an

         13         objection, Judge.

         14                                THE COURT: Yeah, what is

         15         your objection, Paul?

         16                                ATTORNEY GOULD: We are off

         17         the subject. The subject is whether this order

         18         should enter or not.

         19                                THE COURT: Right.

         20                                ATTORNEY GOULD: Not about

         21         any agreements, not about anything else other

         22         than the numbers and Judge if I may or I will

         23         let the defendant continue Judge.

         24                                THE COURT: I thought my

         25         order was very simply was to set the arrears as

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          1         they appear on the State computer but without

          2         prejudice and then there will be a subsequent

          3         hearing to determine whether or not those

          4         numbers are in fact accurate. As I am reading

          5         the order, they put two numbers in and it is

          6         clearly, let me read the paragraph. Yeah,

          7         paragraph six, the Court finds that the total

          8         the arrears of $81,000, which is the combined

          9         number is placed on the Child Support ledger

         10         without prejudice to the June 8, 2023 hearing.

         11         The State agrees it shall respond to the

         12         defendant's first request for production of

         13         documents forthwith.

         14                                MS. SEGUIN: Yes, Your Honor.

         15         So therefore, you had not made any kind of

         16         findings of fact of whatever they might be. You

         17         simply said put the interest back--

         18                                THE COURT: Yeah, I said

         19         whatever the computer says is the balance. Put

         20         it on the computer without prejudice, which

         21         means that we need a starting point. You need to

         22         know what they allege you owe and that is what

         23         they are alleging you owe. You disagree with

         24         that number. You asked them for the

         25         documentation to substantiate that number. That

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          1         is why I continued it out all the way to June so

          2         that you would have an opportunity to get their

          3         materials, for you to you digest their

          4         materials, provide counter materials back to

          5         them. So that in June, a full hearing can be

          6         held with everyone totally prepared as to argue

          7         either position. Either there is no money due or

          8         there is a balance due. I never made any finding

          9         whatsoever there is in fact a balance due. If I

         10         did, I would not have continued the hearing.

         11                                MS. SEGUIN: Thank you, Your

         12         Honor. That is exactly what my understanding as

         13         well.

         14                                THE COURT: Right. That is

         15         what the order says. It says put the number on

         16         the computer, but without prejudice, which means

         17         both sides have to argue and convince the Judge

         18         that that is in fact the number. Or you are

         19         going to argue it is an incorrect number and you

         20         are going to substantiate it by whatever

         21         arguments you present. They going to

         22         substantiate it by whatever arguments they

         23         present. And then whoever hears it in June will

         24         decide which side is correct.

         25                                MS. SEGUIN: Thank you, Your

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          1         Honor. I wanted to make sure that, you know,

          2         that all parties understand that because at this

          3         point, the State is saying that you already

          4         found that I had—-

          5                                THE COURT: No, no. The State

          6         is not saying that because the order clearly

          7         says those numbers or that number is without

          8         prejudice, which means I did not establish that

          9         number. We do it in many of these cases to get

         10         the ball rolling, so either side knows what they

         11         need to produce to substantiate their positions.

         12         The same way they can come in now and say, Oh,

         13         no, we made a mistake. She actually owes

         14         $185,000.

         15                                MS. SEGUIN: You are giving

         16         me a heart attack, Your Honor.

         17                                THE COURT: It puts a cap on

         18         what they can argue.

         19                                ATTORNEY GOULD: Judge, can I

         20         respond now?

         21                                MS. SEGUIN: So, Your Honor,

         22         with that in mind, just to clarify, that is what

         23         they are saying in 2018 when they first took

         24         off--

         25                                ATTORNEY GOULD: Objection.

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          1                                THE COURT: Just a minute.

          2         The order speaks for itself. It says the balance

          3         on the computer as of whatever dates in there. I

          4         cannot read it now quickly, whatever dates in

          5         there, that is the balance on the computer. They

          6         have to substantiate it. They are going to send

          7         you documentation supposedly to substantiate it.

          8         If they cannot substantiate, then they are not

          9         going to get that number.

         10                                ATTORNEY GOULD: Judge, I

         11         disagree with that. Judge, we have no obligation

         12         to substantiate this. There is a Child Support

         13         number that was established by Judge McCann. You

         14         took judicial notice of that.

         15                                THE COURT: I took judicial

         16         notice that there was no appeal of his order.

         17         That is what the judicial notice of.

         18                                MS. SEGUIN: Thank you, Your

         19         Honor. Thank you, Your Honor. That is my

         20         understanding as well that you took judicial

         21         notice of the orders themselves. But what is in

         22         dispute is how the child support office has

         23         handled this computation.

         24                                THE COURT: That's the

         25         argument for June, ma'am. That is the argument

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          1         for June.

          2                                MS. SEGUIN: Taking that off

          3         the system without your approval. Now, put it

          4         that way--

          5                                THE COURT: What you are

          6         arguing now is what you need to argue in June. I

          7         am satisfied that the order that has been

          8         presented by the State that breaks down the two

          9         balances that the total is $81,000 is in fact

         10         the appropriate order from the hearing. It is

         11         without prejudice. They are going to provide

         12         documents that you requested so that you can

         13         then decide whether or not you agree or

         14         disagree. And if you disagree with their method

         15         of calculating it, you need to present why you

         16         think that method is incorrect and what should

         17         be the correct number if any.

         18                                MS. SEGUIN: Yes, and

         19         including a waiver of interest –

         20                                THE COURT: You are arguing

         21         whether the number is correct or not. That is

         22         the whole purpose of making it without

         23         prejudice.

         24                                MS. SEGUIN: Yes, and that

         25         would include the waiver of interest that had

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          1         occurred.

          2                                THE COURT: No, that is the

          3         subject of the hearing. That is the subject of

          4         the hearing. I am making no finding about

          5         whether there was or was not a waiver of

          6         interest.

          7                                MS. SEGUIN: Thank you, Your

          8         Honor. So that is part of the discovery that

          9         needs to happen.

         10                                THE COURT: Well, that is

         11         what I assume you are asking for. Is to get the

         12         documentation that would have substantiate your

         13         belief that there was the waiver of the

         14         interest.

         15                                MS. SEGUIN: Thank you, Your

         16         Honor.

         17                                THE COURT: So, if you can

         18         substantiate that there was a waiver of

         19         interest, that balance disappears.

         20                                MS. SEGUIN: So, the State is

         21         objecting to producing those protected

         22         documents—

         23                                THE COURT: No, no. They are

         24         not objecting to producing any documents. The

         25         line paragraph says in paragraph 10, The State

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          1         agrees it shall respond to the defendant's first

          2         request for production of documents forthwith.

          3         So, whatever you asked them for, they are going

          4         to they are going to provide to you. If you do

          5         not think they provided everything you asked

          6         for, you file a supplemental request.

          7                                ATTORNEY GOULD: The State

          8         filed its answer in response to her request for

          9         production, Judge. And I will stand by that. And

         10         I will argue those issues that we refuse to

         11         answer, or we objected on procedural grounds or

         12         we objected on legal grounds for what we did.

         13         And I will respond to that when it is

         14         appropriate.

         15                                THE COURT: That would be

         16         June 8th. That will be done on June 8th. So, you

         17         can be prepared to go forward on whatever your

         18         objections are and whoever hears it will decide

         19         whether the objections were valid or not.

         20                                MS. SEGUIN: Your Honor, Mr.

         21         Gould had said something to me, emailed

         22         something to me to the affect that he said you

         23         will be retiring June the 8th. I just wanted to

         24         know why he emailed me something like that.

         25                                THE COURT: It has been

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          1         projected that I am to retire sometime before

          2         July 1st. They are dealing with my successor and

          3         I sit until my successor is appointed and

          4         qualified. And the projection is by the end of

          5         the by end of June, the latest could be earlier.

          6         I do not think it could be later, but it is

          7         possible.

          8                                ATTORNEY GOULD: And Judge,

          9         because we, I guess, we like making these

         10         artificial records, I will make this record

         11         here. I did not say that snd I resent the

         12         defendant putting words in my mouth.

         13                                MS. SEGUIN: I indicated the

         14         email that you wrote to me.

         15                                THE COURT: Listen, just a

         16         minute, just a minute. Whether I sit or I do not

         17         sit is an immaterial situation, it has nothing

         18         to do with what is before me today. I am ruling

         19         on the order they sent you breaking down the

         20         balances between the child support and medical

         21         arrears is valid as to what I said the last time

         22         we were here. I am going to sign that order and

         23         proceed with their discovery. Whatever

         24         objections you have relative to the discovery

         25         and whoever sits here, whether it is me or

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          1         someone else, they will be prepared to address

          2         the situation. Okay.

          3                                MS. SEGUIN: Thank you, Your

          4         Honor. Thank you. One last question about number

          5         11 and 12. I mean, those elements—

          6                                THE COURT:     11 and 12?

          7                                MS. SEGUIN: Yeah, 11 and 12.

          8                                THE COURT: 11 tells you how

          9         to contact us. 11 is how to contact us and 12 is

         10         a standard paragraph that they put in indicating

         11         that, I don't know why it's here, but they that

         12         the standard paragraph they stick in every case

         13         has no bearing on this one. Other than it says

         14         that until it is paid in full, you know, the

         15         order will continue to run. But there is no

         16         order running in terms of what your obligation

         17         to pay that is.

         18                                MS. SEGUIN: Okay, okay. So

         19         that is something that is boilerplate.

         20                                THE COURT: That is

         21         boilerplate and 11 is how you get in touch with

         22         us.

         23                                MS. SEGUIN: Sure.

         24                                THE COURT: We do not put

         25         that in, we will never have any hearings.

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          1                                MS. SEGUIN: Thank you, Your

          2         Honor.

          3                                ATTORNEY GOULD: If I could

          4         talk this time a little bit. Maybe just for the

          5         record. Those same paragraphs were in the

          6         September 25th, 2012 orders. And that same

          7         boilerplate languages in a July 11, 2012 orders

          8         and any other order that she would receive.

          9         August 15, 2012. That same identical language

         10         was contained in those. It is boilerplate.

         11                                THE COURT: Yeah,

         12         boilerplate. All right, we will see you on June

         13         8th at 2:30. Wait a minute. Daylight savings

         14         time is starting soon.

         15                                MS. SEGUIN: Oh, yeah.

         16                                THE COURT: All right. Do you

         17         go on daylight saving time? Pay attention.

         18                                MS. SEGUIN: Okay.

         19                                THE COURT: This coming

         20         Saturday, our clocks jump forward an hour. So,

         21         your clock does not jump forward. You are going

         22         to have to call in an hour earlier.

         23                                MS. SEGUIN: All right.

         24                                THE COURT: I have friends

         25         that live in Arizona, and they told me that in

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          1         Arizona, there were three different time zones

          2         in the summer.

          3                                MS. SEGUIN: Yeah, every

          4         county is allowed to do that out here.

          5                                THE COURT: I know that. That

          6         is why that is why I pay attention to it because

          7         they tell me that people have trouble. They

          8         think, Oh, I am going to be on time, I am going

          9         to Court. They said, No, you are an hour late.

         10         What do you mean? This is the time across the

         11         street. No, that is an hour different than us.

         12                                MS. SEGUIN: It really is

         13         crazy. That they have marked it off, not a

         14         county, but across the street. You are

         15         absolutely right.

         16                                THE COURT:     All right. So,

         17         pay attention. It is 2:30 our time.

         18                                ATTORNEY GOULD: Judge, if I

         19         may. The order I submitted that contains 12

         20         paragraphs.

         21                                THE COURT: Yes.

         22                                ATTORNEY GOULD: February 10,

         23         2023, starting with paragraph one, the matter is

         24         continued.

         25                                THE COURT: Yes.

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          1                                ATTORNEY GOULD: That order

          2         is going to be accepted by the Court. That will

          3         be the order of the Court for that day?

          4                                THE COURT: Right.

          5                                ATTORNEY GOULD: The order

          6         that she submitted will be stricken, correct?

          7                                THE COURT: Right.

          8                                MS. SEGUIN: Yes, that is my

          9         understanding, too. Yes.

         10                                ATTORNEY GOULD: Thank you,

         11         Judge.

         12                                THE COURT:     All right. We

         13         will see you in June.

         14                                ATTORNEY GOULD: One more

         15         thing. I am sorry. Judge, if I may, can the

         16         defendant place her address on the record?

         17         Because we sent some correspondence that was

         18         sent back to us. Now we have used her email as a

         19         courtesy to her and we also need an actual

         20         street address so that we can send her

         21         documents.

         22                                MS. SEGUIN: Your Honor, I

         23         think this is, I do not really understand why -–

         24                                THE COURT: Let me just

         25         interrupt. Let me interrupt. When you enter your

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          1         appearance, you need to provide under the rules

          2         your address, your phone number, and your email

          3         address.

          4                                MS. SEGUIN: Yes.

          5                                THE COURT: And if you were

          6         an attorney, obviously your bar number. Okay so

          7         if you change any of those addresses or emails,

          8         you are under an obligation to keep updating it

          9         because if they send anything to the address or

         10         the email that you provided, it's not a defense

         11         later on, Oh, it's not my address or email, I

         12         changed it. So that is why they are asking to be

         13         sure they get the right method to contact you,

         14         depending on what they have to send. It is a

         15         part of the Court order that you provide your

         16         address and email address.

         17                                MS. SEGUIN: Your Honor, may

         18         I also then ask that the State sent me a or e-

         19         file any notices? Because they have been mailing

         20         things to me in Texas, which takes 10 to 12 days

         21         for me to receive by regular mail. So, could you

         22         also please, I am going to ask you please to

         23         ask, to make them, to order them to notice me by

         24         electronic means as well.

         25                                THE COURT: Well, that's part

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          1         of the rules, too.

          2                                MS. SEGUIN: Okay.

          3                                THE COURT: All right?

          4                                MS. SEGUIN: Okay. Thank you,

          5         Your Honor. I appreciate you telling me.

          6                                THE COURT: All right, June

          7         8th.

          8                                ATTORNEY GOULD: I do not

          9         have an address, Judge.

         10                                THE COURT: Oh, that is

         11         right. What is your updated address?

         12                                MS. SEGUIN: My address is on

         13         the on file is P. O. Box 22022 Houston, Texas,

         14         77019.

         15                                THE COURT: What about email?

         16                                MS. SEGUIN: That's Mary

         17         Seguin 22022 at Gmail.com. They are also in my

         18         pleadings as well.

         19                                THE COURT: Slow down. Slow

         20         down. We do not type that fast.

         21                                THE CLERK: I did not get

         22         that P. O. Box. Can you give it to me again,

         23         please?

         24                                MS. SEGUIN: Yes, it is,

         25         22022.

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          1                                THE COURT: That is the P. O.

          2         Box number?

          3                                MS. SEGUIN: Yes, Your Honor.

          4                                THE COURT: Making sure it

          5         was not the zip or area code.

          6                                MS. SEGUIN: It is one too

          7         many numbers.

          8                                THE COURT: What is the zip

          9         in Houston?

         10                                MS. SEGUIN: It is 77019.

         11                                THE COURT: All right, all

         12         set?

         13                                MS. SEGUIN: Thank you, Your

         14         Honor.

         15                                THE COURT: Okay, June 8.

         16                                ATTORNEY GOULD: Thank you,

         17         Judge.

         18                                MS. SEGUIN: Thank you, Your

         19         Honor.

         20

         21

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                                        I HEREBY CERTIFY THAT THE FOLLOWING

                                        IS A TRUE AND ACCURATE TRANSCRIPT

                                        IN THE CASE OF MEYERSIEK VS. SEGUIN

                                        BEFORE THE HONORABLE MAGISTRATE

                                        SUSAN NAHABEDIAN ON FEBRUARY 2ND,

                                        2024.




                                        AMANDA B. KUSKI
                                        ELECTRONIC COURT REPORTER
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          1                                           THE COURT: Good afternoon.

          2                                           PLAINTIFF: Good afternoon.

          3                                           THE COURT: This is K20010521, Gero

          4     Meyersiek versus Mary Seguin. Both parties are present. Mr. Meyersiek’s

          5     Attorney, um, Achille, she’s here. Um, the Clerk will swear you both in.

          6                                           CLERK: Miss Seguin, Mr. Meyersiek,

          7     raise your right hands, please. You do solemnly swear that the testimony you

          8     shall give to the Court in the matter now in hearing shall be the truth, the whole

          9     truth and nothing but the truth, so help you God?

         10                                           PLAINTIFF: I do.

         11                                           DEFENDANT: I do.

         12                                           CLERK: Miss, Miss Seguin, just state your

         13     name for the record.

         14                                           DEFENDANT: Mary Seguin.

         15                                           CLERK: Mr. Meyersiek, your name,

         16     please, for the record.

         17                                           PLAINTIFF: Gero Meyersiek.

         18                                           CLERK: Thank you.

         19                                           THE COURT: Okay, good afternoon,

         20     folks. This matter was continued from December 15th in order for the, uh, Court

         21     Clerk to, uh, copy Court filings and other documents that were requested by

         22     Miss Seguin. It’s my understanding that those documents were sent to her

         23     electronically, um, in various emails, uh, in December and the remainder of

         24     those were sent at the beginning of January. Um, Miss Seguin, were you able to

         25     review those and are you satisfied that you received everything that you request-

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          1     ed?

          2                                            DEFENDANT: Um, thank you, Your

          3     Honor. I had, uh, received, as you said, in two batches, uh, the Court records

          4     that, um, Mr. Santamarina had, um, had emailed. Uh, the last several batches,

          5     uh, were, sorry, batch was several documents, um, were only emailed about a

          6     couple weeks ago. Uh, there, there were sent in separately about fifteen emails. I

          7     think Your Honor was copied on all of them, as well as Mr. Gould, um, on those

          8     emails, um, and so the records themselves, um, you know, that were sent to me

          9     or emailed to me, um, the, the Court has a copy of those. Um-

         10                                            THE COURT: I, I, so my question is, are,

         11     are you, did, were you able to review them and are you satisfied that everything

         12     that you requested, you received?

         13                                            DEFENDANT: Um, I have not, uh,

         14     received the actual audio recordings of the, that’s part of the record. Um, those

         15     were-

         16                                            THE COURT: Did you request, did you

         17     request the audio recording from Mr. Santamaria?

         18                                            DEFENDANT: Well, I requested all the

         19     records. So, one of the paper documents had said that the, there was, uh,

         20     attached to it, an audio recording of the State saying that Gero waived interest,

         21     and I think that’s very relevant to this case-

         22                                            THE COURT: Okay-

         23                                            DEFENDANT: -especially as it links to-

         24                                            THE COURT: -let me just stop you-

         25                                            DEFENDANT: -(inaudible)-

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          1                                           THE COURT: -let me just stop you, let me

          2     just stop you for a minute, please. I’m new to this case, so I’m not familiar with

          3     the audio recordings request. I’m not aware that you made that type of request.

          4     Can you tell me the date of the audio recording and when you made that

          5     request?

          6                                           DEFENDANT: I made the request for all

          7     Court information in this case. All Court information encompasses all

          8     documents and all forms of records. Uh, that’s, um, that’s the, I believe, legal

          9     understanding of all Court information of records.

         10                                           THE COURT: Alright, Mr.-

         11                                           DEFENDANT: So, that was part, that was-

         12                                           THE COURT: -excuse me, excuse me one

         13     minute. Mr. Gould, I’m trying to unmute you and I’m not able to do it from my

         14     end. So, if you need to be unmuted, you’ll have to do it yourself.

         15                                           DEFENDANT: I had to, so I had

         16     submitted those and this, uh, audio recording ha-, uh, is part of the Court records

         17     as of, um, June 2023. That was emailed to me in a rel-, in a paper document

         18     referring to attached, attached audio recording that is, um, that, that was emailed

         19     by Mr. Santamaria. So, that recording, I want to make sure, uh, and, and that’s

         20     also copied to you by the way, Your Honor-

         21                                           THE COURT: Alright, so-

         22                                           DEFENDANT: -(inaudible).

         23                                           THE COURT: -just, just, just going back

         24     to December, okay, you provided, um, a request for documentation to be copied

         25     by the Court Clerk, Mr. Santamaria, and all of those documents were scanned

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          1     and sent to you in an electronic form. Did you specifically request anything that

          2     referred to an audio recording?

          3                                             DEFENDANT: I specifically record, uh,

          4     requested all Court information, any and all Court information in the records of

          5     my, of this particular case file. Those are the wording that I used, because I, I

          6     don’t know what’s being, what’s on, what’s, what the Court record has. You

          7     know, this is the reason why we went through this process, is, the, the, um,

          8     Rhode Island Judiciary has set up this, uh, uh-

          9                                             THE COURT: So, Miss Seguin-

         10                                             DEFENDANT: -electronic Court system-

         11                                             THE COURT: -we’re not-

         12                                             DEFENDANT: -where the (inaudible)-

         13                                             THE COURT: -so, Miss Seguin, we’re not

         14     gonna get into the Judiciary’s access to the, um, to the portal. We’re not gonna

         15     get into that. We made every effort to make electronic copies of every Court

         16     document pertinent to this case and sent them to you, at no cost, in an electronic

         17     version. You did not, at any point, follow up with Mr. Santamaria to request an

         18     audio recording.

         19                                             DEFENDANT: I’m just in a process of

         20     reviewing this. That was part of your question, uh, Your Honor, is have I had a

         21     chance to review all of these materials. It’s, it’s, it’s, as, as you can see, several

         22     because you’ve been covered, uh, copied on all the emails. There were several

         23     emails, uh, you know, all together, probably thirty-something emails. Uh, I do

         24     appreciate that. I, you know, I thank Your Honor for ordering that, um, and I

         25     also, um, you know, am, am reviewing, have been reviewing. So, I came across,

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          1     to answer your question to the best of my ability, is I came across that doc-,

          2     document where it refers to the audio file, uh, that’s being submitted into the

          3     record. I’ve asked for the Court records. So, um-

          4                                            THE COURT: You received every Court

          5     record, every document going back to-

          6                                            DEFENDANT: Paper. I, I, I think what,

          7     what-

          8                                            THE COURT: Correct.

          9                                            DEFENDANT: -wanted to, you know,

         10     just, just to have a basic understanding of document is, in paper form, but Court

         11     rec-, information as the Court record encompasses various different formats. All

         12     public records encompasses various different formats. Uh, you know, that’s,

         13     that’s written by statute and, you know, as I understand it what public records is.

         14     Court records are a form of public records and, and it forms the basis of, um,

         15     Judge created laws, and therefore, those are critical in my, uh, uh, you know,

         16     access and that’s the basis of this process that we’re going through is accessing

         17     those public records, Court information records, and, uh, accessing the laws that

         18     were created, Judge created laws that were created, in this particular case or

         19     relevant to this particular case. So, I, I’m just trying to, um, respond to your

         20     question, uh, Your Honor, as to if I had a chance to review those, am I satisfied,

         21     and so, these are the, what I’m raising to the Court, to Your Honor, to, in

         22     response to your question is, I received the paper document, uh, I’m, I’m in the

         23     process of reviewing them, um, because they, they form a chronology, they form

         24     a, a, a background chronological, uh, reasoning behind, you know, uh, Judge

         25     created laws, which are the orders, uh, issued. And in so doing, there are refer-

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          1     ences to a, a Court document that was sent to me, actually a couple of them, that

          2     talks about an audio recording of the State saying that Gero waived interest, and,

          3     uh, also the document, uh, there are documents that say Gero did not ask for

          4     interest, but the State on oral motion asked for interest, but then the State’s

          5     policy is not to ask for interest in interstate cases-

          6                                             ATTORNEY GOULD: Judge, Judge, if I

          7     may-

          8                                             DEFENDANT: -that is why. So-

          9                                             ATTORNEY GOULD: -Judge, can I be

         10     heard?

         11                                             DEFENDANT: -that’s why I need to

         12     understand and get a full-

         13                                             ATTORNEY GOULD: If I may, Judge?

         14                                             THE COURT: Hold, just one, one minute,

         15     Mr., Mr. Gould. So, the answer, so, your answer is, you’re not satisfied with

         16     what was sent?

         17                                             DEFENDANT: I’m explaining to you

         18     what’s missing.

         19                                             THE COURT: So, you are, you-

         20                                             DEFENDANT: And I’m trying to identify

         21     to you what is missing-

         22                                             THE COURT: So, this Court-

         23                                             DEFENDANT: -and the Court records,

         24     already are, are showing-

         25                                             THE COURT: -this Court, alright, ex-,

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          1     excuse me, Miss Seguin. Mr. Santamaria spent hours with a coworker manually

          2     scanning and copying those files during a period of time that the Court was very

          3     short handed. All of that documentation, okay, every pertinent document related

          4     to this case, going back decades, two decades, was scanned and sent to you,

          5     okay. We do not have a copy of an audio recording. So, we’re not able to

          6     provide that to you. There is no such audio recording in the Court record that

          7     you, you are referring to. So, now I’m gonna give Mr. Gould an opportunity to

          8     respond. Mr. Gould?

          9                                            ATTORNEY GOULD: Judge, like,

         10     likewise, if she’s requesting a transcript, then she has to go through the normal

         11     process of paying for a transcript, ordering the specific date of the transcript she

         12     wants. This is a Defendant who has failed to come to this Court with clean

         13     hands, Judge. I’ve stayed silent-

         14                                            DEFENDANT: I object! I object, Your

         15     Honor!

         16                                            ATTORNEY GOULD: -the whole time-

         17                                            THE COURT: Your objection is noted and

         18     Miss Seguin, no one interrupted, you’re muted. You’re muted. You’re muted

         19     and you’re going to stay muted. You’re muted. Mr. Gould?

         20                                            ATTORNEY GOULD: Thank you, Judge.

         21     We’ve let this go on for months after months. She brought up an issue relative

         22     to, uh, the Court system. State of Rhode Island Child Support Enforcement, the

         23     Magistrate hearing this case, has no control over that. She’s now filed a Federal

         24     lawsuit in the, uh, District of Texas, Judge. That’s gonna play it’s course ‘cause

         25     she’ll file and follow through on that. This is a simple case of whether or not

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          1     interest is to accrue on this case and what payments were made. It’s simple

          2     math, it’s simple, in, in fact, Judge, there’s maybe five questions I have for the

          3     Defendant, uh, of the Plaintiff relative to this, uh, inquiry. It would be a short

          4     hearing. Uh, whether or not there was any monies paid, what was received, and

          5     the fact that the Court can take Judicial notice of two orders. The fact that

          6     there’s a child support order that continues to run, and two, the fact that interest

          7     has continued to run pursuant to Mag-, pursuant to Judge, uh, John McCann’s

          8     order dated 9/25/2012.

          9                                            THE COURT: Okay, the original support

         10     order was entered May 24th of 2012?

         11                                            ATTORNEY GOULD: That’s when it was

         12     allowed to run on the Child Support system. That was at a period of time when

         13     the arrears were set somewhere in the amount of $30,000.00. I have a copy of

         14     the order. Paragraph four of the May 24th, 2012 order indicates that there was an

         15     arrears of $30,458.00, as of May 24th, 2012. September-

         16                                            THE COURT: And am I, am-

         17                                            ATTORNEY GOULD: Sorry.

         18                                            THE COURT: -there were, there was no

         19     appeal taken from that order.

         20                                            ATTORNEY GOULD: Correct.

         21                                            THE COURT: Just a minute, Miss Seguin.

         22     I’m giving Mr. Gould an opportunity to speak, just like I gave you an

         23     opportunity to speak. In that October 23rd, 2012 order, um, there is language that

         24     indicates that interest would continue to run.

         25                                            ATTORNEY GOULD: Correct.

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          1                                           THE COURT: And nothing has changed

          2     since then?

          3                                           ATTORNEY GOULD: There’s been no

          4     order from the Rhode Island Family Court suspending interest. Correct.

          5                                           THE COURT: Miss Seguin?

          6                                           DEFENDANT: I object to every, uh,

          7     statement that Mr. Gould had, uh, stated because they are, um, uh, perjurious.

          8                                           THE COURT: You (inaudible), excuse

          9     me-

         10                                           DEFENDANT: Mr. Gould and Mr.

         11     Langlois-

         12                                           THE COURT: Excuse me, they’re what?

         13                                           DEFENDANT: They are perjuries. Mr.

         14     Gould and Mr. Langlois and the State of Rhode Island representing the Rhode

         15     Island Child Support Office, had, um, per this Court record, there is a document

         16     that say’s that they, that they had said that Gero had waived interest. (Inaudible)

         17     2021 and they made that statement in 2022.

         18                                           THE COURT: Ma’am, there’s no Court

         19     order that ever suspended-

         20                                           DEFENDANT: (Inaudible).

         21                                           THE COURT: -there’s no Court order that

         22     ever set the interest to zero. There’s no Court order. You’ve received everything,

         23     I’ve reviewed the file. There is nothing in the system where it, it was ever

         24     waived or set to zero. The interest has stayed on the system.

         25                                           DEFENDANT: We’re, we’re talking, uh,

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          1     actually on, on February the 10th, 2023, the first Court order of this, of this

          2     decade that was issued has clearly, um, proven as evidence that interest was

          3     taken off of the system. Mr. Gould had taken the interest off of the system, he

          4     said in Court, in 2018. That is what he had said, and so, in, in Court, and

          5     therefore, he has asked the Judge, or the Magistrate, uh, Monaco to put it back

          6     on the record or, uh, Mr., and then Judge, um, uh, Monaco had only put it on

          7     there with prejudice because he said that there’s, that doesn’t mean, that’s just a

          8     placeholder.

          9                                             ATTORNEY GOULD: Objection.

         10                                             DEFENDANT: So, Mr. Gould had lied,

         11     just now, that’s perjury on-

         12                                             THE COURT: Uh-

         13                                             DEFENDANT: -I’m deeply concerned

         14     about this. These, these are documented in the order. The February 10th order

         15     cannot be refuted. It was, it was prepared by Mr. Gould himself. It said that the

         16     Court-

         17                                             THE COURT: I don’t see it.

         18                                             CLERK: I don’t see anything-

         19                                             DEFENDANT: -(inaudible)-

         20                                             THE COURT: -hold on, hold on. I’d, I’d

         21     like to review that order and I, I don’t see it.

         22                                             CLERK: I don’t see anything filed from

         23     2013-

         24                                             ATTORNEY GOULD: I’d like to be heard

         25     on the objection, Judge.

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          1                                            CLERK: -to ’22. I see nothing.

          2                                            DEFENDANT: Well, that’s a problem.

          3                                            THE COURT: Are you saying that, excuse

          4     me, just let me just clarify this. Again, I’m new to the case-

          5                                            DEFENDANT: That was-

          6                                            THE COURT: -you just made-

          7                                            DEFENDANT: -that was-

          8                                            THE COURT: -you just mentioned

          9     Magistrate Monaco heard this and I’m looking for an order from that hearing

         10     and I don’t see one.

         11                                            ATTORNEY GOULD: Since I was

         12     accused of perjury, Judge, can I clarify something?

         13                                            THE COURT: Yeah, Miss Seguin, I’m

         14     gonna give Mr. opportunity, uh, Mr. Gould an opportunity to reply.

         15                                            ATTORNEY GOULD: See, Miss Seguin

         16     is a little confused about how the process is running. That there is an agency and

         17     the Child Support Office is an agency charged with running the child support on

         18     our system. The Court is in charge of ordering parties to pay child support and in

         19     this case, pursuant to the order of Judge McCann back in 2012, he ordered child

         20     support paid. Again in 2012, he ordered interest paid. Our system in 2018, our

         21     system, the Child Support system, not a Court order, our system removed

         22     interest because of an administrative decision, because this case had become an

         23     interstate case, the Plaintiff was out of, the Defendant mother was out of state.

         24     There was a decision to remove interest from cases running on our system. That

         25     doesn’t mean that the interest doesn’t run. It meant that the interest was removed

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          1     from our system, so that other jurisdictions were not confused, and it had to do

          2     with, a lot of it, the, the fact that jurisdictions had different interest rates running.

          3     So, in order to alleviate any confusion, our Administrator made a determination

          4     to stop interest on all, uh, stop interest running on our system, not stop interest

          5     pursuant to a Court order. So, that’s the distinction. So, when I said earlier today

          6     that there’s no order that, uh, stopped the interest on the case, there is no order,

          7     and then the other statement that, uh, the Plaintiff made, uh, Defendant made

          8     relative to, um, the issue of prejudice of Judge Monaco’s order, that’s an

          9     outright lie, Judge. Judge Monaco never said in Court, there’s no Court order

         10     that is without, or with prejudice, Judge. So, that’s just an outright lie. I’ll leave

         11     it at that because I know I’ll have another twenty minutes of, of rambling on by

         12     the Defendant. So, I’ll (inaudible)-

         13                                              THE COURT: Well, just, just to be clear, I

         14     just want both sides to, to, to know, I don’t see anything in the system reflecting,

         15     um, any, any decision by Magistrate Monaco in May of this year. I don’t see-

         16                                              DEFENDANT: Uh, February, February,

         17     February of this year. So, February the 10th. February the 10th. This I why at the

         18     same time the discovery was ordered, and this is why we are here on discovery

         19     issues, as well, because it was ordered without, sorry, it was placed on the

         20     system and the interest is WITH prejudice.

         21                                              ATTORNEY GOULD: No, Judge, I object

         22     to that, that is not true. That is as far as the truth can be, Judge.

         23                                              DEFENDANT: Perjury, perjury-

         24                                              THE COURT: So, excuse me, hold on,

         25     hold on, folks. I just found the order now that I just see that. It’s February 10th,

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          1     paragraph four, “The Court finds the arrears of $81,652.46 that’ll be placed on

          2     the ledger without prejudice to the June 8th hearing. The arrears reflect interest

          3     on the child support in the amount of $75,623.71 and interest of the medical

          4     support in the amount of $6028.75”.

          5                                             ATTORNEY GOULD: So, Judge, is her

          6     comments about prejudice, is that perjury? So, did she just commit perjury,

          7     Judge, because I wasn’t under oath, but I’ll let that go.

          8                                             DEFENDANT: The order, the order

          9     clearly says that the-

         10                                             THE COURT: That it was placed, that it

         11     was placed on the ledger without prejudice. That’s all, that’s all it says. It was-

         12                                             DEFENDANT: Which means-

         13                                             THE COURT: -placed on the ledger-

         14                                             DEFENDANT: -it means, it means it’s not

         15     owed.

         16                                             THE COURT: No, it means, it doesn’t

         17     mean it’s not owed. It, it, it’s, it’s, let’s see, motion to set arrears and discovery

         18     motions were not concluded on that date. Okay, so it was placed on the ledger

         19     without prejudice because it was still an issue that was left open. Am I correct,

         20     Mr., Mr. Gould?

         21                                             ATTORNEY GOULD: Yes, Your Honor.

         22                                             THE COURT: And with that, you may

         23     inquire of Mr. Meyersiek. Thank you.

         24                                             ATTORNEY GOULD: Thank you. First of

         25     all, Judge-

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          1                                            THE COURT: You’re muted. You’re

          2     muted.

          3                                            ATTORNEY GOULD: I’d ask the Court,

          4     I’d ask the Court to take judicial notice of the May 24th, 2012 order by Judge

          5     McCann, in which he established the child support order, in which he establishes

          6     an arrears of $30,458.00. That order was not appealed. That is the order of this

          7     Court.

          8                                            THE COURT: The Court takes judicial

          9     notice entered on May 24th, 2012, from which no appeal was taken.

         10                                            ATTORNEY GOULD: I’d ask the Court

         11     to take judicial notice for the September 25th, 2012 order of Justice John

         12     McCann in which the paragraph four indicates, “Interest will continue to run on

         13     monies due”.

         14                                            THE COURT: Likewise, the Court takes

         15     judicial notice of the September 25th, 2012 order, again, in which no appeal was

         16     taken.

         17                                            ATTORNEY GOULD: Thank you, Judge.

         18     If I could inquire of the Plaintiff?

         19                                            THE COURT: Yes.

         20                                            ATTORNEY GOULD: Mr. Meyersiek,

         21     you had a child support order that ran to your, uh, ran to your benefit in the

         22     amount of $218.00 per week. Is that correct?

         23                                            THE COURT: Can’t hear you, Sir.

         24                                            PLAINTIFF: (Inaudible).

         25                                            THE COURT: Very, very faint. It’s hard to

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          1     hear you.

          2                                          PLAINTIFF: Is this better?

          3                                          THE COURT: Perfect.

          4                                          PLAINTIFF: Okay, good. Sorry. Yes, to

          5     the best of my recollection, that was the amount.

          6                                          ATTORNEY GOULD: Did you ever

          7     receive child support from the Defendant mother directly, after May 24th, 2012?

          8                                          PLAINTIFF: I only received two

          9     payments. I believe one was in 2019 and one was in 2021.

         10                                          ATTORNEY GOULD: So, from-

         11                                          PLAINTIFF: I never, I never received

         12     anything directly.

         13                                          ATTORNEY GOULD: From 2012 to

         14     2018, you received nothing in child support, correct?

         15                                          PLAINTIFF: Not a single penny.

         16                                          ATTORNEY GOULD: And that was a

         17     time when the child was a minor, correct?

         18                                          PLAINTIFF: Correct.

         19                                          ATTORNEY GOULD: That was during a

         20     period of time when you could’ve used the money for the child, correct?

         21                                          PLAINTIFF: That is absolutely correct.

         22                                          ATTORNEY GOULD: And you received

         23     nothing, correct?

         24                                          PLAINTIFF: That is correct, and I

         25     should’ve had, I had to send my daughter to a school, I had to pay for every

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          1     meal, I had to pay for her clothing, I had to pay for everything.

          2                                           ATTORNEY GOULD: You received a

          3     payment sometime in 2018 in the amount of $6,461.95, correct?

          4                                           PLAINTIFF: That is correct.

          5                                           ATTORNEY GOULD: And then you

          6     received a payment in 2021, on or about 12/9 for 2021, in the amount of

          7     $4,185.98, is that correct?

          8                                           PLAINTIFF: I don’t recall the exact

          9     amount.

         10                                           ATTORNEY GOULD: Does that number

         11     refresh your memory somewhat?

         12                                           PLAINTIFF: Yes, it does.

         13                                           ATTORNEY GOULD: Are you looking to

         14     collect interest that accrued on that money from, from, I’m sorry, from May

         15     202-, May 24th, 2012 up until today’s date?

         16                                           PLAINTIFF: Yes.

         17                                           ATTORNEY GOULD: Did you make any

         18     contracts, agreements with Miss Seguin outside Court that indicated that you

         19     were going to waive interest?

         20                                           PLAINTIFF: Absolutely not.

         21                                           ATTORNEY GOULD: I have no further

         22     questions of the Plaintiff.

         23                                           PLAINTIFF: Thank you.

         24                                           DEFENDANT: Uh, Your Honor, I have

         25     been unable to object to anything because, uh, I was put on mute, but-

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          1                                           THE COURT: Okay, well, we can note

          2     your objection now.

          3                                           DEFENDANT: The, the, uh, at the last

          4     hearing, uh, as well as, uh, the, uh, hearing before you were, uh, appointed, uh,

          5     by the, uh, Judge, uh, in June 2023, we were on a motion to compel. So,

          6     therefore, I do not have, based on discovery, discovery has not been completed.

          7     Therefore, I am not ready to present the, uh, evidence and present the

          8     arguments.

          9                                           THE COURT: What, uh, what specifically,

         10     what are you seeking in discovery that you haven’t received yet?

         11                                           DEFENDANT: I have, uh, as you can see,

         12     I have that motion, uh, that is pending, that has been pending since June of 2023,

         13     to compel production relative to my, uh, request for documents. I, I have a

         14     pending motion-

         15                                           THE COURT: You, you, you received all

         16     of the Court documents.

         17                                           DEFENDANT: No-

         18                                           THE COURT: What out, what outside of

         19     the Court documents are you seeking in discovery?

         20                                           DEFENDANT: I’m seeking based on my,

         21     uh, on the Court record that would show that I’m seeking my case file.

         22                                           THE COURT: You have-

         23                                           DEFENDANT: I’m entitled-

         24                                           THE COURT: -you, no, no.

         25                                           DEFENDANT: I do not have a, my case

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          1     file-

          2                                            THE COURT: You do have your case file.

          3                                            DEFENDANT: -I do not have my-

          4                                            THE COURT: It was scanned-

          5                                            DEFENDANT: I do not!

          6                                            THE COURT: -and sent to you as you

          7     already acknowledged by Mr. Santamaria in numerous emails. The entire Court

          8     file was scanned in and sent to you.

          9                                            DEFENDANT: Oh, you’re talking about

         10     the Court file. I’m talking about my child support case file. I’m entitled under

         11     Federal law to have access to my Federal, my child support case file, and that’s

         12     the discovery that’s being ordered. I have not been able, they have denied, on

         13     paper, which is submitted within this Court record. The Court record shows that

         14     they have, uh, refused, uh, uh, raising all kinds of issues to produce my child

         15     support case record.

         16                                            ATTORNEY GOULD: Objection.

         17                                            DEFENDANT: Under Federal law, under

         18     the Federal law, under Title IV of the Social Security Act, which is what this

         19     process and this legal hearing is under-

         20                                            ATTORNEY GOULD: Objection.

         21                                            DEFENDANT: -(inaudible) under-

         22                                            THE COURT: Alright, what’s-

         23                                            DEFENDANT: I have rights.

         24                                            THE COURT: -what’s the basis of your

         25     objection-

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          1                                            DEFENDANT: -I have a Federal rights-

          2                                            THE COURT: -Mr. Gould?

          3                                            DEFENDANT: -(inaudible), I have a

          4     Federal right to my child support case file.

          5                                            THE COURT: Hold on, Ma’am. He

          6     objected and I wanna know the basis of his objection.

          7                                            ATTORNEY GOULD: Relevance to the

          8     issue before the Court, Judge. The issue before the Court is interest. The motions

          9     that she’s alleging that she’s pursuing, the State file appropriate objections to her

         10     discovery request. So, she needs a hearing on it instead of her other diversions

         11     that she’s had at the last nine months. We could’ve addressed these, Judge, but

         12     we wanna keep pushing this off and pushing this off. So, the State has filed, the

         13     State has responded to the discovery. I’ve had a conference with Miss Seguin, at

         14     one point, to try to go over some of our disputes with regard to, with regard to

         15     discovery. Uh, that did not turn out to be very productive. Uh, I have stated, uh,

         16     on my, on her requests, uh, all the basis for our objections and I’m ready to

         17     argue those objections, when she puts forth specific allegations, specific

         18     documents in the specific request that she’s looking for, but until then, Judge,

         19     this is a real simple case of about whether or not this lady paid child support and

         20     whether or not this gentleman is entitled to interest-

         21                                            DEFENDANT: Objection.

         22                                            ATTORNEY GOULD: -the Court has-

         23                                            DEFENDANT: Objection.

         24                                            ATTORNEY GOULD: -the Court has-

         25                                            THE COURT: (Inaudible).

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          1                                            ATTORNEY GOULD: -filed-

          2                                            DEFENDANT: Fundamentally, in order to

          3     claim that I owe anything, I have a right to my child support case file under

          4     Federal law.

          5                                            THE COURT: Ma’am, what’s this-

          6                                            DEFENDANT: I have-

          7                                            THE COURT: -what’s specific document-

          8                                            DEFENDANT: -(inaudible)-

          9                                            THE COURT: -what specific document-

         10                                            DEFENDANT: -since ’21-

         11                                            THE COURT: Ma’am, Ma’am, Ma’am, if

         12     you keep yelling over me and over the Attorneys, this is not going to be

         13     productive. I’m trying to just narrow this down to the specific piece of

         14     information that you’re seeking.

         15                                            DEFENDANT: I am, Your Honor, I need

         16     to have my entire case file. I, I have, the Court order-

         17                                            THE COURT: Do you, do you-

         18                                            DEFENDANT: -on February the 10th

         19     ordered discovery. There were, by law, my right is to have my entire case file,

         20     and, and by Federal Court, Federal law, I am entitled to have my entire case file.

         21     Child support interstate encompasses, and this is an interstate case, encompasses

         22     Federal law. It encompasses Texas law, because you are reaching your, your

         23     long arm into the State of Texas. Therefore, I am entitled, by Federal law, and

         24     by Texas law, as well as Rhode Island law, to have access to my child support

         25     file.

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          1                                            THE COURT: Thank you Miss, Thank

          2     you, Miss Seguin. Mr. Gould-

          3                                            DEFENDANT: (Inaudible) Mr. Gould-

          4                                            THE COURT: -what, what is the, what is

          5     the State’s objection-

          6                                            ATTORNEY GOULD: Rel-, well for the

          7     most part-

          8                                            THE COURT: -to give-

          9                                            ATTORNEY GOULD: -relevance, Judge.

         10     She’s, she is not gonna use the documents that she’s requesting, in this case,

         11     when she, when the documents you’re requesting is what she is the target for in

         12     her Federal case. So, she’s not gonna use me as a pawn to get, to do her

         13     discovery in her Federal case. This is a simple issue of child support, simple

         14     issue of payments, but what she’s trying to do is she tried to do her discovery,

         15     her Federal discovery in this child support case. So, what I did is I laid out in, in

         16     our responses, our objections, based on relevance. So, again, again, we went

         17     another ten minutes of her for asking for certain, a multitude of documents

         18     without her saying one specific document that she wants, one specific item, one

         19     specific request for production that she’s, we can do this, Judge. We can go for

         20     another twenty minutes and do the same thing, but until she gets her eyes on a

         21     piece of paper and looking at her motions and going word by word, and until we

         22     can do that, Judge, I, we can’t go anywhere. I’ve, I’ve stated our objection-

         23                                            THE COURT: Well, that, I’m, I’m trying,

         24     you know, I’m trying to work with you, Miss Seguin, to see if you can narrow it

         25     down to a specific, a specific issue or a specific document that you believe

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          1     supports you and your contention that at some point, there was an agreement or

          2     there was an order that waived the interest, but to be going on a fishing

          3     expedition and insist that the State, uh, provide you with your case file, um, you

          4     know-

          5                                            DEFENDANT: Your, Your Honor,

          6     discovery is to get my entire case file. I think that is something Federal law

          7     guarantees, and it says so from 42 USC Section 654, all the way to 666. That

          8     law luminous, uh, Federal law, codified by Congress, provides everyone in the

          9     country the right to access all the case file, child support case file, maintained by

         10     every and any State Government, and that is, I’m not the, eh, the, Congress has

         11     never said that’s sufficient expedition (?). Congress has said, you’re allowed to

         12     have your entire case file and from there on, you’re even allowed to ask

         13     questions. Why was this, why was, that’s the due process and that is the equal

         14     protection, and that is the Privileges and Immunities Clause that we’re all

         15     guaranteed and living under. This is an interstate case. I am entitled by the

         16     Constitution and by Federal laws 654 to 666 to have access to my entire file. I

         17     cannot, I am unable, no custodial parent or non-custodial parent is able, that’s

         18     mentioned in the Social Security Act, would be un-,would be able to actually

         19     identify, say this is the document I’m asking for, but they don’t have access to,

         20     to the file.

         21                                            THE COURT: Ma’am, you have access to

         22     all of the Court orders.

         23                                            DEFENDANT: I-

         24                                            THE COURT: The Court-

         25                                            DEFENDANT: But I-

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          1                                            THE COURT: -the Court, the Court is

          2     what establishes the, the child support order, the arrears order, and interest goes

          3     along with that, Ma’am. So-

          4                                            DEFENDANT: You’re talking about this

          5     agreement that we’re deal, talking about. Agreement that you just mentioned

          6     that, Your Honor, deals with my case file and this is the case file I am, by law,

          7     by the (inaudible), by Federal law, by Texas law, and by Rhode Island law,

          8     entitled to have access to, and Mr. Gould and the Child Support, uh, Services

          9     and, uh, of Human Services denies me both, all denying me access to those. So,

         10     I am again, asking for that. I will ask in every possible jurisdiction for those

         11     because I am entitled, by law, at least three jurisdictions. By Texas law, by

         12     Federal law-

         13                                            THE COURT: Thank you.

         14                                            DEFENDANT: -and by Rhode Island law.

         15                                            THE COURT: Thank you-

         16                                            DEFENDANT: Nevermore-

         17                                            THE COURT: -Mr. Gould? Thank you.

         18     Okay, you’ve, you’ve you’ve made your point. I understand what your argument

         19     is. Mr. Gould?

         20                                            ATTORNEY GOULD: Judge, I went

         21     another, I think, ten minutes, maybe nine minutes that time. I still don’t know

         22     what she’s looking for. Uh, it’s a motion to compel. If, if that’s what she wanted,

         23     then let’s have the motion to compel. Let’s hear that. Maybe, maybe she could

         24     put those thoughts into words again and maybe come up with a plan that she

         25     wants for this discovery, Judge, but what we’re doing now is wasting your time,

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          1     and wasting my time, and we’re not getting anywhere. So, we’ve provided her

          2     volumes upon volumes of documents relative to her case. She had specific

          3     questions that I objected to. The, the objections were timely. We had a

          4     conference, we went through them. After the conference, I had not heard

          5     anything from Miss, uh, Seguin. We’ve gone through, I think, since February,

          6     five or six appearances, a couple before you. I, I could, that, that could be an

          7     exaggeration. It could’ve been four, uh, but we’ve been before the Court and,

          8     and we’ve come with other issues every time and we continue this and continue

          9     this. Judge, again, in order to have equity, you have to have clean hands, and this

         10     is a person who has failed to comply with THIS Court’s orders. Not the

         11     Constitution, not the Texas law, not the, not the Congress law. This is someone

         12     who has failed to comply with your orders, with your Court’s orders on a

         13     specific matter-

         14                                            DEFENDANT: Objection.

         15                                            ATTORNEY GOULD: -with child support

         16     with a very-

         17                                            DEFENDANT: Ob, objection.

         18                                            ATTORNEY GOULD: -very basic needs

         19     of a child-

         20                                            DEFENDANT: Objection.

         21                                            ATTORNEY GOULD: -and we’re gonna

         22     give-

         23                                            THE COURT: I’m gonna, I’m gonna, I’m

         24     going to allow him to speak, just like I allowed you to speak. Mr., Mr. Gould,

         25     continue.

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          1                                            ATTORNEY GOULD: I, I’ve said

          2     enough, Judge.

          3                                            DEFENDANT: Objection.

          4                                            THE COURT: Again, the Court, the Court

          5     takes judicial notice of both the May 24th, 2012 Court order, as well as the

          6     subsequent September 25th, 2012 Court order. Um, there was, um, no appeal,

          7     um, taken from either one of those Court orders. With respect to, um-

          8                                            DEFENDANT: Objection. Objection,

          9     Your Honor.

         10                                            THE COURT: Your objection is noted,

         11     thank you very, thank you, your objection is noted.

         12                                            DEFENDANT: He, he-

         13                                            THE COURT: Mr. Gould, what is the

         14     specific, uh, amount of interest that, um, is, uh, should be on the system? Is it

         15     $81,652.49?

         16                                            ATTORNEY GOULD: Yes, Judge.

         17                                            THE COURT: Okay, and was that the

         18     amount that was, um, placed on the system back in February?

         19                                            ATTORNEY GOULD: Correct, Judge.

         20                                            THE COURT: The Court finds-

         21                                            ATTORNEY GOULD: That number

         22     (inaudible)-

         23                                            THE COURT: -the Court finds that that is,

         24     based on no, absolutely no evidence to the contrary, that that is the amount, um,

         25     that should be set on this as of today, today’s date.

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          1                                           ATTORNEY GOULD: Thank you, Your

          2     Honor.

          3                                           DEFENDANT: Objection.

          4                                           THE COURT: Your objection is noted. I

          5     gave my ruling.

          6                                           DEFENDANT: May, Your Honor, Your

          7     Honor-

          8                                           THE COURT: I’ve made my ruling.

          9                                           DEFENDANT: - I would like to place on

         10     the record that I have not been able to complete the discovery that there, that the,

         11     uh, the, uh, Child Support Agency had placed on the record that there is an

         12     agree-, asking about an agreement. I have not been able to cross examine the

         13     Defendant. That is a violative of due process-

         14                                           THE COURT: Sir, you can, Sir-

         15                                           DEFENDANT: -because my, I have-

         16                                           THE COURT: Ma’am, Ma’am, Ma’am-

         17                                           DEFENDANT: -the right to examine-

         18                                           THE COURT: -if you have any questions-

         19                                           DEFENDANT: -(inaudible)-

         20                                           THE COURT: -for Mr. Meyersiek, feel

         21     free to, feel free to ask him.

         22                                           DEFENDANT: So, therefore, we are now

         23     vacating your prior decision-

         24                                           THE COURT: No, we’re not! No, we’re

         25     not!

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          1                                           DEFENDANT: -because we, because we

          2     are, we have not gone through due process in terms of my asking, be able to

          3     cross examine the Defendant. I’m sorry, the Plaintiff, the opposing party. I, I

          4     would like to ask for my witness, Mr. Gould, to be, to the witness stand.

          5                                           THE COURT: Mr. Gould-

          6                                           ATTORNEY GOULD: Objection, Judge.

          7                                           THE COURT: Mr. Gould is not, is not a

          8     witness.

          9                                           DEFENDANT: The State. The State, on

         10     the State of Rhode Island and he represents the State of Rhode Island. He was

         11     instrumen-, he had communicated with me prior to this particular proceeding,

         12     the start of proceeding in 2022, by email, by conversation, and with John

         13     Langlois. So, that’s my witness. I’d like to put on the stand, as my witness-

         14                                           THE COURT: Today, the matter before-

         15                                           DEFENDANT: -regarding-

         16                                           THE COURT: -the matter before the

         17     Court-

         18                                           DEFENDANT: -regarding-

         19                                           THE COURT: -is a motion to set-

         20                                           DEFENDANT: -the waiver of interest-

         21                                           THE COURT: -to set arrears-

         22                                           DEFENDANT: -regarding-

         23                                           THE COURT: Ma’am, Ma’am-

         24                                           DEFENDANT: -the waiver of interest-

         25                                           THE COURT: Ma’am, I’m gonna mute

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          1     you again. The matter before the Court today is simply a motion to set arrears.

          2     We set the arrears, there’s nothing further before the Court. If you wanna file a

          3     different motion, feel free to do so, but this matter is concluded with your arrears

          4     being set at $81,652.49.

          5                                             DEFENDANT: Your, unmute, am I

          6     unmuted?

          7                                             THE COURT: No. Yeah.

          8                                             DEFENDANT: Am I unmuted? Uh, I am

          9     filing, I am asking for, um, uh, reconsideration because there is, I have not, I’ve

         10     been, uh, uh, barred, obstructed from presenting evidence. I’d like to play, uh,

         11     the audio recording of the waiver of interest.

         12                                             THE COURT: Today is the motion to set

         13     the, to set the interest.

         14                                             DEFENDANT: And that’s my defense-

         15                                             THE COURT: The motion to set arrears,

         16                                             DEFENDANT: -my defense is, I would

         17     like to play the recording of the waiver of interest that the State had represented

         18     that Gero had done. If I’m obstructed from, uh, providing evidence and we have

         19     a due process issue in this proceeding. I have not been, I want to present

         20     evidence, I want to cross examine the witness, I want to pro-, I want to call my

         21     witness and I have a right to do so-

         22                                             THE COURT: Ma’am, if you want to do

         23     that, this is not, this is not the forum for that. I can do that in another proceeding.

         24                                             DEFENDANT: Yes, it is! Yes, it is-

         25                                             THE COURT: Uh, well, I respectfully dis-

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          1     agree with you.

          2                                             DEFENDANT: -because we are here-

          3                                             THE COURT: I respectfully disagree-

          4                                             DEFENDANT: -to establish, we are here

          5     to establish, we’re here supposedly to establish interest and I am presenting

          6     evidence that interest was waived.

          7                                             THE COURT: Interest was not waived in

          8     any Court order and that is the basis upon which-

          9                                             DEFENDANT: It was waived-

         10                                             THE COURT: -I made my decision today.

         11                                             DEFENDANT: -(inaudible)-

         12                                             THE COURT: Ma’am, Ma’am-

         13                                             DEFENDANT: -it was waived-

         14                                             THE COURT: -I’m muting you because

         15     you don’t let me speak. There is no Court order by this Court by any Magistrate

         16     or Judge that waived or set the interest to zero. It is still in the system, and that is

         17     why today I am going to establish that the interest owed by you on this account

         18     is set at $81,652.49. There was no Court order to the contrary. This matter is

         19     now concluded.

         20                                             DEFENDANT: I am now, I am now

         21     raising the issue, uh, that interest was waived by contract and agreement-

         22                                             THE COURT: Ma’am, I, Ma’am-

         23                                             DEFENDANT: -with Gero Meyersiek-

         24                                             THE COURT: -I, I just, Ma’am-

         25                                             DEFENDANT: -and this is all part of the-

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          1                                              THE COURT: -I just gave you the

          2     reasoning-

          3                                              DEFENDANT: -(inaudible) process-

          4                                              THE COURT: -for the Court’s decision is

          5     based on the fact that the Court file is void of any order or judgement that

          6     waived the interest of set it to zero.

          7                                              DEFENDANT: Also, the interest rate of

          8     12% compounding interest is illegal under, uh, Social Security Act. They have

          9     put out-

         10                                              THE COURT: Well, that’s the interest rate

         11     that-

         12                                              DEFENDANT: -12% compound interest-

         13                                              THE COURT: -that’s been established-

         14                                              DEFENDANT: -that is illegal under-

         15                                              THE COURT: -by the State of Rhode

         16     Island.

         17                                              DEFENDANT: -Federal law, which

         18     preempts Rhode Island law.

         19                                              THE COURT: Thank you very much, Miss

         20     Seguin-

         21                                              DEFENDANT: I just wanna make sure

         22     that-

         23                                              THE COURT: Your objection is moted.

         24                                              DEFENDANT: -(inaudible)-

         25                                              THE COURT: Thank you very much-

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          1                                           DEFENDANT: -(inaudible)-

          2                                           THE COURT: -Mr. Meyersiek-

          3                                           DEFENDANT: -also entitled-

          4                                           THE COURT: -Attorney Gould-

          5                                           DEFENDANT: -to see Judge created laws

          6     on these, this issue. I have been prevented from accessing those. There’s

          7     (inaudible) public records (inaudible)-

          8                                           THE COURT: Ma’am, we gave you every

          9     Court record you requested.

         10                                           DEFENDANT: -Federal-

         11                                           THE COURT: You requested-

         12                                           DEFENDANT: -that was all Judge

         13     created-

         14                                           THE COURT: -you requested the Court

         15     file-

         16                                           DEFENDANT: -laws. (Inaudible) 12%

         17     compounding interest-

         18                                           THE COURT: -for a number of years. I’m

         19     not going to let you yell at me.

         20                                           DEFENDANT: Why-

         21                                           THE COURT: You’re not going to talk

         22     over me.

         23                                           DEFENDANT: Why-

         24                                           THE COURT: This hearing is concluded.

         25     Thank you very much.

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          1                                            ATTORNEY GOULD: Thank you, Judge.

          2                                            DEFENDANT: I object and raise that the-

          3                                            THE COURT: Thank you-

          4                                            DEFENDANT: -interest, as well-

          5                                            THE COURT: Thank you.

          6                                            DEFENDANT: -and compound interest is

          7     illegal-

          8                                            ATTORNEY GOULD: Thank you, Judge.

          9                                            DEFENDANT: I’m looking to appeal this

         10     to the Judge, Miss, uh, Your Honor, Magistrate-

         11                                            THE COURT: And you’re, and you’re free

         12     to do so.

         13                                            DEFENDANT: And I’m doing that on an

         14     oral basis, so here are-

         15                                            THE COURT: You can file that with the

         16     Clerk-

         17                                            DEFENDANT: -I am doing that orally-

         18                                            THE COURT: You can file that with the

         19     Clerk. I will make a notation.

         20                                            DEFENDANT: -this is an oral motion, an

         21     oral motion, this is an oral motion-

         22                                            THE COURT: Thank you.

         23                                            DEFENDANT: -to-

         24                                            THE COURT: It’s noted.

         25                                            DEFENDANT: -appeal the Magistrate’s

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          1     order-

          2                                             THE COURT: Your appeal from my

          3     decision is noted. It will be put in the order.

          4                                             DEFENDANT: -for a hearing, there was

          5     no hearing on this, there was no trial on this, no trial was provided. I was

          6     prevented from, uh, from, uh, from, uh, from presenting evidence-

          7                                             THE COURT: And you may appeal my

          8     decision-

          9                                             DEFENDANT: -(inaudible) audio

         10     recording-

         11                                             THE COURT: -to a Famiy Court Justice.

         12     Thank you very much.

         13                                             DEFENDANT: I’m appealing it. I, I have

         14     appealed it orally, now.

         15                                             CLERK: Nope, can’t do that.

         16                                             THE COURT: You have to file an appeal

         17     yourself in the Clerk’s office.

         18                                             CLERK: And she has to pay for a

         19     transcript-

         20                                             DEFENDANT: According to Turner

         21     versus Rodgers, another U.S. Supreme Court case, I am entitled to not have to

         22     do a, uh, a written motion. I can do an oral motion for an appeal to a, uh, to, to

         23     the Jus-, Judge, uh, at iss-, that’s, uh, of issue and I’m requesting a hearing date

         24     for that appeal.

         25                                             CLERK: Sorry, that goes before a Judge.

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          1                                            DEFENDANT: Clerk (inaudible)-

          2                                            THE COURT: That has to go before a

          3     Family Court Judge.

          4                                            CLERK: Only the Office can give appeal

          5     dates, and there’s a process and she has to order a transcript, and pay for it,

          6     before that transcript will even be typed out.

          7                                            THE COURT: Miss Seguin, did you hear

          8     the Clerk?

          9                                            DEFENDANT: Who is the, uh, who is the,

         10     uh, the Scribe for this, the, uh, Stenographer? So, today, I wanna make very

         11     clear, you all know you’re establishing this Court, um, establishing interest and

         12     what you’re also saying is that the, the, uh, the interest was supposedly

         13     established but you’re reestablishing interest?

         14                                            THE COURT: I’ve made my ruling-

         15                                            DEFENDANT: There’s no-

         16                                            THE COURT: -I’ve made my ruling-

         17                                            DEFENDANT: -(inaudible)-

         18                                            THE COURT: -Miss Seguin, I’ve made

         19     my ruling. You’ve indicated you’re interest in appealing. That is noted for the

         20     record. We have other cases that are waiting to be heard. Thank you very much

         21     and-

         22                                            DEFENDANT: I’m looking to-

         23                                            THE COURT: -you’re free to follow up-

         24                                            DEFENDANT: -as a pro se litigant-

         25                                            THE COURT: -however you see fit. Thank

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          1     you so much.

          2                                            DEFENDANT: -I’m looking to-

          3                                            THE COURT: I understand that and thank

          4     you.

          5                                            DEFENDANT: -understand what the

          6     Court order will say.

          7                                            THE COURT: Thank-

          8                                            DEFENDANT: What will the Court order

          9     say? What will the Court order say?

         10                                            THE COURT: Mr. Gould will draft the

         11     Court order for my signature, and you’ll receive a copy of it. Thnak you very

         12     much.

         13                                            DEFENDANT: Now, what would it, what

         14     would it, so that we’re all clear, so I can also put on the record any objections.

         15     The objection, so, you’re-

         16                                            THE COURT: Miss Seguin-

         17                                            DEFENDANT: -ordering reestablishment

         18     because that’s the motion. The motion is to reestablish interest.

         19                                            THE COURT: It’s not reestablish.

         20                                            DEFENDANT: And-

         21                                            THE COURT: It’s set arrears. That was the

         22     motion, to set arrears. The arrears are the interest that you owe on the case,

         23     Ma’am, and this hearing is over.

         24                                            DEFENDANT: So, you are-

         25                                            THE COURT: I’m going to end the

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          1     hearing-

          2                                           DEFENDANT: -you are (inaudible)-

          3                                           THE COURT: You are not going to talk

          4     over me. The hearing is over. You can file your appeal. Thank you very much.

          5     Have a good day.

          6                                           DEFENDANT: I would like to put on the

          7     record-

          8                                           THE COURT: The hearing is over,

          9     Ma’am.

         10                                           DEFENDANT: -um, my appeal.

         11                                           THE COURT: The hearing is over. You

         12     can’t cont-

         13                                           DEFENDANT: I would like to put on the

         14     record for the appeal, because the appeal is critically important.

         15                                           THE COURT: I understand that.

         16                                           DEFENDANT: The appeal basically-

         17                                           THE COURT: We’re not, no, we’re not

         18     going to hear your appeal now.

         19                                           DEFENDANT: You don’t have-

         20                                           THE COURT: We’re not going to hear

         21     your appeal now.

         22                                           DEFENDANT: You don’t have, this Court

         23     does not have jurisdiction-

         24                                           THE COURT: You’ve noted you’re

         25     objection, you’ve noted your objection, you’re not going to argue your appeal

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          1     now and you’re not gonna talk over me, okay. I’ve made my ruling. You

          2     disagree with it. You have a right to appeal and the hearing is over, okay. You’re

          3     not going to argue your appeal here. You don’t like my decision, you don’t

          4     agree with my decision, and the hearing is over, because there’s nothing left to

          5     discuss. I’m ending this meeting for everyone. I’m ending-

          6                                           DEFENDANT: You-

          7                                           THE COURT: I’m ending the meeting for

          8     everyone.

          9                                           DEFENDANT: The Family Court does not

         10     have jurisdiction-

         11                                           THE COURT: Thank you.

         12                                           DEFENDANT: -over agreements between

         13     Gero and myself-

         14                                           THE COURT: Thank you. I’m ending, I’m

         15     ending the meeting. Thank you.

         16                                           DEFENDANT: I’m putting that on the

         17     record. The Family Court lacks subject matter-

         18                                           THE COURT: Okay.

         19                                           DEFENDANT: -jurisdiction, nor personal

         20     jurisdiction regarding agreements-

         21                                           THE COURT: I’m ending the meeting-

         22                                           DEFENDANT: -between Gero Meyersiek-

         23                                           THE COURT: -for everyone.

         24                                           DEFENDANT: -and myself-

         25                                           THE COURT: Thank you, Mr. Meyersiek-

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          1                                        DEFENDANT: -and that was a question-

          2                                        THE COURT: -thank you, Mr. Gould-

          3                                        DEFENDANT: -Mr. Gould had posed-

          4                                        THE COURT: Thank you very much. I’m

          5     ending the meeting for everyone.

          6                                        DEFENDANT: In-

          7

          8

          9                                        HEARING CONCLUDED.

         10

         11

         12

         13

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                                                    Title 15
                                                Domestic Relations
                                                        Chapter 5
                                                  Divorce and Separation
                                                      R.I. Gen. Laws § 15-5-16.5

     § 15-5-16.5. Interest on arrearages.

     Interest at the rate of twelve percent (12%) per annum on any support debt due or owing, child or
     spousal support, shall be assessed unless the responsible party shall, for good cause shown, be relieved
     of the obligation to pay interest by the family court.

     History of Section.
     P.L. 1980, ch. 308, § 1; P.L. 1984, ch. 167, § 1; P.L. 2001, ch. 155, § 1.




 http://webserver.rilin.state.ri.us/Statutes/TITLE15/15-5/15-5-16.5.htm                                       3/26/24, 8 13 PM
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                                                PUBLISHED

                    UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT


                   JIM HODGES, in his official capacity      
                   as Governor of the State of South
                   Carolina; JEAN HOEFER TOAL, in her
                   official capacity as Chief Justice of
                   South Carolina; SOUTH CAROLINA
                   DEPARTMENT OF SOCIAL SERVICES;
                   STATE OF SOUTH CAROLINA; PEOPLE OF
                   SC, on Behalf of the State of South
                   Carolina; JOHN DOE; JANE DOE, and
                   those similarly situated,
                                    Plaintiffs-Appellants,
                                     v.                              No. 00-2512
                   TOMMY G. THOMPSON, SECRETARY,
                   UNITED STATES DEPARTMENT OF
                   HEALTH AND HUMAN SERVICES; WADE
                   F. HORN, Ph.D. in his official
                   capacity as Assistant Secretary of
                   the United States Department of
                   Health and Human Services for
                   Children and Families; U.S.
                   DEPARTMENT OF HEALTH & HUMAN
                   SERVICES,
                                  Defendants-Appellees.
                                                             
                              Appeal from the United States District Court
                             for the District of South Carolina, at Columbia.
                   Julian Abele Cook, Jr., Senior District Judge, sitting by designation.
                                            (CA-00-2048-3-17)

                                           Argued: December 6, 2001

                                          Decided: November 15, 2002
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                   2                       HODGES v. THOMPSON
                       Before WIDENER, NIEMEYER, and MOTZ, Circuit Judges.



                   Affirmed by published per curiam opinion.


                                               COUNSEL

                   ARGUED: Marcus Angelo Manos, NEXSEN, PRUET, JACOBS &
                   POLLARD, L.L.C., Columbia, South Carolina, for Appellants. Greg-
                   ory George Katsas, Appellate Staff, Civil Division, UNITED
                   STATES DEPARTMENT OF JUSTICE, Washington, D.C., for
                   Appellees. ON BRIEF: Wilburn Brewer, Jr., NEXSEN, PRUET,
                   JACOBS & POLLARD, L.L.C., Columbia, South Carolina; A.E.
                   Dick Howard, Charlottesville, Virginia, for Appellants. Stuart E.
                   Schiffer, Acting Assistant Attorney General, Scott N. Schools, United
                   States Attorney, Jacob M. Lewis, Peter J. Smith, Appellate Staff,
                   Civil Division, UNITED STATES DEPARTMENT OF JUSTICE,
                   Washington, D.C., for Appellees.


                                                OPINION

                   PER CURIAM:

                      The Governor of South Carolina appeals the grant of summary
                   judgment to the Secretary of the United States Department of Health
                   and Human Services in the State’s action seeking injunctive and
                   declaratory relief from conditions imposed for federal funding of the
                   Temporary Assistance to Needy Families (TANF) program.

                      South Carolina challenges the district court finding that Congress
                   acted within its Spending Clause authority when it conditioned States’
                   receipt of federal funds under the child support enforcement program
                   and the TANF program on compliance with the requirement that
                   States develop and maintain automated child support enforcement
                   systems and that such a condition was not so coercive as to violate
                   the Tenth Amendment. The State further alleges the district court
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                                            HODGES v. THOMPSON                           3
                   erred when it found that the Secretary did not have the discretion to
                   amend the statutory penalty structure for a State’s noncompliance
                   with the child support systems requirements. In addition, South Caro-
                   lina contends the court erred in finding that the State could not invoke
                   the protections of the Due Process Clause. After considering the par-
                   ties’ briefs and the record, and following oral argument, we affirm
                   substantially on the reasoning of the district court.

                                                      I.

                      The district court opinion contains a comprehensive history, the
                   details of which need not be repeated here, of the federal govern-
                   ment’s longstanding involvement in child support enforcement pro-
                   grams and related federal efforts to work with the States to solve the
                   serious problem of nonpayment of child support. See Hodges v. Sha-
                   lala, 121 F.Supp.2d 854 (D.S.C. 2000). Currently, as a condition of
                   receipt of any federal funding under Title IV-D of the Social Security
                   Act, 42 U.S.C. §§ 651-669, States must have an approved state plan
                   for child and spousal support that meets all the requirements of 42
                   U.S.C. § 654. Among the prerequisites for approval of a Title IV-D
                   Plan are the requirements that the State establish and operate an auto-
                   mated data processing and information retrieval system, see 42 U.S.C.
                   § 654(24), and a state child support disbursement unit (SDU), see 42
                   U.S.C. § 654(27)(A). South Carolina concedes that it has neither a
                   federally certifiable statewide automated system for child support nor
                   an SDU. See Hodges, 121 F. Supp. 2d at 861.

                      Without an approved state plan, a State may lose federal funding
                   under both Title IV-D (child support enforcement) and Title IV-A
                   (TANF). See 42 U.S.C. § 655(a)(1)(A); 42 U.S.C. § 602(a)(2). Alter-
                   natively, a State may opt for an alternative penalty in lieu of disap-
                   proval of their state plan and the withholding of federal funds if the
                   State is making a good faith effort to comply with the program’s
                   requirements and the State has submitted a corrective compliance
                   plan. See 42 U.S.C. § 655(a)(4). South Carolina has elected to incur
                   the alternative penalty.

                      We exercise jurisdiction pursuant to 28 U.S.C. § 1291 and review
                   a district court’s grant of summary judgment de novo. See United
                   States v. Kanasco, Ltd., 123 F.3d 209, 210 (4th Cir. 1997).
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                   4                        HODGES v. THOMPSON
                                                     II.

                      We turn first to South Carolina’s contention that the federal gov-
                   ernment’s requirements and penalties associated with the state-wide
                   automated systems, which South Carolina failed to provide, exceed
                   Congressional authority under the Spending Clause and the Tenth
                   Amendment.

                      Consistent with its Spending Power, Congress may attach condi-
                   tions on the receipt of federal funds. See South Dakota v. Dole, 483
                   U.S. 203, 206 (1987). The Spending Power is not unlimited, of
                   course, and the Supreme Court has recognized four general limita-
                   tions: spending must be in pursuit of the general welfare; any attached
                   conditions must be unambiguous; conditions must also be related to
                   a federal interest; and, the obligations imposed by Congress may not
                   violate any independent constitutional provisions. See Dole, 483 U.S.
                   at 207-08.

                      The district court found that "Congress made a considered judg-
                   ment that the American people would benefit significantly from the
                   enhanced enforcement of child-support decrees and the diminution of
                   the number of parents who are able to avoid their obligations simply
                   by moving across local or state lines." Hodges, 121 F. Supp. 2d at
                   873. Thus, like the district court, we are satisfied that Congress acted
                   in the general welfare when it enacted the child support enforcement
                   programs and the associated funding conditions under Title IV-D.

                      South Carolina’s contention that the Title IV-D conditions are
                   ambiguous is without merit. The statute expressly provides that com-
                   pliance with the automated system and SDU requirements is a condi-
                   tion of approval of a state plan. See 42 U.S.C. § 654(16), (24)(27)A.
                   We agree with the district court that the clear and unequivocal state-
                   ment of the required conditions in the statute enabled South Carolina
                   to "exercise [her] choice knowingly, cognizant of the consequences of
                   [her] participation." See Dole, 483 U.S. at 207 (citations omitted).

                     A third limitation on the Spending Power requires that conditions
                   "bear some relationship to the purpose of the federal spending." New
                   York v. United States, 505 U.S. 144, 167 (1992) (citing Dole, 483
                   U.S. at 207-08, n.3). Here, there is a complementary relationship
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                                             HODGES v. THOMPSON                             5
                   between efficient child support enforcement and the broader goals of
                   providing assistance to needy families through the TANF program.
                   Establishing paternity and collecting child support may enable fami-
                   lies to reduce their dependence on the welfare system, and both pro-
                   grams are intended to reduce the incidence of poverty among children
                   and families. The Supreme Court has recognized that Congress
                   intended these linkages between child support programs and the
                   TANF program. See Sullivan v. Stroop, 496 U.S. 478, 484 (1990)
                   (concluding Congress intended the two programs to "operate together
                   closely to provide uniform levels of support for children of equal need").1

                      South Carolina does not contend that the Title IV-D conditions vio-
                   late the fourth limitation on the Spending Power — that the condi-
                   tions violate any independent Constitutional prohibition, rather it
                   raises a Tenth Amendment2 challenge. As we have recently recon-
                   firmed, "the Tenth Amendment itself does not act as a constitutional
                   bar to Congress’s spending power; rather, the fourth restriction on
                   Congress’s spending power stands for the more general proposition
                   that Congress may not induce the states to engage in activities that
                   would themselves be unconstitutional." James Island Pub. Serv. Dist.
                   v. City of Charleston, 249 F.3d 323, 327 (4th Cir. 2001) (citing Kan-
                   sas v. United States, 214 F.3d 1196, 1199 (10th Cir. 2000)) (italics in
                   original). We therefore next consider South Carolina’s Tenth Amend-
                   ment argument, not as a limitation related to the Spending Clause, but
                   as an independent constitutional challenge.

                      South Carolina argues that the coercive effect of the Title IV-D
                   conditions run afoul of the protections of the Tenth Amendment. The
                   Supreme Court has recognized that the Tenth Amendment may be
                   implicated when the financial incentives offered by the federal gov-
                   ernment to the States cross the impermissible line where "pressure
                     1
                        Sullivan considered the relationship between child enforcement pro-
                   grams and Aid to Families with Dependent Children (AFDC). 496 U.S.
                   at 478. TANF is a block grant program established in 1996 as the succes-
                   sor to the AFDC program. See 42 U.S.C. §§ 601-618.
                      2
                        The Tenth Amendment states: "The powers not delegated to the
                   United States by the Constitution, nor prohibited by it to the States, are
                   reserved to the States respectively, or to the people." U.S. Const. amend.
                   X.
Case:
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                   6                        HODGES v. THOMPSON
                   turns into compulsion." See Dole, 483 U.S. at 211 (citations omitted).
                   Congress may use its Spending Power to influence a State’s legisla-
                   tive choices by providing incentives for States to adopt certain poli-
                   cies, but may not compel or coerce a State, or go so far as to
                   "commandeer the legislative processes of the States by directly com-
                   pelling them to enact and enforce a federal regulatory program." See
                   New York v. United States, 505 U.S. at 161, but Congress, under the
                   Commerce Clause, may offer the States a choice of regulation under
                   federal control or preemption under federal regulation. See Hodel v.
                   Virginia Surface Mining & Reclamation Assn., Inc., 452 U.S. 264,
                   288 (1981).

                      The district court found that, based on the State’s own admission,
                   the alternative penalty, which South Carolina has now elected, would
                   result in the loss of a small fraction of the State’s TANF funds and
                   that such a proportion was noncoercive. Given the linkages between
                   child support enforcement and aid to needy families and the level of
                   the alternative penalty, we agree with the district court’s conclusion
                   that "the Title IV-D conditions are not so overbearing as to create an
                   unconstitutional compulsion." Hodges, 121 F.2d at 875.

                      South Carolina next contends that the Secretary of the Department
                   of Health and Human Services (HHS) has the discretion to deviate
                   from the alternative penalty structure of Title VI-D in order to
                   respond to the peculiar circumstances that led to South Carolina’s
                   noncompliance. Specifically, South Carolina argues that its inability
                   to comply with the automated system and SDU requirements was
                   caused by the failure of its prime contractor, Unisys, to deliver on its
                   contract with the State. South Carolina maintains that because its non-
                   compliance was no fault of its own and its alternative systems are in
                   substantial compliance with the goals of the statute, the Secretary
                   abused her discretion by refusing to grant South Carolina an evidenti-
                   ary hearing and waive or amend the alternative penalty for noncom-
                   pliance.

                      We have examined the penalty provisions of the statute and, like
                   the district court, cannot find the discretion South Carolina envisions.
                   The wording of the statute is plain. Where the Secretary determines
                   that a state plan would be disapproved, and where the State has made
                   and continues to make a good faith effort to comply and has submit-
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                                             HODGES v. THOMPSON                            7
                   ted a corrective compliance plan, "the Secretary shall not disapprove
                   the State plan . . . and the Secretary shall reduce the amount other-
                   wise payable to the State [by the designated alternative penalty]." 42
                   U.S.C. § 655(a)(4)(A)(i)(II) (emphasis added). Again, we agree with
                   the district court that "[b]y the text of the statute, the legislature has
                   prescribed that the Secretary shall enforce this penalty." Hodges, 121
                   F.2d at 879. Absent any discretion available to the Secretary to
                   impose a lesser penalty than the alternative penalty as outlined in the
                   statute, South Carolina’s assertion that it is entitled to an evidentiary
                   hearing must also fail.3

                                                      III.

                      For the foregoing reasons, we are of opinion that the Title IV-D
                   provisions are constitutionally valid under the Spending Clause and
                   the Tenth Amendment and that the Secretary lacks discretion under
                   Title IV-D to deviate from the penalty provisions.

                     The judgment of the district court is accordingly

                                                                               AFFIRMED.

                     3
                      In the district court, South Carolina asserted a Due Process claim
                   which the district court denied. The court concluded that the "State can-
                   not invoke the protections of the Fifth Amendment with claims that [the
                   State] has been harmed." Hodges, 121 F.2d at 865. South Carolina does
                   not take issue with the district court’s holding, but rather, on appeal it
                   asserts that the State is entitled to assert a Due Process claim on behalf
                   of its citizens. Because this contention was never properly presented to
                   the district court, we do not consider it now. See McGowan v. Gillen-
                   water, 429 F.2d 586, 587 (4th Cir. 1970).
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                                             No. 10-10

                      In the Supreme Court of the United States

                               MICHAEL D. TURNER, PETITIONER
                                                  v.
                                   REBECCA L. ROGERS, ET AL.


                                     ON WRIT OF CERTIORARI
                            TO THE SUPREME COURT OF SOUTH CAROLINA



                       BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
                                  SUPPORTING REVERSAL




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                                    QUESTIONS PRESENTED

                         1. Whether the Court has jurisdiction to review the
                     decision of the South Carolina Supreme Court.
                         2. Whether due process requires that the State pro-
                     vide counsel, at its expense, to an indigent parent in a
                     child-support proceeding, when the parent is subject to
                     a civil-contempt order for non-payment that may lead to
                     confinement.




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                      In the Supreme Court of the United States
                                             No. 10-10
                                MICHAEL D. TURNER, PETITIONER
                                                 v.
                                   REBECCA L. ROGERS, ET AL.


                                     ON WRIT OF CERTIORARI
                            TO THE SUPREME COURT OF SOUTH CAROLINA



                       BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
                                  SUPPORTING REVERSAL



                               INTEREST OF THE UNITED STATES
                         This case concerns the due process protections that
                     apply in a state civil contempt proceeding for non-
                     payment of court-ordered child support. The state
                     child-support enforcement program at issue in the case,
                     like that in every other State, is part of one of the larg-
                     est cooperative federal-state programs, established un-
                     der the Social Services Amendments of 1974 (1975 Act),
                     Pub. L. No. 93-647, § 101(a), 88 Stat. 2351 (42 U.S.C. 651
                     et seq.) (adding Title IV-D to the Social Security Act).
                     The program, which is administered by the Secretary of
                     Health and Human Services (Secretary), provides that
                     States with approved plans for child and spousal support
                     that meet federal requirements are reimbursed by the
                     federal government for 66% of the costs of operating
                     their child-support enforcement programs. 42 U.S.C.

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                     655(a)(2)(C). The United States has a substantial inter-
                     est in the effective and equitable operation of such child-
                     support programs.
                                           STATEMENT
                         1. This case involves proceedings in South Carolina
                     family court to enforce a child-support order entered
                     against petitioner for the support of his and respondent
                     Rogers’ minor child. South Carolina, like every other
                     State, maintains a child-support enforcement program
                     as a condition of receiving federal funding for its Tempo-
                     rary Assistance for Needy Families program. Since
                     Congress first required States receiving federal funds to
                     undertake child-support enforcement efforts, it has
                     shifted its emphasis from a localized, court-based en-
                     forcement approach to centralized and automated ef-
                     forts. South Carolina, however, maintains a localized,
                     court-based approach to child-support enforcement.
                         a. Congress first required States receiving federal
                     funds to establish child-support enforcement programs
                     in 1950, pursuant to the Aid to Families with Dependent
                     Children (AFDC) program. See Social Security Act
                     Amendments of 1950, ch. 809, § 321(b), 64 Stat. 550 (re-
                     quiring States receiving AFDC funds to “provide for
                     prompt notice to appropriate law-enforcement officials
                     of the furnishing of aid to dependent children in respect
                     of a child who has been deserted or abandoned by a par-
                     ent”). In 1968, Congress required States participating
                     in AFDC to create statewide or local “organizational
                     unit[s]” for establishing paternity and collecting child
                     support. Social Security Amendments of 1967, Pub. L.
                     No. 90-248, § 201(a)(1), 81 Stat. 877-879. It also re-
                     quired States to “provide for entering into cooperative
                     arrangements with appropriate courts and law enforce-
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                     ment officials * * * to assist” with administration of
                     the program. Id. § 201(a)(1), 81 Stat. 879.
                         b. In 1975, Congress adopted Title IV-D, 42 U.S.C.
                     651 et seq., and established the general statutory frame-
                     work that exists today. See 1975 Act § 101(a), 88 Stat.
                     2351; Blessing v. Freestone, 520 U.S. 329, 333-335 (1997)
                     (describing program). The 1975 Act required States
                     participating in AFDC to “have in effect a plan ap-
                     proved” by the Secretary under Title IV-D and to “op-
                     erate a child support program in conformity with such
                     plan.” 1975 Act § 101(c)(5)(C), 88 Stat. 2360. In particu-
                     lar, each State was required to provide services to locate
                     noncustodial parents and to establish the paternity of,
                     and secure support for, children receiving AFDC bene-
                     fits. 42 U.S.C. 654(4).
                         Under the 1975 Act, AFDC recipients were required
                     to assign their support rights to the State and cooperate
                     in enforcement efforts. 42 U.S.C. 602(a)(26) (1976).
                     Amounts recovered generally were retained by the State
                     to reimburse it and the federal government for AFDC
                     assistance provided to the child’s family. 42 U.S.C.
                     657(b) (1976). Once assigned, the support obligation was
                     owed to the State and was collectible under all applica-
                     ble state processes. 42 U.S.C. 656(a)(1) (1976).1
                         The Secretary’s regulations implementing the 1975
                     Act reflected a localized, court-centered approach to
                     enforcement. States’ efforts to collect past-due child
                     support were required to include (“as applicable and
                     necessary”): “[c]ontempt proceedings to enforce an ex-
                     tant court order,” court-ordered wage garnishment, and
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                          Congress required States to provide services to non-AFDC families
                     as well, 42 U.S.C. 654(6) (1976), although those families were not requi-
                     red to assign their support rights and any child support the State collec-
                     ted was paid to the family, 42 U.S.C. 657(a)(4)(B) (1976).
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                     attachment of real and personal property. 45 C.F.R.
                     303.6 (1975). States were also required to maintain suf-
                     ficient staff (either statewide or locally) to “enforce col-
                     lection of support” by “executing contempt proceedings,
                     wage assignments, obtaining garnishment orders, at-
                     taching real and personal property, criminal prosecution
                     and executing judgments.” 45 C.F.R. 303.20(c)(7)
                     (1975).
                         c. In 1984, Congress found that there remained “a
                     critical lack of child support enforcement,” which had “a
                     critical impact on the health and welfare of the children
                     of the Nation.” Child Support Enforcement Amend-
                     ments of 1984 (1984 Amendments), Pub. L. No. 98-378,
                     § 23(a)(2) and (5), 98 Stat. 1329. The 1984 Amendments
                     required States to adopt laws and procedures providing
                     for, among other things, (i) mandatory wage withhold-
                     ing; (ii) expedited processes for obtaining and enforcing
                     support orders; (iii) state income tax refund intercepts;
                     and (iv) reporting overdue support to consumer credit
                     agencies. 42 U.S.C. 666(a)(1)-(8) and (b).
                         Congress ultimately set the federal share of reim-
                     bursable expenditures at 66%, 42 U.S.C. 655(a)(2), but
                     expanded the availability of matching funds at the 90%
                     level for (optional) State expenditures for automating
                     data processing systems to improve “the monitoring of
                     support payments, the maintenance of accurate records
                     regarding the payment of support, and the prompt pro-
                     vision of notice to appropriate officials with respect to
                     any arrearages in support payments which may occur.”
                     1984 Amendments § 6, 98 Stat. 1314; 42 U.S.C. 654(16);
                     655(a)(3)(A).
                         d. Congress amended Title IV-D again in 1988 to
                     improve the rate of child-support collection. Family
                     Support Act of 1988 (1988 Act), Pub. L. No. 100-485,
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                     102 Stat. 2343. Because effective child-support enforce-
                     ment “had long been thwarted by localized enforcement
                     systems that were unable to quickly and effectively
                     track delinquent parents who crossed county and state
                     lines,” Hodges v. Shalala, 121 F. Supp. 2d 854, 874
                     (D.S.C. 2000), aff ’d, 311 F.3d 316 (4th Cir. 2002), cert.
                     denied, 540 U.S. 811 (2003), Congress in the 1988 Act
                     emphasized centralized, automated record-keeping and
                     information retrieval in order to improve collection
                     rates. In particular, Congress mandated “automated
                     data processing and information retrieval system[s]”
                     that had previously been optional. 1988 Act § 123(a)(C),
                     102 Stat. 2352; 42 U.S.C. 654(24).
                         The Title IV-D regulations were amended after
                     adoption of the 1988 Act. As amended, the regulations
                     omitted specific references to contempt proceedings as
                     required means for enforcing child-support obligations.
                     See 45 C.F.R. 303.6, 303.20(c)(7) (1989);2 cf. pp. 3-4, su-
                     pra.
                         e. Finally, Congress made further changes to the
                     child-support enforcement system in the Personal Re-
                     sponsibility and Work Opportunity Reconciliation Act of
                     1996 (1996 Act), Pub. L. No. 104-193, 110 Stat. 2105,
                     which, among other things, replaced AFDC with the
                     block-grant program called Temporary Assistance for
                     Needy Families (TANF).3 Those changes again empha-
                     sized a centralized, automated approach to child-support

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                          Federal financial support remained available for “[e]nforcement of
                     a support obligation” through a variety of means, including contempt
                     citations. 45 C.F.R. 304.20(b)(3)(iv).
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                          The 1996 Act also imposed a five-year cap on benefits. 42 U.S.C.
                     608(a)(7). As before, a custodial parent is required to assign her rights
                     to child support to the State as part of the application for TANF assis-
                     tance. 42 U.S.C. 608(a)(3)(A).
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                     enforcement. The amended statute established detailed
                     requirements for the “statewide automated data pro-
                     cessing and information retrieval systems” made man-
                     datory in 1988. Id. § 344(a)(2), 110 Stat. 2235, 42 U.S.C.
                     654a(a). Among other things, the system must include
                     a state case registry that includes every child-support
                     case in the State, including the amount of monthly sup-
                     port owed and collected in all cases administered by the
                     state agency. 42 U.S.C. 654a(e)(1) and (4); see 42 U.S.C.
                     654a(e)(5) (States must “promptly * * * update” case
                     records when circumstances change). The States are
                     required to use their centralized databases “to the maxi-
                     mum extent feasible, to assist and facilitate the collec-
                     tion and disbursement of support payments,” including
                     by establishing wage-withholding orders and sending
                     wage-withholding notices to employers. 42 U.S.C.
                     654a(g)(1); see 42 U.S.C. 666(c).
                         f. Despite the changes in federal law, South Caro-
                     lina maintains a localized, court-based approach to child-
                     support enforcement. It is the only State that does not
                     have a certified automated system. See Office of Child
                     Support Enforcement, U.S. Dep’t of Health & Human
                     Servs., National Status of Automated Child Support
                     Systems, http://www.acf.hhs.gov/programs/cse/stsys/
                     certmap.htm.4
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                         In the 1996 Act, Congress determined that any State that failed to
                     automate its child-support program should incur substantial penalties.
                     42 U.S.C. 655(a)(4). In 2000, South Carolina unsuccessfully challenged
                     the Department of Health and Human Services’ (HHS) authority to
                     impose a penalty for its non-compliance, see Hodges v. Shalala, supra,
                     and subsequently submitted a corrective-action plan and accepted
                     imposition of a penalty retroactive to 1998. The State paid more than
                     $55 million in penalties through 2007. South Carolina Dep’t of Social
                     Servs., Response to Budget Proviso 13.27 at 4 (Aug. 31, 2007),
                     http://www.scstatehouse.gov/reports/DSS/Provisoresponse1327_
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                         Acting pursuant to express statutory authority, S.C.
                     Code Ann. § 43-5-235 (West Supp. 2009), the State’s De-
                     partment of Social Services has contracted with county
                     clerks of court across the State to administer its pro-
                     gram. The South Carolina courts have in turn adopted
                     a special rule governing child-support enforcement. See
                     S.C. Rule of Family Ct. 24 (S.C. Rule 24). The rule re-
                     quires clerks of court to review on a monthly basis “all
                     child support and periodic alimony accounts paid
                     through the clerk of court,” as are all accounts for chil-
                     dren whose custodial parent receives TANF assistance.
                     S.C. Rule 24(a); see 42 U.S.C. 608(a)(3)(A). When any
                     such account is in arrears, the clerk is required to “issue
                     a rule to show cause and an affidavit identifying the or-
                     der of the court which requires such payments to be
                     made and the amount of the arrearage [and] directing
                     the party in arrears to appear in court at a specific time
                     and date” to face contempt proceedings. S.C. Rule
                     24(b).
                         A “wilful[]” violation of a “lawful order” of a South
                     Carolina court constitutes contempt and may subject the
                     contemnor to up to 12 months confinement. S.C. Code
                     Ann. § 63-3-620 (West 2010).
                         2. Respondent Rogers and petitioner are the par-
                     ents of a minor child, B.L.P. In 2003, the family court in
                     Oconee County, South Carolina, entered an Order of
                     Financial Responsibility against petitioner. Although
                     the order noted that petitioner was unemployed, the
                     court imputed a gross monthly income of $1386 to him
                     and ordered him to pay $59.72 a week in child support
                     through the court. Pet. App. 22a; see id. at 19a-24a, 25a.

                     083107.doc. We are informed by HHS that the State has now paid a
                     total of more than $72 million in penalties to date and currently owes an
                     additional incurred penalty of more than $10 million for fiscal year 2010.
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                     Because respondent Rogers was receiving public assis-
                     tance, she assigned her right to collect child support to
                     the Department of Social Services. Pet. Br. 8; see id. at
                     9 n.6 (payments were remitted to respondent Rogers
                     starting in 2004 because her benefits had ended but her
                     case continued to be administered as a Title IV-D case).
                     Petitioner fell behind on his payments, received a num-
                     ber of rules to show cause from the court clerk why he
                     should not be held in contempt, and was jailed three
                     times as a result. Id. at 9-10.
                        By 2007, petitioner was $5728.76 behind on his child-
                     support payments, and a judge of the Oconee County
                     Family Court issued a bench warrant for his arrest.
                     Pet. App. 6a; Pet. Br. 8-9. A hearing was held on Janu-
                     ary 3, 2008. After noting petitioner’s outstanding bal-
                     ance and stating that he had not made a payment
                     since August 2006, the judge asked petitioner, “[i]s there
                     anything you want to say?” Id. at 17a. Petitioner re-
                     sponded:
                        Well, when I first got out, I got back on dope. I done
                        meth, smoked pot and everything else, and I paid a
                        little bit here and there. And, when I finally did get
                        to working, I broke my back, back in September. I
                        filed for disability and SSI. And, I didn’t get
                        straightened out off the dope until I broke my back
                        and laid up for two months. And, now I’m off the
                        dope and everything. I just hope that you give me a
                        chance. I don’t know what else to say. I mean, I
                        know I done wrong, and I should have been paying
                        and helping her, and I’m sorry. I mean, dope had a
                        hold to me.
                     Ibid.
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                        After a brief exchange between petitioner and re-
                     spondent about his SSI application, the court said:
                        If there’s nothing else, this will be the Order of the
                        Court. I find the Defendant in willful contempt. I’m
                        gonna sentence him to twelve months in the Oconee
                        County Detention Center. He may purge himself of
                        the contempt and avoid the sentence by having a zero
                        balance on or before his release.
                     Pet. App. 18a. The court made no finding that petitioner
                     was capable of paying the arrears while incarcerated.
                     See id. at 17a-18a.
                         At this hearing, neither petitioner nor respondent
                     Rogers was represented by counsel. Pet. App. 6a. How-
                     ever, pro bono counsel filed an appeal on petitioner’s
                     behalf, alleging that petitioner had a right under the
                     Sixth Amendment and the Due Process Clause to have
                     appointed counsel in the contempt proceeding. Id. at
                     10a-15a. Before the intermediate state court could rule,
                     the South Carolina Supreme Court granted discretion-
                     ary review and affirmed the family court. Id. at 1a-5a.
                         The court noted that the “purpose of civil contempt
                     is to coerce the defendant to comply with the court’s or-
                     der,” while criminal contempt’s purpose is “to punish a
                     party for disobedience or disrespect.” Pet. App. 2a-3a.
                     “Civil contempt sanctions are conditioned on compliance
                     with the court’s order. * * * A contemnor imprisoned
                     for civil contempt is said to hold the keys to his cell be-
                     cause he may end the imprisonment and purge himself
                     of the sentence at any time.” Id. at 3a. The court recog-
                     nized that the “distinction between civil and criminal
                     contempt is crucial because criminal contempt triggers
                     additional constitutional safeguards not mandated in
                     civil contempt proceedings.” Ibid.
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                        The court noted that in this case the family court had
                     said that petitioner could “purge himself of the con-
                     tempt” by achieving a “zero balance” on his arrearage.
                     Pet. App. 3a. Reasoning that “[t]his conditional sen-
                     tence is a classic civil contempt sanction,” the court con-
                     cluded that petitioner had no right to appointed counsel.
                     Ibid.
                                    SUMMARY OF ARGUMENT
                         1. The Court has jurisdiction to review the decision
                     of the South Carolina Supreme Court. Petitioner has
                     completed his term of confinement for civil contempt
                     and has not identified any collateral consequences flow-
                     ing from the contempt. Those facts would ordinarily
                     render his case moot. Petitioner, however, qualifies for
                     a narrow exception to the mootness doctrine because the
                     controversy is capable of repetition yet evading review.
                     Sentences for civil contempt in South Carolina are lim-
                     ited to 12 months, and it is highly unlikely that peti-
                     tioner would be able to secure plenary review by this
                     Court within any future period of confinement. In addi-
                     tion, the constitutional violation petitioner asserts is
                     capable of repetition because he remains subject to the
                     underlying child-support order and still has substantial
                     arrears. There is thus a reasonable expectation that he
                     will receive automatically-generated rules to show cause
                     for contempt in the future. Indeed, since the contempt
                     at issue in this case, petitioner has been jailed again for
                     civil contempt.
                         2. Petitioner’s confinement for civil contempt vio-
                     lated due process, not because he lacked counsel, but
                     because the procedures employed by the family court
                     were inadequate to ensure the accurate determination of
                     petitioner’s present ability to pay his child-support ar-
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                     rears. That ability to pay was a necessary predicate to
                     the civil contempt sanction.
                         The defining feature of confinement for civil con-
                     tempt is its purpose to coerce compliance with a court
                     order. Such confinement must therefore end upon dis-
                     charge of the contemnor’s obligations; he is said to hold
                     “the keys of [his] prison in [his] own pocket[].” Shilli-
                     tani v. United States, 384 U.S. 364, 368 (1966) (citation
                     omitted). Such confinement may not be imposed, how-
                     ever, where the contemnor demonstrates his inability to
                     comply with the order. In such cases, he does not truly
                     hold the keys to the prison; to confine him nonetheless
                     would render the confinement punitive and thus a sanc-
                     tion that may be imposed only after compliance with
                     criminal case safeguards.
                         The question of petitioner’s ability to pay his child-
                     support arrears therefore should have been a focus of
                     the civil contempt proceeding, but it was not. Pro se
                     petitioner was afforded no meaningful opportunity to
                     establish his indigency, and even after he made a state-
                     ment that could have easily been understood to mean he
                     had no present ability to pay nearly $6000 to avoid jail,
                     the family court judge made no further inquiry on the
                     matter before committing him to a nominally conditional
                     term of confinement.
                         The proceeding did not comply with due process be-
                     cause there was a serious risk of erroneous deprivation
                     of petitioner’s liberty through the procedures employed
                     and because additional procedures would have enhanced
                     the accuracy of the proceeding without materially im-
                     pinging on any governmental interest. See Mathews v.
                     Eldridge, 424 U.S. 319, 335 (1976). Provision of counsel
                     would have been a sufficient, but not a necessary, means
                     of satisfying due process in this case. There were other
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                     means of providing petitioner with a meaningful oppor-
                     tunity to establish his present inability to pay, such as
                     asking him to complete an understandable form seeking
                     his financial information, or asking him questions on the
                     topic as necessary at a hearing. In the typical case, pro-
                     viding basic information about one’s personal finances is
                     not the kind of undertaking that requires assistance of
                     counsel, and due process protections are based on the
                     requirements of the mine-run case, not the exceptional
                     one.
                         There is no basis for petitioner’s proposed categori-
                     cal due process right to appointed counsel in civil con-
                     tempt proceedings where confinement is imposed. The
                     Court has declined to recognize a categorical constitu-
                     tional right to appointed counsel in the context of other
                     non-criminal proceedings that can result in confinement.
                     Gagnon v. Scarpelli, 411 U.S. 778, 782-790 (1973) (pro-
                     bation revocation); Middendorf v. Henry, 425 U.S. 25, 43
                     (1976) (summary court-martial). Civil contempt pro-
                     ceedings in child-support cases are relatively brief; the
                     custodial parent may not be represented by counsel; and
                     the issues in dispute are generally not complex. Given
                     those circumstances, there is no warrant for recognizing
                     a categorical right to defense counsel in such proceed-
                     ings. Finally, recognizing a due process right to counsel
                     in such proceedings would upset the balance struck by
                     Title IV-D and its implementing regulations, both of
                     which stress the importance of due process protections
                     in child-support proceedings but neither of which permit
                     federal funding for provision of counsel.
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                                            ARGUMENT
                     I.   THE COURT HAS JURISDICTION TO REVIEW THE DE-
                          CISION OF THE SOUTH CAROLINA SUPREME COURT
                         Although petitioner has completed his term of con-
                     finement for the civil contempt at issue here, his claim is
                     not moot because he remains subject to the underlying
                     child-support order and because there is a reasonable
                     expectation that he will face future contempt proceed-
                     ings. His claim thus avoids mootness because it is capa-
                     ble of repetition yet evading review. This Court thus
                     has jurisdiction to review the final judgment of the
                     South Carolina Supreme Court. See 28 U.S.C. 1257(a).
                         1. “In general a case becomes moot when the issues
                     presented are no longer ‘live’ or the parties lack a le-
                     gally cognizable interest in the outcome.” Murphy v.
                     Hunt, 455 U.S. 478, 481 (1982) (internal quotation marks
                     omitted) (quoting United States Parole Comm’n v.
                     Geraghty, 445 U.S. 388, 396 (1980)). While a currently
                     confined individual’s challenge to his confinement gener-
                     ally presents no question of mootness, an individual who
                     has been released from confinement ordinarily may con-
                     tinue to press his challenge only if he suffers some “col-
                     lateral consequence” that constitutes a “concrete
                     and continuing injury.” Spencer v. Kemna, 523 U.S. 1,
                     7 (1998). Because this Court “ha[s] been willing to pre-
                     sume that a wrongful conviction has continuing collat-
                     eral consequences,” the Court ordinarily will not dismiss
                     as moot a criminal defendant’s challenge to his convic-
                     tion once the defendant has completed his term of im-
                     prisonment. Id. at 8. But the Court has not employed
                     that presumption in other contexts, instead requiring a
                     party not in custody to demonstrate that he will actually
                     face collateral consequences if he does not secure relief
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                     on appeal. See id. at 14 (no presumption of collateral
                     consequences for parole revocation); see also id. at 14-16
                     (reviewing party’s claimed collateral consequences).
                         Petitioner has completed his term of confinement for
                     civil contempt. Because he challenges a civil order, not
                     a criminal conviction, no presumption of collateral conse-
                     quences applies. Moreover, petitioner has not identified
                     any collateral consequences flowing from the finding of
                     civil contempt. Ordinarily, petitioner’s challenge to that
                     finding would be considered moot and beyond this
                     Court’s jurisdiction.
                         2. Petitioner’s claim in this case, however, avoids
                     mootness because his is one of the “exceptional situa-
                     tions” in which a claim is capable of repetition, yet evad-
                     ing review. City of L.A. v. Lyons, 461 U.S. 95, 109
                     (1983). In non-class actions, this doctrine requires satis-
                     faction of two elements: “(1) the challenged action was
                     in its duration too short to be fully litigated prior to its
                     cessation or expiration, and (2) there [is] a reasonable
                     expectation that the same complaining party would be
                     subjected to the same action again.” Murphy, 455 U.S.
                     at 482 (quoting Weinstein v. Bradford, 423 U.S. 147, 149
                     (1975) (per curiam)). Petitioner satisfies both elements.
                         First, confinement for civil contempt in South
                     Carolina is limited to 12 months, S.C. Code Ann.
                     § 63-3-620 (West 2010), and it is exceedingly unlikely
                     that a contemnor could appeal through the South
                     Carolina court system, petition this Court for a writ of
                     certiorari, and receive a decision on his claim within
                     such a limited time period. See, e.g., First Nat’l Bank v.
                     Bellotti, 435 U.S. 765, 774 (1978) (18 months was “too
                     short a period of time for appellants to obtain complete
                     judicial review”); cf. DeFunis v. Odegaard, 416 U.S. 312,
                     319 (1975) (per curiam) (future challenge to law school
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                     admission procedure could likely come to this Court for
                     decision within three-year period of law school matricu-
                     lation). Indeed, in this case, petitioner had completed
                     his term of imprisonment for civil contempt more than
                     a year before the South Carolina Supreme Court ren-
                     dered its decision. Compare Pet. App. 8a with id. at 1a.
                         Second, petitioner “can make a reasonable showing
                     that he will again be subjected to the alleged illegality.”
                     Lyons, 461 U.S. at 109. Petitioner is still subject to the
                     underlying order for child support, and he is nearly
                     $14,000 in arrears. Pet. Br. 15; J.A. 104a. Given that
                     clerks of court in South Carolina automatically issue
                     rules to show cause when a non-custodial parent is late
                     on a required payment, there is a reasonable expectation
                     that petitioner will again be subject to contempt pro-
                     ceedings. Indeed, after he was released from jail for the
                     contempt at issue here, petitioner was again held in con-
                     tempt and reincarcerated. In May 2010 yet another rule
                     to show cause for contempt issued due to failure to pay
                     support to respondent. Pet. Br. 13-15; see id. at 15 (May
                     2010 rule to show cause is still outstanding); see also
                     Olmstead v. L.C., 527 U.S. 581, 594 n.6 (1999) (suit by
                     plaintiffs seeking community-based services rather than
                     institutionalization not moot even though they were then
                     receiving desired services, because of “the multiple in-
                     stitutional placements [they] ha[d] experienced”). This
                     is thus far from “an abstract dispute about the law” that
                     might be thought “unlikely to affect [petitioner] any
                     more than it affects other [South Carolina] citizens.”
                     Alvarez v. Smith, 130 S. Ct. 576, 580 (2009).5
                       5
                         That petitioner was represented by pro bono counsel in a subse-
                     quent contempt proceeding involving a different support order, see Pet.
                     Br. 15 n.10, does not mean his claim is incapable of repetition. Were pro
                     bono counsel bound to represent petitioner in every future contempt
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                     II. THE ABSENCE OF ADEQUATE PROCEDURES NECES-
                         SARY TO SECURE AN ACCURATE ADJUDICATION OF
                         CIVIL CONTEMPT VIOLATED DUE PROCESS
                         The validity of the civil contempt order against peti-
                     tioner turned on a critical fact: his present ability to
                     purge himself of contempt by paying off his past-due
                     child support. The family court’s procedures in this case
                     violated due process because they were inadequate to
                     ensure an accurate determination of that fact and thus
                     prevent an erroneous deprivation of petitioner’s liberty.
                     Although provision of government-provided counsel
                     would have been a sufficient means of complying with
                     due process requirements in this case, it was not a nec-
                     essary one. Other mechanisms, such as requiring an
                     affidavit for disclosure of financial information and a
                     preliminary assessment of petitioner’s current ability to
                     pay child support, would have satisfied the requirements
                     of due process.
                         A. Confinement For Civil Contempt Is Permitted Only
                            When The Contemnor Is Presently Able To Comply With
                            The Underlying Order
                        Both civil and criminal contempt can lead to confine-
                     ment, but this Court has long distinguished the two
                     based on the “character and purpose” of the sanction
                     imposed. Gompers v. Buck’s Stove & Range Co., 221
                     U.S. 418, 441 (1911). In civil contempt, the “punishment
                     * * * [is] remedial,” in that it is intended to “coerc[e]

                     proceeding, then his claim of entitlement to the assistance of counsel
                     would be moot. There is no indication in the record, however, that pro
                     bono counsel is under any such obligation, and, in fact, counsel did not
                     appear in a 2009 contempt proceeding involving support owed respon-
                     dent, see id. at 13-14 (noting that petitioner appeared pro se in 2009 and
                     served six months for civil contempt).
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                     the defendant to do what he had refused to do.” Id. at
                     442. Punishment for criminal contempt, on the other
                     hand, is “punitive” and is imposed “to vindicate the au-
                     thority of the court.” Id. at 441.
                         Because of that fundamental distinction, confinement
                     imposed for civil contempt is conditional. The sentence
                     must include a purge clause under which the contemnor
                     will be immediately released upon compliance with the
                     underlying court order. Hicks v. Feiock, 485 U.S. 624,
                     634 (1988). When confined under such a civil contempt
                     order, the contemnor holds “the keys of [his] prison in
                     [his] own pocket[ ].” Shillitani v. United States, 384
                     U.S. 364, 368 (1966) (citation omitted); see id. at 370
                     (“While any imprisonment, of course, has punitive and
                     deterrent effects, it must be viewed as remedial if the
                     court conditions release upon the contemnor’s willing-
                     ness” to comply with a court order.).
                         A purge clause by itself, however, will not render the
                     contemnor’s confinement remedial rather than punitive
                     because “the justification for coercive imprisonment as
                     applied to civil contempt depends upon the ability of the
                     contemnor to comply with the court’s order.” Shillitani,
                     384 U.S. at 370-371. Accordingly, “punishment may not
                     be imposed in a civil contempt proceeding when it is
                     clearly established that the alleged contemnor is unable
                     to comply with the terms of the order.” Hicks, 485 U.S.
                     at 638 n.9; see Maggio v. Zeitz, 333 U.S. 56, 72 (1948)
                     (“[T]o jail one for a contempt for omitting an act he is
                     powerless to perform would * * * make the proceeding
                     purely punitive, to describe it charitably.”); see also
                     Moseley v. Mosier, 306 S.E.2d 624, 626 (S.C. 1983)
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                     (“When the parent is unable to make the required pay-
                     ments, he is not in contempt.”).6
                         The burdens of production and persuasion may be
                     placed on the defendant to demonstrate his present in-
                     ability to comply with an order. See Hicks, 485 U.S. at
                     637; United States v. Rylander, 460 U.S. 752, 757 (1983).
                     Accordingly, if the defendant “offers no evidence as to
                     his inability to comply,” “stands mute,” or is disbelieved
                     by the court, then he fails to carry his burden and may
                     be held in contempt. Maggio, 333 U.S. at 75. But the
                     trial court “is obliged” to consider “all the evidence
                     properly before it in the contempt proceeding in deter-
                     mining whether or not there is actually a present ability
                     to comply and whether failure so to do constitutes delib-
                     erate defiance which a jail term will break.” Id. at 76.
                         If, upon examination, a contempt penalty is consid-
                     ered punitive rather than remedial, it will be vacated
                     unless all “the protections that the Constitution requires
                     of * * * criminal proceedings” were provided. Inter-
                     national Union, United Mine Workers v. Bagwell, 512
                     U.S. 821, 826 (1994) (quoting Hicks, 485 U.S. at 632).




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                          A defendant may not avoid a finding of civil contempt for violating
                     an order by collaterally attacking that order in the contempt proceed-
                     ing. See Maggio, 333 U.S. at 74-75. The defendant may, however,
                     make the distinct assertion that he has a “present inability to comply
                     with the order in question.” United States v. Rylander, 460 U.S. 752,
                     757 (1983); see ibid. (“While the court is bound by the enforcement
                     order, it will not be blind to evidence that compliance is now factually
                     impossible. Where compliance is impossible, neither the moving party
                     nor the court has any reason to proceed with the civil contempt
                     action.”); Maggio, 333 U.S. at 74-75.
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                        B. The Family Court’s Procedures Were Inadequate To
                           Ensure An Accurate Determination Of Present Ability
                           To Pay
                         The procedures employed by the family court vio-
                     lated petitioner’s due process rights because they were
                     inadequate to ensure that petitioner was not erroneously
                     confined as an inducement to perform a task he was
                     powerless to perform, while additional procedures to
                     ensure petitioner’s present ability to pay his child-sup-
                     port arrears would have been minimally burdensome.
                         “Procedural due process imposes constraints on gov-
                     ernmental decisions which deprive individuals of ‘lib-
                     erty’ or ‘property’ interests within the meaning of the
                     Due Process Clause of the Fifth or Fourteenth Amend-
                     ment.” Mathews v. Eldridge, 424 U.S. 319, 332 (1976).
                     Confinement for civil contempt is a deprivation of lib-
                     erty, and the alleged contemnor is thus entitled to pro-
                     cedural due process protections before its imposition.
                     Cf. Morrissey v. Brewer, 408 U.S. 471, 482 (1972) (termi-
                     nation of parole triggers due process protections); see
                     also Bagwell, 512 U.S. at 827 (civil contempt requires
                     “notice and an opportunity to be heard”).
                         The conclusion that due process applies is the begin-
                     ning of the inquiry, not its end, because “the require-
                     ments of due process are ‘flexible and cal[l] for such
                     procedural protections as the particular situation de-
                     mands.’ ” Wilkinson v. Austin, 545 U.S. 209, 224 (2005)
                     (brackets in original) (quoting Morrissey, 408 U.S. at
                     481). The Court has “generally * * * declined to es-
                     tablish rigid rules and instead ha[s] embraced a frame-
                     work to evaluate the sufficiency of particular proce-
                     dures.” Ibid. That framework involves “consideration
                     of three distinct factors:
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                        First, the private interest that will be affected by the
                        official action; second, the risk of an erroneous depri-
                        vation of such interest through the procedures used,
                        and the probable value, if any, of additional or substi-
                        tute procedural safeguards; and finally, the Govern-
                        ment’s interest, including the function involved and
                        the fiscal and administrative burdens that the addi-
                        tional or substitute procedural requirements would
                        entail.
                     Mathews, 424 U.S. at 335.
                         Application of the Mathews factors here demon-
                     strates that the family court proceeding did not comply
                     with the requirements of procedural due process. First,
                     petitioner’s private interest in avoiding incarceration
                     was significant. See Foucha v. Louisiana, 504 U.S. 71,
                     80 (1992).
                         Second, there was a serious “risk of an erroneous
                     deprivation” of petitioner’s liberty interest under the
                     procedures employed by the family court, and there
                     would have been value in additional procedures.
                     Mathews, 424 U.S. at 335. Petitioner did not dispute
                     that he had failed to comply with his child-support or-
                     der, so the propriety of his confinement for civil con-
                     tempt thus turned on his present ability to do so. See
                     pp. 17-18, supra; Pet. Br. 3-4 (petitioner’s ability to pay
                     “was the precise question before the family court”); id.
                     at 17. But South Carolina automatically referred peti-
                     tioner for contempt proceedings without considering
                     whether petitioner was employed or had assets. At the
                     contempt hearing, the court solicited no financial infor-
                     mation from petitioner, nor was there apparently any
                     mechanism in place for him to provide it on his own. Pe-
                     titioner’s statement at the hearing that he had been un-
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                     able to work because he broke his back, Pet. App. 17a,
                     could reasonably be understood to constitute a claim
                     that he had no present ability to pay nearly $6000. The
                     court did not explore this question, however; it made no
                     inquiry into petitioner’s income or assets. Instead, the
                     court imposed a jail sentence unaccompanied by any
                     finding that petitioner had the ability to pay off his out-
                     standing balance from a jail cell.7 Taking additional
                     modest steps to determine whether petitioner had the
                     present ability to discharge his obligation, see pp. 24-25,
                     infra, would have improved the accuracy of the proceed-
                     ing.
                         Finally, the government’s interests also favor addi-
                     tional procedural safeguards to ensure that only those
                     parents with a present ability to pay are confined for
                     civil contempt. While the State has a strong interest in
                     enforcing child-support orders, it secures no benefit
                     from jailing a non-custodial parent who cannot discharge
                     his obligation. The period of incarceration makes it less,
                     rather than more, likely that such parent will be able to
                     pay child support. See Elizabeth G. Patterson, Civil
                     Contempt & the Indigent Child Support Obligor: The
                     Silent Return of Debtor’s Prison, 18 Cornell J.L. & Pub.
                     Pol’y 95, 126 (2008) (Civil Contempt). Meanwhile, the
                     State incurs the substantial expense of confinement.
                         Moreover, as a general matter, the routine use of
                     contempt for non-payment of child support is likely to be
                     an ineffective strategy for enforcing support orders.
                     See National Child Support Enforcement, U.S. Dep’t
                     of Health & Human Servs., Strategic Plan: FY 2005-
                     2009, at 2, 10 (Strategic Plan), http://www.acf.hhs.gov/
                       7
                         The judge told petitioner, “[i]f you’ve got a job, I’ll make you eli-
                     gible for work release,” Pet. App. 18a, but petitioner states he was ineli-
                     gible for work release, Pet. Br. 12 n.8.
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                     programs/cse/pubs/2004/Strategic_Plan_FY2005-2009.
                     pdf. While child-support recovery efforts once “followed
                     a business model predicated on enforcement” that “in-
                     tervened only after debt, at times substantial, accumu-
                     lated and often too late for collection to be successful, let
                     alone of real value to the child,” experience has shown
                     that alternative methods—such as order modifications,
                     increased contact with non-custodial parents, and use of
                     “automation to detect non-compliance as early as possi-
                     ble”—are more effective. Id. at 2.
                         A substantial portion of child-support obligors have
                     no or low reported income. Elaine Sorensen et al., As-
                     sessing Child Support Arrears in Nine Large States &
                     the Nation 22 (2007) (Assessing Child Support Arrears),
                     http://aspe.hhs.gov/hsp/07/assessing-CS-debt/report.pdf
                     (obligors with $10,000 or less in annual income consti-
                     tuted half of the child-support obligors and owed 70% of
                     the arrears in a nine-state study). Such individuals’
                     child-support obligations are often substantial. See id.
                     at 54 (“For obligors with reported income of $10,000 a
                     year or less, the median percent of reported income that
                     was due as current support was 83[%].”). A low-income
                     individual in arrears on child-support payments is
                     “rarely a candidate for civil incarceration because of the
                     likelihood that he or she is unable to pay the hefty sum
                     represented by the accumulated arrears, or even a por-
                     tion thereof that may be set by the court as the purge
                     amount.” Civil Contempt 116.8

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                         To be sure, coercive enforcement remedies, such as contempt, have
                     a role to play in child-support enforcement efforts, such as with non-
                     custodial parents who are hiding assets or unreported self-employment
                     or under-the-table income. See Strategic Plan 2; Assessing Child
                     Support Arrears 4-5, 22-23, 25; Civil Contempt 97. There is no evi-
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                         Many States have taken alternative steps to avoid
                     child-support arrears, such as establishing more realis-
                     tic support orders, “increas[ing] parental participation
                     in the order establishment process,” providing employ-
                     ment services to non-custodial parents, or using automa-
                     tion tools to improve wage withholding. Assessing Child
                     Support Arrears 10-11, 80-89; see id. at 85 (study of
                     Florida program that provides employment services and
                     case management to non-custodial parents found that
                     program participants paid nearly five dollars in child
                     support for every dollar spent on the program). Such
                     alternatives, which focus on early intervention rather
                     than after-the-fact efforts to collect substantial accumu-
                     lated arrears, are more likely to be effective means of
                     enforcing the child-support obligations of the substantial
                     number of low-income obligors. See Strategic Plan 2.
                        C. Due Process Can Be Satisfied By A Variety Of Proce-
                           dures Intended To Assure An Accurate Determination Of
                           Present Ability To Pay In A Civil Contempt Proceeding
                         Petitioner argues that, in order to ensure that his
                     civil contempt proceeding “remain[ed] civil,” Pet. Br. 39,
                     due process required the appointment of counsel to as-
                     sist him in establishing his inability to comply with the
                     court’s order, see id. at 41. Although we agree that peti-
                     tioner’s due process rights were violated, we disagree
                     that the State’s failure to appoint counsel was itself the
                     basis of the violation. Appointment of counsel is cer-
                     tainly one way to help ensure an accurate determination
                     of the obligor’s current ability to pay—the determina-
                     tion on which the “civil” nature of a civil contempt sanc-
                     tion rests—but it is not the only way. It was the State’s

                     dence, however, that routine use of contempt among low-income non-
                     custodial parents is generally effective. See Civil Contempt 126.
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                     failure to provide any meaningful mechanism for making
                     that determination in this case, and not its failure to
                     provide counsel in particular, that violated petitioner’s
                     due process rights.9
                             1. Courts can comply with due process by providing a
                                meaningful opportunity for an alleged contemnor to
                                establish his present ability to pay
                         While there is no basis for a constitutional rule cate-
                     gorically requiring appointment of counsel in all civil
                     contempt that could lead to deprivation of physical lib-
                     erty, see pp. 25-32, infra, due process does require pro-
                     cedures sufficient to ensure fundamental fairness. In
                     the context of a civil contempt proceeding for non-pay-
                     ment of child support that could lead to confinement,
                     this means procedures adequate to allow a pro se con-
                     temnor to attempt to carry his burden of establishing his
                     present inability to pay.
                         Such procedures may include requiring a non-paying
                     parent to complete an understandable form seeking fi-
                     nancial information. South Carolina already requires

                       9
                          Although petitioner’s submissions below and in this Court have
                     focused on the value of appointed counsel in ensuring that indigent
                     child-support obligors are not erroneously jailed as a means of inducing
                     them to comply with their obligations, see, e.g., Pet. i, Pet. App. 13a,
                     fairly encompassed in those submissions is the proposition that due
                     process demands an appropriate procedure to evaluate an obligor’s
                     present ability to pay. See Sup. Ct. R. 14.1(a); Yee v. City of Escondido,
                     503 U.S. 519, 534 (1992). In conducting that inquiry, it should be open
                     to the Court to consider whether there are alternative procedures,
                     other than the specific procedure petitioner has proposed, that would
                     satisfy constitutional requirements. To the extent the Court concludes
                     otherwise, however, the proper course would be to dismiss the writ of
                     certiorari as improvidently granted and await a case that expressly
                     raises a broader due process claim.
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                     noncustodial parents to fill out such a form when a sup-
                     port order is originally sought in a Title IV-D case, see
                     S.C. Code Ann. § 43-5-220(c) (West Supp. 2009), but ap-
                     parently does not do so in subsequent contempt proceed-
                     ings. Requiring that such forms be completed at the
                     outset of a contempt proceeding would impose little ex-
                     pense on the State or burden on the proceeding while
                     materially advancing the accuracy of the court’s deter-
                     mination. Such information could by itself establish the
                     contemnor’s present inability to pay his arrears or, con-
                     versely, demonstrate his ability to pay. To the extent
                     the court had questions about the information on the
                     form or disbelieved it, the court could question the
                     contemnor about his finances at the contempt hearing.
                     Such simple, minimally burdensome procedures would
                     enable the court to evaluate whether the alleged
                     contemnor has the ability to pay his arrears and is thus
                     an appropriate candidate for a civil contempt sanction.
                           2. There is no basis for an inflexible right to counsel
                              rule in civil contempt proceedings
                         Although the constitutional inadequacy of the family
                     court’s procedures could have been cured by appoint-
                     ment of counsel (who presumably would have addressed
                     petitioner’s inability to pay his arrears and urged the
                     court not to jail him for that reason), appointment of
                     counsel was not constitutionally compelled.
                         a. “The very nature of due process negates any con-
                     cept of inflexible procedures universally applicable to
                     every imaginable situation.” Lujan v. G&G Fire Sprin-
                     klers, Inc., 532 U.S. 189, 196 (2001) (quoting Cafeteria &
                     Rest. Workers v. McElroy, 367 U.S. 886, 895 (1961)); see
                     Mathews, 424 U.S. at 334 (“[D]ue process is flexible and
                     calls for such procedural protections as the particular
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                     situation demands.”) (brackets in original) (quoting
                     Morrissey, 408 U.S. at 481). The question in a due pro-
                     cess case is how to ensure a fundamentally fair proceed-
                     ing, taking into account the importance of the private
                     interest at issue, the risk of error and value of additional
                     procedures, and the government’s interest. See id. at
                     335. This is not an inquiry that typically lends itself to
                     the kind of categorical approach advocated by petition-
                     er. See Gagnon v. Scarpelli, 411 U.S. 778, 789 (1973)
                     (contrasting categorical Sixth Amendment right to coun-
                     sel in criminal prosecution “with the more limited due
                     process right” in other contexts).10
                         In fact, in areas outside traditional criminal prosecu-
                     tions where an individual’s liberty is nonetheless at
                     stake, the Court has declined to recognize a categorical
                     right to counsel, instead relying on alternative proce-
                     dural safeguards to ensure due process. See Gagnon,
                     411 U.S. at 782-790; see also Middendorf v. Henry, 425
                     U.S. 25, 43 (1976) (no due process right to counsel for
                     summary courts-martial).11 For example, in Gagnon,

                       10
                          The Sixth Amendment right to counsel is inapplicable to a civil
                     contempt proceeding because it is not a “criminal prosecution[ ].” U.S.
                     Const. Amend. VI; see Bagwell, 512 U.S. at 826-827.
                       11
                          In In re Gault, 387 U.S. 1 (1967), the Court recognized a due pro-
                     cess right to appointed counsel in a juvenile delinquency proceeding,
                     but, as the Court later explained, that was because the proceeding
                     “while denominated civil, was functionally akin to a criminal trial.”
                     Gagnon, 411 U.S. at 789 n.12. In Vitek v. Jones, 445 U.S. 480 (1980), a
                     plurality would have held that there is a due process right to counsel
                     before a State involuntarily transfers a prisoner to a state mental
                     hospital for psychiatric treatment. See id. at 497. Justice Powell’s con-
                     trolling concurrence, however, disagreed, concluding that “the fairness
                     of an informal hearing designed to determine a medical issue” does not
                     “require[] participation by lawyers.” Id. at 500. Justice Powell agreed
                     that a prisoner “required assistance” in such a proceeding to ensure
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                     the Court held that due process required the govern-
                     ment to provide a preliminary and final hearing before
                     it could incarcerate an individual for violating the terms
                     of his probation. See 411 U.S. at 782; see also id. at 785-
                     786 (hearings necessary in order to provide notice of the
                     alleged probation violation and ensure “accurate finding
                     of fact and the informed use of discretion”). At the same
                     time, however, the Court rejected the “contention that
                     the State is under a constitutional duty to provide coun-
                     sel for indigents in all probation or parole revocation
                     cases.” Id. at 787; see id. at 790 (stating that due pro-
                     cess may require appointment of counsel in exceptional
                     cases). The Court recognized that “such a rule has the
                     appeal of simplicity” but concluded that “it would impose
                     direct costs and serious collateral disadvantages without
                     regard to the need or the likelihood in a particular case
                     for a constructive contribution by counsel.” Id. at 787.
                         The Court in Gagnon noted that in many cases a pro-
                     bationer’s mitigating evidence may be “so simple as not
                     to require either investigation or exposition by counsel.”
                     411 U.S. at 787. Here too, with the provision of easy-to-
                     understand forms on assets and income and, if neces-
                     sary, a colloquy with the trial court, it will often be sim-
                     ple for a delinquent child-support obligor to demon-
                     strate his present inability to discharge his obligation
                     without the assistance of appointed counsel. Indeed,
                     even in criminal cases to which the Sixth Amendment
                     right of counsel applies, defendants are not entitled to
                     government-appointed counsel for the purpose of filling
                     out the forms routinely used to establishing their finan-
                     cial eligibility for government-appointed counsel. See


                     fairness, but said that it could be “rendered by competent laymen in
                     some cases.” Ibid.
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                     18 U.S.C. 3006A(b) (counsel will be appointed only after
                     court is “satisfied after appropriate inquiry that the per-
                     son is financially unable to obtain counsel”); United
                     States v. Bauer, 956 F.2d 693, 695 (7th Cir.) (“Under the
                     Criminal Justice Act, the public fisc need not contribute
                     one penny unless the accused first establishes that he
                     cannot afford counsel. Nothing in the statute directs the
                     Treasury to assist the accused in making this determina-
                     tion.”), cert. denied, 506 U.S. 882 (1992). Just as “[n]o
                     legal expertise is needed to participate effectively in
                     hearings under the Criminal Justice Act,” ibid., no legal
                     expertise is generally required to establish inability to
                     pay child-support arrears.
                         Gagnon also expressed concern that “[t]he introduc-
                     tion of counsel into a revocation proceeding will alter
                     significantly the nature of the proceeding,” since the
                     States typically relied on probation officers to conduct
                     revocation hearings but might turn to attorneys if all
                     probationers were represented. 411 U.S. at 787. “[T]he
                     decisionmaking process will be prolonged, and the finan-
                     cial cost to the State * * * will not be insubstantial.”
                     Id. at 788. In the context of civil contempt for child sup-
                     port as well, automatic appointment of counsel could
                     delay the proceedings, create an asymmetry in repre-
                     sentation between non-custodial parents and custodial
                     parents who may appear pro se, see, e.g., Pet. App. 16a,
                     and impose considerable financial cost on the govern-
                     ment without an automatic increase in accuracy.
                         Lassiter v. Department of Social Services, 452 U.S.
                     18 (1981), upon which petitioner relies, see, e.g., Pet. Br.
                     32-33, is not to the contrary. In that decision, the Court
                     held that there was no due process right to counsel in a
                     parental-rights termination proceeding. See Lassiter,
                     452 U.S. at 32-33. In dictum, the Court said its cases
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                     had established a “presumption” that an indigent had a
                     right to appointed counsel “when, if he loses, he may be
                     deprived of his physical liberty.” Id. at 26-27. The
                     Court has not subsequently relied on any such presump-
                     tion derived from the Lassiter dictum, and Lassiter it-
                     self recognized that Gagnon, which involved a depriva-
                     tion of physical liberty, had held that “due process is not
                     so rigid as to require that the significant interests in
                     informality, flexibility and economy must always be sac-
                     rificed” through appointment of counsel. Id. at 31 (quot-
                     ing Gagnon, 411 U.S. at 788).
                         That there may be atypical cases with “complex fac-
                     tual and legal issues” (Pet. Br. 46) in which counsel
                     would provide a significant benefit beyond what could be
                     obtained through other procedural safeguards does not
                     mean there should be a right to counsel. “[P]rocedural
                     due process rules are shaped by the risk of error inher-
                     ent in the truth-finding process as applied to the gener-
                     ality of cases, not the rare exceptions.” Walters v. Na-
                     tional Ass’n of Radiation Survivors, 473 U.S. 305, 321
                     (1985) (quoting Mathews, 424 U.S. at 344); see id. at 331
                     (“existence of complexity in some cases” was not “suffi-
                     cient to warrant a conclusion that the right to retain and
                     compensate an attorney in [Veterans Administration]
                     cases is a necessary element of procedural fairness un-
                     der the Fifth Amendment”).
                         b. A recognition that due process requires fair pro-
                     ceedings before a child-support obligor can be held in
                     civil contempt but that this due process right does not
                     encompass appointment of government-funded counsel
                     is also consistent with the balance struck by Congress
                     and the Secretary in enacting and administering the
                     Title IV-D program. Cf. Middendorf, 425 U.S. at 43
                     (“[W]e must give particular deference to the determina-
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                     tion of Congress, made under its authority to regulate
                     the land and naval forces, U.S. Const., Art. I, § 8, that
                     counsel should not be provided in summary courts-mar-
                     tial.”); Walters, 473 U.S. at 319-320 (“This deference to
                     congressional judgment must be afforded even though
                     the claim is that a statute Congress has enacted effects
                     a denial of the procedural due process guaranteed by the
                     Fifth Amendment.”).
                         Congress and the Secretary have demonstrated their
                     concern that child-support-related proceedings be con-
                     ducted fairly by repeatedly making compliance with
                     procedural due process rules a requirement of State
                     participation in the program.12 At the same time, how-
                     ever, they have declined to reimburse the States for
                     the cost of providing counsel to non-custodial parents.
                     See S. Rep. No. 387, 98th Cong., 2d Sess. 23 (1984) (stat-
                     ute does not provide federal funding for “defense coun-
                     sel for absent parents” or “incarceration of delinquent
                     obligors”); 45 C.F.R. 304.23 (i) and (j) (no federal fund-
                     ing for “[t]he costs of counsel for indigent defendants in

                       12
                          See, e.g., 42 U.S.C. 666(a)(3)(A) (reduction of non-custodial parents’
                     state income tax refunds to pay overdue support permitted only “after
                     full compliance with all procedural due process requirements of the
                     State”); 42 U.S.C. 666(a)(7)(B)(i) (States must report child-support
                     delinquency to credit bureaus “only after [the] parent has been afforded
                     all due process required under State law, including notice and a reason-
                     able opportunity to contest the accuracy of such information.”);
                     42 U.S.C. 666(a)(8)(B)(iv) (income withholding “must be carried out in
                     full compliance with all procedural due process requirements of the
                     State”); 42 U.S.C. 666(c)(1)(H) (expedited State agency procedures
                     “shall be subject to due process safeguards, including (as appropriate)
                     requirements for notice, opportunity to contest the action, and oppor-
                     tunity for an appeal on the record to an independent administrative or
                     judicial tribunal”); see also 45 C.F.R. 302.70(a)(5)(iii), 303.5(g)(2)(iii),
                     303.100(a)(6) & (f )(4), 303.101(c)(2), 303.102(c)(1), 303.104(b).
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                     IV-D actions” or “[a]ny expenditure for jailing of par-
                     ents in child-support enforcement cases”); see also
                     52 Fed. Reg. 32,130 (1987) (Federal “policy since the
                     inception of the [Title IV-D] program has been that
                     costs of incarceration of delinquent obligors and costs of
                     defense counsel are not necessary and reasonable costs
                     associated with the proper and efficient administration
                     of the Title IV-D program.”).
                         Finally, at its broadest, the categorical rule petition-
                     er suggests—that there is a right to government-ap-
                     pointed counsel in all “proceedings denominated as ‘civil’
                     where an individual nonetheless faces the prospect of
                     confinement to state custody,” Pet. Br. 30—conflicts
                     with Congress’s express judgment that provision of
                     government-funded counsel is not warranted in all such
                     areas. See Middendorf, 425 U.S. at 43 (deferring to
                     such a judgment); Walters, 473 U.S. at 319-320 (same);
                     see also Landon v. Plasencia, 459 U.S. 21, 34-35 (1982)
                     (“The role of the judiciary is limited to determining
                     whether the procedures meet the essential standard of
                     fairness under the Due Process Clause and does not ex-
                     tend to imposing procedures that merely displace con-
                     gressional choices of policy.”).
                         For example, while aliens are sometimes detained
                     during removal proceedings or pending enforcement of
                     removal orders, Congress has long explicitly provided
                     that there is no obligation to provide government pay-
                     ment for counsel in such proceedings. See 8 U.S.C. 1362
                     (“In any removal proceedings before an immigration
                     judge and in any appeal proceedings before the Attor-
                     ney General from any such removal proceedings,
                     the person concerned shall have the privilege of being
                     represented (at no expense to the Government) by such
                     counsel, authorized to practice in such proceedings,
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                     as he shall choose.”) (emphasis added); 8 U.S.C.
                     1229a(b)(4)(A). Congress’s judgment is consistent with
                     this Court’s repeated holdings that removal proceedings
                     are civil and non-punitive, see, e.g., INS v. Lopez-
                     Mendoza, 468 U.S. 1032, 1038 (1984) (“A deportation
                     proceeding is a purely civil action to determine eligibil-
                     ity to remain in this country, not to punish an unlawful
                     entry, though entering or remaining unlawfully in this
                     country is itself a crime.”), and its conclusion that deten-
                     tion of an alien during the removal process is permissi-
                     ble because it is incidental to the proceedings, and not
                     their purpose or goal, see, e.g., Carlson v. Landon,
                     342 U.S. 524, 538 (1952) (“Detention is necessarily a part
                     of this deportation procedure.”). As the Court has
                     also noted, removal proceedings—whose purpose is re-
                     moval of aliens from the country, not deprivation of their
                     physical liberty—are “streamlined” administrative pro-
                     ceedings held before administrative personnel, immigra-
                     tion judges, under rules offering the aliens more limited
                     procedural rights than are available in court. Lopez-
                     Mendoza, 468 U.S. at 1039; see ibid . (“a deportation
                     hearing is intended to provide a streamlined determina-
                     tion of eligibility to remain in this country, nothing
                     more”). The due process guarantee of fundamental fair-
                     ness does not mandate the appointment of counsel in
                     such proceedings, which would be contrary to the judg-
                     ment of Congress.13

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                          For these reasons, the lower courts have held that aliens in removal
                     proceedings have no constitutional right to appointment of counsel at
                     government expense. United States v. Gasca-Kraft, 522 F.2d 149, 152
                     (9th Cir. 1975) (“courts have uniformly held in this circuit and elsewhere
                     that in light of the non-criminal nature of both the proceedings and the
                     order which may be a result, that respondents are not entitled to have
                     counsel appointed at government expense”) (citing cases); see Moham-
Case:
Case:23-1967
      23-1851   Document:
                Document:00118131351
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                                               CONCLUSION
                         The judgment of the Supreme Court of South Caro-
                     lina should be reversed.
                         Respectfully submitted.

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                     JANUARY 2011




                     med v. Gonzales, 400 F.3d 785, 793 (9th Cir. 2005); United States v.
                     Torres-Sanchez, 68 F.3d 227, 230 (8th Cir. 1995); Nazakat v. INS, 981
                     F.2d 1146, 1148 (10th Cir. 1992); United States v. Campos-Asencio, 822
                     F.2d 506, 509 (5th Cir. 1987).
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Case:23-1967
      23-1851   Document:
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                                  Title 8
                   Courts and Civil Procedure — Courts
                                                               Chapter 10
                                                              Family Court
                                                         R.I. Gen. Laws § 8-10-3

      § 8-10-3. Establishment of court — Jurisdiction — Seal — Oaths.

      (a) There is hereby established a family court, consisting of a chief judge and eleven (11) associate
      justices, to hear and determine all petitions for divorce from the bond of marriage and from bed and
      board; all motions for allowance, alimony, support and custody of children, allowance of counsel and
      witness fees, and other matters arising out of petitions and motions relative to real and personal
      property in aid thereof, including, but not limited to, partitions, accountings, receiverships,
      sequestration of assets, resulting and constructive trust, impressions of trust, and such other equitable
      matters arising out of the family relationship, wherein jurisdiction is acquired by the court by the filing
      of petitions for divorce, bed and board and separate maintenance; all motions for allowance for
      support and educational costs of children attending high school at the time of their eighteenth (18th)
      birthday and up to ninety (90) days after high school graduation, but in no case beyond their
      nineteenth (19th) birthday; enforcement of any order or decree granting alimony and/or child support,
      and/or custody and/or visitation of any court of competent jurisdiction of another state; modification
      of any order or decree granting alimony and/or custody and/or visitation of any court of competent
      jurisdiction of another state on the ground that there has been a change of circumstances; modification
      of any order or decree granting child support of any court of competent jurisdiction of another state
      provided: (1) the order has been registered in Rhode Island for the purposes of modification pursuant
      to § 15-23.1-611, or (2) Rhode Island issued the order and has continuing exclusive jurisdiction over
      the parties; antenuptial agreements, property settlement agreements and all other contracts between
      persons, who at the time of execution of the contracts, were husband and wife or planned to enter into
      that relationship; complaints for support of parents and children; those matters relating to delinquent,
      wayward, dependent, neglected, or children with disabilities who by reason of any disability requires
      special education or treatment and other related services; to hear and determine all petitions for
      guardianship of any child who has been placed in the care, custody, and control of the department for
      children, youth, and families pursuant to the provisions of chapter 1 of title 14 and chapter 11 of title
      40; adoption of children under eighteen (18) years of age; change of names of children under the age
      of eighteen (18) years; paternity of children born out of wedlock and provision for the support and
      disposition of such children or their mothers; child marriages; those matters referred to the court in
      accordance with the provisions of § 14-1-28; those matters relating to adults who shall be involved
      with paternity of children born out of wedlock; responsibility for or contributing to the delinquency,
      waywardness, or neglect of children under sixteen (16) years of age; desertion, abandonment, or
      failure to provide subsistence for any children dependent upon such adults for support; neglect to send
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      any child to school as required by law; bastardy proceedings and custody to children in proceedings,
      whether or not supported by petitions for divorce or separate maintenance or for relief without
      commencement of divorce proceedings; and appeals of administrative decisions concerning setoff of
      income tax refunds for past due child support in accordance with §§ 44-30.1-5 and 40-6-21. The
      holding of real estate as tenants by the entirety shall not in and of itself preclude the family court from
      partitioning real estate so held for a period of six (6) months after the entry of final decree of divorce.

      (b) The family court shall be a court of record and shall have a seal which shall contain such words
      and devices as the court shall adopt.

      (c) The judges and clerk of the family court shall have power to administer oaths and affirmations.

      (d) The family court shall have exclusive initial jurisdiction of all appeals from any administrative
      agency or board affecting or concerning children under the age of eighteen (18) years and appeals of
      administrative decisions concerning setoff of income tax refunds, lottery set offs, insurance intercept,
      and lien enforcement provisions for past due child support, in accordance with §§ 44-30.1-5 and 40-6-
      21, and appeals of administrative agency orders of the department of human services to withhold
      income under chapter 16 of title 15.

      (e) The family court shall have jurisdiction over those civil matters relating to the enforcement of laws
      regulating child care providers and child placing agencies.

      (f) The family court shall have exclusive jurisdiction of matters relating to the revocation or
      nonrenewal of a license of an obligor due to noncompliance with a court order of support, in
      accordance with chapter 11.1 of title 15.

          [See § 12-1-15 of the General Laws.]

      (g) Notwithstanding any general or public law to the contrary, the family court shall have jurisdiction
      over all protective orders provided pursuant to the Rhode Island general laws, when either party is a
      juvenile.

      History of Section.
      P.L. 1961, ch. 73, § 1; P.L. 1972, ch. 30, § 1; P.L. 1973, ch. 125, § 1; P.L. 1974, ch. 85, § 1; P.L. 1975,
      ch. 3, § 1; P.L. 1976, ch. 252, § 1; P.L. 1977, ch. 89, § 1; P.L. 1980, ch. 54, § 1; P.L. 1981, ch. 319, § 1;
      P.L. 1984, ch. 167, § 3; P.L. 1984, ch. 281, § 1; P.L. 1987, ch. 163, § 2; P.L. 1988, ch. 84, § 7; P.L.
      1992, ch. 326, § 1; P.L. 1994, ch. 158, § 2, P.L. 1994, ch. 195, § 3; P.L. 1994, ch. 244, § 1; P.L. 1994,
      ch. 263, § 3; P.L. 1995, ch. 370, art. 29, § 10; P.L. 1995, ch. 374, § 10; P.L. 1996, ch. 129, § 1; P.L.
      1996, ch. 131, § 1; P.L. 1996, ch. 132, § 1; P.L. 1996, ch. 133, § 1; P.L. 1997, ch. 170, § 23; P.L. 1999,
      ch. 83, § 6; P.L. 1999, ch. 130, § 6; P.L. 2007, ch. 73, art. 3, § 9; P.L. 2010, ch. 216, § 1; P.L. 2010, ch.
      236, § 1.




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